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                                      EXHIBIT 1

Revised Proposed Redacted TPC Group Inc.’s Brief in Opposition to Plaintiffs’ Motion for
                               Summary Judgment
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re                                                    Chapter 11

    TPC GROUP INC., et al.,                                  Case No. 22-10493 (CTG)

                           Debtors.1                         Jointly Administered



    BAYSIDE CAPITAL, INC. and CERBERUS                       Adv. Pro. No. 22-50372 (CTG)
    CAPITAL MANAGEMENT, L.P.,

                           Plaintiffs,
    v.
                                                             Re: A.D.I. 4
    TPC GROUP INC.,

                           Defendant.



               TPC GROUP INC.’S BRIEF IN OPPOSITION TO PLAINTIFFS’
                       MOTION FOR SUMMARY JUDGMENT




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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: TPC Group Inc. (3618); TPC Holdings, Inc. (7380); TPC Group LLC (8313); Texas
Butylene Chemical Corporation (7440); Texas Olefins Domestic International Sales Corporation (4241); TPC Phoenix
Fuels LLC (9133); Port Neches Fuels, LLC (1641); and TP Capital Corp. (6248). Each Debtor’s corporate
headquarters and mailing address is 500 Dallas St., Suite 2000, Houston, Texas 77042.
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        TPC Group, Inc. (“TPC”) files this Opposition to the Motion for Summary Judgment

[A.D.I. 4] (the “Motion”) filed by Plaintiffs Bayside Capital Inc. (“Bayside”) and Cerberus Capital

Management, L.P.’s (“Cerberus”). In addition to the exhibits attached hereto and referenced

herein, TPC relies on the Declaration of Patrick Hurt (“Hurt Decl.”) filed contemporaneously

herewith.

                                       I.        INTRODUCTION

        This case presents a straightforward contract-interpretation question: did TPC’s issuance

of additional debt in February 2021 violate the terms of an existing intercreditor agreement and

existing indenture governing 10.5% notes, which it issued in August 2019. The answer is no. There

is no basis for summary judgment in favor of Plaintiffs, and this Court should deny the pending

Motion and grant judgment in favor of TPC.

        On February 2, 2021, TPC issued 10.875% Senior Secured Notes (the “10.875% Notes”).

Publicly announced and widely covered in the financial press,2 the issuance of the 10.875% Notes

yielded substantial benefits for the holders of the 10.5% Notes issued in August 2019 (the “10.5%

Notes”), including ensuring the holders of the 10.5% Notes were paid interest in 2021 and

reinforcing collateral liens. Sixteen months after issuance of the 10.875% Notes, Plaintiffs, who

claim to be beneficial owners of less than 10% of the 10.5% Notes (and who appear to have

acquired their less than 10% interest in the 10.5% Notes only after the issuance of the 10.875%




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   See, e.g., Feb. 2, 2021 Press Release, TPC Group Successfully Enters into Note Purchase Agreement (available at
https://www.tpcgrp.com/news-and-events/news/tpc-group-successfully-enters-into-note-purchase-
agreement#:~:text=HOUSTON%20(February%202%2C%202021),the%20%E2%80%9CNew%
20Notes%E2%80%9D) (last accessed June 14, 2022) (also attached as Exhibit B, hereto); Moelis & Company
Transactions, TPC Group Inc.’s private placement of 10.875% Senior Secured Notes due 2024 (available at
https://www.moelis.com/transactions/tpc-group-inc-s-private-placement-of-10-875-senior-secured-notes-due-2024/)
(last accessed June 17, 2022) (also attached as Exhibit C, hereto); MarketLine Financial Deals Tracker, TPC Group
Completes Private Placement Of 10.875% Senior Secured Notes, Due 2024, For US $153 Million (attached as
Exhibit D, hereto).
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Notes and with full knowledge of their terms) brought this adversary proceeding and moved

immediately for summary judgment.

       The Motion is procedurally deficient and fails on the merits. As is explained in further

detail in TPC’s Opening Brief in Support of Motion for Summary Judgment [A.D.I. 17], which

TPC incorporates by reference as if set forth herein, Plaintiffs have not met the pre-suit

requirements provided in Section 6.06(a) of the 10.5% Notes Indenture (and Supplemental

Indenture). This entitles TPC to summary judgment as a matter of law.

       Even if Plaintiffs’ suit was not barred by the “no-action” clause, the Motion fails on

substance. The issuance of amendments to the 10.5% Notes Indenture did not, as Plaintiffs argue,

require unanimous consent. Here, more than a supermajority of the holders of TPC’s outstanding

principal of the 10.5% Notes (66.7% to be precise) consented to the 2021 amendments to the 10.5%

Notes Indenture and to the 2021 Intercreditor Agreement. For three reasons, this was more than

was required under Sections 9.02(a), and 9.02(e) (i.e., the controlling provisions under the 10.5%

Notes Indenture, which Plaintiffs deliberately ignore in their Complaint and Motion):

           (1) Section 9.02(a) provides that a simple majority is required to amend the 10.5%
               Notes Indenture, unless another provision of Section 9.02 controls;

           (2) the transaction in question does not violate Section 9.02(d)(10), as it does not
               modify the distribution of collateral proceeds among the 10.5% Noteholders or
               between the ABL and the 10.5% Noteholders;

           (3) Section 9.02(e) permits the modification of the underlying collateral with super-
               majority consent which unquestionably was provided here.

Plaintiffs’ contention that the supplemental indenture and supporting documents required

unanimous consent is especially specious, given that their (now recently replaced) counsel,

Milbank LLP (“Milbank”), proposed a transaction in November 2020 under which TPC would

issue new notes and strip the 10.5% Notes of their collateral with far less than unanimous consent.




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         The Motion’s remaining argument—that the transactions were invalid due to purported

defects in the consents provided by noteholders—is equally unsound. The consents were signed

by the noteholders’ beneficial owners or investment advisors and had signed certifications from

the banks holding the notes, including medallion stamps or other certified indicators of authentic

holdings.

         Plaintiffs’ claim that TPC breached the terms of the 10.5% Notes Indenture is unavailing.

Plaintiffs’ summary judgment motion must be denied and judgment should be issued in TPC’s

favor.

                              II.       STATEMENT OF FACTS

   A. The 2019 10.5% Notes Indenture

         TPC is a leading producer, marketer, and value-added processor of intermediate and

specialty chemicals, fuel derivatives, and petroleum byproducts. TPC issued the 10.5% Notes on

August 2, 2019. The Notes had a face amount of $930 million. The terms of the Notes, and the

rights and responsibilities of TPC, the noteholders, the Trustee (U.S. National Bank), and various

guarantors are set forth in an Indenture signed that same day (the “10.5% Notes Indenture,”

attached as Exhibit A). New York law governs the 10.5% Notes Indenture. Ex. A, 10.5% Notes

Indenture § 14.08. Several provisions of the 10.5% Notes Indenture are relevant here.

            1. Approval-Related Provisions

         Plaintiffs’ motion, not coincidentally, focuses only on the one section of the 10.5%

Indenture that requires unanimous noteholder consent before the Company can act. Plaintiffs

ignore that the Indenture provides, in most situations, that the Company can act in relation to the

10.5% Notes with the approval of a majority, or in some cases supermajority, of the noteholders.

         First, the default rule, set out in Section 9.02(a) allows TPC and U.S. Bank, as trustee and

collateral agent, to amend or supplement the 10.5% Notes Indenture or 10.5% Notes with the


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consent of only a simple majority of the holders of the outstanding principal. Section 9.02(a)

provides, in pertinent part, as follows:

         Except as provided in this Section 9.02, the Issuer, the Guarantors and the
         Trustee and, if applicable, the Collateral Agent, may amend or supplement
         this Indenture (including, without limitation, Sections 4.08 and 4.12 hereof) and
         the Notes or the Note Guarantees with the consent of the Holders of at least a
         majority in aggregate principal amount of the then outstanding Notes voting
         as a single class (including, without limitation, consents obtained in connection
         with a tender offer or exchange offer for, or purchase of, the Notes) . . . .

Ex. A, 10.5% Notes Indenture § 9.02(a) (emphasis added).

       Second, Section 9.02(e) specifically addresses amendments and modifications which have

the effect of releasing the collateral or modifying the Intercreditor Agreement, upon the approval

of two-thirds, i.e., a super-majority, of the holders the outstanding principal:

         Any amendment to, or waiver of, the provisions of this Indenture, any Security
         Document or any other indenture governing Permitted Additional Pari Passu
         Obligations that has the effect of releasing all or substantially all of the
         Collateral from the Liens securing the Notes or otherwise modifies the
         Intercreditor Agreement or other Security Documents in any manner adverse in
         any material respect to the Holders will require the consent of the holders of at
         least 66- 2/3% in aggregate principal amount of the Notes and any Permitted
         Additional Pari Passu Obligations then outstanding.

Id., § 9.02(e) (emphasis added).

       Third, under Section 9.02(d), only in limited, specific cases not implicated here, is

unanimous consent required. This include specific situations where amendments generally impact

the amount of principal, the way principal is repaid, or “change the provisions in the Intercreditor

Agreement or this Indenture dealing with the application of proceeds of Collateral that would

adversely affect the Holders.” Id., § 9.02(d)(1)-(10) (emphasis added).

           2. Pre-Suit Requirements

       In addition, the 10.5% Notes Indenture contains exacting requirements that must be met

before a noteholder can bring an action related to the Indenture or the 10.5% Notes. Specifically,



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Section 6.06(a) requires that, before a “Holder may pursue a remedy with respect this Indenture or

the Notes,” the following five requirements must be met:

       (a) A Holder may pursue a remedy with respect to this Indenture of the Notes
       only if:

           1.     such Holder has previously given the Trustee written notice that an
                  Event of Default is continuing;

           2.     Holders of at least 25% in aggregate principal amount of the then
                  outstanding Notes have requested the Trustee in writing to pursue the
                  remedy;

           3.     such Holder or Holders offer and, if requested, provide to the Trustee
                  security or indemnity satisfactory to the Trustee against any loss,
                  liability or expense;

           4.     the Trustee does not comply with the request within 60 days after
                  receipt of the request and the offer of security or indemnity; and

           5.     during such 60−day period, Holders of a majority in aggregate
                  principal amount of the then outstanding Notes do not give the
                  Trustee a written direction inconsistent with such request.

Ex. A, 10.5% Notes Indenture § 6.06(a) (emphasis added).

           3. Secured Debt Capacity

       Section 4.07 of the 10.5% Notes Indenture expressly provides for the incurrence of

additional debt by TPC. See generally Ex. A, 10.5% Notes Indenture § 4.07. Section 4.07(b)(1)

provides for the incurrence of debt “not to exceed the greater of . . . $300.0 million and . . . the

Borrowing Base.” Id. § 4.07(b)(1). Likewise, Section 4.07(b)(15) provides for TPC’s incurrence

of additional debt “not to exceed the greater of . . . $50 million and . . . 5.0% of Total Assets.” Id.

§ 4.07(b)(15).

       The Supplemental Indenture amends Section 4.07(d) of the 10.5% Notes Indenture to note

that additional debt of $113 million in the 10.875% Notes was incurred under Section 4.07(b)(1)

and $40 million was incurred under Section 4.07(b)(15). Ex. F, Supp. Indenture § 4.07(d).




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    B. The 2021 Supplemental Indenture and 10.875% Notes Indenture

         After the issuance of the 10.5% Notes, TPC’s business and liquidity was impacted by

several material adverse events, including the PNO Incident, the oil and gas market crash, and the

COVID-19 pandemic. Each of these events is described in more detail in the Decl. of Robert A.

Del Genio in support of TPC Chapter 11 Petition and First Day Motions. TPC began pursuing

multiple strategies to address its liquidity and capital structure.

         TPC explored options for issuing new secured notes to improve its liquidity position and,

in this regard, received several offers from potential lenders. Relevant here, in November 2020,

TPC received offers for a proposed new notes issuance from Prudential Global Investment

Management (“PGIM”)—a current member of the Ad Hoc Group and beneficial owner of

$154,049,000.00 in TPC’s 10.5% Notes—and their then counsel (and counsel for Plaintiffs as of

their filing of this Motion), Milbank.

         On November 10, 2020, Milbank sent TPC a term sheet for a proposed notes offering (the

“Milbank Term Sheet”). See Hurt Decl., at ¶¶ 52-55 and Ex. 35. The Milbank Term Sheet

proposed the issuance of $253 million in new 9.5% senior secured notes financed in a highly

aggressive manner. In particular, the Milbank Term Sheet proposed to release all liens on the

collateral securing the 10.5% Notes, transfer substantially all of TPC’s existing assets to a newly

formed subsidiary of TPC Group, Inc. called TPC Newco, LLC, and issue the new 9.5% notes out

of that subsidiary. Id. This transaction, as proposed by PGIM through the Milbank Term Sheet,

would be effected without unanimous noteholder consent and would have removed the collateral

from the existing 10.5% Notes in its entirety. Id. TPC ultimately did not pursue the Milbank Term

Sheet.

         On February 2, 2021, TPC publicly announced that it would be issuing the 10.875% Notes

in an aggregate principal amount of $153 million. See Ex. B, Feb. 2, 2021 Press Release, TPC


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Group Successfully Enters into Note Purchase Agreement. To allow for the issuance, TPC

amended the 10.5% Notes Indenture with a supplemental indenture (the “Supplemental

Indenture”) (attached hereto as Exhibit F), executed an indenture for the 10.875% Notes (the

“10.875% Notes Indenture”) (attached hereto as Exhibit G), and executed a new intercreditor

agreement (the “2021 Intercreditor Agreement”) (attached hereto as Exhibit H).

       The net proceeds from the 10.875% Notes offering were to be used, inter alia, to repay and

terminate an existing $70 million loan with Apollo. See Ex. B, TPC Press Release. TPC’s press

release announcing the issuance was explicit that the 10.875% Notes would be “effectively senior

to all of the Company’s and the Subsidiary Guarantors’ existing and future unsecured indebtedness

and the existing 10.5 percent Notes . . . to the extent of the value of the [10.5% Notes] collateral.”

Id. Importantly, following the announcement, bond prices for the 10.5% Notes barely fluctuated,

moving from          , on February 1, 2021, to           by February 4, 2021. See Ex. I, Secondary

Market Activity Chart (reflecting price of 10.5% Notes from January 2021 to May 2022).

       A super majority of the existing 10.5% noteholders affirmatively consented to the

Supplemental Indenture, the 10.875% Notes Indenture, and related documents by signing and

delivering to TPC a “Consent of Noteholder” letter (the “Consent Letter”). See generally Hurt

Decl. at Exs. 2-25; Ex. J, Ihrke Decl. at ¶¶ 4-7. In total, TPC received 25 Consent Letters providing

the consent of 129 separate noteholders of the 10.5% Notes, representing $620,487,000.00 (66.7%)

of the outstanding principal amount of $930,000,000.00. Hurt Decl. at ¶ 40 and Exs. 2-26.

       Each Consent Letter, dated either January 28 or 29, 2021, is addressed to Patrick Hurt, the

Deputy General Counsel of TPC. See id. at ¶¶ 10-40; accord Ex. J, Ihrke Decl. ¶ 5. Each of these

was, in turn, provided to the Trustee of the 10.5% Notes Indenture (US Bank), which approved of




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the request to execute and deliver to TPC the Supplemental Indenture and 2021 Intercreditor

Agreement. See Hurt Decl. at ¶¶ 8-9.

       Each Consent Letter received by TPC and provided to the Trustee represented and

warranted that the signatory (1) was the beneficial owner or the investment manager or advisor

representing the beneficial owners and with authority to act for such beneficial owners, of a certain

outstanding aggregate principal amount of the 10.5% Notes owned by certain noteholders; (2) had

not transferred the positions in the 10.5% Notes held as beneficial owner, as attested to in the

Consent Letter; and (3) that the Consent Letter been duly authorized, executed, and delivered on

the signer’s behalf. See id. at ¶¶ 10-13. In addition, each Consent Letter provided the signatory’s

consent to the Supplemental Indenture and to execution of and delivery to TPC of the 2021

Intercreditor Agreement. Id.

       As support, each Consent Letter provided (1) that the investment advisor was furnishing

the Consent Letter on behalf of the noteholders it advised that owned the 10.5% Notes; (2) the

value of the aggregate principal amount of notes owned by the noteholders; and (3) one or more

of the following: (i) the signature(s) of the beneficial owner and/or investment adviser; (ii) a

certification and confirmation from the bank holding the 10.5% Notes; (iii) a stamp or seal

providing a guarantee and authorized signature guaranteeing ownership of the 10.5% Notes; (iv)

a certified letter or account summary from the bank holding the 10.5% Notes verifying ownership

of the 10.5% Notes. See id.; Ex. J, Ihrke Decl. ¶ 7. Of these, eighteen of the Consent Letters

provided a medallion stamp of authenticity provided by the Securities Transfer Agents Medallion

Program verifying ownership of 10.5% Notes by the signatory. Hurt Decl. ¶ 13; accord Ex. J,

Ihrke Decl. ¶ 7.




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       Following receipt of the Consent Letters, the Trustee, as requested by TPC, executed and

delivered to TPC the Supplemental Indenture and 2021 Intercreditor Agreement. See Hurt Decl. ¶

41. In doing so, the Trustee did not raise any issues or question the effectiveness of the Consent

Letters provided. Moreover, until Plaintiffs first raised a complaint in January of 2021—nearly a

year after the 10.875% Notes issued—no noteholder raised any issues or questions about the

efficacy or propriety of the 10.875% Notes, Supplemental Indenture, or 2021 Intercreditor

Agreement. Id. ¶ 42. The first complaint raised about the effectiveness of the underlying Consent

Letters did not come until Plaintiffs filed their adversary proceeding. See Compl. [A.D.I. 1] and

Motion [A.D.I. 4].

   C. In 2022, Plaintiffs belatedly object in conjunction with TPC refusing their DIP
      financing offer.

       TPC unfortunately continued to experience challenges after the issuance of the 10.875%

Notes. For example, only weeks after issuance, Winter Storm Uri struck Texas, causing, among

other impacts, lasting damage to TPC’s critical equipment at its HNO Facility. This ultimately

required a two-month shut down of parts of the facility. See Decl. of Robert Del Genio in Support

of Debtors’ First Day Motion [D.I. 28].

       In conjunction with TPC’s efforts to improve the company’s capital structure, Plaintiffs

submitted a proposal to provide debtor-in-possession (DIP) financing to TPC during a bankruptcy

restructuring. Plaintiffs’ DIP proposal would be senior to the 10.5% Notes held by Bayside,

Cerberus, and others, but junior to other preexisting debt including the 10.875% Notes. See Ex. K,

Plaintiffs Illustrative DIP Proposal.

       TPC, in the exercise of its business judgment, determined that Plaintiffs’ DIP Proposal was

not in the best interests of the Company. After TPC rejected the DIP Proposal, Plaintiffs continued

making litigation threats against TPC and, ultimately, filed this proceeding.



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   D. Plaintiffs breached the 10.5% Indenture by filing this Lawsuit in violation of that
      indenture’s no-action clause.

       The first complaint TPC received regarding the February 2021 note issuance was a January

2022 email from Plaintiffs cursorily challenging the transaction. TPC did not receive any formal

written complaint about the 10.875% Notes and related transaction until March 31, 2022, when

Milbank, counsel for Plaintiffs at the time, sent a letter to TPC’s counsel asserting that the 10.875%

Notes, Supplemental Indenture, and 2021 Intercreditor Agreement were ineffective. Ex. L, March

31, 2022 Milbank Ltr. to TPC. Subsequently, on April 26, 2022, Plaintiffs wrote a letter to the

Trustee requesting that it “decline to follow any directions from Cross-Holders [holders of the

10.875% Notes] with respect to the DIP or the Company’s bankruptcy filings that would be

prejudicial to the rights of [Plaintiffs].” Ex. M, April 26, 2022 Milbank Ltr. to U.S. Bank. That

letter did not contend that an event of default was continuing. See generally id. Nor did that letter

indicate that holders of 25% of the aggregate principal of the outstanding 10.5% Notes were

seeking a remedy. Id.

       On June 1, 2022, TPC and certain affiliates filed voluntary petitions for relief under

chapter 11 of the Bankruptcy Code in this Court. The next day, Plaintiffs filed this proceeding in

this Court alleging that TPC breached the 10.5% Notes Indenture and 2019 Intercreditor

Agreement and pursuing causes of action for declaratory judgment seeking to invalidate the

Supplemental Indenture, 10.875% Notes Indenture, and 2021 Intercreditor Agreement.

                               III.        APPLICABLE LAW

       Summary judgment is only appropriate when “there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “The party

seeking summary judgment bears the burden of establishing that no genuine issue of material fact

exists.” Rodriguez v. City of New York, 72 F.3d 1051, 1060-61 (2d Cir. 1995). Summary judgment



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may be granted only “[w]here the record taken as a whole could not lead a rational trier of fact to

find for the nonmoving party.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

587 (1986).

                                  IV.        ARGUMENT

       Plaintiffs’ complain that TPC violated Section 9.02(d)(10) of the 10.5% Notes through

three key changes implemented through the 2021 Intercreditor Agreement and Supplemental

Indenture: (1) changes to Section 12.01(c) of the Supplemental Indenture, modifying the term

“Intercreditor Agreement” to “Intercreditor Agreements”; (2) changes to the definition of

“Permitted Liens” and implementation of Section 4.07(d) of the Supplemental Indenture as to

Section 4.07(b)(1) of the 10.5% Notes Indenture; and (3) interposition of the 2021 Intercreditor

Agreement to the 10.5% Notes. Plaintiffs have broadly claimed that these elements of the 2021

transaction effectively constituted a change to how proceeds of collateral under the 10.5% Notes

Indenture are allocated and therefore required unanimous consent. But, as explained below,

Plaintiffs’ contentions are mistaken. For at least three reasons, the Court should deny Plaintiffs’

Motion and grant judgment in TPC’s favor.

       First, as described in further detail in TPC’s Brief in Support of Motion for Summary

Judgment [A.D.I. 18], Plaintiffs have not met the pre-suit requirements provided in Section

6.02(a), a “no-action” clause contained in the 10.5% Notes Indenture. Second, and moving now

to the merits, the 10.875% Notes were properly issued under Section 4.07 of the 10.5% Notes

Indenture, and the related documents properly approved, through action of a majority (indeed, a

super-majority) of noteholders. In keeping with Sections 9.02(a), (d), and (e) of 10.5% Notes

Indenture, unanimous consent is not required to effectuate the transactions simply because the

Company has issued additional senior debt. Third, and finally, the Consent Letters provided by the

noteholders and TPC to the Trustee more than satisfied the requirements of the 10.5% Notes


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Indenture, as they were supported by numerous indicia of authenticity for the underlying holders’

support for the transactions in question.

A.      Plaintiffs failed to comply with the 10.5% Notes Indenture’s “no-action” clause.

        As an initial matter, Plaintiffs did not comply with the pre-suit requirements in Section

6.06(a) of both the 10.5% Notes Indenture and the Supplemental Indenture. On this basis alone,

the Court should deny Plaintiffs’ Motion and grant TPC’s Motion for Summary Judgment,

dismissing Plaintiffs’ adversary proceeding in the entirety.3

        Under New York law “a written agreement that is complete, clear and unambiguous on its

face must be enforced according to the plain meaning of its terms.” Greenfield v. Philles Records,

Inc., 780 N.E.2d 166, 170 (N.Y. 2002) (emphasis added). The interpretation of an unambiguous

contract is “‘matter of law for the court to decide.’” VKK Corp. v. Nat'l Football League, 244 F.3d

114, 129 (2d Cir. 2001) (citations omitted); see, e.g., Eternity Global Master Fund Ltd. v. Morgan

Guar. Tr. Co. of N.Y., 375 F.3d 168, 178 (2d Cir. 2004) (whether a contract provision is ambiguous

is also a question of law for the court) (citing W.W.W. Assocs., Inc. v. Giancontieri, 77 N.Y.2d

157, 162 (N.Y. 1990)).

        Section 6.06(a)—titled “Limitations on Suit”—is unambiguous4 and is reasonably

susceptible to only one interpretation: suit by any holder of the 10.5% Notes related to the Notes

or the 10.5% Indenture is barred unless and until that noteholder complies with the various

prerequisites provided in Section 6.06(a)(1-5). See Ex. A, 10.5% Notes Indenture § 6.06(a).

        As such, Section 6.06(a) is a “no-action clause,” a clause which restricts the right of a small

minority of holders from obtaining priorities or preferences over other noteholders, including by


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  This Court should deny Plaintiffs’ Motion for the same reasons it should grant TPC’s Motion for Summary Judgment
[A.D.I. 17]. In this regard, TPC incorporates by reference its Brief in Support of Motion for Summary Judgment as
if set forth fully, herein [A.D.I. 18].
4
   Neither Bayside or Cerberus, nor TPC have claimed that the 10.5% Notes Indenture is ambiguous.


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limiting suit. Such clauses have long been favored under New York law, as they “serve a highly

useful purpose and have been uniformly sustained,” because, among other things, they “afford the

trustee notice and an opportunity for examination.” Birn v. Childs Co., 37 N.Y.S.2d 689, 696 (N.Y.

Sup. Ct. 1942); see Feder v. Union Carbide Corp., 530 N.Y.S.2d 165, 167 (N.Y. App. Div. 1988);

SC Note Acquisitions, LLC v. Wells Fargo Bank, N.A., 934 F. Supp. 2d 516, 531 (E.D.N.Y. 2013),

aff'd, 548 Fed. Appx. 741 (2d Cir. 2014) (“Courts routinely enforce these no-action clauses to bar

shareholders from bringing lawsuits.”).

       Among other requirements, Section 6.06(a) provides that, “[b]efore a Holder may pursue

a remedy with respect this Indenture or the Notes,” “[h]olders of at least 25% in aggregate principal

amount of the then outstanding Notes” must “have requested the Trustee in writing to pursue the

remedy.” Ex. A, 10.5% Notes Indenture § 6.06(a); accord Ex. F, Supp. Indenture § 6.06(a).

       That has not happened here. Plaintiffs, by their own admission, hold a combined less than

10% of the aggregate principal of the 10.5% Notes. Motion at ¶ 11 [A.D.I 4]. That alone is fatal to

Plaintiffs’ claim and likewise dispositive of TPC’s pending cross-motion for summary judgment.

Peak Partners, LP v. Republic Bank, 191 Fed. Appx. 118, 126 (3d Cir. 2006) (affirming grant of

summary judgment dismissing action where “it is undisputed that Peak, holder of only 1.4 percent

of the outstanding amount of Keystone notes, did not satisfy the requirements of the no-action

clause” that required 25% noteholder approval); SC Note Acquisitions, LLC , 934 F. Supp. 2d at

533 (E.D.N.Y. 2013), aff’d, 548 Fed. Appx. 741 (2d Cir. 2014) (dismissing claims where

noteholder failed to comply with no-action clause, including complying with requirement to

provide 25% support for written request for suit).

       In addition, Plaintiffs have failed to comply with the other requirements of Section 6.06(a)

of both the 10.5% Notes Indenture and the Supplemental Indenture, including providing written




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notice to the Trustee, posting any requested indemnity or security, and allowing the Trustee and

other noteholders 60 days to review and decide to pursue any such claims. Ex. A, 10.5% Notes

Indenture § 6.06(a); accord Ex. F, Supp. Indenture § 6.06(a). Courts routinely enforce provisions

such as these to bar claims like Plaintiffs’. Ellington Credit Fund, Ltd. v. Select Portfolio Servicing,

Inc., 837 F. Supp. 2d 162, 188 (S.D.N.Y. 2011) (enforcing no action clause to bar suit where

plaintiff failed to comply with terms regarding pre-suit notice); Peak Partners, 191 Fed. Appx. at

126 (affirming grant of summary judgment dismissing action where “it is undisputed that Peak,

holder of only 1.4 percent of the outstanding amount of Keystone notes, did not satisfy the

requirements of the no-action clause” that required 25% noteholder approval); SC Note

Acquisitions, LLC, 934 F. Supp. 2d at 533 (dismissing claims where noteholder failed to comply

with no-action clause, including complying with requirement to provide 25% support for written

request for suit).

        In short, Plaintiffs have not complied with the conditions in Section 6.06 and are precluded

from pursuing the remedies they seek in this lawsuit. The motion must therefore be denied, and

TPC’s cross-motion for summary judgment granted. See, e.g., Akanthos Capital Mgmt., LLC v.

CompuCredit Holdings Corp., 677 F.3d 1286, 1296 (11th Cir. 2012) (holding that “the no-action

clause's terms are absolute: noteholders ‘may not pursue any remedy with respect to this Indenture

or the Securities” unless they complete the conditions precedent allowing them to fall within one

of the two stated exceptions,” and accordingly denying relief where noteholders could not, among

other things, provide evidence that “holders of at least 25% of the notes make a written demand to

the Trustee to pursue a remedy”); Alleco, Inc. v. IBJ Schroder Bank & Tr. Co., 745 F. Supp. 1467,

1476 (D. Minn. 1989), vacated pursuant to settlement (July 3, 1991) (where “no-action” clause in

indenture restricted rights of holders of less than 25% of the aggregate principal amount,




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counterclaims by lawsuit by holder of approximately 19% of the principals were barred and were

“dismissed for failure to comply with the terms of section 7.04.”); Peak Partners, LP, 191 Fed.

Appx. at 126 (affirming grant of summary judgment dismissing action where “it is undisputed that

Peak, holder of only 1.4 percent of the outstanding amount of Keystone notes, did not satisfy the

requirements of the no-action clause” that required 25% noteholder approval); Ellington Credit

Fund, Ltd., 837 F. Supp. 2d at 188 (S.D.N.Y. 2011) (enforcing no-action clause to bar suit where

plaintiff failed to comply with terms regarding pre-suit notice); SC Note Acquisitions, LLC , 934

F. Supp. 2d at 533 (dismissing claims where noteholder failed to comply with no-action clause,

including complying with requirement to provide 25% support for written request for suit).

   B. Plaintiffs are not entitled to summary judgment because the Supplemental Indenture,
      the 10.875% Notes Indenture, and any related documents did not breach the 10.5%
      Notes Indenture.

       Even if this Court reaches the substance of the Motion, there was no breach of the 10.5%

Notes Indenture. New York law requires that courts “approach the interpretation of the Indenture

provisions as a matter of basic contract law.” CNH Diversified Opportunities Master Account, L.P.

v. Cleveland Unlimited, Inc., 160 N.E.3d 667, 672 (N.Y. 2020) (citing Courtland St. Recovery

Corp. v. Bonderman, 31 N.Y.S.3d 95, 105 (N.Y. Sup. Ct. 2018)). “If the terms of a contract are

clear, courts must take care not to alter or go beyond the express terms of the agreement, or to

impose obligations on the parties that are not mandated by the unambiguous terms of the agreement

itself.” Fisher v. SD Prot. Inc., 948 F.3d 593, 606 (2d Cir. 2020) (internal quotation marks

omitted).

            1. Unanimous consent was not required for TPC to enter into the Supplemental
               Indenture and 2021 Intercreditor Agreement.

       Plaintiffs argue that their (or their predecessor holders’) consent was necessary to amend

the 10.5% Notes Indenture and the Intercreditor Agreement because Indenture Section 9.02(d)(10)



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generally requires unanimous consent for any “change in the provisions in the Intercreditor

Agreement or this Indenture dealing with the application of proceeds of Collateral that would

adversely affect the Holders.” See Motion at ¶ 35 [A.D.I. 4] (quoting 10.5% Notes Indenture §

9.02(d)(10)). This argument is mistaken, for three reasons.

       First, Section 9.02(a) provides that majority consent, rather than unanimity, is all that is

generally required to amend the Indenture. Here, beyond Plaintiffs’ fanciful argument about the

validity of consents received (addressed infra, Part IV.B.2), there is no serious question that there

was far more than majority consent to the amendments.

       Second, unanimous consent was not required here, because Section 9.02(d)(10) demands

unanimity only where application of collateral proceeds is implicated by direct changes to the

10.5% Notes Indenture or the 2019 Intercreditor Agreement. Here, Plaintiffs have claimed that

three elements of the 2021 transaction effectuated a change to how collateral proceeds are

allocated, thereby requiring unanimous consent before execution. Specifically, Plaintiffs challenge

(1) changes to Section 12.01(c) of the Supplemental Indenture, modifying the term “Intercreditor

Agreement” to “Intercreditor Agreements”; (2) changes to the definition of “Permitted Liens” and

implementation of Section 4.07(d) of the Supplemental Indenture; and (3) imposition of the 2021

Intercreditor Agreement to the underlying collateral of the 10.5% Notes. Plaintiffs are mistaken.

The transactions and amendments at issue in the Motion did not modify how collateral proceeds

were allocated to noteholders under the 10.5% Notes Indenture or the 2019 Intercreditor

Agreement. Rather, they issued new senior debt as allowed under Section 4.07 of the 10.5% Notes

Indenture. Plaintiffs’ reliance on Section 9.02(d)(10) is, thus, inapposite.

       Third, and finally, another provision, Section 9.02(e) provides that the 10.5% Notes

Indenture and 2019 Intercreditor Agreement may be broadly modified both generally and, with




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respect to release of underlying collateral, with just super-majority consent. That requirement was

met here.

       Because TPC satisfied the requirement for majority (and even super-majority consent),

Plaintiffs’ Motion must be denied.

                     a. Section 9.02(a) authorizes amendments to the 10.5% Notes Indenture
                        with majority consent—a requirement undoubtedly satisfied here.

       Section 9.02(a) of the 10.5% Notes Indenture establishes that TPC, as issuer, and U.S.

Bank, as trustee and collateral agent, may, in most situations, amend or supplement the 10.5%

Notes Indenture with the consent of only a bare majority of the holders of the outstanding principal.

Section 9.02(a) provides, in pertinent part:

         Except as provided in this Section 9.02, the Issuer, the Guarantors and the
         Trustee and, if applicable, the Collateral Agent, may amend or supplement
         this Indenture (including, without limitation, Sections 4.08 and 4.12 hereof) and
         the Notes or the Note Guarantees with the consent of the Holders of at least a
         majority in aggregate principal amount of the then outstanding Notes voting
         as a single class (including, without limitation, consents obtained in connection
         with a tender offer or exchange offer for, or purchase of, the Notes) . . . .

Ex. A, 10.5% Notes Indenture § 9.02(a) (emphasis added).

       Section 9.02(a)—which, tellingly, Plaintiffs fail to mention anywhere in their Motion—is

unambiguous. It definitively establishes that TPC and US Bank were authorized to enter into the

transactions questioned in the Motion—i.e., to “amend or supplement this Indenture”—with bare

majority consent, unless some other provision of Section 9.02 provides otherwise. Here, it is

undisputed that a majority of the aggregate principal amount supported the transactions now

questioned by Plaintiffs. The holders of 66.7% of the aggregate principal amount provided Consent

Letters affirming support. As such, under a plain reading of Section 9.02(a), the amendments to

the 10.5% Notes Indenture were authorized unless contradicted by some other controlling

provision of Section 9.02.



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       As described below, no provision of Section 9.02 applies that would contradict TPC’s

satisfaction of this requirement. Summary judgment can be denied on this basis alone.

                     b. The transactions at issue in this Motion do not implicate the sacred
                        rights protected by Section 9.02(d)(10) and accordingly, unanimous
                        consent is not required.

       The keystone of Plaintiffs’ Motion is that Section 9.02(d)(10) required unanimous consent

for the Supplemental Indenture to modify certain provisions in the 10.5% Indenture. Plaintiffs

summarily allege that the modifications change the application of proceeds of collateral under the

10.5% Notes Indenture, and therefore required unanimous consent to be actionable. The plain

language of Section 9.02(d)(10) and the handful of modifications complained of by Plaintiffs

demonstrate that Section 9.02(d)(10), and its unanimous consent requirement, is not implicated. In

short: none of Plaintiffs’ “sacred rights” have been violated.

       Section 9.02(d)(10) of the 10.5% Notes Indenture, and its accompanying unanimous

consent requirement, is narrow and limited in effect to:

         any change in the provisions in the Intercreditor Agreement or this Indenture
         dealing with the application of proceeds of Collateral that would adversely
         affect the Holders.

Ex. A, 10.5% Notes Indenture § 9.02(d)(10) (emphasis added). The “sacred right” requiring

unanimous consent is only triggered when there is an amendment or change to the 2019

Intercreditor Agreement or the 10.5% Notes Indenture that (1) changes the order in which the

proceeds of collateral underlying the notes are applied among the holders of the 2019 Indenture,

and (2) does so in a manner which adversely affects the holders of such notes.

       The narrow scope of Section 9.02(d)(10) is supported by other provisions in the 10.5%

Indenture and the 2019 Intercreditor Agreement which contemplate that the “application of

proceeds” refers to the order of distribution of proceeds under the waterfall among the holders of

notes issues pursuant to the 10.5% Indenture. Section 6.10 of the 10.5% Notes Indenture addresses


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application of proceeds for “any money” collected by the Trustee under the 10.5% Indenture,

which after being paid to the Trustee and Collateral Agent under Section 7.07, is paid “to Holders

. . . ratably, without preference or priority of any kind”. Ex. A, 10.5% Notes Indenture § 6.10.

Section 4.1 of the 2019 Intercreditor Agreement (attached as Exhibit N) entitled “Application of

Proceeds of Senior Collateral” addresses the application of proceeds, which does not occur until

“the collection, sale or disposition of Senior Collateral,” after which point such proceeds are

distributed in a waterfall. See Ex. N, 2019 Intercreditor Agreement § 4.1. These are the only two

provisions addressing the waterfall for applying proceeds. Following the 2021 transaction, any

dollar received by the Trustee under the 10.5% Notes Indenture will be applied in the exact same

manner as before the transaction with each noteholder in their capacity as holder of the 10.5%

Notes being paid “ratably, without preference or priority of any kind,” and no change in the

application of proceeds occurred. See Ex. A, 10.5% Notes Indenture § 6.10.

       Plaintiffs claim a handful of amendments modified the application of the proceeds of

collateral. Not so. None of the amendments—even taken together—change the allocations of

proceeds of collateral in the 10.5% Notes Indenture or the 2019 Intercreditor Agreement, the only

type of change implicated by 9.02(d)(10) for the reasons below.

       First, Plaintiffs’ object to the modification of 12.01(c) changing “Intercreditor Agreement”

to “Intercreditor Agreements,” claiming that the modification would cause the 10.5% Notes to be

subject to the terms of the 2021 Intercreditor Agreement and thereby effectuate a sweeping change

in the application of proceeds of collateral under the 10.5% Notes. See Motion at ¶ 19 [A.D.I 4].

       The purported chain reaction that Plaintiffs alleges will result from the relatively modest

change in Section 12.1(c) will not occur. The 10.5% Notes Indenture contemplated that additional

debt could be issued and that the same assets could be pledged as collateral for different debts, and




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Section 12.01(c) is merely an administrative provision to effectuate that. The amendments do not

address relative priority of how collateral proceeds will be distributed amongst the holders of the

10.5% Notes, and therefore does not implicate 9.02(d)(10).

       Second, Plaintiffs argue that changes in the Supplemental Indenture to the definition of

“Permitted Liens” that exempt the collateral securing the 10.875% Notes from being subject to the

2019 Intercreditor Agreement effectuate a change in the allocation of proceeds of collateral. See

Motion at ¶¶ 21-23 [A.D.I. 4]. This argument is meritless and is belied by the plain language of

the Supplemental Indenture, which provides:

       “Permitted Liens” means:
        (1) Liens securing Indebtedness and other Obligations under Debt Facilities
        incurred pursuant to Section 4.07(b)(1) hereof and/or securing Bank Products
        obligations related thereto; provided that such Liens (other than Liens securing
        the New Notes) are subject to the provisions of the ABL Intercreditor Agreement
        (including with respect to the relative priority of the ABL Facility Priority
        Collateral and Notes Priority Collateral) as an ABL Agreement;

See Ex. F, Supp. Indenture § 1.01 (“Permitted Liens”) (emphasis added).

       Nowhere in this changed definition of “Permitted Liens” is the allocation of collateral

discussed. The mere fact that TPC pledged some of the same assets that are collateral under the

10.5% Notes as collateral under the 10.875% Notes does not change how the proceeds of that

collateral will be allocated among the holders of the 10.5% Notes or between the 10.5% Notes

Indenture and the ABL.

       Plaintiffs’ argument that Sections 4.07(b)(1) and 4.07(d) of the Supplemental Indenture

affect the application of proceeds likewise fails. Sections 4.07(b)(1) and 4.07(d) are simply

administrative provisions regarding the classification of debt and, again, do not implicate the

allocation of proceeds. Moreover, Plaintiffs also fail to call to the Court’s attention the material

benefits they receive in the Supplemental Indenture’s modifications to Section 4.07(b)(1), which

limits the Permitted Debt allowed by the company in the future.


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       Third, Plaintiffs finally claim that the 2021 Intercreditor Agreement changes the 10.5%

Notes’ priority with respect to collateral proceeds for collateral that it shares with the 10.875%

Notes, and therefore changes the allocation of proceeds. This is not an allocation of proceeds issue,

but rather a subordination issue. The case of LCM XXII Ltd. v. Serta Simmons Bedding LLC is

instructive and crystallizes this proposition. There, an experienced district judge in the Southern

District of New York, applying New York law, held that “sacred rights” are not implicated when

the “Plaintiff’s objection to the Transaction is not the interruption of their pro rata payment rights

within the same class of lenders—which remain fully intact—but rather the subordination of their

first-lien loans.” 21 Civ. 3987, 2022 WL 953109 at *10 (S.D.N.Y. Mar. 29, 2022) (Failla, J).

Because anti-subordination was not an enumerated “sacred right,” the changes in LCM required

only a majority of the lenders’ approval. Id. The same is true here—and Plaintiffs fail to allege a

single modification to the payments among the holders of the notes for the 10.5% Notes Indenture

necessary to invoke the sacred rights under Section 9.02(d)(10).

       Plaintiffs’ argument—that Section 9.02(d)(10) is triggered simply because TPC entered

into the 10.875% Notes, and thereby incurred more senior debt which subordinated the existing

liens—is non-sensical. Taken to its logical conclusion, Plaintiffs’ interpretation of the provision

would mean that, anytime TPC decided to incur more senior debt or secure a commercial letter of

credit with some collateral, it would have to gain the consent of each and every noteholder—even

if the substantive terms of the original indenture remained unchanged. Such a result cannot be

squared with commercial common sense, let alone the provision’s plain language, which addresses

“change[s] in the provisions in the Intercreditor Agreement or this Indenture dealing with the

application of proceeds of Collateral that would adversely affect the Holders.” See Ex. A, 10.5%

Notes Indenture 9.02(d)(10); see In re Lipper Holdings, LLC, 1 A.D.3d 170, 171 (N.Y. App. Div.




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2003) (“A contract should not be interpreted to produce a result that is absurd . . . , commercially

unreasonable . . . , or contrary to the reasonable expectations of the parties . . . .”).

        Plaintiffs also gloss over a critical fact: there is no provision in the 10.5% Notes

Indenture—whether in section 9.02(d) or elsewhere—preventing the subordination of existing

debt by a simple majority, let alone a supermajority. Rather, the 10.5% Notes Indenture expressly

allow for the incurrence of additional debt and is silent on whether the liens securing the additional

notes can be issued as senior in priority to the liens securing the 10.5% Notes. See Ex. A., 10.5%

Notes Indenture §§ 4.07(b)(1), (b)(15). The 2019 Intercreditor Agreement also plainly

contemplates TPC’s incurrence of additional debt. See Ex. N, 2019 Intercreditor Agreement §

10.5 (recognizing as a party to the agreement “each additional representative in respect of

Additional Debt from time to time party hereto pursuant to Section 10.5(b)”) (emphasis added).

        Indeed, the sole provision to directly address subordination of liens comes from

the Supplemental Indenture, which added Section 9.02(f), a provision explicitly permits subordination

of liens with super-majority consent:

         Notwithstanding the foregoing in this Section 9.02, no amendment, supplement
         or waiver to the Indenture or any other Note Document shall subordinate the
         Lien securing the Notes Obligations to any other Lien (and the Trustee shall not
         enter into any intercreditor agreement providing for such subordination) without
         the consent of the holders of at least 66- 2/3% in aggregate principal amount of
         the Notes then outstanding.

See Ex. F, Supp. Indenture, § 9.02(f). Had the parties to the 10.5% Notes Indenture wished to make

the issuance of new debt and the subordination of existing debt dependent on the unanimous

consent of noteholders, they could have done so. After all, the Supplemental Indenture contains

such a requirement. Ex. F, Supp Indenture, § 9.02(f). Plaintiffs’ suggestion to replace the 10.5%

Notes’ silence on subordination with words appearing nowhere in the document is simply

inappropriate. This Court has no obligation to impose such unwritten language. Arkin Kaplan Rice



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LLP v. Kaplan, 991 N.Y.S.2d 597, 600 (N.Y. App. Div. 2014) (“[T]here is no basis to interpret []

parties’ agreement as impliedly stating something that they did not specifically include.”); UMB

Bank, N.A. v. Neiman Marcus Grp., Inc., 128 N.Y.S.3d 823, 826 (N.Y. Sup. Ct. 2020) (“The words

actually used in the Indentures are ultimately dispositive.”); RM 14 FK Corp. v. Bank One Tr. Co.,

37 A.D.3d 272, 273-75 (N.Y. App. Div. 2007) (dismissing a complaint where plaintiff’s consent

was not required on the basis that it was not the court’s place to read into the contract a provision

“which the parties have neglected to specifically include”).

         The only authority Plaintiffs cite for their interpretation of Section 9.02(d)(10) is Audax

Credit Opportunities Offshore Ltd. v. TMK Hawk Parent, Corp. (“Trimark”), an unreported New

York trial-court opinion on a motion to dismiss. 72 Misc. 3d 1218(A), 150 N.Y.S.3d 894 (N.Y.

Sup. Ct. 2021). Trimark presents no authority—whether persuasive or binding—to this Court, as

it is distinguishable, both factually and procedurally, from the scenario here.

         In Trimark, the plaintiffs, existing creditors of a company, promptly5 challenged a

“Liquidity Transaction” that they had not been given notice of, in which the borrower issued two

additional tranches of more senior debt, both of which were secured by the same collateral as the

Trimark plaintiffs’ loan. By contrast, here, Plaintiffs waited nearly a year before raising any

challenge—and did not provide a formal written notice of complaint until March 31, 2022. See Ex.

L, March 31, 2022 Milbank Ltr. to TPC. Further, in Trimark, the market reacted negatively to the

new debt issuance as the price of plaintiffs’ holdings fell from 78 cents on the dollar to

approximately 50 cents on the dollar. See Trimark Compl. ¶ 59 (cited in Trimark, 72 Misc. 3d


5
   Plaintiffs here did not raise any of their objections promptly and have also failed to disclose when they acquired
their interest in the 10.5% Notes (despite promises to do so). Several allegations in the Complaint indicate that the
acquisition was after February 2021 and the public announcements regarding the 10.875% Notes and their relationship
to the 10.5% notes. E.g., Ex. B, Ex. C. In addition, TPC regularly reports to its investors including Plaintiffs and, in
those reports, describes the relationship between the 10.5% Notes and the 10.875% Notes as well as the February 2021
transaction. See, e.g., Hurt Declaration at Exs. 28-32 (TPC’s 2021 and 2022 disclosures providing investors, among
other things, with descriptions of debt issuances and the interrelationship between 10.5% Notes and 10.875% Notes).


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1218(A), at *4). By contrast, here, the 10.5% Notes barely changed following issuance of the

10.875% Notes. See Ex. I, Secondary Market Activity Chart (indicating that 10.5% Notes moved

from         , on February 1, 2021, to         , on February 4, 2021).

       Moreover, although the Trimark indenture had similar (but not identical) language to

Section 9.02(d)(10) of the 10.5% Notes indenture, there is no indication that the indenture in

question in Trimark had a provision akin to Section 9.02(e) here. See generally Trimark, 72 Misc.

3d 1218(A). As such, it is irrelevant that the Trimark court held there was a “plausible argument

that the Liquidity Transaction required consent . . . because it ‘alter[ed] the order of application of

proceeds’ by subordinating Plaintiffs’ priority interest to the new Super-Senior Priority

Intercreditor Agreement.” See Trimark 72 Misc. 3d 1218(A) at **12. The facts salient to

interpretation and application of the indenture provisions are totally distinguishable.

       Moreover, Plaintiffs fail to acknowledge the Trimark indenture features specific language

in the applicable “sacred rights” addressing amendments, waivers or modifications to such sacred

rights “pursuant to an agreement or agreements.” Id. at **11. Such language—absent from

Plaintiffs’ analysis of the case—features nowhere in Section 9.02(d)(10) of the 10.5% Notes

Indenture. That provision, as detailed above, is triggered only by “an amendment, supplement or

waiver” that changes the 2019 Intercreditor Agreement or 10.5% Notes Indenture. In other words:

while the Trimark indenture contemplated looking beyond the at-issue credit agreement, such is

not the case here. The only changes relevant to Section 9.02(d)(10) are changes in the 2019

Intercreditor Agreement and the 10.5% Notes Indenture—not the 2021 Intercreditor Agreement.

Thus, for yet another reason, Plaintiffs’ reliance on Trimark is misplaced.

       In short, Section 9.02(d)(10) is not implicated by the 2021 transaction. This alone is another

basis for denial of Plaintiffs’ summary judgment and dismissal of their adversary proceeding.




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                      c. Section 9.02(e) permits modifications to the Intercreditor Agreement
                         and the 10.5% Notes Indenture that have the effect of releasing the
                         collateral securing the 10.5% Notes with supermajority consent.

        Leaving aside that the Supplemental Indenture and 2021 Intercreditor Agreement were

permitted by Section 9.02(a) and that Section 9.02(d)(10) is inapplicable, the Motion must be

denied for yet another reason: even if majority consent under Section 9.02(a) was not sufficient,

Section 9.02(e) allows for issuance of the Supplemental Indenture and 2021 Intercreditor

Agreement with super-majority consent, a prerequisite TPC undoubtedly satisfies.

        Section 9.02(e)—conspicuously ignored by Plaintiffs—expressly permits amendments,

with super-majority approval, to go as far as releasing the collateral or modifying the 10.5% Notes

Indenture and Intercreditor Agreement. It provides:

         Any amendment to, or waiver of, the provisions of this Indenture, any Security
         Document or any other indenture governing . . . that has the effect of releasing
         all or substantially all of the Collateral from the Liens securing the Notes or
         otherwise modifies the Intercreditor Agreement or other Security Documents
         in any manner adverse in any material respect to the Holders will require the
         consent of the holders of at least 66- 2/3% in aggregate principal amount of
         the Notes and any Permitted Additional Pari Passu Obligations then outstanding.

Ex. A, 10.5% Notes Indenture § 9.02(e) (emphasis added).

        Plaintiffs purposefully ignore Section 9.02(e) for good reason: this provision is fatal to their

claim. Consistent with Section 9.02(e), TPC received approval from 129 separate noteholders who

collectively owned 66.7% of the aggregate principal amount of the 10.5% Notes before issuing the

10.875% Notes and enacting the February 2021 amendments. See Hurt Decl. ¶¶ 10-35. Each

noteholder consented to “(i) the amendment of the Indenture . . . as set forth in this Supplemental

Indenture, and (ii) and the execution and delivery of the New Intercreditor Agreement.” Id. at Exs.

2-26.




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        Here, Section 9.02(e) bars Plaintiffs’ claims. Plaintiffs complain that the underlying

collateral upon which proceeds are paid has been released or changed and their rights have been

adversely affected. See generally Motion [A.D.I 4].

        Plaintiffs’ overbroad read of Section 9.02(d)(10) renders Section 9.02(e) mere surplusage.

As noted above, Section 9.02(e) unambiguously permits the release of liens on the 10.5% Notes

collateral in their entirety with the consent of just a super majority of the noteholders. Plaintiffs’

argument—that unanimous consent was required to enter into a transaction that created senior liens

on the 10.5% Notes collateral under Section 9.02(d)(10) but that those liens could be released in

their entirety with just a super majority—is nonsensical. Such an interpretation cannot stand. See

Greylock Glob. Opportunity Master Fund Ltd. v. Province of Mendoza, No. 04 CIV.7643(HB),

2005 WL 289723, at *6 (S.D.N.Y. Feb. 8, 2005), aff’d, 162 Fed. Appx. 85 (2d Cir. 2006)

(“[C]ontractual provisions should be interpreted as to avoid rendering provisions of a contract

superfluous, redundant, or obsolete.”); Wilder v. World of Boxing LLC, 310 F. Supp. 3d 426, 441

(S.D.N.Y. 2018) (“The courts should construe a contract in a manner that avoids inconsistencies

and reasonably harmonizes its terms.”) (internal citations omitted). This is likewise fatal to

Plaintiffs’ claim.

        Finally, Plaintiffs’ position is completely at odds with financing proposals their counsel at

the time of the Motion, Milbank, provided to TPC in 2020. Milbank, acting on behalf of its then-

client, PGIM, on November 10, 2020, proposed to TPC a notes offering for issuance of $253

million in new 9.5% senior secured notes. See Hurt Decl. ¶¶ 52-55. The deal proposed in the

Milbank Term Sheet was financed in a highly aggressive manner: it proposed to release all liens

on the collateral securing the 10.5% Notes, transfer substantially all of TPC’s existing assets to a

newly formed subsidiary of TPC Group, Inc., and issue notes out of that subsidiary. See id. at Ex.




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35; accord Ex. E, Jamal Decl. The Milbank Term Sheet contemplated that the transaction would

be effective with less than unanimous consent. Id. TPC rejected Milbank’s proposal and instead

pursued the issuance of the 10.875% Notes. Ex. E, Jamal Decl.

       Now—acting on behalf of Plaintiffs, two of the non-consenting noteholders adverse to the

Ad Hoc Group that includes PGIM—Milbank has turned an about face regarding the requirements

under the 10.5% Notes. Milbank now claims that the issuance of the 10.875% Notes was

ineffective without unanimous noteholder consent. This irony of this argument is apparent.

Milbank had proposed to TPC that the Milbank Term Sheet’s transaction would be effective with

less than unanimous noteholder consent.

       Even ignoring the fact that it is totally unsupported by the governing documents, Milbank’s

contradictory position provides just another reason to dismiss Plaintiffs’ Motion.

           2. The Consent Letters received by TPC were effective to issue the Supplemental
              Indenture and 2021 Intercreditor Agreement.

       Plaintiffs’ remaining argument—that the Consent Letters received by TPC did not properly

provide consent to the issuance of the Supplemental Indenture and 2021 Intercreditor

Agreement—is also meritless. Sections 9.02(a), (d), and (e) provide that amendments and

modifications to the 10.5% Notes Indenture are effective with the consent of the “Holders” of

certain amounts—majority, super-majority, unanimity—in aggregate principal amount of the

10.5% Note. See generally Ex. A, 10.5% Notes Indenture § 9.02. The 10.5% Notes Indenture, in

turn, provides that “Holder” is “a Person in whose name a Note is registered in the register

maintained by the Registrar.” Id. § 1.01.

       As described above, TPC received Consent Letters from the Holders of 66.7% (i.e., more

than 66 2/3rd percent) of the aggregate principal amount then outstanding of 10.5% Notes

affirmatively consenting to the Supplemental Indenture and 2021 Intercreditor Agreement. See



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Hurt Decl. ¶ 10. The Consent Letters satisfied the majority or supermajority consent required by

Sections 9.02(a) and (e), respectively.

       After receiving the Consent Letters, the Trustee, as requested by TPC, executed the

Supplemental Indenture and 2021 Intercreditor Agreement. See id. at ¶ 41; Ex. J, Ihrke Decl. ¶ 8.

In doing so, under the terms of the 2019 Indenture, the Trustee had to decide there as “evidence

satisfactory to the Trustee on the consent of the Holders.” See Ex. A, 10.5% Notes

Indenture § 9.02(b). The Trustee did not challenge the sufficiency or effectiveness of the consents.

See generally Ex. J, Ihrke Decl. ¶ 8; accord Hurt Decl. ¶ 42.

       The only parties to challenge effectiveness of the Consent Letters are Plaintiffs, solely

because the Consent Letters are not signed by the registered holders. This argument, made by

beneficial holders just like those signing the Consent Letters, and raised for the first time in this

adversary proceeding, is as ironic as it is flawed. To begin, from August 2, 2019, up until the

adversary proceeding was filed, no party—including Plaintiffs—had ever raised a complaint that

any of the Consents Letters provided to TPC were invalid because they had been signed and

attested to by the beneficial owners. Indeed, even in the letters Plaintiffs provided to counsel for

TPC on March 31, 2022 and to the Trustee on April 26, 2022 generally complaining of the

10.875% Notes issuance, Plaintiffs did not challenge the Consent Letters on the bases that they do

now. See Ex. L, March 31, 2022 Milbank Ltr. to TPC; Ex. M, April 26, 2022, Milbank Ltr. to

Trustee.

       This is no coincidence, as (in addition to being nearly a year late) Plaintiffs’ argument is

wrong on the law. Where, as here, the party in question is the undisputed beneficial owner, courts

have refused to enforce distinctions between beneficial and registered ownership to deny relief.

See, e.g., Friedman v. Airlift Intern., Inc., 44 A.D.2d 459, 461 (N.Y. App. Div. 1974) (rejecting




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defense that “that these bonds are registered in the name of a nominee, not the plaintiff herself,”

as “this fact is of no significance” where there was no dispute over ownership); see also Allan

Applestein TTEE FBO D.C.A. v. Province of Buenos Aires, 415 F.3d 242, 245-6 (2d Cir. 2005)

(holding that the fact that a beneficial owner of a note did not receive permission from the

registered holder to sue the issuer until after initiating the lawsuit did not affect the effectiveness

of the permission, where the issuer had previously conceded that the permission was effective and

the statute of limitations would not bar the beneficial owner from refiling the action in any case).

Where it is clear that a registered holder had indicated its consent, requiring reissuance of such

consent would be a “completely wasteful repetition of proceedings that have already occurred.”

Applestein, 415 F.3d at 246.

       Ironically, if Plaintiffs’ argument was correct, then it would also deprive them of any

standing to bring their claims. Section 6.06(a) of the 10.5% Notes Indentures provides that only a

“holder” can bring suit. Plaintiffs did not allege that they are the registered holders or advisors to

the registered holders of the amount of 10.5% Notes they purport to own, and instead are the

beneficial owners and investment managers to the beneficial owners. See generally Complaint

[A.D.I 1]. As such, these facts provide yet another basis for denial of their Motion.

       Plaintiffs’ “registered vs. beneficial holders” argument is just a meritless, form over

substance distinction, with no basis in law or fact. See Financials Restructuring Partners III, LT

v. Riverside Banking Co., 2014 WL 36078 (N.Y. Sup. Ct. Jan. 02, 2014) (“[Riverside’s assertion

that plaintiff cannot sue because it is not a registered holder] ignores the fact that [plaintiff] is a

beneficial holder of the securities . . . Therefore there was no obligation to comply with the

requirements set forth in the Indenture””). It provides no basis for this Court to grant summary

judgment.




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                                   V.        CONCLUSION

         For the foregoing reasons, TPC respectfully requests this Court deny Plaintiffs’ motion for

summary judgment, grant judgment to TPC, and grant such other and further relief as it deems just

and proper.


Dated: June 17, 2022
Wilmington, Delaware
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                       EXHIBIT A

           10.50% Senior Secured Notes Indenture
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                                                          Execution Version




                        TPC Group Inc.


         10.50% SENIOR SECURED NOTES DUE 2024


                          INDENTURE


                    Dated as of August 2, 2019


               U.S. Bank National Association

                    Trustee & Collateral Agent
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               INDENTURE dated as of August 2, 2019 among TPC Group Inc., a Delaware
corporation (the “Issuer”), the Guarantors (as defined herein) and U.S. Bank National
Association, a national banking association, as Trustee and Collateral Agent.

                The Issuer, the Guarantors and the Trustee agree as follows for the benefit of each
other and for the equal and ratable benefit of the Holders (as defined herein) of (a) the
$930,000,000 aggregate principal amount of the Issuer’s 10.50% Senior Secured Notes due 2024
issued on the date hereof (the “Initial Notes”) and (b) any Additional Notes (as defined herein)
that may be issued after the date hereof (all such securities in clauses (a) and (b) being referred to
collectively as the “Notes”):

                                            ARTICLE 1

                  DEFINITIONS AND INCORPORATION BY REFERENCE

Section 1.01   Definitions.

               “144A Global Note” means a Global Note substantially in the form of Exhibit A1
hereto bearing the Global Note Legend and the Private Placement Legend and deposited with or
on behalf of, and registered in the name of, the Depositary or its nominee that will be issued in a
denomination equal to the outstanding principal amount of the Notes sold in reliance on
Rule 144A.

               “ABL Facility Collateral Agent” means the collateral agent under the Credit
Agreement, which, on the Issue Date, was Bank of America, N.A., or if the Credit Agreement is
no longer outstanding, the “Successor ABL Facility Collateral Agent”.

               “ABL Facility Priority Collateral” has the meaning ascribed to such term in the
Intercreditor Agreement.

               “ ABL Liens” means all Liens in favor of the ABL Facility Collateral Agent on
Collateral securing the ABL Obligations.

               “ABL Obligations” means (i) the Indebtedness under the Credit Agreement and
other Obligations under the Credit Agreement incurred under Section 4.07(b)(1) and
Section 4.07(b)(15) (to the extent incurred under a Debt Facility), including any interest, fees,
expenses or indemnification obligations related thereto and (ii) certain Bank Products obligations
owed to an agent, an arranger or a lender or an affiliate of an agent, an arranger or a lender under
the Credit Agreement (or who was such a person at the time of the incurrence thereof) which are
Secured Bank Product Obligations (as defined in the Credit Agreement).

               “ABL Security Documents” means one or more security agreements, pledges,
mortgages, deeds of trust, pledge agreements, collateral assignments, trust deeds or other security
documents or instruments evidencing or creating or purporting to create any security interests in
favor of the ABL Facility Collateral Agent under the Credit Agreement.

               “Acquired Debt” means, with respect to any specified Person:
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                (1)    Indebtedness of any other Person existing at the time such other Person is
        merged with or into or became a Restricted Subsidiary of such specified Person, whether
        or not such Indebtedness is incurred in connection with, or in contemplation of, such
        other Person merging with or into, or becoming a Restricted Subsidiary of, such specified
        Person; and

                (2)    Indebtedness secured by a Lien encumbering any asset acquired by such
        specified Person.

                  “Additional Assets” means:

                (1)     any properties or assets to be used by the Issuer or a Restricted Subsidiary
        of the Issuer in a Permitted Business;

                (2)    capital expenditures by the Issuer or a Restricted Subsidiary of the Issuer
        in a Permitted Business;

                (3)     the Capital Stock of a Person that becomes a Restricted Subsidiary of the
        Issuer as a result of the acquisition of such Capital Stock by the Issuer or another
        Restricted Subsidiary of the Issuer; or

                (4)     Capital Stock constituting a Minority Interest in any Person that at such
        time is a Restricted Subsidiary of the Issuer.

               provided, however, that, in the case of clauses (3) and (4), such Restricted
Subsidiary is primarily engaged in a Permitted Business.

                “Additional Notes” means additional Notes (other than the Initial Notes) issued
under this Indenture in accordance with Sections 2.02, 4.07, and 4.10 hereof, as part of the same
series as the Initial Notes, whether or not they bear the same “CUSIP” number.

                “Affiliate” of any specified Person means any other Person directly or indirectly
controlling or controlled by or under direct or indirect common control with such specified
Person. For purposes of this definition, “control,” as used with respect to any Person, means the
possession, directly or indirectly, of the power to direct or cause the direction of the management
or policies of such Person, whether through the ownership of voting securities, by agreement or
otherwise. For purposes of this definition, the terms “controlling,” “controlled by” and “under
common control with” have correlative meanings.

                  “Agent” means any Registrar, co−registrar, Paying Agent or other agent appointed
hereunder.

                  “Applicable Premium” means, with respect to any Note on any redemption date,
the greater of:

                  (1)    1.0% of the principal amount of the Note; or




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               (2)    the excess of: (a) the present value at such redemption date of (i) the
       redemption price of the Note at August 1, 2021, (such redemption price being set forth in
       the table appearing in Section 3.07(b) hereof) plus (ii) all required interest payments due
       on the Note through August 1, 2021 (excluding accrued but unpaid interest to the
       applicable redemption date), computed using a discount rate equal to the Treasury Rate as
       of such redemption date plus 50 basis points; over (b) the principal amount of the Note.

                The Issuer will calculate, or cause to be calculated, the Applicable Premium and
deliver it and the calculation thereof to the Trustee in reasonable detail.

                “Applicable Procedures” means, with respect to any transfer or exchange of or for
beneficial interests in any Global Note, the rules and procedures of the Depositary that apply to
such transfer or exchange.

                 “Asset Acquisition” means:

               (1)     an Investment by the Issuer or any Restricted Subsidiary of the Issuer in
       any other Person pursuant to which such Person shall become a Restricted Subsidiary of
       the Issuer or any Restricted Subsidiary of the Issuer, or shall be merged with or into or
       consolidated with the Issuer or any Restricted Subsidiary of the Issuer; or

               (2)     the acquisition by the Issuer or any Restricted Subsidiary of the Issuer of
       the assets of any Person (other than a Restricted Subsidiary of the Issuer) which
       constitute all or substantially all of the assets of such Person or comprise any division or
       line of business of such Person or any other properties or assets of such Person other than
       in the ordinary course of business.

                 “Asset Sale” means:

               (1)     the sale, lease, conveyance or other disposition of any assets or rights of
       the Issuer and its Restricted Subsidiaries (including by way of a division or a
       Sale/Leaseback Transaction); provided that the sale, lease, conveyance or other
       disposition of all or substantially all of the assets of the Issuer and its Restricted
       Subsidiaries taken as a whole will be governed by Section 4.12 hereof and/or
       Section 5.01 hereof and not by Section 4.08 hereof; and

              (2)     the issuance or sale of Equity Interests in any of the Issuer’s Restricted
       Subsidiaries (other than preferred stock of Restricted Subsidiaries issued in compliance
       with Section 4.07 and directors’ qualifying shares or shares required by applicable law to
       be held by a Person other than the Issuer or a Restricted Subsidiary).

                 Notwithstanding the preceding, none of the following items will be deemed to be
an Asset Sale:

                (1)   any single transaction or series of related transactions that involves assets
       or Equity Interests of any Restricted Subsidiary of the Issuer having a Fair Market Value
       of less than $20.0 million;



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        (2)    a transfer of assets between or among the Issuer and any Restricted
Subsidiary of the Issuer; provided that any transfers from the Issuer or a Guarantor to a
Restricted Subsidiary of the Issuer of assets that constitute Collateral do not result in the
Lien on such Collateral being released;

        (3)     an issuance or sale of Equity Interests by a Restricted Subsidiary of the
Issuer to the Issuer or to another Restricted Subsidiary of the Issuer;

       (4)     the sale or lease of inventory, products or services or the lease, assignment
or sub−lease of any real or personal property;

       (5)     the sale or discounting of accounts receivable in the ordinary course of
business;

        (6)     any sale or other disposition of damaged, worn−out, obsolete or no longer
useful assets or properties;

       (7)     any sale of assets received by the Issuer or any of its Restricted
Subsidiaries upon the foreclosure, condemnation or similar action on a Lien;

        (8)    the sale or other disposition of cash, Cash Equivalents or Marketable
Securities;

        (9)     a sale of accounts receivable and related assets of the type specified in the
definition of “Receivables Financing” to a Receivables Subsidiary in a Qualified
Receivables Financing;

        (10) a transfer of accounts receivable and related assets of the type specified in
the definition of “Receivables Financing” (or a fractional undivided interest therein) by a
Receivables Subsidiary in a Qualified Receivables Financing;

       (11) a Restricted Payment that does not violate Section 4.05 hereof or a
Permitted Investment;

       (12) any sale of Equity Interests in, or Indebtedness or other securities of, an
Unrestricted Subsidiary;

       (13)    the granting of Liens not otherwise prohibited by this Indenture;

       (14) the surrender, or waiver of contract rights, leases or settlement, release or
surrender of contract, tort or other claims;

       (15) the grant in the ordinary course of business of any license of patents,
trademarks, know−how and any other intellectual property;

       (16)    the early termination or unwinding of any Hedging Obligations;




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               (17) sales, transfers and other dispositions of Investments in joint ventures to
       the extent required by, or made pursuant to, customary buy/sell arrangements between the
       joint venture parties set forth in joint venture arrangements or similar binding
       arrangements;

               (18) the lapse, cancellation or abandonment of intellectual property rights in
       the ordinary course of business, which in the reasonable good faith determination of the
       Issuer are not material to the conduct of the business of the Issuer and the Restricted
       Subsidiaries taken as a whole;

             (19) the sale of any property in a Sale/Leaseback Transaction within six
       months of the acquisition of such property;

               (20) any disposition of (x) Excluded Pipelines and (y) the real property upon
       which Excluded Pipelines disposed of pursuant to subclause (x) are located; provided that
       with respect to the disposition of real property the boundaries of the real property being
       disposed of shall have been described in a third−party survey; and

               (21)    any Permitted Asset Swap.

                 In the event that a transaction (or any portion thereof) meets the criteria of a
permitted Asset Sale and would also be a permitted Restricted Payment or Permitted Investment,
the Issuer, in its sole discretion, will be entitled to divide and classify such transaction (or any
portion thereof) as an Asset Sale and/or one or more of the types of permitted Restricted
Payments or Permitted Investments.

               “Bank Products” means any of the following products, services or facilities
extended to the Issuer or any Subsidiary of the Issuer: (a) Cash Management Services; (b)
products under Interest Rate Agreements, Currency Agreements or Commodity Agreements; (c)
commercial credit card and merchant card services; and (d) other banking products or services as
may be requested by the Issuer or any Subsidiary of the Issuer, other than loans or letters of
credit.

                “Bankruptcy Law” means Title 11, United States Bankruptcy Code of 1978, as
amended, or any similar U.S. federal or state law relating to bankruptcy, insolvency,
receivership, winding−up, liquidation, reorganization or relief of debtors or any amendment to,
succession to or change in any such law.

                “Beneficial Owner” has the meaning assigned to such term in Rule 13d−3 and
Rule 13d−5 under the Exchange Act, except that in calculating the beneficial ownership of any
particular “person” (as that term is used in Section 13(d)(3) of the Exchange Act), such “person”
will be deemed to have beneficial ownership of all securities that such “person” has the right to
acquire by conversion or exercise of other securities, whether such right is currently exercisable
or is exercisable only after the passage of time. The terms “Beneficially Owns” and “Beneficially
Owned” have a corresponding meaning.

               “Board of Directors” means:



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             (1)    with respect to a corporation, the board of directors of the corporation or
       any committee thereof duly authorized to act on behalf of such board;

              (2)     with respect to a partnership, the board of directors or other governing
       body of the general partner of the partnership;

              (3)   with respect to a limited liability company, the board of directors or other
       governing body, and in the absence of the same, the manager or board of managers or the
       managing member or members or any controlling committee thereof; and

              (4)     with respect to any other Person, the board or committee of such Person
       serving a similar function.

                “Borrowing Base” means the sum of (1) 90% of the book value (calculated in
accordance with GAAP) of the accounts receivable of the Issuer and its Restricted Subsidiaries
and (2) the lesser of (x) 95% of the net orderly liquidation value of all eligible inventory and (y)
80% of the cost of eligible inventory, in each case, of the Issuer and its Restricted Subsidiaries,
in each case as shown on the most recent consolidated balance sheet of the Issuer and its
Restricted Subsidiaries.

               “Business Day” means a day other than a Saturday, Sunday or other day on which
a place of payment is closed or on which banking institutions are authorized or required by law
to close in New York State.

                 “Capital Lease Obligation” means, at the time any determination is to be made,
the amount of the liability in respect of a lease that would at that time be required to be
capitalized on a balance sheet (excluding the footnotes thereto) prepared in accordance with
GAAP; provided that any obligations of the Issuer or its Restricted Subsidiaries, or of a special
purpose or other entity not consolidated with the Issuer and its Restricted Subsidiaries, either
existing on the Issue Date or created prior to any recharacterization described below (or any
refinancings thereof) (i) that were not included on the consolidated balance sheet of the Issuer as
capital lease obligations and (ii) that are subsequently recharacterized as capital lease obligations
or, in the case of such a special purpose or other entity becoming consolidated with the Issuer
and its Restricted Subsidiaries, due to a change in accounting treatment or otherwise, shall for all
purposes not be treated as Capital Lease Obligations or Indebtedness.

               “Capital Stock” means:

               (1)     in the case of a corporation, corporate stock;

              (2)     in the case of an association or business entity that is not a corporation,
       any and all shares, interests, participations, rights or other equivalents (however
       designated) of corporate stock;

               (3)    in the case of a partnership or limited liability company, partnership
       interests (whether general or limited) or membership interests; and




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              (4)     any other interest or participation that confers on a Person the right to
       receive a share of the profits and losses of, or distributions of assets of, the issuing
       Person, but excluding from all of the foregoing any debt securities convertible into
       Capital Stock, whether or not such debt securities include any right of participation with
       Capital Stock.

                 “Cash Contributions” means the aggregate amount of cash contributions made to
the capital of the Issuer or any Guarantor described in the definition of “Contribution
Indebtedness.”

              “Cash Equivalents” means:

               (1)    Canadian dollars, Euros, U.S. dollars or such local currencies held by the
       Issuer and any of its Restricted Subsidiaries from time to time in the ordinary course of
       business;

                (2)     securities issued or directly and fully guaranteed or insured by the
       government of the United States or any agency or instrumentality thereof (provided that
       the full faith and credit of such government is pledged in support of those securities)
       having maturities of not more than one year from the date of acquisition;

               (3)      certificates of deposit, time deposits and eurodollar time deposits with
       maturities of one year or less from the date of acquisition, bankers’ acceptances with
       maturities not exceeding one year and overnight bank deposits, in each case, with any
       lender party to the Credit Agreement having combined capital and surplus and undivided
       profits of not less than $500.0 million, whose debt has a rating, at the time as of which
       any investment made therein is made of at least A−1 by S&P or at least P−1 by Moody’s
       or having capital and surplus in excess of $500.0 million and a Thomson Bank Watch
       Rating of “B” or better;

               (4)     repurchase obligations for underlying securities of the types described in
       clauses (2) and (3) above entered into with any financial institution meeting the
       qualifications specified in clause (3) above;

            (5)     commercial paper having one of the two highest ratings obtainable from
       Moody’s or S&P and, in each case, maturing within one year after the date of acquisition;

              (6)     securities issued or fully guaranteed by any state or commonwealth of the
       United States, or by any political subdivision or taxing authority thereof having one of
       the two highest ratings obtainable from Moody’s or S&P, and, in each case, maturing
       within one year after the date of acquisition;

              (7)     money market funds at least 95% of the assets of which constitute Cash
       Equivalents of the kinds described in clauses (1) through (5) of this definition; and

               (8)     Indebtedness or preferred stock issued by Persons with a rating of “A” or
       higher from S&P or “A−2” from Moody’s with maturities of 24 months or less from the
       date of acquisition.


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                “Cash Management Services” means any services provided from time to time by
any lender under the Credit Agreement or any of its affiliates to the Issuer or any Subsidiary of
the Issuer in connection with operating, collections, payroll, trust, or other depository or
disbursement accounts or similar cash management arrangements, including automated
clearinghouse, e-Payables, electronic funds transfer, wire transfer, controlled disbursement,
overdraft, depository, information reporting, lockbox and stop payment services.

               “Change of Control” means the occurrence of any of the following:

                (1)    the direct or indirect sale, lease, transfer, conveyance or other disposition
       (other than by way of merger or consolidation), in one or a series of related transactions,
       of all or substantially all of the properties or assets of the Issuer and its Subsidiaries taken
       as a whole to any “person” (as that term is used in Section 13(d) of the Exchange Act),
       other than the Permitted Holders;

               (2)    the consummation of any transaction (including, without limitation, any
       merger or consolidation), the result of which is that any “person” (as defined above),
       other than the Permitted Holders, becomes the Beneficial Owner, directly or indirectly, of
       more than 50% of the Voting Stock of the Issuer, measured by voting power rather than
       number of shares; or

               (3)     the Issuer consolidates with, or merges with or into, any Person, or any
       Person consolidates with, or merges with or into, the Issuer, in any such event pursuant to
       a transaction in which any of the outstanding Voting Stock of the Issuer or such other
       Person is converted into or exchanged for cash, securities or other property, other than
       any such transaction where the Voting Stock of the Issuer outstanding immediately prior
       to such transaction constitutes or is converted into or exchanged for a majority of the
       outstanding shares of the Voting Stock of such surviving or transferee Person
       (immediately after giving effect to such transaction).

                 Notwithstanding the preceding, a conversion of the Issuer or any of its Restricted
Subsidiaries from a limited liability company, corporation, limited partnership or other form of
entity to a limited liability company, corporation, limited partnership or other form of entity or
an exchange of all of the outstanding Capital Stock in one form of entity for Capital Stock for
another form of entity shall not constitute a Change of Control, so long as following such
conversion or exchange the “persons” (as that term is used in Section 13(d)(3) of the Exchange
Act) who Beneficially Owned the Capital Stock of the Issuer immediately prior to such
transactions continue to Beneficially Own in the aggregate more than 50% of the Voting Stock
of such entity, or continue to Beneficially Own sufficient Equity Interests in such entity to elect a
majority of its directors, managers, trustees or other persons serving in a similar capacity for
such entity, and in either case no “person” Beneficially Owns more than 50% of the Voting
Stock of such entity.

               “Code” means the Internal Revenue Code of 1986, as amended.

                “Collateral” means all of the assets and properties subject (or purported to be
subject) to the Liens created by the Security Documents.



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                 “Collateral Agent” means U.S. Bank National Association, acting in its capacity
as collateral agent under the Security Documents, or any successor thereto.

              “Commodity Agreements” means, in respect of any Person, any forward contract,
commodity swap agreement, commodity option agreement or other similar agreement or
arrangement and designed to protect such Person against fluctuation in commodity prices.

                “Consolidated Adjusted EBITDA” means, with respect to any specified Person
for any period, the Consolidated Net Income of such Person for such period (A) plus, without
duplication to the extent the same was deducted in calculating Consolidated Net Income:

               (1)     provision for taxes based on income, profits or capital, including without
       limitation federal, state, local and foreign franchise and similar taxes, of such Person and
       its Restricted Subsidiaries, to the extent that such provision for taxes was deducted in
       computing such Consolidated Net Income; plus

               (2)     the Fixed Charges of such Person and its Restricted Subsidiaries for such
       period (including net losses on Hedging Obligations or other derivative instruments
       entered into for the purpose of hedging interest rate risk, to the extent included in Fixed
       Charges), to the extent that such Fixed Charges were deducted in computing such
       Consolidated Net Income; plus

               (3)    depreciation, amortization (including the amortization of turnaround costs,
       goodwill and other intangibles, amortization of deferred financing fees, catalyst
       amortization and any amortization included in pension, OPEB or other employee benefit
       expenses, but excluding amortization of prepaid cash expenses that were paid in a prior
       period) and other non−cash expenses (including without limitation write−downs and
       impairment of property, plant, equipment and intangibles and other long−lived assets
       (including pursuant to the application of ASC 350 and ASC 360) and the impact of
       purchase accounting, but excluding any such non−cash expense to the extent that it
       represents an accrual of or reserve for cash expenses in any future period or amortization
       of a prepaid cash expense that was paid in a prior period) of such Person and its
       Restricted Subsidiaries for such period to the extent that such depreciation, amortization
       and other non−cash expenses were deducted in computing such Consolidated Net
       Income; plus

               (4)     the amount of any restructuring charges (which, for the avoidance of
       doubt, shall include retention, severance, integration, business optimization, systems
       establishment cost or excess pension, OPEB, curtailment or other excess charges); plus

               (5)     the minority expense relating to any partner in a joint venture which is
       consolidated with the Issuer for accounting purposes and the minority interest expense
       consisting of subsidiary income attributable to minority equity interests of third parties in
       any non−Wholly-Owned Restricted Subsidiary in such period or any prior period, except
       to the extent of dividends declared or paid on Equity Interests held by third parties; plus

               (6)    the amount of management, consulting, monitoring and advisory fees and
       related expenses paid to the Equity Investors or any other Permitted Holder (or any


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       accruals related to such fees and related expenses) during such period; provided that such
       amount shall not exceed in any four quarter period the greater of (x) $2.5 million and
       (y) 1.0% of Consolidated Adjusted EBITDA of the Issuer and its Restricted Subsidiaries
       for such period; plus

               (7)     accretion of asset retirement obligations in accordance with SFAS
       No. 143, Accounting for Asset Retirement Obligations, and any similar accounting in
       prior periods; plus

               (8)     to the extent not otherwise included, the proceeds of any business
       interruption insurance received during such period; plus

              (9)     any adjustments that result from timing differences between the purchase
       of crude C4 in one period and the sale of finished butadiene in a later period, caused by
       monthly butadiene price changes, to the extent such adjustments are calculated in a
       manner consistent with the calculation of such adjustments as presented in the Offering
       Document; plus

               (10) any adjustments related to any impact from supplier plant shut downs,
       other than in the ordinary course of business; plus

              (11) any adjustments related to any impact from turnarounds other than in the
       ordinary course of business; minus

                (B) (1) non−cash items increasing such Consolidated Net Income for such period,
other than (i) any items which represent the reversal of any accrual of, or cash reserve for,
anticipated charges in any prior period where such accrual or reserve is no longer required and
(ii) any items which represent the impact of purchase accounting; and (2) the minority interest
income consisting of subsidiary losses attributable to the minority equity interests of third parties
in any non−Wholly-Owned Restricted Subsidiary.

               “Consolidated Net Income” means, with respect to any specified Person for any
period, the aggregate of the Net Income of such Person and its Restricted Subsidiaries for such
period, on a consolidated basis; provided that:

               (1)    any net after−tax extraordinary, unusual or nonrecurring gains or losses or
       income or expense or charge (including, without limitation, income, expenses and
       charges from litigation and arbitration settlements, severance, relocation and other
       restructuring costs), any severance or relocation expense, pre−operating expenses that are
       expensed and not capitalized, and fees, expenses or charges related to any offering of
       Equity Interests of such Person, any Investment, acquisition, disposition or incurrence or
       repayment of Indebtedness or other obligations permitted to be incurred hereunder (in
       each case, whether or not successful), including all fees, expenses and charges, and any
       financing charges (including relating to the Refinancing Transactions), including penalty
       interest and bank charges, related to any Indebtedness or other obligations, in each case,
       shall be excluded;




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       (2)     any net after−tax income or loss from disposed, abandoned, transferred,
closed or discontinued operations and any net after−tax gain or loss on disposal of
disposed, abandoned, transferred, closed or discontinued operations shall be excluded;

        (3)     any net after−tax gains or losses (less all fees and expenses or charges
relating thereto) attributable to business dispositions or asset dispositions other than in the
ordinary course of business (as determined in good faith by the Issuer) shall be excluded;

        (4)     any net after−tax income or loss (less all fees and expenses or charges
relating thereto) attributable to the early extinguishment of indebtedness and Hedging
Obligations or other derivative instruments shall be excluded;

         (5)    (A) the Net Income for such period of any Person that is not a Subsidiary,
or that is an Unrestricted Subsidiary, or that is accounted for by the equity method of
accounting, shall be included only to the extent of the amount of dividends or
distributions or other payments in respect of equity that are actually paid in cash (or to the
extent converted into cash) by the referent Person to the Issuer or a Restricted Subsidiary
thereof in respect of such period and (B) the Net Income for such period shall include any
dividend, distribution or other payments in respect of equity paid in cash by such Person
to the Issuer or a Restricted Subsidiary thereof in excess of the amount included in clause
(A);

       (6)     any increase in depreciation or amortization or any one−time non−cash
charges (such as purchased in−process research and development or capitalized
manufacturing profit in inventory) resulting from purchase accounting in connection with
any acquisition that is consummated prior to or after the Issue Date shall be excluded;

        (7)     accruals and reserves that are established within 12 months after an
acquisition’s closing date and that are so required to be established as a result of such
transaction in accordance with GAAP or as a result of a modification of accounting
policies shall be excluded;

        (8)    any impairment charges resulting from the application of ASC 350 and
ASC 360 and the amortization of intangibles pursuant to ASC 805 or asset write−offs
shall be excluded;

        (9)      any long−term incentive plan accruals and any compensation expense
realized from grants of stock appreciation or similar rights, stock options or other rights
to officers, directors and employees of such Person or any of its Restricted Subsidiaries
shall be excluded;

       (10) any asset impairment writedowns or writeoffs under GAAP or SEC
guidelines shall be excluded;

       (11) (A) any unrealized non−cash gains or losses or charges in respect of
Hedging Obligations (including those resulting from the application of Financial
Accounting Standards Codification No. 815−Derivatives and Hedging (or such successor
provision)), (B) any foreign exchange gains and losses and (C) any adjustments for


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       financial instruments, derivatives or Hedging Obligations required by GAAP shall be
       excluded except for any realized exchange gains or losses on derivative instruments
       which are included as offsets to operating items as part of a designated hedging
       relationship;

               (12) solely for the purpose of determining the amount available for Restricted
       Payments under Section 4.05(a)(C)(i) hereof, the Net Income of any Restricted
       Subsidiary of the Issuer (other than a Guarantor and any joint venture that is consolidated
       with the Issuer for accounting purposes) will be excluded to the extent that the
       declaration or payment of dividends or similar distributions by that Restricted Subsidiary
       of that Net Income is not at the date of determination permitted without any prior
       governmental approval (that has not been obtained) or, directly or indirectly, by operation
       of the terms of its charter or any agreement, instrument, judgment, decree, order, statute,
       rule or governmental regulation applicable to that Restricted Subsidiary or its
       stockholders or members, unless such restriction with respect to the payment of dividends
       or similar distributions has been legally waived; provided that Consolidated Net Income
       of such Person shall be increased by the amount of dividends or distributions or other
       payments that are actually paid in cash (or to the extent converted into cash) by such
       Person to the Issuer or another Restricted Subsidiary thereof in respect of such period, to
       the extent not already included therein;

              (13) the cumulative effect of a change in accounting principles shall be
       excluded; and

               (14) any non−cash compensation expense realized from employee benefit plans
       or post−employment benefit plans, grants of stock appreciation or similar rights, stock
       options or other rights to officers, directors and employees of such Person or any of its
       Restricted Subsidiaries shall be excluded.

                “Consolidated Total Indebtedness” means, as at any date of determination, an
amount equal to the sum of (1) the aggregate amount of all outstanding Indebtedness of the
Issuer and its Restricted Subsidiaries on a consolidated basis consisting of Indebtedness for
borrowed money and debt obligations evidenced by promissory notes and similar instruments, as
determined in accordance with GAAP (excluding for the avoidance of doubt all undrawn
amounts under revolving credit facilities and letters of credit and all obligations under Qualified
Receivables Financings, all Hedging Obligations and all Capital Lease Obligations) and (2) the
aggregate amount of all outstanding Disqualified Stock of the Issuer and its Restricted
Subsidiaries on a consolidated basis, with the amount of such Disqualified Stock equal to the
greater of their respective voluntary or involuntary liquidation preferences and maximum fixed
repurchase prices, in each case determined on a consolidated basis in accordance with GAAP.
For purposes hereof, the “maximum fixed repurchase price” of any Disqualified Stock that does
not have a fixed repurchase price shall be calculated in accordance with the terms of such
Disqualified Stock as if such Disqualified Stock were purchased on any date on which
Consolidated Total Indebtedness shall be required to be determined pursuant to this Indenture,
and if such price is based upon, or measured by, the Fair Market Value of such Disqualified
Stock, such Fair Market Value shall be determined reasonably and in good faith by the Issuer.
The U.S. Dollar−Equivalent principal amount of any Indebtedness denominated in a foreign


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currency will reflect the currency translation effects, determined in accordance with GAAP, of
Hedging Obligations for currency exchange risks with respect to the applicable currency in effect
on the date of determination of the U.S. Dollar−Equivalent principal amount of such
Indebtedness.

                “Contingent Obligations” means, with respect to any Person, any obligation of
such Person guaranteeing any performance, leases, dividends, taxes or other obligations that do
not constitute Indebtedness (“primary obligations”) of any other Person in any manner, whether
directly or indirectly, including, without limitation, any obligation of such Person, whether or not
contingent:

               (1)     to purchase any such primary obligation or any property constituting direct
       or indirect security thereof;

              (2)     to advance or supply funds (a) for the purchase or payment of any such
       primary obligation or (b) to maintain working capital or equity capital of the primary
       obligor or otherwise to maintain the net worth or solvency of the primary obligor; or

              (3)     to purchase property, securities or services primarily for the purpose of
       assuring the owner of any such primary obligation of the ability of the primary obligor to
       make payment of such obligation against loss in respect thereof.

               “Contribution Indebtedness” means Indebtedness of the Issuer or any Guarantor
in an aggregate principal amount not greater than twice the aggregate amount of cash
contributions (other than Excluded Contributions) made to the equity capital of the Issuer or such
Guarantor after the Issue Date, provided that:

               (1)    if the aggregate principal amount of such Contribution Indebtedness is
       greater than one times such cash contributions to the equity capital of the Issuer or such
       Guarantor, as applicable, the amount in excess shall be Indebtedness (other than secured
       Indebtedness) with a Stated Maturity later than the Stated Maturity of the Notes, and

              (2)     such Contribution Indebtedness (x) is incurred within 180 days after the
       making of such cash contributions and (y) is designated as Contribution Indebtedness
       pursuant to an Officer’s Certificate on the incurrence date thereof.

                “Corporate Trust Office of the Trustee” means the designated office of the
Trustee at which at any time its corporate trust business shall be administered, which office at the
date hereof is located at 13737 Noel Road Suite 800, Dallas, Texas 75240, Attention: Global
Corporate Trust Services, or such other address as the Trustee may designate from time to time
by notice to the Holders and the Issuer, or the designated corporate trust office of any successor
Trustee (or such other address as such successor Trustee may designate from time to time by
notice to the Holders and the Issuer).

                “Credit Agreement” means that certain Amended and Restated Credit Agreement,
dated as of the Issue Date, by and among TPC Holdings, Inc., a Delaware corporation, the Issuer,
the other borrowers party thereto from time to time, Bank of America, N.A., as administrative
agent and collateral agent, Merrill Lynch, Pierce, Fenner & Smith Incorporated and Wells Fargo


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Bank N.A., as joint lead arrangers, joint bookrunners and syndication agents, and the lenders
party thereto from time to time, providing for revolving credit borrowings and letters of credit,
including any related notes, Guarantees, collateral documents, instruments and agreements
executed in connection therewith, and, in each case, as amended, restated, modified, renewed,
refunded, replaced (whether upon or after termination or otherwise) or refinanced (including by
means of sales of debt securities to institutional investors) in whole or in part from time to time.

               “Currency Agreement” means, in respect of a Person, any foreign exchange
contract, currency swap agreement, futures contract, option contract or other similar agreement
as to which such Person is a party or a beneficiary.

              “Custodian” means the custodian appointed by the Depository with respect to any
Global Notes, or any successor entity thereto.

                “Debt Facilities” means one or more debt facilities (including, without limitation,
the Credit Agreement), indentures or commercial paper facilities, in each case with banks or
other institutional lenders or investors providing for revolving credit loans, term loans,
receivables financing (including through the sale of receivables to such lenders or to special
purpose entities formed to borrow from such lenders against such receivables), letters of credit or
other indebtedness, in each case, as amended, restated, modified, renewed, refunded, replaced
(whether upon or after termination or otherwise) or refinanced (including by means of sales of
debt securities to institutional investors) in whole or in part from time to time, including any
agreement or indenture extending the maturity thereof or otherwise restructuring all or any
portion of the indebtedness thereunder or increasing the amount loaned or issued thereunder or
altering the maturity thereof.

               “Default” means any event that is, or with the passage of time or the giving of
notice or both would be, an Event of Default.

               “Definitive Note” means a certificated, non−global Note registered in the name of
the Holder thereof and issued in accordance with Section 2.06 hereof, substantially in the form of
Exhibit A1 or A2 hereto, as applicable, except that such Note shall not bear the Global Note
Legend and shall not have the “Schedule of Exchanges of Interests in the Global Note” attached
thereto.

                “Depositary” means, with respect to the Notes issuable or issued in whole or in
part in global form, the Person specified in Section 2.03 hereof as the Depositary with respect to
the Notes, and any and all successors thereto appointed as depositary hereunder and having
become such pursuant to the applicable provision of this Indenture.

               “Designated Non−cash Consideration” means the Fair Market Value of non−cash
consideration received by the Issuer or one of its Restricted Subsidiaries in connection with an
Asset Sale that is so designated as “Designated Non−cash Consideration” pursuant to an
Officer’s Certificate, setting forth the basis of such valuation, less the amount of cash or Cash
Equivalents received in connection with a subsequent sale of such Designated Non−cash
Consideration.




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                “Designated Preferred Stock” means Preferred Stock of the Issuer or any direct or
indirect parent of the Issuer (other than Disqualified Stock) that is issued for cash (other than to
the Issuer or any of its Subsidiaries or an employee stock ownership plan or trust established by
the Issuer or any of its Subsidiaries) and is so designated as Designated Preferred Stock, pursuant
to an Officer’s Certificate, on the issuance date thereof, the cash proceeds of which are excluded
from the calculation set forth in Section 4.05(a)(C)(ii) hereof.

                “Disqualified Stock” means any Capital Stock that, by its terms (or by the terms
of any security into which it is convertible, or for which it is exchangeable, in each case, at the
option of the holder of the Capital Stock), or upon the happening of any event, matures or is
mandatorily redeemable, pursuant to a sinking fund obligation or otherwise, or redeemable at the
option of the holder of the Capital Stock, in whole or in part, on or prior to the date that is 91
days after the date on which the Notes mature. Notwithstanding the preceding sentence, any
Capital Stock will not constitute Disqualified Stock solely because the holders of the Capital
Stock have the right to require the Issuer to repurchase such Capital Stock upon the occurrence
of a change of control or an asset sale. The amount of Disqualified Stock deemed to be
outstanding at any time for purposes of this Indenture will be the maximum amount that the
Issuer and its Restricted Subsidiaries may become obligated to pay upon the maturity of, or
pursuant to any mandatory redemption provisions of, such Disqualified Stock, exclusive of
accrued dividends.

              “Domestic Subsidiary” means any Restricted Subsidiary of the Issuer that was
formed under the laws of the United States or any state of the United States or the District of
Columbia.

                “Equity Interests” means Capital Stock and all warrants, options or other rights to
acquire Capital Stock (but excluding any debt security that is convertible into, or exchangeable
for, Capital Stock).

                “Equity Investors” means each of FR XII Alpha AIV, LP, FR XII-A Alpha AIV,
LP, FR XII Charlie AIV, LP, FR XII-A Charlie AIV, LP. and SK Capital Partners III, L.P., and
their respective Affiliates.

                “Equity Offering” means (i) an offer and sale of Capital Stock (other than
Disqualified Stock) of the Issuer or (ii) an offer and sale of Capital Stock (other than Disqualified
Stock) of a direct or indirect parent of the Issuer (to the extent the net proceeds therefrom are
contributed to the equity capital of the Issuer) pursuant to (x) a registration statement that has
been declared effective by the SEC pursuant to the Securities Act (other than a registration
statement on Form S−8 or otherwise relating to equity securities issuable under any employee
benefit plan of the Issuer or such direct or indirect parent), or (y) a private issuance exempt from
registration under the Securities Act.

               “Exchange Act” means the Securities Exchange Act of 1934, as amended.

                “Excluded Contributions” means the net cash proceeds received by the Issuer
after the Issue Date from:

               (3)     contributions to its common equity capital, and


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              (4)     the sale (other than to a Subsidiary of the Issuer) of Capital Stock (other
       than Disqualified Stock and Designated Preferred Stock) of the Issuer,

                in each case designated as “Excluded Contributions” pursuant to an Officer’s
Certificate, the net cash proceeds of which are excluded from the calculation set forth in
Section 4.05(a)(C)(ii).

                “Excluded Pipelines” means (i) the Lubrizol pipeline, which runs from the TPC
plant to Lubrizol; (ii) the Ellington pipeline, which runs from the TPC plant to the Ellington
natural gas field; and (iii) the related structures, fixtures, buildings, equipment, easements,
pipelines, piping, vehicles, rolling stock, trailers and other tangible personal property reasonably
related to such pipelines; provided that, solely with respect to clause (iii), such property or other
assets are not material to the Collateral or the business operations of the Issuer and its Restricted
Subsidiaries taken as a whole; provided that the Fair Market Value of the Excluded Pipelines in
the aggregate shall not exceed $25.0 million as of the Issue Date, as set forth in the Officer’s
Certificate delivered by the Issuer to the Initial Purchasers and the Trustee on the Issue Date.

                “Excluded Subsidiary” shall mean, any (a) Unrestricted Subsidiary, (b) Subsidiary
that is not a Material Subsidiary, (c) Subsidiary that is not a Wholly-Owned Domestic Restricted
Subsidiary, (d) Subsidiary of the Issuer that is a direct or indirect Domestic Subsidiary of a
Foreign Subsidiary, (e) Domestic Subsidiary substantially all of whose assets consist of capital
stock and/or indebtedness of one or more Foreign Subsidiaries and any assets incidental thereto,
(f) Subsidiary that is a captive insurance company, (g) not-for-profit Subsidiary, (h) Subsidiary
that is prohibited by applicable law or regulation from providing a Guarantee of the Obligations
(for so long as such restrictions or any replacement or renewal thereof is in effect), (i) Subsidiary
that is prohibited by an enforceable contractual obligation existing on the Issue Date (or
applicable date of acquisition or formation) from providing a Note Guarantee, (j) Subsidiary to
the extent providing a Guarantee of the notes would result in material adverse tax consequences
to the Issuer or any Subsidiary as reasonably determined by the Issuer and (k) Receivables
Subsidiary.

                “Fair Market Value” means the value that would be paid by a willing buyer to an
unaffiliated willing seller in a transaction not involving distress or necessity of either party,
determined in good faith by (i) the principal financial officer of the Issuer for transactions less
than $50.0 million and (ii) the Board of Directors of the Issuer (unless otherwise provided in this
Indenture) for transactions valued at, or in excess of, $50.0 million.

                 “Fixed Charge Coverage Ratio” means with respect to any specified Person for
any period, the ratio of the Consolidated Adjusted EBITDA of such Person for such period to the
Fixed Charges of such Person for such period. In the event that the specified Person or any of its
Restricted Subsidiaries incurs, assumes, Guarantees, repays, repurchases, redeems, defeases or
otherwise discharges any Indebtedness (other than (i) ordinary working capital borrowings and
(ii) in the case of revolving credit borrowings or revolving advances under any Qualified
Receivables Financing, in which case interest expense will be computed based upon the average
daily balance of such Indebtedness during the applicable period) or issues, repurchases or
redeems preferred equity subsequent to the commencement of the period for which the Fixed
Charge Coverage Ratio is being calculated and on or prior to the date on which the event for


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which the calculation of the Fixed Charge Coverage Ratio is made (the “Calculation Date”),
then the Fixed Charge Coverage Ratio will be calculated giving pro forma effect to such
incurrence, assumption, Guarantee, repayment, repurchase, redemption, defeasance or other
discharge of Indebtedness, or such issuance, repurchase or redemption of preferred equity, and
the use of the proceeds therefrom, as if the same had occurred at the beginning of the applicable
four−quarter reference period.

                In addition, for purposes of calculating the Fixed Charge Coverage Ratio, Asset
Acquisitions, dispositions, mergers, consolidations and discontinued operations (as determined in
accordance with GAAP), and any related financing transactions, that the specified Person or any
of its Restricted Subsidiaries has both determined to make and made after the Issue Date and
during the four−quarter reference period or subsequent to such reference period and on or prior
to or simultaneously with the Calculation Date shall be calculated on a pro forma basis assuming
that all such Asset Acquisitions, dispositions, mergers, consolidations and discontinued
operations (and the change of any associated Fixed Charges and the change in Consolidated
Adjusted EBITDA resulting therefrom) had occurred on the first day of the four−quarter
reference period, including any pro forma expense and cost reductions and other operating
improvements that have occurred or are reasonably expected to occur, in the reasonable
judgment of the chief financial officer of the Issuer (regardless of whether these cost savings or
operating improvements could then be reflected in pro forma financial statements in accordance
with Regulation S−X promulgated under the Securities Act or any other regulation or policy of
the SEC related thereto). Any Person that is a Restricted Subsidiary on the Calculation Date will
be deemed to have been a Restricted Subsidiary at all times during such four−quarter period, and
if, since the beginning of the four−quarter reference period, any Person that subsequently became
a Restricted Subsidiary or was merged with or into the Issuer or any of its other Restricted
Subsidiaries since the beginning of such period shall have made any acquisition, Investment,
disposition, merger, consolidation or discontinued operation, in each case with respect to an
operating unit of a business, that would have required adjustment pursuant to this definition, then
the Fixed Charge Coverage Ratio shall be adjusted giving pro forma effect thereto for such
period as if such Asset Acquisition, disposition, discontinued operation, merger or consolidation
had occurred at the beginning of the applicable four−quarter reference period. Any Person that is
not a Restricted Subsidiary on the Calculation Date will be deemed not to have been a Restricted
Subsidiary at any time during such four−quarter period.

                For purposes of this definition, whenever pro forma effect is to be given to any
transaction, the pro forma calculations shall be made in good faith by a responsible financial or
accounting officer of the Issuer. If any Indebtedness bears a floating rate of interest and is being
given pro forma effect, the interest on such Indebtedness shall be calculated as if the rate in
effect on the Calculation Date had been the applicable rate for the entire period (taking into
account any Hedging Obligations applicable to such Indebtedness if such Hedging Obligation
has a remaining term in excess of 12 months). Interest on a Capital Lease Obligation shall be
deemed to accrue at an interest rate reasonably determined by a responsible financial or
accounting officer of the Issuer to be the rate of interest implicit in such Capital Lease
Obligation. For purposes of making the computation referred to above, interest on any
Indebtedness under a revolving credit facility computed on a pro forma basis shall be computed
based upon the average daily balance of such Indebtedness during the applicable period. Interest
on Indebtedness that may optionally be determined at an interest rate based upon a factor of a


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prime or similar rate, a eurocurrency interbank offered rate, or other rate, shall be deemed to
have been based upon the rate actually chosen, or, if none, then based upon such optional rate
chosen as the Issuer may designate. Any such pro forma calculation may include adjustments
appropriate, in the reasonable determination of the Issuer as set forth in an Officer’s Certificate,
to reflect operating expense reductions reasonably expected to result from any acquisition or
merger.

              “Fixed Charges” means, with respect to any specified Person for any period, the
sum, without duplication, of:

               (1)     the consolidated interest expense of such Person and its Restricted
       Subsidiaries for such period, whether paid or accrued, excluding amortization of deferred
       financing fees, debt issuance costs and commissions, fees and expenses and the
       expensing of any bridge, commitment or other financing fees, commissions, discounts,
       yield and other fees and charges (including any interest expense) related to any
       receivables facility but including original issue discount, non−cash interest payments, the
       interest component of any deferred payment obligations (classified as Indebtedness under
       this Indenture), the interest component of all payments associated with Capital Lease
       Obligations and net of the effect of all payments made or received pursuant to Hedging
       Obligations in respect of interest rates; plus

               (2)    the consolidated interest expense of such Person and its Restricted
       Subsidiaries that was capitalized during such period; provided that for purposes of
       calculating consolidated interest expense, no effect shall be given to the discount and/or
       premium resulting from the bifurcation of derivatives under Standards Codification
       No. 815—Derivatives and Hedging and related interpretations as a result of the terms of
       the Indebtedness to which such consolidated interest expense relate; plus

               (3)    all cash dividend payments or other cash distributions on any series of
       preferred equity of such Person and all other dividend payments or other distributions on
       the Disqualified Stock of such Person; less

               (4)     interest income; less

               (5)    non−cash interest expense attributable to movement in mark to market
       valuation of Hedging Obligations or other derivatives under GAAP; less

               (6)     accretion or accrual of discounted liabilities not constituting Indebtedness;
       and less

              (7)     any expense resulting from the discounting of Indebtedness in connection
       with the application of purchase accounting in connection with any acquisition.

                “Foreign Subsidiary” means any Restricted Subsidiary that is not organized under
the laws of the United States of America or any state thereof or the District of Columbia.

                “GAAP” means generally accepted accounting principles in the United States, set
forth in the opinions and pronouncements of the Accounting Principles Board of the American


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Institute of Certified Public Accountants and statements and pronouncements of the Financial
Accounting Standards Board or in such other statements by such other entity as have been
approved by a significant segment of the accounting profession, as in effect on the Issue Date. At
any time after the Issue Date, the Issuer may elect to apply IFRS accounting principles in lieu of
GAAP and, upon any such election, references herein to GAAP shall thereafter be construed to
mean IFRS (except as otherwise provided in this Indenture); provided that any such election,
once made, shall be irrevocable; provided, further, any calculation or determination in this
Indenture that requires the application of GAAP for periods that include fiscal quarters ended
prior to the Issuer’s election to apply IFRS shall remain as previously calculated or determined in
accordance with GAAP. The Issuer shall give notice of any such election made in accordance
with this definition to the Trustee.

               “Global Note Legend” means the legend set forth in Section 2.06(f)(2) hereof,
which is required to be placed on all Global Notes issued under this Indenture.

                “Global Notes” means, individually and collectively, each of the Restricted
Global Notes and the Unrestricted Global Notes deposited with or on behalf of and registered in
the name of the Depositary or its nominee, substantially in the form of Exhibit A1 or A2 hereto,
as applicable, and that bears the Global Note Legend and that has the “Schedule of Exchanges of
Interests in the Global Note” attached thereto, issued in accordance with Section 2.01, 2.06(b)(4),
2.06(d)(2) or 2.06(d)(3).

                “Guarantee” means a guarantee, other than by endorsement of negotiable
instruments for collection in the ordinary course of business, direct or indirect, in any manner,
including, without limitation, by way of a pledge of assets or through letters of credit or
reimbursement agreements in respect thereof, of all or any part of any Indebtedness (whether
arising by virtue of partnership arrangements, or by agreements to keep−well, to purchase assets,
goods, securities or services, to take or pay or to maintain financial statement conditions or
otherwise).

              “Guarantors” means (1) the Subsidiaries of the Issuer that execute a Note
Guarantee on the Issue Date and (2) any other Subsidiary of the Issuer that executes a Note
Guarantee in accordance with the provisions of this Indenture.

                “Hedging Obligations” means, with respect to any specified Person, the
obligations of such Person under Interest Rate Agreements, Currency Agreements or Commodity
Agreements.

              “Holder” means a Person in whose name a Note is registered in the register
maintained by the Registrar.

              “Indebtedness” means, with respect to any specified Person, any indebtedness of
such Person, whether or not contingent:

               (1)    in respect of borrowed money;

               (2)      evidenced by (A) bonds, notes, debentures or similar instruments or
       (B) letters of credit (or reimbursement agreements in respect thereof), provided that the


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       underlying obligation in respect of which the letter of credit was issued would, under one
       or more of clauses (1) above or (3) through (7) below, be treated as being Indebtedness;

               (3)    in respect of banker’s acceptances;

               (4)    representing Capital Lease Obligations;

              (5)     representing the balance deferred and unpaid of the purchase price of any
       property or services due more than six months after such property is acquired or such
       services are completed;

              (6)     to the extent not otherwise included in this definition, net obligations of
       such Person under Commodity Agreements, Currency Agreements and Interest Rate
       Agreements (the amount of any such obligations to be equal at any time to the
       termination value of such agreement or arrangement giving rise to such obligation that
       would be payable by such Person at such time); or

               (7)     to the extent not otherwise included, with respect to the Issuer and its
       Restricted Subsidiaries, the amount then outstanding (i.e., advanced, and received by, and
       available for use by, the Issuer or any of its Restricted Subsidiaries) under any
       Receivables Financing (as set forth in the books and records of the Issuer or any
       Restricted Subsidiary of the Issuer and confirmed by the agent, trustee or other
       representative of the institution or group providing such Receivables Financing),

        if and to the extent any of the preceding items (other than letters of credit and Hedging
Obligations) would appear as a liability upon a balance sheet of the specified Person prepared in
accordance with GAAP. In addition, the term “Indebtedness” includes (i) all Indebtedness of
others secured by a Lien on any asset of the specified Person (whether or not such Indebtedness
is assumed by the specified Person); provided, however, that the amount of such Indebtedness
shall be the lesser of (x) the Fair Market Value of such asset as such date of determination and
(y) the amount of such Indebtedness of such other Person; and (ii) to the extent not otherwise
included, the Guarantee by the specified Person of any Indebtedness of any other Person.

                Notwithstanding the foregoing, “Indebtedness” shall not include (a) accrued
expenses, royalties and trade payables; (b) Contingent Obligations; (c) asset retirement
obligations and obligations in respect of reclamation and workers’ compensation (including
pensions and retiree medical care) that are not overdue by more than 90 days; or (d) any
obligations under Currency Agreements, Commodity Agreements and Interest Rate Agreements;
provided that such Agreements are entered into for bona fide hedging purposes of the Issuer or
its Restricted Subsidiaries (as determined in good faith by the Board of Directors or senior
management of the Issuer, whether or not accounted for as a hedge in accordance with GAAP)
and, in the case of Currency Agreements or Commodity Agreements, such Currency Agreements
or Commodity Agreements are related to business transactions of the Issuer or its Restricted
Subsidiaries entered into in the ordinary course of business and, in the case of Interest Rate
Agreements, such Interest Rate Agreements substantially correspond in terms of notional
amount, duration and interest rates, as applicable, to Indebtedness of the Issuer or its Restricted
Subsidiaries incurred without violation of this Indenture.



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               “Indenture” means this Indenture, as amended or supplemented from time to time.

              “Indirect Participant” means a Person who holds a beneficial interest in a Global
Note through a Participant.

               “Initial Notes” has the meaning assigned to it in the preamble to this Indenture.

               “Initial Mortgaged Property” means each parcel of real property designated as
being subject to a Mortgage on Schedule C to the Purchase Agreement dated July 19, 2019,
among the Issuer and the Initial Purchasers, and the improvements and fixtures located thereon.

              “Initial Purchasers” means BofA Securities, Inc., Citigroup Global Markets Inc.,
Wells Fargo Securities, LLC, Deutsche Bank Securities Inc. and Goldman Sachs & Co. LLC.

               “Intercreditor Agreement” means that certain Intercreditor Agreement dated as of
the Issue Date by and among the Issuer, the other grantors party thereto, the ABL Facility
Collateral Agent and the Collateral Agent, as amended, modified, restated, supplemented or
replaced from time to time.

               “Interest Rate Agreement” means with respect to any Person any interest rate
protection agreement, interest rate future agreement, interest rate option agreement, interest rate
swap agreement, interest rate cap agreement, interest rate collar agreement, interest rate hedge
agreement or other similar agreement or arrangement as to which such Person is party or a
beneficiary.

               “Investment Grade Rating” means a Moody’s rating of Baa3 (or the equivalent)
or higher and an S&P rating of BBB− (or the equivalent) or higher or, if either such Rating
Agency ceases to rate the Notes for reasons outside of the Issuer’s control, the equivalent
investment grade credit rating from any other Rating Agency.

               “Investment Grade Securities” means:

              (1)     securities issued or directly and fully Guaranteed or insured by the U.S.
       government or any agency or instrumentality thereof (other than Cash Equivalents) and in
       each case with maturities not exceeding two years from the date of acquisition;

              (2)     investments in any fund that invests exclusively in investments of the type
       described in clause (1) which fund may also hold immaterial amounts of cash pending
       investment and/or distribution; and

              (3)     corresponding instruments in countries other than the United States
       customarily utilized for high quality investments and in each case with maturities not
       exceeding two years from the date of acquisition.

                “Investments” means, with respect to any Person, all direct or indirect investments
by such Person in other Persons (including Affiliates) in the forms of loans (including
Guarantees or other obligations), advances or capital contributions (excluding accounts
receivable, trade credit and advances to customers and commission, travel and similar advances


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to officers, employees and consultants made in the ordinary course of business), purchases or
other acquisitions for consideration of Indebtedness, Equity Interests or other securities, together
with all items that are or would be classified as investments on a balance sheet prepared in
accordance with GAAP.

               “Issue Date” means August 2, 2019.

                 “Lien” means, with respect to any asset, any mortgage, lien, pledge, charge,
security interest or encumbrance of any kind in respect of such asset, whether or not filed,
recorded or otherwise perfected under applicable law, including any conditional sale or other title
retention agreement, any lease in the nature thereof, any option or other agreement to sell or give
a security interest in and any filing of or agreement to give any financing statement under the
Uniform Commercial Code (or equivalent statutes) of any jurisdiction.

                “Marketable Securities” means, with respect to any Asset Sale, any readily
marketable equity securities that are (i) traded on The New York Stock Exchange, the American
Stock Exchange or the Nasdaq National Market; and (ii) issued by a corporation having a total
equity market capitalization of not less than $250.0 million; provided that the excess of (A) the
aggregate amount of securities of any one such corporation held by the Issuer and any Restricted
Subsidiary of the Issuer over (B) ten times the average daily trading volume of such securities
during the 20 immediately preceding trading days shall be deemed not to be Marketable
Securities, as determined on the date of the contract relating to such Asset Sale.

               “Material Subsidiary” shall mean any Subsidiary of the Issuer whose gross assets
or earnings before interest, tax, depreciation or amortization on a consolidated basis (calculated
on a basis consistent with the calculations used in preparing the Issuer’s consolidated financial
statements) (excluding intra-group items) are equal to or exceed 5% of the Total Assets or
Consolidated Adjusted EBITDA of the Issuer and its Restricted Subsidiaries; provided that any
Subsidiary shall be deemed a Material Subsidiary if either (a) the Total Assets of such Subsidiary
would cause the Total Assets of all Subsidiaries which are not Material Subsidiaries to exceed
10% of the Total Assets or (b) the Consolidated Adjusted EBITDA of such Subsidiary would
cause the Consolidated Adjusted EBITDA of all Subsidiaries which are not Material Subsidiaries
to exceed 10% of the Consolidated Adjusted EBITDA.

               “Minority Interest” means the percentage interest represented by any class of
Capital Stock of a Restricted Subsidiary that is not owned by the Issuer or a Restricted
Subsidiary.

              “Moody’s” means Moody’s Investors Service, Inc. and any successor to its rating
agency business.

               “Mortgage” means each mortgage, deed of trust or deed to secure debt creating a
Lien on the Mortgaged Property granted by the Issuer or any Guarantor in favor of the Collateral
Agent for the benefit of the Secured Parties securing the Notes Obligations, in each case as
amended, modified, restated, supplemented or replaced from time to time.

               “Mortgaged Property” means all right, title and interest of the Issuer and the
Guarantors in and to (i) the Initial Mortgaged Property and (ii) each additional parcel of real


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property (and the improvements and fixtures located thereon) that becomes subject to a
Mortgage pursuant to Section 4.19 hereof.

                “Net Income” means, with respect to any Person for any period, the net income
(loss) of such Person for such period, determined in accordance with GAAP and before any
reduction in respect of dividends on preferred interests, excluding, however, (a) any gain or loss,
together with any related provision for taxes on such gain or loss, realized in connection with
(1) any Asset Sale (including, without limitation, dispositions pursuant to Sale/Leaseback
Transactions) or (2) the disposition of any securities by such Person or any of its Subsidiaries or
the extinguishment of any Indebtedness of such Person or any of its Subsidiaries and (b) any
extraordinary or nonrecurring gain or loss, together with any related provision for taxes on such
extraordinary or nonrecurring gain or loss.

                “Net Leverage Ratio” means, as of any date of determination (the “Net Leverage
Ratio Calculation Date”), the ratio of (i) the Consolidated Total Indebtedness of the Issuer and
its Restricted Subsidiaries as of the end of the most recent fiscal quarter for which internal
financial statements are available, less an amount equal to the amount of any cash and Cash
Equivalents of the Issuer and its Restricted Subsidiaries as of such date, to (ii) Consolidated
Adjusted EBITDA of the Issuer and its Restricted Subsidiaries for the most recently ended four
fiscal quarters ending immediately prior to such date for which internal financial statements are
available.

                In the event that the Issuer or any Restricted Subsidiary of the Issuer incurs,
assumes, guarantees, redeems, repays, retires or extinguishes any Indebtedness (other than
Indebtedness incurred or repaid under any revolving credit facility unless such Indebtedness has
been permanently repaid and has not been replaced) or issues or redeems Disqualified Stock or
preferred stock subsequent to the commencement of the period for which the Net Leverage Ratio
is being calculated but prior to or simultaneously with the event for which the calculation of the
Net Leverage Ratio is made, then the Net Leverage Ratio shall be calculated giving pro format
effect to such issuance, assumption, guarantee, redemption, retirement or extinguishment of
Indebtedness, or such issuance or redemption of Disqualified Stock or preferred stock, as if the
same had occurred immediately prior to the end of such most recent fiscal quarter end.

                For purposes of making the computation referred to above, Investments,
acquisitions, dispositions, mergers, amalgamations, consolidations and discontinued operations
(as determined in accordance with GAAP) that have been made by the Issuer or any of its
Restricted Subsidiaries during the four-quarter reference period or subsequent to such reference
period and on or prior to or simultaneously with the Net Leverage Ratio Calculation Date shall
be calculated on a pro forma basis assuming that all such Investments, acquisitions, dispositions,
mergers, amalgamations, consolidations and discontinued operations (and the change in
Consolidated Adjusted EBITDA resulting therefrom) had occurred on the first day of the four-
quarter reference period. If since the beginning of such period any Person that subsequently
became a Restricted Subsidiary of the Issuer or was merged with or into the Issuer or any of its
Restricted Subsidiaries since the beginning of such period shall have made any Investment,
acquisition, disposition, merger, amalgamation, consolidation and discontinued operation that
would have required adjustment pursuant to this definition, then the Net Leverage Ratio shall be
calculated giving pro forma effect thereto for such period as if such Investment, acquisition,


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disposition, merger, amalgamation, consolidation and discontinued operation had occurred at the
beginning of the applicable four-quarter period. For purposes of this definition, whenever pro
forma effect is to be given to an Investment, acquisition, disposition, merger or consolidation, the
pro forma calculation shall be made in good faith by a responsible financial or accounting officer
of the Issuer (and may include, for the avoidance of doubt, cost savings, synergies and operating
expense reductions resulting from such Investment, acquisition, merger, amalgamation or
consolidation which is being given pro forma effect that have been or are expected to be
realized).

                 “Net Proceeds” means the aggregate cash proceeds received by the Issuer or any
of its Restricted Subsidiaries in respect of any Asset Sale (including, without limitation, any cash
received upon the sale or other disposition of any Designated Non−cash Consideration received
in any Asset Sale and any cash payments received by way of deferred payment of principal
pursuant to a note or installment receivable or otherwise, but only as and when received, but
excluding the assumption by the acquiring Person of Indebtedness relating to the disposed assets
or other consideration received in any non−cash form), net of the direct costs relating to such
Asset Sale and the sale of such Designated Non−cash Consideration, including, without
limitation, legal, accounting and investment banking fees, and sales commissions, and any
relocation expenses incurred as a result of the Asset Sale, taxes paid or payable as a result of the
Asset Sale, in each case, after taking into account any available tax credits or deductions and any
tax sharing arrangements, amounts paid in connection with the termination of Hedging
Obligations repaid with Net Proceeds, and amounts required to be applied to the repayment of
Indebtedness secured by a Lien on the asset or assets that were the subject of such Asset Sale, all
distributions and other payments required to be made to Minority Interest holders in Subsidiaries
or joint ventures or to holders of royalty or similar interests as a result of such Asset Sale and any
reserve for adjustment in respect of the sale price of such asset or assets established in
accordance with GAAP, including without limitation, pension and post−employment benefit
liabilities and liabilities related to environmental matters or against any indemnification
obligations associated with such transaction.

               “Non−Recourse Debt” means Indebtedness:

               (1)     as to which neither the Issuer nor any of its Restricted Subsidiaries
       provides credit support of any kind (including any undertaking, agreement or instrument
       that would constitute Indebtedness) other than a pledge of the Equity Interests of any
       Unrestricted Subsidiaries, (b) is directly or indirectly liable (as a guarantor or otherwise)
       other than by virtue of a pledge of the Equity Interests of any Unrestricted Subsidiaries,
       or (c) constitutes the lender; and

              (2)     no default with respect to which (including any rights that the holders of
       the Indebtedness may have to take enforcement action against an Unrestricted
       Subsidiary) would permit, upon notice, lapse of time or both, any holder of any other
       Indebtedness (other than the Notes offered hereby) of the Issuer or any of its Restricted
       Subsidiaries to declare a default on such other Indebtedness or cause the payment of the
       Indebtedness to be accelerated or payable prior to its Stated Maturity.

               “Non−U.S. Person” means a Person who is not a U.S. Person.


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             “Note Documents” means this Indenture, the Notes, the Note Guarantees and the
Security Documents.

               “Note Guarantee” means the Guarantee by each Guarantor of the Issuer’s
obligations under this Indenture and the Notes, executed pursuant to the provisions of this
Indenture.

              “Note Liens” means all Liens in favor of the Collateral Agent on Collateral
securing the Notes Obligations, and any Permitted Additional Pari Passu Obligations.

                 “Notes” has the meaning assigned to it in the preamble to this Indenture. The
Initial Notes and any Additional Notes shall be treated as a single class for all purposes under
this Indenture, and unless the context otherwise requires, all references to the Notes shall include
the Initial Notes and any Additional Notes.

               “Notes Obligations” means the Indebtedness incurred and Obligations under this
Indenture, the Notes and the other Note Documents.

                “Notes Priority Collateral” has the meaning ascribed to the term “Notes First
Priority Collateral” in the Intercreditor Agreement.

                “Obligations” means any principal, interest (including Post Petition Interest),
penalties, fees, indemnifications, reimbursements, damages and other liabilities payable under
the documentation governing any Indebtedness.

              “Offering Document” means the offering memorandum, dated July 19, 2019,
pursuant to which the Initial Notes were offered to potential purchasers.

               “Officer” means, with respect to any Person, the Chairman of the Board, the Chief
Executive Officer, the President, the Chief Operating Officer, the Chief Financial Officer, the
Treasurer, any Assistant Treasurer, the Controller, the Secretary or any Vice−President of such
Person.

                 “Officer’s Certificate” means a certificate signed by an Officer of the Issuer or
any other Person, as the case may be, who must be a manager or director, the principal executive
officer, the principal financial officer, the treasurer or the principal accounting officer of the
Issuer (or of a Subsidiary of the Issuer acting in such capacity for the Issuer and its Subsidiaries,
as determined by the Issuer) or such other Person, that meets the requirements set forth in this
Indenture and is provided to the Trustee.

              “Opinion of Counsel” means an opinion from legal counsel that meets the
requirements of Section 14.05 hereof and is provided to the Trustee. Such counsel may be an
employee of or counsel to the Issuer or any Subsidiary of the Issuer.

               “Pari Passu Payment Lien Priority” means, relative to specified Indebtedness and
other obligations, having equal Lien priority to the Notes and the Note Guarantees on the
Collateral.



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              “Participant” means, with respect to the Depositary, a Person who has an account
with the Depositary.

                “Permitted Additional Pari Passu Obligations” means Obligations under any
additional Indebtedness in an amount not to exceed an amount such that immediately after giving
effect to the incurrence of such additional Indebtedness and the receipt and application of the
proceeds therefrom, the Issuer’s Senior Secured Net Leverage Ratio would not exceed 4.00 to
1.00, in each case that is permitted to be secured by Liens having Pari Passu Payment Lien
Priority relative to the Notes with respect to the Collateral and is not secured by any other assets;
provided, that (i) the representative of such Permitted Additional Pari Passu Obligation (other
than any Additional Notes) executes a joinder agreement to the applicable Security Documents
in the form attached thereto agreeing to be bound thereby and (ii) the Issuer has designated such
Indebtedness as “Permitted Additional Pari Passu Obligations” under the Security Agreement.

               “Permitted Asset Swap” means the concurrent purchase and sale or exchange of
Related Business Assets or a combination of Related Business Assets and cash or Cash
Equivalents between the Issuer or any of its Restricted Subsidiaries and another Person; provided
that any cash or Cash Equivalents received must be applied in accordance with Section 4.08
hereof.

                 “Permitted Business” means the businesses of the Issuer and its Subsidiaries
engaged in on the Issue Date and any other activities that are similar, ancillary or reasonably
related to, or a reasonable extension, expansion or development of, such businesses or ancillary
thereto.

                “Permitted Employee Stock Purchase Loans” means loans, in an aggregate
amount outstanding at any time not to exceed $25.0 million, whether made by the Issuer or any
third party (other than any Affiliate of the Issuer), to employees of the Issuer and its Subsidiaries
who become participants in the Issuer’s stock purchase program to enable such employees to
purchase Equity Interests in the Issuer or any of its parent entities.

                “Permitted Holders” means (i) the Equity Investors and Related Parties and
(ii) any Permitted Parent. Any Person or group whose acquisition of beneficial ownership
constitutes a Change of Control in respect of which a Change of Control Offer is made in
accordance with the requirements of this Indenture will thereafter, together with its Affiliates,
constitute an additional Permitted Holder.

               “Permitted Investments” means:

               (1)     any Investment in the Issuer or in a Restricted Subsidiary of the Issuer;

              (2)    any Investment in cash, Cash Equivalents, Marketable Securities or
       Investment Grade Securities;

              (3)      any Investment by the Issuer or any Restricted Subsidiary of the Issuer in
       a Person, if as a result of such Investment:

                       (a) such Person becomes a Restricted Subsidiary of the Issuer; or


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               (b) such Person, in one transaction or a series of related transactions, is
        merged, consolidated or amalgamated with or into, or transfers or conveys
        substantially all of its assets to, or is liquidated into, the Issuer or a Restricted
        Subsidiary of the Issuer;

and, in each case, any Investment held by any such Person;

        (4)   any Investment made as a result of the receipt of non−cash consideration
from an Asset Sale that was made pursuant to and in compliance with Section 4.08
hereof;

        (5)     any acquisition of assets or Capital Stock solely in exchange for the
issuance of Equity Interests (other than Disqualified Stock) of the Issuer or a direct or
indirect parent of the Issuer;

        (6)     any Investments received (i) in compromise or resolution of
(A) obligations of trade creditors or customers that were incurred in the ordinary course
of business of the Issuer or any of its Restricted Subsidiaries, including pursuant to any
plan of reorganization or similar arrangement upon the bankruptcy or insolvency of any
trade creditor or customer; or (B) litigation, arbitration or other disputes; or (ii) as a result
of a foreclosure by the Issuer or any of its Restricted Subsidiaries with respect to any
secured Investment or other transfer of title with respect to any secured Investment in
default;

        (7)     Investments represented by Hedging Obligations;

        (8)   loans or advances to officers, directors and employees made in the
ordinary course of business or consistent with the past practice of the Issuer or any
Restricted Subsidiary of the Issuer and Permitted Employee Stock Purchase Loans or
Guarantees thereof;

        (9)     repurchases of the Notes;

         (10) Investments in Permitted Businesses, joint ventures or Unrestricted
Subsidiaries having an aggregate Fair Market Value, taken together with all other
Investments made pursuant to this clause (10) that are at that time outstanding, not to
exceed the greater of (x) $40.0 million and (y) 5.0% of Total Assets; provided, however,
that if any Investment pursuant to this clause (10) is made in a Person that is not a
Restricted Subsidiary of the Issuer at the date of the making of such Investment and such
Person becomes a Restricted Subsidiary of the Issuer after such date, such Investment
shall thereafter be deemed to have been made pursuant to clause (1) above and shall
cease to have been made pursuant to this clause (10) for so long as such Person continues
to be a Restricted Subsidiary of the Issuer;

       (11) any Investment in a Receivables Subsidiary or any Investment by a
Receivables Subsidiary in any other Person in connection with a Qualified Receivables
Financing, including Investments of funds held in accounts permitted or required by the
arrangements governing such Qualified Receivables Financing or any related


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       Indebtedness; provided, however, that any Investment in a Receivables Subsidiary is in
       the form of a Purchase Money Note, contribution of additional receivables or an equity
       interest;

               (12) any transaction to the extent it constitutes an Investment that is permitted
       by and made in accordance with the provisions of Section 4.09(b) hereof (except for
       transactions described in clauses (6), (8), (10) and (12) of Section 4.09(b));

               (13) (A) Guarantees issued in accordance with Section 4.07 and Section 4.14
       hereof and (B) Guarantees of performance or other obligations (other than Indebtedness)
       arising in the ordinary course of business or consistent with past practice;

               (14) any Investment existing on the Issue Date and any Investment that
       replaces, refinances or refunds an existing Investment; provided, that the new Investment
       is in an amount that does not exceed the amount replaced, refinanced or refunded, and is
       made in the same Person as the Investment replaced, refinanced or refunded;

               (15) Investments consisting of purchases and acquisitions of parts, buildings,
       inventory, supplies, materials and equipment or purchases of contract rights or licenses or
       leases of intellectual property, in each case in the ordinary course of business;

                (16) additional Investments by the Issuer or any Restricted Subsidiary having
       an aggregate Fair Market Value (measured on the date each such Investment was made
       and without giving effect to subsequent changes in value), taken together with all other
       Investments made pursuant to this clause (16) that are at the time outstanding not to
       exceed the greater of (x) $40.0 million and (y) 5.0% of Total Assets; provided, however,
       that if any Investment pursuant to this clause (16) is made in a Person that is not a
       Restricted Subsidiary of the Issuer at the date of the making of such Investment and such
       Person becomes a Restricted Subsidiary of the Issuer after such date, such Investment
       shall thereafter be deemed to have been made pursuant to clause (1) above and shall
       cease to have been made pursuant to this clause (16) for so long as such Person continues
       to be a Restricted Subsidiary of the Issuer;

              (17) Investments in any Person to the extent such Investments consist of
       prepaid expenses, negotiable instruments held for collection and lease, utility and
       workers’ compensation, performance and other similar deposits made in the ordinary
       course of business by the Issuer or any of its Restricted Subsidiaries; and

               (18)    pledges or deposits made in the ordinary course of business.

                provided, however, that with respect to any Investment, the Issuer may, in its sole
discretion, allocate all or any portion of any Investment to one or more of the above clauses (1)
through (18) so that the entire Investment would be a Permitted Investment.

               “Permitted Liens” means:

              (1)    Liens securing Indebtedness and other Obligations under Debt Facilities
       incurred pursuant to Section 4.07(b)(1) hereof and/or securing Bank Products obligations


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related thereto; provided that so long as the Credit Agreement is outstanding, such Liens
are subject to the provisions of the Intercreditor Agreement (including with respect to the
relative priority of the ABL Facility Priority Collateral and Notes Priority Collateral);

       (2)     Liens in favor of the Issuer or any of its Restricted Subsidiaries;

        (3)     Liens on property of a Person existing at the time such Person is merged
with or into or consolidated with the Issuer or any Subsidiary of the Issuer; provided that
such Liens were in existence prior to the contemplation of such merger or consolidation
and do not extend to any assets other than those of the Person merged into or
consolidated with the Issuer or the Subsidiary;

        (4)     Liens on property (including Capital Stock) existing at the time of
acquisition of the property by the Issuer or any Subsidiary of the Issuer; provided that
such Liens were in existence prior to, such acquisition, and not incurred in contemplation
of, such acquisition;

        (5)     Liens or deposits to secure the performance of statutory or regulatory
obligations, or surety, appeal, indemnity or performance bonds, warranty and contractual
requirements or other obligations of a like nature incurred in the ordinary course of
business and Liens over cash deposits in connection with an acquisition, lease,
disposition or investment;

         (6)     Liens securing reimbursement obligations with respect to commercial
letters of credit which encumber documents and other assets relating to such letters of
credit and products and proceeds thereof and any cash cover relating to a letter of credit
or bank guarantee;

         (7)    Liens to secure Indebtedness (including Capital Lease Obligations)
permitted to be incurred pursuant to Section 4.07(b)(4) hereof covering only the assets
acquired with or financed by such Indebtedness; provided that such Lien (i) extends only
to the assets and/or Capital Stock, the acquisition, lease, design, construction, installation,
repair, replacement or improvement of which is financed thereby and any proceeds or
products thereof, accessions thereto, upgrades thereof and improvements thereto or
(ii) does not extend to any assets or property that constitute Collateral;

       (8)     Liens securing Indebtedness permitted to be incurred pursuant to
Section 4.07(b)(15) hereof;

       (9)     Liens existing on the Issue Date;

        (10) Liens for taxes, assessments or governmental charges or claims that are
not yet delinquent or that are being contested in good faith by appropriate proceedings
promptly instituted and diligently concluded; provided that any reserve or other
appropriate provision as is required in conformity with GAAP has been made therefor;

       (11) Liens incurred or deposits made in the ordinary course of business to
secure payment of workers’ compensation or to participate in any fund in connection


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with workmen’s compensation, unemployment insurance, old−age pensions or other
social security programs;

        (12) Liens imposed by law, such as carriers’, warehousemen’s, landlord’s,
lessor’s, suppliers, banks, repairmen’s and mechanics’ Liens, and Liens of landlords
securing obligations to pay lease payments that are not yet due and payable or in default,
in each case, incurred in the ordinary course of business;

        (13) leases or subleases granted to others that do not materially interfere with
the ordinary conduct of business of the Issuer or any of its Restricted Subsidiaries;

         (14) (A) survey exceptions, easements, rights of way, zoning and similar
restrictions, reservations or encumbrances in respect of real property or title defects that
were not incurred in connection with Indebtedness and that do not in the aggregate
materially adversely affect the value of said properties (as such properties are used by the
Issuer or its Subsidiaries) or materially impair their use in the operation of the business of
the Issuer and its Subsidiaries and (B) access agreements, easements, leases, licenses, use
agreements, utility agreements, service agreements, and other like encumbrances granted
by the Issuer or a Restricted Subsidiary of the Issuer to any other third party in
connection with the disposition of the Excluded Pipelines to, or the use or ownership of
the Excluded Pipelines by, such third party so long as such encumbrances do not in the
aggregate materially adversely affect the value of said properties (as such properties are
used by the Issuer or its Subsidiaries) or materially impair their use in the operation of the
business of the Issuer and its Subsidiaries;

       (15) Liens created for the benefit of (or to secure) the Notes issued on the Issue
Date and the Note Guarantees with respect thereto;

       (16) Liens to secure any Permitted Refinancing Indebtedness permitted to be
incurred under this Indenture; provided, however, that:

               (a) the new Lien shall be limited to all or part of the same property and
       assets that secured or, under the written agreements pursuant to which the original
       Lien arose, could secure the original Lien (plus improvements and accessions to,
       such property or proceeds or distributions thereof);

               (b) the Indebtedness secured by the new Lien is not increased to any
       amount greater than the sum of (x) the outstanding principal amount, or, if
       greater, committed amount, of the Permitted Refinancing Indebtedness and (y) an
       amount necessary to pay any fees and expenses, including premiums, related to
       such renewal, refunding, refinancing, replacement, defeasance or discharge; and

              (c) the new Lien shall have no greater priority relative to the Notes
       Obligations of the Liens securing the Indebtedness being renewed, refunded,
       refinanced, replaced, defeased or discharged;




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        (17) Liens arising from precautionary Uniform Commercial Code financing
statement filings regarding operating leases entered into by the Issuer or any of its
Restricted Subsidiaries in the ordinary course of business;

       (18) judgment Liens not giving rise to an Event of Default so long as any
appropriate legal proceedings that may have been duly initiated for the review of such
judgment shall not have been finally terminated or the period within which such legal
proceedings may be initiated shall not have expired;

       (19) Liens securing Indebtedness or other obligations of the Issuer or any
Subsidiary of the Issuer with respect to obligations that do not exceed the greater of
(x) $10.0 million and (y) 1.0% of Total Assets at any one time outstanding;

        (20) Liens on accounts receivable and related assets of the type specified in the
definition of “Receivables Financing” incurred in connection with a Qualified
Receivables Financing;

       (21)    licenses of intellectual property in the ordinary course of business;

       (22) Liens on Capital Stock of an Unrestricted Subsidiary that secure
Indebtedness or other obligations of such Unrestricted Subsidiary;

       (23) leases and subleases of real property which do not materially interfere
with the ordinary conduct of the business of the Issuer and its Restricted Subsidiaries;

       (24)    Liens to secure a defeasance trust;

       (25) Liens on equipment of the Issuer or any Restricted Subsidiary of the Issuer
granted in the ordinary course of business to clients of which such equipment is located;

       (26) Liens securing insurance premium financing arrangements, provided that
such Lien is limited to the applicable insurance contracts;

       (27)    [Reserved];

        (28) Liens arising under retention of title, hire purchase or conditional sale
arrangements arising under provisions in a supplier’s standard conditions of supply in
respect of goods or services supplied to the Issuer or any Restricted Subsidiary in the
ordinary course of business and on arm’s length terms;

       (29) Liens arising by way of set−off or pledge (in favor of the account holding
bank) arising by operation of law or pursuant to standard banking terms or conditions,
provided that the relevant bank account has not been set up nor has the relevant credit
balance arisen in order to implement a secured financing;

       (30) Liens securing Indebtedness permitted to be incurred pursuant to
Sections 4.07(b)(3) and 4.07(b)(17); provided that in the case of Section 4.07(b)(17),



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       such Lien may not extend to any assets other than the assets owned by the Restricted
       Subsidiaries incurring such Indebtedness;

              (31) Liens encumbering reasonable customary initial deposits and margin
       deposits and similar Liens attaching to commodity trading accounts or other brokerage
       accounts incurred in the ordinary course of business and not for speculative purposes;

              (32)    Liens securing Hedging Obligations;

                (33) any (a) interest or title of a lessor or sublessor under any lease;
       (b) restriction or encumbrance that the interest or title of such lessor or sublessor may be
       subject to (including, without limitation, ground leases or other prior leases of the
       demised premises, mortgages, mechanics’ Liens, tax Liens and easements);
       (c) subordination of the interest of the lessee or sublessee under such lease to any
       restrictions or encumbrance referred to in the preceding subclause (b) or (d) Liens over
       rental deposits with a lessor pursuant to a property lease entered into in the ordinary
       course of business;

               (34) Liens incurred under or in connection with lease and Sale/Leaseback
       Transactions and novations and any refinancings thereof (and Liens securing obligations
       under lease transaction documents relating thereto), including, without limitation, Liens
       over the assets which are the subject of such lease, sale and leaseback, novations,
       refinancings, assets and contract rights related thereto (including, without limitation, the
       right to receive rental rebates or deferred sale payments), sub−lease rights, insurances
       relating thereto and rental deposits;

               (35) Liens to secure Indebtedness and any related Guarantees on assets
       constituting Collateral that are junior in priority to the Liens on the Collateral securing
       the Notes;

             (36) Liens on the Collateral granted under the Security Documents in favor of
       the ABL Facility Collateral Agent and the Collateral Agent to secure the Notes, the Note
       Guarantees and any Permitted Additional Pari Passu Obligations; and

               (37) Liens arising under this Indenture in favor of the Trustee for its own
       benefit and similar Liens in favor of other trustees, agents and representatives arising
       under instruments governing Indebtedness permitted to be incurred under this Indenture,
       provided, however, that such Liens are solely for the benefit of the trustees, agents or
       representatives in their capacities as such and not for the benefit of the holders of such
       Indebtedness.

                “Permitted Parent” means any direct or indirect parent of the Issuer formed not
in connection with, or in contemplation of, a transaction that, assuming such parent was not so
formed, after giving effect thereto would constitute a Change of Control and any direct or
indirect parent of the Issuer formed in connection with an underwritten public Equity Offering.

              “Permitted Payments to Parent” means, without duplication as to amounts:



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               (1)    payments to any parent companies of the Issuer in amounts equal to the
       amounts required for any direct payment of the Issuer to pay fees and expenses (including
       franchise or similar taxes) required to maintain its corporate existence, customary salary,
       bonus and other benefits payable to officers and employees of any direct parent of the
       Issuer and general corporate overhead expenses of any direct parent of the Issuer to the
       extent such fees and expenses are attributable to the ownership or operation of the Issuer
       and its Subsidiaries; and

               (2)      for so long as the Issuer is a member of a group filing a consolidated or
       combined tax return with such parent companies, payments to such parent companies in
       respect of an allocable portion of the tax liabilities of such group that is attributable to the
       Issuer and its Subsidiaries (“Tax Payments”). The Tax Payments shall not exceed the
       lesser of (i) the amount of the relevant tax (including any penalties and interest) that the
       Issuer would owe if the Issuer were filing a separate tax return (or a separate consolidated
       or combined return with its Subsidiaries that are members of the consolidated or
       combined group), taking into account any carryovers and carrybacks of tax attributes
       (such as net operating losses) of the Issuer and such Subsidiaries from other taxable years
       and (ii) the net amount of the relevant tax that such parent companies actually owe to the
       appropriate taxing authority. Any Tax Payments received from the Issuer shall be paid
       over to the appropriate taxing authority within 30 days of such parent companies’ receipt
       of such Tax Payments or refunded to the Issuer.

                “Permitted Refinancing Indebtedness” means any Indebtedness of the Issuer or
any of its Restricted Subsidiaries issued in exchange for, or the net proceeds of which are used to
renew, refund, refinance, replace, defease or discharge other Indebtedness of the Issuer or any of
the Issuer’s Restricted Subsidiaries (other than intercompany Indebtedness); provided that:

              (1)      the principal amount (or accreted value, if applicable) of such Permitted
       Refinancing Indebtedness does not exceed the principal amount (or accreted value, if
       applicable) of the Indebtedness renewed, refunded, refinanced, replaced, defeased or
       discharged (plus any premium required to be paid on the Indebtedness being so renewed,
       refunded, replaced, defeased or discharged, plus the amount of all fees and expenses
       incurred in connection therewith);

                (2)    such Permitted Refinancing Indebtedness has a final maturity date equal to
       or later than the final maturity date of, and has a Weighted Average Life to Maturity
       equal to or greater than the remaining Weighted Average Life to Maturity of, the
       Indebtedness being renewed, refunded, refinanced, replaced, defeased or discharged;
       provided that this clause (2) shall not apply to debt under Debt Facilities;

               (3)    if the Indebtedness being renewed, refunded, refinanced, replaced,
       defeased or discharged is subordinated in right of payment to the Notes, such Permitted
       Refinancing Indebtedness has a final maturity date later than the final maturity date of,
       and is subordinated in right of payment to, the Notes on terms at least as favorable to the
       Holders as those contained in the documentation governing the Indebtedness being
       renewed, refunded, refinanced, replaced, defeased or discharged; and



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               (4)     such Permitted Refinancing Indebtedness shall not include Indebtedness of
       the Issuer or a Restricted Subsidiary of the Issuer that refinances Indebtedness of an
       Unrestricted Subsidiary.

                “Person” means any individual, corporation, partnership, joint venture,
association, joint−stock company, trust, unincorporated organization, limited liability company
or government or other entity.

               “Post Petition Interest” means any interest or entitlement to fees or expenses or
other charges that accrue after the commencement of any bankruptcy proceeding, whether or not
allowed or allowable in any such bankruptcy proceeding.

               “Private Placement Legend” means the legend set forth in Section 2.06(f)(1)
hereof to be placed on all Notes issued under this Indenture except where otherwise permitted by
the provisions of this Indenture.

                “Purchase Money Note” means a promissory note of a Receivables Subsidiary
evidencing a line of credit, which may be irrevocable, from the Issuer or any Subsidiary of the
Issuer to a Receivables Subsidiary in connection with a Qualified Receivables Financing, which
note is intended to finance that portion of the purchase price that is not paid by cash or a
contribution of equity.

               “QIB” means a “qualified institutional buyer” as defined in Rule 144A.

              “Qualified Receivables Financing” means any Receivables Financing of a
Receivables Subsidiary that meets the following conditions:

               (1)    the Board of Directors of the Issuer will have determined in good faith that
       such Qualified Receivables Financing (including financing terms, covenants, termination
       events and other provisions) is in the aggregate economically fair and reasonable to the
       Issuer and the Receivables Subsidiary,

              (2)     all sales of accounts receivable and related assets to the Receivables
       Subsidiary are made at Fair Market Value (as determined in good faith by the Issuer), and

               (3)     the financing terms, covenants, termination events and other provisions
       thereof will be market terms (as determined in good faith by the Issuer) and may include
       Standard Securitization Undertakings.

                The grant of a security interest in any accounts receivable of the Issuer or any of
its Restricted Subsidiaries (other than a Receivables Subsidiary) to secure a Debt Facility will not
be deemed a Qualified Receivables Financing. For purposes of this Indenture, a receivables
facility whether now in existence or arising in the future (and any replacement thereof with
substantially similar terms in the aggregate) will be deemed to be a Qualified Receivables
Financing that is not recourse to the Issuer (except for Standard Securitization Undertakings).

               “Rating Agency” means each of S&P and Moody’s, or if S&P or Moody’s or both
shall not make a rating on the Notes publicly available, a nationally recognized statistical rating


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organization or organizations, within the meaning of Section 3(a)(62) under the Exchange Act,
selected by the Issuer as a replacement agency or agencies for S&P or Moody’s, or both, as the
case may be.

                “Receivables Financing” means any transaction or series of transactions that may
be entered into by the Issuer or any of its Subsidiaries pursuant to which the Issuer or any of its
Subsidiaries may sell, convey or otherwise transfer to (a) a Receivables Subsidiary (in the case of
a transfer by the Issuer or any of its Subsidiaries), and (b) any other Person (in the case of a
transfer by a Receivables Subsidiary), or may grant a security interest in, any accounts receivable
(whether now existing or arising in the future) of the Issuer or any of its Subsidiaries, and any
assets related thereto including, without limitation, all collateral securing such accounts
receivable, all contracts and all Guarantees or other obligations in respect of such accounts
receivable, proceeds of such accounts receivable and other assets which are customarily
transferred or in respect of which security interests are customarily granted in connection with
asset securitization transactions involving accounts receivable and any Hedging Obligations
entered into by the Issuer or any such Subsidiary in connection with such accounts receivable.

                “Receivables Repurchase Obligation” means any obligation of a seller of
receivables in a Qualified Receivables Financing to repurchase receivables arising as a result of a
breach of a representation, warranty or covenant or otherwise, including as a result of a
receivable or portion thereof becoming subject to any asserted defense, dispute, off−set or
counterclaim of any kind as a result of any action taken by, any failure to take action by or any
other event relating to the seller.

                 “Receivables Subsidiary” means a Wholly−Owned Restricted Subsidiary of the
Issuer (or another Person formed for the purposes of engaging in a Qualified Receivables
Financing with the Issuer and to which the Issuer or any Subsidiary of the Issuer transfers
accounts receivable and related assets) which engages in no activities other than in connection
with the financing of accounts receivable of the Issuer and its Subsidiaries, all proceeds thereof
and all rights (contractual or other), collateral and other assets relating thereto, and any business
or activities incidental or related to such business, and which is designated by the Board of
Directors of the Issuer (as provided below) as a Receivables Subsidiary and:

               (1)     no portion of the Indebtedness or any other obligations (contingent or
       otherwise) of which (i) is Guaranteed by the Issuer or any other Subsidiary of the Issuer
       (excluding Guarantees of Obligations (other than the principal of, and interest on,
       Indebtedness) pursuant to Standard Securitization Undertakings), (ii) is recourse to or
       obligates the Issuer or any other Subsidiary of the Issuer in any way other than pursuant
       to Standard Securitization Undertakings, or (iii) subjects any property or asset of the
       Issuer or any other Subsidiary of the Issuer, directly or indirectly, contingently or
       otherwise, to the satisfaction thereof, other than pursuant to Standard Securitization
       Undertakings,

              (2)     with which neither the Issuer nor any other Subsidiary of the Issuer has
       any material contract, agreement, arrangement or understanding other than on terms
       which the Issuer reasonably believes to be no less favorable to the Issuer or such



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       Subsidiary than those that might be obtained at the time from Persons that are not
       Affiliates of the Issuer, and

               (3)    to which neither the Issuer nor any other Subsidiary of the Issuer has any
       obligation to maintain or preserve such entity’s financial condition or cause such entity to
       achieve certain levels of operating results. Any such designation by the Board of
       Directors of the Issuer shall be evidenced to the Trustee by filing with the Trustee a
       certified copy of the resolution of the Board of Directors of the Issuer giving effect to
       such designation and an Officer’s Certificate certifying that such designation complied
       with the foregoing conditions.

               “Refinancing Transactions” has the meaning set forth in the Offering Document.

               “Regulation S” means Regulation S promulgated under the Securities Act.

               “Regulation S Global Note” means a Global Note substantially in the form of
Exhibit A2 hereto deposited with or behalf of and registered in the name of the Depositary or its
nominee, issued in a denomination equal to the outstanding principal amount of the Notes sold in
reliance of Regulation S.

                “Related Business Assets” means assets (other than cash or Cash Equivalents)
used or useful in a Permitted Business; provided that any assets received by the Issuer or a
Restricted Subsidiary of the Issuer in exchange for assets transferred by the Issuer or a Restricted
Subsidiary of the Issuer shall not be deemed to be Related Business Assets if they consist of
securities of a Person, unless upon receipt of the securities of such Person, such Person would
become a Restricted Subsidiary of the Issuer.

               “Related Party” means:

               (1)    any controlling stockholder, partner, member, 50% (or more) owned
       Subsidiary (other than any portfolio company), or immediate family member (in the case
       of an individual) of any Equity Investor;

               (2)      any trust, corporation, partnership or other entity, the beneficiaries,
       stockholders, partners, owners or Persons beneficially holding a 50% or more controlling
       interest of which consist of any one or more Equity Investors and/or such other Persons
       referred to in the immediately preceding clause; or

               (3)     any Person with whom an Equity Investor or a Related Party (under
       clause (1) or (2) of this definition of Related Party) may be deemed as part of a “group”
       within the meaning of Section 13(d)(3) of the Exchange Act.

                “Reporting Failure” means the failure of the Issuer to hold conference calls with
respect to, or make available, post or otherwise deliver to the Trustee, within the time periods
specified in Section 4.03 (after giving effect to any grace period specified under Rule 12b−25
under the Exchange Act), the periodic reports, information, documents or other reports which the
Issuer or a parent Guarantor may be required to make available, post or otherwise deliver
pursuant to such provision.


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                “Representative” means BofA Securities, Inc., in its capacity as representative of
the several Initial Purchasers.

                “Responsible Officer” when used with respect to the Trustee, means any officer
within the corporate trust department of the Trustee, including any vice president, assistant vice
president, trust officer or any other officer of the Trustee customarily performing functions
similar to those performed by any of the above designated officers and also means, with respect
to a particular corporate trust matter, any other person to whom such matter is referred because
of such person’s knowledge of and familiarity with the particular subject and who shall have
direct responsibility for the administration of this Indenture.

              “Restricted Definitive Note” means a Definitive Note bearing the Private
Placement Legend.

               “Restricted Global Note” means a Global Note bearing the Private Placement
Legend.

               “Restricted Investment” means an Investment other than a Permitted Investment.

               “Restricted Period” means the 40−day distribution compliance period as defined
in Regulation S, as notified to the Trustee by the Issuer in writing.

                “Restricted Subsidiary” of a Person means any Subsidiary of the referent Person
that is not an Unrestricted Subsidiary. Unless otherwise indicated, when used herein, the term
“Restricted Subsidiary” shall refer to a Restricted Subsidiary of the Issuer.

               “Rule 144” means Rule 144 promulgated under the Securities Act.

               “Rule 144A” means Rule 144A promulgated under the Securities Act.

               “Rule 903” means Rule 903 promulgated under the Securities Act.

               “Rule 904” means Rule 904 promulgated under the Securities Act.

               “S&P” means S&P Global Ratings and any successor to its rating agency
business.

               “Sale/Leaseback Transaction” means an arrangement relating to property now
owned or hereafter acquired by the Issuer or a Restricted Subsidiary of the Issuer whereby the
Issuer or a Restricted Subsidiary of the Issuer transfers such property to a Person and the Issuer
or such Restricted Subsidiary leases it from such Person, other than leases between the Issuer and
a Restricted Subsidiary of the Issuer or between Restricted Subsidiaries of the Issuer.

               “SEC” means the Securities and Exchange Commission.

               “Secured Indebtedness” means any Indebtedness secured by a Lien.




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              “Secured Parties” means (i) the Holders of the Notes, (ii) the Trustee, (iii) the
Collateral Agent and (iv) any successors, indorsees, transferees and assigns of each of the
foregoing.

               “Securities Act” means the Securities Act of 1933, as amended.

               “Security Agreement” means the pledge and security agreement dated as of the
Issue Date among the Collateral Agent, for its benefit and for the benefit of the Trustee, the
Holders of the Notes and the holders of any Permitted Additional Pari Passu Obligations, the
Issuer and the Guarantors, as amended, modified, restated, supplemented or replaced from time
to time in accordance with its terms.

                “Security Documents” means the Security Agreement, any mortgages, the
Intercreditor Agreement and all of the security agreements, pledges, collateral assignments,
mortgages, deeds of trust, trust deeds or other instruments evidencing or creating or purporting to
create any security interests in favor of the Collateral Agent for its benefit and for the benefit of
the Trustee, the Holders of the Notes and the holders of any Permitted Additional Pari Passu
Obligations, in all or any portion of the Collateral, in each case as amended, modified, restated,
supplemented or replaced from time to time.

                “Senior Secured Net Leverage Ratio” means, as of any date of determination
(the “Senior Secured Net Leverage Ratio Calculation Date”), the ratio of (a) the Consolidated
Total Indebtedness of the Issuer and its Restricted Subsidiaries as of the end of the most recent
fiscal quarter for which internal financial statements are available that is secured by Liens, less
an amount equal to the amount of any cash and Cash Equivalents of the Issuer and its Restricted
Subsidiaries as of such date, to (b) Consolidated Adjusted EBITDA of the Issuer and its
Restricted Subsidiaries for the most recently ended four fiscal quarters ending immediately prior
to such date for which internal financial statements are available.

                In the event that the Issuer or any Restricted Subsidiary of the Issuer incurs,
assumes, Guarantees, redeems, repays, retires or extinguishes any Indebtedness (other than
Indebtedness incurred or repaid under any revolving credit facility unless such Indebtedness has
been permanently repaid and has not been replaced) or issues or redeems Disqualified Stock or
preferred stock subsequent to the commencement of the period for which the Senior Secured Net
Leverage Ratio is being calculated but prior to or simultaneously with the event for which the
calculation of the Senior Secured Net Leverage Ratio is made, then the Senior Secured Net
Leverage Ratio shall be calculated giving pro forma effect to such incurrence, assumption,
Guarantee, redemption, retirement or extinguishment of Indebtedness, or such issuance or
redemption of Disqualified Stock or preferred stock, as if the same had occurred immediately
prior to the end of such most recent fiscal quarter end.

                For purposes of making the computation referred to above, Investments,
acquisitions, dispositions, mergers, amalgamations, consolidations and discontinued operations
(as determined in accordance with GAAP) that have been made by the Issuer or any of its
Restricted Subsidiaries during the four−quarter reference period or subsequent to such reference
period and on or prior to or simultaneously with the Senior Secured Net Leverage Ratio
Calculation Date shall be calculated on a pro forma basis assuming that all such Investments,


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acquisitions, dispositions, mergers, amalgamations, consolidations and discontinued operations
(and the change in Consolidated Adjusted EBITDA resulting therefrom) had occurred on the first
day of the four−quarter reference period. If since the beginning of such period any Person that
subsequently became a Restricted Subsidiary of the Issuer or was merged with or into the Issuer
or any of its Restricted Subsidiaries since the beginning of such period shall have made any
Investment, acquisition, disposition, merger, amalgamation, consolidation or discontinued
operation that would have required adjustment pursuant to this definition, then the Senior
Secured Net Leverage Ratio shall be calculated giving pro forma effect thereto for such period as
if such Investment, acquisition, disposition, merger, amalgamation, consolidation or discontinued
operation had occurred at the beginning of the applicable four−quarter period. For purposes of
this definition, whenever pro forma effect is to be given to an Investment, acquisition,
disposition, merger or consolidation, the pro forma calculations shall be made in good faith by a
responsible financial or accounting officer of the Issuer (and may include, for the avoidance of
doubt, cost savings, synergies and operating expense reductions resulting from such Investment,
acquisition, merger, amalgamation or consolidation which is being given pro forma effect that
have been or are expected to be realized).

               “Significant Subsidiary” means any Subsidiary that would be a “significant
subsidiary” as defined in Article 1, Rule 1−02 of Regulation S−X, promulgated pursuant to the
Securities Act, as such Regulation is in effect on the Issue Date.

               “Standard Securitization Undertakings” means representations, warranties,
covenants, indemnities and Guarantees of performance entered into by the Issuer or any
Subsidiary of the Issuer which the Issuer has determined in good faith to be customary in a
Receivables Financing including, without limitation, those relating to the servicing of the assets
of a Receivables Subsidiary, it being understood that any Receivables Repurchase Obligation
shall be deemed to be a Standard Securitization Undertaking.

               “Stated Maturity” means, with respect to any installment of principal on any
series of Indebtedness, the date on which the final payment of principal was scheduled to be paid
in the documentation governing such Indebtedness as of the Issue Date, and will not include any
contingent obligations to repay, redeem or repurchase any such principal prior to the date
originally scheduled for the payment thereof.

               “Subsidiary” means, with respect to any specified Person:

                (1)   any corporation, association or other business entity of which more than
       50% of the total voting power of shares of Capital Stock entitled (without regard to the
       occurrence of any contingency and after giving effect to any voting agreement or
       stockholders’ agreement that effectively transfers voting power) to vote in the election of
       directors, managers or trustees of the corporation, association or other business entity is
       at the time owned or controlled, directly or indirectly, by that Person or one or more of
       the other Subsidiaries of that Person (or a combination thereof); and

               (2)    any partnership (a) the sole general partner or the managing general
       partner of which is such Person or a Subsidiary of such Person or (b) the only general




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       partners of which are that Person or one or more Subsidiaries of that Person (or any
       combination thereof).

             “TIA” means the Trust Indenture Act of 1939, as amended (15 U.S.C.
§§ 77aaa−77bbbb).

               “Total Assets” means the total consolidated assets of the Issuer and its Restricted
Subsidiaries, as shown on the most recent balance sheet of the Issuer

                “Total Non-Guarantor Assets” means the total assets of the Restricted
Subsidiaries of the Issuer that are not Guarantors, as shown on the most recent balance sheet of
the Issuer.

               “Treasury Rate” means, as of any redemption date, the yield to maturity as of
such redemption date of United States Treasury securities with a constant maturity (as compiled
and published in the most recent Federal Reserve Statistical Release H. 15(519) that has become
publicly available at least two Business Days prior to the redemption date (or, if such Statistical
Release is no longer published, any publicly available source of similar market data)) most
nearly equal to the period from the redemption date to August 1, 2021; provided, however, that if
the period from the redemption date to August 1, 2021, is less than one year, the weekly average
yield on actually traded United States Treasury securities adjusted to a constant maturity of one
year will be used.

               “Trustee” means U.S. Bank National Association until a successor replaces it in
accordance with the applicable provisions of this Indenture and thereafter means the successor
serving hereunder.

                “U.S. Dollar Equivalent” means with respect to any monetary amount in a
currency other than U.S. dollars, at any time for determination thereof, the amount of U.S.
dollars obtained by converting such foreign currency involved in such computation into U.S.
dollars at the spot rate for the purchase of U.S. dollars with the applicable foreign currency as
published in The Wall Street Journal in the “Exchange Rates” column under the heading
“Currency Trading” on the date two Business Days prior to such determination.

                “U.S. Government Securities” means direct obligations of, or obligations
Guaranteed by, the United States of America, and the payment for which the United States
pledges its full faith and credit.

               “U.S. Person” means a U.S. Person as defined in Rule 902(k) promulgated under
the Securities Act.

               “Unrestricted Definitive Note” means a Definitive Note that does not bear and is
not required to bear the Private Placement Legend.

               “Unrestricted Global Note” means a Global Note that does not bear and is not
required to bear the Private Placement Legend.

               “Unrestricted Subsidiary” means:


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              (1)    any Subsidiary of the Issuer that at the time of determination shall be
       designated an Unrestricted Subsidiary by the Board of Directors of the Issuer in the
       manner provided below;

               (2)    TPC Pipeline Holding Company LLC and TPC Pipeline Company LLC;
       provided that, for the avoidance of doubt, (i) TPC Pipeline Company LLC shall not own
       any material assets as of the Issue Date other than the Excluded Pipelines, (ii) TPC
       Pipeline Holding Company LLC shall not own any material assets as of the Issue Date
       other than the Equity Interests of TPC Pipeline Company LLC and (iii) any such
       Subsidiary shall cease to be an Unrestricted Subsidiary if the Board of Directors
       designates such Subsidiary as a Restricted Subsidiary as set forth below; and

               (3)    any Subsidiary of an Unrestricted Subsidiary.

                The Board of Directors of the Issuer may designate any Subsidiary of the Issuer
(including any newly acquired or newly formed Subsidiary of the Issuer) to be an Unrestricted
Subsidiary unless such Subsidiary or any of its Subsidiaries owns any Equity Interests or
Indebtedness of, or owns or holds any Lien on any property of, the Issuer or any other Subsidiary
of the Issuer that is not a Subsidiary of the Subsidiary to be so designated; provided, however,
that the Subsidiary to be so designated and its Subsidiaries do not at the time of designation have
and do not thereafter incur Non−Recourse Debt (other than Guarantees of performance of the
Unrestricted Subsidiary in the ordinary course of business, excluding Guarantees of Indebtedness
for borrowed money); provided further, however, that either:

                      (a) the Subsidiary to be so designated has total consolidated assets of
               $1,000 or less; or

                      (b) if such Subsidiary has consolidated assets greater than $1,000, then
               such designation would be permitted under Section 4.05 hereof.

               The Board of Directors of the Issuer may designate any Unrestricted Subsidiary to
be a Restricted Subsidiary of the Issuer; provided, however, that immediately after giving effect
to such designation:

               (x) (1) the Issuer could incur $1.00 of additional Indebtedness pursuant to
Section 4.07(a) hereof or (2) the Fixed Charge Coverage Ratio for the Issuer and its Restricted
Subsidiaries would be equal to or greater than such ratio for the Issuer and its Restricted
Subsidiaries immediately prior to such designation, in each case on a pro forma basis taking into
account such designation, and

               (y) no Event of Default shall have occurred and be continuing.

               Any such designation by the Board of Directors of the Issuer shall be evidenced to
the Trustee by promptly filing with the Trustee a copy of the resolution of the applicable Board
of Directors giving effect to such designation and an Officer’s Certificate certifying that such
designation complied with the foregoing provisions.




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              “Voting Stock” of any specified Person as of any date means the Capital Stock of
such Person that is at the time entitled to vote in the election of the Board of Directors of such
Person.

               “Weighted Average Life to Maturity” means, when applied to any Indebtedness at
any date, the number of years obtained by dividing:

               (1)      the sum of the products obtained by multiplying (a) the amount of each
        then remaining installment, sinking fund, serial maturity or other required payments of
        principal, including payment at final maturity, in respect of the Indebtedness, by (b) the
        number of years (calculated to the nearest one−twelfth) that will elapse between such
        date and the making of such payment; by

               (2)     the then outstanding principal amount of such Indebtedness.

               “Wholly-Owned Domestic Restricted Subsidiary” means any Domestic Subsidiary
that is a Wholly-Owned Restricted Subsidiary.

               “Wholly−Owned Restricted Subsidiary” of any specified Person means a
Subsidiary of such Person all of the outstanding Capital Stock or other ownership interests of
which (other than directors’ qualifying shares) will at the time be owned by such Person or by
one or more Wholly−Owned Restricted Subsidiaries of such Person.

Section 1.02   Other Definitions.

 Term                                                  Defined in Section

 “Affiliate Transaction”                                     4.09
 “After−Acquired Real Property”                              4.18
 “Alternate Offer”                                           4.12
 “Applicable Premium Deficit”                                8.04
 “Asset Sale Offer”                                          4.08
 “Authentication Order”                                      2.02
 “Change of Control Offer”                                   4.12
 “Change of Control Payment”                                 4.12
 “Change of Control Payment Date”                            4.12
 “Covenant Defeasance”                                       8.03
 “DTC”                                                       2.03
 “Event of Default”                                          6.01
 “Excess Proceeds”                                           4.08
 “Fall−Away Period”                                          4.16
 “Flood Insurance Laws”                                      4.19
 “incur”                                                    4.07(a)
 “Issuer”                                                  Preamble
 “Legal Defeasance”                                          8.02
 “Limited Condition Transaction”                             4.21
 “Mortgage Policies”                                         4.19


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 Term                                                 Defined in Section

 “Offer Period”                                             4.08
 “Paying Agent”                                             2.03
 “Payment Default”                                          6.01
 “Permitted Debt”                                          4.07(b)
 “Registrar”                                                2.03
 “Restricted Payments”                                      4.05
 “Suspended Covenants”                                      4.16
 “Title Company”                                            4.19
 “Transaction Agreement Date”                               4.21

Section 1.03   Incorporation by Reference of Trust Indenture Act.

               This Indenture is not and shall not be qualified by the TIA and no provisions of
the TIA are incorporated by reference in and made a part of this Indenture.

Section 1.04   Rules of Construction.

               Unless the context otherwise requires:

               (i)     a term has the meaning assigned to it;

               (ii)   an accounting term not otherwise defined has the meaning assigned to it in
        accordance with GAAP;

               (iii)   “or” is not exclusive;

               (iv)    words in the singular include the plural, and in the plural include the
        singular;

               (v)     “will” shall be interpreted to express a command;

               (vi)    provisions apply to successive events and transactions; and

                (vii) references to sections of or rules under the Securities Act will be deemed
        to include substitute, replacement of successor sections or rules adopted by the SEC from
        time to time.

                                           ARTICLE 2

                                           THE NOTES

Section 2.01   Form and Dating.

                (a)     General. The Notes and the Trustee’s certificate of authentication will be
substantially in the form of Exhibits A1 and A2 hereto. The Notes may have notations, legends
or endorsements required by law, stock exchange rule or usage. Each Note will be dated the date


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of its authentication. The Notes shall be in denominations of $2,000 and integral multiples of
$1,000 in excess of $2,000.

               The terms and provisions contained in the Notes will constitute, and are hereby
expressly made, a part of this Indenture and the Issuer, the Guarantors and the Trustee, by their
execution and delivery of this Indenture, expressly agree to such terms and provisions and to be
bound thereby. However, to the extent any provision of any Note conflicts with the express
provisions of this Indenture, the provisions of this Indenture shall govern and be controlling.

                (b)     Global Notes. Notes issued in global form will be substantially in the form
of Exhibits A1 or A2 hereto (including the Global Note Legend thereon and the “Schedule of
Exchanges of Interests in the Global Note” attached thereto). Definitive Notes will be
substantially in the form of Exhibit A1 hereto (but without the Global Note Legend thereon and
without the “Schedule of Exchanges of Interests in the Global Note” attached thereto). Each
Global Note will represent such of the outstanding Notes as will be specified therein and each
shall provide that it represents the aggregate principal amount of outstanding Notes from time to
time endorsed thereon and that the aggregate principal amount of outstanding Notes represented
thereby may from time to time be reduced or increased, as appropriate, to reflect exchanges and
redemptions. Any endorsement of a Global Note to reflect the amount of any increase or
decrease in the aggregate principal amount of outstanding Notes represented thereby will be
made by the Trustee or the Custodian, at the written direction of the Trustee, in accordance with
instructions given by the Holder thereof as required by Section 2.06 hereof.

                (c)     None of the Trustee or any Agent shall have any responsibility or
obligation to any beneficial owner of an interest in a Global Note, a member of, or a Participant
or Indirect Participant in, the Depositary or other Person with respect to the accuracy of the
records of the Depositary or its nominee or of any Participant or Indirect Participant in, or
member thereof, with respect to any ownership interest in the Notes or with respect to the
delivery to any Participant, Indirect Participant, member, beneficial owner or other Person (other
than the Depositary) of any notice (including any notice of redemption) or the payment of any
amount or delivery of any Notes (or other security or property) under or with respect to such
Notes. All notices and communications to be given to the Holders and all payments to be made
to Holders in respect of the Notes shall be given or made only to or upon the order of the
registered Holders (which shall be the Depositary or its nominee in the case of a Global Note).
The rights of beneficial owners in any Global Note shall be exercised only through the
Depositary subject to the Applicable Procedures of the Depositary. The Trustee and each Agent
may conclusively rely and shall be fully protected in relying upon information furnished by the
Depositary with respect to its members, Participants, Indirect Participants and any beneficial
owners. Neither the Trustee nor any Agent shall have any responsibility or liability for actions
take or not taken by the Depositary.

Section 2.02   Execution and Authentication.

               (a)     At least one Officer must sign the Notes for the Issuer by manual or
facsimile signature.




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               (b)     If an Officer whose signature is on a Note no longer holds that office at
the time a Note is authenticated, the Note will nevertheless be valid.

                (c)   A Note will not be valid until authenticated by the manual signature of the
Trustee. The signature will be conclusive evidence that the Note has been authenticated under
this Indenture.

                (d)     The Trustee will, upon receipt of a written order of the Issuer signed by
two Officers of the Issuer (an “Authentication Order”), authenticate Notes for original issue that
may be validly issued under this Indenture, including any Additional Notes. The aggregate
principal amount of Notes outstanding at any time may not exceed the aggregate principal
amount of Notes authorized for issuance by the Issuer pursuant to one or more Authentication
Orders, except as provided in Section 2.07 hereof. Subject to compliance with Sections 4.07 and
4.10 of this Indenture, the Issuer may issue an unlimited amount of Additional Notes under this
Indenture from time to time after the Issue Date having identical terms and conditions as the
Initial Notes other than the issue date, issue price, the first interest payment date and the first date
from which interest will accrue; provided that if any Additional Notes are not fungible with the
Initial Notes for U.S. federal income tax purposes, such Additional Notes will be issued as a
separate series under this Indenture and will have a separate CUSIP number and ISIN from the
Initial Notes.

                (e)     The Trustee may appoint an authenticating agent acceptable to the Issuer
to authenticate Notes. An authenticating agent may authenticate Notes whenever the Trustee may
do so. Each reference in this Indenture to authentication by the Trustee includes authentication
by such agent. An authenticating agent has the same rights as an Agent to deal with Holders or
an Affiliate of the Issuer.

Section 2.03    Registrar and Paying Agent.

              (a)     The Issuer will maintain a register of Notes at its registered office in
which the Holders of the Notes will be registered.

                (b)     The Issuer will maintain an office or agency where Notes may be
presented for registration of transfer or for exchange (“Registrar”) and an office or agency where
Notes may be presented for payment (“Paying Agent”). The Registrar will keep a register of the
Holders and the Notes and of their transfer and exchange. The Issuer may appoint one or more
co−registrars and one or more additional Paying Agents. The term “Registrar” includes any
co−registrar and the term “Paying Agent” includes any additional paying agent. The Issuer may
change any Paying Agent or Registrar without notice to any Holder. The Issuer will notify the
Trustee in writing of the name and address of any Agent not a party to this Indenture. The Issuer
or any of the Issuer’s Restricted Subsidiaries may act as Paying Agent or Registrar.

               (c)    The Issuer initially appoints The Depository Trust Company (“DTC”) to
act as Depositary with respect to the Global Notes.

              (d)      The Issuer initially appoints the Trustee to act as the Registrar and Paying
Agent with respect to the Global Notes.



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Section 2.04   Paying Agent to Hold Money in Trust.

                The Issuer will require each Paying Agent other than the Trustee to agree in
writing that the Paying Agent will hold in trust for the benefit of Holders or the Trustee all
money held by the Paying Agent for the payment of principal, premium or interest on the Notes,
and will notify the Trustee in writing of any default by the Issuer in making any such payment.
While any such default continues, the Trustee may require a Paying Agent to pay all money held
by it to the Trustee. The Issuer at any time may require a Paying Agent to pay all money held by
it to the Trustee. Upon payment over to the Trustee, the Paying Agent (if other than the Issuer or
a Subsidiary of the Issuer) will have no further liability for the money. If the Issuer or a
Subsidiary of the Issuer acts as Paying Agent, it will segregate and hold in a separate trust fund
for the benefit of the Holders all money held by it as Paying Agent. Upon any bankruptcy or
reorganization proceedings relating to the Issuer, the Trustee will serve as Paying Agent for the
Notes.

Section 2.05   Holder Lists.

                The Trustee will preserve in as current a form as is reasonably practicable the
most recent list available to it of the names and addresses of all Holders. If the Trustee is not the
Registrar, the Issuer will furnish to the Trustee at least seven Business Days before each interest
payment date and at such other times as the Trustee may request in writing, a list in such form
and as of such date as the Trustee may reasonably require of the names and addresses of the
Holders.

Section 2.06   Transfer and Exchange.

               (a)     Transfer and Exchange of Global Notes. A Global Note may not be
transferred except as a whole by the Depositary to a nominee of the Depositary, by a nominee of
the Depositary to the Depositary or to another nominee of the Depositary, or by the Depositary
or any such nominee to a successor Depositary or a nominee of such successor Depositary. All
Global Notes will be exchanged by the Issuer for Definitive Notes if:

              (1)      the Issuer delivers to the Trustee written notice from the Depositary that it
       is unwilling or unable to continue to act as Depositary or that it is no longer a clearing
       agency registered under the Exchange Act and, in either case, a successor Depositary is
       not appointed by the Issuer within 120 days after the date of such notice from the
       Depositary;

               (2)    the Issuer, at its option and subject to the procedures of the Depositary,
       determine that the Global Notes (in whole but not in part) should be exchanged for
       Definitive Notes and deliver a written notice to such effect to the Trustee; or

              (3)      there has occurred and is continuing an Event of Default with respect to
       the Notes.

               Upon the occurrence of either of the preceding events in clauses (1), (2) or (3)
above, Definitive Notes shall be issued in such names as the Depositary shall instruct the Trustee
in writing. Global Notes also may be exchanged or replaced, in whole or in part, as provided in


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Sections 2.07 and 2.10 hereof. Every Note authenticated and delivered in exchange for, or in lieu
of, a Global Note or any portion thereof, pursuant to this Section 2.06 or Section 2.07 or 2.10
hereof, shall be authenticated and delivered in the form of, and shall be, a Global Note. A Global
Note may not be exchanged for another Note other than as provided in this Section 2.06(a),
however, beneficial interests in a Global Note may be transferred and exchanged as provided in
Section 2.06(b) or (c) hereof.

                (b)      Transfer and Exchange of Beneficial Interests in the Global Notes. The
transfer and exchange of beneficial interests in the Global Notes will be effected through the
Depositary, in accordance with the provisions of this Indenture and the Applicable Procedures.
Beneficial interests in the Restricted Global Notes will be subject to restrictions on transfer
comparable to those set forth herein to the extent required by the Securities Act. Transfers of
beneficial interests in the Global Notes also will require compliance with either clause (1) or (2)
below, as applicable, as well as one or more of the other following clauses, as applicable:

               (1)     Transfer of Beneficial Interests in the Same Global Note. Beneficial
       interests in any Restricted Global Note may be transferred to Persons who take delivery
       thereof in the form of a beneficial interest in the same Restricted Global Note in
       accordance with the transfer restrictions set forth in the Private Placement Legend.

               (2)     All Other Transfers and Exchanges of Beneficial Interests in Global
       Notes. In connection with all transfers and exchanges of beneficial interests that are not
       subject to Section 2.06(b)(1) above, the transferor of such beneficial interest must deliver
       to the Registrar either:

                       (A)    both:

                              (i)     a written order from a Participant or an Indirect Participant
                                      given to the Depositary in accordance with the Applicable
                                      Procedures directing the Depositary to credit or cause to be
                                      credited a beneficial interest in another Global Note in an
                                      amount equal to the beneficial interest to be transferred or
                                      exchanged; and

                              (ii)    instructions given in accordance with the Applicable
                                      Procedures containing information regarding the
                                      Participant account to be credited with such increase; or

                       (B)    both:

                              (i)     a written order from a Participant or an Indirect Participant
                                      given to the Depositary in accordance with the Applicable
                                      Procedures directing the Depositary to cause to be issued a
                                      Definitive Note in an amount equal to the beneficial
                                      interest to be transferred or exchanged; and

                              (ii)    instructions given by the Depositary to the Registrar
                                      containing information regarding the Person in whose name


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                                      such Definitive Note shall be registered to effect the
                                      transfer or exchange referred to in clause (1) above.

                Upon satisfaction of all of the requirements for transfer or exchange of beneficial
interests in Global Notes contained in this Indenture and the Notes or otherwise applicable under
the Securities Act, the Trustee shall adjust the principal amount of the relevant Global Note(s)
pursuant to Section 2.06(g) hereof.

               (3)     Transfer of Beneficial Interests to Another Restricted Global Note. A
       beneficial interest in any Restricted Global Note may be transferred to a Person who
       takes delivery thereof in the form of a beneficial interest in another Restricted Global
       Note if the transfer complies with the requirements of Section 2.06(b)(2) above and the
       Registrar receives:

                       (A)      if the transferee will take delivery in the form of a beneficial
               interest in the 144A Global Note, then the transferor must deliver a certificate in
               the form of Exhibit B hereto, including the certifications in item (1) thereof;

                       (B)      if the transferee will take delivery in the form of a beneficial
               interest in the Regulation S Global Note, then the transferor must deliver a
               certificate in the form of Exhibit B hereto, including the certifications in item (2)
               thereof.

               (4)     Transfer and Exchange of Beneficial Interests in a Restricted Global Note
       for Beneficial Interests in an Unrestricted Global Note. A beneficial interest in any
       Restricted Global Note may be exchanged by any holder thereof for a beneficial interest
       in an Unrestricted Global Note or transferred to a Person who takes delivery thereof in
       the form of a beneficial interest in an Unrestricted Global Note if the exchange or transfer
       complies with the requirements of Section 2.06(b)(2) above and the Registrar receives the
       following:

                       (A)    if the holder of such beneficial interest in a Restricted Global Note
               proposes to exchange such beneficial interest for a beneficial interest in an
               Unrestricted Global Note, a certificate from such holder in the form of Exhibit C
               hereto, including the certifications in item (1)(a) thereof; or

                       (B)     if the holder of such beneficial interest in a Restricted Global Note
               proposes to transfer such beneficial interest to a Person who shall take delivery
               thereof in the form of a beneficial interest in an Unrestricted Global Note, a
               certificate from such holder in the form of Exhibit B hereto, including the
               certifications in item (4) thereof;

       and, in each such case set forth in this Section 2.06(b)(4), if the Issuer so requests or if
       the Applicable Procedures so require, an Opinion of Counsel in form reasonably
       acceptable to the Issuer to the effect that such exchange or transfer is in compliance with
       the Securities Act and that the restrictions on transfer contained herein and in the Private
       Placement Legend are no longer required in order to maintain compliance with the
       Securities Act.


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       If any such transfer is effected pursuant to Section 2.06(b)(4) above at a time when an
Unrestricted Global Note has not yet been issued, the Issuer shall issue and, upon receipt of an
Authentication Order in accordance with Section 2.02 hereof, the Trustee shall authenticate one
or more Unrestricted Global Notes in an aggregate principal amount equal to the aggregate
principal amount of beneficial interests transferred pursuant to Section 2.06(b)(4) above.

        Beneficial interests in an Unrestricted Global Note cannot be exchanged for, or
transferred to Persons who take delivery thereof in the form of, a beneficial interest in a
Restricted Global Note.

               (c)     Transfer or Exchange of Beneficial Interests for Definitive Notes.

               (1)     Beneficial Interests in Restricted Global Notes to Restricted Definitive
       Notes. If any holder of a beneficial interest in a Restricted Global Note proposes to
       exchange such beneficial interest for a Restricted Definitive Note or to transfer such
       beneficial interest to a Person who takes delivery thereof in the form of a Restricted
       Definitive Note, then, upon receipt by the Registrar of the following documentation:

                       (A)     if the holder of such beneficial interest in a Restricted Global Note
               proposes to exchange such beneficial interest for a Restricted Definitive Note, a
               certificate from such holder in the form of Exhibit C hereto, including the
               certifications in item (2)(a) thereof;

                       (B)    if such beneficial interest is being transferred to a QIB in
               accordance with Rule 144A, a certificate to the effect set forth in Exhibit B
               hereto, including the certifications in item (1) thereof;

                       (C)      if such beneficial interest is being transferred to a Non−U.S.
               Person in an offshore transaction in accordance with Rule 903 or Rule 904, a
               certificate to the effect set forth in Exhibit B hereto, including the certifications in
               item (2) thereof;

                       (D)     if such beneficial interest is being transferred pursuant to an
               exemption from the registration requirements of the Securities Act in accordance
               with Rule 144, a certificate to the effect set forth in Exhibit B hereto, including
               the certifications in item (3)(a) thereof;

                       (E)     if such beneficial interest is being transferred to the Issuer or any
               of its Subsidiaries, a certificate to the effect set forth in Exhibit B hereto,
               including the certifications in item (3)(b) thereof; or

                       (F)     if such beneficial interest is being transferred pursuant to an
               effective registration statement under the Securities Act, a certificate to the effect
               set forth in Exhibit B hereto, including the certifications in item (3)(c) thereof;

       and the Trustee shall cause the aggregate principal amount of the applicable Global Note
       to be reduced accordingly pursuant to Section 2.06(g) hereof, and the Issuer shall execute
       and the Trustee shall authenticate and deliver to the Person designated in the instructions


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a Definitive Note in the appropriate principal amount. Any Definitive Note issued in
exchange for a beneficial interest in a Restricted Global Note pursuant to this
Section 2.06(c) shall be registered in such name or names and in such authorized
denomination or denominations as the holder of such beneficial interest shall instruct the
Registrar through instructions from the Depositary and the Participant or Indirect
Participant. The Trustee shall deliver such Definitive Notes to the Persons in whose
names such Notes are so registered. Any Definitive Note issued in exchange for a
beneficial interest in a Restricted Global Note pursuant to this Section 2.06(c)(1) shall
bear the Private Placement Legend and shall be subject to all restrictions on transfer
contained therein.

        (2)     Beneficial Interests in Restricted Global Notes to Unrestricted Definitive
Notes. A holder of a beneficial interest in a Restricted Global Note may exchange such
beneficial interest for an Unrestricted Definitive Note or may transfer such beneficial
interest to a Person who takes delivery thereof in the form of an Unrestricted Definitive
Note only if the Registrar receives the following:

                 (A)     if the holder of such beneficial interest in a Restricted Global Note
        proposes to exchange such beneficial interest for an Unrestricted Definitive Note,
        a certificate from such holder in the form of Exhibit C hereto, including the
        certifications in item (1)(b) thereof; or

                (B)     if the holder of such beneficial interest in a Restricted Global Note
        proposes to transfer such beneficial interest to a Person who shall take delivery
        thereof in the form of an Unrestricted Definitive Note, a certificate from such
        holder in the form of Exhibit B hereto, including the certifications in item (4)
        thereof;

and, in each such case set forth in this Section 2.06(c)(2), if the Issuer so requests or if the
Applicable Procedures so require, an Opinion of Counsel in form reasonably acceptable
to the Issuer to the effect that such exchange or transfer is in compliance with the
Securities Act and that the restrictions on transfer contained herein and in the Private
Placement Legend are no longer required in order to maintain compliance with the
Securities Act.

        (3)     Beneficial Interests in Unrestricted Global Notes to Unrestricted
Definitive Notes. If any holder of a beneficial interest in an Unrestricted Global Note
proposes to exchange such beneficial interest for a Definitive Note or to transfer such
beneficial interest to a Person who takes delivery thereof in the form of a Definitive Note,
then, upon satisfaction of the conditions set forth in Section 2.06(b)(2) hereof, the Trustee
will cause the aggregate principal amount of the applicable Global Note to be reduced
accordingly pursuant to Section 2.06(g) hereof, and the Issuer will execute and the
Trustee will authenticate and deliver to the Person designated in the instructions a
Definitive Note in the appropriate principal amount. Any Definitive Note issued in
exchange for a beneficial interest pursuant to this Section 2.06(c)(3) will be registered in
such name or names and in such authorized denomination or denominations as the holder
of such beneficial interest requests through instructions to the Registrar from or through


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the Depositary and the Participant or Indirect Participant. The Trustee will deliver such
Definitive Notes to the Persons in whose names such Notes are so registered. Any
Definitive Note issued in exchange for a beneficial interest pursuant to this
Section 2.06(c)(3) will not bear the Private Placement Legend.

       (d)     Transfer and Exchange of Definitive Notes for Beneficial Interests.

        (1)     Restricted Definitive Notes to Beneficial Interests in Restricted Global
Notes. If any Holder of a Restricted Definitive Note proposes to exchange such Note for a
beneficial interest in a Restricted Global Note or to transfer such Restricted Definitive
Notes to a Person who takes delivery thereof in the form of a beneficial interest in a
Restricted Global Note, then, upon receipt by the Registrar of the following
documentation:

               (A)     if the Holder of such Restricted Definitive Note proposes to
       exchange such Note for a beneficial interest in a Restricted Global Note, a
       certificate from such Holder in the form of Exhibit C hereto, including the
       certifications in item (2)(b) thereof;

               (B)    if such Restricted Definitive Note is being transferred to a QIB in
       accordance with Rule 144A, a certificate to the effect set forth in Exhibit B
       hereto, including the certifications in item (1) thereof;

               (C)     if such Restricted Definitive Note is being transferred to a
       Non−U.S. Person in an offshore transaction in accordance with Rule 903 or
       Rule 904, a certificate to the effect set forth in Exhibit B hereto, including the
       certifications in item (2) thereof;

              (D)     if such Restricted Definitive Note is being transferred pursuant to
       an exemption from the registration requirements of the Securities Act in
       accordance with Rule 144, a certificate to the effect set forth in Exhibit B hereto,
       including the certifications in item (3)(a) thereof;

               (E)     if such Restricted Definitive Note is being transferred to the Issuer
       or any of the Issuer’s Subsidiaries, a certificate to the effect set forth in Exhibit B
       hereto, including the certifications in item (3)(b) thereof; or

               (F)      if such Restricted Definitive Note is being transferred pursuant to
       an effective registration statement under the Securities Act, a certificate to the
       effect set forth in Exhibit B hereto, including the certifications in item (3)(c)
       thereof;

and the Trustee will cancel the Restricted Definitive Note, increase or cause to be
increased the aggregate principal amount of, in the case of clause (A) above, the
appropriate Restricted Global Note, in the case of clause (B) above, the 144A Global
Note, and in the case of clause (C) above, the Regulation S Global Note.




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               (2)     Restricted Definitive Notes to Beneficial Interests in Unrestricted Global
       Notes. A Holder of a Restricted Definitive Note may exchange such Note for a beneficial
       interest in an Unrestricted Global Note or transfer such Restricted Definitive Note to a
       Person who takes delivery thereof in the form of a beneficial interest in an Unrestricted
       Global Note only if the Registrar receives the following:

                       (A)     if the Holder of such Definitive Notes proposes to exchange such
               Notes for a beneficial interest in the Unrestricted Global Note, a certificate from
               such Holder in the form of Exhibit C hereto, including the certifications in item
               (1)(c) thereof; or

                       (B)     if the Holder of such Definitive Notes proposes to transfer such
               Notes to a Person who shall take delivery thereof in the form of a beneficial
               interest in the Unrestricted Global Note, a certificate from such Holder in the form
               of Exhibit B hereto, including the certifications in item (4) thereof;

       and, in each such case set forth in this Section 2.06(d)(2), if the Issuer so requests or if
       the Applicable Procedures so require, an Opinion of Counsel in form reasonably
       acceptable to the Issuer to the effect that such exchange or transfer is in compliance with
       the Securities Act and that the restrictions on transfer contained herein and in the Private
       Placement Legend are no longer required in order to maintain compliance with the
       Securities Act.

       Upon satisfaction of the conditions of any of the clauses in this Section 2.06(d)(2), the
Trustee will cancel the Definitive Notes and increase or cause to be increased the aggregate
principal amount of the Unrestricted Global Note.

               (3)     Unrestricted Definitive Notes to Beneficial Interests in Unrestricted
       Global Notes. A Holder of an Unrestricted Definitive Note may exchange such Note for a
       beneficial interest in an Unrestricted Global Note or transfer such Definitive Notes to a
       Person who takes delivery thereof in the form of a beneficial interest in an Unrestricted
       Global Note at any time. Upon receipt of a request for such an exchange or transfer, the
       Trustee will cancel the applicable Unrestricted Definitive Note and increase or cause to
       be increased the aggregate principal amount of one of the Unrestricted Global Notes.

               If any such exchange or transfer from a Definitive Note to a beneficial interest is
effected pursuant to Section 2.06(d)(2), or 2.06(d)(3) above at a time when an Unrestricted
Global Note has not yet been issued, the Issuer will issue and, upon receipt of an Authentication
Order in accordance with Section 2.02 hereof, the Trustee will authenticate one or more
Unrestricted Global Notes in an aggregate principal amount equal to the principal amount of
Definitive Notes so transferred.

                (e)     Transfer and Exchange of Definitive Notes for Definitive Notes. Upon
request by a Holder of Definitive Notes and such Holder’s compliance with the provisions of this
Section 2.06(e), the Registrar will register the transfer or exchange of Definitive Notes. Prior to
such registration of transfer or exchange, the requesting Holder must present or surrender to the
Registrar the Definitive Notes duly endorsed or accompanied by a written instruction of transfer



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in form satisfactory to the Registrar duly executed by such Holder or by its attorney, duly
authorized in writing. In addition, the requesting Holder must provide any additional
certifications, documents and information, as applicable, required pursuant to the following
provisions of this Section 2.06(e).

               (1)    Restricted Definitive Notes to Restricted Definitive Notes. Any Restricted
       Definitive Note may be transferred to and registered in the name of Persons who take
       delivery thereof in the form of a Restricted Definitive Note if the Registrar receives the
       following:

                       (A)     if the transfer will be made pursuant to Rule 144A, then the
               transferor must deliver a certificate in the form of Exhibit B hereto, including the
               certifications in item (1) thereof;

                       (B)     if the transfer will be made pursuant to Rule 903 or Rule 904, then
               the transferor must deliver a certificate in the form of Exhibit B hereto, including
               the certifications in item (2) thereof; and

                        (C)     if the transfer will be made pursuant to any other exemption from
               the registration requirements of the Securities Act, then the transferor must deliver
               a certificate in the form of Exhibit B hereto, including the certifications,
               certificates and Opinion of Counsel required by item (3) thereof, if applicable.

               (2)    Restricted Definitive Notes to Unrestricted Definitive Notes. Any
       Restricted Definitive Note may be exchanged by the Holder thereof for an Unrestricted
       Definitive Note or transferred to a Person or Persons who take delivery thereof in the
       form of an Unrestricted Definitive Note if the Registrar receives the following:

                       (A)    if the Holder of such Restricted Definitive Notes proposes to
               exchange such Notes for an Unrestricted Definitive Note, a certificate from such
               Holder in the form of Exhibit C hereto, including the certifications in item (1)(d)
               thereof; or

                       (B)    if the Holder of such Restricted Definitive Notes proposes to
               transfer such Notes to a Person who shall take delivery thereof in the form of an
               Unrestricted Definitive Note, a certificate from such Holder in the form of
               Exhibit B hereto, including the certifications in item (4) thereof;

       and, in each such case set forth in this Section 2.06(e)(2), if the Issuer so requests or if the
       Applicable Procedures so require, an Opinion of Counsel in form reasonably acceptable
       to the Issuer to the effect that such exchange or transfer is in compliance with the
       Securities Act and that the restrictions on transfer contained herein and in the Private
       Placement Legend are no longer required in order to maintain compliance with the
       Securities Act.

               (3)     Unrestricted Definitive Notes to Unrestricted Definitive Notes. A Holder
       of Unrestricted Definitive Notes may transfer such Notes to a Person who takes delivery
       thereof in the form of an Unrestricted Definitive Note. Upon receipt of a request to


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       register such a transfer, the Registrar shall register the Unrestricted Definitive Notes
       pursuant to the instructions from the Holder thereof.

               (f)    Legends. The following legends will appear on the face of all Global
Notes and Definitive Notes issued under this Indenture unless specifically stated otherwise in the
applicable provisions of this Indenture.

               (1)    Private Placement Legend.

                       (A)     Except as permitted by subparagraph (B) below, each Global Note
               and each Definitive Note (and all Notes issued in exchange therefor or
               substitution thereof) shall bear the legend in substantially the following form:

       “THE SECURITY (OR ITS PREDECESSOR) EVIDENCED HEREBY WAS
       ORIGINALLY ISSUED IN A TRANSACTION EXEMPT FROM REGISTRATION
       UNDER SECTION 5 OF THE UNITED STATES SECURITIES ACT OF 1933, AS
       AMENDED (THE “SECURITIES ACT”), AND THE SECURITY EVIDENCED
       HEREBY MAY NOT BE OFFERED, SOLD OR OTHERWISE TRANSFERRED IN
       THE ABSENCE OF SUCH REGISTRATION OR AN APPLICABLE EXEMPTION
       THEREFROM. EACH PURCHASER OF THE SECURITY EVIDENCED HEREBY IS
       HEREBY NOTIFIED THAT THE SELLER MAY BE RELYING ON THE
       EXEMPTION FROM THE PROVISIONS OF SECTION 5 OF THE SECURITIES ACT
       PROVIDED BY RULE 144A THEREUNDER. THE HOLDER OF THE SECURITY
       EVIDENCED HEREBY AGREES FOR THE BENEFIT OF THE ISSUER THAT
       (A) SUCH SECURITY MAY BE RESOLD, PLEDGED OR OTHERWISE
       TRANSFERRED, ONLY (1)(A) INSIDE THE UNITED STATES TO A PERSON
       WHO THE SELLER REASONABLY BELIEVES IS A QUALIFIED INSTITUTIONAL
       BUYER (AS DEFINED IN RULE 144A UNDER THE SECURITIES ACT)
       PURCHASING FOR ITS OWN ACCOUNT OR FOR THE ACCOUNT OF A
       QUALIFIED INSTITUTIONAL BUYER IN A TRANSACTION MEETING THE
       REQUIREMENTS OF RULE 144A UNDER THE SECURITIES ACT, (B) OUTSIDE
       THE UNITED STATES TO A FOREIGN PERSON IN A TRANSACTION MEETING
       THE REQUIREMENTS OF RULE 903 OR RULE 904 OF REGULATION S UNDER
       THE SECURITIES ACT, (C) PURSUANT TO AN EXEMPTION FROM
       REGISTRATION UNDER THE SECURITIES ACT PROVIDED BY RULE 144
       THEREUNDER (IF APPLICABLE) OR (D) IN ACCORDANCE WITH ANOTHER
       EXEMPTION FROM THE REGISTRATION REQUIREMENTS OF THE
       SECURITIES ACT (AND BASED UPON AN OPINION OF COUNSEL
       ACCEPTABLE TO THE ISSUER IF THE ISSUER SO REQUESTS), (2) TO THE
       ISSUER OR (3) PURSUANT TO AN EFFECTIVE REGISTRATION STATEMENT
       AND, IN EACH CASE, IN ACCORDANCE WITH ANY APPLICABLE SECURITIES
       LAWS OF ANY STATE OF THE UNITED STATES OR ANY OTHER APPLICABLE
       JURISDICTION AND (B) THE HOLDER WILL, AND EACH SUBSEQUENT
       HOLDER IS REQUIRED TO, NOTIFY ANY PURCHASER OF THE SECURITY
       EVIDENCED HEREBY OF THE RESALE RESTRICTIONS SET FORTH IN
       CLAUSE (A) ABOVE. NO REPRESENTATION CAN BE MADE AS TO THE



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AVAILABILITY OF THE EXEMPTION PROVIDED BY RULE 144 FOR RESALE
OF THE SECURITY EVIDENCED HEREBY.

EACH HOLDER OF THE SECURITY (OR INTEREST HEREIN) SHALL BE
DEEMED TO HAVE REPRESENTED AND WARRANTED THAT EITHER (A) NO
PORTION OF THE ASSETS USED BY SUCH HOLDER TO ACQUIRE OR HOLD
THE SECURITY (OR INTEREST HEREIN) CONSTITUTES ASSETS OF AN
EMPLOYEE BENEFIT PLAN SUBJECT TO TITLE I OF THE U.S. EMPLOYEE
RETIREMENT INCOME SECURITY ACT OF 1974, AS AMENDED (“ERISA”), A
PLAN, INDIVIDUAL RETIREMENT ACCOUNT, KEOGH PLAN OR OTHER
ARRANGEMENT THAT IS SUBJECT TO SECTION 4975 OF THE U.S. INTERNAL
REVENUE CODE OF 1986, AS AMENDED (THE “CODE”), OR PROVISIONS
UNDER ANY FEDERAL, STATE, LOCAL, NON-U.S. OR OTHER LAWS OR
REGULATIONS THAT ARE SIMILAR TO SUCH PROVISIONS OF ERISA OR THE
CODE (COLLECTIVELY, “SIMILAR LAWS”) OR (B) THE PURCHASE AND
HOLDING OF THE SECURITY (OR INTEREST HEREIN) BY SUCH HOLDER
WILL NOT CONSTITUTE OR RESULT IN A NON-EXEMPT PROHIBITED
TRANSACTION UNDER SECTION 406 OF ERISA OR SECTION 4975 OF THE
CODE OR SIMILAR VIOLATION UNDER ANY APPLICABLE SIMILAR LAWS,
AND NONE OF THE ISSUER, THE INITIAL PURCHASERS, THE GUARANTORS
NOR ANY OF THEIR RESPECTIVE AFFILIATES IS A FIDUCIARY OF SUCH
HOLDER IN CONNECTION WITH THE PURCHASE AND HOLDING OF THE
SECURITY (OR INTEREST HEREIN).”

               (B)     Notwithstanding the foregoing, any Global Note or Definitive Note
       issued pursuant to clauses (b)(4), (c)(2), (c)(3), (d)(2), (d)(3), (e)(2) or (e)(3) of
       this Section 2.06 (and all Notes issued in exchange therefor or substitution
       thereof) will not bear the Private Placement Legend.

        (2)    Global Note Legend. Each Global Note will bear a legend in substantially
the following form:

“THIS GLOBAL NOTE IS HELD BY THE DEPOSITARY (AS DEFINED IN THE
INDENTURE GOVERNING THIS NOTE) OR ITS NOMINEE IN CUSTODY FOR
THE BENEFIT OF THE BENEFICIAL OWNERS HEREOF, AND IS NOT
TRANSFERABLE TO ANY PERSON UNDER ANY CIRCUMSTANCES EXCEPT
THAT (1) THE TRUSTEE MAY MAKE SUCH NOTATIONS HEREON AS MAY BE
REQUIRED PURSUANT TO SECTION 2.01 AND SECTION 2.06 OF THE
INDENTURE, (2) THIS GLOBAL NOTE MAY BE EXCHANGED IN WHOLE BUT
NOT IN PART PURSUANT TO SECTION 2.06(a) OF THE INDENTURE, (3) THIS
GLOBAL NOTE MAY BE DELIVERED TO THE TRUSTEE FOR CANCELLATION
PURSUANT TO SECTION 2.11 OF THE INDENTURE AND (4) THIS GLOBAL
NOTE MAY BE TRANSFERRED TO A SUCCESSOR DEPOSITARY WITH THE
PRIOR WRITTEN CONSENT OF THE ISSUER.

UNLESS AND UNTIL IT IS EXCHANGED IN WHOLE OR IN PART FOR NOTES
IN DEFINITIVE FORM, THIS NOTE MAY NOT BE TRANSFERRED EXCEPT AS A


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       WHOLE BY THE DEPOSITARY TO A NOMINEE OF THE DEPOSITARY OR BY A
       NOMINEE OF THE DEPOSITARY TO THE DEPOSITARY OR ANOTHER
       NOMINEE OF THE DEPOSITARY OR BY THE DEPOSITARY OR ANY SUCH
       NOMINEE TO A SUCCESSOR DEPOSITARY OR A NOMINEE OF SUCH
       SUCCESSOR DEPOSITARY. UNLESS THIS CERTIFICATE IS PRESENTED BY
       AN AUTHORIZED REPRESENTATIVE OF THE DEPOSITORY TRUST
       COMPANY (“DTC”), TO THE ISSUER OR ITS AGENT FOR REGISTRATION OF
       TRANSFER, EXCHANGE OR PAYMENT, AND ANY CERTIFICATE ISSUED IS
       REGISTERED IN THE NAME OF CEDE & CO. OR SUCH OTHER NAME AS MAY
       BE REQUESTED BY AN AUTHORIZED REPRESENTATIVE OF DTC (AND ANY
       PAYMENT IS MADE TO CEDE & CO. OR SUCH OTHER ENTITY AS MAY BE
       REQUESTED BY AN AUTHORIZED REPRESENTATIVE OF DTC), ANY
       TRANSFER, PLEDGE OR OTHER USE HEREOF FOR VALUE OR OTHERWISE
       BY OR TO ANY PERSON IS WRONGFUL INASMUCH AS THE REGISTERED
       OWNER HEREOF, CEDE & CO., HAS AN INTEREST HEREIN.”

                (g)     Cancellation and/or Adjustment of Global Notes. At such time as all
beneficial interests in a particular Global Note have been exchanged for Definitive Notes or a
particular Global Note has been redeemed, repurchased or canceled in whole and not in part,
each such Global Note will be returned to or retained and canceled by the Trustee in accordance
with Section 2.11 hereof. At any time prior to such cancellation, if any beneficial interest in a
Global Note is exchanged for or transferred to a Person who will take delivery thereof in the
form of a beneficial interest in another Global Note or for Definitive Notes, the principal amount
of Notes represented by such Global Note will be reduced accordingly and an endorsement will
be made on such Global Note by the Trustee or by the Depositary at the direction of the Trustee
to reflect such reduction; and if the beneficial interest is being exchanged for or transferred to a
Person who will take delivery thereof in the form of a beneficial interest in another Global Note,
such other Global Note will be increased accordingly and an endorsement will be made on such
Global Note by the Trustee or by the Depositary at the direction of the Trustee to reflect such
increase.

               (h)     General Provisions Relating to Transfers and Exchanges.

              (1)     To permit registrations of transfers and exchanges, the Issuer will execute
       and the Trustee will authenticate Global Notes and Definitive Notes upon receipt of an
       Authentication Order in accordance with Section 2.02 hereof or at the Registrar’s request.

               (2)     No service charge will be made to a holder of a beneficial interest in a
       Global Note or to a Holder of a Definitive Note for any registration of transfer or
       exchange, but the Issuer may require payment of a sum sufficient to cover any transfer
       tax or similar governmental charge payable in connection therewith (other than any such
       transfer taxes or similar governmental charge payable upon exchange or transfer pursuant
       to Sections 2.10, 3.06, 4.08, 4.12 and 9.05 hereof).

             (3)     The Registrar will not be required to register the transfer of or exchange of
       any Note selected for redemption in whole or in part, except the unredeemed portion of
       any Note being redeemed in part.


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               (4)     All Global Notes and Definitive Notes issued upon any registration of
       transfer or exchange of Global Notes or Definitive Notes will be the valid obligations of
       the Issuer, evidencing the same debt, and entitled to the same benefits under this
       Indenture, as the Global Notes or Definitive Notes surrendered upon such registration of
       transfer or exchange.

               (5)    Neither the Registrar nor the Issuer will be required:

                       (A)    to issue, to register the transfer of or to exchange any Notes during
               a period beginning at the opening of business 15 days before the giving of a
               notice of redemption of Notes to be redeemed under Section 3.02 hereof or
               purchased pursuant to an offer to purchase and ending at the close of business on
               the day such notice of redemption is given;

                     (B)     to register the transfer of or to exchange any Note selected for
               redemption in whole or in part, except the unredeemed portion of any Note being
               redeemed in part; or

                      (C)     to register the transfer of or to exchange a Note between a record
               date and the next succeeding interest payment date.

               (6)     Prior to due presentment for the registration of a transfer of any Note, the
       Trustee, any Agent and the Issuer may deem and treat the Person in whose name any
       Note is registered as the absolute owner of such Note for the purpose of receiving
       payment of principal of and interest on such Notes and for all other purposes, and none of
       the Trustee, any Agent or the Issuer shall be affected by notice to the contrary.

              (7)    The Trustee will authenticate Global Notes and Definitive Notes in
       accordance with the provisions of Section 2.02 hereof.

              (8)     All certifications, certificates and Opinions of Counsel required to be
       submitted to the Registrar pursuant to this Section 2.06 to effect a registration of transfer
       or exchange may be submitted by facsimile.

               (9)     Neither the Trustee nor any Agent shall have any obligation or duty to
       monitor, determine or inquire as to compliance with any tax or securities laws with
       respect to any restrictions on transfer imposed under this Indenture or under applicable
       law (including any transfers between or among Depositary Participants, Indirect
       Participants, members or beneficial owners in any Global Note) other than to require
       delivery of such certificates and other documentation or evidence as are expressly
       required by, and to do so if and when expressly required by, the terms of this Indenture,
       and to examine the same to determine substantial compliance as to form with the express
       requirements hereof.

Section 2.07   Replacement Notes.

               (a)    If any mutilated Note is surrendered to the Trustee or the Issuer and the
Trustee receives evidence to its satisfaction of the destruction, loss or theft of any Note, the


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Issuer will issue and the Trustee, upon receipt of an Authentication Order, will authenticate a
replacement Note if the Trustee’s requirements are met. An indemnity bond must be supplied by
the Holder that is sufficient in the judgment of the Trustee and the Issuer to protect the Issuer, the
Trustee, any Agent and any authenticating agent from any loss that any of them may suffer if a
Note is replaced. The Issuer may charge for its expenses in replacing a Note.

                (b)      Every replacement Note is an additional obligation of the Issuer and will
be entitled to all of the benefits of this Indenture equally and proportionately with all other Notes
duly issued hereunder.

Section 2.08   Outstanding Notes.

                 (a)    The Notes outstanding at any time are all the Notes authenticated by the
Trustee except for those canceled by it, those delivered to it for cancellation, those reductions in
the interest in a Global Note effected by the Trustee in accordance with the provisions hereof,
and those described in this Section 2.08 as not outstanding. Except as set forth in Section 2.09
hereof, a Note does not cease to be outstanding because the Issuer or an Affiliate of the Issuer
holds the Note; however, Notes held by the Issuer or a Subsidiary of the Issuer shall not be
deemed to be outstanding for purposes of Section 3.07(a) and Section 9.02(a) hereof.

               (b)    If a Note is replaced pursuant to Section 2.07 hereof, it ceases to be
outstanding unless the Trustee receives proof satisfactory to it that the replaced Note is held by a
protected purchaser.

                (c)     If the principal amount of any Note is considered paid under Section 4.01
hereof, it ceases to be outstanding and interest on it ceases to accrue.

                (d)    If the Paying Agent (other than the Issuer, a Subsidiary of the Issuer or an
Affiliate of any thereof) holds, on a redemption date or maturity date, money sufficient to pay
Notes payable on that date, then on and after that date such Notes will be deemed to be no longer
outstanding and will cease to accrue interest.

Section 2.09   Treasury Notes.

                In determining whether the Holders of the required principal amount of Notes
have concurred in any direction, waiver or consent, Notes owned by the Issuer or any Guarantor,
or by any Person directly or indirectly controlling or controlled by or under direct or indirect
common control with the Issuer or any Guarantor, will be considered as though not outstanding,
except that for the purposes of determining whether the Trustee will be protected in relying on
any such direction, waiver or consent, only Notes that a Responsible Officer of the Trustee
actually knows are so owned will be so disregarded.

Section 2.10   Temporary Notes.

                (a)     Until certificates representing Notes are ready for delivery, the Issuer may
prepare and the Trustee, upon receipt of an Authentication Order, will authenticate temporary
Notes. Temporary Notes will be substantially in the form of certificated Notes but may have
variations that the Issuer considers appropriate for temporary Notes and as may be reasonably


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acceptable to the Trustee. Without unreasonable delay, the Issuer will prepare and the Trustee
will authenticate definitive Notes in exchange for temporary Notes.

                (b)    Holders of temporary Notes will be entitled to all of the benefits of this
Indenture.

Section 2.11    Cancellation.

                The Issuer at any time may deliver Notes to the Trustee for cancellation. The
Registrar and Paying Agent will forward to the Trustee any Notes surrendered to them for
registration of transfer, exchange or payment. The Trustee and no one else will cancel all Notes
surrendered for registration of transfer, exchange, payment, replacement or cancellation and will
dispose of such canceled Notes in its customary manner (subject to the record retention
requirement of the Exchange Act). Certification of the disposition of all canceled Notes will be
delivered to the Issuer at the Issuer’s written request. The Issuer may not issue new Notes to
replace Notes that it has paid or that have been delivered to the Trustee for cancellation.

Section 2.12    Defaulted Interest.

                If the Issuer defaults in a payment of interest on the Notes, it will pay the
defaulted interest in any lawful manner plus, to the extent lawful, interest payable on the
defaulted interest, to the Persons who are Holders on a subsequent special record date, in each
case at the rate provided in the Notes and in Section 4.01 hereof. The Issuer will notify the
Trustee in writing of the amount of defaulted interest proposed to be paid on each Note and the
date of the proposed payment. The Issuer will fix or cause to be fixed each such special record
date and payment date; provided that no such special record date may be less than ten days prior
to the related payment date for such defaulted interest. At least 15 days before the special record
date, the Issuer (or, upon the written request of the Issuer, the Trustee in the name and at the
expense of the Issuer) will mail or cause to be mailed, or otherwise deliver notice in accordance
with the applicable procedures of DTC, to Holders a notice that states the special record date, the
related payment date and the amount of such interest to be paid.

Section 2.13    CUSIP Numbers.

                 The Issuer in issuing the Notes may use “CUSIP” numbers (if then generally in
use), and, if so, the Trustee shall use “CUSIP” numbers in notices of redemption as a
convenience to Holders; provided that any such notice may state that no representation is made
as to the correctness of such numbers either as printed on the Notes or as contained in any notice
of a redemption and that reliance may be placed only on the other identification numbers printed
on the Notes, and any such redemption shall not be affected by any defect in or omission of such
numbers. The Issuer will promptly notify the Trustee in writing of any change in the “CUSIP”
numbers.

                                           ARTICLE 3

                                REDEMPTION AND PREPAYMENT

Section 3.01    Notices to Trustee.


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                If the Issuer elects to redeem Notes pursuant to the optional redemption
provisions of Section 3.07 hereof, it must furnish to the Trustee, at least 30 days but not more
than 60 days before a redemption date, or such shorter notice period as the Trustee and Issuer
shall agree, an Officer’s Certificate setting forth:

               (1)     the clause of this Indenture pursuant to which the redemption shall occur;

               (2)     the redemption date;

               (3)     the principal amount of Notes to be redeemed;

               (4)     the redemption price; and

               (5)     the applicable CUSIP Numbers.

Section 3.02   Selection of Notes to Be Redeemed.

               (a)      If less than all of the Notes are to be redeemed at any time, the Trustee
will select Notes for redemption on a pro rata basis (or, in the case of notes in global form, the
notes represented thereby will be selected in accordance with DTC’s prescribed method), and in
any case in accordance with DTC procedures to the extent applicable.

               (b)     In the event of partial redemption or purchase by lot, the particular Notes
to be redeemed or purchased will be selected, unless otherwise provided herein, not less than 30
nor more than 60 days prior to the redemption date by the Trustee from the outstanding Notes
not previously called for redemption.

                (c)    The Trustee will promptly notify the Issuer in writing of the Notes
selected for redemption and, in the case of any Note selected for partial redemption or purchase,
the principal amount thereof to be redeemed. Notes and portions of Notes selected will be in
amounts of $2,000 or whole multiples of $1,000 in excess of $2,000; provided that no Notes of
$2,000 or less shall be redeemed in part. Except as provided in the preceding sentence,
provisions of this Indenture that apply to Notes called for redemption also apply to portions of
Notes called for redemption.

Section 3.03   Notice of Redemption.

                (a)    At least 15 days but not more than 60 days before a redemption date, the
Issuer will mail or cause to be mailed, by first class mail or otherwise deliver in accordance with
the applicable procedures of DTC, a notice of redemption to each Holder whose Notes are to be
redeemed at its registered address, except that redemption notices may be mailed or otherwise
delivered in accordance with the applicable procedures of DTC more than 60 days prior to a
redemption date if the notice is issued in connection with a defeasance of the Notes or a
satisfaction and discharge of this Indenture pursuant to Articles 8 or 11 hereof.

             (b)      The notice will identify the Notes (including CUSIP Numbers) to be
redeemed and will state:



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               (1)     the redemption date;

               (2)     the redemption price;

              (3)     if any Note is being redeemed in part, the portion of the principal amount
       of such Note to be redeemed and that, after the redemption date upon surrender of such
       Note, a new Note or Notes in principal amount equal to the unredeemed portion will be
       issued upon cancellation of the original Note;

               (4)     the name and address of the Trustee;

               (5)     that Notes called for redemption must be surrendered to the Trustee to
       collect the redemption price;

               (6)    that, unless the Issuer defaults in making such redemption payment,
       interest on Notes called for redemption ceases to accrue on and after the redemption date;

              (7)    the paragraph of the Notes and/or Section of this Indenture pursuant to
       which the Notes called for redemption are being redeemed;

             (8)   that no representation is made as to the correctness or accuracy of the
       CUSIP number, if any, listed in such notice or printed on the Notes; and

               (9)     any condition to the related redemption, if any.

                (c)    At the Issuer’s written request, the Trustee will give the notice of
redemption in the Issuer’s name and at its expense; provided, however, that the Issuer has
delivered to the Trustee, at least 45 days prior to the redemption date (or such shorter period of
time that is agreed upon by the Issuer and the Trustee), an Officer’s Certificate requesting that
the Trustee give such notice and setting forth the information to be stated in such notice as
provided in Section 3.03(b).

Section 3.04   Effect of Notice of Redemption.

                 Once notice of redemption is sent in accordance with Section 3.03 hereof, Notes
called for redemption become irrevocably due and payable on the redemption date at the
redemption price, except as provided for in Section 3.07(e) hereof. The notice, if sent in
accordance with Section 3.03 hereof, shall be conclusively presumed to have been given,
whether or not the Holder receives such notice. In any case, failure to send such notice or any
defect in the notice to the Holder designated for redemption in whole or in part shall not affect
the validity of the proceedings for the redemption of any other Note.

Section 3.05   Deposit of Redemption Price.

               (a)      One Business Day prior to the redemption date, the Issuer will deposit
with the Trustee or with the Paying Agent money sufficient to pay the redemption price of and
accrued interest on all Notes to be redeemed on that date. The Trustee or the Paying Agent will
promptly return to the Issuer any money deposited with the Trustee or the Paying Agent by the


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Issuer in excess of the amounts necessary to pay the redemption price of, and accrued interest on,
all Notes to be redeemed.

               (b)     If the Issuer complies with the provisions of Section 3.05(a), on and after
the redemption date, interest will cease to accrue on the Notes or the portions of Notes called for
redemption. If a Note is redeemed on or after an interest record date but on or prior to the related
interest payment date, then any accrued and unpaid interest shall be paid to the Person in whose
name such Note was registered at the close of business on such record date. If any Note called
for redemption is not so paid upon surrender for redemption because of the failure of the Issuer
to comply with Section 3.05(a), interest shall be paid on the unpaid principal, from the
redemption date until such principal is paid, and to the extent lawful on any interest not paid on
such unpaid principal, in each case at the rate provided in the Notes and in Section 4.01 hereof.

Section 3.06   Notes Redeemed in Part.

                Upon surrender of a Note that is redeemed in part, the Issuer will issue and, upon
receipt of an Authentication Order, the Trustee will authenticate for the Holder at the expense of
the Issuer a new Note equal in principal amount to the unredeemed or unpurchased portion of the
Note surrendered, provided that each new Note will be in a principal amount of $2,000 or an
integral multiple of $1,000 in excess of $2,000. It is understood that, notwithstanding anything
in this Indenture to the contrary, only an Authentication Order and not an Opinion of Counsel or
Officer’s Certificate is required for the Trustee to authenticate such new Note.

Section 3.07   Optional Redemption.

               (a)      At any time prior to August 1, 2021, the Issuer may on any one or more
occasions redeem up to 35% of the aggregate principal amount of Notes issued under this
Indenture (including any Additional Notes) at a redemption price of 110.50% of the principal
amount thereof, plus accrued and unpaid interest on the Notes redeemed to, but not including, the
redemption date (subject to the right of Holders on the relevant record date to receive interest due
on the relevant interest payment date), with the net cash proceeds of one or more Equity
Offerings; provided that:

              (1)     at least 50% of the aggregate principal amount of Notes issued under this
       Indenture (including any Additional Notes issued after the Issue Date, but excluding
       Notes held by the Issuer and its Subsidiaries) remains outstanding immediately after the
       occurrence of such redemption (unless all of such Notes are redeemed); and

              (2)    the redemption occurs within 180 days of the date of the closing of such
       Equity Offering.

                Except pursuant to this Section 3.07(a) or as otherwise set forth below, the Notes
will not be redeemable at the Issuer’s option prior to August 1, 2021. The Issuer will not,
however, be prohibited from acquiring the Notes by means other than a redemption, whether
pursuant to a tender offer, open market purchase or otherwise, so long as the acquisition does not
violate the terms of this Indenture.




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                (b)     On or after August 1, 2021, the Issuer may redeem all or a part of the
Notes, at the redemption prices (expressed as percentages of principal amount) set forth below
plus accrued and unpaid interest, if any, on the Notes redeemed to, but not including, the
applicable redemption date, if redeemed during the 12−month period beginning on August 1 of
the years indicated below, subject to the rights of Holders on the relevant record date to receive
interest due on the relevant interest payment date:

         Year                                                           Percentage
         2021                                                           107.875%
         2022                                                           103.938%
         2023 and thereafter                                            100.000%

               Unless the Issuer defaults in the payment of the redemption price or unless any
condition to the redemption described in the notice of redemption is not satisfied, interest will
cease to accrue on the Notes or portions thereof called for redemption on the applicable
redemption date.

               (c)      At any time prior to August 1, 2021, the Issuer may also redeem all or a
part of the Notes, at a redemption price equal to 100% of the aggregate principal amount thereof
plus the Applicable Premium as of, and accrued and unpaid interest, if any, on the Notes to be
redeemed to, but not including, the date of redemption (subject to the rights of Holders on the
relevant record date to receive interest due on the relevant interest payment date).

              (d)    Any redemption pursuant to this Section 3.07 shall be made pursuant to
and in compliance with the provisions of Sections 3.01 through 3.06 hereof.

               (e)

                       (A)     Any notice of redemption made in connection with a related
               transaction or event (including an Equity Offering, contribution, Change of
               Control, Asset Sale or other transaction) may, at the Issuer’s discretion, be given
               prior to the completion or the occurrence thereof, and any such redemption or
               notice may, at the Issuer’s discretion, be subject to one or more conditions
               precedent, including, but not limited to, the completion or occurrence of the
               related transaction or event, as the case may be.

                       (B)      The Issuer may redeem Notes pursuant to one or more of the
               relevant provisions hereof, and a single notice of redemption may be delivered
               with respect to redemptions made pursuant to different provisions. Any such
               notice may provide that redemptions made pursuant to different provisions will
               have different redemption dates. In addition, if such redemption is subject to
               satisfaction of one or more conditions precedent, such notice will describe each
               such condition, and if applicable, will state that, in the Issuer’s discretion, the
               redemption date may be delayed until such time (including more than 60 days
               after the date the notice of redemption was mailed or delivered, including by
               electronic transmission) as any or all such conditions are satisfied (or waived by
               the Issuer in its sole discretion), or that such redemption may not occur and such


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               notice may be rescinded in the event that any or all such conditions are not
               satisfied (or waived by the Issuer in its sole discretion) by the redemption date, or
               by the redemption date as so delayed, or that such notice may be rescinded at any
               time in the Issuer’s discretion if in the good faith judgment of the Issuer any of all
               of such conditions will not be satisfied. In addition, the Issuer may provide in
               such notice that payment of the redemption price and performance of the Issuer’s
               obligations with respect to such redemption may be performed by another Person.

                       (C)     In no event will the Trustee be responsible for monitoring, or
               charged with knowledge of, the maximum aggregate amount of Notes eligible
               under this Indenture to be redeemed. Notes will remain outstanding until
               redeemed, notwithstanding that they have been called for redemption or are
               subject to a notice of redemption.

Section 3.08   Mandatory Redemption.

              The Issuer shall not be required to make mandatory redemption or sinking fund
payments with respect to the Notes.

Section 3.09   Calculation of Redemption Price

              Neither the Trustee nor any Agent shall have an obligation to calculate the
redemption price of any Notes.

                                            ARTICLE 4

                                           COVENANTS

Section 4.01   Payment of Notes.

                (a)    The Issuer will pay or cause to be paid the principal of, premium, if any,
and interest on the Notes on the dates and in the manner provided in the Notes. Principal,
premium, if any, and interest will be considered paid on the date due if the Paying Agent, if other
than the Issuer or a Subsidiary of the Issuer, holds as of 10:00 a.m. New York City Time on the
Business Day immediately preceding the due date money deposited by the Issuer in immediately
available funds and designated for and sufficient to pay all principal of, premium, if any, and
interest, then due.

                (b)     The Issuer will pay interest on overdue principal at the rate specified
therefor in the Notes, and it shall pay interest on overdue installments of interest at the same rate
borne by the Notes to the extent lawful.

Section 4.02   Maintenance of Office or Agency.

               (a)     The Issuer will maintain in the Borough of Manhattan, the City of New
York, an office or agency (which may be an office of the Trustee or an affiliate of the Trustee,
Registrar or co−registrar) where Notes may be surrendered for registration of transfer or for
exchange and where notices and demands to or upon the Issuer (other than the type contemplated


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by Section 14.13) in respect of the Notes and this Indenture may be served. The Issuer will give
prompt written notice to the Trustee of the location, and any change in the location, of such
office or agency. If at any time the Issuer fails to maintain any such required office or agency or
fails to furnish the Trustee with the address thereof, such presentations, surrenders, notices and
demands may be made or served at the Corporate Trust Office of the Trustee.

                (b)    The Issuer may also from time to time designate one or more other offices
or agencies where the Notes may be presented or surrendered for any or all such purposes and
may from time to time rescind such designations; provided, however, that no such designation or
rescission will in any manner relieve the Issuer of its obligation to maintain an office or agency
in the Borough of Manhattan, the City of New York for such purposes. The Issuer will give
prompt written notice to the Trustee of any such designation or rescission and of any change in
the location of any such other office or agency.

               (c)    The Issuer hereby designates the Corporate Trust Office of the Trustee as
one such office or agency of the Issuer in accordance with Section 2.03 hereof.

Section 4.03   Reports.

               (a)     So long as any Notes are outstanding, the Issuer shall make available
without cost to the Trustee:

               (1)     as soon as available but within 90 days after the end of each financial year
       of the Issuer, all annual financial statements that would be required to be contained in a
       filing with the SEC on Form 10-K of the Issuer, plus a “Management’s Discussion and
       Analysis of Financial Condition and Results of Operations”, a presentation of EBITDA
       and Adjusted EBITDA of the Issuer substantially consistent with the presentation thereof
       in the Offering Document and derived from such financial information and a report on
       the annual financial statements by the Issuer’s independent registered public accounting
       firm;

               (2)     as soon as available but within 45 days after the end of each of the first
       three fiscal quarters of each financial year of the Issuer, all quarterly financial statements
       that would be required to be contained in a filing with the SEC on Form 10- Q of the
       Issuer, plus a “Management’s Discussion and Analysis of Financial Condition and
       Results of Operations” and a presentation of EBITDA and Adjusted EBITDA of the
       Issuer substantially consistent with the presentation thereof in the Offering Document and
       derived from such financial information; and

               (3)     promptly from time to time after the occurrence of an event required to be
       therein reported, such other reports (in each case, without exhibits) containing
       substantially the same information required to be contained in a Current Report on
       Form 8-K under Item 1.01 (Entry into a Material Definitive Agreement), 1.03
       (Bankruptcy or Receivership), 2.01 (Completion of Acquisition or Disposition of Assets),
       2.03 (Creation of a Direct Financial Obligation or an Obligation under an Off-Balance
       Sheet Arrangement of a Registrant), 2.04 (Triggering Events That Accelerate or Increase
       a Direct Financial Obligation or an Obligation under an Off-Balance Sheet Arrangement),



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4.02 (Non-Reliance on Previously Issued Financial Statements or a Related Audit Report
or Completed Interim Review), 5.01 (Changes in Control of Registrant), 5.02(a)(1) and
(c)(1) (Departure of Directors or Certain Officers; Election of Directors; Appointment of
Certain Officers) and 5.03(b) (Changes in Fiscal Year); provided, however, that no report
in this clause (3) shall be required to be furnished if the Issuer determines in its good faith
judgment that such event is not material to the Holders or the business, assets, operations,
financial position or prospects of the Issuer and the Restricted Subsidiaries of the Issuer.

       (b)     With respect to the reports required to be furnished by Section 4.03(a):

               (1)     no such reports referenced under clause (iii) above will be required
       to include as an exhibit or summary of terms of, any employment or
       compensatory arrangement agreement, plan or understanding between the Issuer
       (or any of its Subsidiaries) and any director, manager or executive officer, of the
       Issuer (or any of its Subsidiaries);

              (2)    in no event will such reports be required to comply with Section
       302, Section 404 or Section 906 of the Sarbanes-Oxley Act of 2002, or related
       Items 307 and 308 of Regulation S-K promulgated by the SEC;

              (3)    in no event will such report be required to comply with Item 302 of
       Regulation S-K promulgated by the SEC;

               (4)     in no event will such reports be required to comply with Rule 3-10
       of Regulation S-X promulgated by the SEC or contain separate financial
       statement for the Issuer, the Guarantors or other Subsidiaries the shares of which
       may be pledged to secure the notes or any Guarantee that would be required under
       (i) Section 3-09 of Regulation S-X or (ii) Section 3-16 of Regulation S-X,
       respectively, promulgated by the SEC;

              (5)     in no event will such reports be required to comply with
       Regulation G under the Exchange Act or Item 10(e) of Regulation S-K
       promulgated by the SEC with respect to any non-GAAP financial measures
       contained therein;

               (6)     no such reports referenced under clause (iii) above will be required
       to be furnished if the Issuer determined in its good faith judgment that such event
       is not material to the holders or the business, assets, operations or financial
       position of the Issuer and its Restricted Subsidiaries, taken as a whole;

               (7)     in no event will such reports be required to comply with Item 601
       of Regulation S-K promulgated by the SEC (with respect to exhibits) or, with
       respect to reports reference in clause (iii) above, to include as an exhibit copies of
       any agreements, financial statements or other items that would be required to be
       filed as exhibits to a current report on Form 8-K;




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                      (8)     trade secrets and other confidential information that is
               competitively sensitive in the good faith and reasonable determination of the
               Issuer may be excluded from any disclosure;

                      (9)     such information will not be required to include information that is
               not otherwise similar to information contained in the Offering Document;

                      (10) to the extent that the Issuer is not a reporting company under the
               Exchange Act, in no event will such reports be required to be presented in
               compliance with the requirements of the Public Company Accounting Oversight
               Board; and

                     (11) in no event will such reports contain compensation or beneficial
               ownership information.

                (c)     The Issuer will hold a quarterly conference call for the Holders of the
Notes, securities analysts and prospective investors to discuss financial information for the
previous fiscal quarter or previous fiscal year, as applicable, to be held as soon as reasonably
practicable after furnishing or posting the financial information as set forth in 4.03(a). No fewer
than three days prior to the conference call, the Issuer shall post on its website the time and date
of such conference call and provide instructions for Holders of Notes, securities analysts and
prospective investors to obtain access to such call.

                (d)    For so long as any Notes remain outstanding, if at any time they are not
required furnish the information required by Section 4.03(a), the Issuer and the Guarantors will
furnish to the Holders and to prospective purchasers of the Notes or beneficial owner of the
Notes in connection with any sale thereof, upon their request, the information required to be
delivered pursuant to Rule 144A(d)(4) under the Securities Act.

                (e)    In the event that any direct or indirect parent of the Issuer becomes a
Guarantor of the Notes, the Issuer may satisfy its obligations under this Section 4.03 with respect
to financial information relating to the Issuer by furnishing financial information relating to such
parent; provided that the same is accompanied by information that explains in reasonable detail
the differences between the information relating to such parent, on the one hand, and the
information relating to the Issuer and its Restricted Subsidiaries on a standalone basis, on the
other hand.

                (f)      Notwithstanding the foregoing, the requirements of this Section 4.03 shall
be deemed satisfied by posting reports on the (i) Issuer’s website (or on the publicly available
website of any of its parent companies or Subsidiaries) or (ii) a password-protected online data
system that will require a confidentiality acknowledgment, including Intralinks, SyndTrak or
ClearPar provided that access shall also be granted to any bona fide prospective investor, any
securities analyst (to the extent providing analysis of investment in the notes) or any market
maker in the notes who agrees to treat such information as confidential) containing the financial
information (including a “Management’s Discussion and Analysis of Financial Condition and
Results of Operations” section) that would be required to be included in such reports, subject to
exceptions consistent with the presentation of financial information in the Offering Document.



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                (g)     It is understood that the Trustee shall have no obligation whatsoever to
determine whether or not such information, documents or reports have been posted on the
Issuer’s website, other online data system or filed with the SEC. The posting or delivery of such
reports, information and documents to the Trustee is for informational purposes only and the
Trustee’s receipt of such shall not constitute constructive notice of any information contained
therein or determinable from information contained therein, including the Issuer’s compliance
with any of its covenants hereunder (as to which the Trustee is entitled to rely exclusively on
Officer’s Certificates).

              (h)    The Trustee has no duty or obligation to monitor the occurrence of a
Purchase Trigger Event as defined in the Intercreditor Agreement or give notice thereof to any
Person.

Section 4.04   Compliance Certificate.

                (a)      The Issuer shall deliver to the Trustee within 120 days after the end of
each fiscal year of the Issuer (beginning with the fiscal year ended December 31, 2019) an
Officer’s Certificate stating that in the course of the performance by the signers of their duties as
Officers they would normally have knowledge of any Default and whether or not the signers
know of any Default that occurred during such period. If they do, the certificate shall describe
the Default, its status and what action the Issuer is taking or proposes to take with respect
thereto.

               (b)      So long as any of the Notes are outstanding, the Issuer will deliver to the
Trustee, forthwith upon any Officer becoming aware of any Default or Event of Default, an
Officer’s Certificate specifying such Default or Event of Default and what action the Issuer is
taking or propose to take with respect thereto.

Section 4.05   Restricted Payments.

                 (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, directly or indirectly:

               (1)     declare or pay any dividend or make any other payment or distribution on
       account of the Issuer’s or any of its Restricted Subsidiaries’ Equity Interests (including,
       without limitation, any payment in connection with any merger or consolidation
       involving the Issuer or any of its Restricted Subsidiaries) or to the direct or indirect
       holders of the Issuer’s or any of its Restricted Subsidiaries’ Equity Interests in their
       capacity as such (other than dividends or distributions payable in Equity Interests (other
       than Disqualified Stock) of the Issuer and other than dividends or distributions payable to
       the Issuer or a Restricted Subsidiary of the Issuer);

              (2)     purchase, redeem or otherwise acquire or retire for value (including,
       without limitation, in connection with any merger or consolidation involving the Issuer)
       any Equity Interests of the Issuer or any direct or indirect parent of the Issuer;

              (3)    make any payment on or with respect to, or purchase, redeem, defease or
       otherwise acquire or retire for value, any Indebtedness of the Issuer or any Guarantor that


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is contractually subordinated to the Notes or to any Note Guarantee (excluding (x) any
intercompany Indebtedness between or among the Issuer and any of its Restricted
Subsidiaries or (y) the purchase, repurchase or other acquisition of Indebtedness that is
contractually subordinated to the Notes or to any Note Guarantee, as the case may be,
purchased in anticipation of satisfying a sinking fund obligation, principal installment or
final maturity, in each case due within one year of the date of purchase, repurchase or
acquisition), except a payment of interest or principal at the Stated Maturity thereof; or

        (4)     make any Restricted Investment (all such payments and other actions set
forth in these clauses (1) through (4) above being collectively referred to as “Restricted
Payments”), unless, at the time of and after giving effect to such Restricted Payment:

              (A)    no Default or Event of Default has occurred and is continuing or
       would occur as a consequence of such Restricted Payment;

               (B)    the Issuer would, after giving pro forma effect thereto as if such
       Restricted Payment had been made at the beginning of the applicable four−quarter
       period, have been permitted to incur at least $1.00 of additional Indebtedness
       pursuant to Section 4.07(a); and

                (C)      such Restricted Payment, together with the aggregate amount of all
       other Restricted Payments made by the Issuer and its Restricted Subsidiaries since
       the Issue Date (excluding Restricted Payments permitted by clauses (2), (3), (4),
       (5), (6), (8), (9), (10), (11), (12), (13), (15), (16), (17) and (19) of Section 4.05(b)
       hereof), is less than the sum, without duplication, of:

                       (i)     50% of the Consolidated Net Income of the Issuer for the
                               period (taken as one accounting period) from the beginning
                               of the first fiscal quarter of the Issuer commencing after the
                               Issue Date occurred to the end of the Issuer’s most recently
                               ended fiscal quarter for which internal financial statements
                               are available at the time of such Restricted Payment (or, if
                               such Consolidated Net Income for such period is a deficit,
                               less 100% of such deficit); plus

                       (ii)    100% of the aggregate net proceeds, including cash and the
                               Fair Market Value of property other than cash, received by
                               the Issuer since the Issue Date (x) as a contribution to its
                               common equity capital or (y) from the issue or sale of
                               Equity Interests of the Issuer or any direct or indirect parent
                               of the Issuer (other than Disqualified Stock, Designated
                               Preferred Stock, Excluded Contributions or Cash
                               Contributions) or from the issue or sale of convertible or
                               exchangeable Disqualified Stock or convertible or
                               exchangeable debt securities that have been converted into
                               or exchanged for such Equity Interests (other than Equity




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                              Interests (or Disqualified Stock or debt securities) sold to a
                              Subsidiary of the Issuer); plus

                      (iii)   to the extent that any Restricted Investment that was made
                              after the Issue Date is sold for cash or otherwise liquidated
                              or repaid for cash, 100% of the aggregate amount received
                              in cash and the Fair Market Value of property other than
                              cash received; plus

                      (iv)    to the extent that any Unrestricted Subsidiary of the Issuer
                              designated as such after the Issue Date is redesignated as a
                              Restricted Subsidiary of the Issuer after the Issue Date or
                              has been merged into, consolidated or amalgamated with or
                              into, or transfers or conveys its assets to, the Issuer or a
                              Restricted Subsidiary of the Issuer, 100% of the Fair
                              Market Value of the Issuer’s Investment in such Subsidiary
                              as of the date of such redesignation, combination or transfer
                              (or of the assets transferred or conveyed, as applicable)
                              after deducting any Indebtedness associated with the
                              Unrestricted Subsidiary so designated or combined or any
                              Indebtedness associated with the assets so transferred or
                              conveyed; plus

                      (v)     100% of any dividends or distributions received by the
                              Issuer or a Restricted Subsidiary of the Issuer after the
                              Issue Date from an Unrestricted Subsidiary of the Issuer, to
                              the extent that such dividends or distributions were not
                              otherwise included in the Consolidated Net Income of the
                              Issuer for such period.

       (b)     The provisions of Section 4.05(a) hereof will not prohibit:

        (1)     the payment of any dividend or distribution or the consummation of any
redemption within 60 days after the date of declaration of the dividend or distribution or
giving of the redemption notice, as the case may be, if, at the date of declaration or
notice, the dividend, distribution or redemption payment would have complied with the
provisions of this Indenture;

        (2)     the making of any Restricted Payment in exchange for, or out of the net
cash proceeds of the substantially concurrent sale (other than to a Subsidiary of the
Issuer) of, Equity Interests of the Issuer or any direct or indirect parent of the Issuer
(other than Disqualified Stock) or from the substantially concurrent contribution of
common equity capital to the Issuer; provided that the amount of any such net cash
proceeds that are utilized for any such Restricted Payment will be excluded from clause
(C)(ii) of Section 4.05(a) hereof;




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        (3)     the repurchase, redemption, defeasance or other acquisition or retirement
for value of Indebtedness of the Issuer or any Restricted Subsidiary of the Issuer that is
contractually subordinated to the Notes or to any Note Guarantee with the net cash
proceeds from a substantially concurrent incurrence of Permitted Refinancing
Indebtedness;

         (4)    the payment of any dividend (or, in the case of any partnership or limited
liability company, any similar distribution) by a Restricted Subsidiary of the Issuer to the
holders of its Equity Interests on a pro rata basis;

        (5)     the repurchase, redemption or other acquisition or retirement (or dividends
or distributions to any direct or indirect parent of the Issuer to finance any such
repurchase, redemption or other acquisition or retirement) for value of any Equity
Interests of the Issuer or any Restricted Subsidiary of the Issuer or any direct or indirect
parent of the Issuer held by any current or former officer, director, consultant or
employee of the Issuer or any of its Restricted Subsidiaries or any direct or indirect
parent of the Issuer pursuant to any equity subscription agreement, stock option
agreement, shareholders’ or members’ agreement or similar agreement, plan or
arrangement; provided that the aggregate price paid for all such repurchased, redeemed,
acquired or retired Equity Interests may not exceed $10.0 million in any calendar year
(which shall increase to $20.0 million subsequent to the consummation of an
underwritten public Equity Offering by the Issuer or any of its direct or indirect parent
entities) (with unused amounts in any calendar year being permitted to be carried over for
the next two succeeding calendar years); provided, further, that the amount in any
calendar year may be increased by an amount not to exceed:

       (i)      the cash proceeds received by the Issuer or any of its Restricted
Subsidiaries from the sale of Equity Interests (other than Disqualified Stock) of the Issuer
or any direct or indirect parent of the Issuer (to the extent contributed to the Issuer) to
members of management, directors or consultants of the Issuer and its Restricted
Subsidiaries or any direct or indirect parent of the Issuer that occurs after the Issue Date
(provided that the amount of such cash proceeds utilized for any such repurchase,
retirement, other acquisition, or dividend or distribution will not increase the amount
available for Restricted Payments under clause (C)(ii) of Section 4.05(a) hereof); plus

        (ii)    the cash proceeds of key man life insurance policies received by the Issuer
or any direct or indirect parent of the Issuer (to the extent contributed to the Issuer) and
its Restricted Subsidiaries after the Issue Date;

provided that the Issuer may elect to apply all or any portion of the aggregate increase
contemplated by (i) and (ii) above in any single calendar year;

       (6)     the repurchase of Equity Interests deemed to occur upon the exercise of
stock options or warrants to the extent such Equity Interests represent a portion of the
exercise price of those stock options or warrants;




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        (7)     the declaration and payment of regularly scheduled or accrued dividends
or distributions to holders of any class or series of Disqualified Stock of the Issuer or any
Restricted Subsidiary of the Issuer issued on or after the Issue Date in accordance with
Section 4.07(a) hereof;

       (8)     Permitted Payments to Parent;

       (9)    purchases of receivables pursuant to a Receivables Repurchase Obligation
in connection with a Qualified Receivables Financing;

        (10) the declaration and payment of dividends or distributions to holders of any
class or series of Designated Preferred Stock (other than Disqualified Stock) issued after
the Issue Date and the declaration and payment of dividends to any direct or indirect
parent of the Issuer, the proceeds of which will be used to fund the payment of dividends
or distributions to holders of any class or series of Designated Preferred Stock (other than
Disqualified Stock) of any direct or indirect parent of the Issuer issued after the Issue
Date; provided, however, that (A) for the most recently ended four full fiscal quarters for
which internal financial statements are available immediately preceding the date of
issuance of such Designated Preferred Stock, after giving effect to such issuance (and the
payment of dividends or distributions) on a pro forma basis, the Issuer could incur an
additional $1.00 of Indebtedness pursuant to the Fixed Charge Coverage Ratio, and
(B) the aggregate amount of dividends declared and paid pursuant to this clause (10) does
not exceed the net cash proceeds actually received by the Issuer (including any such
proceeds contributed to the Issuer by any direct or indirect parent of the Issuer) from any
such sale of Designated Preferred Stock (other than Disqualified Stock) issued after the
Issue Date;

        (11) any Restricted Payment made in connection with the Refinancing
Transactions (including payments made in connection with the consummation of the
offering of the Initial Notes) and the fees and expenses related thereto;

      (12) Restricted Payments in an aggregate amount equal to the amount of
Excluded Contributions previously received by the Issuer and its Restricted Subsidiaries;

       (13) other Restricted Payments in an aggregate amount not to exceed
$30.0 million since the Issue Date;

       (14) the satisfaction of change of control obligations and asset sale obligations
once the Issuer has fulfilled its obligations under this Indenture with respect to a Change
of Control or an Asset Sale;

       (15) the repayment of intercompany debt that was permitted to be incurred
under this Indenture;

        (16) cash dividends or other distributions on the Issuer’s Capital Stock used to,
or the making of loans to any direct or indirect parent of the Issuer to, fund the payment
of fees and expenses owed by the Issuer or its Restricted Subsidiaries to Affiliates, to the



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       extent permitted by Section 4.09 hereof (except for transactions described in
       Section 4.09(b)(6));

               (17) the payment of dividends or distributions on the Issuer’s common equity
       (or the payment of dividends or distributions to a direct or indirect parent of the Issuer to
       fund the payment by such parent of dividends or distributions on its common equity) of
       up to 6.0% per calendar year of the net proceeds received by the Issuer from any public
       Equity Offering or contributed to the Issuer by a direct or indirect parent of the Issuer
       from any public Equity Offering; provided that the amount of any such net cash proceeds
       that are utilized for any such Restricted Payment will be excluded from clause (C)(ii) of
       Section 4.05(a) hereof; and

              (18) the distribution, as a dividend or otherwise, of shares of Capital Stock of,
       or Indebtedness owed to the Issuer or a Restricted Subsidiary of the Issuer by,
       Unrestricted Subsidiaries (other than Unrestricted Subsidiaries the primary assets of
       which are cash and/or Cash Equivalents); and

               (19) any Restricted Payment so long as immediately after giving effect to the
       making of such Restricted Payment, the Issuer’s Net Leverage Ratio does not exceed
       3.00 to 1.00;

        provided, however, that at the time of, and after giving effect to, any Restricted Payment
permitted under clauses (10), (17) or (19) of this Section 4.05(b), no Default or Event of Default
shall have occurred and be continuing or would occur as a consequence thereof.

                (c)     The amount of all Restricted Payments (other than cash) will be the Fair
Market Value on the date of the Restricted Payment of the asset(s) or securities proposed to be
transferred or issued by the Issuer or such Restricted Subsidiary, as the case may be, pursuant to
the Restricted Payment. In the event that a Restricted Payment meets the criteria of more than
one of the exceptions described in (1) through (19) above or is entitled to be made pursuant to
Section 4.05(a), the Issuer shall, in its sole discretion, classify such Restricted Payment (or
portion thereof) on the date made or later reclassify such Restricted Payment (or portion thereof)
in any manner that complies with this Section 4.05.

Section 4.06   Dividend and Other Payment Restrictions Affecting Subsidiaries.

                (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
that is not a Guarantor to, directly or indirectly, create or permit to exist or become effective any
consensual encumbrance or restriction on the ability of the Issuer or any of its Restricted
Subsidiary that is not a Guarantor to:

               (1)     pay dividends or make any other distributions on its Capital Stock to the
       Issuer or any of its Restricted Subsidiaries, or with respect to any other interest or
       participation in, or measured by, its profits, or pay any Indebtedness owed to the Issuer or
       any of its Restricted Subsidiaries;

               (2)     make loans or advances to the Issuer or any of its Restricted Subsidiaries;
       or


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               (3)     sell, lease or transfer any of its properties or assets to the Issuer or any of
       its Restricted Subsidiaries.

                 (b)    The restrictions in Section 4.06(a) hereof will not apply to encumbrances
or restrictions existing under or by reason of:

              (1)     agreements governing Indebtedness outstanding on the Issue Date,
       including pursuant to the Credit Agreement and Hedging Obligations and the related
       documentation;

               (2)    this Indenture, the Notes, the Note Guarantees (and any Additional Notes
       and related Guarantees under this Indenture or other Permitted Additional Pari Passu
       Obligations) and the Security Documents;

                (3)    applicable law, rule, regulation, order, approval, license, permit or similar
       restriction;

                (4)     any instrument governing Indebtedness or Capital Stock of a Person
       acquired by the Issuer or any of its Restricted Subsidiaries as in effect at the time of such
       acquisition (except to the extent such Indebtedness or Capital Stock was incurred in
       connection with or in contemplation of such acquisition), which encumbrance or
       restriction is not applicable to any Person, or the properties or assets of any Person, other
       than the Person, or the property or assets of the Person, so acquired; provided that, in the
       case of Indebtedness, such Indebtedness was permitted by the terms of this Indenture to
       be incurred;

               (5)    non−assignment provisions or subletting restrictions in contracts, leases
       and licenses entered into in the ordinary course of business;

                (6)    purchase money obligations for property (including Capital Stock)
       acquired in the ordinary course of business and Capital Lease Obligations that impose
       restrictions on the property purchased or leased of the nature described in
       Section 4.06(a)(3) hereof;

               (7)     any agreement for the sale or other disposition of the Capital Stock or
       assets of a Restricted Subsidiary of the Issuer that restricts distributions by that Restricted
       Subsidiary pending closing of the sale or other disposition;

              (8)     Permitted Refinancing Indebtedness; provided that the restrictions
       contained in the agreements governing such Permitted Refinancing Indebtedness are not
       materially more restrictive, taken as a whole, than those contained in the agreements
       governing the Indebtedness being refinanced;

               (9)     Liens permitted to be incurred under Section 4.10 hereof that limit the
       right of the debtor to dispose of the assets securing such Indebtedness;

               (10) provisions limiting the disposition or distribution of assets or property or
       transfer of Capital Stock in joint venture agreements, asset sale agreements,


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sale−leaseback agreements, stock sale agreements, limited liability company
organizational documents, and other similar agreements entered into in the ordinary
course of business, consistent with past practice or with the approval of the Issuer’s
Board of Directors, which limitation is applicable only to the assets, property or Capital
Stock that are the subject of such agreements;

         (11) any encumbrance or restriction of a Receivables Subsidiary effected in
connection with a Qualified Receivables Financing; provided, however, that such
restrictions apply only to such Receivables Subsidiary;

         (12) restrictions on cash, Cash Equivalents, Marketable Securities or other
deposits or net worth imposed by customers or lessors under contracts or leases entered
into in the ordinary course of business;

        (13) other Indebtedness of Restricted Subsidiaries that are non−Guarantors that
is incurred subsequent to the Issue Date pursuant to Section 4.07 hereof;

        (14) encumbrances on property that exist at the time the property was acquired
by the Issuer or a Restricted Subsidiary of the Issuer;

       (15)    contractual encumbrances or restrictions in effect on the Issue Date;

        (16) customary provisions in master limited partnership agreements, joint
venture agreements or arrangements and other similar agreements or arrangements
relating solely to such master limited partnership or joint venture;

        (17) any encumbrance or restriction with respect to an Unrestricted Subsidiary
pursuant to or by reason of an agreement that the Unrestricted Subsidiary is a party to or
entered into before the date on which such Unrestricted Subsidiary became a Restricted
Subsidiary of the Issuer; provided that such agreement was not entered into in
anticipation of the Unrestricted Subsidiary becoming a Restricted Subsidiary of the Issuer
and any such encumbrance or restriction does not extend to any assets or property of the
Issuer or any Restricted Subsidiary other than the assets and property of such
Unrestricted Subsidiary;

         (18) any encumbrance or restriction contained in the terms of any Indebtedness
or any agreement pursuant to which such Indebtedness was incurred if either (x) the
encumbrance or restriction applies only in the event of a payment default or a default
with respect to a financial covenant in such Indebtedness or agreement or (y) the Issuer
determines that any such encumbrance or restriction will not materially affect the Issuer’s
ability to make principal or interest payments on the Notes, as determined in good faith
by the Issuer, whose determination shall be conclusive;

         (19) provisions with respect to the receipt of a rebate on an operating lease
until all obligations due to a lessor on other operating leases are satisfied or other
customary restrictions in respect of assets or contract rights acquired by a Restricted
Subsidiary of the Issuer in connection with a Sale/Leaseback Transaction;



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               (20) Permitted Additional Pari Passu Obligations or any other Secured
       Indebtedness otherwise permitted to be incurred pursuant to Sections 4.07 and 4.10
       hereof that limit the right of the debtor to dispose of the assets securing such
       Indebtedness;

               (21) encumbrances and restrictions contained in contracts entered into in the
       ordinary course of business, not relating to any Indebtedness, and that do not,
       individually or in the aggregate, detract from the value of property or assets of the Issuer
       or any Restricted Subsidiary of the Issuer or the ability of the Issuer or such Restricted
       Subsidiary to realize such value, or to make any distributions relating to such property or
       assets in each case in any material respect; and

              (22) any encumbrances or restrictions imposed by any amendments or
       refinancings of the contracts, instruments or obligations referred to above in clauses (1)
       through (21); provided that such encumbrances and restrictions contained in such
       amendments or refinancings are not materially more restrictive, taken as a whole, than
       such encumbrances and restrictions prior to such amendment or refinancing.

                (c)      For purposes of determining compliance with this Section 4.06, (i) the
priority of any preferred stock in receiving dividends or liquidating distributions prior to
dividends or liquidating distributions being paid on ordinary shares shall not be deemed a
restriction on the ability to make distributions on Capital Stock and (ii) the subordination of
loans or advances made to the Issuer or a Restricted Subsidiary of the Issuer to other
Indebtedness incurred by the Issuer or any such Restricted Subsidiary shall not be deemed a
restriction on the ability to make loans or advances.

Section 4.07   Incurrence of Indebtedness and Issuance of Preferred Equity.

                 (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, directly or indirectly, create, incur, issue, assume, guarantee or otherwise become directly or
indirectly liable, contingently or otherwise, with respect to (collectively, “incur”) any
Indebtedness (including Acquired Debt), and the Issuer will not issue any Disqualified Stock and
will not permit any of its Restricted Subsidiaries to issue any shares of preferred equity;
provided, however, that the Issuer may incur Indebtedness (including Acquired Debt) or issue
Disqualified Stock, and the Issuer or any Restricted Subsidiary of the Issuer may incur
Indebtedness (including Acquired Debt) or issue preferred equity, if on the date thereof the Fixed
Charge Coverage Ratio for the Issuer’s most recently ended four full fiscal quarters for which
internal financial statements are available immediately preceding the date on which such
additional Indebtedness is incurred or such Disqualified Stock or such preferred equity is issued,
as the case may be, would have been at least 2.0 to 1.0, determined on a pro forma basis
(including a pro forma application of the net proceeds therefrom), as if the additional
Indebtedness had been incurred or the Disqualified Stock or the preferred equity had been issued,
as the case may be, at the beginning of such four−quarter period; provided, further, that
Restricted Subsidiaries of the Issuer that are not Guarantors may not incur Indebtedness or issue
any shares of preferred equity if, after giving pro forma effect to such incurrence or issuance
(including a pro forma application of the net proceeds therefrom), Indebtedness or preferred



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equity at any one time outstanding and incurred by Restricted Subsidiaries of the Issuer that are
not Guarantors pursuant to this Section 4.07(a) shall exceed $50.0 million.

                (b)    The provisions of Section 4.07(a) hereof will not prohibit the incurrence of
any of the following items of Indebtedness (collectively, “Permitted Debt”):

               (1)    the incurrence under Debt Facilities by the Issuer or any of its Restricted
       Subsidiaries of Indebtedness and letters of credit and bankers’ acceptances thereunder in
       an aggregate principal amount under this clause (1) (with letters of credit deemed to have
       a principal amount equal to the maximum potential liability of the Issuer and its
       Restricted Subsidiaries thereunder) not to exceed the greater of (x) $300.0 million and
       (y) the Borrowing Base as of the date of incurrence of such Indebtedness outstanding at
       any one time;

               (2)     the incurrence by the Issuer and its Restricted Subsidiaries of Indebtedness
       to the extent outstanding on the Issue Date;

               (3)     the incurrence by the Issuer and its Restricted Subsidiaries (including any
       future Guarantor) of Indebtedness represented by the Notes and the related Note
       Guarantees to be issued on the Issue Date (but excluding any Additional Notes issued
       after the Issue Date);

               (4)      Indebtedness (including Capital Lease Obligations), Disqualified Stock
       and preferred stock incurred by the Issuer or any Restricted Subsidiary of the Issuer, to
       finance the purchase, lease, design, construction, installation, repair, replacement or
       improvement of property (real or personal) or equipment that is used or useful in a
       Permitted Business, whether through the direct purchase of assets or the Capital Stock of
       any Person owning such assets and Indebtedness arising from the conversion of the
       obligations of the Issuer or any Restricted Subsidiary of the Issuer under or pursuant to
       any “synthetic lease” transactions to on-balance sheet Indebtedness of the Issuer or such
       Restricted Subsidiary, in an aggregate principal amount which, when aggregated with the
       principal amount of all other Indebtedness, Disqualified Stock and preferred stock
       incurred pursuant to this clause (4), does not exceed the greater of (x) $40.0 million and
       (y) 5.0% of Total Assets at the time of incurrence; provided that Capital Lease
       Obligations incurred by the Issuer or any Restricted Subsidiary of the Issuer pursuant to
       this clause (4) in connection with a Sale/Leaseback Transaction shall not be subject to the
       foregoing limitation so long as the proceeds of such Sale/Leaseback Transaction are used
       by the Issuer or such Restricted Subsidiary to permanently repay outstanding
       Indebtedness of the Issuer and the Restricted Subsidiaries that was secured by a Lien on
       the assets subject to any such Capital Lease Obligations immediately prior to the entry
       into such Sale/Leaseback Transaction;

               (5)    the incurrence by the Issuer or any of its Restricted Subsidiaries of
       Permitted Refinancing Indebtedness in exchange for, or the net proceeds of which are
       used to renew, refund, refinance, replace, defease or discharge any Indebtedness (other
       than intercompany Indebtedness) that was permitted by this Indenture to be incurred




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under Section 4.07(a) hereof or clauses (2), (3), (4), (5), (12), (16) or (17) of this
Section 4.07(b);

       (6)    the incurrence by the Issuer or any of its Restricted Subsidiaries of
intercompany Indebtedness and cash management pooling obligations and arrangements
between or among the Issuer and any of its Restricted Subsidiaries; provided, however,
that:

                (A)     if the Issuer or any Guarantor is the obligor on such Indebtedness
        (other than cash management pooling obligations) and the payee is not the Issuer
        or a Guarantor, such Indebtedness must be expressly subordinated to the prior
        payment in full in cash of all Obligations then due with respect to the Notes, in
        the case of the Issuer, or the Note Guarantee, in the case of a Guarantor; and

                (B)     (i) any subsequent issuance or transfer of Equity Interests that
        results in any such Indebtedness being held by a Person other than the Issuer or a
        Restricted Subsidiary of the Issuer, and (ii) any sale or other transfer of any such
        Indebtedness to a Person that is not either the Issuer or a Restricted Subsidiary of
        the Issuer, will be deemed, in each case, to constitute an incurrence of such
        Indebtedness by the Issuer or such Restricted Subsidiary, as the case may be, that
        was not permitted by this clause (6);

        (7)     the issuance by any of the Issuer’s Restricted Subsidiaries to the Issuer or
to any of its Restricted Subsidiaries of shares of preferred equity; provided, however,
that:

                (A)    any subsequent issuance or transfer of Equity Interests that results
        in any such preferred equity being held by a Person other than the Issuer or a
        Restricted Subsidiary of the Issuer, and

                 (B)     any sale or other transfer of any such preferred equity to a Person
        that is not either the Issuer or a Restricted Subsidiary of the Issuer,

        will be deemed, in each case, to constitute an issuance of such preferred equity by
        such Restricted Subsidiary that was not permitted by this clause (7);

      (8)    the incurrence by the Issuer or any of its Restricted Subsidiaries of
Hedging Obligations other than for speculative purposes;

        (9)    the Guarantee by the Issuer or any of its Restricted Subsidiaries of
Indebtedness and cash management pooling obligations and arrangements of the Issuer or
a Restricted Subsidiary of the Issuer that was permitted to be incurred by another
provision of this Section 4.07 (including Section 4.07(a) hereof); provided that if the
Indebtedness being guaranteed is subordinated to or pari passu with the Notes, then the
Guarantee shall be subordinated or pari passu, as applicable, to the same extent as the
Indebtedness guaranteed;




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        (10) the incurrence by the Issuer or any of its Restricted Subsidiaries of
Indebtedness in respect of workers’ compensation claims, payment obligations in
connection with health or other types of social security benefits, unemployment or other
insurance or self−insurance obligations, reclamation, statutory obligations, bankers’
acceptances, bid, performance, surety or similar bonds and letters of credit or completion
or performance guarantees (including without limitation, performance guarantees
pursuant to flying contracts, supply agreements or equipment leases), or other similar
obligations in the ordinary course of business or consistent with past practice;

        (11) the incurrence by the Issuer or any of its Restricted Subsidiaries of
Indebtedness arising from the honoring by a bank or other financial institution of a check,
draft or similar instrument inadvertently drawn against insufficient funds and other
obligations in respect of Bank Products;

        (12) Indebtedness, Disqualified Stock or preferred equity of the Issuer or any
Restricted Subsidiary of the Issuer incurred or issued to finance an acquisition or of
Persons that are acquired by the Issuer or any of its Restricted Subsidiaries or merged
into a Restricted Subsidiary of the Issuer in accordance with the terms of this Indenture;
provided, however, that for any such indebtedness outstanding under this clause (12) in
excess of $40.0 million, after giving effect to such acquisition and the incurrence of such
Indebtedness, Disqualified Stock and preferred equity either:

              (A)    the Issuer would be permitted to incur at least $1.00 of additional
       Indebtedness pursuant to Section 4.07(a) hereof; or

             (B)     the Fixed Charge Coverage Ratio would not be less than
       immediately prior to such acquisition;

        (13) Indebtedness incurred by a Receivables Subsidiary in a Qualified
Receivables Financing that is not recourse to the Issuer or any Restricted Subsidiary of
the Issuer other than a Receivables Subsidiary (except for Standard Securitization
Undertakings);

        (14) the incurrence of Indebtedness arising from agreements of the Issuer or a
Restricted Subsidiary of the Issuer providing for indemnification, adjustment of purchase
price, earn outs, or similar obligations, in each case, incurred or assumed in connection
with the disposition or acquisition of any business, assets or a Subsidiary in accordance
with the terms of this Indenture, other than Guarantees of Indebtedness incurred or
assumed by any Person acquiring all or any portion of such business, assets or Subsidiary
for the purpose of financing such acquisition;

        (15) the incurrence by the Issuer or any of its Restricted Subsidiaries of
additional Indebtedness or the issuance of Disqualified Stock or preferred equity in an
aggregate principal amount (or accreted value, as applicable) or having an aggregate
liquidation preference at any time outstanding not to exceed the greater of
(x) $50.0 million and (y) 5.0% of Total Assets (it being understood that any
Indebtedness, Disqualified Stock or preferred equity incurred pursuant to this clause (15)



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       shall cease to be deemed incurred or outstanding for purposes of this Section 4.07 from
       and after the date on which the Issuer could have incurred such Indebtedness or
       Disqualified Stock or preferred equity under Section 4.07(a) hereof without reliance upon
       this clause (15));

               (16)    Contribution Indebtedness;

               (17) Indebtedness of Restricted Subsidiaries of the Issuer that are not
       Guarantors in an amount not to exceed, in the aggregate at any one time outstanding the
       greater of (x) $40.0 million and (y) 10.0% of Total Non-Guarantor Assets (it being
       understood that any Indebtedness incurred pursuant to this clause (17) shall cease to be
       deemed incurred or outstanding for purposes of this clause (17) but shall be deemed
       incurred under Section 4.07(a) from and after the first date on which such Restricted
       Subsidiary could have incurred such Indebtedness under Section 4.07(a) without reliance
       on this clause (17));

              (18) Indebtedness of the Issuer or any Restricted Subsidiary of the Issuer
       supported by a letter of credit or bank guarantee issued pursuant to a Debt Facility, in a
       principal amount not in excess of the stated amount of such letter of credit or bank
       guarantee; and

               (19) Indebtedness of the Issuer or any Restricted Subsidiary of the Issuer
       consisting of (x) the financing of insurance premiums or (y) take or pay obligations
       contained in supply arrangements, in each case, in the ordinary course of business.

                (c)     The Issuer will not incur, and will not permit any Guarantor to incur, any
Indebtedness (including Permitted Debt) that is contractually subordinated in right of payment to
any other Indebtedness of the Issuer or such Guarantor unless such Indebtedness is also
contractually subordinated in right of payment to the Notes and the applicable Note Guarantee on
substantially identical terms; provided, however, that no Indebtedness shall be deemed to be
contractually subordinated in right of payment to any other Indebtedness solely by virtue of
being unsecured or by virtue of being secured on a first or junior Lien basis.

                 (d)     For purposes of determining compliance with this Section 4.07, in the
event that an item of proposed Indebtedness, Disqualified Stock or preferred equity meets the
criteria of more than one of the categories of Permitted Debt described in clauses (1) through
(19) above or is entitled to be incurred pursuant to Section 4.07(a) hereof, the Issuer will be
permitted to classify such item of Indebtedness, Disqualified Stock or preferred equity on the
date of its incurrence and will only be required to include the amount and type of such
Indebtedness, Disqualified Stock or preferred equity in one of the above clauses, although the
Issuer may divide and classify an item of Indebtedness, Disqualified Stock or preferred equity in
one or more of the types of Indebtedness, Disqualified Stock or preferred equity and may later
reclassify all or a portion of such item of Indebtedness, Disqualified Stock or preferred equity, in
any manner that complies with this Section 4.07; provided that all Indebtedness outstanding
under the Credit Agreement on the Issue Date shall be treated as incurred on the Issue Date
under Section 4.07(b)(1) and shall not later be reclassified.




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                 (e)     The accrual of interest or dividends, the accretion or amortization of
original issue discount, the payment of interest on any Indebtedness in the form of additional
Indebtedness with the same terms, the reclassification of preferred equity as Indebtedness due to
a change in accounting principles, the payment of dividends on Disqualified Stock or preferred
equity in the form of additional shares of the same class of Disqualified Stock or preferred equity
and unrealized losses or charges in respect of Hedging Obligations (including those resulting
from the application of Standards Codification No. 815—Derivatives and Hedging) will not be
deemed to be an incurrence of Indebtedness or an issuance of Disqualified Stock or preferred
equity for purposes of this Section 4.07; provided, in each such case (other than preferred stock
that is not Disqualified Stock), that the amount of any such accrual, accretion or payment is
included in Fixed Charges of the Issuer as accrued. Notwithstanding any other provision of this
Section 4.07, the maximum amount of Indebtedness that the Issuer or any Restricted Subsidiary
of the Issuer may incur pursuant to this Section 4.07 shall not be deemed to be exceeded solely
as a result of fluctuations in exchange rates or currency values.

                (f)     For purposes of determining compliance with any U.S. dollar denominated
restriction on the incurrence of Indebtedness where the Indebtedness incurred is denominated in
a different currency, the amount of such Indebtedness will be the U.S. Dollar Equivalent
determined on the date of the establishment of the facility or instrument under which such
Indebtedness was incurred; provided, however, that if such Indebtedness denominated in a
different currency is subject to a Currency Agreement with respect to U.S. dollars, covering all
principal, premium, if any, and interest payable on such Indebtedness, the amount of such
Indebtedness expressed in U.S. dollars will be as provided in such Currency Agreement. The
principal amount of any refinancing Indebtedness incurred in the same currency as the
Indebtedness being refinanced will be the U.S. Dollar Equivalent of the Indebtedness refinanced,
except to the extent that (i) such U.S. Dollar Equivalent was determined based on a Currency
Agreement, in which case the refinancing Indebtedness will be determined in accordance with
the preceding sentence, and (ii) the principal amount of the refinancing Indebtedness exceeds the
principal amount of the Indebtedness being refinanced, in which case the U.S. Dollar Equivalent
of such excess, as appropriate, will be determined on the date such refinancing Indebtedness is
incurred.

               (g)    The amount of any Indebtedness outstanding as of any date will be:

               (1)    the accreted value of the Indebtedness, in the case of any Indebtedness
       issued with original issue discount; (2) the principal amount of the Indebtedness, in the
       case of any other Indebtedness; and

               (2)     in respect of Indebtedness of another Person secured by a Lien on the
       assets of the specified Person, the lesser of:

                      (A)     the Fair Market Value of such assets at the date of determination;
               and

                      (B)     the amount of the Indebtedness of the other Person.

Section 4.08   Asset Sales.



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             (a)    The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, consummate an Asset Sale unless:

              (1)      the Issuer (or the Restricted Subsidiary of the Issuer, as the case may be)
       receives consideration at the time of the Asset Sale at least equal to the Fair Market Value
       (such Fair Market Value to be determined on the date of contractually agreeing to such
       Asset Sale) of the assets or Equity Interests issued or sold or otherwise disposed of;

               (2)    at least 75% of the aggregate consideration received from such Asset Sale
       and all other Asset Sales since the Issue Date, on a cumulative basis, by the Issuer or such
       Restricted Subsidiary is in the form of cash, Cash Equivalents, Marketable Securities or
       Additional Assets, or any combination thereof. For purposes of this provision, each of the
       following shall be deemed to be cash:

                      (A)     any liabilities of the Issuer or any Restricted Subsidiary of the
              Issuer (other than contingent liabilities and liabilities that are by their terms
              subordinated to the Notes or any Note Guarantee) that are assumed by the
              transferee of any such assets and as a result of which the Issuer or such Restricted
              Subsidiary is released from further liability;

                      (B)    any securities, notes, other obligations or assets received by the
              Issuer or any such Restricted Subsidiary from such transferee that are converted
              by the Issuer or such Restricted Subsidiary into cash or Cash Equivalents within
              180 days of the receipt thereof, to the extent of the cash or Cash Equivalents
              received in that conversion;

                      (C)     any Designated Non−cash Consideration received by the Issuer or
              any of its Restricted Subsidiaries in such Asset Sale; provided that the aggregate
              Fair Market Value of such Designated Non−cash Consideration, taken together
              with the Fair Market Value at the time of receipt of all other Designated
              Non−cash Consideration received pursuant to this clause (C) less the amount of
              Net Proceeds previously realized in cash from prior Designated Non−cash
              Consideration is less than the greater of (x) $40.0 million and (y) 5.0% of Total
              Assets at the time of the receipt of such Designated Non−cash Consideration
              (with the Fair Market Value of each item of Designated Non−cash Consideration
              being measured at the time received and without giving effect to subsequent
              changes in value); and

                      (D)     accounts receivable of a business retained by the Issuer or any of
              its Restricted Subsidiaries, as the case may be, following the sale of such
              business; provided that such accounts receivable (i) are not past due more than 90
              days and (ii) do not have a payment date greater than 120 days from the date of
              the invoices creating such accounts receivable; and

                     (E)     any Capital Stock or assets of the kind referred to in
              Section 4.08(b)(1)(F), (G) or (H).




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               (3)   if such Asset Sale involves the disposition of Collateral, the Issuer or such
       Restricted Subsidiary has complied with the provisions of this Indenture and the Security
       Documents; and

               (4)     if such Asset Sale involves the disposition of Notes Priority Collateral or,
       after the discharge of ABL Obligations, the disposition of ABL Facility Priority
       Collateral, and, if any property other than cash or Cash Equivalents is included in such
       Net Proceeds, such property shall be made subject to the Note Liens.

                (b)     Within 365 days after the receipt of any Net Proceeds from an Asset Sale,
the Issuer (or the applicable Restricted Subsidiary of the Issuer, as the case may be) may:

               (1)    apply such Net Proceeds, at its option:

                     (A)     to the extent such Net Proceeds constitute proceeds from the sale
               of ABL Facility Priority Collateral, to repay Indebtedness under the Credit
               Agreement secured by such ABL Facility Priority Collateral;

                      (B)     to the extent such Net Proceeds constitute proceeds from the sale
               of Notes Priority Collateral, to permanently repay, equally and ratably, the Notes
               and any Permitted Additional Pari Passu Obligations;

                        (C)    if the assets subject of such Asset Sale do not constitute Collateral,
               but constitute collateral for other pari passu Indebtedness, which Lien is permitted
               by this Indenture, to reduce Obligations under such other pari passu Indebtedness
               that is secured by such Lien (provided that such reduction, in the case of
               revolving credit Indebtedness, correspondingly and permanently reduces
               commitments thereunder);

                       (D)     if the assets subject of such Asset Sale do not constitute Collateral
               or collateral for any pari passu Indebtedness, to permanently reduce (or offer to
               reduce) Obligations under the Notes and other pari passu Indebtedness (and to
               correspondingly and permanently reduce commitments with respect thereto);
               provided that the Issuer shall equally and ratably reduce Obligations under the
               Notes and any Permitted Additional Pari Passu Obligations on a pro rata basis;
               provided that all reductions of or offers to reduce Obligations under the Notes
               shall be made pursuant to and in compliance with Section 3.07 or through
               open−market purchases (to the extent such purchases are at or above 100.0% of
               the principal amount thereof) or by making an offer (in accordance with the
               procedures set forth below for an Asset Sale Offer) to all Holders to purchase
               their Notes at 100.0% of the principal amount thereof, plus the amount of accrued
               but unpaid interest, if any, on the amount of Notes to be repurchased;

                       (E)    if the assets subject of such Asset Sale are the property or assets of
               a Restricted Subsidiary of the Issuer that is not a Guarantor, to permanently
               reduce Indebtedness of such Restricted Subsidiary (and to correspondingly and
               permanently reduce commitments with respect thereto), other than Indebtedness
               owed to the Issuer or another Restricted Subsidiary of the Issuer;


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                       (F)    to acquire all or substantially all of the assets of, or any Capital
               Stock of, another Permitted Business; provided, that in the case of any such
               acquisition of Capital Stock, such Person is or becomes a Restricted Subsidiary of
               the Issuer;

                       (G)     to acquire other short− or long−term assets that are not classified
               as current assets under GAAP and that are used or useful in a Permitted Business;
               or

                       (H)    to invest in Additional Assets; or

               (2)      enter into a binding commitment to apply the Net Proceeds pursuant to
       Section 4.08(b)(1)(F), (G) or (H), provided that such binding commitment shall be treated
       as a permitted application of the Net Proceeds from the date of such commitment until
       the earlier of (x) the date on which such acquisition or expenditure is consummated, and
       (y) the 180th day following the expiration of the aforementioned 365 day period.

        In the case of Section 4.08(b)(1)(F), (G) and (H), the assets acquired with the Net
Proceeds from an Asset Sale of assets constituting Collateral (or assets received in exchange
therefor pursuant to Section 4.08(a)(2)) shall be pledged as Collateral under the Security
Documents (except that the aggregate Net Proceeds from Asset Sales of assets constituting
Collateral (or assets received in exchange therefor pursuant to Section 4.08(a)(2)), taken together
with all other Net Proceeds from Asset Sales of assets constituting Collateral (or assets received
in exchange therefor pursuant to Section 4.08(a)(2)) previously excluded, may be excluded from
this requirement in an aggregate amount not to exceed the greater of (x) $40.0 million and
(y) 5.0% of Total Assets at the time of the receipt of such Net Proceeds or such exchange).

               (c)    Pending the final application of any Net Proceeds, the Issuer may
temporarily reduce revolving credit borrowings or otherwise invest the Net Proceeds in any
manner that is not prohibited by this Indenture.

                (d)     Any Net Proceeds from Asset Sales that are not applied or invested as
provided in Section 4.08(b) will constitute “Excess Proceeds.” Not later than the 366th day (or
such later date as permitted by Section 4.08(b)(2)) from the later of the date of such Asset Sale or
the receipt of such Net Proceeds, if the aggregate amount of Excess Proceeds exceeds
$25.0 million, within ten Business Days thereof, the Issuer will make an offer to all Holders of
Notes (an “Asset Sale Offer”) and (x) in the case of Net Proceeds from Notes Priority Collateral,
to the holders of any other Permitted Additional Pari Passu Obligations containing provisions
similar to those set forth in this Indenture with respect to offers to purchase or redeem with the
proceeds of sales of assets or (y) in the case of any other Net Proceeds, to all holders of other
Permitted Additional Pari Passu Obligations containing provisions similar to those set forth in
this Indenture with respect to offers to purchase or redeem with the proceeds of sales of assets to
purchase the maximum principal amount of Notes and Permitted Additional Pari Passu
Obligations that may be purchased out of the Excess Proceeds. The offer price in any Asset Sale
Offer will be equal to 100% of the principal amount plus accrued and unpaid interest, if any, to,
but excluding, the date of purchase and will be payable in cash. If any Excess Proceeds remain
after consummation of an Asset Sale Offer, the Issuer or any Restricted Subsidiary of the Issuer


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may use those Excess Proceeds for any purpose not otherwise prohibited by this Indenture. If the
aggregate principal amount of Notes and Permitted Additional Pari Passu Obligations tendered
into such Asset Sale Offer exceeds the amount of Excess Proceeds, the Trustee will select the
Notes to be purchased on a pro rata basis. Upon completion of each Asset Sale Offer, the
amount of Excess Proceeds will be reset at zero.

               (e)     The Issuer will comply with the requirements of Rule 14e−1 under the
Exchange Act and any other securities laws and regulations thereunder to the extent those laws
and regulations are applicable in connection with each repurchase of Notes pursuant to an Asset
Sale Offer. To the extent that the provisions of any securities laws or regulations conflict with
the Asset Sale provisions of this Indenture, the Issuer will comply with the applicable securities
laws and regulations and will not be deemed to have breached its obligations under the Asset
Sale provisions of this Indenture by virtue of such compliance.

                (f)      Not later than the date upon which written notice of an Asset Sale Offer is
delivered to the Trustee as provided above, the Issuer shall deliver to the Trustee an Officer’s
Certificate as to (i) the amount of the Excess Proceeds, (ii) the allocation of the Net Proceeds
from the Asset Sales pursuant to which such Asset Sale Offer is being made and (iii) the
compliance of such allocation with the provisions of this Section 4.08. Upon the expiration of the
period for which the Asset Sale Offer remains open (the “Offer Period”), the Issuer shall deliver
to the Trustee for cancellation the Notes or portions thereof that have been properly tendered to
and are to be accepted by the Issuer. No later than one Business Day preceding any date of
purchase, the Issuer shall deposit with the Trustee (or a Paying Agent, if not the Trustee) the
purchase price for the tendered Notes and the Trustee (or a Paying Agent, if not the Trustee)
shall, on the date of purchase, mail or deliver payment to each tendering Holder in the amount of
the purchase price. In the event that the Excess Proceeds delivered by the Issuer to the Trustee is
greater than the purchase price of the Notes tendered, the Trustee shall deliver the excess to the
Issuer immediately after the expiration of the Offer Period for application in accordance with this
Section 4.08.

                (g)     Holders electing to have a Note purchased shall be required to surrender
the Note, with the form entitled “Option of Holder to Elect Purchase” attached to the Note duly
completed, to the Issuer at the address specified in the notice at least three Business Days prior to
the purchase date. Holders shall be entitled to withdraw their election if the Trustee or the Issuer
receives not later than one Business Day prior to the purchase date, a telegram, telex, facsimile
transmission or letter setting forth the name of the Holder, the principal amount of the Note
which was delivered by the Holder for purchase and a statement that such Holder is withdrawing
his election to have such Note purchased. If at the end of the Offer Period more Notes are
tendered pursuant to an Asset Sale Offer than the Issuer is required to purchase, selection of such
Notes for purchase shall be made by the Trustee in compliance with the requirements of the
principal national securities exchange, if any, on which such Notes are listed, or if such Notes are
not so listed, on a pro rata basis, by lot or by such other method as the Trustee shall deem fair
and appropriate (and in such manner as complies with applicable legal requirements); provided
that no Notes of $2,000 or less shall be purchased in part.

               (h)     Notices of an Asset Sale Offer shall be mailed by the Issuer by first class
mail, postage prepaid, or otherwise delivered in accordance with the applicable procedures of


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DTC, at least 30 but not more than 60 days before the purchase date to each Holder at such
Holder’s registered address. If any Note is to be purchased in part only, any notice of purchase
that relates to such Security shall state the portion of the principal amount thereof that is to be
purchased.

               (i)     A new Note in principal amount equal to the unpurchased portion of any
Note purchased in part shall be issued in the name of the Holder thereof upon cancellation of the
original Note. On and after the purchase date, unless the Issuer defaults in payment of the
purchase price, interest shall cease to accrue on Notes or portions thereof purchased.

Section 4.09   Transactions with Affiliates.

                (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, make any payment to, or sell, lease, transfer or otherwise dispose of any of its properties or
assets to, or purchase any property or assets from, or enter into or make or amend any
transaction, contract, agreement, understanding, loan, advance or guarantee with, or for the
benefit of, any Affiliate of the Issuer (each, an “Affiliate Transaction”), involving aggregate
consideration in excess of $10.0 million, unless:

               (1)     the Affiliate Transaction is on terms that are not materially less favorable
       to the Issuer or the relevant Restricted Subsidiary than those that would have been
       obtained in a comparable transaction by the Issuer or such Restricted Subsidiary with an
       unrelated Person; and

               (2)      the Issuer delivers to the Trustee with respect to any Affiliate Transaction
       or series of related Affiliate Transactions involving aggregate consideration in excess of
       $40.0 million, a resolution of the Board of Directors of the Issuer certifying that such
       Affiliate Transaction complies with this Section 4.09 and that such Affiliate Transaction
       has been approved by a majority of the disinterested members, if any, of the Board of
       Directors of the Issuer.

                (b)     The following items will not be deemed to be Affiliate Transactions and,
therefore, will not be subject to the provisions of Section 4.09(a) hereof:

               (1)     any employment agreement, employee benefit plan, officer or director
       indemnification agreement or any similar arrangement entered into by the Issuer or any
       of its Restricted Subsidiaries in the ordinary course of business or consistent with past
       practice and payments pursuant thereto;

               (2)     transactions (including a merger) between or among the Issuer and/or any
       of its Restricted Subsidiaries;

               (3)      transactions with a Person (other than an Unrestricted Subsidiary of the
       Issuer) that is an Affiliate of the Issuer solely because the Issuer owns, directly or through
       a Restricted Subsidiary of the Issuer, an Equity Interest in, or controls, such Person;




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        (4)     payment of reasonable fees to, and indemnity provided on behalf of,
officers, directors, employees or consultants of the Issuer or any of its Restricted
Subsidiaries or any direct or indirect parent of the Issuer;

        (5)     any contribution to the capital of the Issuer or any issuance of Equity
Interests (other than Disqualified Stock) of the Issuer to Affiliates of the Issuer or to any
director, officer, employee or consultant of the Issuer or any direct or indirect parent of
the Issuer, and the granting and performance of registration rights;

          (6)   Restricted Payments and Investments that do not violate Section 4.05
hereof;

        (7)    the entering into any agreement to pay, and the payment of, customary
annual management, consulting, monitoring and advisory fees to the Equity Investors in
an amount not to exceed in any four quarter period the greater of (x) $2.5 million and
(y) 1.0% of Consolidated Adjusted EBITDA of the Issuer and its Restricted Subsidiaries
for such period and related expenses;

       (8)     loans or advances to employees or consultants in the ordinary course of
business or consistent with past practice;

          (9)   any transaction effected as part of a Qualified Receivables Financing;

        (10) any transaction in which the Issuer or any of its Restricted Subsidiaries, as
the case may be, delivers to the Trustee a letter from an accounting, appraisal or
investment banking firm of national standing stating that such transaction is fair to the
Issuer or such Restricted Subsidiary from a financial point of view or that such
transaction meets the requirements of clause (1) of Section 4.09(a);

        (11) the existence of, or the performance by the Issuer or any of its Restricted
Subsidiaries of its obligations under the terms of, any acquisition agreements or
members’ or stockholders’ agreement or related documents to which it is a party as of the
Issue Date and any amendment thereto or similar agreements which it may enter into
thereafter; provided, however, that the existence of, or the performance by the Issuer or
any of its Restricted Subsidiaries of its obligations under, any future amendment to any
such existing agreement or under any similar agreement entered into after the Issue Date
shall only be permitted by this clause (11) to the extent that the terms of any such existing
agreement, together with all amendments thereto, taken as a whole, or such new
agreement are not otherwise more disadvantageous to the Holders taken as a whole than
the original agreement as in effect on the Issue Date;

        (12) transactions with Unrestricted Subsidiaries, customers, clients, suppliers,
joint ventures, joint venture partners or purchasers or sellers of goods or services or
lessors or lessees of property, in each case in the ordinary course of business and
otherwise in compliance with the terms of this Indenture which are, in the aggregate
(taking into account all the costs and benefits associated with such transactions),
materially no less favorable to the Issuer or its Restricted Subsidiaries than those that
would have been obtained in a comparable transaction by the Issuer or such Restricted


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       Subsidiary with an unrelated Person, in the reasonable determination of the Board of
       Directors of the Issuer or senior management of either of them, or are on terms at least as
       favorable as might reasonably have been obtained at such time from an unaffiliated party;

              (13) (x) guarantees of performance by the Issuer and its Restricted Subsidiaries
       of Unrestricted Subsidiaries in the ordinary course of business, except for guarantees of
       Indebtedness in respect of borrowed money, and (y) pledges of Equity Interests of
       Unrestricted Subsidiaries for the benefit of lenders of Unrestricted Subsidiaries;

              (14) if such Affiliate Transaction is with a Person in its capacity as a holder of
       Indebtedness or Capital Stock of the Issuer or any Restricted Subsidiary of the Issuer
       where such Person is treated no more favorably than the holders of Indebtedness or
       Capital Stock of the Issuer or any Restricted Subsidiary of the Issuer;

              (15) transactions effected pursuant to agreements in effect on the Issue Date
       and any amendment, modification or replacement of such agreement (so long as such
       amendment or replacement is not materially more disadvantageous to the Holders, taken
       as a whole);

               (16) payments to the Equity Investors made for any financial advisory,
       financing or other investment banking activities, including without limitation, in
       connection with acquisitions or divestitures, which payments are approved by a majority
       of the Board of Directors;

               (17) the Refinancing Transactions and the payment of all fees and expenses
       related to the Refinancing Transactions, in each case, as contemplated in the Offering
       Document;

               (18)     intellectual property licenses in the ordinary course of business; and

              (19) transactions between the Issuer or any of its Restricted Subsidiaries and
       any Person, a director of which is also a director of the Issuer; provided, however, that
       such director abstains from voting as a director of the Issuer on any matter involving such
       other Person.

Section 4.10   Liens.

                (a)      The Issuer will not, and will not permit any Restricted Subsidiary of the
Issuer to, directly or indirectly, create, incur or assume any Lien (other than Permitted Liens) on
any asset or property of the Issuer or such Restricted Subsidiary that secures any Indebtedness of
the Issuer or such Restricted Subsidiary or any related Guarantees, except that the Issuer and any
Restricted Subsidiary of the Issuer may incur or suffer to exist Liens on assets not constituting
Collateral, so long as the Issuer or such Restricted Subsidiary effectively provides that the Notes
or the applicable Note Guarantee, as the case may be, shall be equally and ratably secured with
(or on a senior basis to, in the case such Lien secures any Indebtedness that is contractually
subordinated in right of payment to the Notes or the applicable Note Guarantee) the Indebtedness
or related Guarantees secured by such Lien.



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                (b)     Section 4.10(a) will not require the Issuer or any Restricted Subsidiary of
the Issuer to secure the Notes if the relevant Lien consists of a Permitted Lien. Any Lien which is
granted to secure the Notes or such Note Guarantee under Section 4.10(a) shall be automatically
released and discharged at the same time as the release of the Lien that gave rise to the obligation
to secure the Notes or such Note Guarantee under Section 4.10(a).

                (c)     For purposes of determining compliance with this Section 4.10, (i) a Lien
need not be incurred solely by reference to one category of Permitted Liens described in the
definition thereof but is permitted to be incurred in part under any combination thereof and of
any other available exemption and (ii) in the event that a Lien (or any portion thereof) meets the
criteria of one of more of the categories of Permitted Liens, the Issuer will, in its sole discretion,
be entitled to divide, classify or reclassify, in whole or in part, any such Lien (or any portion
thereof) among one or more of such categories or clauses in any manner.

Section 4.11   [Reserved].

Section 4.12   Offer to Repurchase Upon Change of Control.

                 (a)     Upon the occurrence of a Change of Control, the Issuer will make an offer
(a “Change of Control Offer”) to each Holder to repurchase all or any part (equal to $2,000 or an
integral multiple of $1,000 in excess of $2,000) of that Holder’s Notes at a purchase price in cash
equal to 101% of the aggregate principal amount of Notes repurchased plus accrued and unpaid
interest, if any, on the Notes repurchased to, but not including, the date of purchase, subject to
the rights of Holders on the relevant record date to receive interest due on the relevant interest
payment date (the “Change of Control Payment”). Within 30 days following any Change of
Control, except to the extent that the Issuer has exercised its right to redeem the Notes in
accordance with Article 3 of this Indenture, the Issuer will mail a notice to each Holder or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, describing the transaction or transactions that constitute the Change of Control and
stating:

              (1)     that the Change of Control Offer is being made pursuant to this
       Section 4.12 and that all Notes properly tendered pursuant to such Change of Control
       Offer will be accepted for payment;

               (2)    the purchase price and the purchase date, which shall be no earlier than 15
       days and no later than 60 days from the date such notice is mailed or otherwise delivered
       in accordance with the applicable procedures of DTC (the “Change of Control Payment
       Date”);

               (3)     that any Note not tendered will continue to accrue interest;

               (4)    that, unless the Issuer defaults in the payment of the Change of Control
       Payment, all Notes accepted for payment pursuant to the Change of Control Offer will
       cease to accrue interest after the Change of Control Payment Date;

              (5)    that Holders electing to have any Notes purchased pursuant to a Change of
       Control Offer will be required to surrender the Notes, with the form entitled “Option of


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          Holder to Elect Purchase” attached to the Notes completed, or transfer by book−entry
          transfer, to the Trustee at the address specified in the notice prior to the close of business
          on the third Business Day preceding the Change of Control Payment Date;

                  (6)     that Holders will be entitled to withdraw their election if the Trustee
          receives, not later than the close of business on the second Business Day preceding the
          Change of Control Payment Date, a telegram, telex, facsimile transmission or letter
          setting forth the name of the Holder, the principal amount of Notes delivered for
          purchase, and a statement that such Holder is withdrawing his election to have the Notes
          purchased; and

                  (7)    that Holders whose Notes are being purchased only in part will be issued
          new Notes equal in principal amount to the unpurchased portion of the Notes
          surrendered, which unpurchased portion must be equal to $2,000 in principal amount or
          an integral multiple of $1,000 in excess of $2,000.

               The Issuer will comply with the requirements of Rule 14e−1 under the Exchange
Act and any other securities laws and regulations thereunder to the extent those laws and
regulations are applicable in connection with the repurchase of the Notes as a result of a Change
of Control. To the extent that the provisions of any securities laws or regulations conflict with
the provisions of this Section 4.12 hereof, the Issuer will comply with the applicable securities
laws and regulations and will not be deemed to have breached its obligations under this
Section 4.12 by virtue of such compliance.

               (b)    On the Business Day immediately preceding the Change of Control
Payment Date, the Issuer will, to the extent lawful, deposit with the Paying Agent an amount
equal to the Change of Control Payment in respect of all Notes or portions of Notes accepted for
payment.

                 (c)     On the Change of Control Payment Date, the Issuer will, to the extent
lawful:

                 (1)     accept for payment all Notes or portions of Notes (in a minimum principal
          amount of $2,000 and integral multiples of $1,000 in excess of $2,000) properly tendered
          pursuant to the Change of Control Offer and not properly withdrawn; and

                 (2)     deliver or cause to be delivered to the Trustee the Notes properly accepted
          together with an Officer’s Certificate stating the aggregate principal amount of Notes or
          portions of Notes being purchased by the Issuer.

                The Paying Agent will promptly mail or otherwise deliver in accordance with the
applicable procedures of DTC to each Holder properly tendered the Change of Control Payment
for such Notes, and the Trustee, upon receipt of an Authentication Order, will promptly
authenticate and mail or otherwise deliver in accordance with the applicable procedures of DTC
(or cause to be transferred by book entry) to each Holder a new Note equal in principal amount
to any unpurchased portion of the Notes surrendered, if any; provided, that each new Note will
be in a principal amount of $2,000 or an integral multiple of $1,000 in excess of $2,000. The



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Issuer will publicly announce the results of the Change of Control Offer on or as soon as
reasonably practicable after the Change of Control Payment Date.

                (d)    In the event that Holders of not less than 90% in aggregate principal
amount of the outstanding Notes accept a Change of Control Offer, Alternate Offer or other
tender offer to purchase all of the Notes and the Issuer (or any third party making such Change of
Control Offer, Alternate Offer or other tender offer to purchase all of the Notes in lieu of the
Issuer) purchases all of the Notes held by such Holders, the Issuer shall have the right, upon not
less than 15 nor more than 60 days prior notice, given not more than 15 days following the
purchase pursuant to the Change of Control Offer, Alternate Offer or other tender offer to
purchase all of the Notes, to redeem all of the Notes that remain outstanding following such
purchase at a redemption price in cash equal to the price offered to each other Holder in the
Change of Control Offer, Alternate Offer or other tender offer plus, to the extent not included in
the Change of Control Offer, Alternate Offer or other tender offer, accrued and unpaid interest, if
any on the Notes that remain outstanding, to, but excluding, to the date of redemption (subject to
the right of Holders of record on the relevant record date to receive interest due on the relevant
interest payment date).

                (e)      Notwithstanding anything to the contrary in this Section 4.12, the Issuer
will not be required to make a Change of Control Offer upon a Change of Control if (1) a third
party makes the Change of Control Offer in the manner, at the times and otherwise in
compliance with the requirements set forth in this Section 4.12 and purchases all Notes properly
tendered and not withdrawn under the Change of Control Offer, (2) notice of redemption of all
outstanding Notes has been previously or is concurrently electronically delivered or mailed
pursuant to Section 3.03 hereof, unless and until there is a default in payment of the applicable
redemption price or (3) in connection with or in contemplation of any Change of Control, the
Issuer has made an offer to purchase (an “Alternate Offer”) any and all Notes validly tendered at
a cash price equal to or higher than the Change of Control Payment and has purchased all Notes
properly tendered in accordance with the terms of the Alternate Offer. Notwithstanding anything
to the contrary contained in this Indenture, a Change of Control Offer or an Alternate Offer may
be made in advance of a Change of Control, conditioned upon the consummation of such Change
of Control, if a definitive agreement is in place for the Change of Control at the time the Change
of Control Offer or the Alternate Offer is made. The closing date of any such Change of Control
Offer or any such Alternate Offer made in advance of a Change of Control may be changed to
conform to the actual closing date of the Change of Control; provided that such closing date is
not earlier than 15 days nor later than 60 days from the date the Change of Control Offer notice
is sent as described in Section 4.12(a) hereof, subject to the extension in the event of a
conditional offer.

               (f)     The Issuer’s obligation to make a Change of Control Offer pursuant to this
Section 4.12 may be waived or modified or terminated with the written consent of the Holders of
a majority in principal amount of the Notes then outstanding (including consents obtained in
connection with a tender offer or exchange offer for the Notes) prior to the occurrence of such
Change of Control.

Section 4.13   [Reserved].



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Section 4.14   Additional Note Guarantees.

                 If any Restricted Subsidiary of the Issuer (other than any Excluded Subsidiary)
that is not already a Guarantor Guarantees any Debt Facilities of the Issuer (or any other
Restricted Subsidiary), then such Restricted Subsidiary will become a Guarantor and execute a
supplemental indenture substantially in the form of Exhibit D hereto and the applicable Security
Documents or joinders or supplements thereto and deliver an Opinion of Counsel and Officer’s
Certificate required by this Indenture to the Trustee within 30 days of the date on which it was
acquired or created; provided that this Section 4.14 shall not be applicable to any Guarantee of
any Restricted Subsidiary of the Issuer that existed at the time such Person became a Restricted
Subsidiary of the Issuer and was not incurred in connection with, or in contemplation of, such
Person becoming a Restricted Subsidiary of the Issuer.

Section 4.15   Designation of Restricted and Unrestricted Subsidiaries.

                (a)     The Board of Directors of the Issuer may designate any Restricted
Subsidiary of the Issuer to be an Unrestricted Subsidiary if that designation would not cause a
Default. If a Restricted Subsidiary of the Issuer is designated as an Unrestricted Subsidiary, the
aggregate Fair Market Value of all outstanding Investments owned by the Issuer and its
Restricted Subsidiaries in the Subsidiary designated as an Unrestricted Subsidiary will be
deemed to be an Investment made as of the time of the designation and will reduce the amount
available for Restricted Payments under Section 4.05 hereof or under one or more clauses of the
definition of Permitted Investments, as determined by the Issuer. That designation will only be
permitted if the Investment would be permitted at that time and if the Restricted Subsidiary
otherwise meets the definition of an Unrestricted Subsidiary. The Board of Directors of the
Issuer may redesignate any Unrestricted Subsidiary to be a Restricted Subsidiary if that
redesignation would not cause a Default.

                (b)     Any designation of a Subsidiary of the Issuer as an Unrestricted
Subsidiary will be evidenced to the Trustee by filing with the Trustee a certified copy of a
resolution of the Board of Directors giving effect to such designation and an Officer’s Certificate
certifying that such designation complied with the preceding conditions and was permitted by
Section 4.05 hereof. If, at any time, any Unrestricted Subsidiary would fail to meet the preceding
requirements as an Unrestricted Subsidiary, it will thereafter cease to be an Unrestricted
Subsidiary for purposes of this Indenture and any Indebtedness of such Subsidiary will be
deemed to be incurred by a Restricted Subsidiary of the Issuer as of such date and, if such
Indebtedness is not permitted to be incurred as of such date under Section 4.07 hereof, the Issuer
will be in default of such covenant. The Board of Directors of the Issuer may at any time
designate any Unrestricted Subsidiary to be a Restricted Subsidiary of the Issuer; provided that
such designation will be deemed to be an incurrence of Indebtedness by a Restricted Subsidiary
of the Issuer of any outstanding Indebtedness of such Unrestricted Subsidiary, and such
designation will only be permitted if (1) (x) the Issuer could incur such Indebtedness pursuant to
Section 4.07(a) hereof, or (y) the Fixed Charge Coverage Ratio for the Issuer and its Restricted
Subsidiaries would be equal to or greater than such ratio for the Issuer and its Restricted
Subsidiaries immediately prior to such designation, in each case on a pro forma basis taking into
account such designation; and (2) no Default or Event of Default would be in existence
following such designation.


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Section 4.16   Changes in Covenants upon Notes being Rated Investment Grade.

                (a)     During any period of time and beginning on the day that (a) the Notes
have an Investment Grade Rating and (b) no Default or Event of Default has occurred and is
continuing under this Indenture, the Issuer and its Restricted Subsidiaries will not be subject to
the covenants contained in Sections 4.05, 4.06, 4.07, 4.08, 4.09, 4.14 (but only with respect to
any Person that is required to become a Guarantor after the commencement of the applicable
suspension date), 4.15 and 5.01(a)(4) (collectively, the “Suspended Covenants”) shall terminate.
If the Issuer and its Restricted Subsidiaries are not subject to these covenants for any period of
time as a result of the previous sentence (a “Fall−Away Period”) and, subsequently, the ratings
assigned to the Notes are withdrawn or downgraded so the Notes no longer have an Investment
Grade Rating or an Event of Default (other than with respect to a Suspended Covenant) occurs
and is continuing, then the Issuer and its Restricted Subsidiaries will thereafter again be subject
to these covenants. The ability of the Issuer and its Restricted Subsidiaries to make Restricted
Payments after the time of such withdrawal, downgrade or Event of Default will be calculated as
if the covenant governing Restricted Payments had been in effect during the entire period of time
from the Issue Date. Notwithstanding the foregoing, the continued existence after the end of the
Fall−Away Period of facts and circumstances or obligations arising from transactions that
occurred during a Fall−Away Period shall not constitute a breach of any covenant set forth in this
Indenture or cause an Event of Default hereunder. Promptly after the commencement of the
Fall-Away Period, the Issuer shall deliver to the Trustee an Officer’s Certificate certifying to
such event.

                (b)     Neither the Trustee nor any Agent shall have any liability or responsibility
with respect to, or obligation or duty to monitor, determine or inquire (i) as to the Issuer’s or any
Guarantor’s compliance with any covenant under this Indenture (other than the covenant to make
payment on the Notes), (ii) as to whether or not the rating of the Notes has been adjusted, or
(iii) as to whether or not a Fall−Away Period has occurred or is continuing.

Section 4.17   Further Assurances, Instruments and Acts.

                (a)    The Issuer shall execute and deliver such further instruments and do such
further acts as may be reasonably necessary or proper to carry out more effectively the purpose
of this Indenture.

               (b)      The Issuer and the Guarantors shall execute and deliver such additional
instruments, certificates or documents, and take all such actions as may be reasonably required
from time to time in order to:

               (1)     carry out more effectively the purposes of the Security Documents;

              (2)     create, grant, perfect and maintain the validity, effectiveness and priority
       of any of the Security Documents and the Liens created, or intended to be created, by the
       Security Documents; and

              (3)     ensure the protection and enforcement of any of the rights granted or
       intended to be granted to the Trustee under any other instrument executed in connection
       therewith.


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Section 4.18   Real Property.

                The Issuer shall notify the Collateral Agent in writing within 30 days after the
acquisition of any real property owned by the Issuer or any Guarantor that has a fair market
value in excess of $5,000,000 that is not subject to the existing Mortgages (the “After−Acquired
Real Property”), and, within 180 days after the acquisition of such owned real property, as such
date may be extended by the Collateral Agent, deliver to the Collateral Agent, with respect to
such owned real property, each of the documents described in Section 4.19 hereof (but excluding
the documents described in clause (h) thereof) and such other documents as may be reasonably
requested by the Collateral Agent to evidence the Liens contemplated by this Indenture and the
Mortgages.

Section 4.19   Post-Closing Matters.

                The Issuer and the Guarantors shall deliver to the Collateral Agent within 180
days after the Issue Date (or such longer period as the Collateral Agent shall agree), to the extent
not previously provided, each of the following documents with respect to the Notes Priority
Collateral, as appropriate:

               (a)     Mortgages. With respect to each Mortgaged Property, counterparts of a
Mortgage, together with the assignments of leases and rents referred to therein, in proper form
for recording in the appropriate recording office of the political subdivision where such
Mortgaged Property is located, duly executed and acknowledged by the Issuer or the applicable
Guarantor effective to create a valid and enforceable first-priority (with respect to Notes Priority
Collateral) mortgage Lien, subject to no Liens other than Permitted Liens, on each Mortgaged
Property, except to the extent such Mortgaged Property is located in a jurisdiction which imposes
mortgage recording taxes, intangible taxes, documentary taxes or other similar fees and charges,
the subject Mortgage shall only secure an amount equal to the fair market value of such
Mortgaged Property as reasonably determined, in good faith, by the Issuer and such other
instruments necessary to grant the interests purported to be granted by such Mortgage (and to
record such Mortgage in the appropriate recording offices) under the laws of any applicable
jurisdiction.

                (b)     Title Insurance. With respect to each Mortgage encumbering any
Mortgaged Property, a policy of title insurance (or commitment to issue such a policy) in an
amount not to exceed the fair market value of such Mortgaged Property as reasonably
determined, in good faith, by the Issuer (such policies collectively, the “Mortgage Policies”)
issued by any title insurance company (the “Title Company”), insuring (or committing to insure)
that such Mortgage constitutes a valid and enforceable first-priority (with respect to Notes
Priority Collateral) mortgage Lien on the respective Mortgaged Property, free and clear of all
Liens other than Permitted Liens, which Mortgage Policies shall (A) not include the general title
exception for mechanics’ liens and (B) provide for such affirmative insurance as the
Representative may reasonably request and which is available in the applicable jurisdiction at
commercially reasonable rates and (C) otherwise be in form and substance reasonably
satisfactory to the Representative.




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                (c)     Surveys. With respect to each Mortgaged Property, the Issuer shall deliver
all surveys as reasonably deemed necessary by the Representative certified to the Collateral
Agent for its benefit, for the benefit of the Trustee, for the benefit of the Holders and for the
benefit of the Title Company prepared by an independent professional licensed land surveyor or
an affidavit of “no change” executed by the Issuer with respect to any existing survey, sufficient
for the Title Company to delete the survey exception (if permitted in the relevant jurisdiction)
and issue a “same-as-survey” endorsement to the Mortgage Policies to the extent such
endorsement is available in the relevant jurisdiction at commercially reasonable rates.

                 (d)    Fixture Filings. With respect to each Mortgaged Property, to the extent the
Mortgages are not sufficient to qualify as a fixture filing under applicable laws of the
jurisdiction, a copy of a filed UCC-1 in the jurisdiction in which such Mortgaged Property is
located in order to perfect the Lien on and security interest in the fixtures encumbered by the
applicable Mortgage in favor of the Collateral Agent for its benefit and the benefit of the Trustee
and the Holders.

                (e)      Title Insurance Documents. With respect to each Mortgaged Property,
such affidavits, certificates, information and instruments as shall be reasonably and customarily
required to induce the Title Company to issue the Mortgage Policies.

              (f)      Collateral Fees and Expenses. Evidence of payment by the Issuer of all
search and examination charges, escrow charges and related charges, title insurance premiums,
filing, documentary, stamp, intangible and mortgage recording taxes, fees, charges, costs and
expenses required for the recording of the Mortgages, fixture filings and issuance of the
Mortgage Policies and endorsements required pursuant to clause (b) above.

                (g)    Real Estate Opinion Letter. The opinion of counsel to the Issuer in the
jurisdiction in which a Mortgaged Property is located, dated as of the date of the Mortgages and
addressed to the Representative, the Trustee and the Collateral Agent, in form and substance
reasonably satisfactory to the Representative, relating to the enforceability of the Mortgages.

Section 4.20   [Reserved].

Section 4.21   Limited Condition Transactions; Measuring Compliance.

                 (a)    With respect to any (i) Investment or acquisition, in each case, the
consummation by the Issuer or any Subsidiary of the Issuer of which is not conditioned on
availability of, or on obtaining, third-party financing for such Investment or acquisition (whether
by merger, amalgamation, consolidation or other business combination or the acquisition of
Capital Stock or otherwise) as applicable and (ii) redemption, repurchase, defeasance,
satisfaction and discharge or repayment of Indebtedness, Disqualified Stock or preferred stock
requiring irrevocable notice in advance of such redemption, repurchase, defeasance, satisfaction
and discharge or repayment (any transaction described in clauses (i) or (ii), a “Limited Condition
Transaction”), in each case for purposes of determining:

               (1)     whether any Indebtedness (including Acquired Debt), Disqualified Stock
       or preferred stock that is being incurred or issued in connection with such Limited
       Condition Transaction is permitted to be incurred in compliance with Section 4.07;


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        (2)    whether any Lien being incurred in connection with such Limited
Condition Transaction or to secure any such Indebtedness, Disqualified Stock or
preferred stock is permitted to be incurred in accordance with Section 4.10;

       (3)    whether any other transaction undertaken or proposed to be undertaken in
connection with such Limited Condition Transaction complies with the covenants or
agreements contained in this Indenture or the Notes; and

       (4)      any calculation of the Fixed Charge Coverage Ratio, Net Leverage Ratio,
Senior Secured Net Leverage Ratio, Net Income, Consolidated Net Income, and/or
Consolidated Adjusted EBITDA and/or Total Assets and, whether a Default or Event of
Default exists in connection with the foregoing,

at the option of the Issuer, the date that the definitive agreement (or other relevant
definitive documentation) for such Limited Condition Transaction is entered into (the
“Transaction Agreement Date”) may be used as the applicable date of determination, as
the case may be, in each case with such pro forma adjustments as are appropriate and
consistent with the pro forma adjustment provisions set forth in the definition of “Fixed
Charge Coverage Ratio” or “Net Leverage Ratio” or “Senior Secured Net Leverage
Ratio” or “Consolidated Adjusted EBITDA” and if the Issuer or the Restricted
Subsidiaries could have taken such action on the relevant Transaction Agreement Date in
compliance with the applicable ratios or other provisions, such provisions shall be
deemed to have been complied with. For the avoidance of doubt, if the Issuer elects to
use the Transaction Agreement Date as the applicable date of determination in
accordance with the foregoing, (a) such election may not be revoked, (b) any fluctuation
or change in the Fixed Charge Coverage Ratio, Net Leverage Ratio, Senior Secured Net
Leverage Ratio, Net Income, Consolidated Net Income, Consolidated Adjusted EBITDA
or Total Assets of the Issuer, the target business, or assets to be acquired subsequent to
the Transaction Agreement Date and prior to the consummation of such Limited
Condition Transaction, will not be taken into account for purposes of determining
whether any Indebtedness, Disqualified Stock, preferred stock or Lien that is being
incurred or issued in connection with such Limited Condition Transaction is permitted to
be incurred or issued or in connection with compliance by the Issuer or any of the
Restricted Subsidiaries with any other provision of this Indenture or the Notes or any
other action or transaction undertaken in connection with such Limited Condition
Transaction and (c) until such Limited Condition Transaction is consummated or the
definitive agreements related thereto are terminated, such Limited Condition Transaction
and all transactions proposed to be undertaken in connection therewith (including the
incurrence of Indebtedness and Liens) will be given pro forma effect when determining
compliance of other transactions (including the incurrence or issuance of Indebtedness,
Disqualified Stock, preferred stock and Liens unrelated to such Investment, acquisition or
repayment, repurchase or refinancing of Indebtedness) that are consummated after the
Transaction Agreement Date and on or prior to the consummation of such Limited
Condition Transaction and any such transactions (including any incurrence or issuance of
Indebtedness, Disqualified Stock or preferred stock and the use of proceeds thereof) will
be deemed to have occurred on the Transaction Agreement Date and outstanding
thereafter for purposes of calculating any baskets or ratios under this Indenture after the


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       date of such agreement and before the consummation of such Limited Condition
       Transaction; provided that for purposes of any such calculation of the Fixed Charge
       Coverage Ratio, consolidated interest expense will be calculated using an assumed
       interest rate for the Indebtedness to be incurred in connection with such Limited
       Condition Transaction based on the indicative interest margin contained in any financing
       commitment documentation with respect to such Indebtedness or, if no such indicative
       interest margin exists, as reasonably determined by the Issuer in good faith.

              (b)     Compliance with any requirement relating to absence of Default or Event
of Default may be determined as of the Transaction Agreement Date and not as of any later date
as would otherwise be required under this Indenture.

                (c)     In the event an item of Indebtedness, Disqualified Stock or preferred stock
(or any portion thereof) is incurred or issued or other transaction is undertaken on the same date
that any other item of Indebtedness, Disqualified Stock or preferred stock (or any portion
thereof) is incurred or issued, any other Lien is incurred or other transaction is undertaken, then
the Fixed Charge Coverage Ratio will be calculated with respect to such incurrence, issuance or
other transaction without regard to any other incurrence, issuance or transaction. Each item of
Indebtedness, Disqualified Stock or preferred stock that is incurred or issued and each other
transaction undertaken will be deemed to have been incurred, issued or taken first, to the extent
available, pursuant to the relevant Fixed Charge Coverage Ratio test.



                                              ARTICLE 5

                                            SUCCESSORS

Section 5.01   Consolidation, Amalgamation, Merger, or Sale of Assets.

                (a)     The Issuer will not, directly or indirectly: (i) consolidate, amalgamate or
merge with or into another Person; or (ii) sell, assign, transfer, convey or otherwise dispose of
(including by way of division) all or substantially all of the Issuer’s properties or assets
(determined on a consolidated basis for the Issuer and its Restricted Subsidiaries) in one or more
related transactions to another Person, unless:

               (1)     either:

                       (A)       the Issuer is the surviving entity; or

                       (B)    the Person formed by or surviving any such consolidation or
               merger (if other than the Issuer) or to which such sale, assignment, transfer,
               conveyance or other disposition has been made is a corporation, partnership
               (including a master limited partnership) or limited liability company organized or
               existing under the laws of the United States, any state of the United States or the
               District of Columbia;




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        (2)     the Person formed by or surviving any such consolidation or merger (if
other than the Issuer) or the Person to which such sale, assignment, transfer, conveyance
or other disposition has been made assumes all the obligations of the Issuer under the
Notes, this Indenture and the Security Documents pursuant a supplemental indenture and
amendments to the Security Documents;

       (3)     immediately after such transaction, no Default or Event of Default exists;

       (4)     either:

               (A)    the Issuer or the Person formed by or surviving any such
       consolidation or merger (if other than the Issuer), or to which such sale,
       assignment, transfer, conveyance or other disposition has been made would, on
       the date of such transaction after giving pro forma effect thereto and any related
       financing transactions as if the same had occurred at the beginning of the
       applicable four−quarter period be permitted to incur at least $1.00 of additional
       Indebtedness pursuant to Section 4.07(a) hereof; or

               (B)   the Fixed Charge Coverage Ratio for the successor entity and its
       Restricted Subsidiaries would not be less than such ratio for the Issuer and its
       Restricted Subsidiaries immediately prior to such transaction;

        (5)     the successor entity causes such amendments, supplements or other
instruments to be executed, delivered, filed and recorded, as applicable, in such
jurisdictions as may be required by applicable law to preserve and protect the Lien of the
Security Documents on the Collateral owned by or transferred to the successor entity;

        (6)     the Collateral owned by or transferred to the successor entity shall
(a) continue to constitute Collateral under this Indenture and the Security Documents,
(b) be subject to the Lien in favor of the Collateral Agent for the benefit of the Trustee
and the Holders, and (c) not be subject to any Lien other than Permitted Liens; and

        (7)     the property and assets of the Person which is merged or consolidated with
or into the successor entity, to the extent that they are property or assets of the types
which would constitute Collateral under the Security Documents, shall be treated as
after-acquired property and the successor entity shall take such action as may be
reasonably necessary to cause such property and assets to be made subject to the Lien of
the Security Documents in the manner and to the extent required in this Indenture; and

       (8)     the Issuer has delivered to the Trustee an Officer’s Certificate and an
Opinion of Counsel, each stating that such consolidation, amalgamation, merger, sale,
assignment, transfer, conveyance or other disposition and such supplemental indenture
and amendments comply with this Indenture and the Security Documents and that all
conditions precedent therein provided for relating to such transaction have been complied
with.




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                (b)     The Issuer shall not, directly or indirectly, lease all or substantially all of
the properties and assets of it and its Restricted Subsidiaries taken as a whole, in one or more
related transactions, to any other Person.

                (c)     This Section 5.01 will not apply to:

               (1)     a merger of the Issuer with an Affiliate solely for the purpose of
        reincorporating the Issuer under the laws of Canada or any province or territory thereof or
        the United States, any state of the United States or the District of Columbia; and

                (2)    any consolidation, amalgamation, merger, or any sale, assignment,
        transfer, conveyance, lease or other disposition of assets between or among the Issuer and
        any Guarantor.

Section 5.02    Successor Substituted.

                 Upon any consolidation or merger, or any sale, assignment, transfer, lease,
conveyance or other disposition of all or substantially all of the properties or assets of the Issuer,
in a transaction that is subject to, and that complies with the provisions of, Section 5.01 hereof,
the successor Person formed by such consolidation or into or with which the Issuer is merged or
to which such sale, assignment, transfer, lease, conveyance or other disposition is made shall
succeed to, and be substituted for (so that from and after the date of such consolidation, merger,
sale, assignment, transfer, lease, conveyance or other disposition, the provisions of this Indenture
referring to the “Issuer” shall refer instead to the successor Person and not to the Issuer), and
may exercise every right and power of the Issuer under this Indenture with the same effect as if
such successor Person had been named as the Issuer herein; provided, however, that the Issuer
shall not be relieved from the obligation to pay the principal of and interest on the Notes except
in the case of a sale of all or substantially all of the Issuer’s properties or assets in a transaction
that is subject to, and that complies with the provisions of, Section 5.01 hereof.

Section 5.03    Evidence to Be Given to Trustee.

               No consolidation, merger, sale, conveyance, transfer or lease shall be effective
unless the Trustee shall receive an Officer’s Certificate and an Opinion of Counsel as conclusive
evidence that any such consolidation, merger, sale, conveyance, transfer or lease and any such
assumption and, if a supplemental indenture is required in connection with such transaction, such
supplemental indenture, complies with the provisions of this Article 5.

                                              ARTICLE 6

                                   DEFAULTS AND REMEDIES

Section 6.01    Events of Default and Remedies.

                Each of the following is an “Event of Default”:

                (1)     default for 30 days in the payment when due of interest on the Notes;



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       (2)     default in the payment when due (at maturity, upon redemption or
otherwise) of the principal of, or premium, if any, on, the Notes;

       (3)     failure by the Issuer or any of the Issuer’s Restricted Subsidiaries for 60
days (or 180 days in the case of a Reporting Failure) after notice to the Issuer by the
Trustee or the Holders of at least 25% in aggregate principal amount of the Notes then
outstanding voting as a single class to comply with any of the other agreements in this
Indenture or the Security Documents;

        (4)    default under any mortgage, indenture or instrument under which there
may be issued or by which there may be secured or evidenced any Indebtedness for
money borrowed by the Issuer or any of the Issuer’s Restricted Subsidiaries that are
Significant Subsidiaries or any group of the Issuer’s Restricted Subsidiaries that taken as
a whole would constitute a Significant Subsidiary of the Issuer (or the payment of which
is guaranteed by the Issuer or any of the Issuer’s Restricted Subsidiaries), whether such
Indebtedness or Guarantee now exists, or is created after the Issue Date (but excluding
Indebtedness owing to the Issuer or a Restricted Subsidiary of the Issuer), if that default:

              (A)     is caused by a failure to pay principal on such Indebtedness prior to
       the expiration of the grace period provided in such Indebtedness following the
       Stated Maturity of such Indebtedness (a “Payment Default”); or

               (B)    results in the acceleration of such Indebtedness prior to its Stated
       Maturity, and, in each case, the principal amount of any such Indebtedness,
       together with the principal amount of any other such Indebtedness under which
       there has been a Payment Default or the maturity of which has been so
       accelerated, aggregates $35.0 million or more;

        (5)    failure by the Issuer or any of the Issuer’s Restricted Subsidiaries that are
Significant Subsidiaries, or any group of the Issuer’s Restricted Subsidiaries that taken as
a whole would constitute a Significant Subsidiary, to pay final and non−appealable
judgments entered by a court or courts of competent jurisdiction aggregating in excess of
$35.0 million (net of any amounts which are covered by insurance or bonded), which
judgments are not paid, waived, satisfied, discharged or stayed for a period of 60 days;

        (6)     the Issuer or any of the Issuer’s Restricted Subsidiaries that is a Significant
Subsidiary or any group of the Issuer’s Restricted Subsidiaries that, taken together, would
constitute a Significant Subsidiary pursuant to or within the meaning of Bankruptcy Law:

               (A)     commences a voluntary case, or proceeding (including the filing of
       a notice of intention in respect thereof),

              (B)     consents to the entry of an order for relief against it in an
       involuntary case or proceeding,

              (C)   consents to the appointment of a custodian, receiver,
       receiver−manager, administrative receiver, administrator, liquidator, trustee,



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       liquidation custodian, sequestrator, conservator, or similar official of it or for all
       or substantially all of its property, or

               (D)     makes a general assignment for the benefit of its creditors.

      (7)    a court of competent jurisdiction enters an order or decree under any
Bankruptcy Law that:

              (A)     is for relief against the Issuer or any of the Issuer’s Restricted
       Subsidiaries that is a Significant Subsidiary or any group of the Issuer’s Restricted
       Subsidiaries that, taken together, would constitute a Significant Subsidiary in an
       involuntary case or proceeding;

                (B)    appoints a custodian, receiver, receiver−manager, administrative
       receiver, administrator, liquidator, trustee, liquidation custodian, sequestrator,
       conservator, or similar official of the Issuer or any of the Issuer’s Restricted
       Subsidiaries that is a Significant Subsidiary or any group of the Issuer’s Restricted
       Subsidiaries that, taken together, would constitute a Significant Subsidiary or for
       all or substantially all of the property of the Issuer or any of the Issuer’s
       Restricted Subsidiaries that is a Significant Subsidiary or any group of the Issuer’s
       Restricted Subsidiaries that, taken together, would constitute a Significant
       Subsidiary; or

               (C)    orders the liquidation, winding up, or dissolution or a suspension
       of payments against the Issuer or any of the Issuer’s Restricted Subsidiaries that is
       a Significant Subsidiary or any group of the Issuer’s Restricted Subsidiaries that,
       taken together, would constitute a Significant Subsidiary;

and the order or decree remains unstayed and in effect for 60 consecutive days;

        (8)     except as permitted by this Indenture, any Note Guarantee of any
Restricted Subsidiary of the Issuer that is a Significant Subsidiary or any group of the
Issuer’s Restricted Subsidiaries that taken as a whole would constitute a Significant
Subsidiary of the Issuer is held in any judicial proceeding to be unenforceable or invalid
or ceases for any reason to be in full force and effect (other than in accordance with the
terms of such Note Guarantee and this Indenture), or any Guarantor, or any Person acting
on behalf of any such Guarantor, denies or disaffirms its obligations under its Note
Guarantee and such Default continues for ten days;

         (9)     any (x) Security Document governing a security interest with respect to
any Collateral having a Fair Market Value in excess of $35.0 million or (y) obligation
under the Security Documents of the Issuer or any of the Issuer’s Restricted Subsidiaries
that is a Significant Subsidiary or any group of Restricted Subsidiaries of the Issuer that,
taken together as of the latest audited consolidated financial statements for the Issuer and
its Restricted Subsidiaries would constitute a Significant Subsidiary ceases to be in full
force and effect (except as contemplated by the terms of this Indenture and the Note
Guarantees and except for the failure of any security interest with respect to the Collateral
to remain in full force and effect, which is governed by clause (10) below) or is declared


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       null and void in a judicial proceeding or the Issuer or any Guarantor that is a Significant
       Subsidiary or group of Guarantors that taken together as of the latest audited consolidated
       financial statements of the Issuer and its Restricted Subsidiaries would constitute a
       Significant Subsidiary denies or disaffirms its obligations under this Indenture, its Note
       Guarantee or any Security Document and the Issuer fails to cause such Guarantor or
       Guarantors, as the case may be, to rescind such denials or disaffirmations within 60 days;

               (10) with respect to any Collateral having a Fair Market Value in excess of
       $35.0 million, individually or in the aggregate, (A) the failure of the security interest with
       respect to such Collateral under the Security Documents, at any time, to be in full force
       and effect for any reason other than in accordance with their terms and the terms of this
       Indenture and other than the satisfaction in full of all obligations under this Indenture and
       discharge of this Indenture if such failure continues for 60 days or (B) the declaration that
       the security interest with respect to such Collateral created under the Security Documents
       or under this Indenture is invalid or unenforceable, if such Default continues for 60 days
       or (C) the assertion by the Issuer or any Guarantor, in any pleading in any court of
       competent jurisdiction, that any such security interest is invalid or unenforceable.

Section 6.02   Acceleration.

                (a)    In the case of an Event of Default specified in clause (6) or (7) of
Section 6.01 hereof, with respect to the Issuer or any Restricted Subsidiary of the Issuer that is a
Significant Subsidiary or any group of Restricted Subsidiaries of the Issuer that, taken together,
would constitute a Significant Subsidiary, all outstanding Notes will become due and payable
immediately without further action or notice. If any other Event of Default occurs and is
continuing, the Trustee or the Holders of at least 25% in aggregate principal amount of the then
outstanding Notes may declare all the Notes to be due and payable immediately. Upon any such
declaration, the Notes shall become due and payable immediately.

                (b)    In the event of any Event of Default specified in clause (4) of
Section 6.01, such Event of Default and all consequences thereof (excluding, however, any
resulting payment default) will be annulled, waived and rescinded, automatically and without
any action by the Trustee or the Holders, if within 20 days after such Event of Default arose the
Issuer delivers an Officer’s Certificate to the Trustee stating that (x) the Indebtedness or
Guarantee that is the basis for such Event of Default has been discharged or (y) the holders
thereof have rescinded or waived the acceleration, notice or action (as the case may be) giving
rise to such Event of Default or (z) the default that is the basis for such Event of Default has been
cured, it being understood that in no event shall an acceleration of the principal amount of the
Notes as described in this Section 6.02 be annulled, waived or rescinded upon the happening of
any such events.

Section 6.03   Other Remedies.

               (a)    If an Event of Default occurs and is continuing, the Trustee may pursue
any available remedy to collect the payment of principal, premium and interest on the Notes or to
enforce the performance of any provision of the Notes, Note Guarantees or this Indenture,




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including giving instructions to the Collateral Agent to take enforcement action in accordance
with the terms of the Security Documents.

               (b)     The Trustee may maintain a proceeding even if it does not possess any of
the Notes or does not produce any of them in the proceeding. A delay or omission by the Trustee
or any Holder in exercising any right or remedy accruing upon an Event of Default shall not
impair the right or remedy or constitute a waiver of or acquiescence in the Event of Default. All
remedies are cumulative to the extent permitted by law.

Section 6.04      Waiver of Past Defaults.

                Holders of not less than a majority in aggregate principal amount of the then
outstanding Notes by written notice to the Trustee may, on behalf of the Holders of all of the
Notes, rescind an acceleration or waive an existing Default or Event of Default and its
consequences hereunder except a continuing Default or Event of Default in the payment of
interest or premium on, or the principal of, the Notes. Upon any such rescission or waiver, such
Default shall cease to exist, and any Event of Default arising therefrom shall be deemed to have
been cured for every purpose of this Indenture; but no such waiver shall extend to any
subsequent or other Default or impair any right consequent thereon.

Section 6.05      Control by Majority.

                Holders of a majority in aggregate principal amount of the then outstanding Notes
may direct the time, method and place of conducting any proceeding for exercising any remedy
available to the Trustee or exercising any trust or power conferred on it. However, the Trustee
may refuse to follow any direction that conflicts with law or this Indenture that the Trustee
determines may be unduly prejudicial to the rights of other Holders or that may involve the
Trustee in personal liability.

Section 6.06      Limitation on Suits.

                  (a)     A Holder may pursue a remedy with respect to this Indenture or the Notes
only if:

                  (1)      such Holder has previously given the Trustee written notice that an Event
           of Default is continuing;

                  (2)    Holders of at least 25% in aggregate principal amount of the then
           outstanding Notes have requested the Trustee in writing to pursue the remedy;

                   (3)     such Holder or Holders offer and, if requested, provide to the Trustee
           security or indemnity satisfactory to the Trustee against any loss, liability or expense;

                   (4)     the Trustee does not comply with the request within 60 days after receipt
           of the request and the offer of security or indemnity; and




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              (5)     during such 60−day period, Holders of a majority in aggregate principal
       amount of the then outstanding Notes do not give the Trustee a written direction
       inconsistent with such request.

               (b)     A Holder may not use this Indenture to prejudice the rights of another
Holder or to obtain a preference or priority over another Holder.

Section 6.07   Rights of Holders to Receive Payment.

                Notwithstanding any other provision of this Indenture, the contractual right of any
Holder to bring suit for the payment of principal, premium, if any, and interest on its Note, on or
after the respective due dates expressed or provided for in such Note , shall not be amended
without the consent of such Holder.

Section 6.08   Collection Suit by Trustee.

                If an Event of Default specified in clauses (1) or (2) of Section 6.01 hereof occurs
and is continuing, the Trustee is authorized to recover judgment in its own name and as trustee of
an express trust against the Issuer for the whole amount of principal of, premium, if any, and
interest remaining unpaid on, the Notes and interest on overdue principal and, to the extent
lawful, interest and such further amount as shall be sufficient to cover the costs and expenses of
collection, including the reasonable compensation, expenses, disbursements and advances of the
Trustee, its agents and counsel.

Section 6.09   Trustee or Collateral Agent May File Proofs of Claim.

                The Trustee or the Collateral Agent is authorized to file such proofs of claim and
other papers or documents as may be necessary or advisable in order to have the claims of the
Trustee or the Collateral Agent (including any claim for the compensation, expenses,
disbursements and advances of the Trustee or the Collateral Agent, their agents and counsel) and
the Holders allowed in any judicial proceedings relative to the Issuer (or any other obligor upon
the Notes), its creditors or its property and shall be entitled and empowered to collect, receive
and distribute any money or other property payable or deliverable on any such claims and any
custodian in any such judicial proceeding is hereby authorized by each Holder to make such
payments to the Trustee or the Collateral Agent, and in the event that the Trustee shall consent to
the making of such payments directly to the Holders, to pay to the Trustee or the Collateral
Agent any amount due to it for the reasonable and documented compensation, expenses,
disbursements and advances of the Trustee or the Collateral Agent, their agents and counsel, and
any other amounts due the Trustee or the Collateral Agent under Section 7.07 hereof. To the
extent that the payment of any such compensation, expenses, disbursements and advances of the
Trustee or the Collateral Agent, their agents and counsel, and any other amounts due the Trustee
under Section 7.07 hereof out of the estate in any such proceeding, shall be denied for any
reason, payment of the same shall be secured by a Lien on, and shall be paid out of, any and all
distributions, dividends, money, securities and other properties that the Holders may be entitled
to receive in such proceeding whether in liquidation or under any plan of reorganization or
arrangement or otherwise. Nothing herein contained shall be deemed to authorize the Trustee or
the Collateral Agent to authorize or consent to or accept or adopt on behalf of any Holder any



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plan of reorganization, arrangement, adjustment or composition affecting the Notes or the rights
of any Holder, or to authorize the Trustee or the Collateral Agent to vote in respect of the claim
of any Holder in any such proceeding.

Section 6.10   Priorities.

                (a)     If the Trustee collects any money pursuant to this Article 6, it shall,
subject to the Intercreditor Agreement (to the extent applicable), pay out the money in the
following order:

               First: to the Trustee, the Collateral Agent, and each of their respective agents and
attorneys for amounts due under Section 7.07 hereof, including payment of all compensation,
expenses and liabilities incurred, and all advances made, by the Trustee and the Collateral Agent
and the costs and expenses of collection;

             Second: to Holders for amounts due and unpaid on the Notes for principal,
premium and interest, ratably, without preference or priority of any kind, according to the
amounts due and payable on the Notes for principal, premium and interest, respectively; and

                Third: to the Issuer or to such party as a court of competent jurisdiction shall
direct in writing.

              (b)     The Trustee may fix a record date and payment date for any payment to
Holders pursuant to this Section 6.10.

Section 6.11   Undertaking for Costs.

                 In any suit for the enforcement of any right or remedy under this Indenture or in
any suit against the Trustee or the Collateral Agent for any action taken or omitted by it as a
Trustee or the Collateral Agent, a court in its discretion may require the filing by any party
litigant in the suit of an undertaking to pay the costs of the suit, and the court in its discretion
may assess reasonable costs, including reasonable attorneys’ fees and expenses against any party
litigant in the suit, having due regard to the merits and good faith of the claims or defenses made
by the party litigant. This Section 6.11 does not apply to a suit by the Trustee or the Collateral
Agent, a suit by a Holder pursuant to Section 6.07 hereof, or a suit by Holders of more than 10%
in aggregate principal amount of the then outstanding Notes.

                                            ARTICLE 7

                                             TRUSTEE

Section 7.01   Duties of Trustee.

                (a)      If an Event of Default has occurred and is continuing, the Trustee will
exercise such of the rights and powers vested in it by this Indenture, and use the same degree of
care and skill in its exercise, as a prudent person would exercise or use under the circumstances
in the conduct of such person’s own affairs.



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               (b)    Except during the continuance of an Event of Default:

               (1)     the duties of the Trustee will be determined solely by the express
       provisions of this Indenture and the Trustee need perform only those duties that are
       specifically set forth in this Indenture and no others, and no implied covenants or
       obligations shall be read into this Indenture against the Trustee; and

                (2)     in the absence of bad faith on its part, the Trustee may conclusively rely,
       as to the truth of the statements and the correctness of the opinions expressed therein,
       upon certificates or opinions furnished to the Trustee and conforming to the requirements
       of this Indenture. However, with respect to certificates or opinions specifically required
       by any provision hereof to be furnished to it, the Trustee will examine the certificates and
       opinions to determine whether or not they conform to the requirements of this Indenture
       (but need not confirm or investigate the accuracy of mathematical calculations or other
       facts stated therein).

                (c)    The Trustee may not be relieved from liabilities for its own negligent
action, its own negligent failure to act, or its own willful misconduct, except that:

               (1)    this Section 7.01(c) does not limit the effect of Section 7.01(b);

               (2)    the Trustee will not be liable for any error of judgment made in good faith
       by a Responsible Officer, unless it is proved that the Trustee was negligent in
       ascertaining the pertinent facts; and

               (3)    the Trustee will not be liable with respect to any action it takes or omits to
       take in good faith in accordance with a direction received by it pursuant to Sections 6.04
       and 6.05 hereof, relating to the time, method and place of conducting any proceeding for
       any remedy available to the Trustee, or exercising any trust or power conferred upon the
       Trustee, under this Indenture with respect to the Notes.

              (d)    No provision of this Indenture will require the Trustee to expend or risk its
own funds or incur any liability.

                (e)    The Trustee will not be liable for interest on or the investment of any
money received by it except as the Trustee may agree in writing with the Issuer. Money held in
trust by the Trustee need not be segregated from other funds except to the extent required by law.

                (f)    Whether or not therein expressly so provided, every provision of this
Indenture that in any way relates to the Trustee is subject to Section 7.01.

Section 7.02   Rights of Trustee.

                (a)     The Trustee may conclusively rely and shall be fully protected in acting or
refraining from acting upon any resolution, certificate, statement, instrument, opinion, report,
notice, request, direction, consent, order, bond, debenture, note, other evidence of indebtedness
or other paper or document believed by it to be genuine and to have been signed or presented by
the proper Person.


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                (b)    Before the Trustee acts or refrains from acting, it may require an Officer’s
Certificate or an Opinion of Counsel or both. The Trustee will not be liable for any action it takes
or omits to take in good faith in reliance on such Officer’s Certificate or Opinion of Counsel. The
Trustee may consult with counsel of its own selection and the advice of such counsel or any
Opinion of Counsel will be full and complete authorization and protection from liability in
respect of any action taken, suffered or omitted by it hereunder in good faith and in reliance
thereon.

               (c)     The Trustee may act through its attorneys and agents and will not be
responsible for the misconduct, negligence or failure to act of any attorney or agent appointed
with due care.

               (d)      The Trustee will not be liable for any action it takes, suffers or omits to
take in good faith that it believes to be authorized or within the discretion or rights or powers
conferred upon it by this Indenture.

                (e)    Unless otherwise specifically provided in this Indenture, any demand,
request, direction or notice from the Issuer or any Guarantor, as applicable, will be sufficient if
signed by an Officer of the Issuer or such Guarantor, as applicable.

                 (f)     The Trustee will be under no obligation to exercise any of the rights or
powers vested in it by this Indenture or the Security Documents at the request or direction of any
of the Holders unless such Holders have offered to the Trustee indemnity or security satisfactory
to it against the losses, liabilities and expenses that might be incurred by it in compliance with
such request or direction.

                 (g)     In no event shall the Trustee be responsible or liable for special, indirect,
punitive, or consequential loss or damage of any kind whatsoever (including, but not limited to,
loss of profit) irrespective of whether the Trustee has been advised of the likelihood of such loss
or damage and regardless of the form of action.

               (h)     The Trustee shall not be deemed to have notice of any Default or Event of
Default unless a Responsible Officer of the Trustee has actual knowledge thereof or unless
written notice of any event which is in fact such a default is received by the Trustee at the
Corporate Trust Office of the Trustee, and such notice references the Notes and this Indenture.

               (i)     The rights, privileges, protections, immunities and benefits given to the
Trustee, including, without limitation, its right to be indemnified, are extended to, and shall be
enforceable by, the Trustee in each of its capacities hereunder as Collateral Agent, Registrar and
Paying Agent, and each Agent, custodian and other Person employed to act hereunder.

               (j)      The Trustee may request that the Issuer and each Guarantor deliver an
Officer’s Certificate setting forth the names of individuals and/or titles of Officers authorized at
such time to take specified actions pursuant to this Indenture, which Officer’s Certificate may be
signed by any Person authorized to sign an Officer’s Certificate, including any Person specified
as so authorized in any such certificate previously delivered and not superseded.




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                 (k)    Notwithstanding any provision herein to the contrary, in no event shall the
Trustee be liable for any failure or delay in the performance of its obligations under this
Indenture because of circumstances beyond its control, including, but not limited to, nuclear or
natural catastrophes or acts of God, flood, war (whether declared or undeclared), terrorism, fire,
riot, strikes or work stoppages for any reason, embargo, government action, including any laws,
ordinances, regulations or the like which restrict or prohibit the providing of the services
contemplated by this Indenture, inability to obtain material, equipment, or communications or
computer (software and hardware) facilities, or the failure of equipment or interruption of
utilities, communications or computer (software and hardware) facilities, and other causes
beyond its control whether or not of the same class or kind as specifically named above.

                (l)     The Trustee shall not be bound to make any investigation into the facts or
matters stated in any resolution, certificate, statement, instrument, opinion, report, notice,
request, direction, consent, order, bond, debenture, note, other evidence of indebtedness or other
paper or document, but the Trustee, in its discretion, may make such further inquiry or
investigation into such facts or matters as it may see fit, and, if the Trustee shall determine to
make such further inquiry or investigation, it shall be entitled to examine the books, records and
premises of the Issuer, personally or by agent or attorney at the sole cost of the Issuer and shall
incur no liability or additional liability of any kind by reason of such inquiry or investigation.

              (m)      The Trustee shall not be required to give any bond or surety in respect of
the performance of its powers and duties hereunder.

Section 7.03   Individual Rights of Trustee.

                The Trustee in its individual or any other capacity may become the owner or
pledgee of Notes and may otherwise deal with either Issuer or any Guarantor or any Affiliate of
either Issuer or any Guarantor with the same rights it would have if it were not Trustee.
However, in the event that the Trustee acquires any conflicting interest it must (i) eliminate such
conflict within 90 days or (ii) resign. Any Agent may do the same with like rights and duties.
The Trustee is also subject to Section 7.10 hereof.

Section 7.04   Trustee’s Disclaimer.

                 The Trustee will not be responsible for and makes no representation as to the
validity or adequacy of any offering materials, this Indenture, the Notes or any Note Guarantee,
it shall not be accountable for the Issuer’s use of the proceeds from the Notes or any money paid
to the Issuer or upon the Issuer’s direction under any provision of this Indenture, it will not be
responsible for the use or application of any money received by any Paying Agent other than the
Trustee, and it will not be responsible for any statement or recital herein or any statement in the
Notes, any Note Guarantee or any other document in connection with the sale of the Notes or
pursuant to this Indenture other than its certificate of authentication.

Section 7.05   Notice of Defaults.

               If a Default or Event of Default occurs and is continuing and if it is known to the
Trustee, the Trustee will mail or otherwise deliver in accordance with the applicable procedures
of DTC, to Holders a notice of the Default or Event of Default within 90 days after it occurs.


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Except in the case of a Default or Event of Default in payment of principal of, premium, if any,
or interest on, any Note, the Trustee may and shall be protected in withholding the notice if and
so long as it in good faith determines that withholding the notice is in the interests of the
Holders.

Section 7.06   [Reserved].

Section 7.07   Compensation and Indemnity.

               (a)      The Issuer will pay to each of the Trustee and the Collateral Agent from
time to time such compensation, as agreed in writing from time to time, for its acceptance and
administration of this Indenture, the Intercreditor Agreement and/or the other the Security
Documents and services hereunder. The Trustee’s and the Collateral Agent’s compensation will
not be limited by any law on compensation of a trustee of an express trust. The Issuer will
reimburse each of the Trustee and the Collateral Agent promptly upon request for all reasonable
and documented disbursements, advances and expenses incurred or made by it in addition to the
compensation for its services. Such expenses will include the reasonable and documented
compensation, disbursements and expenses of each of the Trustee’s and the Collateral Agent’s
agents and counsel.

                 (b)       The Issuer and each Guarantor, jointly and severally, will indemnify each
of the Trustee and the Collateral Agent and hold each of them harmless from and against any and
all losses, liabilities, claims, damages, costs or expenses incurred by it arising out of or in
connection with the acceptance or administration of its duties or the exercise of its rights under
this Indenture, the Intercreditor Agreement and/or the other the Security Documents, including
the reasonable and documented costs and expenses of enforcing this Indenture, the Intercreditor
Agreement and/or the other the Security Documents against the Issuer and the Guarantors
(including this Section 7.07) and defending itself against any claim (whether asserted by the
Issuer, the Guarantors, any Holder or any other Person) or liability in connection with the
exercise or performance of any of its powers or duties hereunder, except to the extent any such
loss, liability or expense is the result of its own gross negligence or willful misconduct. The
Trustee or the Collateral Agent, as the case may be, will notify the Issuer promptly of any claim
of which it or a Responsible Officer has received written notice for which it may seek indemnity.
Failure by the Trustee or the Collateral Agent, as the case may be, to so notify the Issuer will not
relieve the Issuer or any of the Guarantors of their obligations hereunder.

                (c)     The obligations of the Issuer and the Guarantors under this Section 7.07
will survive the satisfaction and discharge of this Indenture, the payment of the Notes and/or the
resignation or removal of the Trustee or the Collateral Agent.

               (d)     To secure the Issuer’s and the Guarantors’ payment obligations in this
Section 7.07, each of the Trustee and the Collateral Agent will have a Lien prior to the Notes on
all money or property held or collected by the Trustee, except that held in trust to pay principal
and interest on particular Notes. Such Lien will survive the satisfaction and discharge of this
Indenture, the payment of the Notes and/or the resignation or removal of the Trustee or the
Collateral Agent.




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                (e)    When the Trustee or the Collateral Agent incurs expenses or renders
services after an Event of Default specified in clause (6) or (7) of Section 6.01 hereof occurs, the
expenses and the compensation for the services (including the fees and expenses of its agents and
counsel) are intended to constitute expenses of administration under any Bankruptcy Law.

Section 7.08   Replacement of Trustee.

               (a)     A resignation or removal of the Trustee and appointment of a successor
Trustee will become effective only upon the successor Trustee’s acceptance of appointment as
provided in this Section 7.08.

               (b)     The Trustee may resign at any time and be discharged from the trust
hereby created by so notifying the Issuer in writing. The Holders of a majority in aggregate
principal amount of the then outstanding Notes may remove the Trustee by so notifying the
Trustee and the Issuer in writing not less than 30 days prior to the effective date of such removal.
The Issuer may remove the Trustee if:

               (1)     the Trustee fails to comply with Section 7.10 hereof;

              (2)     the Trustee is adjudged a bankrupt or an insolvent or an order for relief is
       entered with respect to the Trustee under any Bankruptcy Law;

               (3)     a custodian or public officer takes charge of the Trustee or its property; or

               (4)     the Trustee becomes incapable of acting.

                (c)    If the Trustee resigns or is removed or if a vacancy exists in the office of
Trustee for any reason, the Issuer will promptly appoint a successor Trustee. Within one year
after the successor Trustee takes office, the Holders of a majority in aggregate principal amount
of the then outstanding Notes may appoint a successor Trustee to replace the successor Trustee
appointed by the Issuer.

                (d)     If a successor Trustee does not take office within 30 days after the retiring
Trustee resigns or is removed, the retiring or removed Trustee, the Issuer, or the Holders of at
least 10% in aggregate principal amount of the then outstanding Notes may, at the expense of the
Issuer, petition any court of competent jurisdiction for the appointment of a successor Trustee.

                 (e)    If the Trustee, after written request by any Holder who has been a Holder
for at least six months, fails to comply with Section 7.10 hereof, such Holder may petition at the
expense of the Issuer any court of competent jurisdiction for the removal of the Trustee and the
appointment of a successor Trustee.

                (f)    A successor Trustee will deliver a written acceptance of its appointment to
the retiring Trustee and to the Issuer. Thereupon, the resignation or removal of the retiring
Trustee will become effective, and the successor Trustee will have all the rights, powers and
duties of the Trustee under this Indenture. The successor Trustee will mail a notice of its
succession to Holders. The retiring Trustee will promptly transfer all property held by it as
Trustee to the successor Trustee; provided all sums owing to the Trustee hereunder have been


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paid and subject to the Lien provided for in Section 7.07 hereof. Notwithstanding replacement of
the Trustee pursuant to this Section 7.08, the Issuer’s obligations under Section 7.07 hereof will
continue for the benefit of the retiring Trustee.

                (g)    The retiring Trustee shall have no responsibility or liability for any action
or inaction of a successor Trustee.

Section 7.09   Successor Trustee by Merger, etc.

                If the Trustee consolidates, merges or converts into, or transfers all or
substantially all of its corporate trust business (including this transaction) to, another corporation,
the successor corporation without any further act will be the successor Trustee.

Section 7.10   Eligibility; Disqualification.

               There will at all times be a Trustee hereunder that is a corporation organized and
doing business under the laws of the United States of America or of any state thereof that is
authorized under such laws to exercise corporate trustee power, that is subject to supervision or
examination by federal or state authorities and that has a combined capital and surplus of at least
$50.0 million as set forth in its most recent published annual report of condition.

                                            ARTICLE 8

                  LEGAL DEFEASANCE AND COVENANT DEFEASANCE

Section 8.01   Option to Effect Legal Defeasance or Covenant Defeasance.

                The Issuer may at any time, at the option of the Issuer’s Board of Directors
evidenced by a resolution set forth in an Officer’s Certificate, elect to have either Section 8.02 or
8.03 hereof be applied to all outstanding Notes and Note Guarantees upon compliance with the
conditions set forth below in this Article 8.

Section 8.02   Legal Defeasance and Discharge.

                (a)     Upon the Issuer’s exercise under Section 8.01 hereof of the option
applicable to this Section 8.02, the Issuer and each of the Guarantors will, subject to the
satisfaction of the conditions set forth in Section 8.04 hereof, be deemed to have been discharged
from their obligations with respect to all outstanding Notes (including the Note Guarantees) on
the date the conditions set forth below are satisfied (hereinafter, “Legal Defeasance”). For this
purpose, Legal Defeasance means that the Issuer and the Guarantors will be deemed to have paid
and discharged the entire Indebtedness represented by the outstanding Notes (including the Note
Guarantees), which will thereafter be deemed to be “outstanding” only for the purposes of
Section 8.05 hereof and the other Sections of this Indenture referred to in clauses (1) and (2)
below, and to have satisfied all their other obligations under such Notes, the Note Guarantees
and this Indenture (and the Trustee, on written demand of and at the expense of the Issuer, shall
execute instruments acknowledging the same), except for the following provisions which will
survive until otherwise terminated or discharged hereunder:



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               (1)     the rights of Holders of outstanding Notes to receive payments in respect
       of the principal of, or interest or premium, if any, on, such Notes when such payments are
       due from the trust referred to in Section 8.05 hereof;

               (2)     the Issuer’s obligations with respect to such Notes under Sections 2.02,
       2.03, 2.04, 2.05, 2.06, 2.07, 2.08, 2.09, 2.10 and Section 4.02 hereof;

              (3)     the rights, powers, trusts, duties and immunities of the Trustee hereunder
       and the Issuer’s and the Guarantors’ obligations in connection therewith; and

               (4)     this Article 8.

               (b)     Subject to compliance with this Article 8, the Issuer may exercise its
option under this Section 8.02 notwithstanding the prior exercise of its option under Section 8.03
hereof.

Section 8.03   Covenant Defeasance.

                Upon the Issuer’s exercise under Section 8.01 hereof of the option applicable to
this Section 8.03, the Issuer and each of the Guarantors will, subject to the satisfaction of the
conditions set forth in Section 8.04 hereof, be released from each of their obligations under the
covenants contained in Sections 4.03, 4.05, 4.06, 4.07, 4.08, 4.09, 4.10, 4.12, 4.14, 4.16, 4.17,
4.18 and 4.19 and Section 5.01(a)(3) and 5.01(a)(4) hereof with respect to the outstanding Notes
on and after the date the conditions set forth in Section 8.04 hereof are satisfied
(hereinafter, “Covenant Defeasance”), and the Notes will thereafter be deemed not “outstanding”
for the purposes of any direction, waiver, consent or declaration or act of Holders (and the
consequences of any thereof) in connection with such covenants, but will continue to be deemed
“outstanding” for all other purposes hereunder (it being understood that such Notes will not be
deemed outstanding for accounting purposes). For this purpose, Covenant Defeasance means
that, with respect to the outstanding Notes and Note Guarantees, the Issuer and the Guarantors
may omit to comply with and will have no liability in respect of any term, condition or limitation
set forth in any such covenant, whether directly or indirectly, by reason of any reference
elsewhere herein to any such covenant or by reason of any reference in any such covenant to any
other provision herein or in any other document and such omission to comply with such
covenants will not constitute a Default or an Event of Default under Section 6.01 hereof, but,
except as specified in this Section 8.03, the remainder of this Indenture and such Notes and Note
Guarantees will be unaffected thereby. In addition, upon the Issuer’s exercise under Section 8.01
hereof of the option applicable to this Section 8.03, subject to the satisfaction of the conditions
set forth in Section 8.04 hereof, clauses (3) through (5) of Section 6.01 hereof will not constitute
Events of Default.

Section 8.04   Conditions to Legal or Covenant Defeasance.

               In order to exercise either Legal Defeasance or Covenant Defeasance under either
Section 8.02 or 8.03 hereof:

               (1)     the Issuer must irrevocably deposit with the Trustee, in trust, for the
       benefit of the Holders, cash in U.S. dollars, non−callable U.S. Government Securities, or


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a combination thereof, in such amounts as will be sufficient, in the case of non-callable
U.S. Government Securities or a combination of cash in U.S. Dollars and non-callable
U.S. Government Securities, in the written opinion of a U.S. nationally recognized
investment bank, appraisal firm, or firm of independent public accountants delivered to
the Trustee, to pay the principal of, premium, if any, and interest on, the outstanding
Notes on the stated date for payment thereof or on the applicable redemption date, as the
case may be, and the Issuer must specify whether the Notes are being defeased to such
stated date for payment or to a particular redemption date; provided that upon any
redemption that required the payment of the Applicable Premium, the amount deposited
will be sufficient for purposes of this Indenture to the extent that an amount is deposited
with the Trustee equal to the Applicable Premium calculated as of the date of the notice
of redemption, with any deficit as of the date of redemption (any such amount, the
“Applicable Premium Deficit”) only required to be deposited with the Trustee on or prior
to the date of redemption. Any Applicable Premium Deficit will be set forth in an
Officer’s Certificate delivered to the Trustee simultaneously with the deposit of such
Applicable Premium Deficit that confirms that such Applicable Premium Deficit will be
applied toward such redemption;

        (2)     in the case of an election under Section 8.02 hereof, the Issuer must
deliver to the Trustee an Opinion of Counsel (subject to customary exceptions and
exclusions) confirming that:

               (A)   the Issuer has received from, or there has been published by, the
       Internal Revenue Service a ruling; or

               (B)   since the Issue Date there has been a change in the applicable
       federal income tax law,

in either case to the effect that, and based thereon such Opinion of Counsel shall confirm
that, the Holders of the outstanding Notes will not recognize income, gain or loss for
federal income tax purposes as a result of such Legal Defeasance and will be subject to
federal income tax on the same amounts, in the same manner and at the same times as
would have been the case if such Legal Defeasance had not occurred;

        (3)     in the case of an election under Section 8.03 hereof, the Issuer must
deliver to the Trustee an Opinion of Counsel (subject to customary exceptions and
exclusions) confirming that the Holders of the outstanding Notes will not recognize
income, gain or loss for federal income tax purposes as a result of such Covenant
Defeasance and will be subject to federal income tax on the same amounts, in the same
manner and at the same times as would have been the case if such Covenant Defeasance
had not occurred;

        (4)    no Default or Event of Default shall have occurred and be continuing on
the date of such deposit (other than a Default or Event of Default resulting from the
borrowing of funds to be applied to such deposit and the grant of any Lien securing such
borrowing);




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               (5)     such Legal Defeasance or Covenant Defeasance will not result in a breach
       or violation of, or constitute a default under, any material agreement or instrument (other
       than this Indenture) to which the Issuer or any of its Subsidiaries is a party or by which
       the Issuer or any of its Subsidiaries is bound;

               (6)     the Issuer must deliver to the Trustee an Officer’s Certificate stating that
       the deposit was not made by the Issuer with the intent of preferring the Holders over the
       other creditors of the Issuer with the intent of defeating, hindering, delaying or
       defrauding any creditors of the Issuer or others; and

              (7)    the Issuer must deliver to the Trustee an Officer’s Certificate and an
       Opinion of Counsel, each stating that all conditions precedent relating to the Legal
       Defeasance or the Covenant Defeasance have been complied with.

Section 8.05   Deposited Money and Government Securities to be Held in Trust; Other
               Miscellaneous Provisions.

                (a)     Subject to Section 8.06 hereof, all money and non−callable U.S.
Government Securities (including the proceeds thereof) deposited with the Trustee (or other
qualifying trustee, collectively for purposes of this Section 8.05, the “Trustee”) pursuant to
Section 8.04 hereof in respect of the outstanding Notes will be held in trust and applied by the
Trustee, in accordance with the provisions of such Notes and this Indenture, to the payment,
either directly or through any Paying Agent (including the Issuer acting as Paying Agent) as the
Trustee may determine, to the Holders of such Notes of all sums due and to become due thereon
in respect of principal, premium, if any, and interest, but such money need not be segregated
from other funds except to the extent required by law.

               (b)    The Issuer will pay and indemnify the Trustee against any tax, fee or other
charge imposed on or assessed against the cash or non−callable U.S. Government Securities
deposited pursuant to Section 8.04 hereof or the principal and interest received in respect thereof
other than any such tax, fee or other charge which by law is for the account of the Holders of the
outstanding Notes.

                (c)     Notwithstanding anything in this Article 8 to the contrary, the Trustee will
deliver or pay to the Issuer from time to time upon the written request of the Issuer any money or
non−callable U.S. Government Securities held by it as provided in Section 8.04 hereof which, in
the opinion of a nationally recognized firm of independent public accountants expressed in a
written certification thereof delivered to the Trustee (which may be the opinion delivered under
clause (1) of Section 8.04 hereof), are in excess of the amount thereof that would then be
required to be deposited to effect an equivalent Legal Defeasance or Covenant Defeasance.

Section 8.06   Repayment to the Issuer.

                 Any money deposited with the Trustee or any Paying Agent, or then held by the
Issuer, in trust for the payment of the principal of, premium or interest on, any Note and
remaining unclaimed for two years after such principal, premium or interest has become due and
payable shall be paid to the Issuer on its written request or (if then held by the Issuer) will be
discharged from such trust; and the Holders will thereafter be permitted to look only to the Issuer


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for payment thereof, and all liability of the Trustee or such Paying Agent with respect to such
trust money, and all liability of the Issuer as trustee thereof, will thereupon cease; provided,
however, that the Trustee or such Paying Agent, before being required to make any such
repayment, shall, at the expense of the Issuer, cause to be published once, in the New York
Times and The Wall Street Journal (national edition), notice that such money remains unclaimed
and that, after a date specified therein, which will not be less than 30 days from the date of such
notification or publication, any unclaimed balance of such money then remaining will be repaid
to the Issuer.

Section 8.07   Reinstatement.

                If the Trustee or Paying Agent is unable to apply any U.S. dollars or non−callable
U.S. Government Securities in accordance with Section 8.02 or 8.03 hereof, as the case may be,
by reason of any order or judgment of any court or governmental authority enjoining, restraining
or otherwise prohibiting such application, then the Issuer’s and the Guarantors’ obligations under
this Indenture and the Notes and the Note Guarantees will be revived and reinstated as though no
deposit had occurred pursuant to Section 8.02 or 8.03 hereof until such time as the Trustee or
Paying Agent is permitted to apply all such money in accordance with Section 8.02 or 8.03
hereof, as the case may be; provided, however, that, if the Issuer makes any payment of principal
of, premium, if any, or interest on, any Note following the reinstatement of its obligations, the
Issuer will be subrogated to the rights of the Holders of such Notes to receive such payment from
the money held by the Trustee or Paying Agent.

                                           ARTICLE 9

                        AMENDMENT, SUPPLEMENT AND WAIVER

Section 9.01   Without Consent of Holders.

               (a)     Notwithstanding Section 9.02 of this Indenture, the Issuer and the Trustee
may amend or supplement this Indenture or the Notes or the Note Guarantees or any Security
Document without the consent of any Holder to cure any ambiguity, omission, defect or
inconsistency or to provide for the assumption by a successor corporation, partnership or limited
liability company of the obligations of the Issuer under this Indenture, the Notes and the Security
Documents:

              (1)     to provide for uncertificated Notes in addition to or in place of certificated
       Notes (provided that the uncertificated notes are issued in registered form for purposes of
       Section 163(f) of the Code);

               (2)     to add guarantees with respect to the Notes or to evidence the release of
       any Guarantor from its Note Guarantee and under the Security Documents as provided in
       this Indenture;

               (3)     to further secure the Notes;

               (4)     to add to the covenants of the Issuer for the benefit of the Holders;



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               (5)    to surrender any right or power conferred upon the Issuer;

              (6)     to make any change that does not adversely affect the rights of any
       Holder;

              (7)     to evidence or provide for the acceptance of appointment under this
       Indenture of a successor Trustee;

              (8)     to conform the text of this Indenture, the Note Guarantees or the Notes to
       any provision of the “Description of the Notes” section of the Offering Document;

              (9)    to make certain changes to this Indenture to provide for the issuance of
       Additional Notes;

              (10) to provide for the release of Collateral from the Liens of this Indenture and
       the Security Documents when permitted or required by the Security Documents or this
       Indenture; or

              (11) to secure any Permitted Additional Pari Passu Obligations under the
       Security Documents and to appropriately include the same in the lntercreditor
       Agreement.

                (b)    Upon the request of the Issuer accompanied by a resolution of its Board of
Directors authorizing the execution of any such amendment or supplemental indenture, and upon
receipt by the Trustee of the documents described in Section 9.06 hereof, the Trustee will join
with the Issuer and the Guarantors in the execution of any amendment or supplemental indenture
authorized or permitted by the terms of this Indenture and to make any further appropriate
agreements and stipulations that may be therein contained, but the Trustee will not be obligated
to enter into such amendment or supplemental indenture that affects its own rights, duties or
immunities under this Indenture or otherwise.

Section 9.02   With Consent of Holders.

                (a)    Except as provided in this Section 9.02, the Issuer, the Guarantors and the
Trustee and, if applicable, the Collateral Agent, may amend or supplement this Indenture
(including, without limitation, Sections 4.08 and 4.12 hereof) and the Notes or the Note
Guarantees with the consent of the Holders of at least a majority in aggregate principal amount
of the then outstanding Notes voting as a single class (including, without limitation, consents
obtained in connection with a tender offer or exchange offer for, or purchase of, the Notes), and,
subject to Sections 6.04 and 6.07 hereof, any existing Default or Event of Default (other than a
Default or Event of Default in the payment of the principal of, premium, if any, or interest on,
the Notes, except a payment default resulting from an acceleration that has been rescinded) or
compliance with any provision of this Indenture, any Security Document or the Notes or the
Note Guarantees may be waived with the consent of the Holders of a majority in aggregate
principal amount of the then outstanding Notes voting as a single class (including, without
limitation, consents obtained in connection with a tender offer or exchange offer for, or purchase
of, the Notes). Section 2.08 hereof shall determine which Notes are considered to be
“outstanding” for purposes of this Section 9.02.


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               (b)     Upon the written request of the Issuer accompanied by a resolution of its
Boards of Directors authorizing the execution of any such amended or supplemental indenture,
and upon the filing with the Trustee of evidence satisfactory to the Trustee of the consent of the
Holders as aforesaid, and upon receipt by the Trustee of the documents described in Section 9.06
hereof, the Trustee will join with the Issuer and the Guarantors in the execution of such amended
or supplemental indenture unless such amended or supplemental indenture directly affects the
Trustee’s own rights, duties or immunities under this Indenture or otherwise, in which case the
Trustee may in its discretion, but will not be obligated to, enter into such amended or
supplemental Indenture.

                 (c)      It is not be necessary for the consent of the Holders under this
Section 9.02 to approve the particular form of any proposed amendment, supplement or waiver,
but it is sufficient if such consent approves the substance thereof.

                (d)    After an amendment, supplement or waiver under this Section 9.02
becomes effective, the Issuer will mail (or otherwise deliver pursuant to the procedures of DTC)
to the Holders affected thereby a notice briefly describing the amendment, supplement or waiver.
Any failure of the Issuer to send such notice, or any defect therein, will not, however, in any way
impair or affect the validity of any such amendment, supplement or waiver. Subject to
Sections 6.04 and 6.07 hereof, the Holders of a majority in aggregate principal amount of the
Notes then outstanding voting as a single class may waive compliance in a particular instance by
the Issuer or any Guarantor with any provision of this Indenture, the Intercreditor Agreement, the
other the Security Documents or the Notes or the Note Guarantees. However, without the
consent of each Holder affected thereby, an amendment, supplement or waiver under this
Section 9.02 may not (with respect to any Notes held by a non−consenting Holder):

            (1)     reduce the principal amount of Notes whose Holders must consent to an
       amendment, supplement or waiver;

              (2)     reduce the principal of or extend the fixed maturity of any Note or alter the
       provisions with respect to the redemption of the Notes (for the avoidance of doubt,
       repurchases of the Notes by the Issuer pursuant to Sections 4.08 and 4.12 hereof are not
       redemptions of the Notes);

               (3)     reduce the rate of or extend the time for payment of interest, including
       default interest, or premium on any Note;

              (4)     waive a Default or Event of Default in the payment of principal of, or
       premium, if any, or interest on, the Notes (except a rescission of acceleration of the Notes
       by the Holders of at least a majority in aggregate principal amount of the then
       outstanding Notes and a waiver of the payment default that resulted from such
       acceleration);

               (5)    make any Note payable in money other than that stated in the Notes;

               (6)     make any change in the provisions of this Indenture relating to waivers of
       past Defaults or impair the rights of Holders of Notes to receive payments of principal of,
       or interest of premium, if any, on the Notes;


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              (7)     waive a redemption payment with respect to any Note (for the avoidance
       of doubt, any payment required by Sections 4.08 or 4.12 hereof is not a redemption
       payment);

               (8)     release any Guarantor that is a Significant Subsidiary of the Issuer from
       any of its obligations under its Note Guarantee or this Indenture, except in accordance
       with the terms of this Indenture;

               (9)     make any change in the preceding amendment and waiver provisions; or

               (10) make any change in the provisions in the Intercreditor Agreement or this
       Indenture dealing with the application of proceeds of Collateral that would adversely
       affect the Holders.

                (e)     Any amendment to, or waiver of, the provisions of this Indenture, any
Security Document or any other indenture governing Permitted Additional Pari Passu
Obligations that has the effect of releasing all or substantially all of the Collateral from the Liens
securing the Notes or otherwise modifies the Intercreditor Agreement or other Security
Documents in any manner adverse in any material respect to the Holders will require the consent
of the holders of at least 66- 2/3% in aggregate principal amount of the Notes and any Permitted
Additional Pari Passu Obligations then outstanding.

Section 9.03   Intentionally Omitted.

Section 9.04   Revocation and Effect of Consents.

                 Until an amendment, supplement or waiver becomes effective, a consent to it by a
Holder is a continuing consent by the Holder and every subsequent Holder or portion of a Note
that evidences the same debt as the consenting Holder’s Note, even if notation of the consent is
not made on any Note. However, any such Holder or subsequent Holder may revoke the consent
as to its Note if the Trustee receives written notice of revocation before the date the amendment,
supplement or waiver becomes effective. After an amendment, supplement or waiver becomes
effective in accordance with its terms, it thereafter binds every Holder.

Section 9.05   Notation on or Exchange of Notes.

               The Trustee may place an appropriate notation about an amendment, supplement
or waiver on any Note thereafter authenticated. The Issuer in exchange for all Notes may issue
and the Trustee shall, upon receipt of an Authentication Order, authenticate new Notes that
reflect the amendment, supplement or waiver.

                Failure to make the appropriate notation or issue a new Note will not affect the
validity and effect of such amendment, supplement or waiver.

Section 9.06   Trustee to Sign Amendments, etc.

                The Trustee will sign any amended or supplemental indenture authorized pursuant
to this Article 9 if the amendment or supplement does not adversely affect the rights, duties,


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liabilities or immunities of the Trustee. The Issuer may not sign an amended or supplemental
indenture until the Issuer’s Board of Directors approves it. In executing any amended or
supplemental indenture, the Trustee will be provided with and (subject to Section 7.01 hereof)
will be fully protected in conclusively relying upon, in addition to the documents required by
Section 14.04 hereof, an Officer’s Certificate and an Opinion of Counsel stating that the
execution of such amended or supplemental indenture is authorized or permitted by this
Indenture and that such amended or supplemental indenture is the legal, valid and binding
obligation of the Issuer or Guarantor, as applicable, enforceable against the Issuer or the
Guarantor, as applicable, in accordance with its terms.

                                          ARTICLE 10

                                     NOTE GUARANTEES

Section 10.01 Guarantee.

                (a)     Subject to this Article 10, each of the Guarantors hereby, jointly and
severally, unconditionally Guarantees to each Holder of a Note authenticated and delivered by
the Trustee and to the Trustee and the Collateral Agent and their respective successors and
assigns, irrespective of the validity and enforceability of this Indenture, the Notes or the
obligations of the Issuer hereunder or thereunder, that:

               (1)     the principal of, premium, if any, and interest on, the Notes will be
       promptly paid in full when due, whether at maturity, by acceleration, redemption or
       otherwise, and interest on the overdue principal of and interest on the Notes, if any, if
       lawful, and all other obligations of the Issuer to the Holders or the Trustee or the
       Collateral Agent hereunder or thereunder will be promptly paid in full or performed, all
       in accordance with the terms hereof and thereof; and

               (2)    in case of any extension of time of payment or renewal of any Notes or
       any of such other obligations, that same will be promptly paid in full when due or
       performed in accordance with the terms of the extension or renewal, whether at stated
       maturity, by acceleration or otherwise.

               Failing payment when due of any amount so guaranteed or any performance so
guaranteed for whatever reason, the Guarantors will be jointly and severally obligated to pay the
same immediately. Each Guarantor agrees that this is a Guarantee of payment and not a
Guarantee of collection.

                (b)    The Guarantors hereby agree that their obligations hereunder are
unconditional, irrespective of the validity, regularity or enforceability of the Notes or this
Indenture, the absence of any action to enforce the same, any waiver or consent by any Holder
with respect to any provisions hereof or thereof, the recovery of any judgment against the Issuer,
any action to enforce the same or any other circumstance which might otherwise constitute a
legal or equitable discharge or defense of a Guarantor. Each Guarantor hereby waives diligence,
presentment, demand of payment, filing of claims with a court in the event of insolvency or
bankruptcy of either Issuer, any right to require a proceeding first against the Issuer, protest,



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notice and all demands whatsoever and covenant that this Note Guarantee will not be discharged
except by complete performance of the obligations contained in the Notes and this Indenture.

                 (c)     If any Holder or the Trustee is required by any court or otherwise to return
to the Issuer, the Guarantors or any custodian, trustee, liquidator or other similar official acting in
relation to either the Issuer or the Guarantors, any amount paid by either to the Trustee or the
Collateral Agent or such Holder, this Note Guarantee, to the extent theretofore discharged, will
be reinstated in full force and effect.

                (d)     Each Guarantor agrees that it will not be entitled to any right of
subrogation in relation to the Holders in respect of any obligations guaranteed hereby until
payment in full of all obligations guaranteed hereby. Each Guarantor further agrees that, as
between the Guarantors, on the one hand, and the Holders, the Collateral Agent and the Trustee,
on the other hand, (1) the maturity of the obligations guaranteed hereby may be accelerated as
provided in Article 6 hereof for the purposes of this Note Guarantee, notwithstanding any stay,
injunction or other prohibition preventing such acceleration in respect of the obligations
guaranteed hereby, and (2) in the event of any declaration of acceleration of such obligations as
provided in Article 6 hereof, such obligations (whether or not due and payable) will forthwith
become due and payable by the Guarantors for the purpose of this Note Guarantee. The
Guarantors will have the right to seek contribution from any non−paying Guarantor so long as
the exercise of such right does not impair the rights of the Holders under the Note Guarantee.

Section 10.02 Limitation on Guarantor Liability.

                  Each Guarantor, and by its acceptance of Notes, each Holder, hereby confirms
that it is the intention of all such parties that the Note Guarantee of such Guarantor not constitute
a fraudulent transfer or conveyance for purposes of Bankruptcy Law, the Uniform Fraudulent
Conveyance Act, the Uniform Fraudulent Transfer Act or any similar federal, state or provincial
law in any jurisdiction to the extent applicable to any Note Guarantee. To effectuate the
foregoing intention, the Trustee, the Collateral Agent, the Holders and the Guarantors hereby
irrevocably agree that the obligations of such Guarantor will be limited to the maximum amount
that will, after giving effect to such maximum amount and all other contingent and fixed
liabilities of such Guarantor that are relevant under such laws, and after giving effect to any
collections from, rights to receive contribution from or payments made by or on behalf of any
other Guarantor in respect of the obligations of such other Guarantor under this Article 10, result
in the obligations of such Guarantor under its Note Guarantee not constituting a fraudulent
transfer or conveyance.

Section 10.03 Intentionally Omitted.

Section 10.04 Guarantors May Consolidate, etc., on Certain Terms.

                (a)    Except as otherwise provided in this Section 10.04, a Guarantor may not
sell or otherwise dispose of (including by way of division) all or substantially all of its assets to,
or consolidate with or merge or amalgamate with or into (whether or not such Guarantor is the
surviving Person) another Person, other than the Issuer or another Guarantor, unless:




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              (1)      immediately after giving effect to such transaction, no Default or Event of
       Default exists; and

              (2)     either:

               (A)     the Person acquiring the property in any such sale or disposition or the
       Person formed by or surviving any such consolidation or merger assumes all the
       obligations of that Guarantor under this Indenture, its Note Guarantee, the Intercreditor
       Agreement and the other Security Documents, pursuant to, in the case of this Indenture
       and the relevant agreements, a supplemental indenture ; or

              (B)    the Net Proceeds of such sale or other disposition are applied in
       accordance with the applicable provisions of this Indenture.

                In case of any such consolidation, merger, amalgamation, sale or conveyance and
upon the assumption by the successor Person, by supplemental indenture, executed and delivered
to the Trustee and satisfactory in form to the Trustee, of the Note Guarantee and the due and
punctual performance of all of the covenants and conditions of this Indenture to be performed by
the Guarantor, such successor Person will succeed to and be substituted for the Guarantor with
the same effect as if it had been named herein as a Guarantor. Such successor Person thereupon
may cause to be signed any or all of the Note Guarantees to be endorsed upon all of the Notes
issuable hereunder which theretofore shall not have been signed by the Issuer and delivered to
the Trustee. All the Note Guarantees so issued will in all respects have the same legal rank and
benefit under this Indenture as the Note Guarantees theretofore and thereafter issued in
accordance with the terms of this Indenture as though all of such Note Guarantees had been
issued at the date of the execution hereof.

                (b)    Except as set forth in Articles 4 and 5 hereof, and notwithstanding
Sections 10.04(a)(2)(A) and 10.04(a)(2)(B) above, nothing contained in this Indenture or in any
of the Notes will prevent any consolidation, merger or amalgamation of a Guarantor with or into
the Issuer or another Guarantor, or will prevent any sale or conveyance of the property of a
Guarantor as an entirety or substantially as an entirety to the Issuer or another Guarantor.

Section 10.05 Releases.

              (a)     The Note Guarantee of a Guarantor will be automatically released and
discharged:

                (1)     in connection with any sale, disposition or transfer of all or substantially
       all of the assets of that Guarantor (including by way of merger, amalgamation, or
       consolidation) to a Person that is not (either before or after giving effect to such
       transaction) the Issuer or a Restricted Subsidiary of the Issuer, if the sale, disposition or
       transfer does not violate Section 4.08 hereof;

               (2)     in connection with any sale, disposition or transfer of all of the Capital
       Stock of that Guarantor to a Person that is not (either before or after giving effect to such
       transaction) the Issuer or a Restricted Subsidiary of the Issuer, if the sale, disposition or
       transfer does not violate Section 4.08 hereof;


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              (3)     if the Issuer designates any Restricted Subsidiary that is a Guarantor to be
       an Unrestricted Subsidiary in accordance with the applicable provisions of this Indenture;

              (4)    upon Legal Defeasance in accordance with Article 8 hereof or satisfaction
       and discharge of this Indenture in accordance with Article 11 and Article 8 hereof; or

              (5)    upon such Guarantor becoming an Excluded Subsidiary, so long as such
       Guarantor does not Guarantee any Debt Facilities of the Issuer or any of its Restricted
       Subsidiaries.

                (b)    Any Guarantor not released from its obligations under its Note Guarantee
as provided in this Section 10.05 will remain liable for the full amount of principal of and
interest and premium, if any, on the Notes and for the other obligations of any Guarantor under
this Indenture as provided in this Article 10.

                                           ARTICLE 11

                                 SATISFACTION AND DISCHARGE

Section 11.01 Satisfaction and Discharge.

                (a)    This Indenture will be discharged and will cease to be of further effect as
to all Notes issued hereunder, when:

               (1)     either:

               (A)     all Notes that have been authenticated and, except lost, stolen or destroyed
       Notes that have been replaced or paid and Notes for whose payment money has been
       deposited in trust or segregated and held in trust by the Issuer and thereafter repaid to the
       Issuer, have been delivered to the Trustee for cancellation; or

               (B)      all Notes that have not been delivered to the Trustee for cancellation have
       become due and payable by reason of the mailing (or delivery in accordance with the
       procedures of DTC) of a notice of redemption or otherwise or will become due and
       payable within one year or may be called for redemption within one year and the Issuer
       or any Guarantor has irrevocably deposited or caused to be deposited with the Trustee as
       trust funds in trust solely for the benefit of the Holders, cash in U.S. dollars, non−callable
       U.S. Government Securities, or a combination thereof, in such amounts as will be
       sufficient, in the case of non-callable U.S. Government Securities or a combination of
       cash in U.S. Dollars and U.S. Government Securities, in the opinion of a U.S. nationally
       recognized investment bank, appraisal firm or firm of independent public accountants,
       without consideration of any reinvestment of interest, to pay and discharge the entire
       Indebtedness (including all principal and interest) on the Notes not delivered to the
       Trustee for cancellation; provided that (i) upon any redemption that requires the payment
       of the Applicable Premium, the amount deposited will be sufficient for purposes of this
       Indenture to the extent that an amount is deposited with the Trustee equal to the
       Applicable Premium calculated as of the date of the notice of redemption, with any
       Applicable Premium Deficit only required to be deposited with the Trustee on or prior to


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       the date of redemption and (ii) any Applicable Premium Deficit will be set forth in an
       Officer’s Certificate delivered to the Trustee simultaneously with the deposit of such
       Applicable Premium Deficit that confirms that such Applicable Premium Deficit will be
       applied toward such redemption;

               (2)     the Issuer or any Guarantor has paid or caused to be paid all sums payable
       by it under this Indenture; and

              (3)     the Issuer has delivered irrevocable written instructions to the Trustee
       under this Indenture to apply the deposited money toward the payment of the Notes at
       maturity or on the redemption date, as the case may be.

                (b)    In addition, an Officer’s Certificate and an Opinion of Counsel have been
delivered to the Trustee stating that all conditions precedent to satisfaction and discharge have
been satisfied.

                (c)    Notwithstanding the satisfaction and discharge of this Indenture, if money
has been deposited with the Trustee pursuant to Section 11.01(a)(1)(B), the provisions of
Sections 11.02 and 8.06 hereof will survive such satisfaction and discharge. In addition, nothing
in this Section 11.01 will be deemed to discharge those provisions of Section 7.07 hereof, or any
other provision hereof, that, by their terms, survive the satisfaction and discharge of this
Indenture.

Section 11.02 Application of Trust Money.

               (a)     Subject to the provisions of Section 8.06 hereof, all money deposited with
the Trustee pursuant to Section 11.01 hereof shall be held in trust and applied by it, in
accordance with the provisions of the Notes and this Indenture, to the payment, either directly or
through any Paying Agent (including the Issuer acting as its own Paying Agent) as the Trustee
may determine, to the Persons entitled thereto, of the principal (and premium, if any) and interest
for whose payment such money has been deposited with the Trustee; but such money need not be
segregated from other funds except to the extent required by law.

                (b)     If the Trustee or Paying Agent is unable to apply any money or U.S.
Government Securities in accordance with Section 11.01 hereof by reason of any legal
proceeding or by reason of any order or judgment of any court or governmental authority
enjoining, restraining or otherwise prohibiting such application, the Issuer’s and any Guarantor’s
obligations under this Indenture and the Notes and Note Guarantees, as applicable, shall be
revived and reinstated as though no deposit had occurred pursuant to Section 11.01 hereof;
provided that if the Issuer has made any payment of principal of, premium, if any, or interest on,
any Notes because of the reinstatement of its obligations, the Issuer shall be subrogated to the
rights of the Holders of such Notes to receive such payment from the money or U.S. Government
Securities held by the Trustee or Paying Agent.




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                                           ARTICLE 12

                                COLLATERAL AND SECURITY

Section 12.01 Security Documents; Additional Collateral; Intercreditor Agreement.

                (a)     Security Documents. In order to secure the due and punctual payment of
the Notes Obligations and any Permitted Additional Pari Passu Obligations, the Issuer, the
Guarantors, the Collateral Agent and the other parties thereto have simultaneously with the
execution of this Indenture entered or, in accordance with the provisions of Section 4.14,
Section 4.17, Section 4.19 and this Article 12, will enter into the Security Documents. In the
event of a conflict or inconsistency between the terms of this Indenture and the Security
Documents, the Security Documents shall control. The Issuer shall, and shall cause each of its
Restricted Subsidiaries to, and each Restricted Subsidiary shall, make all filings (including
filings of continuation statements and amendments to UCC financing statements that may be
necessary to continue the effectiveness of such UCC financing statements) and take all other
actions as are reasonably necessary or required by the Security Documents to maintain (at the
sole cost and expense of the Issuer and its Restricted Subsidiaries) the security interest created by
the Security Documents in the Collateral (other than with respect to any Collateral the security
interest in which is not required to be perfected under the Security Documents) as a perfected
security interest subject only to Permitted Liens.

                (b)     Additional Collateral. With respect to assets acquired after the Issue Date,
the Issuer or the applicable Guarantor will take the actions required by the Security Agreement
or Section 4.18 of this Indenture.

                (c)      Intercreditor Agreement. The Security Documents, the Trustee, the
Collateral Agent and the Holders are bound by the terms of the Intercreditor Agreement and each
Holder of a Note, by accepting such Note, agrees to all the terms and provisions of the
Intercreditor Agreement and the other Security Documents. Notwithstanding anything to the
contrary, (i) the liens and security interests granted to the Collateral Agent pursuant to the
Security Documents and all rights and obligations of the Trustee and Collateral Agent hereunder
in respect of the Collateral are expressly subject to the Intercreditor Agreement and (ii) the
exercise of any right or remedy by the Trustee and the Collateral Agent hereunder in respect of
the Collateral is subject to the limitation and provisions of the Intercreditor Agreement. In the
event of any conflict or inconsistency between the terms of the Intercreditor Agreement and the
terms of this Indenture or any Security Document, the terms of the Intercreditor Agreement, shall
govern.

Section 12.02 Intentionally Omitted.

Section 12.03 Release of Collateral.

               The Liens securing the Notes and the Guarantees will, automatically and without
the need for any further action by any Person be released:




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               (a)    in whole or in part, as applicable, as to all or any portion of the property
subject to such Liens which has been taken by eminent domain, condemnation or other similar
circumstances in accordance with the terms of Section 4.08;

                (b)     in whole upon:

                (1)      payment in full of the principal of, together with accrued and unpaid
        interest, if any, on the Notes and all other Obligations under this Indenture, the Note
        Guarantees and the Security Documents that are due and payable at or prior to the time
        such principal, together with accrued and unpaid interest, if any, are paid;

                (2)     satisfaction and discharge of this Indenture as set forth under Article 11; or

               (3)     a legal defeasance or covenant defeasance of this Indenture as set forth
        under Article 8;

                (c)      in part, as to any property that (i) is sold, transferred or otherwise disposed
of by the Issuer or any Guarantor (other than to the Issuer or another Guarantor) in a transaction
not prohibited by this Indenture at the time of such transfer or disposition, including, without
limitation, as a result of a transaction of the type permitted under Sections 4.08 and 5.01 or (ii) is
owned or at any time acquired by a Guarantor that has been released from its Guarantee,
concurrently with the release of such Guarantee;

              (d)     as to property that constitutes all or substantially all of the Collateral
securing the Notes, with the consent of each Holder of the Notes and each holder of any
Permitted Additional Pari Passu Obligations outstanding;

               (e)     as to property that constitutes less than all or substantially all of the
Collateral securing the Notes, with the consent of the Holders of at least 66 2/3% of the
aggregate principal amount of Notes (including, without limitation, consents obtained in
connection with a tender offer or exchange offer for, or purchase of, Notes) and any Permitted
Additional Pari Passu Obligations outstanding;

                (f)     as to any Excluded Pipelines subject to a security interest granted under a
mortgage, security agreement or other security interest in favor of the Collateral Agent, upon the
disposition of such Excluded Pipeline, in a transaction not prohibited by this Indenture at the
time of such sale, transfer or disposition;

                (g)     as to real property upon which any Excluded Pipelines are situated, upon
the Collateral Agent’s receipt from the Issuer of an Officer’s Certificate certifying that the
release of the Collateral Agent’s Liens on such real property does not materially adversely affect
or impair (1) the business operations of the Issuer and its Restricted Subsidiaries as a whole or
(2) the validity or priority of the Lien of the Collateral Agent pursuant to the Security Documents
on the balance of the Mortgaged Property; and

             (h)     in part, in accordance with the applicable provisions of the Intercreditor
Agreement and the other Security Documents.



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              Any release of Collateral permitted by this Section 12.03 shall be deemed not to
impair the remaining Liens under this Indenture and the Security Documents in contravention
thereof.

Section 12.04 Form and Sufficiency of Release.

                In the event that either the Issuer or any Guarantor has sold, exchanged, or
otherwise disposed of or proposes to sell, exchange or otherwise dispose of any portion of the
Collateral that, under the terms of this Indenture may be sold, exchanged or otherwise disposed
of by the Issuer or any Guarantor, and the Issuer or such Guarantor requests the Trustee in
writing to furnish a written disclaimer, release or quitclaim of any interest in such property under
this Indenture, the applicable Guarantee and the Security Documents, upon receipt of an
Officer’s Certificate and Opinion of Counsel to the effect that such release complies with
Section 12.03 and specifying the provision in Section 12.03 pursuant to which such release is
being made (upon which the Trustee may exclusively and conclusively rely), the Trustee shall
execute, acknowledge and deliver to the Issuer or such Guarantor (or instruct the Collateral
Agent to do the same and upon receipt thereof the Collateral Agent shall execute, acknowledge
and deliver) such an instrument in the form provided by the Issuer, and providing for release
without recourse and shall take such other action as the Issuer or such Guarantor may reasonably
request and as necessary to effect such release.

Section 12.05 Possession and Use of Collateral.

                Subject to the provisions of the Security Documents, the Issuer and the
Guarantors shall have the right to remain in possession and retain exclusive control of and to
exercise all rights with respect to the Collateral (other than monies or U.S. Government
Obligations deposited pursuant to Article 8 or Article 11, and other than as set forth in the
Security Documents and this Indenture), to freely operate, manage, develop, lease, use, consume
and enjoy the Collateral (other than monies and U.S. Government Obligations deposited pursuant
to Article 8 or Article 11 and other than as set forth in the Security Documents and this
Indenture), to alter or repair any Collateral so long as such alterations and repairs do not
materially impair the Lien of the Security Documents thereon, and to collect, receive, use, invest
and dispose of the reversions, remainders, interest, rents, lease payments, issues, profits,
revenues, proceeds and other income thereof and to effect transactions permitted under
Sections 4.08 and 5.01.

Section 12.06 Intentionally Omitted.

Section 12.07 Collateral Agent.

               (a)     The Trustee and each of the Holders by acceptance of the Notes hereby
appoint the Collateral Agent as the Trustee’s and Holders’ collateral agent under this Indenture
and the Security Documents and the Trustee and each of the Holders by acceptance of the Notes
hereby irrevocably authorizes the Collateral Agent to take such action on its behalf under the
provisions of this Indenture and the Security Documents and to exercise such powers and
perform such duties as are expressly delegated to the Collateral Agent by the terms of this
Indenture and the Security Documents, together with such powers as are reasonably incidental



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thereto. The Collateral Agent agrees to act as such on the express conditions contained in this
Section 12.07. The provisions of this Section 12.07 are solely for the benefit of the Collateral
Agent and none of the Trustee, any of the Holders, the Issuer or any of the Guarantors shall have
any rights as a third party beneficiary of any of the provisions contained herein other than as
expressly provided in Section 12.03. Notwithstanding any provision to the contrary contained
elsewhere in this Indenture and the Security Documents, the Collateral Agent shall not have any
duties or responsibilities, except those expressly set forth herein or in the Security Documents,
nor shall the Collateral Agent have or be deemed to have any fiduciary relationship with the
Trustee, any Holder, the Issuer or any Guarantor, and no implied covenants, functions,
responsibilities, duties, obligations or liabilities shall be read into this Indenture and the Security
Documents or otherwise exist against the Collateral Agent. Without limiting the generality of the
foregoing sentence, the use of the term “agent” in this Indenture with reference to the Collateral
Agent shall not be construed to connote any fiduciary or other implied (or express) obligations
arising under agency doctrine of any applicable law. Instead, such term is used merely as a
matter of market custom, and is intended to create or reflect only an administrative relationship
between independent contracting parties. Except as expressly otherwise provided in this
Indenture and the Security Documents, the Collateral Agent shall exercise or refrain from
exercising any discretionary rights or taking or refraining from taking any actions which the
Collateral Agent is expressly entitled to take or assert under this Indenture and the Security
Documents, including the exercise of remedies pursuant to Article 6, and any action so taken or
not taken shall be deemed consented to by the Trustee and the Holders.

                (b)     The Collateral Agent may execute any of its duties under this Indenture
and the Security Documents by or through agents, employees or attorneys−in−fact and shall be
entitled to advice of counsel concerning all matters pertaining to such duties. The Collateral
Agent shall not be responsible for the negligence or misconduct of any agent, employee or
attorney−in−fact that it selects as long as such selection was made with due care.

                (c)     None of the Collateral Agent or any of its agents or employees shall (i) be
liable for any action taken or omitted to be taken by any of them under or in connection with this
Indenture or the transactions contemplated hereby (except for its own gross negligence or willful
misconduct) or under or in connection with any Security Document or the transactions
contemplated thereby (except for its own gross negligence or willful misconduct), or (ii) be
responsible in any manner to the Trustee or any Holder for any recital, statement, representation,
warranty, covenant or agreement made by the Issuer or any Guarantor, contained in this
Indenture or any indenture, or in any certificate, report, statement or other document referred to
or provided for in, or received by the Collateral Agent under or in connection with, this
Indenture, any other indenture or the Security Documents, or the validity, effectiveness,
genuineness, enforceability or sufficiency of this Indenture, any other indenture or the Security
Documents, or for any failure of the Issuer or any Guarantor or any other party to this Indenture
or the Security Documents to perform its obligations hereunder or thereunder. None of the
Collateral Agent or any of its agents or employees shall be under any obligation to the Trustee or
any Holder to ascertain or to inquire as to the observance or performance of any of the
agreements contained in, or conditions of, this Indenture, any other indenture or the Security
Documents or to inspect the properties, books or records of the Issuer or any Guarantor.




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                (d)     The Collateral Agent shall not be deemed to have actual knowledge or
notice of the occurrence of any Default or Event of Default, unless the Collateral Agent shall
have received written notice from the Trustee or the Issuer referring to this Indenture, describing
such Default or Event of Default and stating that such notice is a “notice of default.” The
Collateral Agent shall take such action with respect to such Default or Event of Default as may
be requested by the Trustee in accordance with Article 6 (subject to this Section 12.07);
provided, however, that unless and until the Collateral Agent has received any such request, the
Collateral Agent may (but shall not be obligated to) take such action, or refrain from taking such
action, with respect to such Default or Event of Default as it shall deem advisable.

                 (e)     A resignation or removal of the Collateral Agent and appointment of a
successor Collateral Agent shall become effective only upon the successor Collateral Agent’s
acceptance of appointment as provided in this Section 12.07(e). The Collateral Agent may resign
in writing at any time by so notifying the Issuer, the Trustee and each trustee, agent or
representative of holders of Permitted Additional Pari Passu Obligations at least 30 days prior to
the proposed date of resignation. The Issuer may remove the Collateral Agent if: (i) the
Collateral Agent (x) fails to meet the requirements for being a Trustee under Section 7.10 (prior
to the discharge or defeasance of this Indenture) and (y) following the discharge or defeasance of
this Indenture, fails to meet the requirements for being the trustee, agent or representative of
holders of any extant Permitted Additional Pari Passu Obligations; (ii) the Collateral Agent is
adjudged a bankrupt or an insolvent or an order for relief is entered with respect to the Collateral
Agent under any Bankruptcy Law; (iii) a custodian or public officer takes charge of the
Collateral Agent or its property; or (iv) the Collateral Agent becomes incapable of acting. If the
Collateral Agent resigns or is removed or if a vacancy exists in the office of Collateral Agent for
any reason, the Issuer shall promptly appoint a successor Collateral Agent which complies with
the eligibility requirements contained in this Indenture and each indenture, credit agreement or
other agreements which any Permitted Additional Pari Passu Obligations (other than Additional
Notes) are incurred. If a successor Collateral Agent does not take office within ten days after the
retiring Collateral Agent resigns or is removed, the retiring or removed Collateral Agent, the
Issuer or the holders of at least 10% in principal amount of the then outstanding principal amount
of (x) the Notes and (y) Permitted Additional Pari Passu Obligations (to the extent the trustee,
agent or representative of holders of such Permitted Additional Pari Passu Obligations executed
a joinder to the Security Agreement) may petition any court of competent jurisdiction, at the
expense of the Issuer for the appointment of a successor Collateral Agent. A successor Collateral
Agent shall deliver a written acceptance of its appointment to the retiring Collateral Agent and to
the Issuer. Thereupon, the resignation or removal of the retiring Collateral Agent shall become
effective, and the successor Collateral Agent shall have all the rights, powers and the duties of
the Collateral Agent under this Indenture and the Security Documents. The successor Collateral
Agent shall mail a notice of its succession to the Trustee and each trustee, agent or representative
of holders of Permitted Additional Pari Passu Obligations. The retiring Collateral Agent shall
promptly transfer all property held by it as Collateral Agent to the successor Collateral Agent,
provided that all sums owing to the Collateral Agent hereunder have been paid. Notwithstanding
replacement of the Collateral Agent pursuant to this Section 12.07(e), the Issuer’s obligations
under this Section 12.07 and Section 12.12 shall continue for the benefit of the retiring Collateral
Agent.




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                 (f)     Except as otherwise explicitly provided herein or in the Security
Documents, neither the Collateral Agent nor any of its officers, directors, employees or agents
shall be liable for failure to demand, collect or realize upon any of the Collateral or for any delay
in doing so or shall be under any obligation to sell or otherwise dispose of any Collateral upon
the request of any other Person or to take any other action whatsoever with regard to the
Collateral or any part thereof. The Collateral Agent shall be accountable only for amounts that it
actually receives as a result of the exercise of such powers, and neither the Collateral Agent nor
any of its officers, directors, employees or agents shall be responsible for any act or failure to act
hereunder, except for its own willful misconduct, gross negligence or bad faith.

                 (g)    The Trustee is authorized and directed in writing by the Holders and the
Holders by acquiring the Notes are deemed to have authorized the Trustee, as applicable, to
(i) enter into the Security Documents, (ii) bind the Holders on the terms as set forth in the
Security Documents and (iii) perform and observe its obligations under the Security Documents.
The Collateral Agent is authorize and directed by the Trustee and the Holders and the Holders by
acquiring the Notes and deemed to have authorized the Collateral Agent to (i) enter into the
Security Documents, (ii) bind the Trustee and the Holders on the terms as set forth in the
Security Documents and (iii) perform and observe its obligations under the Security Documents.

                 (h)    Neither the Collateral Agent nor the Trustee shall have any obligation
whatsoever to assure that the Collateral exists or is owned by the Issuer and the Guarantors or is
cared for, protected or insured or has been encumbered, or that the Collateral Agent’s Liens have
been properly or sufficiently or lawfully created, perfected, protected, maintained or enforced or
are entitled to any particular priority, or to determine whether all of the Grantor’s property
constituting collateral intended to be subject to the Lien and security interest of the Security
Documents has been properly and completely listed or delivered, as the case may be, or the
genuineness, validity, marketability or sufficiency thereof or title thereto, or to exercise at all or
in any particular manner or under any duty of care, disclosure or fidelity, or to continue
exercising, any of the rights, authorities and powers granted or available to the Collateral Agent
pursuant to this Indenture or any Security Document, it being understood and agreed that in
respect of the Collateral, or any act, omission or event related thereto, the Collateral Agent may
act in any manner it may deem appropriate, in its sole discretion given the Collateral Agent’s
own interest in the Collateral, and that neither the Collateral Agent nor the Trustee shall have any
other duty or liability whatsoever as to any of the foregoing.

               (i)       The Collateral Agent (i) shall not be liable for any action it takes or omits
to take in good faith it believes to be authorized or within its rights or powers, or for any error of
judgment made in good faith by an authorized officer, unless it is proved that the Collateral
Agent was negligent in ascertaining the pertinent facts, (ii) shall not be liable for interest on any
money received by it except as the Collateral Agent may agree in writing with the Issuer (and
money held in trust by the Collateral Agent need not be segregated from other funds except to
the extent required by law), and (iii) may consult with counsel of its selection and the advice or
opinion of such counsel as to matters of law shall be full and complete authorization and
protection from liability in respect of any action taken, omitted or suffered by it in good faith and
in accordance with the advice or opinion of such counsel. The grant of permissive rights or
powers to the Collateral Agent shall not be construed to impose duties to act. In no event shall
the Collateral Agent be responsible or liable for special, indirect, punitive or consequential loss


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or damage of any kind whatsoever (including, but not limited to, loss of profit) irrespective of
whether the Collateral Agent has been advised of the likelihood of such loss or damage and
regardless of the form of action.

                (j)     Notwithstanding anything to the contrary in this Indenture (including this
Article 12), in the event of a foreclosure on the Mortgaged Property and/or the exercise of its
remedies under the Security Documents, the Trustee and Collateral Agent agree that they shall
not take any action that results in the disturbance, extinguishment or termination of any
Permitted Liens granted pursuant to clause 14(B) of the definition thereof. Upon the request of
the Issuer, the Collateral Agent shall enter into (x) in the case of any such Permitted Lien that is a
lease, a subordination non−disturbance and attornment agreement and (y) in the case of any such
other Permitted Lien, a nondisturbance agreement, consent or such other agreement which, in
each case, confirms that in the event of a foreclosure on the Mortgaged Property and/or exercise
of remedies under the Security Documents, the Collateral Agent (and its successors and assigns)
will not disturb, extinguish or terminate any such Permitted Liens (or the rights thereunder). Any
request by the Issuer pursuant to the preceding sentence shall be evidenced by a certificate from
an officer of the Issuer which certificate shall certify that (1) the Permitted Liens in question do
not materially adversely affect or impair (A) the business operations of the Issuer and its
Restricted Subsidiaries as a whole or (B) the validity or priority of the Lien of the Mortgages on
the balance of the Mortgaged Property and (2) the applicable non−disturbance agreement,
consent or other agreement provides that the Permitted Liens in question are subordinate to the
Lien in favor of the Collateral Agent on the Mortgaged Property.

                 (k)    The Trustee and the Collateral Agent shall be deemed to have exercised
reasonable care in the custody of the Collateral in their possession if the Collateral is accorded
treatment substantially equal to that which it accords its own property and shall not be liable or
responsible for any loss or diminution in the value of any Collateral, by reason of the act or
omission of any carrier, forwarding agent or other agent or bailee selected by the Trustee or the
Collateral Agent in good faith. Neither the Trustee nor the Collateral Agent shall be responsible
for filing any financing or continuation statements or recording any documents or instruments in
any public office at any time or times or otherwise perfecting or maintaining the perfection of
any security interest in the Collateral.

Section 12.08 Purchaser Protected.

                No purchaser or grantee of any property or rights purporting to be released shall
be bound to ascertain the authority of the Collateral Agent or Trustee to execute the release or to
inquire as to the existence of any conditions herein prescribed for the exercise of such authority
so long as the conditions set forth in Section 12.04 have been satisfied.

Section 12.09 Authorization of Actions to Be Taken by the Collateral Agent Under the Security
              Documents.

                The Holders agree that the Collateral Agent shall be entitled to the rights,
privileges, protections immunities, indemnities and benefits provided to the Collateral Agent by
the Security Documents. Furthermore, each holder of a Note, by accepting such Note, consents




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to the terms of and authorizes and directs the Trustee (in each of its capacities) and the Collateral
Agent to enter into and perform the Security Documents in each of its capacities thereunder.

Section 12.10 Authorization of Receipt of Funds by the Trustee Under the Security Agreement.

               The Trustee is authorized to receive any funds for the benefit of Holders
distributed under the Security Documents to the Trustee, to apply such funds as provided in
Section 6.10 hereof.

Section 12.11 Powers Exercisable by Receiver or Collateral Agent.

                In case the Collateral shall be in the possession of a receiver or trustee, lawfully
appointed, the powers conferred in this Article 12 upon the Issuer or any Guarantor, as
applicable, with respect to the release, sale or other disposition of such property may be
exercised by such receiver or trustee, and an instrument signed by such receiver or trustee shall
be deemed the equivalent of any similar instrument of the Issuer or any Guarantor, as applicable,
or of any officer or officers thereof required by the provisions of this Article 12.

Section 12.12 Compensation and Indemnification.

                The Collateral Agent shall be entitled to the compensation and indemnification set
forth in Section 7.07 (with the references to the Trustee therein being deemed to refer to the
Collateral Agent).

                                           ARTICLE 13

                                           [RESERVED]



                                           ARTICLE 14

                                       MISCELLANEOUS

Section 14.01 Intentionally Omitted.

Section 14.02 Notices.

                (a)     Any notice, direction, request, instruction, document, or communication
by the Issuer, any Guarantor or the Trustee to the others is duly given if in writing and delivered
in Person or by first class mail (registered or certified, return receipt requested), facsimile
transmission electronically in PDF format or overnight air courier guaranteeing next day
delivery, to the others’ address:

       If to either Issuer and/or any Guarantor:

               TPC Group Inc.
               One Allen Center


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               500 Dallas Street, Suite 1000
               Houston, Texas 77002
               Facsimile: (832) 415-0456
               Attention: Marilyn Moore Basso
               Email: Marilyn.MooreBasso@tpcgrp.com

               With a copy to:

               Simpson Thacher & Bartlett LLP
               425 Lexington Avenue
               New York, New York 10017
               Facsimile: (212) 455-2502
               Attention: David Azarkh, Esq.
               Email: dazarkh@stblaw.com

       If to the Trustee or the Collateral Agent:

               U.S. Bank National Association
               Global Corporate Trust Services
               13737 Noel Road, Suite 800
               Dallas, Texas 75240
               Facsimile: (972) 581-1670

                The Issuer, any Guarantor or the Trustee, by notice to the others, may designate
additional or different addresses for subsequent notices or communications; provided, however,
that notices to the Trustee shall only be effective upon actual receipt.

               (b)     All notices and communications (other than those sent to Holders) will be
deemed to have been duly given: at the time delivered by hand, if personally delivered; five
calendar days after being deposited in the mail, postage prepaid, if mailed; when receipt
acknowledged, if transmitted by facsimile; when sent, if sent electronically in PDF format and
the next Business Day after timely delivery to the courier, if sent by overnight air courier
guaranteeing next day delivery.

                (c)     Notwithstanding any other provision hereof or of any Note, where this
Indenture or any Note provides for notice of any event (including any notice of redemption) to
any holder of an interest in a Global Note (whether by email or otherwise), such notice shall be
sufficiently given if given to DTC or other applicable Depositary for such note (or its designee)
according to the applicable procedures of DTC or such Depositary. Any notice or
communication to a Holder of a Definitive Note will be mailed by first class mail, certified or
registered, return receipt requested, or by overnight air courier guaranteeing next day delivery to
its address shown on the register kept by the Registrar. Failure to send a notice or
communication to a Holder as provided herein or any defect in it will not affect its sufficiency
with respect to other Holders.

              (d)     If a notice or communication is sent in the manner provided in this
Section 14.02 within the time prescribed, it is duly given, whether or not the addressee receives
it.


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               (e)    If the Issuer sends a notice or communication to Holders, it will send a
copy to the Trustee and each Agent at the same time.

                (f)     In respect of this Indenture, the Trustee and Collateral Agent shall not
have any duty or obligation to verify or confirm that the Person sending instructions, directions,
reports, notices or other communications or information by electronic transmission is, in fact, a
Person authorized to give such instructions, directions, reports, notices or other communications
or information on behalf of the party purporting to send such electronic transmission; and neither
the Trustee nor the Collateral Agent shall have any liability for any losses, liabilities, costs or
expenses incurred or sustained by any party as a result of such reliance upon or compliance with
such instructions, directions, reports, notices or other communications or information. Each other
party agrees to assume all risks arising out of the use of electronic methods to submit
instructions, directions, reports, notices or other communications or information to the Trustee
and the Collateral Agent, including without limitation the risk of the Trustee and the Collateral
Agent acting on unauthorized instructions, notices, reports or other communications or
information, and the risk of interception and misuse by third parties.

Section 14.03 [Reserved].

Section 14.04 Certificate and Opinion as to Conditions Precedent.

                Upon any request or application by the Issuer to the Trustee to take any action
under this Indenture (other than in connection with the Authentication Order, dated the date
hereof, and delivered to the Trustee in connection with the issuance of the Initial Notes), the
Issuer shall furnish to the Trustee:

              (1)      an Officer’s Certificate (which must include the statements set forth in
       Section 14.05 hereof) stating that, in the opinion of the signers, all conditions precedent
       and covenants, if any, provided for in this Indenture relating to the proposed action have
       been satisfied; and

              (2)    an Opinion of Counsel (which must include the statements set forth in
       Section 14.05 hereof) stating that, in the opinion of such counsel, all such conditions
       precedent and covenants have been satisfied.

Section 14.05 Statements Required in Certificate or Opinion.

              Each certificate or opinion with respect to compliance with a condition or
covenant provided for in this Indenture must include substantially:

              (1)    a statement that the Person making such certificate or opinion has read
       such covenant or condition;

               (2)    a brief statement as to the nature and scope of the examination or
       investigation upon which the statements or opinions contained in such certificate or
       opinion are based;




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              (3)     a statement that, in the opinion of such Person, he or she has made such
       examination or investigation as is necessary to enable him or her to express an informed
       opinion as to whether or not such covenant or condition has been satisfied; and

              (4)     a statement as to whether or not, in the opinion of such Person, such
       condition or covenant has been satisfied.

Section 14.06 Rules by Trustee and Agents.

             The Trustee may make reasonable rules for action by or at a meeting of Holders.
The Agents may make reasonable rules and set reasonable requirements for its functions.

Section 14.07 No Personal Liability of Directors, Officers, Employees and Stockholders.

                To the extent permitted by law, no past, present or future director, manager,
officer, employee, incorporator, stockholder or member of the Issuer, any parent of the Issuer or
any Subsidiary, as such, will have any liability for any obligations of the Issuer or the Guarantors
under the Notes, this Indenture, the Note Guarantees or for any claim based on, in respect of, or
by reason of, such obligations or their creation. Each Holder by accepting a Note waives and
releases all such liability. The waiver and release are part of the consideration for issuance of the
Notes.

Section 14.08 Governing Law.

           (a)   THIS INDENTURE, THE NOTES, AND THE NOTE GUARANTEES
SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH THE LAWS
OF THE STATE OF NEW YORK.

                 (b)    Each party hereto irrevocably and unconditionally submits to the
jurisdiction of the Supreme Court of the State of New York sitting in the Borough of Manhattan,
New York County and of the United States District Court of the Southern District of New York
sitting in the Borough of Manhattan, and any appellate court from any jurisdiction thereof, in any
action or proceeding arising out of or relating to this Indenture, the Notes or the Note
Guarantees, or for recognition or enforcement of any judgment, and each of the parties hereto
hereby irrevocably and unconditionally agrees that all claims in respect of any such action or
proceeding may be heard and determined in such New York State or, to the extent permitted by
law, in such Federal court. Each party hereto agrees that a final judgment in any such action or
proceeding shall be conclusive and may be enforced in other jurisdictions by suit on the
judgment or in any other manner provided by law. Nothing in this Indenture shall affect any right
that any party hereto or any Secured Party may otherwise have to bring any action or proceeding
relating to this Indenture against any party hereto or its properties in the courts of any
jurisdiction.

                (c)     Each party hereto irrevocably and unconditionally waives, to the fullest
extent it may legally and effectively do so, any objection which it may now or hereafter have to
the laying of venue of any suit, action or proceeding arising out of or relating to this Indenture in
any court referred to in Section 14.08(b) hereto. Each party hereto irrevocably waives, to the



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fullest extent permitted by law, the defense of an inconvenient forum to the maintenance of such
action or proceeding in any such court.

               (d)     Each party hereto irrevocably consents to service of process in the manner
provided for notices in Section 14.02 hereof, such service to be effective upon receipt.

       Nothing in this Indenture will affect the right of any party hereto or any Secured Party to
       serve process in any other manner permitted by law.

Section 14.09 Successors.

               All agreements of the Issuer in this Indenture and the Notes will bind its
successors. All agreements of the Trustee in this Indenture will bind its successors. All
agreements of each Guarantor in this Indenture will bind its successors, except as otherwise
provided in Section 10.04.

Section 14.10 Severability.

              In case any provision in this Indenture or in the Notes is invalid, illegal or
unenforceable, the validity, legality and enforceability of the remaining provisions will not in
any way be affected or impaired thereby.

Section 14.11 Counterpart Originals.

                The parties may sign any number of copies of this Indenture. Each signed copy
will be an original, but all of them together represent the same agreement. The exchange of
copies of this Indenture and of signature pages by facsimile or PDF transmission shall constitute
effective execution and delivery of this Indenture as to the parties hereto and may be used in lieu
of the original Indenture for all purposes. Signatures of the parties hereto transmitted by
facsimile or PDF shall be deemed to be their original signatures for all purposes.

Section 14.12 Table of Contents, Headings, etc.

                The Table of Contents, Cross−Reference Table and Headings of the Articles and
Sections of this Indenture have been inserted for convenience of reference only, are not to be
considered a part of this Indenture and will in no way modify or restrict any of the terms or
provisions hereof.

Section 14.13 Waiver of Immunity.

                To the extent that any of the Issuer or the Guarantors has or hereafter may acquire
any immunity from jurisdiction of any court or from any legal process (whether through service
of notice, attachment prior to judgment, attachment in aid of execution or execution, on the
ground of sovereignty or otherwise) with respect to itself or its property, it hereby irrevocably
waives, to the fullest extent permitted by applicable law, such immunity in respect of its
obligations under this Indenture, Note and/or Note Guarantees.

Section 14.14 Waiver of Jury Trial.


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           ALL PARTIES HERETO HEREBY IRREVOCABLY WAIVE ALL RIGHTS
TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER
BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO
THIS INDENTURE, THE NOTES, THE NOTE GUARANTEES, THE SECURITY
DOCUMENTS, THE INTERCREDITOR AGREEMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY OR THEREBY.

Section 14.15 U.S.A. Patriot Act.

                The parties hereto acknowledge that in accordance with Section 326 of the U.S.A.
Patriot Act, the Trustee, like all financial institutions and in order to help fight the funding of
terrorism and money laundering, is required to obtain, verify, and record information that
identifies each person or legal entity that establishes a relationship or opens an account with the
Trustee. The parties to this Indenture agree that they will provide the Trustee with such
information as it may request in order for the Trustee to satisfy the requirements of the U.S.A.
Patriot Act.

                                 [Signatures on following page]




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                                                                                    EXHIBIT A1

                                  [Face of 144A Global Note]

[Insert the Global Note Legend, if applicable pursuant to the provisions of the Indenture]

[Insert the Private Placement Legend, if applicable pursuant to the provisions of the Indenture]


                                                     CUSIP/ISIN 89236Y AB0 / US89236YAB02

                             10.50% Senior Secured Note due 2024

       No.                                                                               $

                                           TPC Group Inc.
                                           One Allen Center
                                      500 Dallas Street, Suite 1000
                                         Houston, Texas 77002

       promise to pay to CEDE & CO. or registered assigns,

       the principal sum of _______________ DOLLARS on August 1, 2024.

       Interest Payment Dates: February 1 and August 1

       Record Dates: January 15 and July 15

       Dated: August 2 ,2019




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                                                 TPC GROUP INC.


                                                 By:
                                                       Name:
                                                       Title:



        This is one of the Notes referred to
in the within−mentioned Indenture:

 U.S. BANK NATIONAL ASSOCIATION,
 as Trustee


 By:
                         Authorized Signatory




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                                  [Back of 144A Global Note]
                             10.50% Senior Secured Notes due 2024

               Capitalized terms used herein have the meanings assigned to them in the
Indenture referred to below unless otherwise indicated.

                (1)    INTEREST. TPC Group Inc., a Delaware corporation (the “Issuer”),
promises to pay interest on the principal amount of this Note at 10.50% per annum from August
2, 2019 until maturity. The Issuer will pay interest semi−annually in arrears on February 1 and
August 1 of each year, or if any such day is not a Business Day, on the next succeeding Business
Day (each, an “Interest Payment Date”). Interest on the Notes will accrue from the most recent
date to which interest has been paid or, if no interest has been paid, from August 2, 2019 until the
principal hereof is due. The first Interest Payment Date shall be February 1, 2020. The Issuer will
pay interest on overdue principal at the rate borne by the Notes, and it shall pay interest on
overdue installments of interest at the same rate to the extent lawful. Interest will be computed
on the basis of a 360−day year of twelve 30−day months.

                (2)      METHOD OF PAYMENT. The Issuer will pay interest on the Notes
(except defaulted interest) to the Persons who are registered Holders at the close of business on
the January 15 or July 15 immediately preceding the Interest Payment Date (whether or not a
Business Day), even if such Notes are canceled after such record date and on or before such
Interest Payment Date, except as provided in Section 2.12 of the Indenture with respect to
defaulted interest. Payments in respect of Notes represented by Global Notes (including
principal, premium, if any, and interest) shall be made by wire transfer of immediately available
funds to the accounts specified by The Depository Trust Company or any successor depositary.
The Issuer will make all payments in respect of a Definitive Note (including principal, premium,
if any, and interest), at the office of each Paying Agent, except that, at the option of the Issuer,
payment of interest may be made by mailing a check to the registered address of each Holder
thereof; provided, however, that payments on the Notes may also be made in the case of a Holder
of at least $1,000,000 aggregate principal amount of Notes, by wire transfer to a U.S. dollar
account maintained by the payee with a bank in the United States if such Holder elects payment
by wire transfer by giving written notice to the Trustee or a Paying Agent to such effect
designating such account no later than 30 days immediately preceding the relevant due date for
payment (or such other date as the Trustee may accept in its discretion). Such payment will be in
such coin or currency of the United States of America as at the time of payment is legal tender
for payment of public and private debts.

               (3)     PAYING AGENT AND REGISTRAR. Initially, U.S. Bank National
Association, the Trustee under the Indenture, will act as Paying Agent and Registrar. The Issuer
may change any Paying Agent or Registrar without notice to any Holder. The Issuer or any of the
Issuer’s Subsidiaries may act in any such capacity.

               (4)     INDENTURE. The Issuer issued the Notes under an Indenture dated as of
August 2, 2019 (the “Indenture”) among the Issuer, the Guarantors and the Trustee. The terms of
the Notes include those stated in the Indenture. Terms defined in the Indenture and not defined
herein have the meanings ascribed thereto in the Indenture. The Notes are subject to all the terms
and provisions of the Indenture, and Holders are referred to the Indenture for a statement of such


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terms. To the extent any provision of this Note conflicts with the express provisions of the
Indenture, the provisions of the Indenture shall govern and be controlling.

                The Notes are senior secured obligations of the Issuer. This Note is one of the
Notes referred to in the Indenture. The Notes include the Initial Notes and any Additional Notes.
The Initial Notes and any Additional Notes are treated as a single class of securities under the
Indenture. The Indenture imposes certain limitations on the ability of the Issuer and its Restricted
Subsidiaries to, among other things, make certain Investments and other Restricted Payments,
pay dividends and other distributions, incur Indebtedness, enter into consensual restrictions upon
the payment of certain dividends and distributions by such Restricted Subsidiaries, issue or sell
shares of capital stock of the Issuer and such Restricted Subsidiaries, enter into or permit certain
transactions with Affiliates, create or incur Liens and make asset sales. The Indenture also
imposes limitations on the ability of the Issuer and each Guarantor to consolidate or merge with
or into any other Person or convey, transfer or lease all or substantially all of its property.

                To guarantee the due and punctual payment of the principal and interest on the
Notes and all other amounts payable by the Issuer under the Indenture, the Notes and the
Security Documents when and as the same shall be due and payable, whether at maturity, by
acceleration or otherwise, according to the terms of the Notes and the Indenture, the Guarantors
have, jointly and severally, unconditionally guaranteed the Obligations of the Issuer under the
Notes on a senior secured basis pursuant to the terms of the Indenture.

                The Notes shall be secured by Liens and security interests, subject to Permitted
Liens, in the Collateral on the terms and conditions set forth in the Indenture, the Intercreditor
Agreement and the other Security Documents. The Collateral Agent holds the Collateral in trust
for the benefit of the Holders of the Notes Obligations and the Trustee and the Holders, in each
case pursuant to the Security Documents. The Collateral will also secure obligations under
Permitted Additional Pari Passu Obligations and Indebtedness and other Obligations permitted
under the Indenture to be secured.

                Each Holder by accepting this Note consents and agrees to the terms of the
Intercreditor Agreement and the other Security Documents as the same may be in effect or may
be amended from time to time in accordance with their terms and the Indenture authorizes and
directs the Collateral Agent and the Trustee, as applicable, to enter into the Intercreditor
Agreement and the other Security Documents and to perform its obligations and exercise its
rights thereunder in accordance therewith.

               (5)     OPTIONAL REDEMPTION.

                (a)     At any time prior to August 1, 2021, the Issuer may on any one or more
occasions redeem up to 35% of the aggregate principal amount of Notes issued under the
Indenture at a redemption price of 110.50% of the principal amount thereof, plus accrued and
unpaid interest to, but not including, the redemption date (subject to the right of Holders on the
relevant record date to receive interest due on the relevant interest payment date), with the net
cash proceeds of one or more Equity Offerings; provided that:




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               (1)     at least 50% of the aggregate principal amount of Notes issued under the
Indenture (including any Additional Notes issued after the Issue Date, but excluding Notes held
by the Issuer and its Subsidiaries, including the Issuer) remains outstanding immediately after the
occurrence of such redemption (unless all of such Notes are redeemed); and

              (2)      the redemption occurs within 180 days of the date of the closing of such
Equity Offering.

               (b)     On or after August 1, 2021, the Issuer may redeem all or a part of the
Notes at the redemption prices (expressed as percentages of principal amount) set forth below
plus accrued and unpaid interest on the Notes redeemed to, but not including, the applicable
redemption date, if redeemed during the 12−month period beginning on August 1 of the years
indicated below, subject to the rights of Holders on the relevant record date to receive interest
due on the relevant interest payment date:

                          Year                                         Percentage
                          2021                                         107.875%
                          2022                                         103.938%
                          2023 and thereafter                          100.000%

               Unless the Issuer defaults in the payment of the redemption price or unless any
condition to the redemption described in the notice of redemption is not satisfied, interest will
cease to accrue on the Notes or portions thereof called for redemption on the applicable
redemption date.

                (c)     The Notes will be subject to redemption as a whole, but not in part, at the
option of the Issuer at any time, at 100% of the principal amount, plus accrued and unpaid
interest on the Notes to be redeemed to, but not including, the redemption date (subject to the
right of Holders on the relevant record date to receive interest due on the relevant Interest
Payment Date).

               (d)      At any time prior to August 1, 2021, the Issuer may also redeem all or a
part of the Notes, at a redemption price equal to 100% of the aggregate principal amount hereof
plus the Applicable Premium as of, and accrued and unpaid interest to, but not including, the
date of redemption, subject to the rights of Holders on the relevant record date to receive interest
due on the relevant interest payment date.

               (6)     MANDATORY REDEMPTION.

              The Issuer is not required to make mandatory redemption or sinking fund
payments with respect to the Notes.

                (7)    NOTICE OF REDEMPTION. Notice of redemption will be mailed, or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, at least 15 days but not more than 60 days before the redemption date to each Holder
whose Notes are to be redeemed at its registered address, except that redemption notices may be
mailed more than 60 days prior to a redemption date, or otherwise deliver notice in accordance
with the applicable procedures of DTC, with a copy to the Trustee, if the notice is issued in


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connection with a defeasance of the Notes or a satisfaction or discharge of the Indenture. Notes
in denominations larger than $2,000 may be redeemed in part but only in whole multiples of
$1,000 in excess of $2,000.

               (8)     REPURCHASE AT THE OPTION OF HOLDER.

                (a)     If there is a Change of Control, the Issuer will make an offer (a “Change
of Control Offer”) to each Holder to repurchase all or any part (equal to $2,000 or an integral
multiple of $1,000 in excess of $2,000) of that Holder’s Notes at a purchase price in cash equal
to 101% of the aggregate principal amount of Notes repurchased plus accrued and unpaid interest
on the Notes repurchased to, but not including, the date of purchase, subject to the rights of
Holders on the relevant record date to receive interest due on the relevant interest payment date.
Within 30 days following any Change of Control, the Issuer will mail a notice to each Holder or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, setting forth the procedures governing the Change of Control Offer as required by the
Indenture.

                (b)     If the Issuer or a Restricted Subsidiary of the Issuer consummates any
Asset Sales, within ten Business Days of each date on which the aggregate amount of Excess
Proceeds exceeds $25.0 million, the Issuer will commence an offer to all Holders and (x) in the
case of Net Proceeds from Notes Priority Collateral, to the holders of any other Permitted
Additional Pari Passu Obligations containing provisions similar to those set forth in this
Indenture with respect to offers to purchase or redeem with the proceeds of sales of assets or
(y) in the case of any other Net Proceeds, to all holders of other Permitted Additional Pari Passu
Obligations containing provisions similar to those set forth in the Indenture with respect to offers
to purchase or redeem with the proceeds of sales of assets (an “Asset Sale Offer”) pursuant to
Section 4.08 of the Indenture to purchase the maximum principal amount of Notes and Permitted
Additional Pari Passu Obligations, as appropriate, that may be purchased out of the Excess
Proceeds at an offer price in cash in an amount equal to 100% of the principal amount thereof
plus accrued and unpaid interest thereon to, but excluding, the date of purchase, in accordance
with the procedures set forth in the Indenture. To the extent that any Excess Proceeds remain
after the consummation of an Asset Sale Offer, the Issuer or any Restricted Subsidiary of the
Issuer may use those Excess Proceeds for any purpose not otherwise prohibited by the Indenture.
If the aggregate principal amount of Notes and Permitted Additional Pari Passu Obligations, as
appropriate, tendered into such Asset Sale Offer exceeds the amount of Excess Proceeds, the
Trustee shall select the Notes to be purchased on a pro rata basis. Holders that are the subject of
an offer to purchase will receive an Asset Sale Offer from the Issuer prior to any related purchase
date and may elect to have such Notes purchased by completing the form entitled “Option of
Holder to Elect Purchase” attached to the Notes.

                (9)    DENOMINATIONS, TRANSFER, EXCHANGE. The Notes are in
registered form without coupons in denominations of $2,000 and integral multiples of $1,000 in
excess of $2,000. The transfer of Notes may be registered and Notes may be exchanged as
provided in the Indenture. The Registrar and the Trustee may require a Holder, among other
things, to furnish appropriate endorsements and transfer documents and the Issuer may require a
Holder to pay any taxes and fees required by law or permitted by the Indenture. The Issuer need
not exchange or register the transfer of any Note or portion of a Note selected for redemption,


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except for the unredeemed portion of any Note being redeemed in part. Also, the Issuer need not
exchange or register the transfer of any Notes for a period of 15 days before a selection of Notes
to be redeemed or during the period between a record date and the corresponding Interest
Payment Date.

                (10) PERSONS DEEMED OWNERS. The registered Holder may be treated as
its owner for all purposes.

              (11) AMENDMENT, SUPPLEMENT AND WAIVER. The provisions
governing amendment, supplement and waiver of any provision of the Indenture, the Notes or
the Note Guarantees are set forth in Article 9 of the Indenture.

               (12) DEFAULTS AND REMEDIES. The Events of Default relating to the Notes
are defined in Section 6.01 of the Indenture.

                (13) DISCHARGE AND DEFEASANCE. Subject to certain conditions, the
Issuer at any time may terminate some or all of its obligations under the Notes, the Note
Guarantees and the Indenture if the Issuer deposits with the Trustee money or U.S. Government
Securities for the payment of principal of and interest on the Notes to redemption or maturity, as
the case may be.

                 (14) TRUSTEE DEALINGS WITH ISSUER. The Trustee, in its individual or
any other capacity, may make loans to, accept deposits from, and perform services for the Issuer
or its Affiliates, and may otherwise deal with the Issuer or its Affiliates, as if it were not the
Trustee.

                (15) NO RECOURSE AGAINST OTHERS. A director, manager, officer,
employee, incorporator, member or stockholder of the Issuer or any of the Guarantors, as such,
will not have any liability for any obligations of the Issuer or the Guarantors under the Notes, the
Note Guarantees or the Indenture or for any claim based on, in respect of, or by reason of, such
obligations or their creation. Each Holder by accepting a Note waives and releases all such
liability. The waiver and release are part of the consideration for the issuance of the Notes.

              (16) AUTHENTICATION. This Note will not be valid until authenticated by the
manual signature of the Trustee or an authenticating agent.

                (17) ABBREVIATIONS. Customary abbreviations may be used in the name of a
Holder or an assignee, such as: TEN COM (= tenants in common), TEN ENT (= tenants by the
entireties), JT TEN (= joint tenants with right of survivorship and not as tenants in common),
CUST (= Custodian), and U/G/M/A (= Uniform Gifts to Minors Act).

               (18) CUSIP NUMBERS. Pursuant to a recommendation promulgated by the
Committee on Uniform Security Identification Procedures, the Issuer has caused CUSIP numbers
to be printed on the Notes, and CUSIP numbers may be used in notices of redemption as a
convenience to Holders. No representation is made as to the accuracy of such numbers either as
printed on the Notes or as contained in any notice of redemption, and reliance may be placed
only on the other identification numbers placed thereon.



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           (19) GOVERNING LAW. THE INDENTURE, THIS NOTE AND THE NOTE
GUARANTEES SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK.




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               The Issuer will furnish to any Holder upon written request and without charge a
copy of the Indenture. Requests may be made to:

                                          TPC Group Inc.
                                          One Allen Center
                                     500 Dallas Street, Suite 1000
                                        Houston, Texas 77002




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                                     ASSIGNMENT FORM

       To assign this Note, fill in the form below:

       (I) or (we) assign and transfer this Note

       to:
                                      (Insert assignee’s legal name)


                                (Insert assignee’s soc. sec. or tax I.D. no.)




                          (Print or type assignee’s name, address and zip code)

       and irrevocably

       appoint
       to transfer this Note on the books of the Issuer. The agent may substitute another to act
for him.

       Date:

                                      Your Signature:
                                                        (Sign exactly as your name appears on the
                                                        face of this Note)

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
guarantor acceptable to the Trustee).




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                        OPTION OF HOLDER TO ELECT PURCHASE

               If you want to elect to have this Note purchased by the Issuer pursuant to
Section 4.08 or 4.12 of the Indenture, check the appropriate box below:

                    Section 4.08                                   Section 4.12

               If you want to elect to have only part of the Note purchased by the Issuer pursuant
to Section 4.08 or Section 4.12 of the Indenture, state the amount you elect to have purchased:

                                                 $

       Date:

                                     Your Signature:
                                                       (Sign exactly as your name appears on the
                                                       face of this Note)

                                     Tax Identification No.:

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
       guarantor acceptable to the Trustee).




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SCHEDULE OF TRANSFERS AND EXCHANGES OF INTERESTS IN THE 144A GLOBAL
                              NOTE*

              The following exchanges of a part of this 144A Global Note for an interest in
another Global Note or for a Definitive Note, or exchanges of a part of another Global Note or
Definitive Note for an interest in this 144A Global Note, have been made:

                                                                     Principal Amount of
                                                                       this Global Note        Signature of
                       Amount of decrease      Amount of increase       following such     authorized signatory
 Date of Transfer or   in Principal Amount    in Principal Amount        decrease (or          of Trustee or
     Exchange           of this Global Note    of this Global Note         increase)            Custodian


* This schedule should be included only if the Note is issued in global form




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                                                                          EXHIBIT A2

                        [Face of Regulation S Global Note]

                         [Insert the Global Note Legend]

                    [Insert the Private Placement Legend]


                                         CUSIP/ISIN U8925W AD3 / USU8925WAD30

                    10.50% Senior Secured Note due 2024

No.                                                                             $

                                   TPC Group Inc.
                                   One Allen Center
                              500 Dallas Street, Suite 1000
                                 Houston, Texas 77002

promise to pay to CEDE & CO. or registered assigns,

the principal sum of _______________ DOLLARS on August 1, 2024.

Interest Payment Dates: February 1 and August 1

Record Dates: January 15 and July 15

Dated: August 2 ,2019




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                                                 TPC GROUP INC.


                                                 By:
                                                       Name:
                                                       Title:



        This is one of the Notes referred to
in the within−mentioned Indenture:

 U.S. BANK NATIONAL ASSOCIATION,
 as Trustee


 By:
                         Authorized Signatory




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                               [Back of Regulation S Global Note]
                              10.50% Senior Secured Note due 2024

               Capitalized terms used herein have the meanings assigned to them in the
Indenture referred to below unless otherwise indicated.

                (1)    INTEREST. TPC Group Inc., a Delaware corporation (the “Issuer”),
promises to pay interest on the principal amount of this Note at 10.50% per annum from August
2, 2019 until maturity. The Issuer will pay interest semi−annually in arrears on February 1 and
August 1 of each year, or if any such day is not a Business Day, on the next succeeding Business
Day (each, an “Interest Payment Date”). Interest on the Notes will accrue from the most recent
date to which interest has been paid or, if no interest has been paid, from August 2, 2019 until the
principal hereof is due. The first Interest Payment Date shall be February 1, 2020. The Issuer will
pay interest on overdue principal at the rate borne by the Notes, and it shall pay interest on
overdue installments of interest at the same rate to the extent lawful. Interest will be computed
on the basis of a 360−day year of twelve 30−day months.

                (2)      METHOD OF PAYMENT. The Issuer will pay interest on the Notes
(except defaulted interest) to the Persons who are registered Holders at the close of business on
the January 15 or July 15 immediately preceding the Interest Payment Date (whether or not a
Business Day), even if such Notes are canceled after such record date and on or before such
Interest Payment Date, except as provided in Section 2.12 of the Indenture with respect to
defaulted interest. Payments in respect of Notes represented by Global Notes (including
principal, premium, if any, and interest) shall be made by wire transfer of immediately available
funds to the accounts specified by The Depository Trust Company or any successor depositary.
The Issuer will make all payments in respect of a Definitive Note (including principal, premium,
if any, and interest), at the office of each Paying Agent, except that, at the option of the Issuer,
payment of interest may be made by mailing a check to the registered address of each Holder
thereof; provided, however, that payments on the Notes may also be made in the case of a Holder
of at least $1,000,000 aggregate principal amount of Notes, by wire transfer to a U.S. dollar
account maintained by the payee with a bank in the United States if such Holder elects payment
by wire transfer by giving written notice to the Trustee or a Paying Agent to such effect
designating such account no later than 30 days immediately preceding the relevant due date for
payment (or such other date as the Trustee may accept in its discretion). Such payment will be in
such coin or currency of the United States of America as at the time of payment is legal tender
for payment of public and private debts.

               (3)     PAYING AGENT AND REGISTRAR. Initially, U.S. Bank National
Association, the Trustee under the Indenture, will act as Paying Agent and Registrar. The Issuer
may change any Paying Agent or Registrar without notice to any Holder. The Issuer or any of the
Issuer’s Subsidiaries may act in any such capacity.

               (4)     INDENTURE. The Issuer issued the Notes under an Indenture dated as of
August 2, 2019 (the “Indenture”) among the Issuer, the Guarantors and the Trustee. The terms of
the Notes include those stated in the Indenture. Terms defined in the Indenture and not defined
herein have the meanings ascribed thereto in the Indenture. The Notes are subject to all the terms
and provisions of the Indenture, and Holders are referred to the Indenture for a statement of such


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terms. To the extent any provision of this Note conflicts with the express provisions of the
Indenture, the provisions of the Indenture shall govern and be controlling.

                The Notes are senior secured obligations of the Issuer. This Note is one of the
Notes referred to in the Indenture. The Notes include the Initial Notes and any Additional Notes.
The Initial Notes and any Additional Notes are treated as a single class of securities under the
Indenture. The Indenture imposes certain limitations on the ability of the Issuer and its Restricted
Subsidiaries to, among other things, make certain Investments and other Restricted Payments,
pay dividends and other distributions, incur Indebtedness, enter into consensual restrictions upon
the payment of certain dividends and distributions by such Restricted Subsidiaries, issue or sell
shares of capital stock of the Issuer and such Restricted Subsidiaries, enter into or permit certain
transactions with Affiliates, create or incur Liens and make asset sales. The Indenture also
imposes limitations on the ability of the Issuer and each Guarantor to consolidate or merge with
or into any other Person or convey, transfer or lease all or substantially all of its property.

                To guarantee the due and punctual payment of the principal and interest on the
Notes and all other amounts payable by the Issuer under the Indenture, the Notes and the
Security Documents when and as the same shall be due and payable, whether at maturity, by
acceleration or otherwise, according to the terms of the Notes and the Indenture, the Guarantors
have, jointly and severally, unconditionally guaranteed the Obligations of the Issuer under the
Notes on a senior secured basis pursuant to the terms of the Indenture.

                The Notes shall be secured by Liens and security interests, subject to Permitted
Liens, in the Collateral on the terms and conditions set forth in the Indenture, the Intercreditor
Agreement and the other Security Documents. The Collateral Agent holds the Collateral in trust
for the benefit of the Holders of the Notes Obligations and the Trustee and the Holders, in each
case pursuant to the Security Documents. The Collateral will also secure obligations under
Permitted Additional Pari Passu Obligations and Indebtedness and other Obligations permitted
under the Indenture to be secured.

                Each Holder by accepting this Note consents and agrees to the terms of the
Intercreditor Agreement and the other Security Documents as the same may be in effect or may
be amended from time to time in accordance with their terms and the Indenture authorizes and
directs the Collateral Agent and the Trustee, as applicable, to enter into the Intercreditor
Agreement and the other Security Documents and to perform its obligations and exercise its
rights thereunder in accordance therewith.

               (5)     OPTIONAL REDEMPTION.

                (a)     At any time prior to August 1, 2021, the Issuer may on any one or more
occasions redeem up to 35% of the aggregate principal amount of Notes issued under the
Indenture at a redemption price of 110.50% of the principal amount thereof, plus accrued and
unpaid interest to, but not including, the redemption date (subject to the right of Holders on the
relevant record date to receive interest due on the relevant interest payment date), with the net
cash proceeds of one or more Equity Offerings; provided that:




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               (1)     at least 50% of the aggregate principal amount of Notes issued under the
Indenture (including any Additional Notes issued after the Issue Date, but excluding Notes held
by the Issuer and its Subsidiaries, including the Issuer) remains outstanding immediately after the
occurrence of such redemption (unless all of such Notes are redeemed); and

              (2)      the redemption occurs within 180 days of the date of the closing of such
Equity Offering.

               (b)     On or after August 1, 2021, the Issuer may redeem all or a part of the
Notes at the redemption prices (expressed as percentages of principal amount) set forth below
plus accrued and unpaid interest on the Notes redeemed to, but not including, the applicable
redemption date, if redeemed during the 12−month period beginning on August 1 of the years
indicated below, subject to the rights of Holders on the relevant record date to receive interest
due on the relevant interest payment date:

                          Year                                         Percentage
                          2021                                         107.875%
                          2022                                         103.938%
                          2023 and thereafter                          100.000%

               Unless the Issuer defaults in the payment of the redemption price or unless any
condition to the redemption described in the notice of redemption is not satisfied, interest will
cease to accrue on the Notes or portions thereof called for redemption on the applicable
redemption date.

                (c)     The Notes will be subject to redemption as a whole, but not in part, at the
option of the Issuer at any time, at 100% of the principal amount, plus accrued and unpaid
interest on the Notes to be redeemed to, but not including, the redemption date (subject to the
right of Holders on the relevant record date to receive interest due on the relevant Interest
Payment Date).

               (d)      At any time prior to August 1, 2021, the Issuer may also redeem all or a
part of the Notes, at a redemption price equal to 100% of the aggregate principal amount hereof
plus the Applicable Premium as of, and accrued and unpaid interest to, but not including, the
date of redemption, subject to the rights of Holders on the relevant record date to receive interest
due on the relevant interest payment date.

               (6)     MANDATORY REDEMPTION.

              The Issuer is not required to make mandatory redemption or sinking fund
payments with respect to the Notes.

                (7)    NOTICE OF REDEMPTION. Notice of redemption will be mailed, or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, at least 15 days but not more than 60 days before the redemption date to each Holder
whose Notes are to be redeemed at its registered address, except that redemption notices may be
mailed more than 60 days prior to a redemption date, or otherwise deliver notice in accordance
with the applicable procedures of DTC, with a copy to the Trustee, if the notice is issued in


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connection with a defeasance of the Notes or a satisfaction or discharge of the Indenture. Notes
in denominations larger than $2,000 may be redeemed in part but only in whole multiples of
$1,000 in excess of $2,000.

               (8)     REPURCHASE AT THE OPTION OF HOLDER.

                (a)     If there is a Change of Control, the Issuer will make an offer (a “Change
of Control Offer”) to each Holder to repurchase all or any part (equal to $2,000 or an integral
multiple of $1,000 in excess of $2,000) of that Holder’s Notes at a purchase price in cash equal
to 101% of the aggregate principal amount of Notes repurchased plus accrued and unpaid interest
on the Notes repurchased to, but not including, the date of purchase, subject to the rights of
Holders on the relevant record date to receive interest due on the relevant interest payment date.
Within 30 days following any Change of Control, the Issuer will mail a notice to each Holder or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, setting forth the procedures governing the Change of Control Offer as required by the
Indenture.

                (b)     If the Issuer or a Restricted Subsidiary of the Issuer consummates any
Asset Sales, within ten Business Days of each date on which the aggregate amount of Excess
Proceeds exceeds $25.0 million, the Issuer will commence an offer to all Holders and (x) in the
case of Net Proceeds from Notes Priority Collateral, to the holders of any other Permitted
Additional Pari Passu Obligations containing provisions similar to those set forth in this
Indenture with respect to offers to purchase or redeem with the proceeds of sales of assets or
(y) in the case of any other Net Proceeds, to all holders of other Permitted Additional Pari Passu
Obligations containing provisions similar to those set forth in the Indenture with respect to offers
to purchase or redeem with the proceeds of sales of assets (an “Asset Sale Offer”) pursuant to
Section 4.08 of the Indenture to purchase the maximum principal amount of Notes and Permitted
Additional Pari Passu Obligations, as appropriate, that may be purchased out of the Excess
Proceeds at an offer price in cash in an amount equal to 100% of the principal amount thereof
plus accrued and unpaid interest thereon to, but excluding, the date of purchase, in accordance
with the procedures set forth in the Indenture. To the extent that any Excess Proceeds remain
after the consummation of an Asset Sale Offer, the Issuer or any Restricted Subsidiary of the
Issuer may use those Excess Proceeds for any purpose not otherwise prohibited by the Indenture.
If the aggregate principal amount of Notes and Permitted Additional Pari Passu Obligations, as
appropriate, tendered into such Asset Sale Offer exceeds the amount of Excess Proceeds, the
Trustee shall select the Notes to be purchased on a pro rata basis. Holders that are the subject of
an offer to purchase will receive an Asset Sale Offer from the Issuer prior to any related purchase
date and may elect to have such Notes purchased by completing the form entitled “Option of
Holder to Elect Purchase” attached to the Notes.

                (9)    DENOMINATIONS, TRANSFER, EXCHANGE. The Notes are in
registered form without coupons in denominations of $2,000 and integral multiples of $1,000 in
excess of $2,000. The transfer of Notes may be registered and Notes may be exchanged as
provided in the Indenture. The Registrar and the Trustee may require a Holder, among other
things, to furnish appropriate endorsements and transfer documents and the Issuer may require a
Holder to pay any taxes and fees required by law or permitted by the Indenture. The Issuer need
not exchange or register the transfer of any Note or portion of a Note selected for redemption,


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except for the unredeemed portion of any Note being redeemed in part. Also, the Issuer need not
exchange or register the transfer of any Notes for a period of 15 days before a selection of Notes
to be redeemed or during the period between a record date and the corresponding Interest
Payment Date.

                (10) PERSONS DEEMED OWNERS. The registered Holder may be treated as
its owner for all purposes.

              (11) AMENDMENT, SUPPLEMENT AND WAIVER. The provisions governing
amendment, supplement and waiver of any provision of the Indenture, the Notes or the Note
Guarantees are set forth in Article 9 of the Indenture.

               (12) DEFAULTS AND REMEDIES. The Events of Default relating to the Notes
are defined in Section 6.01 of the Indenture.

                (13) DISCHARGE AND DEFEASANCE. Subject to certain conditions, the
Issuer at any time may terminate some or all of its obligations under the Notes, the Note
Guarantees and the Indenture if the Issuer deposits with the Trustee money or U.S. Government
Securities for the payment of principal of and interest on the Notes to redemption or maturity, as
the case may be.

                 (14) TRUSTEE DEALINGS WITH ISSUER. The Trustee, in its individual or
any other capacity, may make loans to, accept deposits from, and perform services for the Issuer
or its Affiliates, and may otherwise deal with the Issuer or its Affiliates, as if it were not the
Trustee.

                (15) NO RECOURSE AGAINST OTHERS. A director, manager, officer,
employee, incorporator, member or stockholder of the Issuer or any of the Guarantors, as such,
will not have any liability for any obligations of the Issuer or the Guarantors under the Notes, the
Note Guarantees or the Indenture or for any claim based on, in respect of, or by reason of, such
obligations or their creation. Each Holder by accepting a Note waives and releases all such
liability. The waiver and release are part of the consideration for the issuance of the Notes.

              (16) AUTHENTICATION. This Note will not be valid until authenticated by the
manual signature of the Trustee or an authenticating agent.

                (17) ABBREVIATIONS. Customary abbreviations may be used in the name of a
Holder or an assignee, such as: TEN COM (= tenants in common), TEN ENT (= tenants by the
entireties), JT TEN (= joint tenants with right of survivorship and not as tenants in common),
CUST (= Custodian), and U/G/M/A (= Uniform Gifts to Minors Act).

               (18) CUSIP NUMBERS. Pursuant to a recommendation promulgated by the
Committee on Uniform Security Identification Procedures, the Issuer has caused CUSIP numbers
to be printed on the Notes, and CUSIP numbers may be used in notices of redemption as a
convenience to Holders. No representation is made as to the accuracy of such numbers either as
printed on the Notes or as contained in any notice of redemption, and reliance may be placed
only on the other identification numbers placed thereon.



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           (19) GOVERNING LAW. THE INDENTURE, THIS NOTE AND THE NOTE
GUARANTEES SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK.

               The Issuer will furnish to any Holder upon written request and without charge a
copy of the Indenture. Requests may be made to:

                                          TPC Group Inc.
                                          One Allen Center
                                     500 Dallas Street, Suite 1000
                                        Houston, Texas 77002




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                                     ASSIGNMENT FORM

       To assign this Note, fill in the form below:

       (I) or (we) assign and transfer this Note

       to:
                                      (Insert assignee’s legal name)


                                (Insert assignee’s soc. sec. or tax I.D. no.)




                          (Print or type assignee’s name, address and zip code)

       and irrevocably

       appoint
       to transfer this Note on the books of the Issuer. The agent may substitute another to act
for him.

       Date:

                                      Your Signature:
                                                        (Sign exactly as your name appears on the
                                                        face of this Note)

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
guarantor acceptable to the Trustee).




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                        OPTION OF HOLDER TO ELECT PURCHASE

               If you want to elect to have this Note purchased by the Issuer pursuant to
Section 4.08 or 4.12 of the Indenture, check the appropriate box below:

                    Section 4.08                                   Section 4.12

               If you want to elect to have only part of the Note purchased by the Issuer pursuant
to Section 4.08 or Section 4.12 of the Indenture, state the amount you elect to have purchased:

                                                 $

       Date:

                                     Your Signature:
                                                       (Sign exactly as your name appears on the
                                                       face of this Note)

                                     Tax Identification No.:

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
       guarantor acceptable to the Trustee).




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SCHEDULE OF TRANSFERS AND EXCHANGES OF INTERESTS IN THE REGULATION
                         S GLOBAL NOTE*

              The following exchanges of a part of this Regulation S Global Note for an interest
in another Global Note or for a Definitive Note, or exchanges of a part of another Global Note or
Definitive Note for an interest in this Regulation S Global Note, have been made:

                                                                     Principal Amount of
                                                                       this Global Note        Signature of
                       Amount of decrease      Amount of increase       following such     authorized signatory
 Date of Transfer or   in Principal Amount    in Principal Amount        decrease (or          of Trustee or
     Exchange           of this Global Note    of this Global Note         increase)            Custodian



* This schedule should be included only if the Note is issued in global form




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                                                                                        EXHIBIT B

                           FORM OF CERTIFICATE OF TRANSFER

TPC Group Inc.
One Allen Center
500 Dallas Street, Suite 1000
Houston, Texas 77002

U.S. Bank National Association,
as Trustee and Registrar
Global Corporate Trust Services
13737 Noel Road, Suite 800
Dallas, Texas 75240
Facsimile: (972) 581-1670

                           Re: 10.50% Senior Secured Notes due 2024

               Reference is hereby made to the Indenture, dated as of August 2, 2019
(the “Indenture”), among TPC Group Inc. (the “Issuer”), the Guarantors and U.S. Bank National
Association, as trustee and collateral agent. Capitalized terms used but not defined herein shall
have the meanings given to them in the Indenture.

                ______________, (the “Transferor”) owns and proposes to transfer the Note[s] or
interest in such Note[s] specified in Annex A hereto, in the principal amount of $ _______ in
such Note[s] or interests (the “Transfer”), to __________ (the “Transferee”), as further specified
in Annex A hereto. In connection with the Transfer, the Transferor hereby certifies that:

                                  [CHECK ALL THAT APPLY]

                1.      Check if Transferee will take delivery of a beneficial interest in the
144A Global Note or a Restricted Definitive Note pursuant to Rule 144A. The Transfer is
being effected pursuant to and in accordance with Rule 144A under the Securities Act of 1933,
as amended (the “Securities Act”), and, accordingly, the Transferor hereby further certifies that
the beneficial interest or Definitive Note is being transferred to a Person that the Transferor
reasonably believes is purchasing the beneficial interest or Definitive Note for its own account,
or for one or more accounts with respect to which such Person exercises sole investment
discretion, and such Person and each such account is a “qualified institutional buyer” within the
meaning of Rule 144A in a transaction meeting the requirements of Rule 144A, and such
Transfer is in compliance with any applicable blue sky securities laws of any state of the United
States. Upon consummation of the proposed Transfer in accordance with the terms of the
Indenture, the transferred beneficial interest or Definitive Note will be subject to the restrictions
on transfer enumerated in the Private Placement Legend printed on the 144A Global Note and/or
the Restricted Definitive Note and in the Indenture and the Securities Act.

               2.      Check if Transferee will take delivery of a beneficial interest in the
Regulation S Global Note or a Restricted Definitive Note pursuant to Regulation S. The
Transfer is being effected pursuant to and in accordance with Rule 903 or Rule 904 under the


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Securities Act and, accordingly, the Transferor hereby further certifies that (i) the Transfer is not
being made to a Person in the United States and (x) at the time the buy order was originated, the
Transferee was outside the United States or such Transferor and any Person acting on its behalf
reasonably believed and believes that the Transferee was outside the United States or (y) the
transaction was executed in, on or through the facilities of a designated offshore securities
market and neither such Transferor nor any Person acting on its behalf knows that the transaction
was prearranged with a buyer in the United States, (ii) no directed selling efforts have been made
in contravention of the requirements of Rule 903(b) or Rule 904(b) of Regulation S under the
Securities Act, (iii) the transaction is not part of a plan or scheme to evade the registration
requirements of the Securities Act and (iv) if the proposed transfer is being made prior to the
expiration of the Restricted Period, the transfer is not being made to a U.S. Person or for the
account or benefit of a U.S. Person (other than an Initial Purchaser). Upon consummation of the
proposed transfer in accordance with the terms of the Indenture, the transferred beneficial
interest or Definitive Note will be subject to the restrictions on Transfer enumerated in the
Private Placement Legend printed on the Regulation S Global Note and/or the Restricted
Definitive Note and in the Indenture and the Securities Act.

              3.     Check if Transferee will take delivery of a beneficial interest in a
Restricted Definitive Note pursuant to any provision of the Securities Act other than
Rule 144A or Regulation S.

              (a)    such Transfer is being effected pursuant to and in accordance with
Rule 144 under the Securities Act; or

                 (b)   such Transfer is being effected to the Issuer or a subsidiary of the Issuer
thereof; or

                (c)    such Transfer is being effected pursuant to an effective registration
statement under the Securities Act and in compliance with the prospectus delivery requirements
of the Securities Act.

             4.     Check if Transferee will take delivery of a beneficial interest in an
Unrestricted Global Note or of an Unrestricted Definitive Note.

                (a)      Check if Transfer is pursuant to Rule 144. (i) The Transfer is being
effected pursuant to and in accordance with Rule 144 under the Securities Act and in compliance
with the transfer restrictions contained in the Indenture and any applicable blue sky securities
laws of any state of the United States and (ii) the restrictions on transfer contained in the
Indenture and the Private Placement Legend are not required in order to maintain compliance
with the Securities Act. Upon consummation of the proposed Transfer in accordance with the
terms of the Indenture, the transferred beneficial interest or Definitive Note will no longer be
subject to the restrictions on transfer enumerated in the Private Placement Legend printed on the
Restricted Global Notes, on Restricted Definitive Notes and in the Indenture.

               (b)     Check if Transfer is Pursuant to Regulation S. (i) The Transfer is being
effected pursuant to and in accordance with Rule 903 or Rule 904 under the Securities Act and in
compliance with the transfer restrictions contained in the Indenture and any applicable blue sky



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securities laws of any state of the United States and (ii) the restrictions on transfer contained in
the Indenture and the Private Placement Legend are not required in order to maintain compliance
with the Securities Act. Upon consummation of the proposed Transfer in accordance with the
terms of the Indenture, the transferred beneficial interest or Definitive Note will no longer be
subject to the restrictions on transfer enumerated in the Private Placement Legend printed on the
Restricted Global Notes, on Restricted Definitive Notes and in the Indenture.

                (c)     Check if Transfer is Pursuant to Other Exemption. (i) The Transfer is
being effected pursuant to and in compliance with an exemption from the registration
requirements of the Securities Act other than Rule 144, Rule 903 or Rule 904 and in compliance
with the transfer restrictions contained in the Indenture and any applicable blue sky securities
laws of any State of the United States and (ii) the restrictions on transfer contained in the
Indenture and the Private Placement Legend are not required in order to maintain compliance
with the Securities Act. Upon consummation of the proposed Transfer in accordance with the
terms of the Indenture, the transferred beneficial interest or Definitive Note will not be subject to
the restrictions on transfer enumerated in the Private Placement Legend printed on the Restricted
Global Notes or Restricted Definitive Notes and in the Indenture.

                This certificate and the statements contained herein are made for your benefit and
the benefit of the Issuer.


                                                      [Insert Name of Transferor]

                                                      By:
                                                            Name:
                                                            Title:

       Dated:

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
guarantor acceptable to the Trustee).




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                           ANNEX A TO CERTIFICATE OF TRANSFER

1.    The Transferor owns and proposes to transfer the following:

                                     [CHECK ONE OF (a) OR (b)]

(a)          a beneficial interest in the:

      (i)          144A Global Note (CUSIP ____________________________________), or

      (ii)         Regulation S Global Note (CUSIP ______________________________), or

(b)          a Restricted Definitive Note.

2.    After the Transfer the Transferee will hold:

                                             [CHECK ONE]

(a)          a beneficial interest in the:

      (i)          144A Global Note (CUSIP ____________________________________), or

      (ii)         Regulation S Global Note (CUSIP ______________________________), or

      (iii)        Unrestricted Global Note (CUSIP ______________________________), or

(b)          a Restricted Definitive Note.

(c)          an Unrestricted Definitive Note,

      in accordance with the terms of the Indenture.




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                                                                                         EXHIBIT C

                           FORM OF CERTIFICATE OF EXCHANGE

TPC Group Inc.
One Allen Center
500 Dallas Street, Suite 1000
Houston, Texas 77002

U.S. Bank National Association,
as Trustee and Registrar
Global Corporate Trust Services
13737 Noel Road, Suite 800
Dallas, Texas 75240
Facsimile: (972) 581-1670



                            Re: 10.50% Senior Secured Notes due 2024

                                         (CUSIP ________)

               Reference is hereby made to the Indenture, dated as of August 2, 2019
(the “Indenture”), among TPC Group Inc. (the “Issuer”), the Guarantors and U.S. Bank National
Association, as trustee and collateral agent. Capitalized terms used but not defined herein shall
have the meanings given to them in the Indenture.

                 __________________, (the “Owner”) owns and proposes to exchange the Note[s]
or interest in such Note[s] specified herein, in the principal amount of $ _______ in such Note[s]
or interests (the “Exchange”). In connection with the Exchange, the Owner hereby certifies that:

              1.    Exchange of Restricted Definitive Notes or Beneficial Interests in a
Restricted Global Note for Unrestricted Definitive Notes or Beneficial Interests in an
Unrestricted Global Note

                (a)          Check if Exchange is from beneficial interest in a Restricted
Global Note to beneficial interest in an Unrestricted Global Note. In connection with the
Exchange of the Owner’s beneficial interest in a Restricted Global Note for a beneficial interest
in an Unrestricted Global Note in an equal principal amount, the Owner hereby certifies (i) the
beneficial interest is being acquired for the Owner’s own account without transfer, (ii) such
Exchange has been effected in compliance with the transfer restrictions applicable to the Global
Notes and pursuant to and in accordance with the Securities Act of 1933, as amended
(the “Securities Act”), (iii) the restrictions on transfer contained in the Indenture and the Private
Placement Legend are not required in order to maintain compliance with the Securities Act and
the beneficial interest in an Unrestricted Global Note is being acquired in compliance with any
applicable blue sky securities laws of any state of the United States.




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                 (b)         Check if Exchange is from beneficial interest in a Restricted
Global Note to Unrestricted Definitive Note. In connection with the Exchange of the Owner’s
beneficial interest in a Restricted Global Note for an Unrestricted Definitive Note, the Owner
hereby certifies (i) the Definitive Note is being acquired for the Owner’s own account without
transfer, (ii) such Exchange has been effected in compliance with the transfer restrictions
applicable to the Restricted Global Notes and pursuant to and in accordance with the Securities
Act, (iii) the restrictions on transfer contained in the Indenture and the Private Placement Legend
are not required in order to maintain compliance with the Securities Act and (iv) the Definitive
Note is being acquired in compliance with any applicable blue sky securities laws of any state of
the United States.

                 (c)         Check if Exchange is from Restricted Definitive Note to beneficial
interest in an Unrestricted Global Note. In connection with the Owner’s Exchange of a
Restricted Definitive Note for a beneficial interest in an Unrestricted Global Note, the Owner
hereby certifies (i) the beneficial interest is being acquired for the Owner’s own account without
transfer, (ii) such Exchange has been effected in compliance with the transfer restrictions
applicable to Restricted Definitive Notes and pursuant to and in accordance with the Securities
Act, (iii) the restrictions on transfer contained in the Indenture and the Private Placement Legend
are not required in order to maintain compliance with the Securities Act and (iv) the beneficial
interest is being acquired in compliance with any applicable blue sky securities laws of any state
of the United States.

                (d)        Check if Exchange is from Restricted Definitive Note to
Unrestricted Definitive Note. In connection with the Owner’s Exchange of a Restricted
Definitive Note for an Unrestricted Definitive Note, the Owner hereby certifies (i) the
Unrestricted Definitive Note is being acquired for the Owner’s own account without transfer,
(ii) such Exchange has been effected in compliance with the transfer restrictions applicable to
Restricted Definitive Notes and pursuant to and in accordance with the Securities Act, (iii) the
restrictions on transfer contained in the Indenture and the Private Placement Legend are not
required in order to maintain compliance with the Securities Act and (iv) the Unrestricted
Definitive Note is being acquired in compliance with any applicable blue sky securities laws of
any state of the United States.

              2.    Exchange of Restricted Definitive Notes or Beneficial Interests in
Restricted Global Notes for Restricted Definitive Notes or Beneficial Interests in Restricted
Global Notes

                (a)        Check if Exchange is from beneficial interest in a Restricted
Global Note to Restricted Definitive Note. In connection with the Exchange of the Owner’s
beneficial interest in a Restricted Global Note for a Restricted Definitive Note with an equal
principal amount, the Owner hereby certifies that the Restricted Definitive Note is being
acquired for the Owner’s own account without transfer. Upon consummation of the proposed
Exchange in accordance with the terms of the Indenture, the Restricted Definitive Note issued
will continue to be subject to the restrictions on transfer enumerated in the Private Placement
Legend printed on the Restricted Definitive Note and in the Indenture and the Securities Act.




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                (b)         Check if Exchange is from Restricted Definitive Note to beneficial
interest in a Restricted Global Note. In connection with the Exchange of the Owner’s
Restricted Definitive Note for a beneficial interest in the [CHECK ONE] (a)          144A Global
Note,     Regulation S Global Note with an equal principal amount, the Owner hereby certifies
the beneficial interest is being acquired for the Owner’s own account without transfer and such
Exchange has been effected in compliance with the transfer restrictions applicable to the
Restricted Global Notes and pursuant to and in accordance with the Securities Act, and in
compliance with any applicable blue sky securities laws of any state of the United States. Upon
consummation of the proposed Exchange in accordance with the terms of the Indenture, the
beneficial interest issued will be subject to the restrictions on transfer enumerated in the Private
Placement Legend printed on the relevant Restricted Global Note and in the Indenture and the
Securities Act.

                This certificate and the statements contained herein are made for your benefit and
the benefit of the Issuer.


                                                               [Insert Name of Transferor]

                                                      By:
                                                            Name:
                                                            Title:

       Dated:




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                                                                                      EXHIBIT D

                       [FORM OF SUPPLEMENTAL INDENTURE
                  TO BE DELIVERED BY SUBSEQUENT GUARANTORS]

                SUPPLEMENTAL INDENTURE (this “Supplemental Indenture”), dated as of
_______, 200__, among __________________________ (the “New Guarantor”), TPC Group
Inc. (the “Issuer”), each other existing Guarantor under the Indenture referred to below and U.S.
Bank National Association, as trustee under the Indenture referred to below (the “Trustee”).
Capitalized terms used but not defined herein shall have the meanings given to them in the
Indenture.

                                       WITNESETH

                WHEREAS, the Issuer and the existing Guarantors have heretofore executed and
delivered to the Trustee an indenture (as amended, supplemented or otherwise modified,
the “Indenture”), dated as of August 2, 2019 providing for the issuance of 10.50% Senior
Secured Notes due 2024 (the “Notes”);

               WHEREAS, Section 4.14 of the Indenture provides that under certain
circumstances the New Guarantor shall execute and deliver to the Trustee a supplemental
indenture pursuant to which the New Guarantor shall unconditionally Guarantee all of the
Issuer’s Obligations under the Notes and the Indenture on the terms and conditions set forth
herein (the “Note Guarantee”); and

               WHEREAS, pursuant to Section 9.01 of the Indenture, the Trustee, the Issuer and
the existing Guarantors are authorized to execute and deliver this Supplemental Indenture.

                NOW, THEREFORE, in consideration of the foregoing and for other good and
valuable consideration, the receipt of which is hereby acknowledged, the New Guarantor, the
Issuer, the other Guarantors and the Trustee mutually covenant and agree for the equal and
ratable benefit of the Holders as follows:

              1.     DEFINED TERMS. Defined terms used herein without definition shall
have the meanings assigned to them in the Indenture.

                2.     AGREEMENT TO GUARANTEE. The New Guarantor hereby agrees,
jointly and severally with all existing Guarantors (if any), to provide an unconditional Note
Guarantee on the terms and subject to the conditions set forth in Article 10 of the Indenture and
to be bound by all other applicable provisions of the Indenture and the Notes and to perform all
of the obligations and agreements of a Guarantor under the Indenture.

                3.      NO RECOURSE AGAINST OTHERS. To the extent permitted by law, no
past, present or future director, manager, officer, employee, incorporator, stockholder or member
of the Issuer, any parent of the Issuer or any Subsidiary, as such, will have any liability for any
obligations of the Issuer or the Guarantors under the Notes, this Supplemental Indenture, the
Note Guarantees or for any claim based on, in respect of, or by reason of, such obligations or



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their creation. Each Holder by accepting a Note waives and releases all such liability. The waiver
and release are part of the consideration for issuance of the Notes.

               4.      NOTICES. All notices or other communications to the New Guarantor
shall be given as provided in Section 14.02 of the Indenture.

               5.      RATIFICATION OF INDENTURE; SUPPLEMENTAL INDENTURES
PART OF INDENTURE. Except as expressly amended hereby, the Indenture is in all respects
ratified and confirmed and all the terms, conditions and provisions thereof shall remain in full
force and effect. This Supplemental Indenture shall form a part of the Indenture for all purposes,
and every Holder of Notes heretofore or hereafter authenticated and delivered shall be bound
hereby.

          6.    GOVERNING LAW. THE INDENTURE, THIS SUPPLEMENTAL
INDENTURE, THE NOTES AND THE NOTE GUARANTEES SHALL BE GOVERNED BY,
AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW
YORK.

           7.    ALL PARTIES HERETO HEREBY IRREVOCABLY WAIVE ALL
RIGHTS TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM
(WHETHER BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR
RELATING TO THIS SUPPLEMENTAL INDENTURE, THE INDENTURE, THE NOTES,
THE NOTE GUARANTEES, THE SECURITY DOCUMENTS, THE INTERCREDITOR
AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY.

              8.      COUNTERPARTS. The parties may sign any number of copies of this
Supplemental Indenture. Each signed copy shall be an original, but all of them together represent
the same agreement. The exchange of copies of this Supplemental Indenture and of signature
pages by facsimile or PDF transmission shall constitute effective execution and delivery of this
Supplemental Indenture as to the parties hereto and may be used in lieu of the original
Supplemental Indenture for all purposes. Signatures of the parties hereto transmitted by facsimile
or PDF shall be deemed to be their original signatures for all purposes.

              9.     EFFECT OF HEADINGS. The Section headings herein are for
convenience only and shall not affect the construction hereof.

                10.      TRUSTEE MAKES NO REPRESENTATION. The Trustee makes no
representation as to the recitals contained in this Supplemental Indenture or any representation as
to the validity or sufficiency of this Supplemental Indenture.




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               IN WITNESS WHEREOF, the parties hereto have caused this Supplemental
Indenture to be duly executed and attested, all as of the date first above written.

Dated: _____________, 20

                                            [NEW GUARANTOR]


                                            By:
                                                  Name:
                                                  Title:

                                            ISSUER:

                                            TPC GROUP INC.


                                            By:
                                                  Name:
                                                  Title:

                                            EXISTING GUARANTORS:

                                            TP GROUP LLC


                                            By:
                                                  Name:
                                                  Title:

                                            TP CAPITAL CORPORATION


                                            By:
                                                  Name:
                                                  Title:

                                            TEXAS BUTYLENE CHEMICAL
                                            CORPORATION


                                            By:
                                                  Name:
                                                  Title:




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                               TEXAS OLEFINS
                               DOMESTIC-INTERNATIONAL SALES
                               CORPORATION


                               By:
                                     Name:
                                     Title:

                               PORT NECHES FUELS, LLC


                               By:
                                     Name:
                                     Title:

                               TPC PHOENIX FUELS LLC


                               By:
                                     Name:
                                     Title:

                               U.S. BANK NATIONAL ASSOCIATION,
                               as Trustee


                               By:
                                     Name:
                                     Title:




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                          EXHIBIT B

                         Press Release:
   TPC Group Successfully Enters into Note Purchase Agreement
                     Case 22-50372-CTG          Doc 59-1      Filed 06/28/22      Page 218 of 675




Source: TPC Group

February 02, 2021 16:48 ET


TPC Group Successfully Enters into Note Purchase Agreement
HOUSTON, Feb. 02, 2021 (GLOBE NEWSWIRE) -- TPC Group Inc. (the “Company”) announced today that it
has successfully entered into an agreement for the issuance and sale of $153 million aggregate principal amount
of new 10.875 percent Senior Secured Notes due 2024 (the “New Notes”). The New Notes were issued in a
private placement that was exempt from the registration requirements of the Securities Act of 1933, as amended
(the “Securities Act”). The New Notes are guaranteed on a senior unsecured basis by TPC Holdings, Inc. and on
a senior secured basis by all of the Company’s existing or future direct and indirect domestic subsidiaries, other
than certain excluded subsidiaries (collectively, the “Subsidiary Guarantors”).

The net proceeds from the offering will be used to repay and terminate the Company’s $70 million term loan credit
facility (the “Apollo Term Loan”), to pay all fees and expenses related to the transactions and for general corporate
purposes. Interest on the New Notes begins accruing on the issue date of the New Notes at a rate of 10.875
percent per year and is payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each
year, commencing on May 1, 2021.

“As part of our ongoing efforts to enhance our financial position, I am pleased with the outcome of this
refinancing,” said Ed Dineen, TPC Group President and CEO. “These New Notes provide us with an additional
layer of liquidity as we continue to recover from the widespread impacts of Covid-19.”

The New Notes are effectively senior to all of the Company’s and the Subsidiary Guarantors’ existing and future
unsecured indebtedness and the existing 10.5 percent Notes (the “Existing Notes”) to the extent of the value of
the Existing Notes collateral. The New Notes are effectively subordinated to the revolving asset-based (ABL)
credit facility and the Company’s and the Subsidiary Guarantors’ existing and future indebtedness secured by
assets or properties not constituting collateral securing the Existing Notes to the extent of the value of such
assets and properties.

The New Notes and the related guarantees have not been registered under the Securities Act, or the securities
laws of any state or other jurisdiction, and may not be offered or sold in the United States without registration or an
applicable exemption from the Securities Act and applicable state securities or blue sky laws and foreign
securities laws.

This press release shall not constitute an offer to sell or the solicitation of an offer to buy, any securities, nor shall
there be any sales of the New Notes in any jurisdiction in which such offer, solicitation or sale would be unlawful
prior to registration or qualification under the securities laws of any such jurisdiction.

Moelis & Company LLC acted as financial advisor to the Company in connection with this transaction.

About TPC Group
TPC Group, headquartered in Houston, is a leading producer of value-added products derived from petrochemical
raw materials such as C4 hydrocarbons, and provider of critical infrastructure and logistics services along the
Gulf Coast. The Company sells its products into a wide range of performance, specialty and intermediate
markets, including synthetic rubber, fuels, lubricant additives, plastics and surfactants. With an operating history
of 75 years, TPC Group has a manufacturing facility in the industrial corridor adjacent to the Houston Ship
Channel and operates product terminals in Port Neches, Texas and Lake Charles, Louisiana.

              Andrew Grygiel, Sara Cronin, Media
CONTACT:
              Investor Relations Relations
PHONE:        713.840.2045       713.475.5243
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                        EXHIBIT C
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                                  TPC Group Inc.’s private    59-1 of 10.875%
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                            EXHIBIT D

                           Press Release:
TPC Group Completes Private Placement of 10.875% Senior Secured Notes
                  Case 22-50372-CTG              Doc 59-1       Filed 06/28/22
TPC Group Completes Private Placement Of 10.875% Senior Secured Notes, Due...
                                                                                       Page 223 of 675




                                       2/4/21 MarketLine Fin. Deals Tracker 00:00:00

                                            MarketLine Financial Deals Tracker
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                                                      February 4, 2021

        TPC Group Completes Private Placement Of 10.875% Senior Secured Notes, Due 2024, For US$153 Million

TPC Group Inc has completed the private placement of 10.875% senior secured notes due 2024, for gross proceeds of US
$153 million. Interest on notes will be payable quarterly in arrears on February 1, May 1, August 1, and November 1 of each
year, commencing on May 1, 2021. Moelis & Company LLC acted as financial advisor to the company in the placement. The
company intends to use the proceeds from the placement to repay and terminate its $70 million term loan credit facility, to pay
all fees and expenses related to the transactions and for general corporate purposes.

The company intends to use the proceeds from the placement to repay and terminate its $70 million term loan credit facility, to
pay all fees and expenses related to the transactions and for general corporate purposes.
 Deal In Brief

 Deal Value (US$ Million)                                       153

 Deal Type                                                      Private Placement

 Sub-Category                                                   None

 Deal Status                                                    Completed: 2021-02-02

Deal Participants

 Target (Company)                                            TPC Group Inc

 Acquirer (Company)                                          Undisclosed Investor(s)

Deal Rationale

---- Index References ----

Company: MOELIS AND COMPANY LLC; TPC GROUP INC

News Subject: (Funding Instruments (1FU41))

Industry: (Banking (1BA20); Financial Services (1FI37); Fixed Income Investments (1FI12); Investment Management (1IN34);
Loans (1LO12); Notes (1NO81); Retail Banking Services (1RE38); Securities Investment (1SE57))


Language: EN

Word Count: 157



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TPC Group Completes Private Placement Of 10.875% Senior Secured Notes, Due...
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                        EXHIBIT E

                    Zul Jamal Declaration
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re                                                        Chapter 11

    TPC GROUP INC., et al.,                                      Case No. 22-10493 (CTG)

                              Debtors.1                          Jointly Administered



    BAYSIDE CAPITAL, INC. and CERBERUS                           Adv. Pro. No. 22-50372 (CTG)
    CAPITAL MANAGEMENT, L.P.,

                              Plaintiffs,
    v.

    TPC GROUP INC.,

                              Defendant.


                                     DECLARATION OF ZUL JAMAL

            I, Zul Jamal, hereby declare that the following is true to the best of my knowledge,

information, and belief:

             1.      I am a Managing Director at Moelis & Company LLC (“Moelis”). Moelis is a

global investment banking and financial advisory firm that advises corporate and other institutional

clients across a range of industries, with extensive experience advising distressed companies in the

manufacturing and chemicals industries. I specialize in advising distressed companies or their

stakeholders in recapitalization and restructuring situations.




1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: TPC Group Inc. (3618); TPC Holdings, Inc. (7380); TPC Group LLC (8313);
            Texas Butylene Chemical Corporation (7440); Texas Olefins Domestic International Sales Corporation
            (4241); TPC Phoenix Fuels LLC (9133); Port Neches Fuels, LLC (1641); and TP Capital Corp. (6248). Each
            Debtor’s corporate headquarters and mailing address is 500 Dallas St., Suite 2000, Houston, Texas 77042.
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         2.      Moelis’s principal office is located at 399 Park Avenue, 4th Floor, New York, New

York 10022. I am employed in that office. Moelis serves as proposed investment banker to TPC

Group Inc. and its debtor affiliates in the above-captioned chapter 11 cases (collectively, the

“Debtors” or “TPC”).

         3.      I joined Moelis in 2008 as a Senior Vice President and was promoted to the position

of Managing Director in 2011. Prior to joining Moelis, I was a Senior Vice President at Jefferies

& Company, where I advised clients on a wide variety of restructuring transactions, including

chapter 11 bankruptcies, exchange offers, consent solicitations, lender negotiations, and distressed

financings. I also worked at Jefferies International in London where I was responsible for

international financial sponsor, restructuring, and leveraged finance activities.

         4.      I received a B.S. in Economics from the Wharton School at the University of

Pennsylvania, graduating magna cum laude in 1999. I have extensive experience in investment

banking and for the past twenty-two years my work has focused on advising debtors, creditors,

and equity holders in a wide range of recapitalization and restructuring transactions, including

procuring, structuring, and negotiating postpetition financing facilities across a broad range of

industries, such as industrials, transportation, media, and telecommunications.

         5.      Starting in May 2020, Moelis began working for the Debtors in to assist the Debtors

in evaluating an array of strategic alternatives, including potential financings, asset sales or leases,

and out-of-court restructuring transactions. In connection with these efforts, TPC explored ways

to improve its liquidity position. Among others, TPC received a financing proposal from Prudential

Global Investment Management (“PGIM”), through its counsel, Milbank LLP (“Milbank”).

         6.      On November 10, 2020, TPC received from PGIM and Milbank a proposed term

sheet for issuance of new notes (the “Milbank Term Sheet”). The Milbank Term Sheet proposed




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the issuance of $253 million in new 9.5% senior secured notes. In particular, the Milbank Term

Sheet proposed to release all liens on the collateral securing the 10.5% Notes, transfer substantially

all of TPC’s existing assets to a newly formed subsidiary of TPC Group, Inc. called TPC Newco,

LLC, and issue the new 9.5% notes out of that subsidiary. See Ex. 33 to Declaration of Patrick

Hurt, Milbank Term Sheet Email and Attachment.2 This transaction, as proposed in the Milbank

Term Sheet, would become effective with the consent of less than all of the noteholders to release

the security interests and liens in the TPC Group’s assets.

         7.      Ultimately, TPC did not agree to the proposal in the Milbank Term Sheet.

                 Pursuant to 28 U.S.C. § 1746, the undersigned makes the forgoing declaration as

of the date of its filing under penalty of perjury.

                                                             /s/ Zul Jamal
                                                             Zul Jamal
                                                             Managing Director
                                                             Moelis & Company




2
        This declaration is being filed simultaneously with the Declaration of Patrick Hurt, which is incorporated
        herein by reference.


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                        EXHIBIT F

                  Supplemental Indenture
                10.50% Senior Secured Notes
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                                                                              Execution Version

                               SUPPLEMENTAL INDENTURE

        This SUPPLEMENTAL INDENTURE (this “Supplemental Indenture”), dated as of
February 2, 2021, among TPC Group Inc. (the “Issuer”), the Guarantors under the Indenture
referred to below and U.S. Bank National Association, as trustee under the Indenture referred to
below (the “Trustee”).

                                       WITNESETH

       WHEREAS, the Issuer and the Guarantors have heretofore executed and delivered to the
Trustee an indenture (as amended, supplemented or otherwise modified, the “Indenture”), dated
as of August 2, 2019 providing for the issuance of 10.50% Senior Secured Notes due 2024
(the “Notes”);

        WHEREAS, the Issuer and the Guarantors propose to amend the Indenture as contemplated
by this Supplemental Indenture;

        WHEREAS, pursuant to Section 9.02 of the Indenture, the Trustee, the Issuer and the
Guarantors may amend or supplement the Indenture as contemplated by this Supplemental
Indenture with the consent of the Holders of at least a majority in aggregate principal amount of
the outstanding Notes;

        WHEREAS, the Issuer and the Guarantors have obtained the consent of the Holders of at
least a majority in aggregate principal amount of the outstanding Notes upon the terms and subject
to the conditions set forth therein;

       WHEREAS, the Issuer and the Guarantors have done all things necessary to make this
Supplemental Indenture a valid agreement of the Issuer in accordance with the terms of the
Indenture and have satisfied all other conditions required under Article 9 of the Indenture; and

       WHEREAS, pursuant to Section 9.06 of the Indenture, the Trustee is authorized to execute
and deliver this Supplemental Indenture.

       NOW, THEREFORE, in consideration of the foregoing and for other good and valuable
consideration, the receipt of which is hereby acknowledged, the Issuer, the Guarantors and the
Trustee mutually covenant and agree for the equal and ratable benefit of the Holders as follows:

        1.     DEFINED TERMS. Except as otherwise expressly provided herein or unless the
context otherwise requires, capitalized terms used but not defined in this Supplemental Indenture
shall have the meanings assigned to them in the Indenture.

        2.      AMENDMENT. Following the execution and delivery by the Issuer, the
Guarantors and the Trustee, this Supplemental Indenture shall become effective; however, the
terms hereof shall only become operative on the Operative Date (as defined below). The
“Operative Date” means the date on which the New Notes shall have been issued pursuant to the
Purchase Agreement (each as defined in Annex A). Effective as of the Operative Date, this
Supplemental Indenture hereby amends and restates the Indenture and the form of Notes attached
thereto as set forth in Annex A. If the Operative Date does not occur on or prior to February 5,
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2021, then the terms of this Supplemental Indenture shall be null and void and the Indenture and
the Notes shall continue in full force and effect without any modification or amendment hereby.
The Guarantors hereby confirm the Notes Guarantees and the agreement to unconditionally
guarantee all of the Issuer’s obligations under the Notes and the Indenture, as supplemented by
this Supplemental Indenture, on the terms and conditions, and subject to the limitations, set forth
therein.

      3.  RATIFICATION OF INDENTURE; SUPPLEMENTAL INDENTURE AS PART
OF INDENTURE.

        (a)   On and after the Operative Date, each reference in the Indenture to “this Indenture,”
“hereunder,” “hereof,” or “herein” shall mean and be a reference to the Indenture as supplemented
by this Supplemental Indenture, unless the context otherwise requires.

         (b)    Except as expressly amended hereby on the Operative Date, the Indenture and the
Notes are in all respects ratified and confirmed and all the terms, conditions and provisions thereof
shall remain in full force and effect. This Supplemental Indenture shall form a part of the Indenture
for all purposes, and every Holder of the Notes heretofore or hereafter authenticated and delivered
shall be bound hereby.

     4.   GOVERNING LAW.       THE INDENTURE, THIS SUPPLEMENTAL
INDENTURE, THE NOTES AND THE NOTE GUARANTEES SHALL BE GOVERNED BY,
AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK.

     5.    ALL PARTIES HERETO HEREBY IRREVOCABLY WAIVE ALL RIGHTS TO
TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER
BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO
THIS SUPPLEMENTAL INDENTURE, THE INDENTURE, THE NOTES, THE NOTE
GUARANTEES, THE SECURITY DOCUMENTS, THE INTERCREDITOR AGREEMENT OR
THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY.

        6.      COUNTERPARTS. The parties may sign any number of copies of this
Supplemental Indenture. Each signed copy shall be an original, but all of them together represent
the same agreement. The exchange of copies of this Supplemental Indenture and of signature
pages by facsimile or PDF transmission shall constitute effective execution and delivery of this
Supplemental Indenture as to the parties hereto and may be used in lieu of the original
Supplemental Indenture for all purposes. Signatures of the parties hereto transmitted by facsimile
or PDF shall be deemed to be their original signatures for all purposes. In furtherance of the
foregoing, the words “execution”, “signed”, “signature”, “delivery” and words of like import in or
relating to this Supplemental Indenture or any document to be signed in connection with this
Supplemental Indenture and the transactions contemplated hereby or thereby shall be deemed to
include electronic signatures (including .pdf file, .jpeg file or any electronic signature complying
with the U.S. federal ESIGN Act of 2000, including Orbit, Adobe Sign, DocuSign, or any other
similar platform identified by the Company and reasonably available at no undue burden or
expense to the Trustee), deliveries or the keeping of records in electronic form, each of which shall
be of the same legal effect, validity or enforceability as a manually executed signature, physical
delivery thereof or the use of a paper-based recordkeeping system, as the case may be, to the extent


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and as provided for in any applicable law, including the Federal Electronic Signatures in Global
and National Commerce Act, the New York State Electronic Signatures and Records Act, or any
other similar state laws based on the Uniform Electronic Transactions Act, and the parties hereto
consent to conduct the transactions contemplated hereunder by electronic means.

       7.       EFFECT OF HEADINGS. The Section headings herein are for convenience only
and shall not affect the construction hereof.

        8.      TRUSTEE MAKES NO REPRESENTATION. In entering into this Supplemental
Indenture, the Trustee shall be entitled to the benefit of every provision of the Indenture relating
to the conduct or affecting the liability of or affording protection to the Trustee, whether or not
elsewhere herein so provided. The Trustee assumes no responsibility and makes no representation
as to the recitals contained in this Supplemental Indenture (which shall be taken as statements of
the Issuer) or any representation as to the validity or sufficiency of this Supplemental Indenture.




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                        TPC Group Inc.


         10.50% SENIOR SECURED NOTES DUE 2024


                          INDENTURE


                    Dated as of August 2, 2019


                U.S. Bank National Association

                    Trustee & Collateral Agent
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               INDENTURE dated as of August 2, 2019 among TPC Group Inc., a Delaware
corporation (the “Issuer”), the Guarantors (as defined herein) and U.S. Bank National
Association, a national banking association, as Trustee and Collateral Agent.

                The Issuer, the Guarantors and the Trustee agree as follows for the benefit of each
other and for the equal and ratable benefit of the Holders (as defined herein) of (a) the
$930,000,000 aggregate principal amount of the Issuer’s 10.50% Senior Secured Notes due 2024
issued on the date hereof (the “Initial Notes”) and (b) any Additional Notes (as defined herein)
that may be issued after the date hereof (all such securities in clauses (a) and (b) being referred to
collectively as the “Notes”):

                                            ARTICLE 1

                  DEFINITIONS AND INCORPORATION BY REFERENCE

Section 1.01   Definitions.

               “144A Global Note” means a Global Note substantially in the form of Exhibit A1
hereto bearing the Global Note Legend and the Private Placement Legend and deposited with or
on behalf of, and registered in the name of, the Depositary or its nominee that will be issued in a
denomination equal to the outstanding principal amount of the Notes sold in reliance on
Rule 144A.

               “ABL Facility Collateral Agent” means the collateral agent under the Credit
Agreement, which, on the Issue Date, was Bank of America, N.A., or if the Credit Agreement is
no longer outstanding, the “Successor ABL Facility Collateral Agent”.

              “ABL Facility Priority Collateral” has the meaning ascribed to such term in the
ABL Intercreditor Agreement.

                “ABL Intercreditor Agreement” means that certain Intercreditor Agreement dated
as of the Issue Date by and among the Issuer, the other grantors party thereto, the ABL Facility
Collateral Agent, the Collateral Agent and the New Notes Collateral Agent, as amended,
modified, restated, supplemented or replaced from time to time.

               “ ABL Liens” means all Liens in favor of the ABL Facility Collateral Agent on
Collateral securing the ABL Obligations.

                “ABL Obligations” means (i) the Indebtedness under the Credit Agreement and
other Obligations under the Credit Agreement incurred under Sections 4.07(b)(1) and
4.07(b)(15), including any interest, fees, expenses or indemnification obligations related thereto
and (ii) certain Bank Products obligations owed to an agent, an arranger or a lender or an affiliate
of an agent, an arranger or a lender under the Credit Agreement (or who was such a person at the
time of the incurrence thereof) which are Secured Bank Product Obligations (as defined in the
Credit Agreement).

              “ABL Security Documents” means one or more security agreements, pledges,
mortgages, deeds of trust, pledge agreements, collateral assignments, trust deeds or other security
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documents or instruments evidencing or creating or purporting to create any security interests in
favor of the ABL Facility Collateral Agent under the Credit Agreement.

                  “Acquired Debt” means, with respect to any specified Person:

                (1)    Indebtedness of any other Person existing at the time such other Person is
        merged with or into or became a Restricted Subsidiary of such specified Person, whether
        or not such Indebtedness is incurred in connection with, or in contemplation of, such
        other Person merging with or into, or becoming a Restricted Subsidiary of, such specified
        Person; and

                (2)    Indebtedness secured by a Lien encumbering any asset acquired by such
        specified Person.

                  “Additional Assets” means:

                (1)    capital expenditures by the Issuer or a Restricted Subsidiary of the Issuer
        in a Permitted Business;

                (2)     the Capital Stock of a Person that becomes a Restricted Subsidiary of the
        Issuer as a result of the acquisition of such Capital Stock by the Issuer or another
        Restricted Subsidiary of the Issuer; provided, that such Person becomes a Guarantor
        promptly upon such acquisition; or

                (3)     Capital Stock constituting a Minority Interest in any Person that at such
        time is a Restricted Subsidiary of the Issuer.

              provided, however, that, in the case of clauses (2) and (3), such Subsidiary is
primarily engaged in a Permitted Business.

                “Additional Notes” means additional Notes (other than the Initial Notes) issued
under this Indenture in accordance with Sections 2.02, 4.07, and 4.10 hereof, as part of the same
series as the Initial Notes, whether or not they bear the same “CUSIP” number.

                “Affiliate” of any specified Person means any other Person directly or indirectly
controlling or controlled by or under direct or indirect common control with such specified
Person. For purposes of this definition, “control,” as used with respect to any Person, means the
possession, directly or indirectly, of the power to direct or cause the direction of the management
or policies of such Person, whether through the ownership of voting securities, by agreement or
otherwise. For purposes of this definition, the terms “controlling,” “controlled by” and “under
common control with” have correlative meanings.

                  “Agent” means any Registrar, co−registrar, Paying Agent or other agent appointed
hereunder.

                  “Applicable Premium” means, with respect to any Note on any redemption date,
the greater of:


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               (1)     1.0% of the principal amount of the Note; and

               (2)    the excess of: (a) the present value at such redemption date of (i) the
       redemption price of the Note at August 1, 2021, (such redemption price being set forth in
       the table appearing in Section 3.07(b) hereof) plus (ii) all required interest payments due
       on the Note through August 1, 2021 (excluding accrued but unpaid interest to the
       applicable redemption date), computed using a discount rate equal to the Treasury Rate as
       of such redemption date plus 50 basis points; over (b) the principal amount of the Note.

       The Issuer will calculate, or cause to be calculated, the Applicable Premium and deliver it
       and the calculation thereof to the Trustee in reasonable detail.

                 “Applicable Premium Event” means (a) any voluntary or mandatory redemption
of the Notes of all, or any part, of the principal balance of any Notes whether before or after (i)
the occurrence of a Default or an Event of Default or (ii) the commencement of any proceeding
under any debtor relief law and notwithstanding any acceleration (for any reason) of the Notes;
(b) the acceleration of all of the Notes for any reason, including, but not limited to, acceleration
following or pursuant to an Event of Default, including as a result of the commencement of a
proceeding under any debtor relief law; (c) the satisfaction, release, payment, restructuring,
reorganization, replacement, reinstatement, defeasance or compromise of any of the Notes in any
proceeding under any debtor relief law, foreclosure (whether by power of judicial proceeding or
otherwise) or deed in lieu of foreclosure or the making of a distribution of any kind in any
proceeding under any debtor relief law to the holders (whether directly or indirectly, including
through the Trustee or any other distribution agent), in full or partial satisfaction of the Notes;
and (d) the termination of the Indenture for any reason (other than as a result of the payment in
full in cash of the principal of the Notes and accrued and unpaid interest thereon at stated
maturity of the Notes in a manner in accordance with this Indenture).

               If an Applicable Premium Event occurs under clause (b), (c) or (d) above, the
entire outstanding shall be deemed to be subject to the Applicable Premium Event on the date on
which such Applicable Premium Event occurs.

                “Applicable Procedures” means, with respect to any transfer or exchange of or for
beneficial interests in any Global Note, the rules and procedures of the Depositary that apply to
such transfer or exchange.

               “Asset Acquisition” means:

               (1)     an Investment by the Issuer or any Restricted Subsidiary of the Issuer in
       any other Person pursuant to which such Person shall become a Restricted Subsidiary of
       the Issuer or any Restricted Subsidiary of the Issuer, or shall be merged with or into or
       consolidated with the Issuer or any Restricted Subsidiary of the Issuer; or

               (2)     the acquisition by the Issuer or any Restricted Subsidiary of the Issuer of
       the assets of any Person (other than a Restricted Subsidiary of the Issuer) which
       constitute all or substantially all of the assets of such Person or comprise any division or
       line of business of such Person or any other properties or assets of such Person other than
       in the ordinary course of business.
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                 “Asset Sale” means:

               (1)     the sale, lease, conveyance or other disposition of any assets or rights of
       the Issuer and its Subsidiaries (including by way of a division or a Sale/Leaseback
       Transaction); provided that the sale, lease, conveyance or other disposition of all or
       substantially all of the assets of the Issuer and its Subsidiaries taken as a whole will be
       governed by Section 4.12 hereof and/or Section 5.01 hereof and not by Section 4.08
       hereof; and

               (2)     the issuance or sale of Equity Interests in any of the Issuer’s Subsidiaries
       (other than preferred stock of Subsidiaries issued in compliance with Section 4.07 and
       directors’ qualifying shares or shares required by applicable law to be held by a Person
       other than the Issuer or a Subsidiary).

                 Notwithstanding the preceding, none of the following items will be deemed to be
an Asset Sale:

                (1)    any single transaction or series of related transactions that involves assets
       or Equity Interests of any Restricted Subsidiary of the Issuer having a Fair Market Value
       of less than $3.0 million;

              (2)     a transfer of assets between or among the Issuer and any Restricted
       Subsidiary of the Issuer that is a Guarantor;

               (3)     an issuance or sale of Equity Interests by a Restricted Subsidiary of the
       Issuer to the Issuer or to another Restricted Subsidiary of the Issuer that is a Guarantor;

              (4)     the sale or lease of inventory, products or services or the lease, assignment
       or sub−lease of any real or personal property, in each case, in the ordinary course of
       business;

              (5)       the sale or discounting of accounts receivable in the ordinary course of
       business;

               (6)     any sale or other disposition of damaged, worn−out, obsolete or no longer
       useful assets or properties;

              (7)     any sale of assets received by the Issuer or any of its Restricted
       Subsidiaries upon the foreclosure, condemnation or similar action on a Lien;

                 (8)    the sale or other disposition of cash or Cash Equivalents;

                 (9)    [reserved];

                 (10)   [reserved];

              (11) a Restricted Payment that does not violate Section 4.05 hereof or a
       Permitted Investment;

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               (12)    [reserved];

               (13)    the granting of Liens not otherwise prohibited by this Indenture;

              (14) the surrender, or waiver of contract rights, leases or settlement, release or
       surrender of contract, tort or other claims;

              (15) the grant in the ordinary course of business of any license of patents,
       trademarks, know−how and any other intellectual property;

               (16)    the early termination or unwinding of any Hedging Obligations;

               (17) sales, transfers and other dispositions of Investments in joint ventures to
       the extent required by, or made pursuant to, customary buy/sell arrangements between the
       joint venture parties set forth in joint venture arrangements or similar binding
       arrangements;

               (18) the lapse, cancellation or abandonment of intellectual property rights in
       the ordinary course of business, which in the reasonable good faith determination of the
       Issuer are not material to the conduct of the business of the Issuer and the Restricted
       Subsidiaries taken as a whole; and

             (19) the sale of any property in a Sale/Leaseback Transaction within six
       months of the acquisition of such property;

For the avoidance of doubt, (I) any disposition of (x) Excluded Pipelines, (y) the real property
upon which Excluded Pipelines disposed of pursuant to subclause (x) are located or (z) any
Unrestricted Subsidiary and (II) receipt of cash or other property by Holdings, the Issuer or any
of its Restricted Subsidiaries from any of the Unrestricted Subsidiaries other than in the ordinary
course of business shall, in each case, constitute an Asset Sale.

                 In the event that a transaction (or any portion thereof) meets the criteria of a
permitted Asset Sale and would also be a permitted Restricted Payment or Permitted Investment,
the Issuer, in its sole discretion, will be entitled to divide and classify such transaction (or any
portion thereof) as an Asset Sale and/or one or more of the types of permitted Restricted
Payments or Permitted Investments.

               “Bank Products” means any of the following products, services or facilities
extended to the Issuer or any Subsidiary of the Issuer: (a) Cash Management Services; (b)
products under Interest Rate Agreements, Currency Agreements or Commodity Agreements; (c)
commercial credit card and merchant card services; and (d) other banking products or services as
may be requested by the Issuer or any Subsidiary of the Issuer, other than loans or letters of
credit.

                “Bankruptcy Law” means Title 11, United States Bankruptcy Code of 1978, as
amended, or any similar U.S. federal or state law relating to bankruptcy, insolvency,
receivership, winding−up, liquidation, reorganization or relief of debtors or any amendment to,
succession to or change in any such law.

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                “Beneficial Owner” has the meaning assigned to such term in Rule 13d−3 and
Rule 13d−5 under the Exchange Act, except that in calculating the beneficial ownership of any
particular “person” (as that term is used in Section 13(d)(3) of the Exchange Act), such “person”
will be deemed to have beneficial ownership of all securities that such “person” has the right to
acquire by conversion or exercise of other securities, whether such right is currently exercisable
or is exercisable only after the passage of time. The terms “Beneficially Owns” and “Beneficially
Owned” have a corresponding meaning.

               “Board of Directors” means:

             (1)    with respect to a corporation, the board of directors of the corporation or
       any committee thereof duly authorized to act on behalf of such board;

              (2)     with respect to a partnership, the board of directors or other governing
       body of the general partner of the partnership;

              (3)   with respect to a limited liability company, the board of directors or other
       governing body, and in the absence of the same, the manager or board of managers or the
       managing member or members or any controlling committee thereof; and

              (4)     with respect to any other Person, the board or committee of such Person
       serving a similar function.

                “Business Day” means a day other than a Saturday, Sunday or other day on
which a place of payment is closed or on which banking institutions are authorized or required
by law to close in New York State.

                 “Capital Lease Obligation” means, at the time any determination is to be made,
the amount of the liability in respect of a lease that would at that time be required to be
capitalized on a balance sheet (excluding the footnotes thereto) prepared in accordance with
GAAP; provided that any obligations of the Issuer or its Restricted Subsidiaries, or of a special
purpose or other entity not consolidated with the Issuer and its Restricted Subsidiaries, either
existing on the Issue Date or created prior to any recharacterization described below (or any
refinancings thereof) (i) that were not included on the consolidated balance sheet of the Issuer as
capital lease obligations and (ii) that are subsequently recharacterized as capital lease obligations
or, in the case of such a special purpose or other entity becoming consolidated with the Issuer
and its Restricted Subsidiaries, due to a change in accounting treatment or otherwise, shall for all
purposes not be treated as Capital Lease Obligations or Indebtedness.

               “Capital Stock” means:

               (1)     in the case of a corporation, corporate stock;

              (2)     in the case of an association or business entity that is not a corporation,
       any and all shares, interests, participations, rights or other equivalents (however
       designated) of corporate stock;



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        (3)    in the case of a partnership or limited liability company, partnership
interests (whether general or limited) or membership interests; and

       (4)     any other interest or participation that confers on a Person the right to
receive a share of the profits and losses of, or distributions of assets of, the issuing
Person, but excluding from all of the foregoing any debt securities convertible into
Capital Stock, whether or not such debt securities include any right of participation with
Capital Stock.

        “Cash Equivalents” means:

        (1)    Canadian dollars, Euros, U.S. dollars or such local currencies held by the
Issuer and any of its Restricted Subsidiaries from time to time in the ordinary course of
business;

         (2)     securities issued or directly and fully guaranteed or insured by the
government of the United States or any agency or instrumentality thereof (provided that
the full faith and credit of such government is pledged in support of those securities)
having maturities of not more than one year from the date of acquisition;

        (3)      certificates of deposit, time deposits and eurodollar time deposits with
maturities of one year or less from the date of acquisition, bankers’ acceptances with
maturities not exceeding one year and overnight bank deposits, in each case, with any
lender party to the Credit Agreement having combined capital and surplus and undivided
profits of not less than $500.0 million, whose debt has a rating, at the time as of which
any investment made therein is made of at least A−1 by S&P or at least P−1 by Moody’s
or having capital and surplus in excess of $500.0 million and a Thomson Bank Watch
Rating of “B” or better;

        (4)     repurchase obligations for underlying securities of the types described in
clauses (2) and (3) above entered into with any financial institution meeting the
qualifications specified in clause (3) above;

     (5)     commercial paper having one of the two highest ratings obtainable from
Moody’s or S&P and, in each case, maturing within one year after the date of acquisition;

       (6)     securities issued or fully guaranteed by any state or commonwealth of the
United States, or by any political subdivision or taxing authority thereof having one of
the two highest ratings obtainable from Moody’s or S&P, and, in each case, maturing
within one year after the date of acquisition;

       (7)     money market funds at least 95% of the assets of which constitute Cash
Equivalents of the kinds described in clauses (1) through (5) of this definition; and

        (8)     Indebtedness or preferred stock issued by Persons with a rating of “A” or
higher from S&P or “A−2” from Moody’s with maturities of 24 months or less from the
date of acquisition.


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                “Cash Management Services” means any services provided from time to time by
any lender under the Credit Agreement or any of its affiliates to the Issuer or any Subsidiary of
the Issuer in connection with operating, collections, payroll, trust, or other depository or
disbursement accounts or similar cash management arrangements, including automated
clearinghouse, e-Payables, electronic funds transfer, wire transfer, controlled disbursement,
overdraft, depository, information reporting, lockbox and stop payment services.

                “Casualty Event” means any event after the Issue Date with respect to the
Collateral that gives rise to the receipt by the Issuer or any of its Subsidiaries of any insurance
proceeds (including, without limitation, business interruption insurance) or amounts in respect of
any condemnation, eminent domain or similar proceeding relating to any property of the Issuer
or any of its Subsidiaries; provided that Casualty Event shall not include any Casualty Event
related to the Port Neches Incident.

               “Change of Control” means the occurrence of any of the following:

                (1)    the direct or indirect sale, lease, transfer, conveyance or other disposition
       (other than by way of merger or consolidation), in one or a series of related transactions,
       of all or substantially all of the properties or assets of the Issuer and its Subsidiaries taken
       as a whole to any “person” (as that term is used in Section 13(d) of the Exchange Act),
       other than the Permitted Holders;

               (2)    the consummation of any transaction (including, without limitation, any
       merger or consolidation), the result of which is that any “person” (as defined above),
       other than the Permitted Holders, becomes the Beneficial Owner, directly or indirectly, of
       more than 50% of the Voting Stock of the Issuer, measured by voting power rather than
       number of shares; or

               (3)     the Issuer consolidates with, or merges with or into, any Person, or any
       Person consolidates with, or merges with or into, the Issuer, in any such event pursuant to
       a transaction in which any of the outstanding Voting Stock of the Issuer or such other
       Person is converted into or exchanged for cash, securities or other property, other than
       any such transaction where the Voting Stock of the Issuer outstanding immediately prior
       to such transaction constitutes or is converted into or exchanged for a majority of the
       outstanding shares of the Voting Stock of such surviving or transferee Person
       (immediately after giving effect to such transaction).

                 Notwithstanding the preceding, a conversion of the Issuer or any of its Restricted
Subsidiaries from a limited liability company, corporation, limited partnership or other form of
entity to a limited liability company, corporation, limited partnership or other form of entity or
an exchange of all of the outstanding Capital Stock in one form of entity for Capital Stock for
another form of entity shall not constitute a Change of Control, so long as following such
conversion or exchange the “persons” (as that term is used in Section 13(d)(3) of the Exchange
Act) who Beneficially Owned the Capital Stock of the Issuer immediately prior to such
transactions continue to Beneficially Own in the aggregate more than 50% of the Voting Stock
of such entity, or continue to Beneficially Own sufficient Equity Interests in such entity to elect a
majority of its directors, managers, trustees or other persons serving in a similar capacity for

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such entity, and in either case no “person” Beneficially Owns more than 50% of the Voting
Stock of such entity.

               “Code” means the Internal Revenue Code of 1986, as amended.

                “Collateral” means all of the assets and properties subject (or purported to be
subject) to the Liens created by the Security Documents.

                “Collateral Agent” means U.S. Bank National Association, acting in its capacity
as collateral agent under this Indenture and the Security Documents, or any successor thereto.

              “Commodity Agreements” means, in respect of any Person, any forward contract,
commodity swap agreement, commodity option agreement or other similar agreement or
arrangement and designed to protect such Person against fluctuation in commodity prices.

                “Consolidated Adjusted EBITDA” means, with respect to any specified Person
for any period, the Consolidated Net Income of such Person for such period (A) plus, without
duplication to the extent the same was deducted in calculating Consolidated Net Income:

               (1)     provision for taxes based on income, profits or capital, including without
       limitation federal, state, local and foreign franchise and similar taxes, of such Person and
       its Restricted Subsidiaries, to the extent that such provision for taxes was deducted in
       computing such Consolidated Net Income; plus

               (2)     the Fixed Charges of such Person and its Restricted Subsidiaries for such
       period (including net losses on Hedging Obligations or other derivative instruments
       entered into for the purpose of hedging interest rate risk, to the extent included in Fixed
       Charges), to the extent that such Fixed Charges were deducted in computing such
       Consolidated Net Income; plus

               (3)    depreciation, amortization (including the amortization of turnaround costs,
       goodwill and other intangibles, amortization of deferred financing fees, catalyst
       amortization and any amortization included in pension, OPEB or other employee benefit
       expenses, but excluding amortization of prepaid cash expenses that were paid in a prior
       period) and other non−cash expenses (including without limitation write−downs and
       impairment of property, plant, equipment and intangibles and other long−lived assets
       (including pursuant to the application of ASC 350 and ASC 360) and the impact of
       purchase accounting, but excluding any such non−cash expense to the extent that it
       represents an accrual of or reserve for cash expenses in any future period or amortization
       of a prepaid cash expense that was paid in a prior period) of such Person and its
       Restricted Subsidiaries for such period to the extent that such depreciation, amortization
       and other non−cash expenses were deducted in computing such Consolidated Net
       Income; plus

               (4)     the amount of any restructuring charges (which, for the avoidance of
       doubt, shall include retention, severance, integration, business optimization, systems
       establishment cost or excess pension, OPEB, curtailment or other excess charges); plus


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               (5)     the minority expense relating to any partner in a joint venture which is
       consolidated with the Issuer for accounting purposes and the minority interest expense
       consisting of subsidiary income attributable to minority equity interests of third parties in
       any non−Wholly-Owned Restricted Subsidiary in such period or any prior period, except
       to the extent of dividends declared or paid on Equity Interests held by third parties; plus

               (6)     [reserved]; plus

               (7)     accretion of asset retirement obligations in accordance with SFAS
       No. 143, Accounting for Asset Retirement Obligations, and any similar accounting in
       prior periods, to the extent that such charges were deducted in computing such
       Consolidated Net Income; plus

               (8)     to the extent not otherwise included, the proceeds of any business
       interruption insurance received during such period; plus

              (9)     any adjustments that result from timing differences between the purchase
       of crude C4 in one period and the sale of finished butadiene in a later period, caused by
       monthly butadiene price changes, to the extent such adjustments are calculated in a
       manner consistent with the calculation of such adjustments as presented in the Offering
       Document; plus

               (10) any adjustments related to any impact from supplier plant shut downs,
       other than in the ordinary course of business; plus

              (11) any adjustments related to any impact from turnarounds other than in the
       ordinary course of business; minus

                (B) (1) non−cash items increasing such Consolidated Net Income for such period,
other than (i) any items which represent the reversal of any accrual of, or cash reserve for,
anticipated charges in any prior period where such accrual or reserve is no longer required and
(ii) any items which represent the impact of purchase accounting; and (2) the minority interest
income consisting of subsidiary losses attributable to the minority equity interests of third parties
in any non−Wholly-Owned Restricted Subsidiary.

               “Consolidated Net Income” means, with respect to any specified Person for any
period, the aggregate of the Net Income of such Person and its Restricted Subsidiaries for such
period, on a consolidated basis; provided that:

               (1)    any net after−tax extraordinary, unusual or nonrecurring gains or losses or
       income or expense or charge (including, without limitation, income, expenses and
       charges from litigation and arbitration settlements, severance, relocation and other
       restructuring costs), any severance or relocation expense, pre−operating expenses that are
       expensed and not capitalized, and fees, expenses or charges related to any offering of
       Equity Interests of such Person, any Investment, acquisition, disposition or incurrence or
       repayment of Indebtedness or other obligations permitted to be incurred hereunder (in
       each case, whether or not successful), including all fees, expenses and charges, and any
       financing charges (including relating to the Refinancing Transactions), including penalty

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interest and bank charges, related to any Indebtedness or other obligations, in each case,
shall be excluded;

       (2)     any net after−tax income or loss from disposed, abandoned, transferred,
closed or discontinued operations and any net after−tax gain or loss on disposal of
disposed, abandoned, transferred, closed or discontinued operations shall be excluded;

        (3)     any net after−tax gains or losses (less all fees and expenses or charges
relating thereto) attributable to business dispositions or asset dispositions other than in the
ordinary course of business (as determined in good faith by the Issuer) shall be excluded;

        (4)     any net after−tax income or loss (less all fees and expenses or charges
relating thereto) attributable to the early extinguishment of indebtedness and Hedging
Obligations or other derivative instruments shall be excluded;

         (5)    (A) the Net Income for such period of any Person that is not a Subsidiary
or that is accounted for by the equity method of accounting, shall be included only to the
extent of the amount of dividends or distributions or other payments in respect of equity
that are actually paid in cash (or to the extent converted into cash) by the referent Person
to the Issuer or a Restricted Subsidiary thereof in respect of such period and (B) the Net
Income for such period shall include any dividend, distribution or other payments in
respect of equity paid in cash by such Person to the Issuer or a Restricted Subsidiary
thereof in excess of the amount included in clause (A);

       (6)     any increase in depreciation or amortization or any one−time non−cash
charges (such as purchased in−process research and development or capitalized
manufacturing profit in inventory) resulting from purchase accounting in connection with
any acquisition that is consummated prior to or after the Issue Date shall be excluded;

        (7)     accruals and reserves that are established within 12 months after an
acquisition’s closing date and that are so required to be established as a result of such
transaction in accordance with GAAP or as a result of a modification of accounting
policies shall be excluded;

        (8)    any impairment charges resulting from the application of ASC 350 and
ASC 360 and the amortization of intangibles pursuant to ASC 805 or asset write−offs
shall be excluded;

        (9)      any long−term incentive plan accruals and any compensation expense
realized from grants of stock appreciation or similar rights, stock options or other rights
to officers, directors and employees of such Person or any of its Restricted Subsidiaries
shall be excluded;

       (10) any asset impairment writedowns or writeoffs under GAAP or SEC
guidelines shall be excluded;

      (11) (A) any unrealized non−cash gains or losses or charges in respect of
Hedging Obligations (including those resulting from the application of Financial

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       Accounting Standards Codification No. 815−Derivatives and Hedging (or such successor
       provision)), (B) any foreign exchange gains and losses and (C) any adjustments for
       financial instruments, derivatives or Hedging Obligations required by GAAP shall be
       excluded except for any realized exchange gains or losses on derivative instruments
       which are included as offsets to operating items as part of a designated hedging
       relationship;

               (12)    [reserved];

              (13) the cumulative effect of a change in accounting principles shall be
       excluded; and

               (14) any non−cash compensation expense realized from employee benefit plans
       or post−employment benefit plans, grants of stock appreciation or similar rights, stock
       options or other rights to officers, directors and employees of such Person or any of its
       Restricted Subsidiaries shall be excluded.

                “Consolidated Total Indebtedness” means, as at any date of determination, an
amount equal to the sum of (1) the aggregate amount of all outstanding Indebtedness of the
Issuer and its Restricted Subsidiaries on a consolidated basis consisting of Indebtedness for
borrowed money and debt obligations evidenced by promissory notes and similar instruments, as
determined in accordance with GAAP (excluding for the avoidance of doubt all undrawn
amounts under revolving credit facilities and letters of credit and all obligations under all
Hedging Obligations and all Capital Lease Obligations) and (2) the aggregate amount of all
outstanding Disqualified Stock of the Issuer and its Restricted Subsidiaries on a consolidated
basis, with the amount of such Disqualified Stock equal to the greater of their respective
voluntary or involuntary liquidation preferences and maximum fixed repurchase prices, in each
case determined on a consolidated basis in accordance with GAAP. For purposes hereof,
the “maximum fixed repurchase price” of any Disqualified Stock that does not have a fixed
repurchase price shall be calculated in accordance with the terms of such Disqualified Stock as if
such Disqualified Stock were purchased on any date on which Consolidated Total Indebtedness
shall be required to be determined pursuant to this Indenture, and if such price is based upon, or
measured by, the Fair Market Value of such Disqualified Stock, such Fair Market Value shall be
determined reasonably and in good faith by the Issuer. The U.S. Dollar−Equivalent principal
amount of any Indebtedness denominated in a foreign currency will reflect the currency
translation effects, determined in accordance with GAAP, of Hedging Obligations for currency
exchange risks with respect to the applicable currency in effect on the date of determination of
the U.S. Dollar−Equivalent principal amount of such Indebtedness.

                “Contingent Obligations” means, with respect to any Person, any obligation of
such Person guaranteeing any performance, leases, dividends, taxes or other obligations that do
not constitute Indebtedness (“primary obligations”) of any other Person in any manner, whether
directly or indirectly, including, without limitation, any obligation of such Person, whether or not
contingent:

               (1)     to purchase any such primary obligation or any property constituting direct
       or indirect security thereof;

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              (2)     to advance or supply funds (a) for the purchase or payment of any such
       primary obligation or (b) to maintain working capital or equity capital of the primary
       obligor or otherwise to maintain the net worth or solvency of the primary obligor; or

              (3)     to purchase property, securities or services primarily for the purpose of
       assuring the owner of any such primary obligation of the ability of the primary obligor to
       make payment of such obligation against loss in respect thereof.

                 “Corporate Trust Office of the Trustee” means the designated office of the
Trustee at which at any time its corporate trust business shall be administered, which office at the
date hereof is located at 13737 Noel Road Suite 800, Dallas, Texas 75240, Attention: Global
Corporate Trust Services, or such other address as the Trustee may designate from time to time
by notice to the Holders and the Issuer, or the designated corporate trust office of any successor
Trustee (or such other address as such successor Trustee may designate from time to time by
notice to the Holders and the Issuer).

                “Credit Agreement” means that certain Amended and Restated Credit Agreement,
dated as of the Issue Date, by and among TPC Holdings, Inc., a Delaware corporation
(“Holdings”), the Issuer, the other borrowers party thereto from time to time, Bank of America,
N.A., as administrative agent and collateral agent, Merrill Lynch, Pierce, Fenner & Smith
Incorporated and Wells Fargo Bank N.A., as joint lead arrangers, joint bookrunners and
syndication agents, and the lenders party thereto from time to time, providing for revolving credit
borrowings and letters of credit, including any related notes, Guarantees, collateral documents,
instruments and agreements executed in connection therewith, and, in each case, as amended,
restated, modified, renewed, refunded, replaced (whether upon or after termination or otherwise)
or refinanced (including by means of sales of debt securities to institutional investors) in whole
or in part from time to time.

               “Currency Agreement” means, in respect of a Person, any foreign exchange
contract, currency swap agreement, futures contract, option contract or other similar agreement
as to which such Person is a party or a beneficiary.

              “Custodian” means the custodian appointed by the Depository with respect to any
Global Notes, or any successor entity thereto.

                “Debt Facilities” means one or more debt facilities (including, without limitation,
the Credit Agreement), indentures or commercial paper facilities, in each case with banks or
other institutional lenders or investors providing for revolving credit loans, term loans,
receivables financing (including through the sale of receivables to such lenders or to special
purpose entities formed to borrow from such lenders against such receivables), letters of credit or
other indebtedness, in each case, as amended, restated, modified, renewed, refunded, replaced
(whether upon or after termination or otherwise) or refinanced (including by means of sales of
debt securities to institutional investors) in whole or in part from time to time, including any
agreement or indenture extending the maturity thereof or otherwise restructuring all or any
portion of the indebtedness thereunder or increasing the amount loaned or issued thereunder or
altering the maturity thereof.


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               “Default” means any event that is, or with the passage of time or the giving of
notice or both would be, an Event of Default.

               “Definitive Note” means a certificated, non−global Note registered in the name of
the Holder thereof and issued in accordance with Section 2.06 hereof, substantially in the form of
Exhibit A1 or A2 hereto, as applicable, except that such Note shall not bear the Global Note
Legend and shall not have the “Schedule of Exchanges of Interests in the Global Note” attached
thereto.

                “Depositary” means, with respect to the Notes issuable or issued in whole or in
part in global form, the Person specified in Section 2.03 hereof as the Depositary with respect to
the Notes, and any and all successors thereto appointed as depositary hereunder and having
become such pursuant to the applicable provision of this Indenture.

               “Designated Non−cash Consideration” means the Fair Market Value of non−cash
consideration received by the Issuer or one of its Restricted Subsidiaries in connection with an
Asset Sale that is so designated as “Designated Non−cash Consideration” pursuant to an
Officer’s Certificate, setting forth the basis of such valuation, less the amount of cash or Cash
Equivalents received in connection with a subsequent sale of such Designated Non−cash
Consideration.

                “Designated Preferred Stock” means Preferred Stock of the Issuer or any direct or
indirect parent of the Issuer (other than Disqualified Stock) that is issued for cash (other than to
the Issuer or any of its Subsidiaries or an employee stock ownership plan or trust established by
the Issuer or any of its Subsidiaries) and is so designated as Designated Preferred Stock, pursuant
to an Officer’s Certificate, on the issuance date thereof, the cash proceeds of which are excluded
from the calculation set forth in Section 4.05(a)(C)(ii) hereof.

                “Disqualified Stock” means any Capital Stock that, by its terms (or by the terms
of any security into which it is convertible, or for which it is exchangeable, in each case, at the
option of the holder of the Capital Stock), or upon the happening of any event, matures or is
mandatorily redeemable, pursuant to a sinking fund obligation or otherwise, or redeemable at the
option of the holder of the Capital Stock, in whole or in part, on or prior to the date that is 91
days after the date on which the Notes mature. Notwithstanding the preceding sentence, any
Capital Stock will not constitute Disqualified Stock solely because the holders of the Capital
Stock have the right to require the Issuer to repurchase such Capital Stock upon the occurrence
of a change of control or an asset sale. The amount of Disqualified Stock deemed to be
outstanding at any time for purposes of this Indenture will be the maximum amount that the
Issuer and its Restricted Subsidiaries may become obligated to pay upon the maturity of, or
pursuant to any mandatory redemption provisions of, such Disqualified Stock, exclusive of
accrued dividends.

                “Equity Interests” means Capital Stock and all warrants, options or other rights to
acquire Capital Stock (but excluding any debt security that is convertible into, or exchangeable
for, Capital Stock).




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                “Equity Investors” means each of FR XII Alpha AIV, LP, FR XII-A Alpha AIV,
LP, FR XII Charlie AIV, LP, FR XII-A Charlie AIV, LP. and SK Capital Partners III, L.P., and
their respective Affiliates.

                “Equity Offering” means (i) an offer and sale of Capital Stock (other than
Disqualified Stock) of the Issuer or (ii) an offer and sale of Capital Stock (other than Disqualified
Stock) of a direct or indirect parent of the Issuer (to the extent the net proceeds therefrom are
contributed to the equity capital of the Issuer) pursuant to (x) a registration statement that has
been declared effective by the SEC pursuant to the Securities Act (other than a registration
statement on Form S−8 or otherwise relating to equity securities issuable under any employee
benefit plan of the Issuer or such direct or indirect parent), or (y) a private issuance exempt from
registration under the Securities Act.

               “Exchange Act” means the Securities Exchange Act of 1934, as amended.

                “Excluded Pipelines” means (i) the Lubrizol pipeline, which runs from the TPC
plant to Lubrizol; (ii) the Ellington pipeline, which runs from the TPC plant to the Ellington
natural gas field; and (iii) the related structures, fixtures, buildings, equipment, easements,
pipelines, piping, vehicles, rolling stock, trailers and other tangible personal property reasonably
related to such pipelines; provided that, solely with respect to clause (iii), such property or other
assets are not material to the Collateral or the business operations of the Issuer and its Restricted
Subsidiaries taken as a whole; provided that the Fair Market Value of the Excluded Pipelines in
the aggregate shall not exceed $25.0 million as of the Issue Date, as set forth in the Officer’s
Certificate delivered by the Issuer to the Initial Purchasers and the Trustee on the Issue Date.

                 “Excluded Subsidiary” shall mean, any (a) Unrestricted Subsidiary, (b) Subsidiary
that is not a Material Subsidiary, (c) Subsidiary that is a captive insurance company, (d) not-for-
profit Subsidiary, (e) Subsidiary that is prohibited by applicable law or regulation from providing
a Guarantee of the Obligations (for so long as such restrictions or any replacement or renewal
thereof is in effect), (f) Subsidiary that is prohibited by an enforceable contractual obligation
existing on the Issue Date (or applicable date of acquisition or formation) from providing a Note
Guarantee, and (g) Subsidiary to the extent providing a Guarantee of the notes would result in
material adverse tax consequences to the Issuer or any Subsidiary as reasonably determined by
the Issuer.

                “Fair Market Value” means the value that would be paid by a willing buyer to an
unaffiliated willing seller in a transaction not involving distress or necessity of either party,
determined in good faith by (i) the principal financial officer of the Issuer for transactions less
than $50.0 million and (ii) the Board of Directors of the Issuer (unless otherwise provided in this
Indenture) for transactions valued at, or in excess of, $50.0 million.

                 “Fixed Charge Coverage Ratio” means with respect to any specified Person for
any period, the ratio of the Consolidated Adjusted EBITDA of such Person for such period to the
Fixed Charges of such Person for such period. In the event that the specified Person or any of its
Restricted Subsidiaries incurs, assumes, Guarantees, repays, repurchases, redeems, defeases or
otherwise discharges any Indebtedness (other than (i) ordinary working capital borrowings and
(ii) in the case of revolving credit borrowings, in which case interest expense will be computed

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based upon the average daily balance of such Indebtedness during the applicable period) or
issues, repurchases or redeems preferred equity subsequent to the commencement of the period
for which the Fixed Charge Coverage Ratio is being calculated and on or prior to the date on
which the event for which the calculation of the Fixed Charge Coverage Ratio is made
(the “Calculation Date”), then the Fixed Charge Coverage Ratio will be calculated giving pro
forma effect to such incurrence, assumption, Guarantee, repayment, repurchase, redemption,
defeasance or other discharge of Indebtedness, or such issuance, repurchase or redemption of
preferred equity, and the use of the proceeds therefrom, as if the same had occurred at the
beginning of the applicable four−quarter reference period.

                In addition, for purposes of calculating the Fixed Charge Coverage Ratio, Asset
Acquisitions, dispositions, mergers, consolidations and discontinued operations (as determined in
accordance with GAAP), and any related financing transactions, that the specified Person or any
of its Restricted Subsidiaries has both determined to make and made after the Issue Date and
during the four−quarter reference period or subsequent to such reference period and on or prior
to or simultaneously with the Calculation Date shall be calculated on a pro forma basis assuming
that all such Asset Acquisitions, dispositions, mergers, consolidations and discontinued
operations (and the change of any associated Fixed Charges and the change in Consolidated
Adjusted EBITDA resulting therefrom) had occurred on the first day of the four−quarter
reference period, including any pro forma expense and cost reductions and other operating
improvements that have occurred or are reasonably expected to occur, in the reasonable
judgment of the chief financial officer of the Issuer (regardless of whether these cost savings or
operating improvements could then be reflected in pro forma financial statements in accordance
with Regulation S−X promulgated under the Securities Act or any other regulation or policy of
the SEC related thereto); provided, that any expense and cost reductions or savings or operating
improvements (x) may only be included in Consolidated Adjusted EBITDA to the extent
reasonably expected to result within 18 months of such Asset Acquisition, disposition, merger,
consolidation and discontinuation of operations and (y) may not exceed 10% of Consolidated
Adjusted EBITDA (calculated prior to giving effect to such run-rate amounts). Any Person that
is a Restricted Subsidiary on the Calculation Date will be deemed to have been a Restricted
Subsidiary at all times during such four−quarter period, and if, since the beginning of the
four−quarter reference period, any Person that subsequently became a Restricted Subsidiary or
was merged with or into the Issuer or any of its other Restricted Subsidiaries since the beginning
of such period shall have made any acquisition, Investment, disposition, merger, consolidation or
discontinued operation, in each case with respect to an operating unit of a business, that would
have required adjustment pursuant to this definition, then the Fixed Charge Coverage Ratio shall
be adjusted giving pro forma effect thereto for such period as if such Asset Acquisition,
disposition, discontinued operation, merger or consolidation had occurred at the beginning of the
applicable four−quarter reference period. Any Person that is not a Restricted Subsidiary on the
Calculation Date will be deemed not to have been a Restricted Subsidiary at any time during
such four−quarter period.

                For purposes of this definition, whenever pro forma effect is to be given to any
transaction, the pro forma calculations shall be made in good faith by a responsible financial or
accounting officer of the Issuer. If any Indebtedness bears a floating rate of interest and is being
given pro forma effect, the interest on such Indebtedness shall be calculated as if the rate in
effect on the Calculation Date had been the applicable rate for the entire period (taking into

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account any Hedging Obligations applicable to such Indebtedness if such Hedging Obligation
has a remaining term in excess of 12 months). Interest on a Capital Lease Obligation shall be
deemed to accrue at an interest rate reasonably determined by a responsible financial or
accounting officer of the Issuer to be the rate of interest implicit in such Capital Lease
Obligation. For purposes of making the computation referred to above, interest on any
Indebtedness under a revolving credit facility computed on a pro forma basis shall be computed
based upon the average daily balance of such Indebtedness during the applicable period. Interest
on Indebtedness that may optionally be determined at an interest rate based upon a factor of a
prime or similar rate, a eurocurrency interbank offered rate, or other rate, shall be deemed to
have been based upon the rate actually chosen, or, if none, then based upon such optional rate
chosen as the Issuer may designate. Any such pro forma calculation may include adjustments
appropriate, in the reasonable determination of the Issuer as set forth in an Officer’s Certificate,
to reflect operating expense reductions reasonably expected to result from any acquisition or
merger.

              “Fixed Charges” means, with respect to any specified Person for any period, the
sum, without duplication, of:

               (1)     the consolidated interest expense of such Person and its Restricted
       Subsidiaries for such period, whether paid or accrued, excluding amortization of deferred
       financing fees, debt issuance costs and commissions, fees and expenses and the
       expensing of any bridge, commitment or other financing fees, commissions, discounts,
       yield and other fees and charges (including any interest expense) related to any
       receivables facility but including original issue discount, non−cash interest payments, the
       interest component of any deferred payment obligations (classified as Indebtedness under
       this Indenture), the interest component of all payments associated with Capital Lease
       Obligations and net of the effect of all payments made or received pursuant to Hedging
       Obligations in respect of interest rates; plus

               (2)    the consolidated interest expense of such Person and its Restricted
       Subsidiaries that was capitalized during such period; provided that for purposes of
       calculating consolidated interest expense, no effect shall be given to the discount and/or
       premium resulting from the bifurcation of derivatives under Standards Codification
       No. 815—Derivatives and Hedging and related interpretations as a result of the terms of
       the Indebtedness to which such consolidated interest expense relate; plus

               (3)    all cash dividend payments or other cash distributions on any series of
       preferred equity of such Person and all other dividend payments or other distributions on
       the Disqualified Stock of such Person; less

               (4)     interest income; less

               (5)    non−cash interest expense attributable to movement in mark to market
       valuation of Hedging Obligations or other derivatives under GAAP; less

               (6)     accretion or accrual of discounted liabilities not constituting Indebtedness;
       and less

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              (7)     any expense resulting from the discounting of Indebtedness in connection
       with the application of purchase accounting in connection with any acquisition.

                “GAAP” means generally accepted accounting principles in the United States, set
forth in the opinions and pronouncements of the Accounting Principles Board of the American
Institute of Certified Public Accountants and statements and pronouncements of the Financial
Accounting Standards Board or in such other statements by such other entity as have been
approved by a significant segment of the accounting profession, as in effect on the Issue Date. At
any time after the Issue Date, the Issuer may elect to apply IFRS accounting principles in lieu of
GAAP and, upon any such election, references herein to GAAP shall thereafter be construed to
mean IFRS (except as otherwise provided in this Indenture); provided that any such election,
once made, shall be irrevocable; provided, further, any calculation or determination in this
Indenture that requires the application of GAAP for periods that include fiscal quarters ended
prior to the Issuer’s election to apply IFRS shall remain as previously calculated or determined in
accordance with GAAP. The Issuer shall give notice of any such election made in accordance
with this definition to the Trustee.

               “Global Note Legend” means the legend set forth in Section 2.06(f)(2) hereof,
which is required to be placed on all Global Notes issued under this Indenture.

                “Global Notes” means, individually and collectively, each of the Restricted
Global Notes and the Unrestricted Global Notes deposited with or on behalf of and registered in
the name of the Depositary or its nominee, substantially in the form of Exhibit A1 or A2 hereto,
as applicable, and that bears the Global Note Legend and that has the “Schedule of Exchanges of
Interests in the Global Note” attached thereto, issued in accordance with Section 2.01, 2.06(b)(4),
2.06(d)(2) or 2.06(d)(3).

                “Guarantee” means a guarantee, other than by endorsement of negotiable
instruments for collection in the ordinary course of business, direct or indirect, in any manner,
including, without limitation, by way of a pledge of assets or through letters of credit or
reimbursement agreements in respect thereof, of all or any part of any Indebtedness (whether
arising by virtue of partnership arrangements, or by agreements to keep−well, to purchase assets,
goods, securities or services, to take or pay or to maintain financial statement conditions or
otherwise).

              “Guarantors” means (1) the Subsidiaries of the Issuer that execute a Note
Guarantee on the Issue Date and (2) any other Subsidiary of the Issuer that executes a Note
Guarantee in accordance with the provisions of this Indenture.

                “Hedging Obligations” means, with respect to any specified Person, the
obligations of such Person under Interest Rate Agreements, Currency Agreements or Commodity
Agreements.

              “Holder” means a Person in whose name a Note is registered in the register
maintained by the Registrar.

              “Indebtedness” means, with respect to any specified Person, any indebtedness of
such Person, whether or not contingent:
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               (1)    in respect of borrowed money;

               (2)      evidenced by (A) bonds, notes, debentures or similar instruments or
       (B) letters of credit (or reimbursement agreements in respect thereof), provided that the
       underlying obligation in respect of which the letter of credit was issued would, under one
       or more of clauses (1) above or (3) through (7) below, be treated as being Indebtedness;

               (3)    in respect of banker’s acceptances;

               (4)    representing Capital Lease Obligations;

              (5)     representing the balance deferred and unpaid of the purchase price of any
       property or services due more than six months after such property is acquired or such
       services are completed;

              (6)     to the extent not otherwise included in this definition, net obligations of
       such Person under Commodity Agreements, Currency Agreements and Interest Rate
       Agreements (the amount of any such obligations to be equal at any time to the
       termination value of such agreement or arrangement giving rise to such obligation that
       would be payable by such Person at such time); or

                (7)    to the extent not otherwise included, with respect to the Issuer and its
       Restricted Subsidiaries, the amount then outstanding (i.e., advanced, and received by, and
       available for use by, the Issuer or any of its Restricted Subsidiaries) under any
       receivables financing (as set forth in the books and records of the Issuer or any Restricted
       Subsidiary of the Issuer and confirmed by the agent, trustee or other representative of the
       institution or group providing such receivables financing),

        if and to the extent any of the preceding items (other than letters of credit and Hedging
Obligations) would appear as a liability upon a balance sheet of the specified Person prepared in
accordance with GAAP. In addition, the term “Indebtedness” includes (i) all Indebtedness of
others secured by a Lien on any asset of the specified Person (whether or not such Indebtedness
is assumed by the specified Person); provided, however, that the amount of such Indebtedness
shall be the lesser of (x) the Fair Market Value of such asset as such date of determination and
(y) the amount of such Indebtedness of such other Person; and (ii) to the extent not otherwise
included, the Guarantee by the specified Person of any Indebtedness of any other Person.

                Notwithstanding the foregoing, “Indebtedness” shall not include (a) accrued
expenses, royalties and trade payables; (b) Contingent Obligations; (c) asset retirement
obligations and obligations in respect of reclamation and workers’ compensation (including
pensions and retiree medical care) that are not overdue by more than 90 days; or (d) any
obligations under Currency Agreements, Commodity Agreements and Interest Rate Agreements;
provided that such Agreements are entered into for bona fide hedging purposes of the Issuer or
its Restricted Subsidiaries (as determined in good faith by the Board of Directors or senior
management of the Issuer, whether or not accounted for as a hedge in accordance with GAAP)
and, in the case of Currency Agreements or Commodity Agreements, such Currency Agreements
or Commodity Agreements are related to business transactions of the Issuer or its Restricted
Subsidiaries entered into in the ordinary course of business and, in the case of Interest Rate
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Agreements, such Interest Rate Agreements substantially correspond in terms of notional
amount, duration and interest rates, as applicable, to Indebtedness of the Issuer or its Restricted
Subsidiaries incurred without violation of this Indenture.

               “Indenture” means this Indenture, as amended or supplemented from time to time.

              “Indirect Participant” means a Person who holds a beneficial interest in a Global
Note through a Participant.

               “Initial Notes” has the meaning assigned to it in the preamble to this Indenture.

               “Initial Mortgaged Property” means each parcel of real property designated as
being subject to a Mortgage on Schedule C to the Purchase Agreement dated July 19, 2019,
among the Issuer and the Initial Purchasers, and the improvements and fixtures located thereon.

              “Initial Purchasers” means BofA Securities, Inc., Citigroup Global Markets Inc.,
Wells Fargo Securities, LLC, Deutsche Bank Securities Inc. and Goldman Sachs & Co. LLC.

               “Intercreditor Agreements” means (i) the ABL Intercreditor Agreement and (ii)
the Notes Intercreditor Agreement.

               “Interest Rate Agreement” means with respect to any Person any interest rate
protection agreement, interest rate future agreement, interest rate option agreement, interest rate
swap agreement, interest rate cap agreement, interest rate collar agreement, interest rate hedge
agreement or other similar agreement or arrangement as to which such Person is party or a
beneficiary.

                “Investment Grade Rating” means a Moody’s rating of Baa3 (or the equivalent) or
higher and an S&P rating of BBB− (or the equivalent) or higher or, if either such Rating Agency
ceases to rate the Notes for reasons outside of the Issuer’s control, the equivalent investment
grade credit rating from any other Rating Agency.

               “Investment Grade Securities” means:

              (1)     securities issued or directly and fully Guaranteed or insured by the U.S.
       government or any agency or instrumentality thereof (other than Cash Equivalents) and in
       each case with maturities not exceeding two years from the date of acquisition;

              (2)     investments in any fund that invests exclusively in investments of the type
       described in clause (1) which fund may also hold immaterial amounts of cash pending
       investment and/or distribution; and

              (3)     corresponding instruments in countries other than the United States
       customarily utilized for high quality investments and in each case with maturities not
       exceeding two years from the date of acquisition.

              “Investments” means, with respect to any Person, all direct or indirect investments
by such Person in other Persons (including Affiliates) in the forms of loans (including

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Guarantees or other obligations), advances or capital contributions (excluding accounts
receivable, trade credit and advances to customers and commission, travel and similar advances
to officers, employees and consultants made in the ordinary course of business), purchases or
other acquisitions for consideration of Indebtedness, Equity Interests or other securities, together
with all items that are or would be classified as investments on a balance sheet prepared in
accordance with GAAP.

               “Issue Date” means August 2, 2019.

                “Lien” means, with respect to any asset, any mortgage, lien, pledge, charge,
security interest or encumbrance of any kind in respect of such asset, whether or not filed,
recorded or otherwise perfected under applicable law, including any conditional sale or other title
retention agreement, any lease in the nature thereof, any option or other agreement to sell or give
a security interest in and any filing of or agreement to give any financing statement under the
Uniform Commercial Code (or equivalent statutes) of any jurisdiction.

                “Material Subsidiary” shall mean any Restricted Subsidiary of the Issuer whose
gross assets or earnings before interest, tax, depreciation or amortization on a consolidated basis
(calculated on a basis consistent with the calculations used in preparing the Issuer’s consolidated
financial statements) (excluding intra-group items) are equal to or exceed 5% of the Total Assets
or Consolidated Adjusted EBITDA of the Issuer and its Restricted Subsidiaries; provided that
any Restricted Subsidiary shall be deemed a Material Subsidiary if either (a) the Total Assets of
such Subsidiary would cause the Total Assets of all Subsidiaries which are not Material
Subsidiaries to exceed 7.5% of the Total Assets or (b) the Consolidated Adjusted EBITDA of
such Subsidiary would cause the Consolidated Adjusted EBITDA of all Subsidiaries which are
not Material Subsidiaries to exceed 7.5% of the Consolidated Adjusted EBITDA.

               “Minority Interest” means the percentage interest represented by any class of
Capital Stock of a Restricted Subsidiary that is not owned by the Issuer or a Restricted
Subsidiary.

              “Moody’s” means Moody’s Investors Service, Inc. and any successor to its rating
agency business.

               “Mortgage” means each mortgage, deed of trust or deed to secure debt creating a
Lien on the Mortgaged Property granted by the Issuer or any Guarantor in favor of the Collateral
Agent for the benefit of the Secured Parties securing the Notes Obligations, in each case as
amended, modified, restated, supplemented or replaced from time to time.

               “Mortgaged Property” means all right, title and interest of the Issuer and the
Guarantors in and to (i) the Initial Mortgaged Property and (ii) each additional parcel of real
property (and the improvements and fixtures located thereon) that becomes subject to a
Mortgage pursuant to Section 4.19 hereof.

                “Net Income” means, with respect to any Person for any period, the net income
(loss) of such Person for such period, determined in accordance with GAAP and before any
reduction in respect of dividends on preferred interests, excluding, however, (a) any gain or loss,
together with any related provision for taxes on such gain or loss, realized in connection with
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(1) any Asset Sale (including, without limitation, dispositions pursuant to Sale/Leaseback
Transactions) or (2) the disposition of any securities by such Person or any of its Subsidiaries or
the extinguishment of any Indebtedness of such Person or any of its Subsidiaries and (b) any
extraordinary or nonrecurring gain or loss, together with any related provision for taxes on such
extraordinary or nonrecurring gain or loss.

               “Net Proceeds” means:

                 (a) with respect to any Asset Sale, the aggregate cash proceeds received by the
Issuer or any of its Restricted Subsidiaries in respect thereof (including, without limitation, any
cash received upon the sale or other disposition of any Designated Non−cash Consideration
received in any Asset Sale and any cash payments received by way of deferred payment of
principal pursuant to a note or installment receivable or otherwise, but only as and when
received, but excluding the assumption by the acquiring Person of Indebtedness relating to the
disposed assets or other consideration received in any non−cash form), net of the direct costs
relating to such Asset Sale and the sale of such Designated Non−cash Consideration, including,
without limitation, legal, accounting and investment banking fees, and sales commissions, and
any relocation expenses incurred as a result of the Asset Sale, taxes paid or payable as a result of
the Asset Sale, in each case, after taking into account any available tax credits or deductions and
any tax sharing arrangements, amounts paid in connection with the termination of Hedging
Obligations repaid with Net Proceeds, and amounts required to be applied to the repayment of
Indebtedness secured by a Lien on the asset or assets that were the subject of such Asset Sale, all
distributions and other payments required to be made to Minority Interest holders in Subsidiaries
or joint ventures or to holders of royalty or similar interests as a result of such Asset Sale and any
reserve for adjustment in respect of the sale price of such asset or assets established in
accordance with GAAP, including without limitation, pension and post−employment benefit
liabilities and liabilities related to environmental matters or against any indemnification
obligations associated with such transaction; and

                (b) with respect to any Casualty Event, the aggregate cash proceeds received by
the Issuer or any of its Restricted Subsidiaries received under any casualty insurance policy in
respect of a covered loss of assets thereunder or as a result of the taking of any assets of the
Issuer or any of its Subsidiaries by any Person pursuant to the power of eminent domain,
condemnation or otherwise or pursuant to a sale of any such assets to a purchaser with such
power under threat of such taking, net of (i) any actual and reasonable costs incurred by the
Issuer or any of its Restricted Subsidiaries in connection with the adjustment or settlement of any
claims of the Issuer or any such Subsidiary in respect thereof, and (ii) the direct costs relating to
such Casualty Event, including, without limitation, legal, accounting and investment banking
fees, and sales commissions, and any relocation expenses incurred as a result of the Casualty
Event, taxes paid or payable as a result of the Casualty Event, in each case, after taking into
account any available tax credits or deductions and any tax sharing arrangements, and amounts
required to be applied to the repayment of Indebtedness secured by a Lien on the asset or assets
that were the subject of such Casualty Event, all distributions and other payments required to be
made to Minority Interest holders in Subsidiaries or joint ventures or to holders of royalty or
similar interests as a result of such Casualty Event and any reserve for adjustment in respect of
the sale price of such asset or assets established in accordance with GAAP, including without
limitation, pension and post−employment benefit liabilities and liabilities related to

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environmental matters or against any indemnification obligations associated with such
transaction.

                “New Notes Collateral Agent” means U.S. Bank National Association, as
collateral agent for the New Notes.

              “New Notes Indenture” means the indenture, dated as of February 2, 2021 by and
among the Issuer, the guarantors thereunder, the New Notes Trustee and the New Notes
Collateral Agent, as amended, amended and restated, supplemented or otherwise modified from
time to time.

             “New Notes Trustee” means U.S. Bank National Association, as trustee under the
New Notes Indenture.

               “New Notes” means the 10.875% Senior Secured Notes due 2024 issued by the
Issuer pursuant to the New Notes Indenture.

                “Non−U.S. Person” means a Person who is not a U.S. Person.

             “Note Documents” means this Indenture, the Notes, the Note Guarantees and the
Security Documents.

               “Note Guarantee” means the Guarantee by each Guarantor of the Issuer’s
obligations under this Indenture and the Notes, executed pursuant to the provisions of this
Indenture.

               “Notes Intercreditor Agreement” means that certain Intercreditor Agreement,
dated as of February 2, 2021, by and among the Issuer, the other grantors party thereto, the
Collateral Agent and the New Notes Collateral Agent, as amended, modified, restated,
supplemented or replaced from time to time.

              “Note Liens” means all Liens in favor of the Collateral Agent on Collateral
securing the Notes Obligations.

                 “Notes” has the meaning assigned to it in the preamble to this Indenture. The
Initial Notes and any Additional Notes shall be treated as a single class for all purposes under
this Indenture, and unless the context otherwise requires, all references to the Notes shall include
the Initial Notes and any Additional Notes.

               “Notes Obligations” means the Indebtedness incurred and Obligations (including
the Applicable Premium and the Redemption Premium) under this Indenture, the Notes and the
other Note Documents.

                “Notes Priority Collateral” has the meaning ascribed to the term “Notes First
Priority Collateral” in the ABL Intercreditor Agreement.




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                “Obligations” means any principal, interest (including Post Petition Interest),
penalties, fees, indemnifications, reimbursements, damages and other liabilities payable under
the documentation governing any Indebtedness.

              “Offering Document” means the offering memorandum, dated July 19, 2019,
pursuant to which the Initial Notes were offered to potential purchasers.

               “Officer” means, with respect to any Person, the Chairman of the Board, the Chief
Executive Officer, the President, the Chief Operating Officer, the Chief Financial Officer, the
Treasurer, any Assistant Treasurer, the Controller, the Secretary or any Vice−President of such
Person.

                 “Officer’s Certificate” means a certificate signed by an Officer of the Issuer or
any other Person, as the case may be, who must be a manager or director, the principal executive
officer, the principal financial officer, the treasurer or the principal accounting officer of the
Issuer (or of a Subsidiary of the Issuer acting in such capacity for the Issuer and its Subsidiaries,
as determined by the Issuer) or such other Person, that meets the requirements set forth in this
Indenture and is provided to the Trustee.

              “Opinion of Counsel” means an opinion from legal counsel that meets the
requirements of Section 14.05 hereof and is provided to the Trustee. Such counsel may be an
employee of or counsel to the Issuer or any Subsidiary of the Issuer.

              “Participant” means, with respect to the Depositary, a Person who has an account
with the Depositary.

                 “Permitted Business” means the businesses of the Issuer and its Subsidiaries
engaged in on the Issue Date and any other activities that are similar, ancillary or reasonably
related to, or a reasonable extension, expansion or development of, such businesses or ancillary
thereto.

                “Permitted Employee Stock Purchase Loans” means loans, in an aggregate
amount outstanding at any time (together with Permitted Investments incurred pursuant to clause
(8) of the definition thereof) not to exceed $10.0 million, whether made by the Issuer or any third
party (other than any Affiliate of the Issuer), to employees of the Issuer and its Subsidiaries who
become participants in the Issuer’s stock purchase program to enable such employees to
purchase Equity Interests in the Issuer or any of its parent entities.

                “Permitted Holders” means (i) the Equity Investors and Related Parties and
(ii) any Permitted Parent. Any Person or group whose acquisition of beneficial ownership
constitutes a Change of Control in respect of which a Change of Control Offer is made in
accordance with the requirements of this Indenture will thereafter, together with its Affiliates,
constitute an additional Permitted Holder.

               “Permitted Investments” means:

              (1)      any Investment in the Issuer or in a Restricted Subsidiary of the Issuer that
       is a Guarantor;

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        (2)     any Investment in cash, Cash Equivalents or Investment Grade Securities;

       (3)      any Investment by the Issuer or any Restricted Subsidiary of the Issuer in
a Person, if as a result of such Investment:

              (a) such Person becomes a Restricted Subsidiary of the Issuer and a
        Guarantor; or

               (b) such Person, in one transaction or a series of related transactions, is
        merged, consolidated or amalgamated with or into, or transfers or conveys
        substantially all of its assets to, or is liquidated into, the Issuer or a Restricted
        Subsidiary of the Issuer that is a Guarantor;

        (4)   any Investment made as a result of the receipt of non−cash consideration
from an Asset Sale that was made pursuant to and in compliance with Section 4.08
hereof;

        (5)     any acquisition of assets or Capital Stock solely in exchange for the
issuance of Equity Interests (other than Disqualified Stock) of the Issuer or a direct or
indirect parent of the Issuer;

        (6)     any Investments received (i) in compromise or resolution of
(A) obligations of trade creditors or customers that were incurred in the ordinary course
of business of the Issuer or any of its Restricted Subsidiaries, including pursuant to any
plan of reorganization or similar arrangement upon the bankruptcy or insolvency of any
trade creditor or customer; or (B) litigation, arbitration or other disputes; or (ii) as a result
of a foreclosure by the Issuer or any of its Restricted Subsidiaries with respect to any
secured Investment or other transfer of title with respect to any secured Investment in
default;

        (7)     Investments represented by Hedging Obligations;

        (8)   loans or advances to officers, directors and employees made in the
ordinary course of business or consistent with the past practice of the Issuer or any
Restricted Subsidiary of the Issuer and Permitted Employee Stock Purchase Loans or
Guarantees thereof in an aggregate principal amount at any time outstanding not to
exceed $10.0 million;

        (9)     repurchases of the Notes;

        (10)    [reserved];

        (11)    [reserved];

       (12) additional Investments made in Unrestricted Subsidiaries in the ordinary
course of business for bona fide business purposes by the Issuer or any Restricted
Subsidiary having an aggregate Fair Market Value (measured on the date each such
Investment was made and without giving effect to subsequent changes in value), taken

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       together with all other Investments made pursuant to this clause (12) that are at the time
       outstanding not to exceed $15.0 million;

               (13) (A) Guarantees issued in accordance with Section 4.07 and Section 4.14
       hereof and (B) Guarantees of performance or other obligations (other than Indebtedness)
       arising in the ordinary course of business or consistent with past practice;

               (14) any Investment existing on the Issue Date and any Investment that
       replaces, refinances or refunds an existing Investment; provided, that the new Investment
       is in an amount that does not exceed the amount replaced, refinanced or refunded, and is
       made in the same Person as the Investment replaced, refinanced or refunded;

               (15) Investments consisting of purchases and acquisitions of parts, buildings,
       inventory, supplies, materials and equipment or purchases of contract rights or licenses or
       leases of intellectual property, in each case in the ordinary course of business;

              (16) additional Investments made in Restricted Subsidiaries that are not
       Guarantors for purposes of establishing and maintaining joint ventures having an
       aggregate Fair Market Value (measured on the date each such Investment was made and
       without giving effect to subsequent changes in value), taken together with all other
       Investments made pursuant to this clause (16) that are at the time outstanding not to
       exceed $25.0 million;

              (17) Investments in any Person to the extent such Investments consist of
       prepaid expenses, negotiable instruments held for collection and lease, utility and
       workers’ compensation, performance and other similar deposits made in the ordinary
       course of business by the Issuer or any of its Restricted Subsidiaries; and

               (18)    pledges or deposits made in the ordinary course of business.

                provided, however, that with respect to any Investment, the Issuer may, in its sole
discretion, allocate all or any portion of any Investment to one or more of the above clauses (1)
through (18) so that the entire Investment would be a Permitted Investment.

               “Permitted Liens” means:

               (1)     Liens securing Indebtedness and other Obligations under Debt Facilities
       incurred pursuant to Section 4.07(b)(1) hereof and/or securing Bank Products obligations
       related thereto; provided that such Liens (other than Liens securing the New Notes) are
       subject to the provisions of the ABL Intercreditor Agreement (including with respect to
       the relative priority of the ABL Facility Priority Collateral and Notes Priority Collateral)
       as an ABL Agreement;

               (2)     Liens in favor of the Issuer or any of its Restricted Subsidiaries;

               (3)     Liens on property of a Person existing at the time such Person is merged
       with or into or consolidated with the Issuer or any Restricted Subsidiary of the Issuer;
       provided that such Liens were in existence prior to the contemplation of such merger or

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consolidation and do not extend to any assets other than those of the Person merged into
or consolidated with the Issuer or the Subsidiary;

        (4)     Liens on property (including Capital Stock) existing at the time of
acquisition of the property by the Issuer or any Restricted Subsidiary of the Issuer;
provided that such Liens were in existence prior to, such acquisition, and not incurred in
contemplation of, such acquisition;

        (5)     Liens or deposits to secure the performance of statutory or regulatory
obligations, or surety, appeal, indemnity or performance bonds, warranty and contractual
requirements or other obligations of a like nature incurred in the ordinary course of
business and Liens over cash deposits in connection with an acquisition, lease,
disposition or investment;

         (6)     Liens securing reimbursement obligations with respect to commercial
letters of credit which encumber documents and other assets relating to such letters of
credit and products and proceeds thereof and any cash cover relating to a letter of credit
or bank guarantee;

         (7)    Liens to secure Indebtedness (including Capital Lease Obligations)
permitted to be incurred pursuant to Section 4.07(b)(4) hereof covering only the assets
acquired with or financed by such Indebtedness; provided that such Lien (i) extends only
to the assets and/or Capital Stock, the acquisition, lease, design, construction, installation,
repair, replacement or improvement of which is financed thereby and any proceeds or
products thereof, accessions thereto, upgrades thereof and improvements thereto or
(ii) does not extend to any assets or property that constitute Collateral;

       (8)     Liens securing Indebtedness permitted to be incurred pursuant to
Section 4.07(b)(15) hereof; provided, that, except with respect to the New Notes and
Indebtedness under the Credit Agreement, any Indebtedness incurred by the Issuer or any
Guarantor pursuant to Section 4.07(b)(15) that is secured shall be secured by Liens solely
on the Collateral on a junior basis to the Liens securing the Notes Obligations pursuant to
a customary intercreditor agreement in the form of the Notes Intercreditor Agreement;

       (9)     Liens existing on the Issue Date;

        (10) Liens for taxes, assessments or governmental charges or claims that are
not yet delinquent or that are being contested in good faith by appropriate proceedings
promptly instituted and diligently concluded; provided that any reserve or other
appropriate provision as is required in conformity with GAAP has been made therefor;

        (11) Liens incurred or deposits made in the ordinary course of business to
secure payment of workers’ compensation or to participate in any fund in connection
with workmen’s compensation, unemployment insurance, old−age pensions or other
social security programs;

        (12) Liens imposed by law, such as carriers’, warehousemen’s, landlord’s,
lessor’s, suppliers, banks, repairmen’s and mechanics’ Liens, and Liens of landlords

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securing obligations to pay lease payments that are not yet due and payable or in default,
in each case, incurred in the ordinary course of business;

        (13) leases or subleases granted to others that do not materially interfere with
the ordinary conduct of business of the Issuer or any of its Restricted Subsidiaries;

         (14) (A) survey exceptions, easements, rights of way, zoning and similar
restrictions, reservations or encumbrances in respect of real property or title defects that
were not incurred in connection with Indebtedness and that do not in the aggregate
materially adversely affect the value of said properties (as such properties are used by the
Issuer or its Restricted Subsidiaries) or materially impair their use in the operation of the
business of the Issuer and its Restricted Subsidiaries and (B) access agreements,
easements, leases, licenses, use agreements, utility agreements, service agreements, and
other like encumbrances granted by the Issuer or a Restricted Subsidiary of the Issuer to
any other third party in connection with the disposition of the Excluded Pipelines to, or
the use or ownership of the Excluded Pipelines by, such third party so long as such
encumbrances do not in the aggregate materially adversely affect the value of said
properties (as such properties are used by the Issuer or its Restricted Subsidiaries) or
materially impair their use in the operation of the business of the Issuer and its Restricted
Subsidiaries;

       (15) Liens created for the benefit of (or to secure) the Notes issued on the Issue
Date and the Note Guarantees with respect thereto;

       (16) Liens to secure any Permitted Refinancing Indebtedness permitted to be
incurred under this Indenture; provided, however, that:

               (a) the new Lien shall be limited to all or part of the same property and
       assets that secured or, under the written agreements pursuant to which the original
       Lien arose, could secure the original Lien (plus improvements and accessions to,
       such property or proceeds or distributions thereof);

               (b) the Indebtedness secured by the new Lien is not increased to any
       amount greater than the sum of (x) the outstanding principal amount, or, if
       greater, committed amount, of the Permitted Refinancing Indebtedness and (y) an
       amount necessary to pay any fees and expenses, including premiums, related to
       such renewal, refunding, refinancing, replacement, defeasance or discharge; and

              (c) the new Lien shall have no greater priority relative to the Notes
       Obligations of the Liens securing the Indebtedness being renewed, refunded,
       refinanced, replaced, defeased or discharged;

        (17) Liens arising from precautionary Uniform Commercial Code financing
statement filings regarding operating leases entered into by the Issuer or any of its
Restricted Subsidiaries in the ordinary course of business;

       (18) judgment Liens not giving rise to an Event of Default so long as any
appropriate legal proceedings that may have been duly initiated for the review of such

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judgment shall not have been finally terminated or the period within which such legal
proceedings may be initiated shall not have expired;

        (19) Liens securing Indebtedness or other obligations of the Issuer or any
Subsidiary of the Issuer with respect to obligations that do not exceed $5.0 million at any
one time outstanding; provided that, to the extent the Liens incurred under this clause
(19) secure Indebtedness for borrowed money of the Issuer or any Guarantor, such Liens
shall extend solely to the Collateral and shall secure such Indebtedness on a junior basis
to the Liens securing the Notes Obligations pursuant to a customary intercreditor
agreement in the form of the Notes Intercreditor Agreement;

       (20)    [reserved];

       (21)    non-exclusive licenses of intellectual property in the ordinary course of
business;

       (22)    [reserved];

       (23) leases and subleases of real property which do not materially interfere
with the ordinary conduct of the business of the Issuer and its Restricted Subsidiaries;

       (24)    Liens to secure a defeasance trust;

       (25) Liens on equipment of the Issuer or any Restricted Subsidiary of the Issuer
granted in the ordinary course of business to clients of which such equipment is located;

       (26) Liens securing insurance premium financing arrangements, provided that
such Lien is limited to the applicable insurance contracts;

       (27)    [reserved];

        (28) Liens arising under retention of title, hire purchase or conditional sale
arrangements arising under provisions in a supplier’s standard conditions of supply in
respect of goods or services supplied to the Issuer or any Restricted Subsidiary in the
ordinary course of business and on arm’s length terms;

       (29) Liens arising by way of set−off or pledge (in favor of the account holding
bank) arising by operation of law or pursuant to standard banking terms or conditions,
provided that the relevant bank account has not been set up nor has the relevant credit
balance arisen in order to implement a secured financing;

       (30) Liens securing Indebtedness permitted to be incurred pursuant to
Section 4.07(b)(3);

       (31) Liens encumbering reasonable customary initial deposits and margin
deposits and similar Liens attaching to commodity trading accounts or other brokerage
accounts incurred in the ordinary course of business and not for speculative purposes;


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              (32)    Liens securing Hedging Obligations;

                (33) any (a) interest or title of a lessor or sublessor under any lease;
       (b) restriction or encumbrance that the interest or title of such lessor or sublessor may be
       subject to (including, without limitation, ground leases or other prior leases of the
       demised premises, mortgages, mechanics’ Liens, tax Liens and easements);
       (c) subordination of the interest of the lessee or sublessee under such lease to any
       restrictions or encumbrance referred to in the preceding subclause (b) or (d) Liens over
       rental deposits with a lessor pursuant to a property lease entered into in the ordinary
       course of business;

               (34) Liens incurred under or in connection with lease and Sale/Leaseback
       Transactions and novations and any refinancings thereof (and Liens securing obligations
       under lease transaction documents relating thereto), including, without limitation, Liens
       over the assets which are the subject of such lease, sale and leaseback, novations,
       refinancings, assets and contract rights related thereto (including, without limitation, the
       right to receive rental rebates or deferred sale payments), sub−lease rights, insurances
       relating thereto and rental deposits;

               (35) Liens to secure Indebtedness and any related Guarantees on assets
       constituting Collateral that are junior in priority to the Liens on the Collateral securing
       the Notes pursuant to a customary intercreditor agreement in the form of the Notes
       Intercreditor Agreement;

             (36) Liens on the Collateral granted under the Security Documents in favor of
       the ABL Facility Collateral Agent and the Collateral Agent to secure the Notes and the
       Note Guarantees; and

               (37) Liens arising under this Indenture in favor of the Trustee for its own
       benefit and similar Liens in favor of other trustees, agents and representatives arising
       under instruments governing Indebtedness permitted to be incurred under this Indenture,
       provided, however, that such Liens are solely for the benefit of the trustees, agents or
       representatives in their capacities as such and not for the benefit of the holders of such
       Indebtedness.

                “Permitted Parent” means any direct or indirect parent of the Issuer formed not
in connection with, or in contemplation of, a transaction that, assuming such parent was not so
formed, after giving effect thereto would constitute a Change of Control and any direct or
indirect parent of the Issuer formed in connection with an underwritten public Equity Offering.

              “Permitted Payments to Parent” means, without duplication as to amounts:

               (1)    payments to any parent companies of the Issuer in amounts equal to the
       amounts required for any direct payment of the Issuer to pay fees and expenses (including
       franchise or similar taxes) required to maintain its corporate existence, customary salary,
       bonus and other benefits payable to officers and employees of any direct parent of the
       Issuer and general corporate overhead expenses of any direct parent of the Issuer to the


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       extent such fees and expenses are attributable to the ownership or operation of the Issuer
       and its Subsidiaries; and

               (2)      for so long as the Issuer is a member of a group filing a consolidated or
       combined tax return with such parent companies, payments to such parent companies in
       respect of an allocable portion of the tax liabilities of such group that is attributable to the
       Issuer and its Subsidiaries (“Tax Payments”). The Tax Payments shall not exceed the
       lesser of (i) the amount of the relevant tax (including any penalties and interest) that the
       Issuer would owe if the Issuer were filing a separate tax return (or a separate consolidated
       or combined return with its Subsidiaries that are members of the consolidated or
       combined group), taking into account any carryovers and carrybacks of tax attributes
       (such as net operating losses) of the Issuer and such Subsidiaries from other taxable years
       and (ii) the net amount of the relevant tax that such parent companies actually owe to the
       appropriate taxing authority. Any Tax Payments received from the Issuer shall be paid
       over to the appropriate taxing authority within 30 days of such parent companies’ receipt
       of such Tax Payments or refunded to the Issuer.

                “Permitted Refinancing Indebtedness” means any Indebtedness of the Issuer or
any of its Restricted Subsidiaries issued in exchange for, or the net proceeds of which are used to
renew, refund, refinance, replace, defease or discharge other Indebtedness of the Issuer or any of
the Issuer’s Restricted Subsidiaries (other than intercompany Indebtedness); provided that:

              (1)      the principal amount (or accreted value, if applicable) of such Permitted
       Refinancing Indebtedness does not exceed the principal amount (or accreted value, if
       applicable) of the Indebtedness renewed, refunded, refinanced, replaced, defeased or
       discharged (plus any premium required to be paid on the Indebtedness being so renewed,
       refunded, replaced, defeased or discharged, plus the amount of all fees and expenses
       incurred in connection therewith);

                (2)    such Permitted Refinancing Indebtedness has a final maturity date equal to
       or later than the final maturity date of, and has a Weighted Average Life to Maturity
       equal to or greater than the remaining Weighted Average Life to Maturity of, the
       Indebtedness being renewed, refunded, refinanced, replaced, defeased or discharged;
       provided that this clause (2) shall not apply to debt under Debt Facilities;

               (3)    if the Indebtedness being renewed, refunded, refinanced, replaced,
       defeased or discharged is subordinated in right of payment to the Notes, such Permitted
       Refinancing Indebtedness has a final maturity date later than the final maturity date of,
       and is subordinated in right of payment to, the Notes on terms at least as favorable to the
       Holders as those contained in the documentation governing the Indebtedness being
       renewed, refunded, refinanced, replaced, defeased or discharged; and

               (4)     such Permitted Refinancing Indebtedness shall not include Indebtedness of
       the Issuer or any Subsidiary of the Issuer that was not an obligor of the Indebtedness
       being renewed, refunded, refinanced, replaced, defeased or discharged.




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                “Person” means any individual, corporation, partnership, joint venture,
association, joint−stock company, trust, unincorporated organization, limited liability company
or government or other entity.

               “Port Neches Applicable Amount” means Port Neches Holder Allocation of
Proceeds in an amount equal to at least $25.0 million in the aggregate.

              “Port Neches Incident” means the explosion of the Issuer’s chemical plant in Port
Neches, Texas in November, 2019.

               “Port Neches Proceeds” means any and all insurance proceeds (including,
without limitation, from business interruption, property or casualty policies and any settlements
with insurance carriers) received by Holdings, the Issuer and its Subsidiaries after February 2,
2021 in connection with the Port Neches Incident (excluding up to $50.0 million of insurance
proceeds received under the combined Property Damage/Business Interruption policy and $25.0
million of insurance proceeds received under liability and inventory policies).

              “Port Neches Allocable Proceeds” means all Port Neches Proceeds in excess of
$475.0 million.

              “Port Neches Company Allocation of Proceeds” means 50% of all Port Neches
Allocable Proceeds.

              “Port Neches Holder Allocation of Proceeds” means 50% of all Port Neches
Allocable Proceeds.

               “Post Petition Interest” means any interest or entitlement to fees or expenses or
other charges that accrue after the commencement of any bankruptcy proceeding, whether or not
allowed or allowable in any such bankruptcy proceeding.

               “Private Placement Legend” means the legend set forth in Section 2.06(f)(1)
hereof to be placed on all Notes issued under this Indenture except where otherwise permitted by
the provisions of this Indenture.

              “Purchase Agreement” means that certain Purchase Agreement, dated February 2,
2021, by and among the Issuer and the Purchasers party thereto.

               “QIB” means a “qualified institutional buyer” as defined in Rule 144A.

               “Rating Agency” means each of S&P and Moody’s, or if S&P or Moody’s or both
shall not make a rating on the Notes publicly available, a nationally recognized statistical rating
organization or organizations, within the meaning of Section 3(a)(62) under the Exchange Act,
selected by the Issuer as a replacement agency or agencies for S&P or Moody’s, or both, as the
case may be.

               “Refinancing Transactions” has the meaning set forth in the Offering Document.

               “Regulation S” means Regulation S promulgated under the Securities Act.

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               “Regulation S Global Note” means a Global Note substantially in the form of
Exhibit A2 hereto deposited with or behalf of and registered in the name of the Depositary or its
nominee, issued in a denomination equal to the outstanding principal amount of the Notes sold in
reliance of Regulation S.

                “Related Business Assets” means assets (other than cash or Cash Equivalents)
used or useful in a Permitted Business; provided that any assets received by the Issuer or a
Restricted Subsidiary of the Issuer in exchange for assets transferred by the Issuer or a Restricted
Subsidiary of the Issuer shall not be deemed to be Related Business Assets if they consist of
securities of a Person, unless upon receipt of the securities of such Person, such Person would
become a Restricted Subsidiary of the Issuer.

               “Related Party” means:

               (1)    any controlling stockholder, partner, member, 50% (or more) owned
       Subsidiary (other than any portfolio company), or immediate family member (in the case
       of an individual) of any Equity Investor;

               (2)      any trust, corporation, partnership or other entity, the beneficiaries,
       stockholders, partners, owners or Persons beneficially holding a 50% or more controlling
       interest of which consist of any one or more Equity Investors and/or such other Persons
       referred to in the immediately preceding clause; or

               (3)     any Person with whom an Equity Investor or a Related Party (under
       clause (1) or (2) of this definition of Related Party) may be deemed as part of a “group”
       within the meaning of Section 13(d)(3) of the Exchange Act.

                “Representative” means BofA Securities, Inc., in its capacity as representative of
the several Initial Purchasers.

                “Responsible Officer” when used with respect to the Trustee, means any officer
within the corporate trust department of the Trustee, including any vice president, assistant vice
president, trust officer or any other officer of the Trustee customarily performing functions
similar to those performed by any of the above designated officers and also means, with respect
to a particular corporate trust matter, any other person to whom such matter is referred because
of such person’s knowledge of and familiarity with the particular subject and who shall have
direct responsibility for the administration of this Indenture.

              “Restricted Definitive Note” means a Definitive Note bearing the Private
Placement Legend.

               “Restricted Global Note” means a Global Note bearing the Private Placement
Legend.

               “Restricted Investment” means an Investment other than a Permitted Investment.

               “Restricted Period” means the 40−day distribution compliance period as defined
in Regulation S, as notified to the Trustee by the Issuer in writing.

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                “Restricted Subsidiary” of a Person means any Subsidiary of the referent Person
that is not an Unrestricted Subsidiary. Unless otherwise indicated, when used herein, the term
“Restricted Subsidiary” shall refer to a Restricted Subsidiary of the Issuer.

               “Rule 144” means Rule 144 promulgated under the Securities Act.

               “Rule 144A” means Rule 144A promulgated under the Securities Act.

               “Rule 903” means Rule 903 promulgated under the Securities Act.

               “Rule 904” means Rule 904 promulgated under the Securities Act.

               “S&P” means S&P Global Ratings and any successor to its rating agency
business.

               “Sale/Leaseback Transaction” means an arrangement relating to property now
owned or hereafter acquired by the Issuer or a Restricted Subsidiary of the Issuer whereby the
Issuer or a Restricted Subsidiary of the Issuer transfers such property to a Person and the Issuer
or such Restricted Subsidiary leases it from such Person, other than leases between the Issuer and
a Restricted Subsidiary of the Issuer or between Restricted Subsidiaries of the Issuer.

               “SEC” means the Securities and Exchange Commission.

               “Secured Indebtedness” means any Indebtedness secured by a Lien.

              “Secured Parties” means (i) the Holders of the Notes, (ii) the Trustee, (iii) the
Collateral Agent and (iv) any successors, indorsees, transferees and assigns of each of the
foregoing.

               “Securities Act” means the Securities Act of 1933, as amended.

               “Security Agreement” means the pledge and security agreement dated as of the
Issue Date among the Collateral Agent, for its benefit and for the benefit of the Trustee and the
Holders of the Notes, the Issuer and the Guarantors, as amended, modified, restated,
supplemented or replaced from time to time in accordance with its terms.

               “Security Documents” means the Security Agreement, any mortgages, the
Intercreditor Agreements and all of the security agreements, pledges, collateral assignments,
mortgages, deeds of trust, trust deeds or other instruments evidencing or creating or purporting to
create any security interests in favor of the Collateral Agent for its benefit and for the benefit of
the Trustee and the Holders of the Notes, in all or any portion of the Collateral, in each case as
amended, modified, restated, supplemented or replaced from time to time.

               “Significant Subsidiary” means any Subsidiary that would be a “significant
subsidiary” as defined in Article 1, Rule 1−02 of Regulation S−X, promulgated pursuant to the
Securities Act, as such Regulation is in effect on the Issue Date.

               “Specified Settlement Amount” means $64,947,000.

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               “Stated Maturity” means, with respect to any installment of principal on any
series of Indebtedness, the date on which the final payment of principal was scheduled to be paid
in the documentation governing such Indebtedness as of the Issue Date, and will not include any
contingent obligations to repay, redeem or repurchase any such principal prior to the date
originally scheduled for the payment thereof.

               “Subsidiary” means, with respect to any specified Person:

                (1)   any corporation, association or other business entity of which more than
       50% of the total voting power of shares of Capital Stock entitled (without regard to the
       occurrence of any contingency and after giving effect to any voting agreement or
       stockholders’ agreement that effectively transfers voting power) to vote in the election of
       directors, managers or trustees of the corporation, association or other business entity is
       at the time owned or controlled, directly or indirectly, by that Person or one or more of
       the other Subsidiaries of that Person (or a combination thereof); and

               (2)    any partnership (a) the sole general partner or the managing general
       partner of which is such Person or a Subsidiary of such Person or (b) the only general
       partners of which are that Person or one or more Subsidiaries of that Person (or any
       combination thereof).

             “TIA” means the Trust Indenture Act of 1939, as amended (15 U.S.C.
§§ 77aaa−77bbbb).

               “Total Assets” means the total consolidated assets of the Issuer and its Restricted
Subsidiaries, as shown on the most recent balance sheet of the Issuer

               “Treasury Rate” means, as of any redemption date, the yield to maturity as of
such redemption date of United States Treasury securities with a constant maturity (as compiled
and published in the most recent Federal Reserve Statistical Release H. 15(519) that has become
publicly available at least two Business Days prior to the redemption date (or, if such Statistical
Release is no longer published, any publicly available source of similar market data)) most
nearly equal to the period from the redemption date to August 1, 2021; provided, however, that if
the period from the redemption date to August 1, 2021, is less than one year, the weekly average
yield on actually traded United States Treasury securities adjusted to a constant maturity of one
year will be used.

               “Trustee” means U.S. Bank National Association until a successor replaces it in
accordance with the applicable provisions of this Indenture and thereafter means the successor
serving hereunder.

                “U.S. Dollar Equivalent” means with respect to any monetary amount in a
currency other than U.S. dollars, at any time for determination thereof, the amount of U.S.
dollars obtained by converting such foreign currency involved in such computation into U.S.
dollars at the spot rate for the purchase of U.S. dollars with the applicable foreign currency as
published in The Wall Street Journal in the “Exchange Rates” column under the heading
“Currency Trading” on the date two Business Days prior to such determination.


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                “U.S. Government Securities” means direct obligations of, or obligations
Guaranteed by, the United States of America, and the payment for which the United States
pledges its full faith and credit.

               “U.S. Person” means a U.S. Person as defined in Rule 902(k) promulgated under
the Securities Act.

               “Unrestricted Definitive Note” means a Definitive Note that does not bear and is
not required to bear the Private Placement Legend.

               “Unrestricted Global Note” means a Global Note that does not bear and is not
required to bear the Private Placement Legend.

               “Unrestricted Subsidiary” means TPC Pipeline Holding Company LLC and TPC
Pipeline Company LLC; provided that, for the avoidance of doubt, (i) TPC Pipeline Company
LLC shall not own any material assets other than the Excluded Pipelines and Investments made
pursuant to clause (12) of the definition of Permitted Investments and (ii) TPC Pipeline Holding
Company LLC shall not own any material assets other than the Equity Interests of TPC Pipeline
Company LLC.

              “Voting Stock” of any specified Person as of any date means the Capital Stock of
such Person that is at the time entitled to vote in the election of the Board of Directors of such
Person.

               “Weighted Average Life to Maturity” means, when applied to any Indebtedness at
any date, the number of years obtained by dividing:

               (1)      the sum of the products obtained by multiplying (a) the amount of each
        then remaining installment, sinking fund, serial maturity or other required payments of
        principal, including payment at final maturity, in respect of the Indebtedness, by (b) the
        number of years (calculated to the nearest one−twelfth) that will elapse between such
        date and the making of such payment; by

               (2)     the then outstanding principal amount of such Indebtedness.

Section 1.02   Other Definitions.

 Term                                                 Defined in Section

 “Affiliate Transaction”                                     4.09
 “After−Acquired Real Property”                              4.18
 “Alternate Offer”                                           4.12
 “Applicable Premium Deficit”                                8.04
 “Asset Sale Offer”                                          4.08
 “Authentication Order”                                      2.02
 “Change of Control Offer”                                   4.12
 “Change of Control Payment”                                 4.12

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 Term                                                Defined in Section

 “Change of Control Payment Date”                           4.12
 “Covenant Defeasance”                                      8.03
 “DTC”                                                      2.03
 “Event of Default”                                         6.01
 “Excess Proceeds”                                          4.08
 “Fall−Away Period”                                         4.16
 “Flood Insurance Laws”                                     4.19
 “incur”                                                   4.07(a)
 “Issuer”                                                 Preamble
 “Legal Defeasance”                                         8.02
 “Limited Condition Transaction”                            4.21
 “Mortgage Policies”                                        4.19
 “Offer Period”                                             4.08
 “Paying Agent”                                             2.03
 “Payment Default”                                          6.01
 “Permitted Debt”                                          4.07(b)
 “Registrar”                                                2.03
 “Restricted Payments”                                      4.05
 “Suspended Covenants”                                      4.16
 “Title Company”                                            4.19
 “Transaction Agreement Date”                               4.21

Section 1.03   Incorporation by Reference of Trust Indenture Act.

               This Indenture is not and shall not be qualified by the TIA and no provisions of
the TIA are incorporated by reference in and made a part of this Indenture.

Section 1.04   Rules of Construction.

               Unless the context otherwise requires:

               (i)     a term has the meaning assigned to it;

               (ii)   an accounting term not otherwise defined has the meaning assigned to it in
        accordance with GAAP;

               (iii)   “or” is not exclusive;

               (iv)    words in the singular include the plural, and in the plural include the
        singular;

               (v)     “will” shall be interpreted to express a command;

               (vi)    provisions apply to successive events and transactions; and


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               (vii) references to sections of or rules under the Securities Act will be deemed
       to include substitute, replacement of successor sections or rules adopted by the SEC from
       time to time.

Section 1.05   Divisions.

        For all purposes hereunder, in connection with any division or plan of division under
Delaware law (or any comparable event under a different jurisdiction’s laws): (a) if any asset,
right, obligation or liability of any Person becomes the asset, right, obligation or liability of a
different Person, then it shall be deemed to have been transferred from the original Person to the
subsequent Person, and (b) if any new Person comes into existence, such new Person shall be
deemed to have been organized on the first date of its existence by the holders of its equity
interests at such time.

                                           ARTICLE 2

                                           THE NOTES

Section 2.01   Form and Dating.

                (a)     General. The Notes and the Trustee’s certificate of authentication will be
substantially in the form of Exhibits A1 and A2 hereto. The Notes may have notations, legends
or endorsements required by law, stock exchange rule or usage. Each Note will be dated the date
of its authentication. The Notes shall be in denominations of $2,000 and integral multiples of
$1,000 in excess of $2,000.

               The terms and provisions contained in the Notes will constitute, and are hereby
expressly made, a part of this Indenture and the Issuer, the Guarantors and the Trustee, by their
execution and delivery of this Indenture, expressly agree to such terms and provisions and to be
bound thereby. However, to the extent any provision of any Note conflicts with the express
provisions of this Indenture, the provisions of this Indenture shall govern and be controlling.

                (b)     Global Notes. Notes issued in global form will be substantially in the form
of Exhibits A1 or A2 hereto (including the Global Note Legend thereon and the “Schedule of
Exchanges of Interests in the Global Note” attached thereto). Definitive Notes will be
substantially in the form of Exhibit A1 hereto (but without the Global Note Legend thereon and
without the “Schedule of Exchanges of Interests in the Global Note” attached thereto). Each
Global Note will represent such of the outstanding Notes as will be specified therein and each
shall provide that it represents the aggregate principal amount of outstanding Notes from time to
time endorsed thereon and that the aggregate principal amount of outstanding Notes represented
thereby may from time to time be reduced or increased, as appropriate, to reflect exchanges and
redemptions. Any endorsement of a Global Note to reflect the amount of any increase or
decrease in the aggregate principal amount of outstanding Notes represented thereby will be
made by the Trustee or the Custodian, at the written direction of the Trustee, in accordance with
instructions given by the Holder thereof as required by Section 2.06 hereof.

               (c)    None of the Trustee or any Agent shall have any responsibility or
obligation to any beneficial owner of an interest in a Global Note, a member of, or a Participant
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or Indirect Participant in, the Depositary or other Person with respect to the accuracy of the
records of the Depositary or its nominee or of any Participant or Indirect Participant in, or
member thereof, with respect to any ownership interest in the Notes or with respect to the
delivery to any Participant, Indirect Participant, member, beneficial owner or other Person (other
than the Depositary) of any notice (including any notice of redemption) or the payment of any
amount or delivery of any Notes (or other security or property) under or with respect to such
Notes. All notices and communications to be given to the Holders and all payments to be made
to Holders in respect of the Notes shall be given or made only to or upon the order of the
registered Holders (which shall be the Depositary or its nominee in the case of a Global Note).
The rights of beneficial owners in any Global Note shall be exercised only through the
Depositary subject to the Applicable Procedures of the Depositary. The Trustee and each Agent
may conclusively rely and shall be fully protected in relying upon information furnished by the
Depositary with respect to its members, Participants, Indirect Participants and any beneficial
owners. Neither the Trustee nor any Agent shall have any responsibility or liability for actions
take or not taken by the Depositary.

Section 2.02    Execution and Authentication.

                (a)    At least one Officer must sign the Notes for the Issuer by manual,
electronic or facsimile signature.

               (b)     If an Officer whose signature is on a Note no longer holds that office at
the time a Note is authenticated, the Note will nevertheless be valid.

                (c)    A Note will not be valid until authenticated by the manual or electronic
signature of the Trustee. The signature will be conclusive evidence that the Note has been
authenticated under this Indenture.

                (d)     The Trustee will, upon receipt of a written order of the Issuer signed by
two Officers of the Issuer (an “Authentication Order”), authenticate Notes for original issue that
may be validly issued under this Indenture, including any Additional Notes. The aggregate
principal amount of Notes outstanding at any time may not exceed the aggregate principal
amount of Notes authorized for issuance by the Issuer pursuant to one or more Authentication
Orders, except as provided in Section 2.07 hereof. Subject to compliance with Sections 4.07 and
4.10 of this Indenture, the Issuer may issue an unlimited amount of Additional Notes under this
Indenture from time to time after the Issue Date having identical terms and conditions as the
Initial Notes other than the issue date, issue price, the first interest payment date and the first date
from which interest will accrue; provided that if any Additional Notes are not fungible with the
Initial Notes for U.S. federal income tax purposes, such Additional Notes will be issued as a
separate series under this Indenture and will have a separate CUSIP number and ISIN from the
Initial Notes.

                (e)     The Trustee may appoint an authenticating agent acceptable to the Issuer
to authenticate Notes. An authenticating agent may authenticate Notes whenever the Trustee may
do so. Each reference in this Indenture to authentication by the Trustee includes authentication
by such agent. An authenticating agent has the same rights as an Agent to deal with Holders or
an Affiliate of the Issuer.

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Section 2.03   Registrar and Paying Agent.

              (a)     The Issuer will maintain a register of Notes at its registered office in
which the Holders of the Notes will be registered.

                (b)     The Issuer will maintain an office or agency where Notes may be
presented for registration of transfer or for exchange (“Registrar”) and an office or agency where
Notes may be presented for payment (“Paying Agent”). The Registrar will keep a register of the
Holders and the Notes and of their transfer and exchange. The Issuer may appoint one or more
co−registrars and one or more additional Paying Agents. The term “Registrar” includes any
co−registrar and the term “Paying Agent” includes any additional paying agent. The Issuer may
change any Paying Agent or Registrar without notice to any Holder. The Issuer will notify the
Trustee in writing of the name and address of any Agent not a party to this Indenture. The Issuer
or any of the Issuer’s Restricted Subsidiaries may act as Paying Agent or Registrar.

               (c)    The Issuer initially appoints The Depository Trust Company (“DTC”) to
act as Depositary with respect to the Global Notes.

              (d)      The Issuer initially appoints the Trustee to act as the Registrar and Paying
Agent with respect to the Global Notes.

Section 2.04   Paying Agent to Hold Money in Trust.

                The Issuer will require each Paying Agent other than the Trustee to agree in
writing that the Paying Agent will hold in trust for the benefit of Holders or the Trustee all
money held by the Paying Agent for the payment of principal, Applicable Premium, any other
premium or interest on the Notes, and will notify the Trustee in writing of any default by the
Issuer in making any such payment. While any such default continues, the Trustee may require a
Paying Agent to pay all money held by it to the Trustee. The Issuer at any time may require a
Paying Agent to pay all money held by it to the Trustee. Upon payment over to the Trustee, the
Paying Agent (if other than the Issuer or a Subsidiary of the Issuer) will have no further liability
for the money. If the Issuer or a Subsidiary of the Issuer acts as Paying Agent, it will segregate
and hold in a separate trust fund for the benefit of the Holders all money held by it as Paying
Agent. Upon any bankruptcy or reorganization proceedings relating to the Issuer, the Trustee
will serve as Paying Agent for the Notes.

Section 2.05   Holder Lists.

                The Trustee will preserve in as current a form as is reasonably practicable the
most recent list available to it of the names and addresses of all Holders. If the Trustee is not the
Registrar, the Issuer will furnish to the Trustee at least seven Business Days before each interest
payment date and at such other times as the Trustee may request in writing, a list in such form
and as of such date as the Trustee may reasonably require of the names and addresses of the
Holders.

Section 2.06   Transfer and Exchange.



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               (a)     Transfer and Exchange of Global Notes. A Global Note may not be
transferred except as a whole by the Depositary to a nominee of the Depositary, by a nominee of
the Depositary to the Depositary or to another nominee of the Depositary, or by the Depositary
or any such nominee to a successor Depositary or a nominee of such successor Depositary. All
Global Notes will be exchanged by the Issuer for Definitive Notes if:

              (1)      the Issuer delivers to the Trustee written notice from the Depositary that it
       is unwilling or unable to continue to act as Depositary or that it is no longer a clearing
       agency registered under the Exchange Act and, in either case, a successor Depositary is
       not appointed by the Issuer within 120 days after the date of such notice from the
       Depositary; or

               (2)    there has occurred and is continuing an Event of Default with respect to
       the Notes and the Trustee has requested that the Global Notes be exchanged for
       Definitive Notes as a result thereof.

                Upon the occurrence of either of the preceding events in clauses (1) or (2) above,
Definitive Notes shall be issued in such names as the Depositary shall instruct the Trustee in
writing. Global Notes also may be exchanged or replaced, in whole or in part, as provided in
Sections 2.07 and 2.10 hereof. Every Note authenticated and delivered in exchange for, or in lieu
of, a Global Note or any portion thereof, pursuant to this Section 2.06 or Section 2.07 or 2.10
hereof, shall be authenticated and delivered in the form of, and shall be, a Global Note. A Global
Note may not be exchanged for another Note other than as provided in this Section 2.06(a),
however, beneficial interests in a Global Note may be transferred and exchanged as provided in
Section 2.06(b) or (c) hereof.

                (b)      Transfer and Exchange of Beneficial Interests in the Global Notes. The
transfer and exchange of beneficial interests in the Global Notes will be effected through the
Depositary, in accordance with the provisions of this Indenture and the Applicable Procedures.
Beneficial interests in the Restricted Global Notes will be subject to restrictions on transfer
comparable to those set forth herein to the extent required by the Securities Act. Transfers of
beneficial interests in the Global Notes also will require compliance with either clause (1) or (2)
below, as applicable, as well as one or more of the other following clauses, as applicable:

               (1)     Transfer of Beneficial Interests in the Same Global Note. Beneficial
       interests in any Restricted Global Note may be transferred to Persons who take delivery
       thereof in the form of a beneficial interest in the same Restricted Global Note in
       accordance with the transfer restrictions set forth in the Private Placement Legend.

               (2)     All Other Transfers and Exchanges of Beneficial Interests in Global
       Notes. In connection with all transfers and exchanges of beneficial interests that are not
       subject to Section 2.06(b)(1) above, the transferor of such beneficial interest must deliver
       to the Registrar either:

                       (A)    both:

                              (i)     a written order from a Participant or an Indirect Participant
                                      given to the Depositary in accordance with the Applicable
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                                      Procedures directing the Depositary to credit or cause to be
                                      credited a beneficial interest in another Global Note in an
                                      amount equal to the beneficial interest to be transferred or
                                      exchanged; and

                              (ii)    instructions given in accordance with the Applicable
                                      Procedures containing information regarding the
                                      Participant account to be credited with such increase; or

                       (B)    both:

                              (i)     a written order from a Participant or an Indirect Participant
                                      given to the Depositary in accordance with the Applicable
                                      Procedures directing the Depositary to cause to be issued a
                                      Definitive Note in an amount equal to the beneficial
                                      interest to be transferred or exchanged; and

                              (ii)    instructions given by the Depositary to the Registrar
                                      containing information regarding the Person in whose name
                                      such Definitive Note shall be registered to effect the
                                      transfer or exchange referred to in clause (1) above.

                Upon satisfaction of all of the requirements for transfer or exchange of beneficial
interests in Global Notes contained in this Indenture and the Notes or otherwise applicable under
the Securities Act, the Trustee shall adjust the principal amount of the relevant Global Note(s)
pursuant to Section 2.06(g) hereof.

               (3)     Transfer of Beneficial Interests to Another Restricted Global Note. A
       beneficial interest in any Restricted Global Note may be transferred to a Person who
       takes delivery thereof in the form of a beneficial interest in another Restricted Global
       Note if the transfer complies with the requirements of Section 2.06(b)(2) above and the
       Registrar receives:

                       (A)      if the transferee will take delivery in the form of a beneficial
               interest in the 144A Global Note, then the transferor must deliver a certificate in
               the form of Exhibit B hereto, including the certifications in item (1) thereof;

                       (B)      if the transferee will take delivery in the form of a beneficial
               interest in the Regulation S Global Note, then the transferor must deliver a
               certificate in the form of Exhibit B hereto, including the certifications in item (2)
               thereof.

               (4)     Transfer and Exchange of Beneficial Interests in a Restricted Global Note
       for Beneficial Interests in an Unrestricted Global Note. A beneficial interest in any
       Restricted Global Note may be exchanged by any holder thereof for a beneficial interest
       in an Unrestricted Global Note or transferred to a Person who takes delivery thereof in
       the form of a beneficial interest in an Unrestricted Global Note if the exchange or transfer


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       complies with the requirements of Section 2.06(b)(2) above and the Registrar receives the
       following:

                       (A)    if the holder of such beneficial interest in a Restricted Global Note
               proposes to exchange such beneficial interest for a beneficial interest in an
               Unrestricted Global Note, a certificate from such holder in the form of Exhibit C
               hereto, including the certifications in item (1)(a) thereof; or

                       (B)     if the holder of such beneficial interest in a Restricted Global Note
               proposes to transfer such beneficial interest to a Person who shall take delivery
               thereof in the form of a beneficial interest in an Unrestricted Global Note, a
               certificate from such holder in the form of Exhibit B hereto, including the
               certifications in item (4) thereof;

       and, in each such case set forth in this Section 2.06(b)(4), if the Issuer so requests or if
       the Applicable Procedures so require, an Opinion of Counsel in form reasonably
       acceptable to the Issuer to the effect that such exchange or transfer is in compliance with
       the Securities Act and that the restrictions on transfer contained herein and in the Private
       Placement Legend are no longer required in order to maintain compliance with the
       Securities Act.

       If any such transfer is effected pursuant to Section 2.06(b)(4) above at a time when an
Unrestricted Global Note has not yet been issued, the Issuer shall issue and, upon receipt of an
Authentication Order in accordance with Section 2.02 hereof, the Trustee shall authenticate one
or more Unrestricted Global Notes in an aggregate principal amount equal to the aggregate
principal amount of beneficial interests transferred pursuant to Section 2.06(b)(4) above.

        Beneficial interests in an Unrestricted Global Note cannot be exchanged for, or
transferred to Persons who take delivery thereof in the form of, a beneficial interest in a
Restricted Global Note.

               (c)     Transfer or Exchange of Beneficial Interests for Definitive Notes.

               (1)     Beneficial Interests in Restricted Global Notes to Restricted Definitive
       Notes. If any holder of a beneficial interest in a Restricted Global Note proposes to
       exchange such beneficial interest for a Restricted Definitive Note or to transfer such
       beneficial interest to a Person who takes delivery thereof in the form of a Restricted
       Definitive Note, then, upon receipt by the Registrar of the following documentation:

                       (A)     if the holder of such beneficial interest in a Restricted Global Note
               proposes to exchange such beneficial interest for a Restricted Definitive Note, a
               certificate from such holder in the form of Exhibit C hereto, including the
               certifications in item (2)(a) thereof;

                       (B)    if such beneficial interest is being transferred to a QIB in
               accordance with Rule 144A, a certificate to the effect set forth in Exhibit B
               hereto, including the certifications in item (1) thereof;


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               (C)      if such beneficial interest is being transferred to a Non−U.S.
       Person in an offshore transaction in accordance with Rule 903 or Rule 904, a
       certificate to the effect set forth in Exhibit B hereto, including the certifications in
       item (2) thereof;

               (D)     if such beneficial interest is being transferred pursuant to an
       exemption from the registration requirements of the Securities Act in accordance
       with Rule 144, a certificate to the effect set forth in Exhibit B hereto, including
       the certifications in item (3)(a) thereof;

               (E)     if such beneficial interest is being transferred to the Issuer or any
       of its Subsidiaries, a certificate to the effect set forth in Exhibit B hereto,
       including the certifications in item (3)(b) thereof; or

               (F)     if such beneficial interest is being transferred pursuant to an
       effective registration statement under the Securities Act, a certificate to the effect
       set forth in Exhibit B hereto, including the certifications in item (3)(c) thereof;

and the Trustee shall cause the aggregate principal amount of the applicable Global Note
to be reduced accordingly pursuant to Section 2.06(g) hereof, and the Issuer shall execute
and the Trustee shall authenticate and deliver to the Person designated in the instructions
a Definitive Note in the appropriate principal amount. Any Definitive Note issued in
exchange for a beneficial interest in a Restricted Global Note pursuant to this
Section 2.06(c) shall be registered in such name or names and in such authorized
denomination or denominations as the holder of such beneficial interest shall instruct the
Registrar through instructions from the Depositary and the Participant or Indirect
Participant. The Trustee shall deliver such Definitive Notes to the Persons in whose
names such Notes are so registered. Any Definitive Note issued in exchange for a
beneficial interest in a Restricted Global Note pursuant to this Section 2.06(c)(1) shall
bear the Private Placement Legend and shall be subject to all restrictions on transfer
contained therein.

        (2)     Beneficial Interests in Restricted Global Notes to Unrestricted Definitive
Notes. A holder of a beneficial interest in a Restricted Global Note may exchange such
beneficial interest for an Unrestricted Definitive Note or may transfer such beneficial
interest to a Person who takes delivery thereof in the form of an Unrestricted Definitive
Note only if the Registrar receives the following:

                (A)     if the holder of such beneficial interest in a Restricted Global Note
       proposes to exchange such beneficial interest for an Unrestricted Definitive Note,
       a certificate from such holder in the form of Exhibit C hereto, including the
       certifications in item (1)(b) thereof; or

               (B)     if the holder of such beneficial interest in a Restricted Global Note
       proposes to transfer such beneficial interest to a Person who shall take delivery
       thereof in the form of an Unrestricted Definitive Note, a certificate from such



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        holder in the form of Exhibit B hereto, including the certifications in item (4)
        thereof;

and, in each such case set forth in this Section 2.06(c)(2), if the Issuer so requests or if the
Applicable Procedures so require, an Opinion of Counsel in form reasonably acceptable
to the Issuer to the effect that such exchange or transfer is in compliance with the
Securities Act and that the restrictions on transfer contained herein and in the Private
Placement Legend are no longer required in order to maintain compliance with the
Securities Act.

        (3)     Beneficial Interests in Unrestricted Global Notes to Unrestricted
Definitive Notes. If any holder of a beneficial interest in an Unrestricted Global Note
proposes to exchange such beneficial interest for a Definitive Note or to transfer such
beneficial interest to a Person who takes delivery thereof in the form of a Definitive Note,
then, upon satisfaction of the conditions set forth in Section 2.06(b)(2) hereof, the Trustee
will cause the aggregate principal amount of the applicable Global Note to be reduced
accordingly pursuant to Section 2.06(g) hereof, and the Issuer will execute and the
Trustee will authenticate and deliver to the Person designated in the instructions a
Definitive Note in the appropriate principal amount. Any Definitive Note issued in
exchange for a beneficial interest pursuant to this Section 2.06(c)(3) will be registered in
such name or names and in such authorized denomination or denominations as the holder
of such beneficial interest requests through instructions to the Registrar from or through
the Depositary and the Participant or Indirect Participant. The Trustee will deliver such
Definitive Notes to the Persons in whose names such Notes are so registered. Any
Definitive Note issued in exchange for a beneficial interest pursuant to this
Section 2.06(c)(3) will not bear the Private Placement Legend.

        (d)     Transfer and Exchange of Definitive Notes for Beneficial Interests.

        (1)     Restricted Definitive Notes to Beneficial Interests in Restricted Global
Notes. If any Holder of a Restricted Definitive Note proposes to exchange such Note for a
beneficial interest in a Restricted Global Note or to transfer such Restricted Definitive
Notes to a Person who takes delivery thereof in the form of a beneficial interest in a
Restricted Global Note, then, upon receipt by the Registrar of the following
documentation:

                (A)     if the Holder of such Restricted Definitive Note proposes to
        exchange such Note for a beneficial interest in a Restricted Global Note, a
        certificate from such Holder in the form of Exhibit C hereto, including the
        certifications in item (2)(b) thereof;

                (B)    if such Restricted Definitive Note is being transferred to a QIB in
        accordance with Rule 144A, a certificate to the effect set forth in Exhibit B
        hereto, including the certifications in item (1) thereof;

             (C)     if such Restricted Definitive Note is being transferred to a
        Non−U.S. Person in an offshore transaction in accordance with Rule 903 or

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               Rule 904, a certificate to the effect set forth in Exhibit B hereto, including the
               certifications in item (2) thereof;

                      (D)     if such Restricted Definitive Note is being transferred pursuant to
               an exemption from the registration requirements of the Securities Act in
               accordance with Rule 144, a certificate to the effect set forth in Exhibit B hereto,
               including the certifications in item (3)(a) thereof;

                       (E)     if such Restricted Definitive Note is being transferred to the Issuer
               or any of the Issuer’s Subsidiaries, a certificate to the effect set forth in Exhibit B
               hereto, including the certifications in item (3)(b) thereof; or

                       (F)      if such Restricted Definitive Note is being transferred pursuant to
               an effective registration statement under the Securities Act, a certificate to the
               effect set forth in Exhibit B hereto, including the certifications in item (3)(c)
               thereof;

       and the Trustee will cancel the Restricted Definitive Note, increase or cause to be
       increased the aggregate principal amount of, in the case of clause (A) above, the
       appropriate Restricted Global Note, in the case of clause (B) above, the 144A Global
       Note, and in the case of clause (C) above, the Regulation S Global Note.

               (2)     Restricted Definitive Notes to Beneficial Interests in Unrestricted Global
       Notes. A Holder of a Restricted Definitive Note may exchange such Note for a beneficial
       interest in an Unrestricted Global Note or transfer such Restricted Definitive Note to a
       Person who takes delivery thereof in the form of a beneficial interest in an Unrestricted
       Global Note only if the Registrar receives the following:

                       (A)     if the Holder of such Definitive Notes proposes to exchange such
               Notes for a beneficial interest in the Unrestricted Global Note, a certificate from
               such Holder in the form of Exhibit C hereto, including the certifications in item
               (1)(c) thereof; or

                       (B)     if the Holder of such Definitive Notes proposes to transfer such
               Notes to a Person who shall take delivery thereof in the form of a beneficial
               interest in the Unrestricted Global Note, a certificate from such Holder in the form
               of Exhibit B hereto, including the certifications in item (4) thereof;

       and, in each such case set forth in this Section 2.06(d)(2), if the Issuer so requests or if
       the Applicable Procedures so require, an Opinion of Counsel in form reasonably
       acceptable to the Issuer to the effect that such exchange or transfer is in compliance with
       the Securities Act and that the restrictions on transfer contained herein and in the Private
       Placement Legend are no longer required in order to maintain compliance with the
       Securities Act.

       Upon satisfaction of the conditions of any of the clauses in this Section 2.06(d)(2), the
Trustee will cancel the Definitive Notes and increase or cause to be increased the aggregate
principal amount of the Unrestricted Global Note.

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               (3)     Unrestricted Definitive Notes to Beneficial Interests in Unrestricted
       Global Notes. A Holder of an Unrestricted Definitive Note may exchange such Note for a
       beneficial interest in an Unrestricted Global Note or transfer such Definitive Notes to a
       Person who takes delivery thereof in the form of a beneficial interest in an Unrestricted
       Global Note at any time. Upon receipt of a request for such an exchange or transfer, the
       Trustee will cancel the applicable Unrestricted Definitive Note and increase or cause to
       be increased the aggregate principal amount of one of the Unrestricted Global Notes.

               If any such exchange or transfer from a Definitive Note to a beneficial interest is
effected pursuant to Section 2.06(d)(2), or 2.06(d)(3) above at a time when an Unrestricted
Global Note has not yet been issued, the Issuer will issue and, upon receipt of an Authentication
Order in accordance with Section 2.02 hereof, the Trustee will authenticate one or more
Unrestricted Global Notes in an aggregate principal amount equal to the principal amount of
Definitive Notes so transferred.

                 (e)    Transfer and Exchange of Definitive Notes for Definitive Notes. Upon
request by a Holder of Definitive Notes and such Holder’s compliance with the provisions of this
Section 2.06(e), the Registrar will register the transfer or exchange of Definitive Notes. Prior to
such registration of transfer or exchange, the requesting Holder must present or surrender to the
Registrar the Definitive Notes duly endorsed or accompanied by a written instruction of transfer
in form satisfactory to the Registrar duly executed by such Holder or by its attorney, duly
authorized in writing. In addition, the requesting Holder must provide any additional
certifications, documents and information, as applicable, required pursuant to the following
provisions of this Section 2.06(e).

               (1)    Restricted Definitive Notes to Restricted Definitive Notes. Any Restricted
       Definitive Note may be transferred to and registered in the name of Persons who take
       delivery thereof in the form of a Restricted Definitive Note if the Registrar receives the
       following:

                       (A)     if the transfer will be made pursuant to Rule 144A, then the
               transferor must deliver a certificate in the form of Exhibit B hereto, including the
               certifications in item (1) thereof;

                       (B)     if the transfer will be made pursuant to Rule 903 or Rule 904, then
               the transferor must deliver a certificate in the form of Exhibit B hereto, including
               the certifications in item (2) thereof; and

                        (C)     if the transfer will be made pursuant to any other exemption from
               the registration requirements of the Securities Act, then the transferor must deliver
               a certificate in the form of Exhibit B hereto, including the certifications,
               certificates and Opinion of Counsel required by item (3) thereof, if applicable.

               (2)    Restricted Definitive Notes to Unrestricted Definitive Notes. Any
       Restricted Definitive Note may be exchanged by the Holder thereof for an Unrestricted
       Definitive Note or transferred to a Person or Persons who take delivery thereof in the
       form of an Unrestricted Definitive Note if the Registrar receives the following:

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                       (A)    if the Holder of such Restricted Definitive Notes proposes to
               exchange such Notes for an Unrestricted Definitive Note, a certificate from such
               Holder in the form of Exhibit C hereto, including the certifications in item (1)(d)
               thereof; or

                       (B)    if the Holder of such Restricted Definitive Notes proposes to
               transfer such Notes to a Person who shall take delivery thereof in the form of an
               Unrestricted Definitive Note, a certificate from such Holder in the form of
               Exhibit B hereto, including the certifications in item (4) thereof;

       and, in each such case set forth in this Section 2.06(e)(2), if the Issuer so requests or if the
       Applicable Procedures so require, an Opinion of Counsel in form reasonably acceptable
       to the Issuer to the effect that such exchange or transfer is in compliance with the
       Securities Act and that the restrictions on transfer contained herein and in the Private
       Placement Legend are no longer required in order to maintain compliance with the
       Securities Act.

               (3)     Unrestricted Definitive Notes to Unrestricted Definitive Notes. A Holder
       of Unrestricted Definitive Notes may transfer such Notes to a Person who takes delivery
       thereof in the form of an Unrestricted Definitive Note. Upon receipt of a request to
       register such a transfer, the Registrar shall register the Unrestricted Definitive Notes
       pursuant to the instructions from the Holder thereof.

               (f)    Legends. The following legends will appear on the face of all Global
Notes and Definitive Notes issued under this Indenture unless specifically stated otherwise in the
applicable provisions of this Indenture.

               (1)     Private Placement Legend.

                       (A)     Except as permitted by subparagraph (B) below, each Global Note
               and each Definitive Note (and all Notes issued in exchange therefor or
               substitution thereof) shall bear the legend in substantially the following form:

       “THE SECURITY (OR ITS PREDECESSOR) EVIDENCED HEREBY WAS
       ORIGINALLY ISSUED IN A TRANSACTION EXEMPT FROM REGISTRATION
       UNDER SECTION 5 OF THE UNITED STATES SECURITIES ACT OF 1933, AS
       AMENDED (THE “SECURITIES ACT”), AND THE SECURITY EVIDENCED
       HEREBY MAY NOT BE OFFERED, SOLD OR OTHERWISE TRANSFERRED IN
       THE ABSENCE OF SUCH REGISTRATION OR AN APPLICABLE EXEMPTION
       THEREFROM. EACH PURCHASER OF THE SECURITY EVIDENCED HEREBY IS
       HEREBY NOTIFIED THAT THE SELLER MAY BE RELYING ON THE
       EXEMPTION FROM THE PROVISIONS OF SECTION 5 OF THE SECURITIES ACT
       PROVIDED BY RULE 144A THEREUNDER. THE HOLDER OF THE SECURITY
       EVIDENCED HEREBY AGREES FOR THE BENEFIT OF THE ISSUER THAT
       (A) SUCH SECURITY MAY BE RESOLD, PLEDGED OR OTHERWISE
       TRANSFERRED, ONLY (1)(A) INSIDE THE UNITED STATES TO A PERSON
       WHO THE SELLER REASONABLY BELIEVES IS A QUALIFIED INSTITUTIONAL

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BUYER (AS DEFINED IN RULE 144A UNDER THE SECURITIES ACT)
PURCHASING FOR ITS OWN ACCOUNT OR FOR THE ACCOUNT OF A
QUALIFIED INSTITUTIONAL BUYER IN A TRANSACTION MEETING THE
REQUIREMENTS OF RULE 144A UNDER THE SECURITIES ACT, (B) OUTSIDE
THE UNITED STATES TO A FOREIGN PERSON IN A TRANSACTION MEETING
THE REQUIREMENTS OF RULE 903 OR RULE 904 OF REGULATION S UNDER
THE SECURITIES ACT, (C) PURSUANT TO AN EXEMPTION FROM
REGISTRATION UNDER THE SECURITIES ACT PROVIDED BY RULE 144
THEREUNDER (IF APPLICABLE) OR (D) IN ACCORDANCE WITH ANOTHER
EXEMPTION FROM THE REGISTRATION REQUIREMENTS OF THE
SECURITIES ACT (AND BASED UPON AN OPINION OF COUNSEL
ACCEPTABLE TO THE ISSUER IF THE ISSUER SO REQUESTS), (2) TO THE
ISSUER OR (3) PURSUANT TO AN EFFECTIVE REGISTRATION STATEMENT
AND, IN EACH CASE, IN ACCORDANCE WITH ANY APPLICABLE SECURITIES
LAWS OF ANY STATE OF THE UNITED STATES OR ANY OTHER APPLICABLE
JURISDICTION AND (B) THE HOLDER WILL, AND EACH SUBSEQUENT
HOLDER IS REQUIRED TO, NOTIFY ANY PURCHASER OF THE SECURITY
EVIDENCED HEREBY OF THE RESALE RESTRICTIONS SET FORTH IN
CLAUSE (A) ABOVE. NO REPRESENTATION CAN BE MADE AS TO THE
AVAILABILITY OF THE EXEMPTION PROVIDED BY RULE 144 FOR RESALE
OF THE SECURITY EVIDENCED HEREBY.

EACH HOLDER OF THE SECURITY (OR INTEREST HEREIN) SHALL BE
DEEMED TO HAVE REPRESENTED AND WARRANTED THAT EITHER (A) NO
PORTION OF THE ASSETS USED BY SUCH HOLDER TO ACQUIRE OR HOLD
THE SECURITY (OR INTEREST HEREIN) CONSTITUTES ASSETS OF AN
EMPLOYEE BENEFIT PLAN SUBJECT TO TITLE I OF THE U.S. EMPLOYEE
RETIREMENT INCOME SECURITY ACT OF 1974, AS AMENDED (“ERISA”), A
PLAN, INDIVIDUAL RETIREMENT ACCOUNT, KEOGH PLAN OR OTHER
ARRANGEMENT THAT IS SUBJECT TO SECTION 4975 OF THE U.S. INTERNAL
REVENUE CODE OF 1986, AS AMENDED (THE “CODE”), OR PROVISIONS
UNDER ANY FEDERAL, STATE, LOCAL, NON-U.S. OR OTHER LAWS OR
REGULATIONS THAT ARE SIMILAR TO SUCH PROVISIONS OF ERISA OR THE
CODE (COLLECTIVELY, “SIMILAR LAWS”) OR (B) THE PURCHASE AND
HOLDING OF THE SECURITY (OR INTEREST HEREIN) BY SUCH HOLDER
WILL NOT CONSTITUTE OR RESULT IN A NON-EXEMPT PROHIBITED
TRANSACTION UNDER SECTION 406 OF ERISA OR SECTION 4975 OF THE
CODE OR SIMILAR VIOLATION UNDER ANY APPLICABLE SIMILAR LAWS,
AND NONE OF THE ISSUER, THE INITIAL PURCHASERS, THE GUARANTORS
NOR ANY OF THEIR RESPECTIVE AFFILIATES IS A FIDUCIARY OF SUCH
HOLDER IN CONNECTION WITH THE PURCHASE AND HOLDING OF THE
SECURITY (OR INTEREST HEREIN).”

             (B)     Notwithstanding the foregoing, any Global Note or Definitive Note
     issued pursuant to clauses (b)(4), (c)(2), (c)(3), (d)(2), (d)(3), (e)(2) or (e)(3) of
     this Section 2.06 (and all Notes issued in exchange therefor or substitution
     thereof) will not bear the Private Placement Legend.

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               (2)    Global Note Legend. Each Global Note will bear a legend in substantially
       the following form:

       “THIS GLOBAL NOTE IS HELD BY THE DEPOSITARY (AS DEFINED IN THE
       INDENTURE GOVERNING THIS NOTE) OR ITS NOMINEE IN CUSTODY FOR
       THE BENEFIT OF THE BENEFICIAL OWNERS HEREOF, AND IS NOT
       TRANSFERABLE TO ANY PERSON UNDER ANY CIRCUMSTANCES EXCEPT
       THAT (1) THE TRUSTEE MAY MAKE SUCH NOTATIONS HEREON AS MAY BE
       REQUIRED PURSUANT TO SECTION 2.01 AND SECTION 2.06 OF THE
       INDENTURE, (2) THIS GLOBAL NOTE MAY BE EXCHANGED IN WHOLE BUT
       NOT IN PART PURSUANT TO SECTION 2.06(a) OF THE INDENTURE, (3) THIS
       GLOBAL NOTE MAY BE DELIVERED TO THE TRUSTEE FOR CANCELLATION
       PURSUANT TO SECTION 2.11 OF THE INDENTURE AND (4) THIS GLOBAL
       NOTE MAY BE TRANSFERRED TO A SUCCESSOR DEPOSITARY WITH THE
       PRIOR WRITTEN CONSENT OF THE ISSUER.

       UNLESS AND UNTIL IT IS EXCHANGED IN WHOLE OR IN PART FOR NOTES
       IN DEFINITIVE FORM, THIS NOTE MAY NOT BE TRANSFERRED EXCEPT AS A
       WHOLE BY THE DEPOSITARY TO A NOMINEE OF THE DEPOSITARY OR BY A
       NOMINEE OF THE DEPOSITARY TO THE DEPOSITARY OR ANOTHER
       NOMINEE OF THE DEPOSITARY OR BY THE DEPOSITARY OR ANY SUCH
       NOMINEE TO A SUCCESSOR DEPOSITARY OR A NOMINEE OF SUCH
       SUCCESSOR DEPOSITARY. UNLESS THIS CERTIFICATE IS PRESENTED BY
       AN AUTHORIZED REPRESENTATIVE OF THE DEPOSITORY TRUST
       COMPANY (“DTC”), TO THE ISSUER OR ITS AGENT FOR REGISTRATION OF
       TRANSFER, EXCHANGE OR PAYMENT, AND ANY CERTIFICATE ISSUED IS
       REGISTERED IN THE NAME OF CEDE & CO. OR SUCH OTHER NAME AS MAY
       BE REQUESTED BY AN AUTHORIZED REPRESENTATIVE OF DTC (AND ANY
       PAYMENT IS MADE TO CEDE & CO. OR SUCH OTHER ENTITY AS MAY BE
       REQUESTED BY AN AUTHORIZED REPRESENTATIVE OF DTC), ANY
       TRANSFER, PLEDGE OR OTHER USE HEREOF FOR VALUE OR OTHERWISE
       BY OR TO ANY PERSON IS WRONGFUL INASMUCH AS THE REGISTERED
       OWNER HEREOF, CEDE & CO., HAS AN INTEREST HEREIN.”

                (g)     Cancellation and/or Adjustment of Global Notes. At such time as all
beneficial interests in a particular Global Note have been exchanged for Definitive Notes or a
particular Global Note has been redeemed, repurchased or canceled in whole and not in part,
each such Global Note will be returned to or retained and canceled by the Trustee in accordance
with Section 2.11 hereof. At any time prior to such cancellation, if any beneficial interest in a
Global Note is exchanged for or transferred to a Person who will take delivery thereof in the
form of a beneficial interest in another Global Note or for Definitive Notes, the principal amount
of Notes represented by such Global Note will be reduced accordingly and an endorsement will
be made on such Global Note by the Trustee or by the Depositary at the direction of the Trustee
to reflect such reduction; and if the beneficial interest is being exchanged for or transferred to a
Person who will take delivery thereof in the form of a beneficial interest in another Global Note,
such other Global Note will be increased accordingly and an endorsement will be made on such


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Global Note by the Trustee or by the Depositary at the direction of the Trustee to reflect such
increase.

               (h)    General Provisions Relating to Transfers and Exchanges.

              (1)     To permit registrations of transfers and exchanges, the Issuer will execute
       and the Trustee will authenticate Global Notes and Definitive Notes upon receipt of an
       Authentication Order in accordance with Section 2.02 hereof or at the Registrar’s request.

               (2)     No service charge will be made to a holder of a beneficial interest in a
       Global Note or to a Holder of a Definitive Note for any registration of transfer or
       exchange, but the Issuer may require payment of a sum sufficient to cover any transfer
       tax or similar governmental charge payable in connection therewith (other than any such
       transfer taxes or similar governmental charge payable upon exchange or transfer pursuant
       to Sections 2.10, 3.06, 4.08, 4.12 and 9.05 hereof).

             (3)     The Registrar will not be required to register the transfer of or exchange of
       any Note selected for redemption in whole or in part, except the unredeemed portion of
       any Note being redeemed in part.

               (4)     All Global Notes and Definitive Notes issued upon any registration of
       transfer or exchange of Global Notes or Definitive Notes will be the valid obligations of
       the Issuer, evidencing the same debt, and entitled to the same benefits under this
       Indenture, as the Global Notes or Definitive Notes surrendered upon such registration of
       transfer or exchange.

               (5)    Neither the Registrar nor the Issuer will be required:

                       (A)    to issue, to register the transfer of or to exchange any Notes during
               a period beginning at the opening of business 15 days before the giving of a
               notice of redemption of Notes to be redeemed under Section 3.02 hereof or
               purchased pursuant to an offer to purchase and ending at the close of business on
               the day such notice of redemption is given;

                     (B)     to register the transfer of or to exchange any Note selected for
               redemption in whole or in part, except the unredeemed portion of any Note being
               redeemed in part; or

                      (C)     to register the transfer of or to exchange a Note between a record
               date and the next succeeding interest payment date.

               (6)     Prior to due presentment for the registration of a transfer of any Note, the
       Trustee, any Agent and the Issuer may deem and treat the Person in whose name any
       Note is registered as the absolute owner of such Note for the purpose of receiving
       payment of principal of and interest on such Notes and for all other purposes, and none of
       the Trustee, any Agent or the Issuer shall be affected by notice to the contrary.



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              (7)    The Trustee will authenticate Global Notes and Definitive Notes in
       accordance with the provisions of Section 2.02 hereof.

              (8)     All certifications, certificates and Opinions of Counsel required to be
       submitted to the Registrar pursuant to this Section 2.06 to effect a registration of transfer
       or exchange may be submitted by facsimile.

               (9)     Neither the Trustee nor any Agent shall have any obligation or duty to
       monitor, determine or inquire as to compliance with any tax or securities laws with
       respect to any restrictions on transfer imposed under this Indenture or under applicable
       law (including any transfers between or among Depositary Participants, Indirect
       Participants, members or beneficial owners in any Global Note) other than to require
       delivery of such certificates and other documentation or evidence as are expressly
       required by, and to do so if and when expressly required by, the terms of this Indenture,
       and to examine the same to determine substantial compliance as to form with the express
       requirements hereof.

Section 2.07   Replacement Notes.

                (a)     If any mutilated Note is surrendered to the Trustee or the Issuer and the
Trustee receives evidence to its satisfaction of the destruction, loss or theft of any Note, the
Issuer will issue and the Trustee, upon receipt of an Authentication Order, will authenticate a
replacement Note if the Trustee’s requirements are met. An indemnity bond must be supplied by
the Holder that is sufficient in the judgment of the Trustee and the Issuer to protect the Issuer, the
Trustee, any Agent and any authenticating agent from any loss that any of them may suffer if a
Note is replaced. The Issuer may charge for its expenses in replacing a Note.

                (b)      Every replacement Note is an additional obligation of the Issuer and will
be entitled to all of the benefits of this Indenture equally and proportionately with all other Notes
duly issued hereunder.

Section 2.08   Outstanding Notes.

                 (a)    The Notes outstanding at any time are all the Notes authenticated by the
Trustee except for those canceled by it, those delivered to it for cancellation, those reductions in
the interest in a Global Note effected by the Trustee in accordance with the provisions hereof,
and those described in this Section 2.08 as not outstanding. Except as set forth in Section 2.09
hereof, a Note does not cease to be outstanding because the Issuer or an Affiliate of the Issuer
holds the Note; however, Notes held by the Issuer or a Subsidiary of the Issuer shall not be
deemed to be outstanding for purposes of Section 3.07(a), Section 9.02(a) and Section 9.02(e)
hereof.

               (b)    If a Note is replaced pursuant to Section 2.07 hereof, it ceases to be
outstanding unless the Trustee receives proof satisfactory to it that the replaced Note is held by a
protected purchaser.

                (c)     If the principal amount of any Note is considered paid under Section 4.01
hereof, it ceases to be outstanding and interest on it ceases to accrue.

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                (d)    If the Paying Agent (other than the Issuer, a Subsidiary of the Issuer or an
Affiliate of any thereof) holds, on a redemption date or maturity date, money sufficient to pay
Notes payable on that date, then on and after that date such Notes will be deemed to be no longer
outstanding and will cease to accrue interest.

Section 2.09    Treasury Notes.

                In determining whether the Holders of the required principal amount of Notes
have concurred in any direction, waiver or consent, Notes owned by the Issuer or any Guarantor,
or by any Person directly or indirectly controlling or controlled by or under direct or indirect
common control with the Issuer or any Guarantor, will be considered as though not outstanding,
except that for the purposes of determining whether the Trustee will be protected in relying on
any such direction, waiver or consent, only Notes that a Responsible Officer of the Trustee
actually knows are so owned will be so disregarded.

Section 2.10    Temporary Notes.

                (a)     Until certificates representing Notes are ready for delivery, the Issuer may
prepare and the Trustee, upon receipt of an Authentication Order, will authenticate temporary
Notes. Temporary Notes will be substantially in the form of certificated Notes but may have
variations that the Issuer considers appropriate for temporary Notes and as may be reasonably
acceptable to the Trustee. Without unreasonable delay, the Issuer will prepare and the Trustee
will authenticate definitive Notes in exchange for temporary Notes.

                (b)    Holders of temporary Notes will be entitled to all of the benefits of this
Indenture.

Section 2.11    Cancellation.

                The Issuer at any time may deliver Notes to the Trustee for cancellation. The
Registrar and Paying Agent will forward to the Trustee any Notes surrendered to them for
registration of transfer, exchange or payment. The Trustee and no one else will cancel all Notes
surrendered for registration of transfer, exchange, payment, replacement or cancellation and will
dispose of such canceled Notes in its customary manner (subject to the record retention
requirement of the Exchange Act). Certification of the disposition of all canceled Notes will be
delivered to the Issuer at the Issuer’s written request. The Issuer may not issue new Notes to
replace Notes that it has paid or that have been delivered to the Trustee for cancellation.

Section 2.12    Defaulted Interest.

                If the Issuer defaults in a payment of interest on the Notes, it will pay the
defaulted interest in any lawful manner plus, to the extent lawful, interest payable on the
defaulted interest, to the Persons who are Holders on a subsequent special record date, in each
case at the rate provided in the Notes and in Section 4.01 hereof. The Issuer will notify the
Trustee in writing of the amount of defaulted interest proposed to be paid on each Note and the
date of the proposed payment. The Issuer will fix or cause to be fixed each such special record
date and payment date; provided that no such special record date may be less than ten days prior
to the related payment date for such defaulted interest. At least 15 days before the special record

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date, the Issuer (or, upon the written request of the Issuer, the Trustee in the name and at the
expense of the Issuer) will mail or cause to be mailed, or otherwise deliver notice in accordance
with the applicable procedures of DTC, to Holders a notice that states the special record date, the
related payment date and the amount of such interest to be paid.

Section 2.13   CUSIP Numbers.

                 The Issuer in issuing the Notes may use “CUSIP” numbers (if then generally in
use), and, if so, the Trustee shall use “CUSIP” numbers in notices of redemption as a
convenience to Holders; provided that any such notice may state that no representation is made
as to the correctness of such numbers either as printed on the Notes or as contained in any notice
of a redemption and that reliance may be placed only on the other identification numbers printed
on the Notes, and any such redemption shall not be affected by any defect in or omission of such
numbers. The Issuer will promptly notify the Trustee in writing of any change in the “CUSIP”
numbers.

                                           ARTICLE 3

                             REDEMPTION AND PREPAYMENT

Section 3.01   Notices to Trustee.

                If the Issuer elects to redeem Notes pursuant to the optional redemption
provisions of Section 3.07 hereof, it must furnish to the Trustee, at least 30 days but not more
than 60 days before a redemption date, or such shorter notice period as the Trustee and Issuer
shall agree, an Officer’s Certificate setting forth:

               (1)     the clause of this Indenture pursuant to which the redemption shall occur;

               (2)     the redemption date;

               (3)     the principal amount of Notes to be redeemed;

               (4)     the redemption price; and

               (5)     the applicable CUSIP Numbers.

Section 3.02   Selection of Notes to Be Redeemed.

               (a)      If less than all of the Notes are to be redeemed at any time, the Trustee
will select Notes for redemption on a pro rata basis (or, in the case of notes in global form, the
notes represented thereby will be selected in accordance with DTC’s prescribed method), and in
any case in accordance with DTC procedures to the extent applicable.

               (b)     In the event of partial redemption or purchase by lot, the particular Notes
to be redeemed or purchased will be selected, unless otherwise provided herein, not less than 30
nor more than 60 days prior to the redemption date by the Trustee from the outstanding Notes
not previously called for redemption.

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                (c)    The Trustee will promptly notify the Issuer in writing of the Notes
selected for redemption and, in the case of any Note selected for partial redemption or purchase,
the principal amount thereof to be redeemed. Notes and portions of Notes selected will be in
amounts of $2,000 or whole multiples of $1,000 in excess of $2,000; provided that no Notes of
$2,000 or less shall be redeemed in part. Except as provided in the preceding sentence,
provisions of this Indenture that apply to Notes called for redemption also apply to portions of
Notes called for redemption.

Section 3.03   Notice of Redemption.

                (a)    At least 15 days but not more than 60 days before a redemption date, the
Issuer will mail or cause to be mailed, by first class mail or otherwise deliver in accordance with
the applicable procedures of DTC, a notice of redemption to each Holder whose Notes are to be
redeemed at its registered address, except that redemption notices may be mailed or otherwise
delivered in accordance with the applicable procedures of DTC more than 60 days prior to a
redemption date if the notice is issued in connection with a defeasance of the Notes or a
satisfaction and discharge of this Indenture pursuant to Articles 8 or 11 hereof.

             (b)      The notice will identify the Notes (including CUSIP Numbers) to be
redeemed and will state:

               (1)     the redemption date;

               (2)     the redemption price;

              (3)     if any Note is being redeemed in part, the portion of the principal amount
       of such Note to be redeemed and that, after the redemption date upon surrender of such
       Note, a new Note or Notes in principal amount equal to the unredeemed portion will be
       issued upon cancellation of the original Note;

               (4)     the name and address of the Trustee;

               (5)     that Notes called for redemption must be surrendered to the Trustee to
       collect the redemption price;

               (6)    that, unless the Issuer defaults in making such redemption payment,
       interest on Notes called for redemption ceases to accrue on and after the redemption date;

              (7)    the paragraph of the Notes and/or Section of this Indenture pursuant to
       which the Notes called for redemption are being redeemed;

             (8)   that no representation is made as to the correctness or accuracy of the
       CUSIP number, if any, listed in such notice or printed on the Notes; and

               (9)     any condition to the related redemption, if any.

               (c)    At the Issuer’s written request, the Trustee will give the notice of
redemption in the Issuer’s name and at its expense; provided, however, that the Issuer has

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delivered to the Trustee, at least five Business Days prior to delivery of the notice of redemption
(or such shorter period of time that is agreed upon by the Issuer and the Trustee), an Officer’s
Certificate requesting that the Trustee give such notice and setting forth the information to be
stated in such notice as provided in Section 3.03(b).

Section 3.04   Effect of Notice of Redemption.

                 Once notice of redemption is sent in accordance with Section 3.03 hereof, Notes
called for redemption become irrevocably due and payable on the redemption date at the
redemption price, except as provided for in Section 3.07(e) hereof. The notice, if sent in
accordance with Section 3.03 hereof, shall be conclusively presumed to have been given,
whether or not the Holder receives such notice. In any case, failure to send such notice or any
defect in the notice to the Holder designated for redemption in whole or in part shall not affect
the validity of the proceedings for the redemption of any other Note.

Section 3.05   Deposit of Redemption Price.

                (a)     Notwithstanding the requirements of Section 4.01, one Business Day prior
to the redemption date, the Issuer will deposit with the Trustee or with the Paying Agent money
sufficient to pay the redemption price of and accrued interest on all Notes to be redeemed on that
date. The Trustee or the Paying Agent will promptly return to the Issuer any money deposited
with the Trustee or the Paying Agent by the Issuer in excess of the amounts necessary to pay the
redemption price of, and accrued interest on, all Notes to be redeemed.

               (b)     If the Issuer complies with the provisions of Section 3.05(a), on and after
the redemption date, interest will cease to accrue on the Notes or the portions of Notes called for
redemption. If a Note is redeemed on or after an interest record date but on or prior to the related
interest payment date, then any accrued and unpaid interest shall be paid to the Person in whose
name such Note was registered at the close of business on such record date. If any Note called
for redemption is not so paid upon surrender for redemption because of the failure of the Issuer
to comply with Section 3.05(a), interest shall be paid on the unpaid principal, from the
redemption date until such principal is paid, and to the extent lawful on any interest not paid on
such unpaid principal, in each case at the rate provided in the Notes and in Section 4.01 hereof.

Section 3.06   Notes Redeemed in Part.

                Upon surrender of a Note that is redeemed in part, the Issuer will issue and, upon
receipt of an Authentication Order, the Trustee will authenticate for the Holder at the expense of
the Issuer a new Note equal in principal amount to the unredeemed or unpurchased portion of the
Note surrendered, provided that each new Note will be in a principal amount of $2,000 or an
integral multiple of $1,000 in excess of $2,000. It is understood that, notwithstanding anything
in this Indenture to the contrary, only an Authentication Order and not an Opinion of Counsel or
Officer’s Certificate is required for the Trustee to authenticate such new Note.

Section 3.07   Optional Redemption.

              (a)    At any time prior to August 1, 2021, the Issuer may on any one or more
occasions redeem up to 35% of the aggregate principal amount of Notes issued under this

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Indenture (including any Additional Notes) at a redemption price of 110.50% of the principal
amount thereof, plus accrued and unpaid interest on the Notes redeemed to, but not including, the
redemption date (subject to the right of Holders on the relevant record date to receive interest due
on the relevant interest payment date), with the net cash proceeds of one or more Equity
Offerings; provided that:

              (1)     at least 50% of the aggregate principal amount of Notes issued under this
       Indenture (including any Additional Notes issued after the Issue Date, but excluding
       Notes held by the Issuer and its Subsidiaries) remains outstanding immediately after the
       occurrence of such redemption (unless all of such Notes are redeemed); and

              (2)    the redemption occurs within 180 days of the date of the closing of such
       Equity Offering.

                Except pursuant to this Section 3.07(a) or as otherwise set forth below, the Notes
will not be redeemable at the Issuer’s option prior to August 1, 2021. The Issuer will not,
however, be prohibited from acquiring the Notes by means other than a redemption, whether
pursuant to a tender offer, open market purchase or otherwise, so long as the acquisition does not
violate the terms of this Indenture.

                (b)     On or after August 1, 2021, the Issuer may redeem all or a part of the
Notes, at the redemption prices (expressed as percentages of principal amount) set forth below
plus accrued and unpaid interest, if any, on the Notes redeemed to, but not including, the
applicable redemption date, if redeemed during the 12−month period beginning on August 1 of
the years indicated below, subject to the rights of Holders on the relevant record date to receive
interest due on the relevant interest payment date:

         Year                                                           Percentage
         2021                                                           107.875%
         2022                                                           103.938%
         2023 and thereafter                                            100.000%

               Unless the Issuer defaults in the payment of the redemption price or unless any
condition to the redemption described in the notice of redemption is not satisfied, interest will
cease to accrue on the Notes or portions thereof called for redemption on the applicable
redemption date.

               (c)      At any time prior to August 1, 2021, the Issuer may also redeem all or a
part of the Notes, at a redemption price equal to 100% of the aggregate principal amount thereof
plus the Applicable Premium as of, and accrued and unpaid interest, if any, on the Notes to be
redeemed to, but not including, the date of redemption (subject to the rights of Holders on the
relevant record date to receive interest due on the relevant interest payment date).

              (d)    Any redemption pursuant to this Section 3.07 shall be made pursuant to
and in compliance with the provisions of Sections 3.01 through 3.06 hereof.

               (e)


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                       (A)     Any notice of redemption made in connection with a related
               transaction or event (including an Equity Offering, contribution, Change of
               Control, Asset Sale, Casualty Event or other transaction) may, at the Issuer’s
               discretion, be given prior to the completion or the occurrence thereof, and any
               such redemption or notice may, at the Issuer’s discretion, be subject to one or
               more conditions precedent, including, but not limited to, the completion or
               occurrence of the related transaction or event, as the case may be.

                       (B)      The Issuer may redeem Notes pursuant to one or more of the
               relevant provisions hereof, and a single notice of redemption may be delivered
               with respect to redemptions made pursuant to different provisions. Any such
               notice may provide that redemptions made pursuant to different provisions will
               have different redemption dates. In addition, if such redemption is subject to
               satisfaction of one or more conditions precedent, such notice will describe each
               such condition, and if applicable, will state that, in the Issuer’s discretion, the
               redemption date may be delayed until such time (including more than 60 days
               after the date the notice of redemption was mailed or delivered, including by
               electronic transmission) as any or all such conditions are satisfied (or waived by
               the Issuer in its sole discretion), or that such redemption may not occur and such
               notice may be rescinded in the event that any or all such conditions are not
               satisfied (or waived by the Issuer in its sole discretion) by the redemption date, or
               by the redemption date as so delayed, or that such notice may be rescinded at any
               time in the Issuer’s discretion if in the good faith judgment of the Issuer any of all
               of such conditions will not be satisfied. In addition, the Issuer may provide in
               such notice that payment of the redemption price and performance of the Issuer’s
               obligations with respect to such redemption may be performed by another Person.

                       (C)     In no event will the Trustee be responsible for monitoring, or
               charged with knowledge of, the maximum aggregate amount of Notes eligible
               under this Indenture to be redeemed. Notes will remain outstanding until
               redeemed, notwithstanding that they have been called for redemption or are
               subject to a notice of redemption.

Section 3.08   Mandatory Redemption.

              The Issuer shall not be required to make mandatory redemption or sinking fund
payments with respect to the Notes.

Section 3.09   Calculation of Redemption Price

              Neither the Trustee nor any Agent shall have an obligation to calculate the
redemption price of any Notes.

                                           ARTICLE 4

                                          COVENANTS

Section 4.01   Payment of Notes.
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               (a)      The Issuer will pay or cause to be paid the principal of, the Applicable
Premium, if any, any other premium, if any, and interest on the Notes on the dates and in the
manner provided in the Notes. Principal, the Applicable Premium, if any, any other premium, if
any, and interest will be considered paid on the date due if the Paying Agent, if other than the
Issuer or a Subsidiary of the Issuer, holds as of 10:00 a.m. New York City Time on the Business
Day immediately preceding the due date money deposited by the Issuer in immediately available
funds and designated for and sufficient to pay all principal of, the Applicable Premium, if any,
any other premium, if any, and interest, then due.

               (b)     The Issuer will pay interest on overdue principal, Applicable Premium, if
any, and any other premium, if any, and overdue installments of interest at the same rate borne
by the Notes to the extent lawful.

Section 4.02   Maintenance of Office or Agency.

                 (a)    The Issuer will maintain in the Borough of Manhattan, the City of New
York, an office or agency (which may be an office of the Trustee or an affiliate of the Trustee,
Registrar or co−registrar) where Notes may be surrendered for registration of transfer or for
exchange and where notices and demands to or upon the Issuer (other than the type contemplated
by Section 14.13) in respect of the Notes and this Indenture may be served. The Issuer will give
prompt written notice to the Trustee of the location, and any change in the location, of such
office or agency. If at any time the Issuer fails to maintain any such required office or agency or
fails to furnish the Trustee with the address thereof, such presentations, surrenders, notices and
demands may be made or served at the Corporate Trust Office of the Trustee.

                (b)    The Issuer may also from time to time designate one or more other offices
or agencies where the Notes may be presented or surrendered for any or all such purposes and
may from time to time rescind such designations; provided, however, that no such designation or
rescission will in any manner relieve the Issuer of its obligation to maintain an office or agency
in the Borough of Manhattan, the City of New York for such purposes. The Issuer will give
prompt written notice to the Trustee of any such designation or rescission and of any change in
the location of any such other office or agency.

               (c)    The Issuer hereby designates the Corporate Trust Office of the Trustee as
one such office or agency of the Issuer in accordance with Section 2.03 hereof.

Section 4.03   Reports.

               (a)     So long as any Notes are outstanding, the Issuer shall make available
without cost to the Trustee:

               (1)     as soon as available but within 90 days after the end of each financial year
       of the Issuer, all annual financial statements that would be required to be contained in a
       filing with the SEC on Form 10-K of the Issuer, plus a “Management’s Discussion and
       Analysis of Financial Condition and Results of Operations”, a presentation of EBITDA
       and Adjusted EBITDA of the Issuer substantially consistent with the presentation thereof
       in the Offering Document and derived from such financial information and a report on


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the annual financial statements by the Issuer’s independent registered public accounting
firm;

        (2)     as soon as available but within 45 days after the end of each of the first
three fiscal quarters of each financial year of the Issuer, all quarterly financial statements
that would be required to be contained in a filing with the SEC on Form 10- Q of the
Issuer, plus a “Management’s Discussion and Analysis of Financial Condition and
Results of Operations” and a presentation of EBITDA and Adjusted EBITDA of the
Issuer substantially consistent with the presentation thereof in the Offering Document and
derived from such financial information; and

         (3)    promptly from time to time after the occurrence of an event required to be
therein reported, such other reports (in each case, without exhibits) containing
substantially the same information required to be contained in a Current Report on
Form 8-K under Item 1.01 (Entry into a Material Definitive Agreement), 1.03
(Bankruptcy or Receivership), 2.01 (Completion of Acquisition or Disposition of Assets),
2.03 (Creation of a Direct Financial Obligation or an Obligation under an Off-Balance
Sheet Arrangement of a Registrant), 2.04 (Triggering Events That Accelerate or Increase
a Direct Financial Obligation or an Obligation under an Off-Balance Sheet Arrangement),
4.02 (Non-Reliance on Previously Issued Financial Statements or a Related Audit Report
or Completed Interim Review), 5.01 (Changes in Control of Registrant), 5.02(a)(1) and
(c)(1) (Departure of Directors or Certain Officers; Election of Directors; Appointment of
Certain Officers) and 5.03(b) (Changes in Fiscal Year); provided, however, that no report
in this clause (3) shall be required to be furnished if the Issuer determines in its good faith
judgment that such event is not material to the Holders or the business, assets, operations,
financial position or prospects of the Issuer and the Restricted Subsidiaries of the Issuer.

       (b)     With respect to the reports required to be furnished by Section 4.03(a):

               (1)     no such reports referenced under clause (iii) above will be required
       to include as an exhibit or summary of terms of, any employment or
       compensatory arrangement agreement, plan or understanding between the Issuer
       (or any of its Subsidiaries) and any director, manager or executive officer, of the
       Issuer (or any of its Subsidiaries);

              (2)    in no event will such reports be required to comply with Section
       302, Section 404 or Section 906 of the Sarbanes-Oxley Act of 2002 (or any
       successor provisions), or related Items 307 and 308 of Regulation S-K (or any
       successor provisions) promulgated by the SEC;

              (3)    in no event will such report be required to comply with Item 302 of
       Regulation S-K (or any successor provisions) promulgated by the SEC;

              (4)     in no event will such reports be required to comply with Rule 3-10
       of Regulation S-X promulgated by the SEC (or such other rule or regulation that
       amends, supplements or replaces such Rule 3-10, including for the avoidance of
       doubt, Rules 13-01 or 13-02 of Regulation S-X promulgated by the SEC) or

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               contain separate financial statement for the Issuer, the Guarantors or other
               Subsidiaries the shares of which may be pledged to secure the notes or any
               Guarantee that would be required under (i) Section 3-09 of Regulation S-X (or
               such other rule or regulation that amends, supplements or replaces such Rule 3-
               09) or (ii) Section 3-16 of Regulation S-X (or such other rule or regulation that
               amends, supplements or replaces such Rule 3-16), respectively, promulgated by
               the SEC;

                       (5)   in no event will such reports be required to comply with
               Regulation G under the Exchange Act or Item 10(e) of Regulation S-K (or any
               successor provision) promulgated by the SEC with respect to any non-GAAP
               financial measures contained therein;

                       (6)     no such reports referenced under clause (iii) above will be required
               to be furnished if the Issuer determined in its good faith judgment that such event
               is not material to the holders or the business, assets, operations or financial
               position of the Issuer and its Restricted Subsidiaries, taken as a whole;

                       (7)    in no event will such reports be required to comply with Item 601
               of Regulation S-K (or any successor provision) promulgated by the SEC (with
               respect to exhibits) or, with respect to reports reference in clause (iii) above, to
               include as an exhibit copies of any agreements, financial statements or other items
               that would be required to be filed as exhibits to a current report on Form 8-K;

                      (8)     trade secrets and other confidential information that is
               competitively sensitive in the good faith and reasonable determination of the
               Issuer may be excluded from any disclosure;

                      (9)     such information will not be required to include information that is
               not otherwise similar to information contained in the Offering Document;

                      (10) to the extent that the Issuer is not a reporting company under the
               Exchange Act, in no event will such reports be required to be presented in
               compliance with the requirements of the Public Company Accounting Oversight
               Board; and

                     (11) in no event will such reports contain compensation or beneficial
               ownership information.

                (c)     The Issuer will hold a quarterly conference call for the Holders of the
Notes, securities analysts and prospective investors to discuss financial information for the
previous fiscal quarter or previous fiscal year, as applicable, to be held as soon as reasonably
practicable after furnishing or posting the financial information as set forth in 4.03(a). No fewer
than three days prior to the conference call, the Issuer shall post on its website the time and date
of such conference call and provide instructions for Holders of Notes, securities analysts and
prospective investors to obtain access to such call.



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                (d)    For so long as any Notes remain outstanding, if at any time they are not
required furnish the information required by Section 4.03(a), the Issuer and the Guarantors will
furnish to the Holders and to prospective purchasers of the Notes or beneficial owner of the
Notes in connection with any sale thereof, upon their request, the information required to be
delivered pursuant to Rule 144A(d)(4) under the Securities Act.

                (e)    In the event that any direct or indirect parent of the Issuer becomes a
Guarantor of the Notes, the Issuer may satisfy its obligations under this Section 4.03 with respect
to financial information relating to the Issuer by furnishing financial information relating to such
parent; provided that the same is accompanied by information that explains in reasonable detail
the differences between the information relating to such parent, on the one hand, and the
information relating to the Issuer and its Restricted Subsidiaries on a standalone basis, on the
other hand.

                (f)      Notwithstanding the foregoing, the requirements of this Section 4.03 shall
be deemed satisfied by posting reports on the (i) Issuer’s website (or on the publicly available
website of any of its parent companies or Subsidiaries) or (ii) a password-protected online data
system that will require a confidentiality acknowledgment, including Intralinks, SyndTrak or
ClearPar provided that access shall also be granted to any bona fide prospective investor, any
securities analyst (to the extent providing analysis of investment in the notes) or any market
maker in the notes who agrees to treat such information as confidential) containing the financial
information (including a “Management’s Discussion and Analysis of Financial Condition and
Results of Operations” section) that would be required to be included in such reports, subject to
exceptions consistent with the presentation of financial information in the Offering Document.

                (g)     It is understood that the Trustee shall have no obligation whatsoever to
determine whether or not such information, documents or reports have been posted on the
Issuer’s website, other online data system or filed with the SEC. The posting or delivery of such
reports, information and documents to the Trustee is for informational purposes only and the
Trustee’s receipt of such shall not constitute constructive notice of any information contained
therein or determinable from information contained therein, including the Issuer’s compliance
with any of its covenants hereunder (as to which the Trustee is entitled to rely exclusively on
Officer’s Certificates).

              (h)    The Trustee has no duty or obligation to monitor the occurrence of a
Purchase Trigger Event as defined in the ABL Intercreditor Agreement or give notice thereof to
any Person.

Section 4.04   Compliance Certificate.

                (a)      The Issuer shall deliver to the Trustee within 120 days after the end of
each fiscal year of the Issuer (beginning with the fiscal year ended December 31, 2019) an
Officer’s Certificate stating that in the course of the performance by the signers of their duties as
Officers they would normally have knowledge of any Default and whether or not the signers
know of any Default that occurred during such period. If they do, the certificate shall describe
the Default, its status and what action the Issuer is taking or proposes to take with respect
thereto.

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               (b)      So long as any of the Notes are outstanding, the Issuer will deliver to the
Trustee, forthwith upon any Officer becoming aware of any Default or Event of Default, an
Officer’s Certificate specifying such Default or Event of Default and what action the Issuer is
taking or propose to take with respect thereto.

Section 4.05   Restricted Payments.

                 (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, directly or indirectly:

               (1)     declare or pay any dividend or make any other payment or distribution on
       account of the Issuer’s or any of its Restricted Subsidiaries’ Equity Interests (including,
       without limitation, any payment in connection with any merger or consolidation
       involving the Issuer or any of its Restricted Subsidiaries) or to the direct or indirect
       holders of the Issuer’s or any of its Restricted Subsidiaries’ Equity Interests in their
       capacity as such (other than dividends or distributions payable in Equity Interests (other
       than Disqualified Stock) of the Issuer and other than dividends or distributions payable to
       the Issuer or a Restricted Subsidiary of the Issuer);

              (2)     purchase, redeem or otherwise acquire or retire for value (including,
       without limitation, in connection with any merger or consolidation involving the Issuer)
       any Equity Interests of the Issuer or any direct or indirect parent of the Issuer;

               (3)     make any payment on or with respect to, or purchase, redeem, defease or
       otherwise acquire or retire for value, any Indebtedness of the Issuer or any Guarantor that
       is contractually subordinated to the Notes or to any Note Guarantee (excluding (x) any
       intercompany Indebtedness between or among the Issuer and any of its Restricted
       Subsidiaries or (y) the purchase, repurchase or other acquisition of Indebtedness that is
       contractually subordinated to the Notes or to any Note Guarantee, as the case may be,
       purchased in anticipation of satisfying a sinking fund obligation, principal installment or
       final maturity, in each case due within one year of the date of purchase, repurchase or
       acquisition), except a payment of interest or principal at the Stated Maturity thereof; or

               (4)     make any Restricted Investment (all such payments and other actions set
       forth in these clauses (1) through (4) above being collectively referred to as “Restricted
       Payments”).

               (b)     The provisions of Section 4.05(a) hereof will not prohibit:

               (1)     the payment of any dividend or distribution or the consummation of any
       redemption within 60 days after the date of declaration of the dividend or distribution or
       giving of the redemption notice, as the case may be, if, at the date of declaration or
       notice, the dividend, distribution or redemption payment would have complied with the
       provisions of this Indenture;

               (2)    the making of any Restricted Payment in exchange for, or out of the net
       cash proceeds of the substantially concurrent sale (other than to a Subsidiary of the
       Issuer) of, Equity Interests of the Issuer or any direct or indirect parent of the Issuer

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(other than Disqualified Stock) or from the substantially concurrent contribution of
common equity capital to the Issuer;

        (3)     the repurchase, redemption, defeasance or other acquisition or retirement
for value of Indebtedness of the Issuer or any Restricted Subsidiary of the Issuer that is
contractually subordinated to the Notes or to any Note Guarantee with the net cash
proceeds from a substantially concurrent incurrence of Permitted Refinancing
Indebtedness;

         (4)    the payment of any dividend (or, in the case of any partnership or limited
liability company, any similar distribution) by a Restricted Subsidiary of the Issuer to the
holders of its Equity Interests on a pro rata basis;

        (5)     the repurchase, redemption or other acquisition or retirement (or dividends
or distributions to any direct or indirect parent of the Issuer to finance any such
repurchase, redemption or other acquisition or retirement) for value of any Equity
Interests of the Issuer or any Restricted Subsidiary of the Issuer or any direct or indirect
parent of the Issuer held by any current or former officer, director, consultant or
employee of the Issuer or any of its Restricted Subsidiaries or any direct or indirect
parent of the Issuer pursuant to any equity subscription agreement, stock option
agreement, shareholders’ or members’ agreement or similar agreement, plan or
arrangement; provided that the aggregate price paid for all such repurchased, redeemed,
acquired or retired Equity Interests may not exceed $1.0 million in any calendar year
(which shall increase to $2.0 million subsequent to the consummation of an underwritten
public Equity Offering by the Issuer or any of its direct or indirect parent entities) (with
unused amounts in any calendar year being permitted to be carried over for the next two
succeeding calendar years); provided, further, that the amount in any calendar year may
be increased by an amount not to exceed:

       (i)      the cash proceeds received by the Issuer or any of its Restricted
Subsidiaries from the sale of Equity Interests (other than Disqualified Stock) of the Issuer
or any direct or indirect parent of the Issuer (to the extent contributed to the Issuer) to
members of management, directors or consultants of the Issuer and its Restricted
Subsidiaries or any direct or indirect parent of the Issuer that occurs after the Issue Date;
plus

        (ii)    the cash proceeds of key man life insurance policies received by the Issuer
or any direct or indirect parent of the Issuer (to the extent contributed to the Issuer) and
its Restricted Subsidiaries after the Issue Date;

provided that the Issuer may elect to apply all or any portion of the aggregate increase
contemplated by (i) and (ii) above in any single calendar year;

       (6)     the repurchase of Equity Interests deemed to occur upon the exercise of
stock options or warrants to the extent such Equity Interests represent a portion of the
exercise price of those stock options or warrants;



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        (7)     the declaration and payment of regularly scheduled or accrued dividends
or distributions to holders of any class or series of Disqualified Stock of the Issuer or any
Restricted Subsidiary of the Issuer issued on or after the Issue Date in accordance with
Section 4.07(a) hereof; provided the aggregate amount of dividends declared and paid
pursuant to this clause (7) does not exceed the net cash proceeds actually received by the
Issuer (including any such proceeds contributed to the Issuer by any direct or indirect
parent of the Issuer) from any such sale of Disqualified Stock of the Issuer issued after
the Issue Date;

       (8)     Permitted Payments to Parent;

       (9)     [reserved];

        (10) the declaration and payment of dividends or distributions to holders of any
class or series of Designated Preferred Stock (other than Disqualified Stock) issued after
the Issue Date and the declaration and payment of dividends to any direct or indirect
parent of the Issuer, the proceeds of which will be used to fund the payment of dividends
or distributions to holders of any class or series of Designated Preferred Stock (other than
Disqualified Stock) of any direct or indirect parent of the Issuer issued after the Issue
Date; provided, however, that (A) for the most recently ended four full fiscal quarters for
which internal financial statements are available immediately preceding the date of
issuance of such Designated Preferred Stock, after giving effect to such issuance (and the
payment of dividends or distributions) on a pro forma basis, the Issuer could incur an
additional $1.00 of Indebtedness pursuant to the Fixed Charge Coverage Ratio, and
(B) the aggregate amount of dividends declared and paid pursuant to this clause (10) does
not exceed the net cash proceeds actually received by the Issuer (including any such
proceeds contributed to the Issuer by any direct or indirect parent of the Issuer) from any
such sale of Designated Preferred Stock (other than Disqualified Stock) issued after the
Issue Date;

       (11)    [reserved];

       (12)    [reserved];

       (13)    [reserved];

       (14) the satisfaction of change of control obligations and asset sale obligations
once the Issuer has fulfilled its obligations under this Indenture with respect to a Change
of Control or an Asset Sale;

       (15) the repayment of intercompany debt that was permitted to be incurred
under this Indenture;

       (16)    [reserved]; and

        (17) the payment of dividends or distributions on the Issuer’s common equity
(or the payment of dividends or distributions to a direct or indirect parent of the Issuer to
fund the payment by such parent of dividends or distributions on its common equity) of

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       up to 6.0% per calendar year of the net proceeds received by the Issuer from any public
       Equity Offering or contributed to the Issuer by a direct or indirect parent of the Issuer
       from any public Equity Offering; provided that the amount of any such net cash proceeds
       that are utilized for any such Restricted Payment will be excluded from clause (C)(ii) of
       Section 4.05(a) hereof;

        provided, however, that at the time of, and after giving effect to, any Restricted Payment
permitted under clauses (7), (10) and (17) of this Section 4.05(b), no Default or Event of Default
shall have occurred and be continuing or would occur as a consequence thereof.

                (c)     The amount of all Restricted Payments (other than cash) will be the Fair
Market Value on the date of the Restricted Payment of the asset(s) or securities proposed to be
transferred or issued by the Issuer or such Restricted Subsidiary, as the case may be, pursuant to
the Restricted Payment. In the event that a Restricted Payment meets the criteria of more than
one of the exceptions described in (1) through (17) above or is entitled to be made pursuant to
Section 4.05(a), the Issuer shall, in its sole discretion, classify such Restricted Payment (or
portion thereof) on the date made or later reclassify such Restricted Payment (or portion thereof)
in any manner that complies with this Section 4.05.

              (d)     The Issuer shall not permit the Unrestricted Subsidiaries to make any
Restricted Payments, except to the Issuer or any of its Restricted Subsidiaries.

Section 4.06   Dividend and Other Payment Restrictions Affecting Subsidiaries.

                (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
that is not a Guarantor to, directly or indirectly, create or permit to exist or become effective any
consensual encumbrance or restriction on the ability of the Issuer or any of its Restricted
Subsidiary that is not a Guarantor to:

               (1)     pay dividends or make any other distributions on its Capital Stock to the
       Issuer or any of its Restricted Subsidiaries, or with respect to any other interest or
       participation in, or measured by, its profits, or pay any Indebtedness owed to the Issuer or
       any of its Restricted Subsidiaries;

               (2)     make loans or advances to the Issuer or any of its Restricted Subsidiaries;
       or

               (3)     sell, lease or transfer any of its properties or assets to the Issuer or any of
       its Restricted Subsidiaries.

                 (b)    The restrictions in Section 4.06(a) hereof will not apply to encumbrances
or restrictions existing under or by reason of:

              (1)     agreements governing Indebtedness outstanding on the Issue Date,
       including pursuant to the Credit Agreement and Hedging Obligations and the related
       documentation;



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        (2)   this Indenture, the Notes, the Note Guarantees (and any Additional Notes
and related Guarantees under this Indenture) and the Security Documents;

         (3)   applicable law, rule, regulation, order, approval, license, permit or similar
restriction;

         (4)     any instrument governing Indebtedness or Capital Stock of a Person
acquired by the Issuer or any of its Restricted Subsidiaries as in effect at the time of such
acquisition (except to the extent such Indebtedness or Capital Stock was incurred in
connection with or in contemplation of such acquisition), which encumbrance or
restriction is not applicable to any Person, or the properties or assets of any Person, other
than the Person, or the property or assets of the Person, so acquired; provided that, in the
case of Indebtedness, such Indebtedness was permitted by the terms of this Indenture to
be incurred;

        (5)    non−assignment provisions or subletting restrictions in contracts, leases
and licenses entered into in the ordinary course of business;

         (6)    purchase money obligations for property (including Capital Stock)
acquired in the ordinary course of business and Capital Lease Obligations that impose
restrictions on the property purchased or leased of the nature described in
Section 4.06(a)(3) hereof;

        (7)     any agreement for the sale or other disposition of the Capital Stock or
assets of a Restricted Subsidiary of the Issuer that restricts distributions by that Restricted
Subsidiary pending closing of the sale or other disposition;

       (8)     Permitted Refinancing Indebtedness; provided that the restrictions
contained in the agreements governing such Permitted Refinancing Indebtedness are not
materially more restrictive, taken as a whole, than those contained in the agreements
governing the Indebtedness being refinanced;

        (9)     Liens permitted to be incurred under Section 4.10 hereof that limit the
right of the debtor to dispose of the assets securing such Indebtedness;

        (10) provisions limiting the disposition or distribution of assets or property or
transfer of Capital Stock in joint venture agreements, asset sale agreements,
sale−leaseback agreements, stock sale agreements, limited liability company
organizational documents, and other similar agreements entered into in the ordinary
course of business, consistent with past practice or with the approval of the Issuer’s
Board of Directors, which limitation is applicable only to the assets, property or Capital
Stock that are the subject of such agreements;

        (11)   [reserved];

       (12) restrictions on cash, Cash Equivalents or other deposits or net worth
imposed by customers or lessors under contracts or leases entered into in the ordinary
course of business;

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               (13) other Indebtedness of Restricted Subsidiaries that is incurred subsequent
       to the Issue Date pursuant to Section 4.07 hereof;

               (14) encumbrances on property that exist at the time the property was acquired
       by the Issuer or a Restricted Subsidiary of the Issuer;

               (15)    contractual encumbrances or restrictions in effect on the Issue Date;

               (16) customary provisions in master limited partnership agreements, joint
       venture agreements or arrangements and other similar agreements or arrangements
       relating solely to such master limited partnership or joint venture;

               (17)    [reserved];

                (18) any encumbrance or restriction contained in the terms of any Indebtedness
       or any agreement pursuant to which such Indebtedness was incurred if either (x) the
       encumbrance or restriction applies only in the event of a payment default or a default
       with respect to a financial covenant in such Indebtedness or agreement or (y) the Issuer
       determines that any such encumbrance or restriction will not materially affect the Issuer’s
       ability to make principal or interest payments on the Notes, as determined in good faith
       by the Issuer, whose determination shall be conclusive;

                (19) provisions with respect to the receipt of a rebate on an operating lease
       until all obligations due to a lessor on other operating leases are satisfied or other
       customary restrictions in respect of assets or contract rights acquired by a Restricted
       Subsidiary of the Issuer in connection with a Sale/Leaseback Transaction;

              (20) Secured Indebtedness otherwise permitted to be incurred pursuant to
       Sections 4.07 and 4.10 hereof that limit the right of the debtor to dispose of the assets
       securing such Indebtedness;

               (21) encumbrances and restrictions contained in contracts entered into in the
       ordinary course of business, not relating to any Indebtedness, and that do not,
       individually or in the aggregate, detract from the value of property or assets of the Issuer
       or any Restricted Subsidiary of the Issuer or the ability of the Issuer or such Restricted
       Subsidiary to realize such value, or to make any distributions relating to such property or
       assets in each case in any material respect; and

              (22) any encumbrances or restrictions imposed by any amendments or
       refinancings of the contracts, instruments or obligations referred to above in clauses (1)
       through (21); provided that such encumbrances and restrictions contained in such
       amendments or refinancings are not materially more restrictive, taken as a whole, than
       such encumbrances and restrictions prior to such amendment or refinancing.

                (c)      For purposes of determining compliance with this Section 4.06, (i) the
priority of any preferred stock in receiving dividends or liquidating distributions prior to
dividends or liquidating distributions being paid on ordinary shares shall not be deemed a
restriction on the ability to make distributions on Capital Stock and (ii) the subordination of

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loans or advances made to the Issuer or a Restricted Subsidiary of the Issuer to other
Indebtedness incurred by the Issuer or any such Restricted Subsidiary shall not be deemed a
restriction on the ability to make loans or advances.

Section 4.07   Incurrence of Indebtedness and Issuance of Preferred Equity.

                 (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, directly or indirectly, create, incur, issue, assume, guarantee or otherwise become directly or
indirectly liable, contingently or otherwise, with respect to (collectively, “incur”) any
Indebtedness (including Acquired Debt), and the Issuer will not issue any Disqualified Stock and
will not permit any of its Restricted Subsidiaries to issue any Disqualified Stock or any shares of
preferred equity; provided, however, that the Issuer may incur Indebtedness (including Acquired
Debt) or issue Disqualified Stock, and the Issuer or any Restricted Subsidiary of the Issuer may
incur Indebtedness (including Acquired Debt), issue Disqualified Stock or issue preferred equity,
if on the date thereof the Fixed Charge Coverage Ratio for the Issuer’s most recently ended four
full fiscal quarters for which internal financial statements are available immediately preceding
the date on which such additional Indebtedness is incurred or such Disqualified Stock or such
preferred equity is issued, as the case may be, would have been at least 2.0 to 1.0, determined on
a pro forma basis (including a pro forma application of the net proceeds therefrom), as if the
additional Indebtedness had been incurred or the Disqualified Stock or the preferred equity had
been issued, as the case may be, at the beginning of such four−quarter period; provided, further,
that Restricted Subsidiaries of the Issuer that are not Guarantors may not incur Indebtedness or
issue any Disqualified Stock or shares of preferred equity pursuant to this clause (a).

                (b)    The provisions of Section 4.07(a) hereof will not prohibit the incurrence of
any of the following items of Indebtedness (collectively, “Permitted Debt”):

                (1)     the incurrence under Debt Facilities by the Issuer or any of its Restricted
       Subsidiaries that are Guarantors of Indebtedness and letters of credit and bankers’
       acceptances thereunder in an aggregate principal amount under this clause (1) (with
       letters of credit deemed to have a principal amount equal to the maximum potential
       liability of the Issuer and its Restricted Subsidiaries thereunder) not to exceed $300.0
       million less (x) the aggregate principal amount of any such Debt Facilities (other than the
       New Notes) prepaid (to the extent, solely in the case of any such Debt Facility that is a
       revolving Debt Facility, there shall be a corresponding commitment reduction) other than
       from the proceeds of long term Debt Facilities pursuant to a refinancing thereof and (y)
       the aggregate principal amount of any repayment of the New Notes in excess of $40.0
       million in aggregate principal amount of such repayments, provided, that reductions
       pursuant to this clause (y) shall not exceed $100.0 million in aggregate principal amount;

               (2)     the incurrence by the Issuer and its Restricted Subsidiaries of Indebtedness
       to the extent outstanding on the Issue Date (other than Indebtedness incurred pursuant to
       clauses (1) and (3) of Permitted Debt);

               (3)   the incurrence by the Issuer and its Restricted Subsidiaries (including any
       future Guarantor) of Indebtedness represented by the Notes and the related Note


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Guarantees to be issued on the Issue Date (but excluding any Additional Notes issued
after the Issue Date);

        (4)      Indebtedness (including Capital Lease Obligations), Disqualified Stock
and preferred stock incurred by the Issuer or any Restricted Subsidiary of the Issuer, to
finance the purchase, lease, design, construction, installation, repair, replacement or
improvement of property (real or personal) or equipment that is used or useful in a
Permitted Business, whether through the direct purchase of assets or the Capital Stock of
any Person owning such assets and Indebtedness arising from the conversion of the
obligations of the Issuer or any Restricted Subsidiary of the Issuer under or pursuant to
any “synthetic lease” transactions to on-balance sheet Indebtedness of the Issuer or such
Restricted Subsidiary, in an aggregate principal amount which, when aggregated with the
principal amount of all other Indebtedness, Disqualified Stock and preferred stock
incurred pursuant to this clause (4), does not exceed the greater of (x) $20.0 million and
(y) 2.5% of Total Assets at the time of incurrence; provided that Capital Lease
Obligations incurred by the Issuer or any Restricted Subsidiary of the Issuer pursuant to
this clause (4) in connection with a Sale/Leaseback Transaction shall not be subject to the
foregoing limitation so long as the proceeds of such Sale/Leaseback Transaction are used
by the Issuer or such Restricted Subsidiary to permanently repay outstanding
Indebtedness of the Issuer and the Restricted Subsidiaries that was secured by a Lien on
the assets subject to any such Capital Lease Obligations immediately prior to the entry
into such Sale/Leaseback Transaction; provided, however, that the aggregate principal
amount of Indebtedness outstanding under this clause (4), together with Indebtedness
incurred under clause (18), in each case, by Restricted Subsidiaries that are not
Guarantors, together with any Permitted Refinancing Indebtedness in respect thereof,
shall not at any time exceed $5.0 million;

        (5)    the incurrence by the Issuer or any of its Restricted Subsidiaries of
Permitted Refinancing Indebtedness in exchange for, or the net proceeds of which are
used to renew, refund, refinance, replace, defease or discharge any Indebtedness (other
than intercompany Indebtedness) that was permitted by this Indenture to be incurred
under Section 4.07(a) hereof or clauses (2), (3), (4), (5), (12), (16) or (17) of this
Section 4.07(b);

       (6)    the incurrence by the Issuer or any of its Restricted Subsidiaries of
intercompany Indebtedness and cash management pooling obligations and arrangements
between or among the Issuer and any of its Restricted Subsidiaries; provided, however,
that:

               (A)     if the Issuer or any Guarantor is the obligor on such Indebtedness
       (other than cash management pooling obligations) and the payee is not the Issuer
       or a Guarantor, such Indebtedness must be expressly subordinated to the prior
       payment in full in cash of all Obligations then due with respect to the Notes, in
       the case of the Issuer, or the Note Guarantee, in the case of a Guarantor;




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               (B)    if the Issuer or any Guarantor is the payee on such Indebtedness
       (other than cash management pooling obligations), such Indebtedness must be
       pledged to the Collateral Agent); and

                (C)    (i) any subsequent issuance or transfer of Equity Interests that
       results in any such Indebtedness being held by a Person other than the Issuer or a
       Restricted Subsidiary of the Issuer, and (ii) any sale or other transfer of any such
       Indebtedness to a Person that is not either the Issuer or a Restricted Subsidiary of
       the Issuer, will be deemed, in each case, to constitute an incurrence of such
       Indebtedness by the Issuer or such Restricted Subsidiary, as the case may be, that
       was not permitted by this clause (6);

        (7)     the issuance by any of the Issuer’s Restricted Subsidiaries to the Issuer or
to any of its Restricted Subsidiaries of shares of preferred equity; provided, however,
that:

               (A)    any subsequent issuance or transfer of Equity Interests that results
       in any such preferred equity being held by a Person other than the Issuer or a
       Restricted Subsidiary of the Issuer, and

                (B)     any sale or other transfer of any such preferred equity to a Person
       that is not either the Issuer or a Restricted Subsidiary of the Issuer,

       will be deemed, in each case, to constitute an issuance of such preferred equity by
       such Restricted Subsidiary that was not permitted by this clause (7);

      (8)     the incurrence by the Issuer or any of its Restricted Subsidiaries that are
Guarantors of Hedging Obligations other than for speculative purposes;

        (9)     the Guarantee by the Issuer or any of its Restricted Subsidiaries that are
Guarantors of Indebtedness and cash management pooling obligations and arrangements
of the Issuer or a Restricted Subsidiary of the Issuer that was permitted to be incurred by
another provision of this Section 4.07 (including Section 4.07(a) hereof); provided that if
the Indebtedness being guaranteed is subordinated to or pari passu with the Notes, then
the Guarantee shall be subordinated or pari passu, as applicable, to the same extent as the
Indebtedness guaranteed;

        (10) the incurrence by the Issuer or any of its Restricted Subsidiaries that are
Guarantors of Indebtedness in respect of workers’ compensation claims, payment
obligations in connection with health or other types of social security benefits,
unemployment or other insurance or self−insurance obligations, reclamation, statutory
obligations, bankers’ acceptances, bid, performance, surety or similar bonds and letters of
credit or completion or performance guarantees (including without limitation,
performance guarantees pursuant to flying contracts, supply agreements or equipment
leases), or other similar obligations in the ordinary course of business or consistent with
past practice;



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         (11) the incurrence by the Issuer or any of its Restricted Subsidiaries that are
Guarantors of Indebtedness arising from the honoring by a bank or other financial
institution of a check, draft or similar instrument inadvertently drawn against insufficient
funds and other obligations in respect of Bank Products;

        (12) Indebtedness, Disqualified Stock or preferred equity of the Issuer or any
Restricted Subsidiary that is a Guarantor of the Issuer incurred or issued to finance an
acquisition or of Persons that are acquired by the Issuer or any of its Restricted
Subsidiaries that are Guarantors or merged into a Restricted Subsidiary of the Issuer that
is a Guarantor in accordance with the terms of this Indenture; provided, however, that
after giving effect to such acquisition and the incurrence of such Indebtedness,
Disqualified Stock and preferred equity the Issuer would be permitted to incur at least
$1.00 of additional Indebtedness pursuant to Section 4.07(a) hereof;

       (13)    [reserved];

        (14) the incurrence of Indebtedness arising from agreements of the Issuer or a
Restricted Subsidiary of the Issuer that is a Guarantor providing for indemnification,
adjustment of purchase price, earn outs, or similar obligations, in each case, incurred or
assumed in connection with the disposition or acquisition of any business, assets or a
Subsidiary in accordance with the terms of this Indenture, other than Guarantees of
Indebtedness incurred or assumed by any Person acquiring all or any portion of such
business, assets or Subsidiary for the purpose of financing such acquisition;

        (15) the incurrence by the Issuer or any of its Restricted Subsidiaries that are
Guarantors of additional Indebtedness or the issuance of Disqualified Stock or preferred
equity in an aggregate principal amount (or accreted value, as applicable) or having an
aggregate liquidation preference at any time outstanding not to exceed $50.0 million (less
the aggregate principal amount of any repayment of the New Notes up to $40.0 million in
aggregate principal amount of such repayments); provided that, other than as provided
under clause (8) of the definition of Permitted Liens, any Indebtedness incurred by the
Issuer or any Guarantor pursuant to this clause (15) that is secured shall be secured by
liens solely on the Collateral on a junior basis to the Liens securing the Notes Obligations
pursuant to the Notes Intercreditor Agreement;

       (16)    [reserved];

       (17)    [reserved];

        (18) Indebtedness of the Issuer or any Restricted Subsidiary of the Issuer
supported by a letter of credit or bank guarantee issued pursuant to a Debt Facility, in a
principal amount not in excess of the stated amount of such letter of credit or bank
guarantee; provided, however, that the aggregate principal amount of Indebtedness
outstanding under this clause (18), together with Indebtedness incurred under clause (4),
in each case, by Restricted Subsidiaries that are not Guarantors, together with any
Permitted Refinancing Indebtedness in respect thereof, shall not at any time exceed $5.0
million; and

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               (19) Indebtedness of the Issuer or any Restricted Subsidiary of the Issuer that is
       a Guarantor consisting of (x) the financing of insurance premiums or (y) take or pay
       obligations contained in supply arrangements, in each case, in the ordinary course of
       business.

                (c)     The Issuer will not incur, and will not permit any Guarantor to incur, any
Indebtedness (including Permitted Debt) that is contractually subordinated in right of payment to
any other Indebtedness of the Issuer or such Guarantor unless such Indebtedness is also
contractually subordinated in right of payment to the Notes and the applicable Note Guarantee on
substantially identical terms; provided, however, that no Indebtedness shall be deemed to be
contractually subordinated in right of payment to any other Indebtedness solely by virtue of
being unsecured or by virtue of being secured on a first or junior Lien basis.

                 (d)     For purposes of determining compliance with this Section 4.07, in the
event that an item of proposed Indebtedness, Disqualified Stock or preferred equity meets the
criteria of more than one of the categories of Permitted Debt described in clauses (1) through
(19) above or is entitled to be incurred pursuant to Section 4.07(a) hereof, the Issuer will be
permitted to classify such item of Indebtedness, Disqualified Stock or preferred equity on the
date of its incurrence and will only be required to include the amount and type of such
Indebtedness, Disqualified Stock or preferred equity in one of the above clauses, although the
Issuer may divide and classify an item of Indebtedness, Disqualified Stock or preferred equity in
one or more of the types of Indebtedness, Disqualified Stock or preferred equity and may later
reclassify all or a portion of such item of Indebtedness, Disqualified Stock or preferred equity, in
any manner that complies with this Section 4.07; provided that (w) except with respect to clause
(x) below, all Indebtedness outstanding under the Credit Agreement shall be treated as incurred
solely under Section 4.07(b)(1) and shall not later be reclassified, (x) $10.0 million of
Indebtedness outstanding under the Credit Agreement may be treated as incurred under Section
4.07(b)(15), which may later be reclassified as having been incurred under Section 4.07(b)(1),
(y) $113.0 million in aggregate principal amount of Indebtedness outstanding under the New
Notes shall be treated as incurred solely under Section 4.07(b)(1) and shall not later be
reclassified and (z) $40.0 million in aggregate principal amount of Indebtedness outstanding
under the New Notes shall be treated as incurred solely under Section 4.07(b)(15) and shall not
later be reclassified and.

                (e)     The accrual of interest or dividends, the accretion or amortization of
original issue discount, the payment of interest on any Indebtedness in the form of additional
Indebtedness with the same terms, the reclassification of preferred equity as Indebtedness due to
a change in accounting principles, the payment of dividends on Disqualified Stock or preferred
equity in the form of additional shares of the same class of Disqualified Stock or preferred equity
and unrealized losses or charges in respect of Hedging Obligations (including those resulting
from the application of Standards Codification No. 815—Derivatives and Hedging) will not be
deemed to be an incurrence of Indebtedness or an issuance of Disqualified Stock or preferred
equity for purposes of this Section 4.07; provided, in each such case (other than preferred stock
that is not Disqualified Stock), that the amount of any such accrual, accretion or payment is
included in Fixed Charges of the Issuer as accrued. Notwithstanding any other provision of this
Section 4.07, the maximum amount of Indebtedness that the Issuer or any Restricted Subsidiary


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of the Issuer may incur pursuant to this Section 4.07 shall not be deemed to be exceeded solely
as a result of fluctuations in exchange rates or currency values.

                (f)     For purposes of determining compliance with any U.S. dollar denominated
restriction on the incurrence of Indebtedness where the Indebtedness incurred is denominated in
a different currency, the amount of such Indebtedness will be the U.S. Dollar Equivalent
determined on the date of the establishment of the facility or instrument under which such
Indebtedness was incurred; provided, however, that if such Indebtedness denominated in a
different currency is subject to a Currency Agreement with respect to U.S. dollars, covering all
principal, premium, if any, and interest payable on such Indebtedness, the amount of such
Indebtedness expressed in U.S. dollars will be as provided in such Currency Agreement. The
principal amount of any refinancing Indebtedness incurred in the same currency as the
Indebtedness being refinanced will be the U.S. Dollar Equivalent of the Indebtedness refinanced,
except to the extent that (i) such U.S. Dollar Equivalent was determined based on a Currency
Agreement, in which case the refinancing Indebtedness will be determined in accordance with
the preceding sentence, and (ii) the principal amount of the refinancing Indebtedness exceeds the
principal amount of the Indebtedness being refinanced, in which case the U.S. Dollar Equivalent
of such excess, as appropriate, will be determined on the date such refinancing Indebtedness is
incurred.

               (g)     The amount of any Indebtedness outstanding as of any date will be:

               (1)    the accreted value of the Indebtedness, in the case of any Indebtedness
       issued with original issue discount; (2) the principal amount of the Indebtedness, in the
       case of any other Indebtedness; and

               (2)     in respect of Indebtedness of another Person secured by a Lien on the
       assets of the specified Person, the lesser of:

                       (A)     the Fair Market Value of such assets at the date of determination;
               and

                       (B)     the amount of the Indebtedness of the other Person.

                (h)      The Issuer will not permit any of its Unrestricted Subsidiaries to, directly
or indirectly, create, incur, issue, assume, guarantee or otherwise become directly or indirectly
liable, contingently or otherwise, with respect to any Indebtedness (including Acquired Debt),
and the Issuer will not permit any of its Unrestricted Subsidiaries to issue any Disqualified Stock
or to issue any shares of preferred equity.

Section 4.08   Asset Sales; Casualty Events.

             (a)    The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, consummate an Asset Sale unless:

              (1)     the Issuer (or the Restricted Subsidiary of the Issuer, as the case may be)
       receives consideration at the time of the Asset Sale at least equal to the Fair Market Value


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(such Fair Market Value to be determined on the date of contractually agreeing to such
Asset Sale) of the assets or Equity Interests issued or sold or otherwise disposed of;

        (2)    at least 75% of the consideration received from such Asset Sale by the
Issuer or such Restricted Subsidiary is in the form of cash or Cash Equivalents , or any
combination thereof. For purposes of this provision, each of the following shall be
deemed to be cash:

               (A)     any liabilities of the Issuer or any Restricted Subsidiary of the
       Issuer (other than (x) contingent liabilities and (y) liabilities that are (i) by their
       terms subordinated to the Notes or any Note Guarantee, (ii) unsecured or (iii)
       secured by any Collateral on a junior basis to the Notes (other than ABL
       Obligations, so long as the commitments with respect thereto are permanently
       reduced)) that are assumed by the transferee of any such assets and as a result of
       which the Issuer or such Restricted Subsidiary is released from further liability;

               (B)    any securities, notes, other obligations or assets received by the
       Issuer or any such Restricted Subsidiary from such transferee that are converted
       by the Issuer or such Restricted Subsidiary into cash or Cash Equivalents within
       180 days of the receipt thereof, to the extent of the cash or Cash Equivalents
       received in that conversion;

               (C)     any Designated Non−cash Consideration received by the Issuer or
       any of its Restricted Subsidiaries in such Asset Sale; provided that the aggregate
       Fair Market Value of such Designated Non−cash Consideration, taken together
       with the Fair Market Value at the time of receipt of all other Designated
       Non−cash Consideration received pursuant to this clause (C) less the amount of
       Net Proceeds previously realized in cash from prior Designated Non−cash
       Consideration is less than $10.0 million (with the Fair Market Value of each item
       of Designated Non−cash Consideration being measured at the time received and
       without giving effect to subsequent changes in value); and

               (D)     accounts receivable of a business retained by the Issuer or any of
       its Restricted Subsidiaries, as the case may be, following the sale of such
       business; provided that such accounts receivable (i) are not past due more than 90
       days and (ii) do not have a payment date greater than 120 days from the date of
       the invoices creating such accounts receivable; and

              (E)     any Capital Stock or assets of the kind referred to in
       Section 4.08(b)(1)(F), (G) or (H).

        (3)   if such Asset Sale involves the disposition of Collateral, the Issuer or such
Restricted Subsidiary has complied with the provisions of this Indenture and the Security
Documents; and

        (4)     if such Asset Sale involves the disposition of Notes Priority Collateral or,
after the discharge of ABL Obligations, the disposition of ABL Facility Priority


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       Collateral, and, if any property other than cash or Cash Equivalents is included in such
       Net Proceeds, such property shall be made subject to the Note Liens.

              (b)      Within 90 days after the receipt of any Net Proceeds from an Asset Sale or
Casualty Event, the Issuer (or the applicable Restricted Subsidiary of the Issuer, as the case may
be) may:

               (1)    apply such Net Proceeds, at its option:

                       (A)     to the extent such Net Proceeds constitute proceeds from the sale
               of or casualty event with respect to ABL Facility Priority Collateral, to repay
               Indebtedness under the Credit Agreement secured by such ABL Facility Priority
               Collateral;

                       (B)    to the extent such Net Proceeds constitute proceeds from the sale
               of Notes Priority Collateral, to permanently repay the Notes or to permanently
               repay the New Notes;

                      (C)     [reserved];

                       (D)    if the assets subject of such Asset Sale or Casualty Event do not
               constitute Collateral, (x) to permanently reduce (or offer to reduce) Obligations
               under the Notes; provided that all reductions of or offers to reduce Obligations
               under the Notes shall be made pursuant to and in compliance with Section 3.07 or
               through open−market purchases (to the extent such purchases are at or above
               100.0% of the principal amount thereof) or by making an offer (in accordance
               with the procedures set forth below for an Asset Sale Offer) to all Holders to
               purchase their Notes at 100.0% of the principal amount thereof, plus the amount
               of accrued but unpaid interest, if any, on the amount of Notes to be repurchased,
               or (y) to permanently repay the New Notes;

                        (E)   if the assets subject of such Asset Sale or Casualty Event are the
               property or assets of a Restricted Subsidiary of the Issuer that is not a Guarantor,
               (i) to permanently reduce Indebtedness of such Restricted Subsidiary to the extent
               required by indebtedness of such non-Guarantor (and to correspondingly and
               permanently reduce commitments with respect thereto), other than Indebtedness
               owed to the Issuer or another Restricted Subsidiary of the Issuer, (ii) to
               permanently reduce (or offer to reduce) Obligations under the Notes or (iii) to
               permanently reduce the New Notes;

                       (F)    to acquire all or substantially all of the assets of, or any Capital
               Stock of, another Permitted Business; provided, that in the case of any such
               acquisition of Capital Stock, such Person is or becomes a Restricted Subsidiary of
               the Issuer;

                       (G)     to acquire other short− or long−term assets that are not classified
               as current assets under GAAP and that are used or useful in a Permitted Business;
               or

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                       (H)     to invest in Additional Assets; or

               (2)      enter into a binding commitment to apply the Net Proceeds pursuant to
       Section 4.08(b)(1)(F), (G) or (H), provided that such binding commitment shall be treated
       as a permitted application of the Net Proceeds from the date of such commitment until
       the earlier of (x) the date on which such acquisition or expenditure is consummated, and
       (y) the 45th day following the expiration of the aforementioned 90 day period.

        In the case of Section 4.08(b)(1)(F), (G) and (H), the assets acquired with the Net
Proceeds from an Asset Sale of, or Casualty Event with respect to, assets constituting Collateral
(or assets received in exchange therefor pursuant to Section 4.08(a) (2)) shall be pledged as
Collateral under the Security Documents.

                (c)   The Issuer shall segregate and hold any Net Proceeds pending the final
application of such Net Proceeds in accordance with Section 4.08.

                (d)     Any Net Proceeds from Asset Sales or Casualty Events that are not
applied or invested as provided in Section 4.08(b) will constitute “Excess Proceeds.” Not later
than the 91st day (or such later date as permitted by Section 4.08(b)(2)) from the later of the date
of such Asset Sale or the receipt of such Net Proceeds or receipt of Net Proceeds from any
Casualty Event, if the aggregate amount of Excess Proceeds exceeds $10.0 million, within ten
Business Days thereof, the Issuer will make an offer to purchase the Notes of all Holders of
Notes (an “Asset Sale Offer”) to purchase the maximum principal amount of Notes that may be
purchased out of the Excess Proceeds. The offer price in any Asset Sale Offer will be equal to
100% of the principal amount plus accrued and unpaid interest, if any, to, but excluding, the date
of purchase and will be payable in cash. If any Excess Proceeds remain after consummation of
an Asset Sale Offer, the Issuer or any Restricted Subsidiary of the Issuer may use those Excess
Proceeds for any purpose not otherwise prohibited by this Indenture. If the aggregate principal
amount of Notes tendered into such Asset Sale Offer exceeds the amount of Excess Proceeds, the
Trustee will select the Notes to be purchased on a pro rata basis. Upon completion of each Asset
Sale Offer, the amount of Excess Proceeds will be reset at zero.

               (e)     The Issuer will comply with the requirements of Rule 14e−1 under the
Exchange Act and any other securities laws and regulations thereunder to the extent those laws
and regulations are applicable in connection with each repurchase of Notes pursuant to an Asset
Sale Offer. To the extent that the provisions of any securities laws or regulations conflict with
the Asset Sale provisions of this Indenture, the Issuer will comply with the applicable securities
laws and regulations and will not be deemed to have breached its obligations under the Asset
Sale provisions of this Indenture by virtue of such compliance.

                (f)      Not later than the date upon which written notice of an Asset Sale Offer is
delivered to the Trustee as provided above, the Issuer shall deliver to the Trustee an Officer’s
Certificate as to (i) the amount of the Excess Proceeds, (ii) the allocation of the Net Proceeds
from the Asset Sales and/or Casualty Events pursuant to which such Asset Sale Offer is being
made and (iii) the compliance of such allocation with the provisions of this Section 4.08. Upon
the expiration of the period for which the Asset Sale Offer remains open (the “Offer Period”),
the Issuer shall deliver to the Trustee for cancellation the Notes or portions thereof that have

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been properly tendered to and are to be accepted by the Issuer. No later than one Business Day
preceding any date of purchase, the Issuer shall deposit with the Trustee (or a Paying Agent, if
not the Trustee) the purchase price for the tendered Notes and the Trustee (or a Paying Agent, if
not the Trustee) shall, on the date of purchase, mail or deliver payment to each tendering Holder
in the amount of the purchase price. In the event that the Excess Proceeds delivered by the Issuer
to the Trustee is greater than the purchase price of the Notes tendered, the Trustee shall deliver
the excess to the Issuer immediately after the expiration of the Offer Period for application in
accordance with this Section 4.08.

                (g)     Holders electing to have a Note purchased shall be required to surrender
the Note, with the form entitled “Option of Holder to Elect Purchase” attached to the Note duly
completed, to the Issuer at the address specified in the notice at least three Business Days prior to
the purchase date. Holders shall be entitled to withdraw their election if the Trustee or the Issuer
receives not later than one Business Day prior to the purchase date, a telegram, telex, facsimile
transmission or letter setting forth the name of the Holder, the principal amount of the Note
which was delivered by the Holder for purchase and a statement that such Holder is withdrawing
his election to have such Note purchased. If at the end of the Offer Period more Notes are
tendered pursuant to an Asset Sale Offer than the Issuer is required to purchase, selection of such
Notes for purchase shall be made by the Trustee in compliance with the requirements of the
principal national securities exchange, if any, on which such Notes are listed, or if such Notes are
not so listed, on a pro rata basis, by lot or by such other method as the Trustee shall deem fair
and appropriate (and in such manner as complies with applicable legal requirements); provided
that no Notes of $2,000 or less shall be purchased in part.

                 (h)    Notices of an Asset Sale Offer shall be mailed by the Issuer by first class
mail, postage prepaid, or otherwise delivered in accordance with the applicable procedures of
DTC, at least 30 but not more than 60 days before the purchase date to each Holder at such
Holder’s registered address. If any Note is to be purchased in part only, any notice of purchase
that relates to such Security shall state the portion of the principal amount thereof that is to be
purchased.

               (i)     A new Note in principal amount equal to the unpurchased portion of any
Note purchased in part shall be issued in the name of the Holder thereof upon cancellation of the
original Note. On and after the purchase date, unless the Issuer defaults in payment of the
purchase price, interest shall cease to accrue on Notes or portions thereof purchased.

Section 4.09   Transactions with Affiliates.

                (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, make any payment to, or sell, lease, transfer or otherwise dispose of any of its properties or
assets to, or purchase any property or assets from, or enter into or make or amend any
transaction, contract, agreement, understanding, loan, advance or guarantee with, or for the
benefit of, any Affiliate of the Issuer (each, an “Affiliate Transaction”), involving aggregate
consideration in excess of $5.0 million, unless:

               (1)     the Affiliate Transaction is on terms that are not materially less favorable
       to the Issuer or the relevant Restricted Subsidiary than those that would have been

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       obtained in a comparable transaction by the Issuer or such Restricted Subsidiary with an
       unrelated Person; and

               (2)      the Issuer delivers to the Trustee with respect to any Affiliate Transaction
       or series of related Affiliate Transactions involving aggregate consideration in excess of
       $40.0 million, a resolution of the Board of Directors of the Issuer certifying that such
       Affiliate Transaction complies with this Section 4.09 and that such Affiliate Transaction
       has been approved by a majority of the disinterested members, if any, of the Board of
       Directors of the Issuer.

                (b)     The following items will not be deemed to be Affiliate Transactions and,
therefore, will not be subject to the provisions of Section 4.09(a) hereof:

               (1)     any employment agreement, employee benefit plan, officer or director
       indemnification agreement or any similar arrangement entered into by the Issuer or any
       of its Restricted Subsidiaries in the ordinary course of business or consistent with past
       practice and payments pursuant thereto;

               (2)     transactions (including a merger) between or among the Issuer and/or any
       of its Restricted Subsidiaries;

                 (3)    [reserved];

               (4)     payment of reasonable fees to, and indemnity provided on behalf of,
       officers, directors, employees or consultants of the Issuer or any of its Restricted
       Subsidiaries or any direct or indirect parent of the Issuer;

               (5)     any contribution to the capital of the Issuer or any issuance of Equity
       Interests (other than Disqualified Stock) of the Issuer to Affiliates of the Issuer or to any
       director, officer, employee or consultant of the Issuer or any direct or indirect parent of
       the Issuer, and the granting and performance of registration rights;

                 (6)    Restricted Payments and Investments that do not violate Section 4.05
       hereof;

                 (7)    [reserved];

              (8)     loans or advances to employees or consultants in the ordinary course of
       business or consistent with past practice;

                 (9)    [reserved];

                 (10)   [reserved];

              (11) the existence of, or the performance by the Issuer or any of its Restricted
       Subsidiaries of its obligations under the terms of, any acquisition agreements or
       members’ or stockholders’ agreement or related documents to which it is a party as of the
       Issue Date and any amendment thereto or similar agreements which it may enter into

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       thereafter; provided, however, that the existence of, or the performance by the Issuer or
       any of its Restricted Subsidiaries of its obligations under, any future amendment to any
       such existing agreement or under any similar agreement entered into after the Issue Date
       shall only be permitted by this clause (11) to the extent that the terms of any such existing
       agreement, together with all amendments thereto, taken as a whole, or such new
       agreement are not otherwise more disadvantageous to the Holders taken as a whole than
       the original agreement as in effect on the Issue Date;

               (12) transactions with Unrestricted Subsidiaries, customers, clients, suppliers,
       joint ventures, joint venture partners or purchasers or sellers of goods or services or
       lessors or lessees of property, in each case in the ordinary course of business and
       otherwise in compliance with the terms of this Indenture which are, in the aggregate
       (taking into account all the costs and benefits associated with such transactions),
       materially no less favorable to the Issuer or its Restricted Subsidiaries than those that
       would have been obtained in a comparable transaction by the Issuer or such Restricted
       Subsidiary with an unrelated Person, in the reasonable determination of the Board of
       Directors of the Issuer or senior management of either of them, or are on terms at least as
       favorable as might reasonably have been obtained at such time from an unaffiliated party;

               (13)     [reserved];

              (14) if such Affiliate Transaction is with a Person in its capacity as a holder of
       Indebtedness or Capital Stock of the Issuer or any Restricted Subsidiary of the Issuer
       where such Person is treated no more favorably than the holders of Indebtedness or
       Capital Stock of the Issuer or any Restricted Subsidiary of the Issuer;

              (15) transactions effected pursuant to agreements in effect on the Issue Date
       and any amendment, modification or replacement of such agreement (so long as such
       amendment or replacement is not materially more disadvantageous to the Holders, taken
       as a whole);

               (16)     [reserved];

               (17)     [reserved];

               (18)     intellectual property licenses in the ordinary course of business; and

              (19) transactions between the Issuer or any of its Restricted Subsidiaries and
       any Person, a director of which is also a director of the Issuer; provided, however, that
       such director abstains from voting as a director of the Issuer on any matter involving such
       other Person.

                (c)     Notwithstanding the foregoing in this Section 4.09 or anything else herein
to the contrary, the Issuer will not, and will not permit any Subsidiary of the Issuer to, directly or
indirectly, make any payment of, management, consulting, monitoring or advisory fees to the
Equity Investors.

Section 4.10   Liens.

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                (a)      The Issuer will not, and will not permit any Restricted Subsidiary of the
Issuer to, directly or indirectly, create, incur or assume any Lien (other than Permitted Liens) on
any asset or property of the Issuer or such Restricted Subsidiary that secures any Indebtedness of
the Issuer or such Restricted Subsidiary or any related Guarantees.

                (b)     For purposes of determining compliance with this Section 4.10, (i) a Lien
need not be incurred solely by reference to one category of Permitted Liens described in the
definition thereof but is permitted to be incurred in part under any combination thereof and of
any other available exemption and (ii) in the event that a Lien (or any portion thereof) meets the
criteria of one of more of the categories of Permitted Liens, the Issuer will, in its sole discretion,
be entitled to divide, classify or reclassify, in whole or in part, any such Lien (or any portion
thereof) among one or more of such categories or clauses in any manner.

Section 4.11   Claims Settlements and Payments.

                (a)      The Issuer shall not, and shall not permit any Restricted Subsidiary of the
Issuer to, directly or indirectly, settle any litigation and/or claims arising from or related to the
Port Neches Incident in an amount exceeding the Specified Settlement Amount; provided, that
such settlements may exceed the Specified Settlement Amount in an amount not to exceed the
Port Neches Company Allocation of Proceeds.

                (b)      The Issuer shall not, and shall not permit any Restricted Subsidiary of the
Issuer to, directly or indirectly, make payments in respect of litigation and/or claims arising from
or related to the Port Neches Incident and costs and expenses related thereto (including, without
limitation, fees and expenses of counsel) in an amount exceeding the Specified Settlement
Amount; provided, that such payments may exceed the Specified Settlement Amount in an
amount not to exceed the Port Neches Company Allocation of Proceeds.

Section 4.12   Offer to Repurchase Upon Change of Control.

                 (a)     Upon the occurrence of a Change of Control, the Issuer will make an offer
(a “Change of Control Offer”) to each Holder to repurchase all or any part (equal to $2,000 or an
integral multiple of $1,000 in excess of $2,000) of that Holder’s Notes at a purchase price in cash
equal to 101% of the aggregate principal amount of Notes repurchased plus accrued and unpaid
interest, if any, on the Notes repurchased to, but not including, the date of purchase, subject to
the rights of Holders on the relevant record date to receive interest due on the relevant interest
payment date (the “Change of Control Payment”). Within 30 days following any Change of
Control, except to the extent that the Issuer has exercised its right to redeem the Notes in
accordance with Article 3 of this Indenture, the Issuer will mail a notice to each Holder or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, describing the transaction or transactions that constitute the Change of Control and
stating:

              (1)     that the Change of Control Offer is being made pursuant to this
       Section 4.12 and that all Notes properly tendered pursuant to such Change of Control
       Offer will be accepted for payment;



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                  (2)    the purchase price and the purchase date, which shall be no earlier than 15
          days and no later than 60 days from the date such notice is mailed or otherwise delivered
          in accordance with the applicable procedures of DTC (the “Change of Control Payment
          Date”);

                 (3)     that any Note not tendered will continue to accrue interest;

                  (4)    that, unless the Issuer defaults in the payment of the Change of Control
          Payment, all Notes accepted for payment pursuant to the Change of Control Offer will
          cease to accrue interest after the Change of Control Payment Date;

                  (5)      that Holders electing to have any Notes purchased pursuant to a Change of
          Control Offer will be required to surrender the Notes, with the form entitled “Option of
          Holder to Elect Purchase” attached to the Notes completed, or transfer by book−entry
          transfer, to the Trustee at the address specified in the notice prior to the close of business
          on the third Business Day preceding the Change of Control Payment Date;

                  (6)     that Holders will be entitled to withdraw their election if the Trustee
          receives, not later than the close of business on the second Business Day preceding the
          Change of Control Payment Date, a telegram, telex, facsimile transmission or letter
          setting forth the name of the Holder, the principal amount of Notes delivered for
          purchase, and a statement that such Holder is withdrawing his election to have the Notes
          purchased; and

                  (7)    that Holders whose Notes are being purchased only in part will be issued
          new Notes equal in principal amount to the unpurchased portion of the Notes
          surrendered, which unpurchased portion must be equal to $2,000 in principal amount or
          an integral multiple of $1,000 in excess of $2,000.

               The Issuer will comply with the requirements of Rule 14e−1 under the Exchange
Act and any other securities laws and regulations thereunder to the extent those laws and
regulations are applicable in connection with the repurchase of the Notes as a result of a Change
of Control. To the extent that the provisions of any securities laws or regulations conflict with
the provisions of this Section 4.12 hereof, the Issuer will comply with the applicable securities
laws and regulations and will not be deemed to have breached its obligations under this
Section 4.12 by virtue of such compliance.

               (b)    On the Business Day immediately preceding the Change of Control
Payment Date, the Issuer will, to the extent lawful, deposit with the Paying Agent an amount
equal to the Change of Control Payment in respect of all Notes or portions of Notes accepted for
payment.

                 (c)     On the Change of Control Payment Date, the Issuer will, to the extent
lawful:

                 (1)     accept for payment all Notes or portions of Notes (in a minimum principal
          amount of $2,000 and integral multiples of $1,000 in excess of $2,000) properly tendered
          pursuant to the Change of Control Offer and not properly withdrawn; and

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              (2)     deliver or cause to be delivered to the Trustee the Notes properly accepted
       together with an Officer’s Certificate stating the aggregate principal amount of Notes or
       portions of Notes being purchased by the Issuer.

                The Paying Agent will promptly mail or otherwise deliver in accordance with the
applicable procedures of DTC to each Holder properly tendered the Change of Control Payment
for such Notes, and the Trustee, upon receipt of an Authentication Order, will promptly
authenticate and mail or otherwise deliver in accordance with the applicable procedures of DTC
(or cause to be transferred by book entry) to each Holder a new Note equal in principal amount
to any unpurchased portion of the Notes surrendered, if any; provided, that each new Note will
be in a principal amount of $2,000 or an integral multiple of $1,000 in excess of $2,000. The
Issuer will publicly announce the results of the Change of Control Offer on or as soon as
reasonably practicable after the Change of Control Payment Date.

                (d)    In the event that Holders of not less than 90% in aggregate principal
amount of the outstanding Notes accept a Change of Control Offer, Alternate Offer or other
tender offer to purchase all of the Notes and the Issuer (or any third party making such Change of
Control Offer, Alternate Offer or other tender offer to purchase all of the Notes in lieu of the
Issuer) purchases all of the Notes held by such Holders, the Issuer shall have the right, upon not
less than 15 nor more than 60 days prior notice, given not more than 15 days following the
purchase pursuant to the Change of Control Offer, Alternate Offer or other tender offer to
purchase all of the Notes, to redeem all of the Notes that remain outstanding following such
purchase at a redemption price in cash equal to the price offered to each other Holder in the
Change of Control Offer, Alternate Offer or other tender offer plus, to the extent not included in
the Change of Control Offer, Alternate Offer or other tender offer, accrued and unpaid interest, if
any on the Notes that remain outstanding, to, but excluding, to the date of redemption (subject to
the right of Holders of record on the relevant record date to receive interest due on the relevant
interest payment date).

                (e)      Notwithstanding anything to the contrary in this Section 4.12, the Issuer
will not be required to make a Change of Control Offer upon a Change of Control if (1) a third
party makes the Change of Control Offer in the manner, at the times and otherwise in
compliance with the requirements set forth in this Section 4.12 and purchases all Notes properly
tendered and not withdrawn under the Change of Control Offer, (2) notice of redemption of all
outstanding Notes has been previously or is concurrently electronically delivered or mailed
pursuant to Section 3.03 hereof, unless and until there is a default in payment of the applicable
redemption price or (3) in connection with or in contemplation of any Change of Control, the
Issuer has made an offer to purchase (an “Alternate Offer”) any and all Notes validly tendered at
a cash price equal to or higher than the Change of Control Payment and has purchased all Notes
properly tendered in accordance with the terms of the Alternate Offer. Notwithstanding anything
to the contrary contained in this Indenture, a Change of Control Offer or an Alternate Offer may
be made in advance of a Change of Control, conditioned upon the consummation of such Change
of Control, if a definitive agreement is in place for the Change of Control at the time the Change
of Control Offer or the Alternate Offer is made. The closing date of any such Change of Control
Offer or any such Alternate Offer made in advance of a Change of Control may be changed to
conform to the actual closing date of the Change of Control; provided that such closing date is
not earlier than 15 days nor later than 60 days from the date the Change of Control Offer notice

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is sent as described in Section 4.12(a) hereof, subject to the extension in the event of a
conditional offer.

               (f)     The Issuer’s obligation to make a Change of Control Offer pursuant to this
Section 4.12 may be waived or modified or terminated with the written consent of the Holders of
a majority in principal amount of the Notes then outstanding (including consents obtained in
connection with a tender offer or exchange offer for the Notes) prior to the occurrence of such
Change of Control.

Section 4.13   Offer to Repurchase From Port Neches Holder Allocation of Proceeds.

                (a)     Upon receipt of any Port Neches Applicable Amount, the Issuer will make
an offer (a “Port Neches Offer”) to each Holder to repurchase all or any part (equal to $2,000 or
an integral multiple of $1,000 in excess of $2,000) of that Holder’s Notes at a purchase price in
cash equal to 102% of the aggregate principal amount of Notes repurchased plus accrued and
unpaid interest, if any, on the Notes repurchased to, but not including, the date of purchase,
subject to the rights of Holders on the relevant record date to receive interest due on the relevant
interest payment date (the “Port Neches Payment”). Within 30 days following any receipt of any
Port Neches Applicable Amount, except to the extent that the Issuer has exercised its right to
redeem the Notes in accordance with Article 3 of this Indenture, the Issuer will mail a notice to
each Holder or otherwise deliver notice in accordance with the applicable procedures of DTC,
with a copy to the Trustee, describing the receipt of any Port Neches Applicable Amount and
stating:

                (1)    that the Port Neches Offer is being made pursuant to this Section 4.13 and
       that all Notes properly tendered pursuant to such Port Neches Offer will be accepted for
       payment;

              (2)     the purchase price and the purchase date, which shall be no earlier than 15
       days and no later than 60 days from the date such notice is mailed or otherwise delivered
       in accordance with the applicable procedures of DTC (the “Port Neches Payment Date”);

               (3)     that any Note not tendered will continue to accrue interest;

               (4)      that, unless the Issuer defaults in the payment of the Port Neches Payment,
       all Notes accepted for payment pursuant to the Port Neches Offer will cease to accrue
       interest after the Port Neches Payment Date;

               (5)      that Holders electing to have any Notes purchased pursuant to a Port
       Neches Offer will be required to surrender the Notes, with the form entitled “Option of
       Holder to Elect Purchase” attached to the Notes completed, or transfer by book−entry
       transfer, to the Trustee at the address specified in the notice prior to the close of business
       on the third Business Day preceding the Port Neches Payment Date;

              (6)      that Holders will be entitled to withdraw their election if the Trustee
       receives, not later than the close of business on the second Business Day preceding the
       Port Neches Payment Date, a telegram, telex, facsimile transmission or letter setting forth


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       the name of the Holder, the principal amount of Notes delivered for purchase, and a
       statement that such Holder is withdrawing his election to have the Notes purchased; and

               (7)    that Holders whose Notes are being purchased only in part will be issued
       new Notes equal in principal amount to the unpurchased portion of the Notes
       surrendered, which unpurchased portion must be equal to $2,000 in principal amount or
       an integral multiple of $1,000 in excess of $2,000.

               The Issuer will comply with the requirements of Rule 14e−1 under the Exchange
Act and any other securities laws and regulations thereunder to the extent those laws and
regulations are applicable in connection with the repurchase of the Notes as a result of a the
receipt of any Port Neches Applicable Amount. To the extent that the provisions of any securities
laws or regulations conflict with the provisions of this Section 4.15 hereof, the Issuer will
comply with the applicable securities laws and regulations and will not be deemed to have
breached its obligations under this Section 4.15 by virtue of such compliance.

               (b)      On the Business Day immediately preceding the Port Neches Payment
Date, the Issuer will, to the extent lawful, deposit with the Paying Agent an amount equal to the
Port Neches Payment in respect of all Notes or portions of Notes accepted for payment.

               (c)    On the Port Neches Payment Date, the Issuer will, to the extent lawful:

              (1)     accept for payment all Notes or portions of Notes (in a minimum principal
       amount of $2,000 and integral multiples of $1,000 in excess of $2,000) properly tendered
       pursuant to the Port Neches Offer and not properly withdrawn; and

              (2)     deliver or cause to be delivered to the Trustee the Notes properly accepted
       together with an Officer’s Certificate stating the aggregate principal amount of Notes or
       portions of Notes being purchased by the Issuer.

               To the extent the Issuer receives any Port Neches Holder Allocation of Proceeds
in an amount less than the Port Neches Applicable Amount, the Issuer shall segregate and hold
such funds pending the final application of such Port Neches Holder Allocation of Proceeds in
accordance with Section 4.13.

                The Paying Agent will promptly mail or otherwise deliver in accordance with the
applicable procedures of DTC to each Holder properly tendered the Port Neches Payment for
such Notes, and the Trustee, upon receipt of an Authentication Order, will promptly authenticate
and mail or otherwise deliver in accordance with the applicable procedures of DTC (or cause to
be transferred by book entry) to each Holder a new Note equal in principal amount to any
unpurchased portion of the Notes surrendered, if any; provided, that each new Note will be in a
principal amount of $2,000 or an integral multiple of $1,000 in excess of $2,000. The Issuer will
publicly announce the results of the Port Neches Offer on or as soon as reasonably practicable
after the Port Neches Payment Date.

Section 4.14   Additional Note Guarantees.



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                 If any Restricted Subsidiary of the Issuer (other than any Excluded Subsidiary)
that is not already a Guarantor Guarantees any Debt Facilities of the Issuer (or any other
Restricted Subsidiary) or otherwise is or becomes a primary obligor under any Debt Facilities,
then such Restricted Subsidiary will become a Guarantor and execute a supplemental indenture
substantially in the form of Exhibit D hereto and the applicable Security Documents or joinders
or supplements thereto and deliver an Opinion of Counsel and Officer’s Certificate required by
this Indenture to the Trustee within 30 days of the date on which it was acquired or created;
provided that this Section 4.14 shall not be applicable to any Guarantee of any Restricted
Subsidiary of the Issuer that existed at the time such Person became a Restricted Subsidiary of
the Issuer and was not incurred in connection with, or in contemplation of, such Person
becoming a Restricted Subsidiary of the Issuer.

Section 4.15   Unrestricted Subsidiaries.

        The Board of Directors of the Issuer may not designate any additional Subsidiary of the
Issuer to be an Unrestricted Subsidiary.

Section 4.16   Changes in Covenants upon Notes being Rated Investment Grade.

                (a)     During any period of time and beginning on the day that (a) the Notes
have an Investment Grade Rating and (b) no Default or Event of Default has occurred and is
continuing under this Indenture, the Issuer and its Restricted Subsidiaries will not be subject to
the covenants contained in Sections 4.05, 4.06, 4.07, 4.08, 4.09, 4.14 (but only with respect to
any Person that is required to become a Guarantor after the commencement of the applicable
suspension date), 4.15 and 5.01(a)(4) (collectively, the “Suspended Covenants”) shall terminate.
If the Issuer and its Restricted Subsidiaries are not subject to these covenants for any period of
time as a result of the previous sentence (a “Fall−Away Period”) and, subsequently, the ratings
assigned to the Notes are withdrawn or downgraded so the Notes no longer have an Investment
Grade Rating or an Event of Default (other than with respect to a Suspended Covenant) occurs
and is continuing, then the Issuer and its Restricted Subsidiaries will thereafter again be subject
to these covenants. The ability of the Issuer and its Restricted Subsidiaries to make Restricted
Payments after the time of such withdrawal, downgrade or Event of Default will be calculated as
if the covenant governing Restricted Payments had been in effect during the entire period of time
from the Issue Date. Notwithstanding the foregoing, the continued existence after the end of the
Fall−Away Period of facts and circumstances or obligations arising from transactions that
occurred during a Fall−Away Period shall not constitute a breach of any covenant set forth in this
Indenture or cause an Event of Default hereunder. Promptly after the commencement of the
Fall-Away Period, the Issuer shall deliver to the Trustee an Officer’s Certificate certifying to
such event.

                (b)     Neither the Trustee nor any Agent shall have any liability or responsibility
with respect to, or obligation or duty to monitor, determine or inquire (i) as to the Issuer’s or any
Guarantor’s compliance with any covenant under this Indenture (other than the covenant to make
payment on the Notes), (ii) as to whether or not the rating of the Notes has been adjusted, or
(iii) as to whether or not a Fall−Away Period has occurred or is continuing.

Section 4.17   Further Assurances, Instruments and Acts.

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                (a)    The Issuer shall execute and deliver such further instruments and do such
further acts as may be reasonably necessary or proper to carry out more effectively the purpose
of this Indenture.

               (b)      The Issuer and the Guarantors shall execute and deliver such additional
instruments, certificates or documents, and take all such actions as may be reasonably required
from time to time in order to:

               (1)     carry out more effectively the purposes of the Security Documents;

              (2)     create, grant, perfect and maintain the validity, effectiveness and priority
       of any of the Security Documents and the Liens created, or intended to be created, by the
       Security Documents; and

              (3)     ensure the protection and enforcement of any of the rights granted or
       intended to be granted to the Trustee under any other instrument executed in connection
       therewith.

Section 4.18   Real Property.

                The Issuer shall notify the Collateral Agent in writing within 30 days after the
acquisition of any real property owned by the Issuer or any Guarantor that has a fair market
value in excess of $5,000,000 that is not subject to the existing Mortgages (the “After−Acquired
Real Property”), and, within 180 days after the acquisition of such owned real property, as such
date may be extended by the Collateral Agent, deliver to the Collateral Agent, with respect to
such owned real property, each of the documents described in Section 4.19 hereof and such other
documents as may be reasonably necessary or requested by the Collateral Agent to evidence the
Liens contemplated by this Indenture and the Mortgages.

Section 4.19   Post-Closing Matters.

                The Issuer and the Guarantors shall deliver to the Collateral Agent within 180
days after the Issue Date (or such longer period as the Collateral Agent shall agree), to the extent
not previously provided, each of the following documents with respect to the Notes Priority
Collateral, as appropriate:

               (a)     Mortgages. With respect to each Mortgaged Property, counterparts of a
Mortgage, together with the assignments of leases and rents referred to therein, in proper form
for recording in the appropriate recording office of the political subdivision where such
Mortgaged Property is located, duly executed and acknowledged by the Issuer or the applicable
Guarantor effective to create a valid and enforceable first-priority (with respect to Notes Priority
Collateral and subject to the Notes Intercreditor Agreement and the ABL Intercreditor
Agreement) mortgage Lien, subject to no Liens other than Permitted Liens, on each Mortgaged
Property, except that to the extent such Mortgaged Property is located in a jurisdiction which
imposes mortgage recording taxes, intangible taxes, documentary taxes or other similar fees and
charges, the subject Mortgage shall only secure an amount equal to the fair market value of such
Mortgaged Property as reasonably determined, in good faith, by the Issuer and such other
instruments necessary to grant the interests purported to be granted by such Mortgage (and to

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record such Mortgage in the appropriate recording offices) under the laws of any applicable
jurisdiction.

                (b)    Title Insurance. With respect to each Mortgage encumbering any
Mortgaged Property, a policy of title insurance (or commitment to issue such a policy to be
followed by the delivery of such policy of title insurance within a reasonable time) in an amount
not to exceed the fair market value of such Mortgaged Property as reasonably determined, in
good faith, by the Issuer (such policies collectively, the “Mortgage Policies”) issued by any title
insurance company (the “Title Company”), insuring (or committing to insure) that such
Mortgage constitutes a valid and enforceable first-priority (with respect to Notes Priority
Collateral and subject to the Notes Intercreditor Agreement and the ABL Intercreditor
Agreement) mortgage Lien on the respective Mortgaged Property, free and clear of all Liens
other than Permitted Liens, which Mortgage Policies shall (A) not include the general title
exception for mechanics’ liens and (B) provide for such affirmative insurance as is commercially
reasonable and which is available in the applicable jurisdiction at commercially reasonable rates.

                (c)     Surveys. With respect to each Mortgaged Property, the Issuer shall deliver
all surveys as reasonably necessary, certified to the Collateral Agent for its benefit, for the
benefit of the Trustee, for the benefit of the Holders and for the benefit of the Title Company
prepared by an independent professional licensed land surveyor or an affidavit of “no change”
executed by the Issuer with respect to any existing survey, sufficient for the Title Company to
delete the survey exception (if permitted in the relevant jurisdiction) and issue
a “same-as-survey” endorsement to the Mortgage Policies to the extent such endorsement is
available in the relevant jurisdiction at commercially reasonable rates.

                 (d)    Fixture Filings. With respect to each Mortgaged Property, to the extent the
Mortgages are not sufficient to qualify as a fixture filing under applicable laws of the
jurisdiction, a copy of a filed UCC-1 in the jurisdiction in which such Mortgaged Property is
located in order to perfect the Lien on and security interest in the fixtures encumbered by the
applicable Mortgage in favor of the Collateral Agent for its benefit and the benefit of the Trustee
and the Holders.

                (e)      Title Insurance Documents. With respect to each Mortgaged Property,
such affidavits, certificates, information and instruments as shall be reasonably and customarily
required to induce the Title Company to issue the Mortgage Policies.

              (f)      Collateral Fees and Expenses. Evidence of payment by the Issuer of all
search and examination charges, escrow charges and related charges, title insurance premiums,
filing, documentary, stamp, intangible and mortgage recording taxes, fees, charges, costs and
expenses required for the recording of the Mortgages, fixture filings and issuance of the
Mortgage Policies and endorsements required pursuant to clause (b) above.

                (g)    Real Estate Opinion Letter. The opinion of counsel to the Issuer in the
jurisdiction in which a Mortgaged Property is located, dated as of the date of the Mortgages and
addressed to the Collateral Agent, the Trustee and the Collateral Agent, in form and substance
reasonably satisfactory to the Collateral Agent, relating to the enforceability of the Mortgages.


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Section 4.20   Business of Holdings.

         Holdings shall not engage in any business activities or have any assets or liabilities other
than its ownership of the Capital Stock of the Issuer and liabilities incidental thereto and
liabilities pursuant to the Credit Agreement and the New Notes Indenture.

Section 4.21   Limited Condition Transactions; Measuring Compliance.

                (a)    With respect to any (i) Investment or acquisition, in each case, the
consummation by the Issuer or any Restricted Subsidiary of the Issuer of which is not
conditioned on availability of, or on obtaining, third-party financing for such Investment or
acquisition (whether by merger, amalgamation, consolidation or other business combination or
the acquisition of Capital Stock or otherwise) as applicable and (ii) redemption, repurchase,
defeasance, satisfaction and discharge or repayment of Indebtedness, Disqualified Stock or
preferred stock requiring irrevocable notice in advance of such redemption, repurchase,
defeasance, satisfaction and discharge or repayment (any transaction described in clauses (i) or
(ii), a “Limited Condition Transaction”), in each case for purposes of determining:

               (1)     whether any Indebtedness (including Acquired Debt), Disqualified Stock
       or preferred stock that is being incurred or issued in connection with such Limited
       Condition Transaction is permitted to be incurred in compliance with Section 4.07;

               (2)    whether any Lien being incurred in connection with such Limited
       Condition Transaction or to secure any such Indebtedness, Disqualified Stock or
       preferred stock is permitted to be incurred in accordance with Section 4.10;

              (3)    whether any other transaction undertaken or proposed to be undertaken in
       connection with such Limited Condition Transaction complies with the covenants or
       agreements contained in this Indenture or the Notes; and

              (4)     any calculation of the Fixed Charge Coverage Ratio, Net Income,
       Consolidated Net Income, and/or Consolidated Adjusted EBITDA and/or Total Assets
       and, whether a Default or Event of Default exists in connection with the foregoing,

       at the option of the Issuer, the date that the definitive agreement (or other relevant
       definitive documentation) for such Limited Condition Transaction is entered into (the
       “Transaction Agreement Date”) may be used as the applicable date of determination, as
       the case may be, in each case with such pro forma adjustments as are appropriate and
       consistent with the pro forma adjustment provisions set forth in the definition of “Fixed
       Charge Coverage Ratio” or “Consolidated Adjusted EBITDA” and if the Issuer or the
       Restricted Subsidiaries could have taken such action on the relevant Transaction
       Agreement Date in compliance with the applicable ratios or other provisions, such
       provisions shall be deemed to have been complied with. For the avoidance of doubt, if
       the Issuer elects to use the Transaction Agreement Date as the applicable date of
       determination in accordance with the foregoing, (a) such election may not be revoked, (b)
       any fluctuation or change in the Fixed Charge Coverage Ratio, Net Income, Consolidated
       Net Income, Consolidated Adjusted EBITDA or Total Assets of the Issuer, the target
       business, or assets to be acquired subsequent to the Transaction Agreement Date and
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       prior to the consummation of such Limited Condition Transaction, will not be taken into
       account for purposes of determining whether any Indebtedness, Disqualified Stock,
       preferred stock or Lien that is being incurred or issued in connection with such Limited
       Condition Transaction is permitted to be incurred or issued or in connection with
       compliance by the Issuer or any of the Restricted Subsidiaries with any other provision of
       this Indenture or the Notes or any other action or transaction undertaken in connection
       with such Limited Condition Transaction and (c) until such Limited Condition
       Transaction is consummated or the definitive agreements related thereto are terminated,
       such Limited Condition Transaction and all transactions proposed to be undertaken in
       connection therewith (including the incurrence of Indebtedness and Liens) will be given
       pro forma effect when determining compliance of other transactions (including the
       incurrence or issuance of Indebtedness, Disqualified Stock, preferred stock and Liens
       unrelated to such Investment, acquisition or repayment, repurchase or refinancing of
       Indebtedness) that are consummated after the Transaction Agreement Date and on or
       prior to the consummation of such Limited Condition Transaction and any such
       transactions (including any incurrence or issuance of Indebtedness, Disqualified Stock or
       preferred stock and the use of proceeds thereof) will be deemed to have occurred on the
       Transaction Agreement Date and outstanding thereafter for purposes of calculating any
       baskets or ratios under this Indenture after the date of such agreement and before the
       consummation of such Limited Condition Transaction; provided that for purposes of any
       such calculation of the Fixed Charge Coverage Ratio, consolidated interest expense will
       be calculated using an assumed interest rate for the Indebtedness to be incurred in
       connection with such Limited Condition Transaction based on the indicative interest
       margin contained in any financing commitment documentation with respect to such
       Indebtedness or, if no such indicative interest margin exists, as reasonably determined by
       the Issuer in good faith.

              (b)     Compliance with any requirement relating to absence of Default or Event
of Default may be determined as of the Transaction Agreement Date and not as of any later date
as would otherwise be required under this Indenture.

                (c)     In the event an item of Indebtedness, Disqualified Stock or preferred stock
(or any portion thereof) is incurred or issued or other transaction is undertaken on the same date
that any other item of Indebtedness, Disqualified Stock or preferred stock (or any portion
thereof) is incurred or issued, any other Lien is incurred or other transaction is undertaken, then
the Fixed Charge Coverage Ratio will be calculated with respect to such incurrence, issuance or
other transaction without regard to any other incurrence, issuance or transaction. Each item of
Indebtedness, Disqualified Stock or preferred stock that is incurred or issued and each other
transaction undertaken will be deemed to have been incurred, issued or taken first, to the extent
available, pursuant to the relevant Fixed Charge Coverage Ratio test.

                                           ARTICLE 5

                                         SUCCESSORS

Section 5.01   Consolidation, Amalgamation, Merger, or Sale of Assets.


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                (a)     The Issuer will not, directly or indirectly: (i) consolidate, amalgamate or
merge with or into another Person; or (ii) sell, assign, transfer, convey or otherwise dispose of
(including by way of division) all or substantially all of the Issuer’s properties or assets
(determined on a consolidated basis for the Issuer and its Restricted Subsidiaries) in one or more
related transactions to another Person, unless:

               (1)     either:

                       (A)       the Issuer is the surviving entity; or

                       (B)    the Person formed by or surviving any such consolidation or
               merger (if other than the Issuer) or to which such sale, assignment, transfer,
               conveyance or other disposition has been made is a corporation, partnership
               (including a master limited partnership) or limited liability company organized or
               existing under the laws of the United States, any state of the United States or the
               District of Columbia;

               (2)     the Person formed by or surviving any such consolidation or merger (if
       other than the Issuer) or the Person to which such sale, assignment, transfer, conveyance
       or other disposition has been made assumes all the obligations of the Issuer under the
       Notes, this Indenture and the Security Documents pursuant a supplemental indenture and
       amendments to the Security Documents;

               (3)     immediately after such transaction, no Default or Event of Default exists;

               (4)    the Issuer or the Person formed by or surviving any such consolidation or
       merger (if other than the Issuer), or to which such sale, assignment, transfer, conveyance
       or other disposition has been made would, on the date of such transaction after giving pro
       forma effect thereto and any related financing transactions as if the same had occurred at
       the beginning of the applicable four−quarter period be permitted to incur at least $1.00 of
       additional Indebtedness pursuant to Section 4.07(a) hereof;

               (5)     the successor entity causes such amendments, supplements or other
       instruments to be executed, delivered, filed and recorded, as applicable, in such
       jurisdictions as may be required by applicable law to preserve and protect the Lien of the
       Security Documents on the Collateral owned by or transferred to the successor entity;

               (6)     the Collateral owned by or transferred to the successor entity shall
       (a) continue to constitute Collateral under this Indenture and the Security Documents,
       (b) be subject to the Lien in favor of the Collateral Agent for the benefit of the Trustee
       and the Holders, and (c) not be subject to any Lien other than Permitted Liens; and

               (7)     the property and assets of the Person which is merged or consolidated with
       or into the successor entity, to the extent that they are property or assets of the types
       which would constitute Collateral under the Security Documents, shall be treated as
       after-acquired property and the successor entity shall take such action as may be
       reasonably necessary to cause such property and assets to be made subject to the Lien of
       the Security Documents in the manner and to the extent required in this Indenture; and

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               (8)     the Issuer has delivered to the Trustee an Officer’s Certificate and an
        Opinion of Counsel, each stating that such consolidation, amalgamation, merger, sale,
        assignment, transfer, conveyance or other disposition and such supplemental indenture
        and amendments comply with this Indenture and the Security Documents and that all
        conditions precedent therein provided for relating to such transaction have been complied
        with.

                (b)     The Issuer shall not, directly or indirectly, lease all or substantially all of
the properties and assets of it and its Restricted Subsidiaries taken as a whole, in one or more
related transactions, to any other Person.

                (c)     This Section 5.01 will not apply to:

               (1)     a merger of the Issuer with an Affiliate solely for the purpose of
        reincorporating the Issuer under the laws of Canada or any province or territory thereof or
        the United States, any state of the United States or the District of Columbia; and

                (2)    any consolidation, amalgamation, merger, or any sale, assignment,
        transfer, conveyance, lease or other disposition of assets between or among the Issuer and
        any Guarantor.

Section 5.02    Successor Substituted.

                 Upon any consolidation or merger, or any sale, assignment, transfer, lease,
conveyance or other disposition of all or substantially all of the properties or assets of the Issuer,
in a transaction that is subject to, and that complies with the provisions of, Section 5.01 hereof,
the successor Person formed by such consolidation or into or with which the Issuer is merged or
to which such sale, assignment, transfer, lease, conveyance or other disposition is made shall
succeed to, and be substituted for (so that from and after the date of such consolidation, merger,
sale, assignment, transfer, lease, conveyance or other disposition, the provisions of this Indenture
referring to the “Issuer” shall refer instead to the successor Person and not to the Issuer), and
may exercise every right and power of the Issuer under this Indenture with the same effect as if
such successor Person had been named as the Issuer herein; provided, however, that the Issuer
shall not be relieved from the obligation to pay the principal of and interest on the Notes except
in the case of a sale of all or substantially all of the Issuer’s properties or assets in a transaction
that is subject to, and that complies with the provisions of, Section 5.01 hereof.

Section 5.03    Evidence to Be Given to Trustee.

               No consolidation, merger, sale, conveyance, transfer or lease shall be effective
unless the Trustee shall receive an Officer’s Certificate and an Opinion of Counsel as conclusive
evidence that any such consolidation, merger, sale, conveyance, transfer or lease and any such
assumption and, if a supplemental indenture is required in connection with such transaction, such
supplemental indenture, complies with the provisions of this Article 5.




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                                           ARTICLE 6

                                 DEFAULTS AND REMEDIES

Section 6.01   Events of Default and Remedies.

               Each of the following is an “Event of Default”:

               (1)    default for 30 days in the payment when due of interest on the Notes;

              (2)     default in the payment when due (at maturity, upon redemption or
       otherwise) of the principal of, or Applicable Premium or any other premium, if any, on,
       the Notes;

               (3)     failure by the Issuer or any of the Issuer’s Restricted Subsidiaries for 60
       days after notice to the Issuer by the Trustee or the Holders of at least 25% in aggregate
       principal amount of the Notes then outstanding voting as a single class to comply with
       any of the other agreements in this Indenture or the Security Documents;

               (4)    default under any mortgage, indenture or instrument under which there
       may be issued or by which there may be secured or evidenced any Indebtedness for
       money borrowed by the Issuer or any of the Issuer’s Restricted Subsidiaries that are
       Significant Subsidiaries or any group of the Issuer’s Restricted Subsidiaries that taken as
       a whole would constitute a Significant Subsidiary of the Issuer (or the payment of which
       is guaranteed by the Issuer or any of the Issuer’s Restricted Subsidiaries), whether such
       Indebtedness or Guarantee now exists, or is created after the Issue Date (but excluding
       Indebtedness owing to the Issuer or a Restricted Subsidiary of the Issuer), if that default:

                      (A)     is caused by a failure to pay principal on such Indebtedness prior to
               the expiration of the grace period provided in such Indebtedness following the
               Stated Maturity of such Indebtedness (a “Payment Default”); or

                       (B)    results in the acceleration of such Indebtedness prior to its Stated
               Maturity, and, in each case, the principal amount of any such Indebtedness,
               together with the principal amount of any other such Indebtedness under which
               there has been a Payment Default or the maturity of which has been so
               accelerated, aggregates $35.0 million or more;

               (5)    failure by the Issuer or any of the Issuer’s Restricted Subsidiaries that are
       Significant Subsidiaries, or any group of the Issuer’s Restricted Subsidiaries that taken as
       a whole would constitute a Significant Subsidiary, to pay final and non−appealable
       judgments entered by a court or courts of competent jurisdiction aggregating in excess of
       $35.0 million (net of any amounts which are covered by insurance or bonded), which
       judgments are not paid, waived, satisfied, discharged or stayed for a period of 60 days;

               (6)     the Issuer or any of the Issuer’s Restricted Subsidiaries that is a Significant
       Subsidiary or any group of the Issuer’s Restricted Subsidiaries that, taken together, would
       constitute a Significant Subsidiary pursuant to or within the meaning of Bankruptcy Law:

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               (A)     commences a voluntary case, or proceeding (including the filing of
       a notice of intention in respect thereof),

              (B)     consents to the entry of an order for relief against it in an
       involuntary case or proceeding,

               (C)     consents to the appointment of a custodian, receiver,
       receiver−manager, administrative receiver, administrator, liquidator, trustee,
       liquidation custodian, sequestrator, conservator, or similar official of it or for all
       or substantially all of its property, or

               (D)     makes a general assignment for the benefit of its creditors.

      (7)    a court of competent jurisdiction enters an order or decree under any
Bankruptcy Law that:

              (A)     is for relief against the Issuer or any of the Issuer’s Restricted
       Subsidiaries that is a Significant Subsidiary or any group of the Issuer’s Restricted
       Subsidiaries that, taken together, would constitute a Significant Subsidiary in an
       involuntary case or proceeding;

                (B)    appoints a custodian, receiver, receiver−manager, administrative
       receiver, administrator, liquidator, trustee, liquidation custodian, sequestrator,
       conservator, or similar official of the Issuer or any of the Issuer’s Restricted
       Subsidiaries that is a Significant Subsidiary or any group of the Issuer’s Restricted
       Subsidiaries that, taken together, would constitute a Significant Subsidiary or for
       all or substantially all of the property of the Issuer or any of the Issuer’s
       Restricted Subsidiaries that is a Significant Subsidiary or any group of the Issuer’s
       Restricted Subsidiaries that, taken together, would constitute a Significant
       Subsidiary; or

               (C)    orders the liquidation, winding up, or dissolution or a suspension
       of payments against the Issuer or any of the Issuer’s Restricted Subsidiaries that is
       a Significant Subsidiary or any group of the Issuer’s Restricted Subsidiaries that,
       taken together, would constitute a Significant Subsidiary;

and the order or decree remains unstayed and in effect for 60 consecutive days;

        (8)     except as permitted by this Indenture, any Note Guarantee of any
Restricted Subsidiary of the Issuer that is a Significant Subsidiary or any group of the
Issuer’s Restricted Subsidiaries that taken as a whole would constitute a Significant
Subsidiary of the Issuer is held in any judicial proceeding to be unenforceable or invalid
or ceases for any reason to be in full force and effect (other than in accordance with the
terms of such Note Guarantee and this Indenture), or any Guarantor, or any Person acting
on behalf of any such Guarantor, denies or disaffirms its obligations under its Note
Guarantee and such Default continues for ten days;



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                (9)     any (x) Security Document governing a security interest with respect to
       any Collateral having a Fair Market Value in excess of $35.0 million or (y) obligation
       under the Security Documents of the Issuer or any of the Issuer’s Restricted Subsidiaries
       that is a Significant Subsidiary or any group of Restricted Subsidiaries of the Issuer that,
       taken together as of the latest audited consolidated financial statements for the Issuer and
       its Restricted Subsidiaries would constitute a Significant Subsidiary ceases to be in full
       force and effect (except as contemplated by the terms of this Indenture and the Note
       Guarantees and except for the failure of any security interest with respect to the Collateral
       to remain in full force and effect, which is governed by clause (10) below) or is declared
       null and void in a judicial proceeding or the Issuer or any Guarantor that is a Significant
       Subsidiary or group of Guarantors that taken together as of the latest audited consolidated
       financial statements of the Issuer and its Restricted Subsidiaries would constitute a
       Significant Subsidiary denies or disaffirms its obligations under this Indenture, its Note
       Guarantee or any Security Document and the Issuer fails to cause such Guarantor or
       Guarantors, as the case may be, to rescind such denials or disaffirmations within 60 days;

                (10) with respect to any Collateral having a Fair Market Value in excess of
       $35.0 million, individually or in the aggregate, (A) the failure of the security interest with
       respect to such Collateral under the Security Documents, at any time, to be in full force
       and effect, perfected and having the priorities set forth in the Intercreditor Agreements,
       for any reason other than in accordance with their terms and the terms of this Indenture
       and other than the satisfaction in full of all obligations under this Indenture and discharge
       of this Indenture if such failure continues for 60 days or (B) the declaration that the
       security interest with respect to such Collateral created under the Security Documents or
       under this Indenture is invalid or unenforceable, if such Default continues for 60 days or
       (C) the assertion by the Issuer or any Guarantor, in any pleading in any court of
       competent jurisdiction, that any such security interest is invalid or unenforceable; and

               (11) any of the Intercreditor Agreements shall cease, for any reason (other than
       by reason of the express release or termination thereof in accordance with the terms
       thereof or hereof) to be in full force and effect or shall be asserted in writing by the Issuer
       or any Guarantor not to be a legal, valid and binding obligation of any party thereof.

Section 6.02   Acceleration.

               (a)    In the case of an Event of Default specified in clause (6) or (7) of
Section 6.01 hereof, with respect to the Issuer or any Restricted Subsidiary of the Issuer that is a
Significant Subsidiary or any group of Restricted Subsidiaries of the Issuer that, taken together,
would constitute a Significant Subsidiary, all outstanding Notes (including the Redemption
Premium) will become due and payable immediately without further action or notice. If any
other Event of Default occurs and is continuing, the Trustee or the Holders of at least 25% in
aggregate principal amount of the then outstanding Notes may declare all the Notes (including
the Redemption Premium) to be due and payable immediately. Upon any such declaration, the
Notes (including the Redemption Premium) shall become due and payable immediately.

               (b)    In the event of any Event of Default specified in clause (4) of
Section 6.01, such Event of Default and all consequences thereof (excluding, however, any

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resulting payment default) will be annulled, waived and rescinded, automatically and without
any action by the Trustee or the Holders, if within 20 days after such Event of Default arose the
Issuer delivers an Officer’s Certificate to the Trustee stating that (x) the Indebtedness or
Guarantee that is the basis for such Event of Default has been discharged or (y) the holders
thereof have rescinded or waived the acceleration, notice or action (as the case may be) giving
rise to such Event of Default or (z) the default that is the basis for such Event of Default has been
cured, it being understood that in no event shall an acceleration of the principal amount of the
Notes as described in this Section 6.02 be annulled, waived or rescinded upon the happening of
any such events.

                 (c)     If the Notes are accelerated or otherwise become due prior to their
maturity date as a result of an Event of Default or by operation of law or an Applicable Premium
Event occurs, the principal of, accrued and unpaid interest and premium on the Notes subject to
such Applicable Premium Event shall be due and payable. If the Notes are accelerated or
otherwise become due prior to their maturity date, in each case, as a result of an Event of Default
or by operation of law or any Applicable Premium Event occurs prior to August 1, 2023, the
amount of principal of, accrued and unpaid interest and premium on the Notes that becomes due
and payable shall equal the redemption price applicable with respect to an optional redemption of
the Notes, in effect on the date of such acceleration, Applicable Premium Event or the date on
which the Notes otherwise become due as if such acceleration or other circumstance causing the
Notes to become due were an optional redemption of the Notes accelerated or becoming due (the
“Redemption Premium”). In any such case, the Redemption Premium shall constitute part of the
obligations payable by the Issuer (and guaranteed by the Guarantors) in respect of the Notes,
which obligations are secured by the Collateral, and constitutes liquidated damages, not
unmatured interest or a penalty, as the actual amount of damages to the holders as a result of the
relevant Applicable Premium Event would be impracticable and extremely difficult to ascertain.
Accordingly, the Redemption Premium is provided by mutual agreement of the Issuer and the
Guarantors and the holders of the Notes as a reasonable estimation and calculation of such actual
lost profits and other actual damages of such holders. Without limiting the generality of the
foregoing, it is understood and agreed that upon the occurrence of any Applicable Premium
Event, the Redemption Premium shall be automatically and immediately due and payable as
though any Notes subject to an Applicable Premium Event were voluntarily prepaid as of such
date and shall constitute part of the obligations payable by the Issuer (and guaranteed by the
Guarantors) in respect of the Notes, which obligations are secured by the Collateral. The
Redemption Premium shall also be automatically and immediately due and payable if the Notes
are satisfied, released or discharged by foreclosure (whether by power of judicial proceeding or
otherwise), deed in lieu of foreclosure or by any other means. THE ISSUER AND THE
GUARANTORS HEREBY EXPRESSLY WAIVE (TO THE FULLEST EXTENT THEY MAY
LAWFULLY DO SO) THE PROVISIONS OF ANY PRESENT OR FUTURE STATUTE OR
OTHER LAW THAT PROHIBITS OR MAY PROHIBIT THE COLLECTION OF THE
FOREGOING REDEMPTION PREMIUM IN CONNECTION WITH ANY SUCH EVENTS,
ANY RESCISSION OF SUCH ACCELERATION OR THE COMMENCEMENT OF ANY
BANKRUPTCY OR INSOLVENCY EVENT. The Issuer and the Guarantors expressly agree (to
the fullest extent it and they may lawfully do so) that with respect to the Redemption Premium
payable under the terms of the Indenture: (i) the Redemption Premium is reasonable and is the
product of an arm’s length transaction between sophisticated business parties, ably represented
by counsel; (ii) the Redemption Premium shall be payable notwithstanding the then-prevailing
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market rates at the time payment is made; (iii) there has been a course of conduct between the
holders of the Notes and the Issuer and the Guarantors giving specific consideration in this
transaction for such agreement to pay the Redemption Premium; and (iv) the Issuer and the
Guarantors shall be estopped hereafter from claiming differently than as agreed to in this
paragraph. The Issuer and the Guarantors expressly acknowledge that their agreement to pay the
Redemption Premium as herein described is a material inducement to the holders of the Notes to
purchase the Notes.

Section 6.03   Other Remedies.

                (a)    The Trustee may pursue any available remedy to collect the payment of
principal, Applicable Premium, any other premium and interest on the Notes or to enforce the
performance of any provision of the Notes, Note Guarantees or this Indenture, including giving
instructions to the Collateral Agent to take enforcement action in accordance with the terms of
the Security Documents.

               (b)     The Trustee may maintain a proceeding even if it does not possess any of
the Notes or does not produce any of them in the proceeding. A delay or omission by the Trustee
or any Holder in exercising any right or remedy accruing upon an Event of Default shall not
impair the right or remedy or constitute a waiver of or acquiescence in the Event of Default. All
remedies are cumulative to the extent permitted by law.

Section 6.04   Waiver of Past Defaults.

               Holders of not less than a majority in aggregate principal amount of the then
outstanding Notes by written notice to the Trustee may, on behalf of the Holders of all of the
Notes, rescind an acceleration or waive an existing Default or Event of Default and its
consequences hereunder except a continuing Default or Event of Default in the payment of
interest or Applicable Premium or any other premium on, or the principal of, the Notes. Upon
any such rescission or waiver, such Default shall cease to exist, and any Event of Default arising
therefrom shall be deemed to have been cured for every purpose of this Indenture; but no such
waiver shall extend to any subsequent or other Default or impair any right consequent thereon.

Section 6.05   Control by Majority.

                Holders of a majority in aggregate principal amount of the then outstanding Notes
may direct the time, method and place of conducting any proceeding for exercising any remedy
available to the Trustee or exercising any trust or power conferred on it. However, the Trustee
may refuse to follow any direction that conflicts with law or this Indenture that the Trustee
determines may be unduly prejudicial to the rights of other Holders or that may involve the
Trustee in personal liability.

Section 6.06   Limitation on Suits.

               (a)    A Holder may pursue a remedy with respect to this Indenture or the Notes
only if:



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              (1)      such Holder has previously given the Trustee written notice that an Event
       of Default is continuing;

              (2)    Holders of at least 25% in aggregate principal amount of the then
       outstanding Notes have requested the Trustee in writing to pursue the remedy;

               (3)     such Holder or Holders offer and, if requested, provide to the Trustee
       security or indemnity satisfactory to the Trustee against any loss, liability or expense;

               (4)     the Trustee does not comply with the request within 60 days after receipt
       of the request and the offer of security or indemnity; and

              (5)     during such 60−day period, Holders of a majority in aggregate principal
       amount of the then outstanding Notes do not give the Trustee a written direction
       inconsistent with such request.

               (b)     A Holder may not use this Indenture to prejudice the rights of another
Holder or to obtain a preference or priority over another Holder.

Section 6.07   Rights of Holders to Receive Payment.

               Notwithstanding any other provision of this Indenture, the contractual right of any
Holder to bring suit for the payment of principal, Applicable Premium or any other premium, if
any, and interest on its Note, on or after the respective due dates expressed or provided for in
such Note , shall not be amended without the consent of such Holder.

Section 6.08   Collection Suit by Trustee.

                If an Event of Default specified in clauses (1) or (2) of Section 6.01 hereof occurs
and is continuing, the Trustee is authorized to recover judgment in its own name and as trustee of
an express trust against the Issuer for the whole amount of principal of, Applicable Premium or
any other premium, if any, and interest remaining unpaid on, the Notes and interest on overdue
principal and, to the extent lawful, interest and such further amount as shall be sufficient to cover
the costs and expenses of collection, including the reasonable compensation, expenses,
disbursements and advances of the Trustee, its agents and counsel.

Section 6.09   Trustee or Collateral Agent May File Proofs of Claim.

                The Trustee or the Collateral Agent is authorized to file such proofs of claim and
other papers or documents as may be necessary or advisable in order to have the claims of the
Trustee or the Collateral Agent (including any claim for the compensation, expenses,
disbursements and advances of the Trustee or the Collateral Agent, their agents and counsel) and
the Holders allowed in any judicial proceedings relative to the Issuer (or any other obligor upon
the Notes), its creditors or its property and shall be entitled and empowered to collect, receive
and distribute any money or other property payable or deliverable on any such claims and any
custodian in any such judicial proceeding is hereby authorized by each Holder to make such
payments to the Trustee or the Collateral Agent, and in the event that the Trustee shall consent to
the making of such payments directly to the Holders, to pay to the Trustee or the Collateral

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Agent any amount due to it for the reasonable and documented compensation, expenses,
disbursements and advances of the Trustee or the Collateral Agent, their agents and counsel, and
any other amounts due the Trustee or the Collateral Agent under Section 7.07 hereof. To the
extent that the payment of any such compensation, expenses, disbursements and advances of the
Trustee or the Collateral Agent, their agents and counsel, and any other amounts due the Trustee
under Section 7.07 hereof out of the estate in any such proceeding, shall be denied for any
reason, payment of the same shall be secured by a Lien on, and shall be paid out of, any and all
distributions, dividends, money, securities and other properties that the Holders may be entitled
to receive in such proceeding whether in liquidation or under any plan of reorganization or
arrangement or otherwise. Nothing herein contained shall be deemed to authorize the Trustee or
the Collateral Agent to authorize or consent to or accept or adopt on behalf of any Holder any
plan of reorganization, arrangement, adjustment or composition affecting the Notes or the rights
of any Holder, or to authorize the Trustee or the Collateral Agent to vote in respect of the claim
of any Holder in any such proceeding.

Section 6.10   Priorities.

                (a)   If the Trustee collects any money pursuant to this Article 6, it shall,
subject to the ABL Intercreditor Agreement (to the extent applicable), pay out the money in the
following order:

               First: to the Trustee, the Collateral Agent, and each of their respective agents and
attorneys for amounts due hereunder or under Section 7.07 hereof, including payment of all
compensation, expenses and liabilities incurred, and all advances made, by the Trustee and the
Collateral Agent and the costs and expenses of collection;

               Second: to Holders for amounts due and unpaid on the Notes for principal,
Applicable Premium, any other premium and interest, ratably, without preference or priority of
any kind, according to the amounts due and payable on the Notes for principal, Applicable
Premium, any other premium and interest, respectively; and

                Third: to the Issuer or to such party as a court of competent jurisdiction shall
direct in writing.

              (b)     The Trustee may fix a record date and payment date for any payment to
Holders pursuant to this Section 6.10.

Section 6.11   Undertaking for Costs.

                 In any suit for the enforcement of any right or remedy under this Indenture or in
any suit against the Trustee or the Collateral Agent for any action taken or omitted by it as a
Trustee or the Collateral Agent, a court in its discretion may require the filing by any party
litigant in the suit of an undertaking to pay the costs of the suit, and the court in its discretion
may assess reasonable costs, including reasonable attorneys’ fees and expenses against any party
litigant in the suit, having due regard to the merits and good faith of the claims or defenses made
by the party litigant. This Section 6.11 does not apply to a suit by the Trustee or the Collateral
Agent, a suit by a Holder pursuant to Section 6.07 hereof, or a suit by Holders of more than 10%
in aggregate principal amount of the then outstanding Notes.
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                                           ARTICLE 7

                                            TRUSTEE

Section 7.01   Duties of Trustee.

                (a)      If an Event of Default has occurred and is continuing, the Trustee will
exercise such of the rights and powers vested in it by this Indenture, and use the same degree of
care and skill in its exercise, as a prudent person would exercise or use under the circumstances
in the conduct of such person’s own affairs.

               (b)    Except during the continuance of an Event of Default:

               (1)     the duties of the Trustee will be determined solely by the express
       provisions of this Indenture and the Trustee need perform only those duties that are
       specifically set forth in this Indenture and no others, and no implied covenants or
       obligations shall be read into this Indenture against the Trustee; and

                (2)     in the absence of bad faith on its part, the Trustee may conclusively rely,
       as to the truth of the statements and the correctness of the opinions expressed therein,
       upon certificates or opinions furnished to the Trustee and conforming to the requirements
       of this Indenture. However, with respect to certificates or opinions specifically required
       by any provision hereof to be furnished to it, the Trustee will examine the certificates and
       opinions to determine whether or not they conform to the requirements of this Indenture
       (but need not confirm or investigate the accuracy of mathematical calculations or other
       facts stated therein).

                (c)    The Trustee may not be relieved from liabilities for its own negligent
action, its own negligent failure to act, or its own willful misconduct, except that:

               (1)    this Section 7.01(c) does not limit the effect of Section 7.01(b);

               (2)    the Trustee will not be liable for any error of judgment made in good faith
       by a Responsible Officer, unless it is proved that the Trustee was negligent in
       ascertaining the pertinent facts; and

               (3)    the Trustee will not be liable with respect to any action it takes or omits to
       take in good faith in accordance with a direction received by it pursuant to Sections 6.04
       and 6.05 hereof, relating to the time, method and place of conducting any proceeding for
       any remedy available to the Trustee, or exercising any trust or power conferred upon the
       Trustee, under this Indenture with respect to the Notes.

              (d)    No provision of this Indenture will require the Trustee to expend or risk its
own funds or incur any liability.

                (e)    The Trustee will not be liable for interest on or the investment of any
money received by it except as the Trustee may agree in writing with the Issuer. Money held in
trust by the Trustee need not be segregated from other funds except to the extent required by law.

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                (f)    Whether or not therein expressly so provided, every provision of this
Indenture that in any way relates to the Trustee is subject to Section 7.01.

Section 7.02   Rights of Trustee.

                (a)     The Trustee may conclusively rely and shall be fully protected in acting or
refraining from acting upon any resolution, certificate, statement, instrument, opinion, report,
notice, request, direction, consent, order, bond, debenture, note, other evidence of indebtedness
or other paper or document believed by it to be genuine and to have been signed or presented by
the proper Person.

                (b)    Before the Trustee acts or refrains from acting, it may require an Officer’s
Certificate or an Opinion of Counsel or both. The Trustee will not be liable for any action it takes
or omits to take in good faith in reliance on such Officer’s Certificate or Opinion of Counsel. The
Trustee may consult with counsel of its own selection and the advice of such counsel or any
Opinion of Counsel will be full and complete authorization and protection from liability in
respect of any action taken, suffered or omitted by it hereunder in good faith and in reliance
thereon.

               (c)     The Trustee may act through its attorneys and agents and will not be
responsible for the misconduct, negligence or failure to act of any attorney or agent appointed
with due care.

               (d)      The Trustee will not be liable for any action it takes, suffers or omits to
take in good faith that it believes to be authorized or within the discretion or rights or powers
conferred upon it by this Indenture.

                (e)    Unless otherwise specifically provided in this Indenture, any demand,
request, direction or notice from the Issuer or any Guarantor, as applicable, will be sufficient if
signed by an Officer of the Issuer or such Guarantor, as applicable.

                 (f)     The Trustee will be under no obligation to exercise any of the rights or
powers vested in it by this Indenture or the Security Documents at the request or direction of any
of the Holders unless such Holders have offered to the Trustee indemnity or security satisfactory
to it against the losses, liabilities and expenses that might be incurred by it in compliance with
such request or direction.

                 (g)     In no event shall the Trustee be responsible or liable for special, indirect,
punitive, or consequential loss or damage of any kind whatsoever (including, but not limited to,
loss of profit) irrespective of whether the Trustee has been advised of the likelihood of such loss
or damage and regardless of the form of action.

               (h)     The Trustee shall not be deemed to have notice of any Default or Event of
Default unless a Responsible Officer of the Trustee has actual knowledge thereof or unless
written notice of any event which is in fact such a default is received by the Trustee at the
Corporate Trust Office of the Trustee, and such notice references the Notes and this Indenture.



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               (i)     The rights, privileges, protections, immunities and benefits given to the
Trustee, including, without limitation, its right to be indemnified, are extended to, and shall be
enforceable by, the Trustee in each of its capacities hereunder as Collateral Agent, Registrar and
Paying Agent, and each Agent, custodian and other Person employed to act hereunder.

               (j)      The Trustee may request that the Issuer and each Guarantor deliver an
Officer’s Certificate setting forth the names of individuals and/or titles of Officers authorized at
such time to take specified actions pursuant to this Indenture, which Officer’s Certificate may be
signed by any Person authorized to sign an Officer’s Certificate, including any Person specified
as so authorized in any such certificate previously delivered and not superseded.

                 (k)    Notwithstanding any provision herein to the contrary, in no event shall the
Trustee be liable for any failure or delay in the performance of its obligations under this
Indenture because of circumstances beyond its control, including, but not limited to, nuclear or
natural catastrophes or acts of God, flood, war (whether declared or undeclared), terrorism, fire,
riot, strikes or work stoppages for any reason, embargo, government action, including any laws,
ordinances, regulations or the like which restrict or prohibit the providing of the services
contemplated by this Indenture, inability to obtain material, equipment, or communications or
computer (software and hardware) facilities, or the failure of equipment or interruption of
utilities, communications or computer (software and hardware) facilities, and other causes
beyond its control whether or not of the same class or kind as specifically named above.

                (l)     The Trustee shall not be bound to make any investigation into the facts or
matters stated in any resolution, certificate, statement, instrument, opinion, report, notice,
request, direction, consent, order, bond, debenture, note, other evidence of indebtedness or other
paper or document, but the Trustee, in its discretion, may make such further inquiry or
investigation into such facts or matters as it may see fit, and, if the Trustee shall determine to
make such further inquiry or investigation, it shall be entitled to examine the books, records and
premises of the Issuer, personally or by agent or attorney at the sole cost of the Issuer and shall
incur no liability or additional liability of any kind by reason of such inquiry or investigation.

              (m)      The Trustee shall not be required to give any bond or surety in respect of
the performance of its powers and duties hereunder.

               (n)     The permissive rights of the Trustee hereunder shall not be construed as
duties.

Section 7.03   Individual Rights of Trustee.

                The Trustee in its individual or any other capacity may become the owner or
pledgee of Notes and may otherwise deal with either Issuer or any Guarantor or any Affiliate of
either Issuer or any Guarantor with the same rights it would have if it were not Trustee.
However, in the event that the Trustee acquires any conflicting interest it must (i) eliminate such
conflict within 90 days or (ii) resign. Any Agent may do the same with like rights and duties.
The Trustee is also subject to Section 7.10 hereof.

Section 7.04   Trustee’s Disclaimer.


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                 The Trustee will not be responsible for and makes no representation as to the
validity or adequacy of any offering materials, this Indenture, the Notes or any Note Guarantee,
it shall not be accountable for the Issuer’s use of the proceeds from the Notes or any money paid
to the Issuer or upon the Issuer’s direction under any provision of this Indenture, it will not be
responsible for the use or application of any money received by any Paying Agent other than the
Trustee, and it will not be responsible for any statement or recital herein or any statement in the
Notes, any Note Guarantee or any other document in connection with the sale of the Notes or
pursuant to this Indenture other than its certificate of authentication.

Section 7.05   Notice of Defaults.

                 If a Default or Event of Default occurs and is continuing and if it is known to the
Trustee, the Trustee will mail or otherwise deliver in accordance with the applicable procedures
of DTC, to Holders a notice of the Default or Event of Default within 90 days after it occurs.
Except in the case of a Default or Event of Default in payment of principal of, Applicable
Premium, any other premium, if any, or interest on, any Note, the Trustee may and shall be
protected in withholding the notice if and so long as it in good faith determines that withholding
the notice is in the interests of the Holders.

Section 7.06   [Reserved].

Section 7.07   Compensation and Indemnity.

               (a)      The Issuer will pay to each of the Trustee and the Collateral Agent from
time to time such compensation, as agreed in writing from time to time, for its acceptance and
administration of this Indenture, the Intercreditor Agreements and/or the other the Security
Documents and services hereunder. The Trustee’s and the Collateral Agent’s compensation will
not be limited by any law on compensation of a trustee of an express trust. The Issuer will
reimburse each of the Trustee and the Collateral Agent promptly upon request for all reasonable
and documented disbursements, advances and expenses incurred or made by it in addition to the
compensation for its services. Such expenses will include the reasonable and documented
compensation, disbursements and expenses of each of the Trustee’s and the Collateral Agent’s
agents and counsel.

                (b)    The Issuer and each Guarantor, jointly and severally, will indemnify each
of the Trustee, the Collateral Agent and their respective officers, agents, directors and employees
and hold each of them harmless from and against any and all losses, liabilities, claims, damages,
costs or expenses incurred by it arising out of or in connection with the acceptance or
administration of its duties or the exercise of their respective rights under this Indenture, the
Intercreditor Agreements and/or the other the Security Documents, including the reasonable and
documented costs and expenses of enforcing this Indenture, the Intercreditor Agreements and/or
the other the Security Documents against the Issuer and the Guarantors (including this
Section 7.07) and defending itself against any claim (whether asserted by the Issuer, the
Guarantors, any Holder or any other Person) or liability in connection with the exercise or
performance of any of its powers or duties hereunder, except to the extent any such loss, liability
or expense is the result of its own gross negligence or willful misconduct. The Trustee or the
Collateral Agent, as the case may be, will notify the Issuer promptly of any claim of which it or a

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Responsible Officer has received written notice for which it may seek indemnity. Failure by the
Trustee or the Collateral Agent, as the case may be, to so notify the Issuer will not relieve the
Issuer or any of the Guarantors of their obligations hereunder.

                (c)     The obligations of the Issuer and the Guarantors under this Section 7.07
will survive the satisfaction and discharge of this Indenture, the payment of the Notes and/or the
resignation or removal of the Trustee or the Collateral Agent.

               (d)     To secure the Issuer’s and the Guarantors’ payment obligations in this
Section 7.07, each of the Trustee and the Collateral Agent will have a Lien prior to the Notes on
all money or property held or collected by the Trustee, except that held in trust to pay principal
and interest on particular Notes. Such Lien will survive the satisfaction and discharge of this
Indenture, the payment of the Notes and/or the resignation or removal of the Trustee or the
Collateral Agent.

                (e)    When the Trustee or the Collateral Agent incurs expenses or renders
services after an Event of Default specified in clause (6) or (7) of Section 6.01 hereof occurs, the
expenses and the compensation for the services (including the fees and expenses of its agents and
counsel) are intended to constitute expenses of administration under any Bankruptcy Law.

Section 7.08   Replacement of Trustee.

               (a)     A resignation or removal of the Trustee and appointment of a successor
Trustee will become effective only upon the successor Trustee’s acceptance of appointment as
provided in this Section 7.08.

               (b)     The Trustee may resign at any time and be discharged from the trust
hereby created by so notifying the Issuer in writing. The Holders of a majority in aggregate
principal amount of the then outstanding Notes may remove the Trustee by so notifying the
Trustee and the Issuer in writing not less than 30 days prior to the effective date of such removal.
The Issuer may remove the Trustee if:

               (1)     the Trustee fails to comply with Section 7.10 hereof;

              (2)     the Trustee is adjudged a bankrupt or an insolvent or an order for relief is
       entered with respect to the Trustee under any Bankruptcy Law;

               (3)     a custodian or public officer takes charge of the Trustee or its property; or

               (4)     the Trustee becomes incapable of acting.

               (c)    If the Trustee resigns or is removed or if a vacancy exists in the office of
Trustee for any reason, Holders of a majority in aggregate principal amount of the then
outstanding Notes may appoint a successor Trustee within 60 days of such resignation or
removal. If a majority of Holders do not so appoint a successor Trustee within such 60 days, the
Issuer may appoint a successor Trustee; provided, that within one year after the Issuer-appointed
successor Trustee takes office, the Holders of a majority in aggregate principal amount of the


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then outstanding Notes may appoint a successor Trustee to replace the successor Trustee
appointed by the Issuer.

                (d)     If a successor Trustee does not take office within 30 days after the retiring
Trustee resigns or is removed, the retiring or removed Trustee, the Issuer, or the Holders of at
least 10% in aggregate principal amount of the then outstanding Notes may, at the expense of the
Issuer, petition any court of competent jurisdiction for the appointment of a successor Trustee.

                 (e)    If the Trustee, after written request by any Holder who has been a Holder
for at least six months, fails to comply with Section 7.10 hereof, such Holder may petition at the
expense of the Issuer any court of competent jurisdiction for the removal of the Trustee and the
appointment of a successor Trustee.

                (f)    A successor Trustee will deliver a written acceptance of its appointment to
the retiring Trustee and to the Issuer. Thereupon, the resignation or removal of the retiring
Trustee will become effective, and the successor Trustee will have all the rights, powers and
duties of the Trustee under this Indenture. The successor Trustee will mail a notice of its
succession to Holders. The retiring Trustee will promptly transfer all property held by it as
Trustee to the successor Trustee; provided all sums owing to the Trustee hereunder have been
paid and subject to the Lien provided for in Section 7.07 hereof. Notwithstanding replacement of
the Trustee pursuant to this Section 7.08, the Issuer’s obligations under Section 7.07 hereof will
continue for the benefit of the retiring Trustee.

                (g)    The retiring Trustee shall have no responsibility or liability for any action
or inaction of a successor Trustee.

Section 7.09   Successor Trustee by Merger, etc.

                If the Trustee consolidates, merges or converts into, or transfers all or
substantially all of its corporate trust business (including this transaction) to, another corporation,
the successor corporation without any further act will be the successor Trustee.

Section 7.10   Eligibility; Disqualification.

              There will at all times be a Trustee hereunder that is a corporation organized and
doing business under the laws of the United States of America or of any state thereof that is
authorized under such laws to exercise corporate trustee power, that is subject to supervision or
examination by federal or state authorities.

                                            ARTICLE 8

                  LEGAL DEFEASANCE AND COVENANT DEFEASANCE

Section 8.01   Option to Effect Legal Defeasance or Covenant Defeasance.

              The Issuer may at any time, at the option of the Issuer’s Board of Directors
evidenced by a resolution set forth in an Officer’s Certificate, elect to have either Section 8.02 or


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8.03 hereof be applied to all outstanding Notes and Note Guarantees upon compliance with the
conditions set forth below in this Article 8.

Section 8.02   Legal Defeasance and Discharge.

                (a)     Upon the Issuer’s exercise under Section 8.01 hereof of the option
applicable to this Section 8.02, the Issuer and each of the Guarantors will, subject to the
satisfaction of the conditions set forth in Section 8.04 hereof, be deemed to have been discharged
from their obligations with respect to all outstanding Notes (including the Note Guarantees) on
the date the conditions set forth below are satisfied (hereinafter, “Legal Defeasance”). For this
purpose, Legal Defeasance means that the Issuer and the Guarantors will be deemed to have paid
and discharged the entire Indebtedness represented by the outstanding Notes (including the Note
Guarantees), which will thereafter be deemed to be “outstanding” only for the purposes of
Section 8.05 hereof and the other Sections of this Indenture referred to in clauses (1) and (2)
below, and to have satisfied all their other obligations under such Notes, the Note Guarantees
and this Indenture (and the Trustee, on written demand of and at the expense of the Issuer, shall
execute instruments acknowledging the same), except for the following provisions which will
survive until otherwise terminated or discharged hereunder:

               (1)     the rights of Holders of outstanding Notes to receive payments in respect
       of the principal of, or interest or Applicable Premium or any other premium, if any, on,
       such Notes when such payments are due from the trust referred to in Section 8.05 hereof;

               (2)     the Issuer’s obligations with respect to such Notes under Sections 2.02,
       2.03, 2.04, 2.05, 2.06, 2.07, 2.08, 2.09, 2.10 and Section 4.02 hereof;

              (3)     the rights, powers, trusts, duties and immunities of the Trustee hereunder
       and the Issuer’s and the Guarantors’ obligations in connection therewith; and

               (4)    this Article 8.

               (b)     Subject to compliance with this Article 8, the Issuer may exercise its
option under this Section 8.02 notwithstanding the prior exercise of its option under Section 8.03
hereof.

Section 8.03   Covenant Defeasance.

                Upon the Issuer’s exercise under Section 8.01 hereof of the option applicable to
this Section 8.03, the Issuer and each of the Guarantors will, subject to the satisfaction of the
conditions set forth in Section 8.04 hereof, be released from each of their obligations under the
covenants contained in Sections 4.03, 4.05, 4.06, 4.07, 4.08, 4.09, 4.10, 4.11, 4.12, 4.14, 4.16,
4.17, 4.18 and 4.19 and Section 5.01(a)(3) and 5.01(a)(4) hereof with respect to the outstanding
Notes on and after the date the conditions set forth in Section 8.04 hereof are satisfied
(hereinafter, “Covenant Defeasance”), and the Notes will thereafter be deemed not “outstanding”
for the purposes of any direction, waiver, consent or declaration or act of Holders (and the
consequences of any thereof) in connection with such covenants, but will continue to be deemed
“outstanding” for all other purposes hereunder (it being understood that such Notes will not be
deemed outstanding for accounting purposes). For this purpose, Covenant Defeasance means

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that, with respect to the outstanding Notes and Note Guarantees, the Issuer and the Guarantors
may omit to comply with and will have no liability in respect of any term, condition or limitation
set forth in any such covenant, whether directly or indirectly, by reason of any reference
elsewhere herein to any such covenant or by reason of any reference in any such covenant to any
other provision herein or in any other document and such omission to comply with such
covenants will not constitute a Default or an Event of Default under Section 6.01 hereof, but,
except as specified in this Section 8.03, the remainder of this Indenture and such Notes and Note
Guarantees will be unaffected thereby. In addition, upon the Issuer’s exercise under Section 8.01
hereof of the option applicable to this Section 8.03, subject to the satisfaction of the conditions
set forth in Section 8.04 hereof, clauses (3) through (5) of Section 6.01 hereof will not constitute
Events of Default.

Section 8.04   Conditions to Legal or Covenant Defeasance.

               In order to exercise either Legal Defeasance or Covenant Defeasance under either
Section 8.02 or 8.03 hereof:

               (1)     the Issuer must irrevocably deposit with the Trustee, in trust, for the
       benefit of the Holders, cash in U.S. dollars in such amounts as will be sufficient (without
       reinvestment), to pay the principal of, Applicable Premium or any other premium, if any,
       and interest on, the outstanding Notes on the stated date for payment thereof or on the
       applicable redemption date, as the case may be, and the Issuer must specify whether the
       Notes are being defeased to such stated date for payment or to a particular redemption
       date; provided that upon any redemption that required the payment of the Applicable
       Premium, the amount deposited will be sufficient for purposes of this Indenture to the
       extent that an amount is deposited with the Trustee equal to the Applicable Premium
       calculated as of the date of the notice of redemption, with any deficit as of the date of
       redemption (any such amount, the “Applicable Premium Deficit”) only required to be
       deposited with the Trustee on or prior to the date of redemption. Any Applicable
       Premium Deficit will be set forth in an Officer’s Certificate delivered to the Trustee
       simultaneously with the deposit of such Applicable Premium Deficit that confirms that
       such Applicable Premium Deficit will be applied toward such redemption;

               (2)     in the case of an election under Section 8.02 hereof, the Issuer must
       deliver to the Trustee an Opinion of Counsel (subject to customary exceptions and
       exclusions) confirming that:

                       (A)   the Issuer has received from, or there has been published by, the
               Internal Revenue Service a ruling; or

                       (B)   since the Issue Date there has been a change in the applicable
               federal income tax law,

       in either case to the effect that, and based thereon such Opinion of Counsel shall confirm
       that, the Holders of the outstanding Notes will not recognize income, gain or loss for
       federal income tax purposes as a result of such Legal Defeasance and will be subject to



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       federal income tax on the same amounts, in the same manner and at the same times as
       would have been the case if such Legal Defeasance had not occurred;

               (3)     in the case of an election under Section 8.03 hereof, the Issuer must
       deliver to the Trustee an Opinion of Counsel (subject to customary exceptions and
       exclusions) confirming that the Holders of the outstanding Notes will not recognize
       income, gain or loss for federal income tax purposes as a result of such Covenant
       Defeasance and will be subject to federal income tax on the same amounts, in the same
       manner and at the same times as would have been the case if such Covenant Defeasance
       had not occurred;

               (4)    no Default or Event of Default shall have occurred and be continuing on
       the date of such deposit (other than a Default or Event of Default resulting from the
       borrowing of funds to be applied to such deposit and the grant of any Lien securing such
       borrowing);

               (5)     such Legal Defeasance or Covenant Defeasance will not result in a breach
       or violation of, or constitute a default under, any material agreement or instrument (other
       than this Indenture) to which the Issuer or any of its Subsidiaries is a party or by which
       the Issuer or any of its Subsidiaries is bound;

               (6)     the Issuer must deliver to the Trustee an Officer’s Certificate stating that
       the deposit was not made by the Issuer with the intent of preferring the Holders over the
       other creditors of the Issuer with the intent of defeating, hindering, delaying or
       defrauding any creditors of the Issuer or others; and

              (7)    the Issuer must deliver to the Trustee an Officer’s Certificate and an
       Opinion of Counsel, each stating that all conditions precedent relating to the Legal
       Defeasance or the Covenant Defeasance have been complied with.

Section 8.05   Deposited Money to be Held in Trust; Other Miscellaneous Provisions.

                (a)     Subject to Section 8.06 hereof, all money deposited with the Trustee (or
other qualifying trustee, collectively for purposes of this Section 8.05, the “Trustee”) pursuant to
Section 8.04 hereof in respect of the outstanding Notes will be held in trust and applied by the
Trustee, in accordance with the provisions of such Notes and this Indenture, to the payment,
either directly or through any Paying Agent (including the Issuer acting as Paying Agent) as the
Trustee may determine, to the Holders of such Notes of all sums due and to become due thereon
in respect of principal, Applicable Premium or any other premium, if any, and interest, but such
money need not be segregated from other funds except to the extent required by law.

               (b)      The Issuer will pay and indemnify the Trustee against any tax, fee or other
charge imposed on or assessed against the cash deposited pursuant to Section 8.04 hereof or the
principal and interest received in respect thereof other than any such tax, fee or other charge
which by law is for the account of the Holders of the outstanding Notes.

                (c)     Notwithstanding anything in this Article 8 to the contrary, the Trustee will
deliver or pay to the Issuer from time to time upon the written request of the Issuer any money

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held by it as provided in Section 8.04 hereof which, in the opinion of a nationally recognized
firm of independent public accountants expressed in a written certification thereof delivered to
the Trustee (which may be the opinion delivered under clause (1) of Section 8.04 hereof), are in
excess of the amount thereof that would then be required to be deposited to effect an equivalent
Legal Defeasance or Covenant Defeasance.

Section 8.06   Repayment to the Issuer.

                 Any money deposited with the Trustee or any Paying Agent, or then held by the
Issuer, in trust for the payment of the principal of, Applicable Premium, any other premium or
interest on, any Note and remaining unclaimed for two years after such principal, Applicable
Premium, any other premium or interest has become due and payable shall be paid to the Issuer
on its written request or (if then held by the Issuer) will be discharged from such trust; and the
Holders will thereafter be permitted to look only to the Issuer for payment thereof, and all
liability of the Trustee or such Paying Agent with respect to such trust money, and all liability of
the Issuer as trustee thereof, will thereupon cease; provided, however, that the Trustee or such
Paying Agent, before being required to make any such repayment, shall, at the expense of the
Issuer, cause to be published once, in the New York Times and The Wall Street Journal (national
edition), notice that such money remains unclaimed and that, after a date specified therein, which
will not be less than 30 days from the date of such notification or publication, any unclaimed
balance of such money then remaining will be repaid to the Issuer.

Section 8.07   Reinstatement.

                If the Trustee or Paying Agent is unable to apply any U.S. dollars in accordance
with Section 8.02 or 8.03 hereof, as the case may be, by reason of any order or judgment of any
court or governmental authority enjoining, restraining or otherwise prohibiting such application,
then the Issuer’s and the Guarantors’ obligations under this Indenture and the Notes and the Note
Guarantees will be revived and reinstated as though no deposit had occurred pursuant to
Section 8.02 or 8.03 hereof until such time as the Trustee or Paying Agent is permitted to apply
all such money in accordance with Section 8.02 or 8.03 hereof, as the case may be; provided,
however, that, if the Issuer makes any payment of principal of, Applicable Premium or any other
premium, if any, or interest on, any Note following the reinstatement of its obligations, the Issuer
will be subrogated to the rights of the Holders of such Notes to receive such payment from the
money held by the Trustee or Paying Agent.

                                           ARTICLE 9

                        AMENDMENT, SUPPLEMENT AND WAIVER

Section 9.01   Without Consent of Holders.

               (a)     Notwithstanding Section 9.02 of this Indenture, the Issuer and the Trustee
may amend or supplement this Indenture or the Notes or the Note Guarantees or any Security
Document without the consent of any Holder to cure any ambiguity, omission, defect or
inconsistency or to provide for the assumption by a successor corporation, partnership or limited



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liability company of the obligations of the Issuer under this Indenture, the Notes and the Security
Documents:

              (1)     to provide for uncertificated Notes in addition to or in place of certificated
       Notes (provided that the uncertificated notes are issued in registered form for purposes of
       Section 163(f) of the Code);

               (2)     to add guarantees with respect to the Notes or to evidence the release of
       any Guarantor from its Note Guarantee and under the Security Documents as provided in
       this Indenture;

               (3)    to further secure the Notes;

               (4)    to add to the covenants of the Issuer for the benefit of the Holders;

               (5)    to surrender any right or power conferred upon the Issuer;

              (6)     to make any change that does not adversely affect the rights of any
       Holder;

              (7)     to evidence or provide for the acceptance of appointment under this
       Indenture of a successor Trustee;

              (8)     to conform the text of this Indenture, the Note Guarantees or the Notes to
       any provision of the “Description of the Notes” section of the Offering Document;

              (9)    to make certain changes to this Indenture to provide for the issuance of
       Additional Notes;

              (10) to provide for the release of Collateral from the Liens of this Indenture and
       the Security Documents when permitted or required by the Security Documents or this
       Indenture; or

              (11) to secure any Permitted Additional Pari Passu Obligations under the
       Security Documents and to appropriately include the same in the lntercreditor
       Agreement.

                (b)    Upon the request of the Issuer accompanied by a resolution of its Board of
Directors authorizing the execution of any such amendment or supplemental indenture, and upon
receipt by the Trustee of the documents described in Section 9.06 hereof, the Trustee will join
with the Issuer and the Guarantors in the execution of any amendment or supplemental indenture
authorized or permitted by the terms of this Indenture and to make any further appropriate
agreements and stipulations that may be therein contained, but the Trustee will not be obligated
to enter into such amendment or supplemental indenture that affects its own rights, duties or
immunities under this Indenture or otherwise.

Section 9.02   With Consent of Holders.


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                (a)    Except as provided in this Section 9.02, the Issuer, the Guarantors and the
Trustee and, if applicable, the Collateral Agent, may amend or supplement this Indenture
(including, without limitation, Sections 4.08 and 4.12 hereof) and the Notes or the Note
Guarantees with the consent of the Holders of at least a majority in aggregate principal amount
of the then outstanding Notes voting as a single class (including, without limitation, consents
obtained in connection with a tender offer or exchange offer for, or purchase of, the Notes), and,
subject to Sections 6.04 and 6.07 hereof, any existing Default or Event of Default (other than a
Default or Event of Default in the payment of the principal of, premium, if any, or interest on,
the Notes, except a payment default resulting from an acceleration that has been rescinded) or
compliance with any provision of this Indenture, any Security Document or the Notes or the
Note Guarantees may be waived with the consent of the Holders of a majority in aggregate
principal amount of the then outstanding Notes voting as a single class (including, without
limitation, consents obtained in connection with a tender offer or exchange offer for, or purchase
of, the Notes). Section 2.08 hereof shall determine which Notes are considered to be
“outstanding” for purposes of this Section 9.02.

               (b)     Upon the written request of the Issuer accompanied by a resolution of its
Boards of Directors authorizing the execution of any such amended or supplemental indenture,
and upon the filing with the Trustee of evidence satisfactory to the Trustee of the consent of the
Holders as aforesaid, and upon receipt by the Trustee of the documents described in Section 9.06
hereof, the Trustee will join with the Issuer and the Guarantors in the execution of such amended
or supplemental indenture unless such amended or supplemental indenture directly affects the
Trustee’s own rights, duties or immunities under this Indenture or otherwise, in which case the
Trustee may in its discretion, but will not be obligated to, enter into such amended or
supplemental Indenture.

                 (c)      It is not be necessary for the consent of the Holders under this
Section 9.02 to approve the particular form of any proposed amendment, supplement or waiver,
but it is sufficient if such consent approves the substance thereof.

                (d)    After an amendment, supplement or waiver under this Section 9.02
becomes effective, the Issuer will mail (or otherwise deliver pursuant to the procedures of DTC)
to the Holders affected thereby a notice briefly describing the amendment, supplement or waiver.
Any failure of the Issuer to send such notice, or any defect therein, will not, however, in any way
impair or affect the validity of any such amendment, supplement or waiver. Subject to
Sections 6.04 and 6.07 hereof, the Holders of a majority in aggregate principal amount of the
Notes then outstanding voting as a single class may waive compliance in a particular instance by
the Issuer or any Guarantor with any provision of this Indenture, the Intercreditor Agreement, the
other the Security Documents or the Notes or the Note Guarantees. However, without the
consent of each Holder affected thereby, an amendment, supplement or waiver under this
Section 9.02 may not (with respect to any Notes held by a non−consenting Holder):

            (1)     reduce the principal amount of Notes whose Holders must consent to an
       amendment, supplement or waiver;

              (2)     reduce the principal of or extend the fixed maturity of any Note or alter the
       provisions with respect to the redemption of the Notes (for the avoidance of doubt,

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       repurchases of the Notes by the Issuer pursuant to Sections 4.08 and 4.12 hereof are not
       redemptions of the Notes);

               (3)     reduce the rate of or extend the time for payment of interest, including
       default interest, or premium on any Note;

              (4)     waive a Default or Event of Default in the payment of principal of, or
       premium, if any, or interest on, the Notes (except a rescission of acceleration of the Notes
       by the Holders of at least a majority in aggregate principal amount of the then
       outstanding Notes and a waiver of the payment default that resulted from such
       acceleration);

               (5)     make any Note payable in money other than that stated in the Notes;

               (6)     make any change in the provisions of this Indenture relating to waivers of
       past Defaults or impair the rights of Holders of Notes to receive payments of principal of,
       or interest of premium, if any, on the Notes;

              (7)     waive a redemption payment with respect to any Note (for the avoidance
       of doubt, any payment required by Sections 4.08 or 4.12 hereof is not a redemption
       payment);

               (8)     release any Guarantor that is a Significant Subsidiary of the Issuer from
       any of its obligations under its Note Guarantee or this Indenture, except in accordance
       with the terms of this Indenture;

               (9)     make any change in the preceding amendment and waiver provisions; or

               (10) make any change in the provisions in the Intercreditor Agreements or this
       Indenture dealing with the application of proceeds of Collateral that would adversely
       affect the Holders.

                (e)    Any amendment to, or waiver of, the provisions of this Indenture, any
Security Document that has the effect of releasing all or substantially all of the Collateral from
the Liens securing the Notes or otherwise modifies the Intercreditor Agreements or other
Security Documents in any manner adverse in any material respect to the Holders will require
the consent of the holders of at least 66- 2/3% in aggregate principal amount of the Notes then
outstanding.

                (f)   Notwithstanding the foregoing in this Section 9.02, no amendment,
supplement or waiver to the Indenture or any other Note Document shall subordinate the Lien
securing the Notes Obligations to any other Lien (and the Trustee shall not enter into any
intercreditor agreement providing for such subordination) without the consent of the holders of at
least 66- 2/3% in aggregate principal amount of the Notes then outstanding.

Section 9.03   Intentionally Omitted.

Section 9.04   Revocation and Effect of Consents.

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                 Until an amendment, supplement or waiver becomes effective, a consent to it by a
Holder is a continuing consent by the Holder and every subsequent Holder or portion of a Note
that evidences the same debt as the consenting Holder’s Note, even if notation of the consent is
not made on any Note. However, any such Holder or subsequent Holder may revoke the consent
as to its Note if the Trustee receives written notice of revocation before the date the amendment,
supplement or waiver becomes effective. After an amendment, supplement or waiver becomes
effective in accordance with its terms, it thereafter binds every Holder.

Section 9.05   Notation on or Exchange of Notes.

               The Trustee may place an appropriate notation about an amendment, supplement
or waiver on any Note thereafter authenticated. The Issuer in exchange for all Notes may issue
and the Trustee shall, upon receipt of an Authentication Order, authenticate new Notes that
reflect the amendment, supplement or waiver.

                Failure to make the appropriate notation or issue a new Note will not affect the
validity and effect of such amendment, supplement or waiver.

Section 9.06   Trustee to Sign Amendments, etc.

                The Trustee and Collateral Agent will sign any amendment or supplemental
indenture authorized pursuant to this Article 9 if the amendment or supplement does not
adversely affect the rights, duties, liabilities or immunities of the Trustee or Collateral Agent.
The Issuer may not sign an amendment or supplemental indenture pursuant to this Article 9 until
the Issuer’s Board of Directors approves it. In executing any such amendment or supplemental
indenture, the Trustee and Collateral Agent, as applicable, will be provided with and (subject to
Section 7.01 hereof) will be fully protected in conclusively relying upon, in addition to the
documents required by Section 14.04 hereof, an Officer’s Certificate and an Opinion of Counsel
stating that the execution of such amendment or supplemental indenture is authorized or
permitted by this Indenture, the Intercreditor Agreements and the other Security Documents, as
applicable, and, with respect to such Opinion of Counsel, that such amendment or supplemental
indenture is the legal, valid and binding obligation of the Issuer or Guarantor, as applicable,
enforceable against the Issuer or the Guarantor, as applicable, in accordance with its terms.

                                          ARTICLE 10

                                     NOTE GUARANTEES

Section 10.01 Guarantee.

                (a)     Subject to this Article 10, each of the Guarantors hereby, jointly and
severally, unconditionally Guarantees to each Holder of a Note authenticated and delivered by
the Trustee and to the Trustee and the Collateral Agent and their respective successors and
assigns, irrespective of the validity and enforceability of this Indenture, the Notes or the
obligations of the Issuer hereunder or thereunder, that:

               (1)     the principal of, Applicable Premium or any other premium, if any, and
       interest on, the Notes will be promptly paid in full when due, whether at maturity, by

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       acceleration, redemption or otherwise, and interest on the overdue principal of and
       interest on the Notes, if any, if lawful, and all other obligations of the Issuer to the
       Holders or the Trustee or the Collateral Agent hereunder or thereunder will be promptly
       paid in full or performed, all in accordance with the terms hereof and thereof; and

               (2)    in case of any extension of time of payment or renewal of any Notes or
       any of such other obligations, that same will be promptly paid in full when due or
       performed in accordance with the terms of the extension or renewal, whether at stated
       maturity, by acceleration or otherwise.

               Failing payment when due of any amount so guaranteed or any performance so
guaranteed for whatever reason, the Guarantors will be jointly and severally obligated to pay the
same immediately. Each Guarantor agrees that this is a Guarantee of payment and not a
Guarantee of collection.

                (b)    The Guarantors hereby agree that their obligations hereunder are
unconditional, irrespective of the validity, regularity or enforceability of the Notes or this
Indenture, the absence of any action to enforce the same, any waiver or consent by any Holder
with respect to any provisions hereof or thereof, the recovery of any judgment against the Issuer,
any action to enforce the same or any other circumstance which might otherwise constitute a
legal or equitable discharge or defense of a Guarantor. Each Guarantor hereby waives diligence,
presentment, demand of payment, filing of claims with a court in the event of insolvency or
bankruptcy of either Issuer, any right to require a proceeding first against the Issuer, protest,
notice and all demands whatsoever and covenant that this Note Guarantee will not be discharged
except by complete performance of the obligations contained in the Notes and this Indenture.

                 (c)     If any Holder or the Trustee is required by any court or otherwise to return
to the Issuer, the Guarantors or any custodian, trustee, liquidator or other similar official acting in
relation to either the Issuer or the Guarantors, any amount paid by either to the Trustee or the
Collateral Agent or such Holder, this Note Guarantee, to the extent theretofore discharged, will
be reinstated in full force and effect.

                (d)     Each Guarantor agrees that it will not be entitled to any right of
subrogation in relation to the Holders in respect of any obligations guaranteed hereby until
payment in full of all obligations guaranteed hereby. Each Guarantor further agrees that, as
between the Guarantors, on the one hand, and the Holders, the Collateral Agent and the Trustee,
on the other hand, (1) the maturity of the obligations guaranteed hereby may be accelerated as
provided in Article 6 hereof for the purposes of this Note Guarantee, notwithstanding any stay,
injunction or other prohibition preventing such acceleration in respect of the obligations
guaranteed hereby, and (2) in the event of any declaration of acceleration of such obligations as
provided in Article 6 hereof, such obligations (whether or not due and payable) will forthwith
become due and payable by the Guarantors for the purpose of this Note Guarantee. The
Guarantors will have the right to seek contribution from any non−paying Guarantor so long as
the exercise of such right does not impair the rights of the Holders under the Note Guarantee.

Section 10.02 Limitation on Guarantor Liability.


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                  Each Guarantor, and by its acceptance of Notes, each Holder, hereby confirms
that it is the intention of all such parties that the Note Guarantee of such Guarantor not constitute
a fraudulent transfer or conveyance for purposes of Bankruptcy Law, the Uniform Fraudulent
Conveyance Act, the Uniform Fraudulent Transfer Act or any similar federal, state or provincial
law in any jurisdiction to the extent applicable to any Note Guarantee. To effectuate the
foregoing intention, the Trustee, the Collateral Agent, the Holders and the Guarantors hereby
irrevocably agree that the obligations of such Guarantor will be limited to the maximum amount
that will, after giving effect to such maximum amount and all other contingent and fixed
liabilities of such Guarantor that are relevant under such laws, and after giving effect to any
collections from, rights to receive contribution from or payments made by or on behalf of any
other Guarantor in respect of the obligations of such other Guarantor under this Article 10, result
in the obligations of such Guarantor under its Note Guarantee not constituting a fraudulent
transfer or conveyance.

Section 10.03 Intentionally Omitted.

Section 10.04 Guarantors May Consolidate, etc., on Certain Terms.

                (a)    Except as otherwise provided in this Section 10.04, a Guarantor may not
sell or otherwise dispose of (including by way of division) all or substantially all of its assets to,
or consolidate with or merge or amalgamate with or into (whether or not such Guarantor is the
surviving Person) another Person, other than the Issuer or another Guarantor, unless:

              (1)      immediately after giving effect to such transaction, no Default or Event of
       Default exists; and

               (2)     either:

               (A)     the Person acquiring the property in any such sale or disposition or the
       Person formed by or surviving any such consolidation or merger assumes all the
       obligations of that Guarantor under this Indenture, its Note Guarantee, the Intercreditor
       Agreements and the other Security Documents, pursuant to, in the case of this Indenture
       and the relevant agreements, a supplemental indenture ; or

              (B)    the Net Proceeds of such sale or other disposition are applied in
       accordance with the applicable provisions of this Indenture.

                In case of any such consolidation, merger, amalgamation, sale or conveyance and
upon the assumption by the successor Person, by supplemental indenture, executed and delivered
to the Trustee and satisfactory in form to the Trustee, of the Note Guarantee and the due and
punctual performance of all of the covenants and conditions of this Indenture to be performed by
the Guarantor, such successor Person will succeed to and be substituted for the Guarantor with
the same effect as if it had been named herein as a Guarantor. Such successor Person thereupon
may cause to be signed any or all of the Note Guarantees to be endorsed upon all of the Notes
issuable hereunder which theretofore shall not have been signed by the Issuer and delivered to
the Trustee. All the Note Guarantees so issued will in all respects have the same legal rank and
benefit under this Indenture as the Note Guarantees theretofore and thereafter issued in


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accordance with the terms of this Indenture as though all of such Note Guarantees had been
issued at the date of the execution hereof.

                (b)    Except as set forth in Articles 4 and 5 hereof, and notwithstanding
Sections 10.04(a)(2)(A) and 10.04(a)(2)(B) above, nothing contained in this Indenture or in any
of the Notes will prevent any consolidation, merger or amalgamation of a Guarantor with or into
the Issuer or another Guarantor, or will prevent any sale or conveyance of the property of a
Guarantor as an entirety or substantially as an entirety to the Issuer or another Guarantor.

Section 10.05 Releases.

               (a)     The Note Guarantee of a Guarantor will be automatically released and
discharged:

                (1)     in connection with any sale, disposition or transfer of all or substantially
       all of the assets of that Guarantor (including by way of merger, amalgamation, or
       consolidation) to a Person that is not (either before or after giving effect to such
       transaction) the Issuer or a Restricted Subsidiary of the Issuer, if the sale, disposition or
       transfer does not violate Section 4.08 hereof;

               (2)     in connection with any sale, disposition or transfer of all of the Capital
       Stock of that Guarantor to a Person that is not (either before or after giving effect to such
       transaction) the Issuer or a Restricted Subsidiary of the Issuer, if the sale, disposition or
       transfer does not violate Section 4.08 hereof;

               (3)     [reserved];

              (4)    upon Legal Defeasance in accordance with Article 8 hereof or satisfaction
       and discharge of this Indenture in accordance with Article 11 and Article 8 hereof; or

              (5)    upon such Guarantor becoming an Excluded Subsidiary, so long as such
       Guarantor does not Guarantee any Debt Facilities of the Issuer or any of its Restricted
       Subsidiaries.

                (b)    Any Guarantor not released from its obligations under its Note Guarantee
as provided in this Section 10.05 will remain liable for the full amount of principal of and
interest and Applicable Premium or any other premium, if any, on the Notes and for the other
obligations of any Guarantor under this Indenture as provided in this Article 10.

                                           ARTICLE 11

                              SATISFACTION AND DISCHARGE

Section 11.01 Satisfaction and Discharge.

                (a)    This Indenture will be discharged and will cease to be of further effect as
to all Notes issued hereunder, when:


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               (1)    either:

               (A)     all Notes that have been authenticated and, except lost, stolen or destroyed
       Notes that have been replaced or paid and Notes for whose payment money has been
       deposited in trust or segregated and held in trust by the Issuer and thereafter repaid to the
       Issuer, have been delivered to the Trustee for cancellation; or

               (B)      all Notes that have not been delivered to the Trustee for cancellation have
       become due and payable by reason of the mailing (or delivery in accordance with the
       procedures of DTC) of a notice of redemption or otherwise or will become due and
       payable within one year or may be called for redemption within one year and the Issuer
       or any Guarantor has irrevocably deposited or caused to be deposited with the Trustee as
       trust funds in trust solely for the benefit of the Holders, cash in U.S. dollars, in such
       amounts as will be sufficient (without reinvestment) to pay and discharge the entire
       Indebtedness (including all principal and interest) on the Notes not delivered to the
       Trustee for cancellation; provided that (i) upon any redemption that requires the payment
       of the Applicable Premium, the amount deposited will be sufficient for purposes of this
       Indenture to the extent that an amount is deposited with the Trustee equal to the
       Applicable Premium calculated as of the date of the notice of redemption, with any
       Applicable Premium Deficit only required to be deposited with the Trustee on or prior to
       the date of redemption and (ii) any Applicable Premium Deficit will be set forth in an
       Officer’s Certificate delivered to the Trustee simultaneously with the deposit of such
       Applicable Premium Deficit that confirms that such Applicable Premium Deficit will be
       applied toward such redemption;

               (2)     the Issuer or any Guarantor has paid or caused to be paid all sums payable
       by it under this Indenture; and

              (3)     the Issuer has delivered irrevocable written instructions to the Trustee
       under this Indenture to apply the deposited money toward the payment of the Notes at
       maturity or on the redemption date, as the case may be.

                (b)    In addition, an Officer’s Certificate and an Opinion of Counsel have been
delivered to the Trustee stating that all conditions precedent to satisfaction and discharge have
been satisfied.

                (c)    Notwithstanding the satisfaction and discharge of this Indenture, if money
has been deposited with the Trustee pursuant to Section 11.01(a)(1)(B), the provisions of
Sections 11.02 and 8.06 hereof will survive such satisfaction and discharge. In addition, nothing
in this Section 11.01 will be deemed to discharge those provisions of Section 7.07 hereof, or any
other provision hereof, that, by their terms, survive the satisfaction and discharge of this
Indenture.

Section 11.02 Application of Trust Money.

               (a)     Subject to the provisions of Section 8.06 hereof, all money deposited with
the Trustee pursuant to Section 11.01 hereof shall be held in trust and applied by it, in
accordance with the provisions of the Notes and this Indenture, to the payment, either directly or
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through any Paying Agent (including the Issuer acting as its own Paying Agent) as the Trustee
may determine, to the Persons entitled thereto, of the principal (and Applicable Premium or any
other premium, if any) and interest for whose payment such money has been deposited with the
Trustee; but such money need not be segregated from other funds except to the extent required
by law.

                (b)    If the Trustee or Paying Agent is unable to apply any money in accordance
with Section 11.01 hereof by reason of any legal proceeding or by reason of any order or
judgment of any court or governmental authority enjoining, restraining or otherwise prohibiting
such application, the Issuer’s and any Guarantor’s obligations under this Indenture and the Notes
and Note Guarantees, as applicable, shall be revived and reinstated as though no deposit had
occurred pursuant to Section 11.01 hereof; provided that if the Issuer has made any payment of
principal of, Applicable Premium or any other premium, if any, or interest on, any Notes because
of the reinstatement of its obligations, the Issuer shall be subrogated to the rights of the Holders
of such Notes to receive such payment from the money held by the Trustee or Paying Agent.

                                           ARTICLE 12

                                COLLATERAL AND SECURITY

Section 12.01 Security Documents; Additional Collateral; Intercreditor Agreements.

                 (a)     Security Documents. In order to secure the due and punctual payment of
the Notes Obligations, the Issuer, the Guarantors, the Collateral Agent and the other parties
thereto have simultaneously with the execution of this Indenture entered or, in accordance with
the provisions of Section 4.14, Section 4.17, Section 4.19 and this Article 12, will enter into the
Security Documents. In the event of a conflict or inconsistency between the terms of this
Indenture and the Security Documents, the Security Documents shall control. The Issuer shall,
and shall cause each of its Restricted Subsidiaries to, and each Restricted Subsidiary shall, make
all filings (including filings of continuation statements and amendments to UCC financing
statements that may be necessary to continue the effectiveness of such UCC financing
statements) and take all other actions as are reasonably necessary or required by the Security
Documents to maintain (at the sole cost and expense of the Issuer and its Restricted Subsidiaries)
the security interest created by the Security Documents in the Collateral (other than with respect
to any Collateral the security interest in which is not required to be perfected under the Security
Documents) as a perfected security interest subject only to Permitted Liens.

                (b)     Additional Collateral. With respect to assets acquired after the Issue Date,
the Issuer or the applicable Guarantor will take the actions required by the Security Agreement
or Section 4.18 of this Indenture.

                (c)     Intercreditor Agreements. The Trustee, the Collateral Agent and the
Holders are bound by the terms of the Intercreditor Agreement and each Holder of a Note, by
accepting such Note, agrees to all the terms and provisions of the Intercreditor Agreement and
the other Security Documents. Notwithstanding anything to the contrary, (i) the liens and
security interests granted to the Collateral Agent pursuant to the Security Documents and all
rights and obligations of the Trustee and Collateral Agent hereunder in respect of the Collateral

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are expressly subject to the Intercreditor Agreements and (ii) the exercise of any right or remedy
by the Trustee and the Collateral Agent hereunder in respect of the Collateral is subject to the
limitation and provisions of the Intercreditor Agreements. In the event of any conflict or
inconsistency between the terms of the Intercreditor Agreements and the terms of this Indenture
or any Security Document, the terms of the Intercreditor Agreements, shall govern.

Section 12.02 Intentionally Omitted.

Section 12.03 Release of Collateral.

               The Liens securing the Notes and the Guarantees will, automatically and without
the need for any further action by any Person be released:

               (a)    in whole or in part, as applicable, as to all or any portion of the property
subject to such Liens which has been taken by eminent domain, condemnation or other similar
circumstances in accordance with the terms of Section 4.08;

                (b)     in whole upon:

                (1)      payment in full of the principal of, together with accrued and unpaid
        interest, if any, on the Notes and all other Obligations under this Indenture, the Note
        Guarantees and the Security Documents that are due and payable at or prior to the time
        such principal, together with accrued and unpaid interest, if any, are paid;

                (2)     satisfaction and discharge of this Indenture as set forth under Article 11; or

               (3)     a legal defeasance or covenant defeasance of this Indenture as set forth
        under Article 8;

                (c)      in part, as to any property that (i) is sold, transferred or otherwise disposed
of by the Issuer or any Guarantor (other than to the Issuer or another Guarantor) in a transaction
not prohibited by this Indenture at the time of such transfer or disposition, including, without
limitation, as a result of a transaction of the type permitted under Sections 4.08 and 5.01 or (ii) is
owned or at any time acquired by a Guarantor that has been released from its Guarantee,
concurrently with the release of such Guarantee;

              (d)     as to property that constitutes all or substantially all of the Collateral
securing the Notes, with the consent of each Holder of the Notes;

               (e)     as to property that constitutes less than all or substantially all of the
Collateral securing the Notes, with the consent of the Holders of at least 66 2/3% of the
aggregate principal amount of Notes (including, without limitation, consents obtained in
connection with a tender offer or exchange offer for, or purchase of, Notes);

                (f)     as to any Excluded Pipelines subject to a security interest granted under a
mortgage, security agreement or other security interest in favor of the Collateral Agent, upon the
disposition of such Excluded Pipeline, in a transaction not prohibited by this Indenture at the
time of such sale, transfer or disposition;

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                (g)     as to real property upon which any Excluded Pipelines are situated, upon
the Collateral Agent’s receipt from the Issuer of an Officer’s Certificate certifying that the
release of the Collateral Agent’s Liens on such real property does not materially adversely affect
or impair (1) the business operations of the Issuer and its Restricted Subsidiaries as a whole or
(2) the validity or priority of the Lien of the Collateral Agent pursuant to the Security Documents
on the balance of the Mortgaged Property;

             (h)     in part, in accordance with the applicable provisions of the Intercreditor
Agreements and the other Security Documents; and

               (i)     as described under Article 9.

              Any release of Collateral permitted by this Section 12.03 shall be deemed not to
impair the remaining Liens under this Indenture and the Security Documents in contravention
thereof.

Section 12.04 Form and Sufficiency of Release.

                In the event that either the Issuer or any Guarantor requests the Trustee or the
Collateral Agent, as applicable, in writing to furnish a written disclaimer, release or quitclaim of
any interest in such property under this Indenture, the applicable Guarantee and the Security
Documents as permitted by Section 12.03, upon receipt of an Officer’s Certificate and Opinion
of Counsel to the effect that such release complies with Section 12.03 and specifying the
provision in Section 12.03 pursuant to which such release is being made (upon which the Trustee
may exclusively and conclusively rely), the Trustee or the Collateral Agent, as applicable, shall
execute, acknowledge and deliver to the Issuer or such Guarantor such an instrument in the form
provided by the Issuer, and providing for release without recourse and shall take such other
action as the Issuer or such Guarantor may reasonably request and as necessary to effect such
release.

Section 12.05 Possession and Use of Collateral.

                 Subject to the provisions of the Security Documents, the Issuer and the
Guarantors shall have the right to remain in possession and retain exclusive control of and to
exercise all rights with respect to the Collateral (other than monies or U.S. Government
Securities deposited pursuant to Article 8 or Article 11, and other than as set forth in the Security
Documents and this Indenture), to freely operate, manage, develop, lease, use, consume and
enjoy the Collateral (other than monies and U.S. Government Securities deposited pursuant to
Article 8 or Article 11 and other than as set forth in the Security Documents and this Indenture),
to alter or repair any Collateral so long as such alterations and repairs do not materially impair
the Lien of the Security Documents thereon, and to collect, receive, use, invest and dispose of the
reversions, remainders, interest, rents, lease payments, issues, profits, revenues, proceeds and
other income thereof and to effect transactions permitted under Sections 4.08 and 5.01.

Section 12.06 Intentionally Omitted.

Section 12.07 Collateral Agent.


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                (a)     The Trustee and each of the Holders by acceptance of the Notes hereby
appoint the Collateral Agent as the Trustee’s and Holders’ collateral agent under this Indenture
and the Security Documents and the Trustee and each of the Holders by acceptance of the Notes
hereby irrevocably authorizes the Collateral Agent to take such action on its behalf under the
provisions of this Indenture and the Security Documents and to exercise such powers and
perform such duties as are expressly delegated to the Collateral Agent by the terms of this
Indenture and the Security Documents, together with such powers as are reasonably incidental
thereto. The Collateral Agent agrees to act as such on the express conditions contained in this
Section 12.07. The provisions of this Section 12.07 are solely for the benefit of the Collateral
Agent and none of the Trustee, any of the Holders, the Issuer or any of the Guarantors shall have
any rights as a third party beneficiary of any of the provisions contained herein other than as
expressly provided in Section 12.03 or in this Section 12.07. Notwithstanding any provision to
the contrary contained elsewhere in this Indenture and the Security Documents, the Collateral
Agent shall not have any duties or responsibilities, except those expressly set forth herein or in
the Security Documents, nor shall the Collateral Agent have or be deemed to have any fiduciary
relationship with the Trustee, any Holder, the Issuer or any Guarantor, and no implied covenants,
functions, responsibilities, duties, obligations or liabilities shall be read into this Indenture and
the Security Documents or otherwise exist against the Collateral Agent. Without limiting the
generality of the foregoing sentence, the use of the term “agent” in this Indenture with reference
to the Collateral Agent shall not be construed to connote any fiduciary or other implied (or
express) obligations arising under agency doctrine of any applicable law. Instead, such term is
used merely as a matter of market custom, and is intended to create or reflect only an
administrative relationship between independent contracting parties. Except as expressly
otherwise provided in this Indenture and the Security Documents, the Collateral Agent is entitled
(but not obligated) to exercise or refrain from exercising any discretionary rights or taking or
refraining from taking any actions which the Collateral Agent is expressly entitled to take or
assert under this Indenture and the Security Documents, including the exercise of remedies
pursuant to Article 6, and any action so taken or not taken shall be deemed consented to by the
Trustee and the Holders.

                (b)     The Collateral Agent may execute any of its duties under this Indenture
and the Security Documents by or through agents, employees or attorneys−in−fact and shall be
entitled to advice of counsel concerning all matters pertaining to such duties. The Collateral
Agent shall not be responsible for the negligence or misconduct of any agent, employee or
attorney−in−fact that it selects as long as such selection was made with due care.

                (c)     None of the Collateral Agent or any of its agents or employees shall (i) be
liable for any action taken or omitted to be taken by any of them under or in connection with this
Indenture or the transactions contemplated hereby (except for its own gross negligence or willful
misconduct) or under or in connection with any Security Document or the transactions
contemplated thereby (except for its own gross negligence or willful misconduct), or (ii) be
responsible in any manner to the Trustee or any Holder for any recital, statement, representation,
warranty, covenant or agreement made by the Issuer or any Guarantor, contained in this
Indenture or any indenture, or in any certificate, report, statement or other document referred to
or provided for in, or received by the Collateral Agent under or in connection with, this
Indenture, any other indenture or the Security Documents, or the validity, effectiveness,
genuineness, enforceability or sufficiency of this Indenture, any other indenture or the Security

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Documents, or for any failure of the Issuer or any Guarantor or any other party to this Indenture
or the Security Documents to perform its obligations hereunder or thereunder. None of the
Collateral Agent or any of its agents or employees shall be under any obligation to the Trustee or
any Holder to ascertain or to inquire as to the observance or performance of any of the
agreements contained in, or conditions of, this Indenture, any other indenture or the Security
Documents or to inspect the properties, books or records of the Issuer or any Guarantor.

                (d)     The Collateral Agent shall not be deemed to have actual knowledge or
notice of the occurrence of any Default or Event of Default, unless the Collateral Agent shall
have received written notice from the Trustee or the Issuer referring to this Indenture, describing
such Default or Event of Default and stating that such notice is a “notice of default.” The
Collateral Agent shall take such action with respect to such Default or Event of Default as may
be requested by the Trustee in accordance with Article 6 (subject to this Section 12.07);
provided, however, that unless and until the Collateral Agent has received any such request, the
Collateral Agent may (but shall not be obligated to) take such action, or refrain from taking such
action, with respect to such Default or Event of Default as it shall deem advisable.

                 (e)     A resignation or removal of the Collateral Agent and appointment of a
successor Collateral Agent shall become effective only upon the successor Collateral Agent’s
acceptance of appointment as provided in this Section 12.07(e). The Collateral Agent may resign
in writing at any time by so notifying the Issuer, the Trustee at least 30 days prior to the proposed
date of resignation. The Holders of a majority in aggregate principal amount of the then
outstanding Notes may remove the Collateral Agent by so notifying the Trustee and the
Collateral Agent and the Issuer in writing not less than 30 days prior to the effective date of such
removal. The Issuer may remove the Collateral Agent if: (i) the Collateral Agent fails to meet
the requirements for being a Trustee under Section 7.10 (prior to the discharge or defeasance of
this Indenture); (ii) the Collateral Agent is adjudged a bankrupt or an insolvent or an order for
relief is entered with respect to the Collateral Agent under any Bankruptcy Law; (iii) a custodian
or public officer takes charge of the Collateral Agent or its property; or (iv) the Collateral Agent
becomes incapable of acting. If the Collateral Agent resigns or is removed or if a vacancy exists
in the office of Collateral Agent for any reason, the Issuer shall promptly appoint a successor
Collateral Agent which complies with the eligibility requirements contained in this Indenture. If
the Collateral Agent resigns or is removed or if a vacancy exists in the office of the Collateral
Agent for any reason, Holders of a majority in aggregate principal amount of the then
outstanding Notes may appoint a successor Collateral Agent within 60 days of such resignation
or removal. If a majority of Holders do not so appoint a successor Collateral Agent within such
60 days, the Issuer may appoint a successor Collateral Agent; provided, that within one year after
the Issuer-appointed successor Collateral Agent takes office, the Holders of a majority in
aggregate principal amount of the then outstanding Notes may appoint a successor Collateral
Agent to replace the successor Collateral Agent appointed by the Issuer. If a successor Collateral
Agent does not take office within the time periods set forth in the preceding sentences, the Issuer
or the holders of at least 10% in principal amount of the then outstanding principal amount of the
Notes may petition any court of competent jurisdiction, at the expense of the Issuer for the
appointment of a successor Collateral Agent. A successor Collateral Agent shall deliver a written
acceptance of its appointment to the retiring Collateral Agent and to the Issuer. Thereupon, the
resignation or removal of the retiring Collateral Agent shall become effective, and the successor
Collateral Agent shall have all the rights, powers and the duties of the Collateral Agent under

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this Indenture and the Security Documents. The successor Collateral Agent shall mail a notice of
its succession to the Trustee. The retiring Collateral Agent shall promptly transfer all property
held by it as Collateral Agent to the successor Collateral Agent, provided that all sums owing to
the Collateral Agent hereunder have been paid. Notwithstanding replacement of the Collateral
Agent pursuant to this Section 12.07(e), the Issuer’s obligations under this Section 12.07 and
Section 12.12 shall continue for the benefit of the retiring Collateral Agent.

                 (f)     Except as otherwise explicitly provided herein or in the Security
Documents, neither the Collateral Agent nor any of its officers, directors, employees or agents
shall be liable for failure to demand, collect or realize upon any of the Collateral or for any delay
in doing so or shall be under any obligation to sell or otherwise dispose of any Collateral upon
the request of any other Person or to take any other action whatsoever with regard to the
Collateral or any part thereof. The Collateral Agent shall be accountable only for amounts that it
actually receives as a result of the exercise of such powers, and neither the Collateral Agent nor
any of its officers, directors, employees or agents shall be responsible for any act or failure to act
hereunder, except for its own willful misconduct, gross negligence or bad faith.

                (g)     The Trustee and the Collateral Agent are authorized and directed in
writing by the Holders and the Holders by acquiring the Notes are deemed to have authorized the
Trustee or the Collateral Agent to (i) enter into the Security Documents, (ii) bind the Holders on
the terms as set forth in the Security Documents and (iii) perform and observe their respective
obligations under the Security Documents.

                 (h)    Neither the Collateral Agent nor the Trustee shall have any obligation
whatsoever to assure that the Collateral exists or is owned by the Issuer and the Guarantors or is
cared for, protected or insured or has been encumbered, or that the Collateral Agent’s Liens have
been properly or sufficiently or lawfully created, perfected, protected, maintained or enforced or
are entitled to any particular priority, or to determine whether all of the Grantor’s property
constituting collateral intended to be subject to the Lien and security interest of the Security
Documents has been properly and completely listed or delivered, as the case may be, or the
genuineness, validity, marketability or sufficiency thereof or title thereto, or to exercise at all or
in any particular manner or under any duty of care, disclosure or fidelity, or to continue
exercising, any of the rights, authorities and powers granted or available to the Collateral Agent
pursuant to this Indenture or any Security Document, it being understood and agreed that in
respect of the Collateral, or any act, omission or event related thereto, the Collateral Agent may
act in any manner it may deem appropriate, in its sole discretion given the Collateral Agent’s
own interest in the Collateral, and that neither the Collateral Agent nor the Trustee shall have any
other duty or liability whatsoever as to any of the foregoing.

                (i)      The Collateral Agent (i) shall not be liable for any action it takes or omits
to take in good faith it believes to be authorized or within its rights or powers, or for any error of
judgment made in good faith by an authorized officer, unless it is proved that the Collateral
Agent was grossly negligent in ascertaining the pertinent facts, (ii) shall not be liable for interest
on any money received by it except as the Collateral Agent may agree in writing with the Issuer
(and money held in trust by the Collateral Agent need not be segregated from other funds except
to the extent required by law), and (iii) may consult with counsel of its selection and the advice
or opinion of such counsel as to matters of law shall be full and complete authorization and

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protection from liability in respect of any action taken, omitted or suffered by it in good faith and
in accordance with the advice or opinion of such counsel. The grant of permissive rights or
powers to the Collateral Agent shall not be construed to impose duties to act. In no event shall
the Collateral Agent be responsible or liable for special, indirect, punitive or consequential loss
or damage of any kind whatsoever (including, but not limited to, loss of profit) irrespective of
whether the Collateral Agent has been advised of the likelihood of such loss or damage and
regardless of the form of action.

                (j)     Notwithstanding anything to the contrary in this Indenture (including this
Article 12), in the event of a foreclosure on the Mortgaged Property and/or the exercise of its
remedies under the Security Documents, the Trustee and Collateral Agent agree that they shall
not take any action that results in the disturbance, extinguishment or termination of any
Permitted Liens granted pursuant to clause 14(B) of the definition thereof. Upon the request of
the Issuer, the Collateral Agent shall enter into (x) in the case of any such Permitted Lien that is a
lease, a subordination non−disturbance and attornment agreement and (y) in the case of any such
other Permitted Lien, a nondisturbance agreement, consent or such other agreement which, in
each case, confirms that in the event of a foreclosure on the Mortgaged Property and/or exercise
of remedies under the Security Documents, the Collateral Agent (and its successors and assigns)
will not disturb, extinguish or terminate any such Permitted Liens (or the rights thereunder). Any
request by the Issuer pursuant to the preceding sentence shall be evidenced by a certificate from
an officer of the Issuer which certificate shall certify that (1) the Permitted Liens in question do
not materially adversely affect or impair (A) the business operations of the Issuer and its
Restricted Subsidiaries as a whole or (B) the validity or priority of the Lien of the Mortgages on
the balance of the Mortgaged Property and (2) the applicable non−disturbance agreement,
consent or other agreement provides that the Permitted Liens in question are subordinate to the
Lien in favor of the Collateral Agent on the Mortgaged Property.

                 (k)    The Trustee and the Collateral Agent shall be deemed to have exercised
reasonable care in the custody of the Collateral in their possession if the Collateral is accorded
treatment substantially equal to that which it accords its own property and shall not be liable or
responsible for any loss or diminution in the value of any Collateral, by reason of the act or
omission of any carrier, forwarding agent or other agent or bailee selected by the Trustee or the
Collateral Agent in good faith. Neither the Trustee nor the Collateral Agent shall be responsible
for filing any financing or continuation statements or recording any documents or instruments in
any public office at any time or times or otherwise perfecting or maintaining the perfection of
any security interest in the Collateral.

                 (l)    Except as otherwise provided in this Indenture or the Security Documents,
the Collateral Agent shall be fully justified in failing or refusing to take any action under this
Indenture, the Security Documents or the Intercreditor Agreements unless it shall first receive
such advice or concurrence of the Trustee or the Holders of a majority in aggregate principal
amount of the Notes as it determines and, if it so requests, it shall first be indemnified to its
satisfaction by the Holders against any and all liability and expense which may be incurred by it
by reason of taking or continuing to take any such action. Except as otherwise provided in this
Indenture or the Security Documents, the Collateral Agent shall in all cases be fully protected in
acting, or in refraining from acting, under this Indenture, the Security Documents or the
Intercreditor Agreements in accordance with a request, direction, instruction or consent of the

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Trustee or the Holders of a majority in aggregate principal amount of the then outstanding Notes
and such request and any action taken or failure to act pursuant thereto shall be binding upon all
of the Holders. Notwithstanding anything to the contrary contained in this Indenture, the
Intercreditor Agreements or the Security Documents, in the event the Collateral Agent is entitled
or required to commence an action to foreclose or otherwise exercise its remedies to acquire
control or possession of the Collateral, the Collateral Agent shall not be required to commence
any such action or exercise any remedy or to inspect or conduct any studies of any property
under the mortgages or take any such other action if the Collateral Agent has determined that the
Collateral Agent may incur personal liability as a result of the presence at, or release on or from,
the Collateral or such property, of any hazardous substances. The Collateral Agent shall at any
time be entitled to cease taking any action described in this clause if it no longer reasonably
deems any indemnity, security or undertaking from the Issuers or the Holders to be sufficient.

                 (m)     The parties hereto and the Holders hereby agree and acknowledge that
neither the Collateral Agent nor the Trustee shall assume, be responsible for or otherwise be
obligated for any liabilities, claims, causes of action, suits, losses, allegations, requests, demands,
penalties, fines, settlements, damages (including foreseeable and unforeseeable), judgments,
expenses and costs (including but not limited to, any remediation, corrective action, response,
removal or remedial action, or investigation, operations and maintenance or monitoring costs, for
personal injury or property damages, real or personal) of any kind whatsoever, pursuant to any
environmental law as a result of this Indenture, the Intercreditor Agreements, the other Security
Documents or any actions taken pursuant hereto or thereto. Further, the parties hereto and the
Holders hereby agree and acknowledge that in the exercise of its rights under this Indenture, the
Intercreditor Agreements and the other Security Documents, the Collateral Agent or the Trustee
may hold or obtain indicia of ownership primarily to protect the security interest of the Collateral
Agent or the Trustee in the Collateral and that any such actions taken by the Collateral Agent or
the Trustee shall not be construed as or otherwise constitute any participation in the management
of such Collateral. In the event that the Collateral Agent or the Trustee is required to acquire
title to an asset for any reason, or take any managerial action of any kind in regard thereto, in
order to carry out any fiduciary or trust obligation for the benefit of another, which in the
Collateral Agent’s or the Trustee’s sole discretion may cause the Collateral Agent or the Trustee
to be considered an “owner or operator” under the provisions of the Comprehensive
Environmental Response, Compensation and Liability Act (“CERCLA”), 42 U.S.C. §9601, et
seq., or otherwise cause the Collateral Agent or the Trustee to incur liability under CERCLA or
any other federal, state or local law, the Collateral Agent and the Trustee reserves the right,
instead of taking such action, to either resign as the Collateral Agent or the Trustee or arrange for
the transfer of the title or control of the asset to a court-appointed receiver. Neither the Collateral
Agent nor the Trustee shall be liable to the Issuer, the Guarantors or any other Person for any
environmental claims or contribution actions under any federal, state or local law, rule or
regulation by reason of the Collateral Agent’s or the Trustee’s actions and conduct as authorized,
empowered and directed hereunder or relating to the discharge, release or threatened release of
hazardous materials into the environment. If at any time it is necessary or advisable for property
to be possessed, owned, operated or managed by any Person (including the Collateral Agent or
the Trustee) other than the Issuers or the Guarantors, subject to the terms of the Security
Documents, a majority in interest of Holders shall direct the Collateral Agent or the Trustee to
appoint an appropriately qualified Person (excluding the Collateral Agent or the Trustee) who
they shall designate to possess, own, operate or manage, as the case may be, the property.
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               (n)    The Collateral Agent, in executing and performing its duties hereunder
and under the Security Documents, shall be entitled to all of the rights, protections, immunities
and indemnities granted to it hereunder, including after the satisfaction and discharge of this
Indenture or the payment in full of the Notes.

                (o)     For the avoidance of doubt, the rights, privileges, protections, immunities
and benefits given to the Trustee hereunder shall apply to the Collateral Agent as well and the
rights, privileges, protections, immunities and benefits given to the Collateral Agent hereunder,
including, without limitation, its right to be indemnified prior to taking action, shall survive the
satisfaction, discharge or termination of this Indenture or earlier termination, resignation or
removal of the Collateral Agent.

                (p)     The Trustee and Collateral Agent shall be under no obligation to effect or
maintain insurance or to renew any policies of insurance or to inquire as to the sufficiency of any
policies of insurance carried by the Issuer or any Guarantor, or to report, or make or file claims
or proof of loss for, any loss or damage insured against or that may occur, or to keep itself
informed or advised as to the payment of any taxes or assessments, or to require any such
payment to be made.

               (q)     In no event shall the Collateral Agent be required to execute and deliver
any landlord lien waiver, estoppel or collateral access letter, or any account control agreement or
any instruction or direction letter delivered in connection with such document that the Collateral
Agent determines adversely affects it or otherwise subjects it to personal liability, including
without limitation, agreements to indemnify any contractual counterparty.

Section 12.08 Purchaser Protected.

                No purchaser or grantee of any property or rights purporting to be released shall
be bound to ascertain the authority of the Collateral Agent or Trustee to execute the release or to
inquire as to the existence of any conditions herein prescribed for the exercise of such authority
so long as the conditions set forth in Section 12.04 have been satisfied.

Section 12.09 Authorization of Actions to Be Taken by the Collateral Agent Under the Security
              Documents.

                The Holders agree that the Collateral Agent shall be entitled to the rights,
privileges, protections immunities, indemnities and benefits provided to the Collateral Agent by
the Security Documents. Furthermore, each holder of a Note, by accepting such Note, consents
to the terms of and authorizes and directs the Trustee (in each of its capacities) and the Collateral
Agent to enter into and perform the Security Documents in each of its capacities thereunder.

Section 12.10 Authorization of Receipt of Funds by the Trustee Under the Security Agreement.

               The Trustee is authorized to receive any funds for the benefit of Holders
distributed under the Security Documents to the Trustee, to apply such funds as provided in
Section 6.10 hereof.

Section 12.11 Powers Exercisable by Receiver or Collateral Agent.

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                In case the Collateral shall be in the possession of a receiver or trustee, lawfully
appointed, the powers conferred in this Article 12 upon the Issuer or any Guarantor, as
applicable, with respect to the release, sale or other disposition of such property may be
exercised by such receiver or trustee, and an instrument signed by such receiver or trustee shall
be deemed the equivalent of any similar instrument of the Issuer or any Guarantor, as applicable,
or of any officer or officers thereof required by the provisions of this Article 12.

Section 12.12 Compensation and Indemnification.

                The Collateral Agent shall be entitled to the compensation and indemnification set
forth in Section 7.07 (with the references to the Trustee therein being deemed to refer to the
Collateral Agent).

                                           ARTICLE 13

                                          [RESERVED]

                                           ARTICLE 14

                                       MISCELLANEOUS

Section 14.01 Intentionally Omitted.

Section 14.02 Notices.

                (a)     Any notice, direction, request, instruction, document, or communication
by the Issuer, any Guarantor or the Trustee to the others is duly given if in writing and delivered
in Person or by first class mail (registered or certified, return receipt requested), facsimile
transmission electronically in PDF format or overnight air courier guaranteeing next day
delivery, to the others’ address:

       If to either Issuer and/or any Guarantor:

               TPC Group Inc.
               One Allen Center
               500 Dallas Street, Suite 2000
               Houston, Texas 77002
               Facsimile: (832) 415-0456
               Attention: Marilyn Moore Basso
               Email: Marilyn.MooreBasso@tpcgrp.com

               With a copy to:

               Simpson Thacher & Bartlett LLP
               425 Lexington Avenue
               New York, New York 10017
               Facsimile: (212) 455-2502


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               Attention: David Azarkh, Esq.
               Email: dazarkh@stblaw.com

       If to the Trustee or the Collateral Agent:

               U.S. Bank National Association
               Global Corporate Trust Services
               13737 Noel Road, Suite 800
               Dallas, Texas 75240
               Facsimile: (972) 581-1670

                The Issuer, any Guarantor, the Trustee or the Collateral Agent, by notice to the
others, may designate additional or different addresses for subsequent notices or
communications; provided, however, that notices to the Trustee shall only be effective upon
actual receipt.

               (b)     All notices and communications (other than those sent to Holders) will be
deemed to have been duly given: at the time delivered by hand, if personally delivered; five
calendar days after being deposited in the mail, postage prepaid, if mailed; when receipt
acknowledged, if transmitted by facsimile; when sent, if sent electronically in PDF format and
the next Business Day after timely delivery to the courier, if sent by overnight air courier
guaranteeing next day delivery.

                (c)     Notwithstanding any other provision hereof or of any Note, where this
Indenture or any Note provides for notice of any event (including any notice of redemption) to
any holder of an interest in a Global Note (whether by email or otherwise), such notice shall be
sufficiently given if given to DTC or other applicable Depositary for such note (or its designee)
according to the applicable procedures of DTC or such Depositary. Any notice or
communication to a Holder of a Definitive Note will be mailed by first class mail, certified or
registered, return receipt requested, or by overnight air courier guaranteeing next day delivery to
its address shown on the register kept by the Registrar. Failure to send a notice or
communication to a Holder as provided herein or any defect in it will not affect its sufficiency
with respect to other Holders.

              (d)     If a notice or communication is sent in the manner provided in this
Section 14.02 within the time prescribed, it is duly given, whether or not the addressee receives
it.

               (e)    If the Issuer sends a notice or communication to Holders, it will send a
copy to the Trustee and each Agent at the same time.

                (f)     In respect of this Indenture, the Trustee and Collateral Agent shall not
have any duty or obligation to verify or confirm that the Person sending instructions, directions,
reports, notices or other communications or information by electronic transmission is, in fact, a
Person authorized to give such instructions, directions, reports, notices or other communications
or information on behalf of the party purporting to send such electronic transmission; and neither
the Trustee nor the Collateral Agent shall have any liability for any losses, liabilities, costs or
expenses incurred or sustained by any party as a result of such reliance upon or compliance with
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such instructions, directions, reports, notices or other communications or information. Each other
party agrees to assume all risks arising out of the use of electronic methods to submit
instructions, directions, reports, notices or other communications or information to the Trustee
and the Collateral Agent, including without limitation the risk of the Trustee and the Collateral
Agent acting on unauthorized instructions, notices, reports or other communications or
information, and the risk of interception and misuse by third parties.

Section 14.03 [Reserved].

Section 14.04 Certificate and Opinion as to Conditions Precedent.

                Upon any request or application by the Issuer to the Trustee to take any action
under this Indenture, the Intercreditor Agreements or the other Security Documents (other than in
connection with the Authentication Order, dated the date hereof, and delivered to the Trustee in
connection with the issuance of the Initial Notes, in which case only an Officer’s Certificate shall
be furnished), the Issuer shall furnish to the Trustee:

              (1)      an Officer’s Certificate (which must include the statements set forth in
       Section 14.05 hereof) stating that, in the opinion of the signers, all conditions precedent
       and covenants, if any, provided for in this Indenture relating to the proposed action have
       been satisfied; and

              (2)    an Opinion of Counsel (which must include the statements set forth in
       Section 14.05 hereof) stating that, in the opinion of such counsel, all such conditions
       precedent and covenants have been satisfied.

Section 14.05 Statements Required in Certificate or Opinion.

              Each certificate or opinion with respect to compliance with a condition or
covenant provided for in this Indenture must include substantially:

              (1)    a statement that the Person making such certificate or opinion has read
       such covenant or condition;

               (2)    a brief statement as to the nature and scope of the examination or
       investigation upon which the statements or opinions contained in such certificate or
       opinion are based;

              (3)     a statement that, in the opinion of such Person, he or she has made such
       examination or investigation as is necessary to enable him or her to express an informed
       opinion as to whether or not such covenant or condition has been satisfied; and

              (4)     a statement as to whether or not, in the opinion of such Person, such
       condition or covenant has been satisfied.

Section 14.06 Rules by Trustee and Agents.



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             The Trustee may make reasonable rules for action by or at a meeting of Holders.
The Agents may make reasonable rules and set reasonable requirements for its functions.

Section 14.07 No Personal Liability of Directors, Officers, Employees and Stockholders.

                To the extent permitted by law, no past, present or future director, manager,
officer, employee, incorporator, stockholder or member of the Issuer, any parent of the Issuer or
any Subsidiary, as such, will have any liability for any obligations of the Issuer or the Guarantors
under the Notes, this Indenture, the Note Guarantees or for any claim based on, in respect of, or
by reason of, such obligations or their creation. Each Holder by accepting a Note waives and
releases all such liability. The waiver and release are part of the consideration for issuance of the
Notes.

Section 14.08 Governing Law.

           (a)   THIS INDENTURE, THE NOTES, AND THE NOTE GUARANTEES
SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH THE LAWS
OF THE STATE OF NEW YORK.

                 (b)    Each party hereto irrevocably and unconditionally submits to the
jurisdiction of the Supreme Court of the State of New York sitting in the Borough of Manhattan,
New York County and of the United States District Court of the Southern District of New York
sitting in the Borough of Manhattan, and any appellate court from any jurisdiction thereof, in any
action or proceeding arising out of or relating to this Indenture, the Notes or the Note
Guarantees, or for recognition or enforcement of any judgment, and each of the parties hereto
hereby irrevocably and unconditionally agrees that all claims in respect of any such action or
proceeding may be heard and determined in such New York State or, to the extent permitted by
law, in such Federal court. Each party hereto agrees that a final judgment in any such action or
proceeding shall be conclusive and may be enforced in other jurisdictions by suit on the
judgment or in any other manner provided by law. Nothing in this Indenture shall affect any right
that any party hereto or any Secured Party may otherwise have to bring any action or proceeding
relating to this Indenture against any party hereto or its properties in the courts of any
jurisdiction.

                (c)     Each party hereto irrevocably and unconditionally waives, to the fullest
extent it may legally and effectively do so, any objection which it may now or hereafter have to
the laying of venue of any suit, action or proceeding arising out of or relating to this Indenture in
any court referred to in Section 14.08(b) hereto. Each party hereto irrevocably waives, to the
fullest extent permitted by law, the defense of an inconvenient forum to the maintenance of such
action or proceeding in any such court.

               (d)     Each party hereto irrevocably consents to service of process in the manner
provided for notices in Section 14.02 hereof, such service to be effective upon receipt.

       Nothing in this Indenture will affect the right of any party hereto or any Secured Party to
       serve process in any other manner permitted by law.

Section 14.09 Successors.

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               All agreements of the Issuer in this Indenture and the Notes will bind its
successors. All agreements of the Trustee in this Indenture will bind its successors. All
agreements of each Guarantor in this Indenture will bind its successors, except as otherwise
provided in Section 10.04.

Section 14.10 Severability.

              In case any provision in this Indenture or in the Notes is invalid, illegal or
unenforceable, the validity, legality and enforceability of the remaining provisions will not in
any way be affected or impaired thereby.

Section 14.11 Counterpart Originals.

                The parties may sign any number of copies of this Indenture. Each signed copy
will be an original, but all of them together represent the same agreement. The exchange of
copies of this Indenture and of signature pages by facsimile or PDF transmission shall constitute
effective execution and delivery of this Indenture as to the parties hereto and may be used in lieu
of the original Indenture for all purposes. Signatures of the parties hereto transmitted by
facsimile or PDF shall be deemed to be their original signatures for all purposes. In furtherance
of the foregoing, the words “execution”, “signed”, “signature”, “delivery” and words of like
import in or relating to this Indenture or any document to be signed in connection with this
Indenture and the transactions contemplated hereby or thereby shall be deemed to include
electronic signatures (including .pdf file, .jpeg file or any electronic signature complying with the
U.S. federal ESIGN Act of 2000, including Orbit, Adobe Sign, DocuSign, or any other similar
platform identified by the Company and reasonably available at no undue burden or expense to
the Trustee), deliveries or the keeping of records in electronic form, each of which shall be of the
same legal effect, validity or enforceability as a manually executed signature, physical delivery
thereof or the use of a paper-based recordkeeping system, as the case may be, to the extent and as
provided for in any applicable law, including the Federal Electronic Signatures in Global and
National Commerce Act, the New York State Electronic Signatures and Records Act, or any
other similar state laws based on the Uniform Electronic Transactions Act, and the parties hereto
consent to conduct the transactions contemplated hereunder by electronic means.

Section 14.12 Table of Contents, Headings, etc.

                The Table of Contents, Cross−Reference Table and Headings of the Articles and
Sections of this Indenture have been inserted for convenience of reference only, are not to be
considered a part of this Indenture and will in no way modify or restrict any of the terms or
provisions hereof.

Section 14.13 Waiver of Immunity.

                To the extent that any of the Issuer or the Guarantors has or hereafter may acquire
any immunity from jurisdiction of any court or from any legal process (whether through service
of notice, attachment prior to judgment, attachment in aid of execution or execution, on the
ground of sovereignty or otherwise) with respect to itself or its property, it hereby irrevocably
waives, to the fullest extent permitted by applicable law, such immunity in respect of its
obligations under this Indenture, Note and/or Note Guarantees.
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Section 14.14 Waiver of Jury Trial.

           ALL PARTIES HERETO HEREBY IRREVOCABLY WAIVE ALL RIGHTS
TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER
BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO
THIS INDENTURE, THE NOTES, THE NOTE GUARANTEES, THE SECURITY
DOCUMENTS, THE INTERCREDITOR AGREEMENTS OR THE TRANSACTIONS
CONTEMPLATED HEREBY OR THEREBY.

Section 14.15 U.S.A. Patriot Act.

                The parties hereto acknowledge that in accordance with Section 326 of the U.S.A.
Patriot Act, the Trustee, like all financial institutions and in order to help fight the funding of
terrorism and money laundering, is required to obtain, verify, and record information that
identifies each person or legal entity that establishes a relationship or opens an account with the
Trustee. The parties to this Indenture agree that they will provide the Trustee with such
information as it may request in order for the Trustee to satisfy the requirements of the U.S.A.
Patriot Act.

                                 [Signatures on following page]




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              IN WITNESS WHEREOF, the parties hereto have caused this Indenture to be
duly executed and attested, all as of the date first above written.

                                           TPC GROUP INC.


                                           By:
                                                   Name:
                                                   Title:

                                           TPC GROUP LLC


                                           By:
                                                   Name:
                                                   Title:

                                           TP CAPITAL CORPORATION


                                           By:
                                                   Name:
                                                   Title:

                                           TEXAS BUTYLENE CHEMICAL
                                           CORPORATION


                                           By:
                                                   Name:
                                                   Title:

                                           TEXAS OLEFINS
                                           DOMESTIC-INTERNATIONAL SALES
                                           CORPORATION


                                           By:
                                                   Name:
                                                   Title:




                               [Signature Page to Indenture]
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                                PORT NECHES FUELS, LLC


                                By:
                                        Name:
                                        Title:

                                TPC PHOENIX FUELS LLC


                                By:
                                        Name:
                                        Title:

                                U.S. BANK NATIONAL ASSOCIATION,
                                as Trustee


                                By:
                                        Name:
                                        Title:

                                U.S. BANK NATIONAL ASSOCIATION,
                                as Trustee


                                By:
                                        Name:       Michael K. Herberger
                                        Title:      Vice President

                                U.S. BANK NATIONAL ASSOCIATION,
                                as Collateral Agent


                                By:
                                        Name:       Michael K. Herberger
                                        Title:      Vice President




                    [Signature Page to Indenture]
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                                                                                    EXHIBIT A1

                                  [Face of 144A Global Note]

[Insert the Global Note Legend, if applicable pursuant to the provisions of the Indenture]

[Insert the Private Placement Legend, if applicable pursuant to the provisions of the Indenture]


                                                     CUSIP/ISIN 89236Y AB0 / US89236YAB02

                             10.50% Senior Secured Note due 2024

       No.                                                                               $

                                           TPC Group Inc.
                                           One Allen Center
                                      500 Dallas Street, Suite 2000
                                         Houston, Texas 77002

       promise to pay to CEDE & CO. or registered assigns,

       the principal sum of _______________ DOLLARS on August 1, 2024.

       Interest Payment Dates: February 1 and August 1

       Record Dates: January 15 and July 15

       Dated: August 2 ,2019




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                                                 TPC GROUP INC.


                                                 By:
                                                       Name:
                                                       Title:



        This is one of the Notes referred to
in the within−mentioned Indenture:

 U.S. BANK NATIONAL ASSOCIATION,
 as Trustee


 By:
                         Authorized Signatory




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                                  [Back of 144A Global Note]
                             10.50% Senior Secured Notes due 2024

               Capitalized terms used herein have the meanings assigned to them in the
Indenture referred to below unless otherwise indicated.

                (1)    INTEREST. TPC Group Inc., a Delaware corporation (the “Issuer”),
promises to pay interest on the principal amount of this Note at 10.50% per annum from August
2, 2019 until maturity. The Issuer will pay interest semi−annually in arrears on February 1 and
August 1 of each year, or if any such day is not a Business Day, on the next succeeding Business
Day (each, an “Interest Payment Date”). Interest on the Notes will accrue from the most recent
date to which interest has been paid or, if no interest has been paid, from August 2, 2019 until the
principal hereof is due. The first Interest Payment Date shall be February 1, 2020. The Issuer will
pay interest on overdue principal at the rate borne by the Notes, and it shall pay interest on
overdue installments of interest at the same rate to the extent lawful. Interest will be computed
on the basis of a 360−day year of twelve 30−day months.

                 (2)     METHOD OF PAYMENT. The Issuer will pay interest on the Notes
(except defaulted interest) to the Persons who are registered Holders at the close of business on
the January 15 or July 15 immediately preceding the Interest Payment Date (whether or not a
Business Day), even if such Notes are canceled after such record date and on or before such
Interest Payment Date, except as provided in Section 2.12 of the Indenture with respect to
defaulted interest. Payments in respect of Notes represented by Global Notes (including
principal, Applicable Premium, any other premium, if any, and interest) shall be made by wire
transfer of immediately available funds to the accounts specified by The Depository Trust
Company or any successor depositary. The Issuer will make all payments in respect of a
Definitive Note (including principal, Applicable Premium, any other premium, if any, and
interest), at the office of each Paying Agent, except that, at the option of the Issuer, payment of
interest may be made by mailing a check to the registered address of each Holder thereof;
provided, however, that payments on the Notes may also be made in the case of a Holder of at
least $1,000,000 aggregate principal amount of Notes, by wire transfer to a U.S. dollar account
maintained by the payee with a bank in the United States if such Holder elects payment by wire
transfer by giving written notice to the Trustee or a Paying Agent to such effect designating such
account no later than 30 days immediately preceding the relevant due date for payment (or such
other date as the Trustee may accept in its discretion). Such payment will be in such coin or
currency of the United States of America as at the time of payment is legal tender for payment of
public and private debts.

               (3)     PAYING AGENT AND REGISTRAR. Initially, U.S. Bank National
Association, the Trustee under the Indenture, will act as Paying Agent and Registrar. The Issuer
may change any Paying Agent or Registrar without notice to any Holder. The Issuer or any of the
Issuer’s Subsidiaries may act in any such capacity.

               (4)    INDENTURE. The Issuer issued the Notes under an Indenture dated as of
August 2, 2019 (the “Indenture”) among the Issuer, the Guarantors and the Trustee. The terms of
the Notes include those stated in the Indenture. Terms defined in the Indenture and not defined
herein have the meanings ascribed thereto in the Indenture. The Notes are subject to all the terms

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and provisions of the Indenture, and Holders are referred to the Indenture for a statement of such
terms. To the extent any provision of this Note conflicts with the express provisions of the
Indenture, the provisions of the Indenture shall govern and be controlling.

                The Notes are senior secured obligations of the Issuer. This Note is one of the
Notes referred to in the Indenture. The Notes include the Initial Notes and any Additional Notes.
The Initial Notes and any Additional Notes are treated as a single class of securities under the
Indenture. The Indenture imposes certain limitations on the ability of the Issuer and its Restricted
Subsidiaries to, among other things, make certain Investments and other Restricted Payments,
pay dividends and other distributions, incur Indebtedness, enter into consensual restrictions upon
the payment of certain dividends and distributions by such Restricted Subsidiaries, issue or sell
shares of capital stock of the Issuer and such Restricted Subsidiaries, enter into or permit certain
transactions with Affiliates, create or incur Liens and make asset sales. The Indenture also
imposes limitations on the ability of the Issuer and each Guarantor to consolidate or merge with
or into any other Person or convey, transfer or lease all or substantially all of its property.

                To guarantee the due and punctual payment of the principal and interest on the
Notes and all other amounts payable by the Issuer under the Indenture, the Notes and the
Security Documents when and as the same shall be due and payable, whether at maturity, by
acceleration or otherwise, according to the terms of the Notes and the Indenture, the Guarantors
have, jointly and severally, unconditionally guaranteed the Obligations of the Issuer under the
Notes on a senior secured basis pursuant to the terms of the Indenture.

                The Notes shall be secured by Liens and security interests, subject to Permitted
Liens, in the Collateral on the terms and conditions set forth in the Indenture, the Intercreditor
Agreements and the other Security Documents. The Collateral Agent holds the Collateral in trust
for the benefit of the Holders of the Notes Obligations and the Trustee and the Holders, in each
case pursuant to the Security Documents.

                Each Holder by accepting this Note consents and agrees to the terms of the
Intercreditor Agreements and the other Security Documents as the same may be in effect or may
be amended from time to time in accordance with their terms and the Indenture authorizes and
directs the Collateral Agent and the Trustee, as applicable, to enter into the Intercreditor
Agreement and the other Security Documents and to perform its obligations and exercise its
rights thereunder in accordance therewith.

               (5)     OPTIONAL REDEMPTION.

                (a)     At any time prior to August 1, 2021, the Issuer may on any one or more
occasions redeem up to 35% of the aggregate principal amount of Notes issued under the
Indenture at a redemption price of 110.50% of the principal amount thereof, plus accrued and
unpaid interest to, but not including, the redemption date (subject to the right of Holders on the
relevant record date to receive interest due on the relevant interest payment date), with the net
cash proceeds of one or more Equity Offerings; provided that:

               (1)    at least 50% of the aggregate principal amount of Notes issued under the
Indenture (including any Additional Notes issued after the Issue Date, but excluding Notes held

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by the Issuer and its Subsidiaries, including the Issuer) remains outstanding immediately after the
occurrence of such redemption (unless all of such Notes are redeemed); and

              (2)      the redemption occurs within 180 days of the date of the closing of such
Equity Offering.

               (b)     On or after August 1, 2021, the Issuer may redeem all or a part of the
Notes at the redemption prices (expressed as percentages of principal amount) set forth below
plus accrued and unpaid interest on the Notes redeemed to, but not including, the applicable
redemption date, if redeemed during the 12−month period beginning on August 1 of the years
indicated below, subject to the rights of Holders on the relevant record date to receive interest
due on the relevant interest payment date:

                          Year                                         Percentage
                          2021                                         107.875%
                          2022                                         103.938%
                          2023 and thereafter                          100.000%

               Unless the Issuer defaults in the payment of the redemption price or unless any
condition to the redemption described in the notice of redemption is not satisfied, interest will
cease to accrue on the Notes or portions thereof called for redemption on the applicable
redemption date.

                (c)     The Notes will be subject to redemption as a whole, but not in part, at the
option of the Issuer at any time, at 100% of the principal amount, plus accrued and unpaid
interest on the Notes to be redeemed to, but not including, the redemption date (subject to the
right of Holders on the relevant record date to receive interest due on the relevant Interest
Payment Date).

               (d)      At any time prior to August 1, 2021, the Issuer may also redeem all or a
part of the Notes, at a redemption price equal to 100% of the aggregate principal amount hereof
plus the Applicable Premium as of, and accrued and unpaid interest to, but not including, the
date of redemption, subject to the rights of Holders on the relevant record date to receive interest
due on the relevant interest payment date.

               (6)     MANDATORY REDEMPTION.

              The Issuer is not required to make mandatory redemption or sinking fund
payments with respect to the Notes.

                (7)    NOTICE OF REDEMPTION. Notice of redemption will be mailed, or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, at least 15 days but not more than 60 days before the redemption date to each Holder
whose Notes are to be redeemed at its registered address, except that redemption notices may be
mailed more than 60 days prior to a redemption date, or otherwise deliver notice in accordance
with the applicable procedures of DTC, with a copy to the Trustee, if the notice is issued in
connection with a defeasance of the Notes or a satisfaction or discharge of the Indenture. Notes


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in denominations larger than $2,000 may be redeemed in part but only in whole multiples of
$1,000 in excess of $2,000.

               (8)    REPURCHASE AT THE OPTION OF HOLDER.

                (a)     If there is a Change of Control, the Issuer will make an offer (a “Change
of Control Offer”) to each Holder to repurchase all or any part (equal to $2,000 or an integral
multiple of $1,000 in excess of $2,000) of that Holder’s Notes at a purchase price in cash equal
to 101% of the aggregate principal amount of Notes repurchased plus accrued and unpaid interest
on the Notes repurchased to, but not including, the date of purchase, subject to the rights of
Holders on the relevant record date to receive interest due on the relevant interest payment date.
Within 30 days following any Change of Control, the Issuer will mail a notice to each Holder or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, setting forth the procedures governing the Change of Control Offer as required by the
Indenture.

                (b)    If the Issuer or a Restricted Subsidiary of the Issuer consummates any
Asset Sales, within ten Business Days of each date on which the aggregate amount of Excess
Proceeds exceeds $25.0 million, the Issuer will commence an offer to all Holders (an “Asset Sale
Offer”) pursuant to Section 4.08 of the Indenture to purchase the maximum principal amount of
Notes that may be purchased out of the Excess Proceeds at an offer price in cash in an amount
equal to 100% of the principal amount thereof plus accrued and unpaid interest thereon to, but
excluding, the date of purchase, in accordance with the procedures set forth in the Indenture. To
the extent that any Excess Proceeds remain after the consummation of an Asset Sale Offer, the
Issuer or any Restricted Subsidiary of the Issuer may use those Excess Proceeds for any purpose
not otherwise prohibited by the Indenture. If the aggregate principal amount of Notes tendered
into such Asset Sale Offer exceeds the amount of Excess Proceeds, the Trustee shall select the
Notes to be purchased on a pro rata basis. Holders that are the subject of an offer to purchase
will receive an Asset Sale Offer from the Issuer prior to any related purchase date and may elect
to have such Notes purchased by completing the form entitled “Option of Holder to Elect
Purchase” attached to the Notes.

               (c)    The Issuer shall make offers to purchase in compliance with Section 4.13
of the Indenture.

                (9)    DENOMINATIONS, TRANSFER, EXCHANGE. The Notes are in
registered form without coupons in denominations of $2,000 and integral multiples of $1,000 in
excess of $2,000. The transfer of Notes may be registered and Notes may be exchanged as
provided in the Indenture. The Registrar and the Trustee may require a Holder, among other
things, to furnish appropriate endorsements and transfer documents and the Issuer may require a
Holder to pay any taxes and fees required by law or permitted by the Indenture. The Issuer need
not exchange or register the transfer of any Note or portion of a Note selected for redemption,
except for the unredeemed portion of any Note being redeemed in part. Also, the Issuer need not
exchange or register the transfer of any Notes for a period of 15 days before a selection of Notes
to be redeemed or during the period between a record date and the corresponding Interest
Payment Date.


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                (10) PERSONS DEEMED OWNERS. The registered Holder may be treated as
its owner for all purposes.

              (11) AMENDMENT, SUPPLEMENT AND WAIVER. The provisions
governing amendment, supplement and waiver of any provision of the Indenture, the Notes or
the Note Guarantees are set forth in Article 9 of the Indenture.

               (12) DEFAULTS AND REMEDIES. The Events of Default relating to the Notes
are defined in Section 6.01 of the Indenture.

                (13) DISCHARGE AND DEFEASANCE. Subject to certain conditions, the
Issuer at any time may terminate some or all of its obligations under the Notes, the Note
Guarantees and the Indenture if the Issuer deposits with the Trustee money or U.S. Government
Securities for the payment of principal of and interest on the Notes to redemption or maturity, as
the case may be.

                 (14) TRUSTEE DEALINGS WITH ISSUER. The Trustee, in its individual or
any other capacity, may make loans to, accept deposits from, and perform services for the Issuer
or its Affiliates, and may otherwise deal with the Issuer or its Affiliates, as if it were not the
Trustee.

                (15) NO RECOURSE AGAINST OTHERS. A director, manager, officer,
employee, incorporator, member or stockholder of the Issuer or any of the Guarantors, as such,
will not have any liability for any obligations of the Issuer or the Guarantors under the Notes, the
Note Guarantees or the Indenture or for any claim based on, in respect of, or by reason of, such
obligations or their creation. Each Holder by accepting a Note waives and releases all such
liability. The waiver and release are part of the consideration for the issuance of the Notes.

              (16) AUTHENTICATION. This Note will not be valid until authenticated by the
manual signature of the Trustee or an authenticating agent.

                (17) ABBREVIATIONS. Customary abbreviations may be used in the name of a
Holder or an assignee, such as: TEN COM (= tenants in common), TEN ENT (= tenants by the
entireties), JT TEN (= joint tenants with right of survivorship and not as tenants in common),
CUST (= Custodian), and U/G/M/A (= Uniform Gifts to Minors Act).

               (18) CUSIP NUMBERS. Pursuant to a recommendation promulgated by the
Committee on Uniform Security Identification Procedures, the Issuer has caused CUSIP numbers
to be printed on the Notes, and CUSIP numbers may be used in notices of redemption as a
convenience to Holders. No representation is made as to the accuracy of such numbers either as
printed on the Notes or as contained in any notice of redemption, and reliance may be placed
only on the other identification numbers placed thereon.

           (19) GOVERNING LAW. THE INDENTURE, THIS NOTE AND THE NOTE
GUARANTEES SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK.



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               The Issuer will furnish to any Holder upon written request and without charge a
copy of the Indenture. Requests may be made to:

                                          TPC Group Inc.
                                          One Allen Center
                                     500 Dallas Street, Suite 2000
                                        Houston, Texas 77002




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                                     ASSIGNMENT FORM

       To assign this Note, fill in the form below:

       (I) or (we) assign and transfer this Note

       to:
                                      (Insert assignee’s legal name)


                                (Insert assignee’s soc. sec. or tax I.D. no.)




                          (Print or type assignee’s name, address and zip code)

       and irrevocably

       appoint
       to transfer this Note on the books of the Issuer. The agent may substitute another to act
for him.

       Date:

                                      Your Signature:
                                                        (Sign exactly as your name appears on the
                                                        face of this Note)

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
guarantor acceptable to the Trustee).




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                        OPTION OF HOLDER TO ELECT PURCHASE

               If you want to elect to have this Note purchased by the Issuer pursuant to
Section 4.08 or 4.12 of the Indenture, check the appropriate box below:

                    Section 4.08                                   Section 4.12

               If you want to elect to have only part of the Note purchased by the Issuer pursuant
to Section 4.08 or Section 4.12 of the Indenture, state the amount you elect to have purchased:

                                                 $

       Date:

                                     Your Signature:
                                                       (Sign exactly as your name appears on the
                                                       face of this Note)

                                     Tax Identification No.:

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
       guarantor acceptable to the Trustee).




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SCHEDULE OF TRANSFERS AND EXCHANGES OF INTERESTS IN THE 144A GLOBAL
                              NOTE*

              The following exchanges of a part of this 144A Global Note for an interest in
another Global Note or for a Definitive Note, or exchanges of a part of another Global Note or
Definitive Note for an interest in this 144A Global Note, have been made:

                                                                     Principal Amount of
                                                                       this Global Note        Signature of
                       Amount of decrease      Amount of increase       following such     authorized signatory
 Date of Transfer or   in Principal Amount    in Principal Amount        decrease (or          of Trustee or
     Exchange           of this Global Note    of this Global Note         increase)            Custodian


* This schedule should be included only if the Note is issued in global form




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                                                                          EXHIBIT A2

                        [Face of Regulation S Global Note]

                         [Insert the Global Note Legend]

                    [Insert the Private Placement Legend]


                                         CUSIP/ISIN U8925W AD3 / USU8925WAD30

                    10.50% Senior Secured Note due 2024

No.                                                                             $

                                   TPC Group Inc.
                                   One Allen Center
                              500 Dallas Street, Suite 2000
                                 Houston, Texas 77002

promise to pay to CEDE & CO. or registered assigns,

the principal sum of _______________ DOLLARS on August 1, 2024.

Interest Payment Dates: February 1 and August 1

Record Dates: January 15 and July 15

Dated: August 2 ,2019




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                                                 TPC GROUP INC.


                                                 By:
                                                       Name:
                                                       Title:



        This is one of the Notes referred to
in the within−mentioned Indenture:

 U.S. BANK NATIONAL ASSOCIATION,
 as Trustee


 By:
                         Authorized Signatory




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                               [Back of Regulation S Global Note]
                              10.50% Senior Secured Note due 2024

               Capitalized terms used herein have the meanings assigned to them in the
Indenture referred to below unless otherwise indicated.

                (1)    INTEREST. TPC Group Inc., a Delaware corporation (the “Issuer”),
promises to pay interest on the principal amount of this Note at 10.50% per annum from August
2, 2019 until maturity. The Issuer will pay interest semi−annually in arrears on February 1 and
August 1 of each year, or if any such day is not a Business Day, on the next succeeding Business
Day (each, an “Interest Payment Date”). Interest on the Notes will accrue from the most recent
date to which interest has been paid or, if no interest has been paid, from August 2, 2019 until the
principal hereof is due. The first Interest Payment Date shall be February 1, 2020. The Issuer will
pay interest on overdue principal at the rate borne by the Notes, and it shall pay interest on
overdue installments of interest at the same rate to the extent lawful. Interest will be computed
on the basis of a 360−day year of twelve 30−day months.

                 (2)     METHOD OF PAYMENT. The Issuer will pay interest on the Notes
(except defaulted interest) to the Persons who are registered Holders at the close of business on
the January 15 or July 15 immediately preceding the Interest Payment Date (whether or not a
Business Day), even if such Notes are canceled after such record date and on or before such
Interest Payment Date, except as provided in Section 2.12 of the Indenture with respect to
defaulted interest. Payments in respect of Notes represented by Global Notes (including
principal, Applicable Premium, any other premium, if any, and interest) shall be made by wire
transfer of immediately available funds to the accounts specified by The Depository Trust
Company or any successor depositary. The Issuer will make all payments in respect of a
Definitive Note (including principal, Applicable Premium, any other premium, if any, and
interest), at the office of each Paying Agent, except that, at the option of the Issuer, payment of
interest may be made by mailing a check to the registered address of each Holder thereof;
provided, however, that payments on the Notes may also be made in the case of a Holder of at
least $1,000,000 aggregate principal amount of Notes, by wire transfer to a U.S. dollar account
maintained by the payee with a bank in the United States if such Holder elects payment by wire
transfer by giving written notice to the Trustee or a Paying Agent to such effect designating such
account no later than 30 days immediately preceding the relevant due date for payment (or such
other date as the Trustee may accept in its discretion). Such payment will be in such coin or
currency of the United States of America as at the time of payment is legal tender for payment of
public and private debts.

               (3)     PAYING AGENT AND REGISTRAR. Initially, U.S. Bank National
Association, the Trustee under the Indenture, will act as Paying Agent and Registrar. The Issuer
may change any Paying Agent or Registrar without notice to any Holder. The Issuer or any of the
Issuer’s Subsidiaries may act in any such capacity.

               (4)    INDENTURE. The Issuer issued the Notes under an Indenture dated as of
August 2, 2019 (the “Indenture”) among the Issuer, the Guarantors and the Trustee. The terms of
the Notes include those stated in the Indenture. Terms defined in the Indenture and not defined
herein have the meanings ascribed thereto in the Indenture. The Notes are subject to all the terms

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and provisions of the Indenture, and Holders are referred to the Indenture for a statement of such
terms. To the extent any provision of this Note conflicts with the express provisions of the
Indenture, the provisions of the Indenture shall govern and be controlling.

                The Notes are senior secured obligations of the Issuer. This Note is one of the
Notes referred to in the Indenture. The Notes include the Initial Notes and any Additional Notes.
The Initial Notes and any Additional Notes are treated as a single class of securities under the
Indenture. The Indenture imposes certain limitations on the ability of the Issuer and its Restricted
Subsidiaries to, among other things, make certain Investments and other Restricted Payments,
pay dividends and other distributions, incur Indebtedness, enter into consensual restrictions upon
the payment of certain dividends and distributions by such Restricted Subsidiaries, issue or sell
shares of capital stock of the Issuer and such Restricted Subsidiaries, enter into or permit certain
transactions with Affiliates, create or incur Liens and make asset sales. The Indenture also
imposes limitations on the ability of the Issuer and each Guarantor to consolidate or merge with
or into any other Person or convey, transfer or lease all or substantially all of its property.

                To guarantee the due and punctual payment of the principal and interest on the
Notes and all other amounts payable by the Issuer under the Indenture, the Notes and the
Security Documents when and as the same shall be due and payable, whether at maturity, by
acceleration or otherwise, according to the terms of the Notes and the Indenture, the Guarantors
have, jointly and severally, unconditionally guaranteed the Obligations of the Issuer under the
Notes on a senior secured basis pursuant to the terms of the Indenture.

                The Notes shall be secured by Liens and security interests, subject to Permitted
Liens, in the Collateral on the terms and conditions set forth in the Indenture, the Intercreditor
Agreements and the other Security Documents. The Collateral Agent holds the Collateral in trust
for the benefit of the Holders of the Notes Obligations and the Trustee and the Holders, in each
case pursuant to the Security Documents.

                Each Holder by accepting this Note consents and agrees to the terms of the
Intercreditor Agreements and the other Security Documents as the same may be in effect or may
be amended from time to time in accordance with their terms and the Indenture authorizes and
directs the Collateral Agent and the Trustee, as applicable, to enter into the Intercreditor
Agreements and the other Security Documents and to perform its obligations and exercise its
rights thereunder in accordance therewith.

               (5)     OPTIONAL REDEMPTION.

                (a)     At any time prior to August 1, 2021, the Issuer may on any one or more
occasions redeem up to 35% of the aggregate principal amount of Notes issued under the
Indenture at a redemption price of 110.50% of the principal amount thereof, plus accrued and
unpaid interest to, but not including, the redemption date (subject to the right of Holders on the
relevant record date to receive interest due on the relevant interest payment date), with the net
cash proceeds of one or more Equity Offerings; provided that:

               (1)    at least 50% of the aggregate principal amount of Notes issued under the
Indenture (including any Additional Notes issued after the Issue Date, but excluding Notes held

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by the Issuer and its Subsidiaries, including the Issuer) remains outstanding immediately after the
occurrence of such redemption (unless all of such Notes are redeemed); and

              (2)      the redemption occurs within 180 days of the date of the closing of such
Equity Offering.

               (b)     On or after August 1, 2021, the Issuer may redeem all or a part of the
Notes at the redemption prices (expressed as percentages of principal amount) set forth below
plus accrued and unpaid interest on the Notes redeemed to, but not including, the applicable
redemption date, if redeemed during the 12−month period beginning on August 1 of the years
indicated below, subject to the rights of Holders on the relevant record date to receive interest
due on the relevant interest payment date:

                          Year                                         Percentage
                          2021                                         107.875%
                          2022                                         103.938%
                          2023 and thereafter                          100.000%

               Unless the Issuer defaults in the payment of the redemption price or unless any
condition to the redemption described in the notice of redemption is not satisfied, interest will
cease to accrue on the Notes or portions thereof called for redemption on the applicable
redemption date.

                (c)     The Notes will be subject to redemption as a whole, but not in part, at the
option of the Issuer at any time, at 100% of the principal amount, plus accrued and unpaid
interest on the Notes to be redeemed to, but not including, the redemption date (subject to the
right of Holders on the relevant record date to receive interest due on the relevant Interest
Payment Date).

               (d)      At any time prior to August 1, 2021, the Issuer may also redeem all or a
part of the Notes, at a redemption price equal to 100% of the aggregate principal amount hereof
plus the Applicable Premium as of, and accrued and unpaid interest to, but not including, the
date of redemption, subject to the rights of Holders on the relevant record date to receive interest
due on the relevant interest payment date.

               (6)     MANDATORY REDEMPTION.

              The Issuer is not required to make mandatory redemption or sinking fund
payments with respect to the Notes.

                (7)    NOTICE OF REDEMPTION. Notice of redemption will be mailed, or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, at least 15 days but not more than 60 days before the redemption date to each Holder
whose Notes are to be redeemed at its registered address, except that redemption notices may be
mailed more than 60 days prior to a redemption date, or otherwise deliver notice in accordance
with the applicable procedures of DTC, with a copy to the Trustee, if the notice is issued in
connection with a defeasance of the Notes or a satisfaction or discharge of the Indenture. Notes


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in denominations larger than $2,000 may be redeemed in part but only in whole multiples of
$1,000 in excess of $2,000.

               (8)    REPURCHASE AT THE OPTION OF HOLDER.

                (a)     If there is a Change of Control, the Issuer will make an offer (a “Change
of Control Offer”) to each Holder to repurchase all or any part (equal to $2,000 or an integral
multiple of $1,000 in excess of $2,000) of that Holder’s Notes at a purchase price in cash equal
to 101% of the aggregate principal amount of Notes repurchased plus accrued and unpaid interest
on the Notes repurchased to, but not including, the date of purchase, subject to the rights of
Holders on the relevant record date to receive interest due on the relevant interest payment date.
Within 30 days following any Change of Control, the Issuer will mail a notice to each Holder or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, setting forth the procedures governing the Change of Control Offer as required by the
Indenture.

                (b)    If the Issuer or a Restricted Subsidiary of the Issuer consummates any
Asset Sales, within ten Business Days of each date on which the aggregate amount of Excess
Proceeds exceeds $25.0 million, the Issuer will commence an offer to all Holders (an “Asset Sale
Offer”) pursuant to Section 4.08 of the Indenture to purchase the maximum principal amount of
Notes that may be purchased out of the Excess Proceeds at an offer price in cash in an amount
equal to 100% of the principal amount thereof plus accrued and unpaid interest thereon to, but
excluding, the date of purchase, in accordance with the procedures set forth in the Indenture. To
the extent that any Excess Proceeds remain after the consummation of an Asset Sale Offer, the
Issuer or any Restricted Subsidiary of the Issuer may use those Excess Proceeds for any purpose
not otherwise prohibited by the Indenture. If the aggregate principal amount of Notes tendered
into such Asset Sale Offer exceeds the amount of Excess Proceeds, the Trustee shall select the
Notes to be purchased on a pro rata basis. Holders that are the subject of an offer to purchase
will receive an Asset Sale Offer from the Issuer prior to any related purchase date and may elect
to have such Notes purchased by completing the form entitled “Option of Holder to Elect
Purchase” attached to the Notes.

               (c)    The Issuer shall make offers to purchase in compliance with Section 4.13
of the Indenture.

                (9)    DENOMINATIONS, TRANSFER, EXCHANGE. The Notes are in
registered form without coupons in denominations of $2,000 and integral multiples of $1,000 in
excess of $2,000. The transfer of Notes may be registered and Notes may be exchanged as
provided in the Indenture. The Registrar and the Trustee may require a Holder, among other
things, to furnish appropriate endorsements and transfer documents and the Issuer may require a
Holder to pay any taxes and fees required by law or permitted by the Indenture. The Issuer need
not exchange or register the transfer of any Note or portion of a Note selected for redemption,
except for the unredeemed portion of any Note being redeemed in part. Also, the Issuer need not
exchange or register the transfer of any Notes for a period of 15 days before a selection of Notes
to be redeemed or during the period between a record date and the corresponding Interest
Payment Date.


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                (10) PERSONS DEEMED OWNERS. The registered Holder may be treated as
its owner for all purposes.

              (11) AMENDMENT, SUPPLEMENT AND WAIVER. The provisions governing
amendment, supplement and waiver of any provision of the Indenture, the Notes or the Note
Guarantees are set forth in Article 9 of the Indenture.

               (12) DEFAULTS AND REMEDIES. The Events of Default relating to the Notes
are defined in Section 6.01 of the Indenture.

                (13) DISCHARGE AND DEFEASANCE. Subject to certain conditions, the
Issuer at any time may terminate some or all of its obligations under the Notes, the Note
Guarantees and the Indenture if the Issuer deposits with the Trustee money or U.S. Government
Securities for the payment of principal of and interest on the Notes to redemption or maturity, as
the case may be.

                 (14) TRUSTEE DEALINGS WITH ISSUER. The Trustee, in its individual or
any other capacity, may make loans to, accept deposits from, and perform services for the Issuer
or its Affiliates, and may otherwise deal with the Issuer or its Affiliates, as if it were not the
Trustee.

                (15) NO RECOURSE AGAINST OTHERS. A director, manager, officer,
employee, incorporator, member or stockholder of the Issuer or any of the Guarantors, as such,
will not have any liability for any obligations of the Issuer or the Guarantors under the Notes, the
Note Guarantees or the Indenture or for any claim based on, in respect of, or by reason of, such
obligations or their creation. Each Holder by accepting a Note waives and releases all such
liability. The waiver and release are part of the consideration for the issuance of the Notes.

              (16) AUTHENTICATION. This Note will not be valid until authenticated by the
manual signature of the Trustee or an authenticating agent.

                (17) ABBREVIATIONS. Customary abbreviations may be used in the name of a
Holder or an assignee, such as: TEN COM (= tenants in common), TEN ENT (= tenants by the
entireties), JT TEN (= joint tenants with right of survivorship and not as tenants in common),
CUST (= Custodian), and U/G/M/A (= Uniform Gifts to Minors Act).

               (18) CUSIP NUMBERS. Pursuant to a recommendation promulgated by the
Committee on Uniform Security Identification Procedures, the Issuer has caused CUSIP numbers
to be printed on the Notes, and CUSIP numbers may be used in notices of redemption as a
convenience to Holders. No representation is made as to the accuracy of such numbers either as
printed on the Notes or as contained in any notice of redemption, and reliance may be placed
only on the other identification numbers placed thereon.

           (19) GOVERNING LAW. THE INDENTURE, THIS NOTE AND THE NOTE
GUARANTEES SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK.



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               The Issuer will furnish to any Holder upon written request and without charge a
copy of the Indenture. Requests may be made to:

                                          TPC Group Inc.
                                          One Allen Center
                                     500 Dallas Street, Suite 2000
                                        Houston, Texas 77002




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                                     ASSIGNMENT FORM

       To assign this Note, fill in the form below:

       (I) or (we) assign and transfer this Note

       to:
                                      (Insert assignee’s legal name)


                                (Insert assignee’s soc. sec. or tax I.D. no.)




                          (Print or type assignee’s name, address and zip code)

       and irrevocably

       appoint
       to transfer this Note on the books of the Issuer. The agent may substitute another to act
for him.

       Date:

                                      Your Signature:
                                                        (Sign exactly as your name appears on the
                                                        face of this Note)

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
guarantor acceptable to the Trustee).




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                        OPTION OF HOLDER TO ELECT PURCHASE

               If you want to elect to have this Note purchased by the Issuer pursuant to
Section 4.08 or 4.12 of the Indenture, check the appropriate box below:

                    Section 4.08                                   Section 4.12

               If you want to elect to have only part of the Note purchased by the Issuer pursuant
to Section 4.08 or Section 4.12 of the Indenture, state the amount you elect to have purchased:

                                                 $

       Date:

                                     Your Signature:
                                                       (Sign exactly as your name appears on the
                                                       face of this Note)

                                     Tax Identification No.:

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
       guarantor acceptable to the Trustee).




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SCHEDULE OF TRANSFERS AND EXCHANGES OF INTERESTS IN THE REGULATION
                         S GLOBAL NOTE*

              The following exchanges of a part of this Regulation S Global Note for an interest
in another Global Note or for a Definitive Note, or exchanges of a part of another Global Note or
Definitive Note for an interest in this Regulation S Global Note, have been made:

                                                                     Principal Amount of
                                                                       this Global Note        Signature of
                       Amount of decrease      Amount of increase       following such     authorized signatory
 Date of Transfer or   in Principal Amount    in Principal Amount        decrease (or          of Trustee or
     Exchange           of this Global Note    of this Global Note         increase)            Custodian



* This schedule should be included only if the Note is issued in global form




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                                                                                        EXHIBIT B

                           FORM OF CERTIFICATE OF TRANSFER

TPC Group Inc.
One Allen Center
500 Dallas Street, Suite 2000
Houston, Texas 77002

U.S. Bank National Association,
as Trustee and Registrar
Global Corporate Trust Services
13737 Noel Road, Suite 800
Dallas, Texas 75240
Facsimile: (972) 581-1670

                           Re: 10.50% Senior Secured Notes due 2024

               Reference is hereby made to the Indenture, dated as of August 2, 2019
(the “Indenture”), among TPC Group Inc. (the “Issuer”), the Guarantors and U.S. Bank National
Association, as trustee and collateral agent. Capitalized terms used but not defined herein shall
have the meanings given to them in the Indenture.

                ______________, (the “Transferor”) owns and proposes to transfer the Note[s] or
interest in such Note[s] specified in Annex A hereto, in the principal amount of $ _______ in
such Note[s] or interests (the “Transfer”), to __________ (the “Transferee”), as further specified
in Annex A hereto. In connection with the Transfer, the Transferor hereby certifies that:

                                  [CHECK ALL THAT APPLY]

                1.      Check if Transferee will take delivery of a beneficial interest in the
144A Global Note or a Restricted Definitive Note pursuant to Rule 144A. The Transfer is
being effected pursuant to and in accordance with Rule 144A under the Securities Act of 1933,
as amended (the “Securities Act”), and, accordingly, the Transferor hereby further certifies that
the beneficial interest or Definitive Note is being transferred to a Person that the Transferor
reasonably believes is purchasing the beneficial interest or Definitive Note for its own account,
or for one or more accounts with respect to which such Person exercises sole investment
discretion, and such Person and each such account is a “qualified institutional buyer” within the
meaning of Rule 144A in a transaction meeting the requirements of Rule 144A, and such
Transfer is in compliance with any applicable blue sky securities laws of any state of the United
States. Upon consummation of the proposed Transfer in accordance with the terms of the
Indenture, the transferred beneficial interest or Definitive Note will be subject to the restrictions
on transfer enumerated in the Private Placement Legend printed on the 144A Global Note and/or
the Restricted Definitive Note and in the Indenture and the Securities Act.

               2.      Check if Transferee will take delivery of a beneficial interest in the
Regulation S Global Note or a Restricted Definitive Note pursuant to Regulation S. The
Transfer is being effected pursuant to and in accordance with Rule 903 or Rule 904 under the

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Securities Act and, accordingly, the Transferor hereby further certifies that (i) the Transfer is not
being made to a Person in the United States and (x) at the time the buy order was originated, the
Transferee was outside the United States or such Transferor and any Person acting on its behalf
reasonably believed and believes that the Transferee was outside the United States or (y) the
transaction was executed in, on or through the facilities of a designated offshore securities
market and neither such Transferor nor any Person acting on its behalf knows that the transaction
was prearranged with a buyer in the United States, (ii) no directed selling efforts have been made
in contravention of the requirements of Rule 903(b) or Rule 904(b) of Regulation S under the
Securities Act, (iii) the transaction is not part of a plan or scheme to evade the registration
requirements of the Securities Act and (iv) if the proposed transfer is being made prior to the
expiration of the Restricted Period, the transfer is not being made to a U.S. Person or for the
account or benefit of a U.S. Person (other than an Initial Purchaser). Upon consummation of the
proposed transfer in accordance with the terms of the Indenture, the transferred beneficial
interest or Definitive Note will be subject to the restrictions on Transfer enumerated in the
Private Placement Legend printed on the Regulation S Global Note and/or the Restricted
Definitive Note and in the Indenture and the Securities Act.

              3.     Check if Transferee will take delivery of a beneficial interest in a
Restricted Definitive Note pursuant to any provision of the Securities Act other than
Rule 144A or Regulation S.

              (a)    such Transfer is being effected pursuant to and in accordance with
Rule 144 under the Securities Act; or

                 (b)   such Transfer is being effected to the Issuer or a subsidiary of the Issuer
thereof; or

                (c)    such Transfer is being effected pursuant to an effective registration
statement under the Securities Act and in compliance with the prospectus delivery requirements
of the Securities Act.

             4.     Check if Transferee will take delivery of a beneficial interest in an
Unrestricted Global Note or of an Unrestricted Definitive Note.

                (a)      Check if Transfer is pursuant to Rule 144. (i) The Transfer is being
effected pursuant to and in accordance with Rule 144 under the Securities Act and in compliance
with the transfer restrictions contained in the Indenture and any applicable blue sky securities
laws of any state of the United States and (ii) the restrictions on transfer contained in the
Indenture and the Private Placement Legend are not required in order to maintain compliance
with the Securities Act. Upon consummation of the proposed Transfer in accordance with the
terms of the Indenture, the transferred beneficial interest or Definitive Note will no longer be
subject to the restrictions on transfer enumerated in the Private Placement Legend printed on the
Restricted Global Notes, on Restricted Definitive Notes and in the Indenture.

               (b)     Check if Transfer is Pursuant to Regulation S. (i) The Transfer is being
effected pursuant to and in accordance with Rule 903 or Rule 904 under the Securities Act and in
compliance with the transfer restrictions contained in the Indenture and any applicable blue sky

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securities laws of any state of the United States and (ii) the restrictions on transfer contained in
the Indenture and the Private Placement Legend are not required in order to maintain compliance
with the Securities Act. Upon consummation of the proposed Transfer in accordance with the
terms of the Indenture, the transferred beneficial interest or Definitive Note will no longer be
subject to the restrictions on transfer enumerated in the Private Placement Legend printed on the
Restricted Global Notes, on Restricted Definitive Notes and in the Indenture.

                (c)     Check if Transfer is Pursuant to Other Exemption. (i) The Transfer is
being effected pursuant to and in compliance with an exemption from the registration
requirements of the Securities Act other than Rule 144, Rule 903 or Rule 904 and in compliance
with the transfer restrictions contained in the Indenture and any applicable blue sky securities
laws of any State of the United States and (ii) the restrictions on transfer contained in the
Indenture and the Private Placement Legend are not required in order to maintain compliance
with the Securities Act. Upon consummation of the proposed Transfer in accordance with the
terms of the Indenture, the transferred beneficial interest or Definitive Note will not be subject to
the restrictions on transfer enumerated in the Private Placement Legend printed on the Restricted
Global Notes or Restricted Definitive Notes and in the Indenture.

                This certificate and the statements contained herein are made for your benefit and
the benefit of the Issuer.


                                                      [Insert Name of Transferor]

                                                      By:
                                                            Name:
                                                            Title:

       Dated:

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
guarantor acceptable to the Trustee).




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                           ANNEX A TO CERTIFICATE OF TRANSFER

1.    The Transferor owns and proposes to transfer the following:

                                     [CHECK ONE OF (a) OR (b)]

(a)          a beneficial interest in the:

      (i)          144A Global Note (CUSIP ____________________________________), or

      (ii)         Regulation S Global Note (CUSIP ______________________________), or

(b)          a Restricted Definitive Note.

2.    After the Transfer the Transferee will hold:

                                             [CHECK ONE]

(a)          a beneficial interest in the:

      (i)          144A Global Note (CUSIP ____________________________________), or

      (ii)         Regulation S Global Note (CUSIP ______________________________), or

      (iii)        Unrestricted Global Note (CUSIP ______________________________), or

(b)          a Restricted Definitive Note.

(c)          an Unrestricted Definitive Note,

      in accordance with the terms of the Indenture.




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                                                                                         EXHIBIT C

                           FORM OF CERTIFICATE OF EXCHANGE

TPC Group Inc.
One Allen Center
500 Dallas Street, Suite 2000
Houston, Texas 77002

U.S. Bank National Association,
as Trustee and Registrar
Global Corporate Trust Services
13737 Noel Road, Suite 800
Dallas, Texas 75240
Facsimile: (972) 581-1670



                            Re: 10.50% Senior Secured Notes due 2024

                                         (CUSIP ________)

               Reference is hereby made to the Indenture, dated as of August 2, 2019
(the “Indenture”), among TPC Group Inc. (the “Issuer”), the Guarantors and U.S. Bank National
Association, as trustee and collateral agent. Capitalized terms used but not defined herein shall
have the meanings given to them in the Indenture.

                 __________________, (the “Owner”) owns and proposes to exchange the Note[s]
or interest in such Note[s] specified herein, in the principal amount of $ _______ in such Note[s]
or interests (the “Exchange”). In connection with the Exchange, the Owner hereby certifies that:

              1.    Exchange of Restricted Definitive Notes or Beneficial Interests in a
Restricted Global Note for Unrestricted Definitive Notes or Beneficial Interests in an
Unrestricted Global Note

                (a)          Check if Exchange is from beneficial interest in a Restricted
Global Note to beneficial interest in an Unrestricted Global Note. In connection with the
Exchange of the Owner’s beneficial interest in a Restricted Global Note for a beneficial interest
in an Unrestricted Global Note in an equal principal amount, the Owner hereby certifies (i) the
beneficial interest is being acquired for the Owner’s own account without transfer, (ii) such
Exchange has been effected in compliance with the transfer restrictions applicable to the Global
Notes and pursuant to and in accordance with the Securities Act of 1933, as amended
(the “Securities Act”), (iii) the restrictions on transfer contained in the Indenture and the Private
Placement Legend are not required in order to maintain compliance with the Securities Act and
the beneficial interest in an Unrestricted Global Note is being acquired in compliance with any
applicable blue sky securities laws of any state of the United States.



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                 (b)         Check if Exchange is from beneficial interest in a Restricted
Global Note to Unrestricted Definitive Note. In connection with the Exchange of the Owner’s
beneficial interest in a Restricted Global Note for an Unrestricted Definitive Note, the Owner
hereby certifies (i) the Definitive Note is being acquired for the Owner’s own account without
transfer, (ii) such Exchange has been effected in compliance with the transfer restrictions
applicable to the Restricted Global Notes and pursuant to and in accordance with the Securities
Act, (iii) the restrictions on transfer contained in the Indenture and the Private Placement Legend
are not required in order to maintain compliance with the Securities Act and (iv) the Definitive
Note is being acquired in compliance with any applicable blue sky securities laws of any state of
the United States.

                 (c)         Check if Exchange is from Restricted Definitive Note to beneficial
interest in an Unrestricted Global Note. In connection with the Owner’s Exchange of a
Restricted Definitive Note for a beneficial interest in an Unrestricted Global Note, the Owner
hereby certifies (i) the beneficial interest is being acquired for the Owner’s own account without
transfer, (ii) such Exchange has been effected in compliance with the transfer restrictions
applicable to Restricted Definitive Notes and pursuant to and in accordance with the Securities
Act, (iii) the restrictions on transfer contained in the Indenture and the Private Placement Legend
are not required in order to maintain compliance with the Securities Act and (iv) the beneficial
interest is being acquired in compliance with any applicable blue sky securities laws of any state
of the United States.

                (d)        Check if Exchange is from Restricted Definitive Note to
Unrestricted Definitive Note. In connection with the Owner’s Exchange of a Restricted
Definitive Note for an Unrestricted Definitive Note, the Owner hereby certifies (i) the
Unrestricted Definitive Note is being acquired for the Owner’s own account without transfer,
(ii) such Exchange has been effected in compliance with the transfer restrictions applicable to
Restricted Definitive Notes and pursuant to and in accordance with the Securities Act, (iii) the
restrictions on transfer contained in the Indenture and the Private Placement Legend are not
required in order to maintain compliance with the Securities Act and (iv) the Unrestricted
Definitive Note is being acquired in compliance with any applicable blue sky securities laws of
any state of the United States.

              2.    Exchange of Restricted Definitive Notes or Beneficial Interests in
Restricted Global Notes for Restricted Definitive Notes or Beneficial Interests in Restricted
Global Notes

                (a)        Check if Exchange is from beneficial interest in a Restricted
Global Note to Restricted Definitive Note. In connection with the Exchange of the Owner’s
beneficial interest in a Restricted Global Note for a Restricted Definitive Note with an equal
principal amount, the Owner hereby certifies that the Restricted Definitive Note is being
acquired for the Owner’s own account without transfer. Upon consummation of the proposed
Exchange in accordance with the terms of the Indenture, the Restricted Definitive Note issued
will continue to be subject to the restrictions on transfer enumerated in the Private Placement
Legend printed on the Restricted Definitive Note and in the Indenture and the Securities Act.



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                (b)         Check if Exchange is from Restricted Definitive Note to beneficial
interest in a Restricted Global Note. In connection with the Exchange of the Owner’s
Restricted Definitive Note for a beneficial interest in the [CHECK ONE] (a)          144A Global
Note,     Regulation S Global Note with an equal principal amount, the Owner hereby certifies
the beneficial interest is being acquired for the Owner’s own account without transfer and such
Exchange has been effected in compliance with the transfer restrictions applicable to the
Restricted Global Notes and pursuant to and in accordance with the Securities Act, and in
compliance with any applicable blue sky securities laws of any state of the United States. Upon
consummation of the proposed Exchange in accordance with the terms of the Indenture, the
beneficial interest issued will be subject to the restrictions on transfer enumerated in the Private
Placement Legend printed on the relevant Restricted Global Note and in the Indenture and the
Securities Act.

                This certificate and the statements contained herein are made for your benefit and
the benefit of the Issuer.


                                                               [Insert Name of Transferor]

                                                      By:
                                                            Name:
                                                            Title:

       Dated:




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                                                                                      EXHIBIT D

                       [FORM OF SUPPLEMENTAL INDENTURE
                  TO BE DELIVERED BY SUBSEQUENT GUARANTORS]

                SUPPLEMENTAL INDENTURE (this “Supplemental Indenture”), dated as of
_______, 200__, among __________________________ (the “New Guarantor”), TPC Group
Inc. (the “Issuer”), each other existing Guarantor under the Indenture referred to below and U.S.
Bank National Association, as trustee under the Indenture referred to below (the “Trustee”).
Capitalized terms used but not defined herein shall have the meanings given to them in the
Indenture.

                                       WITNESETH

                WHEREAS, the Issuer and the existing Guarantors have heretofore executed and
delivered to the Trustee an indenture (as amended, supplemented or otherwise modified,
the “Indenture”), dated as of August 2, 2019 providing for the issuance of 10.50% Senior
Secured Notes due 2024 (the “Notes”);

               WHEREAS, Section 4.14 of the Indenture provides that under certain
circumstances the New Guarantor shall execute and deliver to the Trustee a supplemental
indenture pursuant to which the New Guarantor shall unconditionally Guarantee all of the
Issuer’s Obligations under the Notes and the Indenture on the terms and conditions set forth
herein (the “Note Guarantee”); and

               WHEREAS, pursuant to Section 9.01 of the Indenture, the Trustee, the Issuer and
the existing Guarantors are authorized to execute and deliver this Supplemental Indenture.

                NOW, THEREFORE, in consideration of the foregoing and for other good and
valuable consideration, the receipt of which is hereby acknowledged, the New Guarantor, the
Issuer, the other Guarantors and the Trustee mutually covenant and agree for the equal and
ratable benefit of the Holders as follows:

              1.     DEFINED TERMS. Defined terms used herein without definition shall
have the meanings assigned to them in the Indenture.

                2.     AGREEMENT TO GUARANTEE. The New Guarantor hereby agrees,
jointly and severally with all existing Guarantors (if any), to provide an unconditional Note
Guarantee on the terms and subject to the conditions set forth in Article 10 of the Indenture and
to be bound by all other applicable provisions of the Indenture and the Notes and to perform all
of the obligations and agreements of a Guarantor under the Indenture.

                3.      NO RECOURSE AGAINST OTHERS. To the extent permitted by law, no
past, present or future director, manager, officer, employee, incorporator, stockholder or member
of the Issuer, any parent of the Issuer or any Subsidiary, as such, will have any liability for any
obligations of the Issuer or the Guarantors under the Notes, this Supplemental Indenture, the
Note Guarantees or for any claim based on, in respect of, or by reason of, such obligations or


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their creation. Each Holder by accepting a Note waives and releases all such liability. The waiver
and release are part of the consideration for issuance of the Notes.

               4.      NOTICES. All notices or other communications to the New Guarantor
shall be given as provided in Section 14.02 of the Indenture.

               5.      RATIFICATION OF INDENTURE; SUPPLEMENTAL INDENTURES
PART OF INDENTURE. Except as expressly amended hereby, the Indenture is in all respects
ratified and confirmed and all the terms, conditions and provisions thereof shall remain in full
force and effect. This Supplemental Indenture shall form a part of the Indenture for all purposes,
and every Holder of Notes heretofore or hereafter authenticated and delivered shall be bound
hereby.

          6.    GOVERNING LAW. THE INDENTURE, THIS SUPPLEMENTAL
INDENTURE, THE NOTES AND THE NOTE GUARANTEES SHALL BE GOVERNED BY,
AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW
YORK.

           7.    ALL PARTIES HERETO HEREBY IRREVOCABLY WAIVE ALL
RIGHTS TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM
(WHETHER BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR
RELATING TO THIS SUPPLEMENTAL INDENTURE, THE INDENTURE, THE NOTES,
THE NOTE GUARANTEES, THE SECURITY DOCUMENTS, THE INTERCREDITOR
AGREEMENTS OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY.

              8.      COUNTERPARTS. The parties may sign any number of copies of this
Supplemental Indenture. Each signed copy shall be an original, but all of them together represent
the same agreement. The exchange of copies of this Supplemental Indenture and of signature
pages by facsimile or PDF transmission shall constitute effective execution and delivery of this
Supplemental Indenture as to the parties hereto and may be used in lieu of the original
Supplemental Indenture for all purposes. Signatures of the parties hereto transmitted by facsimile
or PDF shall be deemed to be their original signatures for all purposes.

              9.     EFFECT OF HEADINGS. The Section headings herein are for
convenience only and shall not affect the construction hereof.

                10.      TRUSTEE MAKES NO REPRESENTATION. The Trustee makes no
representation as to the recitals contained in this Supplemental Indenture or any representation as
to the validity or sufficiency of this Supplemental Indenture.




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               IN WITNESS WHEREOF, the parties hereto have caused this Supplemental
Indenture to be duly executed and attested, all as of the date first above written.

Dated: _____________, 20

                                            [NEW GUARANTOR]


                                            By:
                                                  Name:
                                                  Title:

                                            ISSUER:

                                            TPC GROUP INC.


                                            By:
                                                  Name:
                                                  Title:

                                            EXISTING GUARANTORS:

                                            TP GROUP LLC


                                            By:
                                                  Name:
                                                  Title:

                                            TP CAPITAL CORPORATION


                                            By:
                                                  Name:
                                                  Title:

                                            TEXAS BUTYLENE CHEMICAL
                                            CORPORATION


                                            By:
                                                  Name:
                                                  Title:




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                               TEXAS OLEFINS
                               DOMESTIC-INTERNATIONAL SALES
                               CORPORATION


                               By:
                                     Name:
                                     Title:

                               PORT NECHES FUELS, LLC


                               By:
                                     Name:
                                     Title:

                               TPC PHOENIX FUELS LLC


                               By:
                                     Name:
                                     Title:

                               U.S. BANK NATIONAL ASSOCIATION,
                               as Trustee


                               By:
                                     Name:
                                     Title:




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                        EXHIBIT G

           10.875% Senior Secured Notes Indenture
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                                                          Execution Version




                         TPC Group Inc.


            10.875% Senior Secured Notes due 2024


                           INDENTURE


                    Dated as of February 2, 2021


                U.S. Bank National Association

                    Trustee & Collateral Agent
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               INDENTURE dated as of February 2, 2021 among TPC Group Inc., a Delaware
corporation (the “Issuer”), the Guarantors (as defined herein) and U.S. Bank National
Association, a national banking association, as Trustee and Collateral Agent.

                The Issuer, the Guarantors, the Trustee and the Collateral Agent agree as follows
for the benefit of each other and for the equal and ratable benefit of the Holders (as defined
herein) of (a) the $153,000,000 aggregate principal amount of the Issuer’s 10.875% Senior
Secured Notes due 2024 issued on the date hereof (the “Initial Notes”) and (b) any Additional
Notes (as defined herein) that may be issued after the date hereof (all such securities in clauses
(a) and (b) being referred to collectively as the “Notes”):

                                           ARTICLE 1

                  DEFINITIONS AND INCORPORATION BY REFERENCE

Section 1.01   Definitions.

               “144A Global Note” means a Global Note substantially in the form of Exhibit A1
hereto bearing the Global Note Legend and the Private Placement Legend and deposited with or
on behalf of, and registered in the name of, the Depositary or its nominee that will be issued in a
denomination equal to the outstanding principal amount of the Notes sold in reliance on
Rule 144A.

               “ABL Facility Collateral Agent” means the collateral agent under the Credit
Agreement, which, on the Issue Date, was Bank of America, N.A., or if the Credit Agreement is
no longer outstanding, the “Successor ABL Facility Collateral Agent”.

              “ABL Facility Priority Collateral” has the meaning ascribed to such term in the
ABL Intercreditor Agreement.

               “ABL Intercreditor Agreement” means that certain Intercreditor Agreement, dated
as of August 2, 2019, by and among the Issuer, the other grantors party thereto, the ABL Facility
Collateral Agent, the Existing Notes Collateral Agent and the Collateral Agent, as amended,
modified, restated, supplemented or replaced from time to time.

               “ ABL Liens” means all Liens in favor of the ABL Facility Collateral Agent on
Collateral securing the ABL Obligations.

                  “ABL Obligations” means (i) the Indebtedness under the Credit Agreement and
other Obligations under the Credit Agreement incurred under Section 4.07(b)(1), including any
interest, fees, expenses or indemnification obligations related thereto and (ii) certain Bank
Products obligations owed to an agent, an arranger or a lender or an affiliate of an agent, an
arranger or a lender under the Credit Agreement (or who was such a person at the time of the
incurrence thereof) which are Secured Bank Product Obligations (as defined in the Credit
Agreement).

              “ABL Security Documents” means one or more security agreements, pledges,
mortgages, deeds of trust, pledge agreements, collateral assignments, trust deeds or other security
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documents or instruments evidencing or creating or purporting to create any security interests in
favor of the ABL Facility Collateral Agent under the Credit Agreement.

                “Acquired Debt” means, with respect to any specified Person:

               (1)    Indebtedness of any other Person existing at the time such other Person is
       merged with or into or became a Restricted Subsidiary of such specified Person, whether
       or not such Indebtedness is incurred in connection with, or in contemplation of, such
       other Person merging with or into, or becoming a Restricted Subsidiary of, such specified
       Person; and

               (2)    Indebtedness secured by a Lien encumbering any asset acquired by such
       specified Person.

                “Additional Assets” means:

               (1)    capital expenditures by the Issuer or a Restricted Subsidiary of the Issuer
       in a Permitted Business;

               (2)     the Capital Stock of a Person that becomes a Restricted Subsidiary of the
       Issuer as a result of the acquisition of such Capital Stock by the Issuer or another
       Restricted Subsidiary of the Issuer; provided, that such Person becomes a Guarantor
       promptly upon such acquisition; or

               (3)     Capital Stock constituting a Minority Interest in any Person that at such
       time is a Restricted Subsidiary of the Issuer.

              provided, however, that, in the case of clauses (2) and (3), such Subsidiary is
primarily engaged in a Permitted Business.

                “Additional Notes” means additional Notes (other than the Initial Notes) issued
under this Indenture in accordance with Sections 2.02, 4.07, and 4.10 hereof, as part of the same
series as the Initial Notes, whether or not they bear the same “CUSIP” number.

                “Affiliate” of any specified Person means any other Person directly or indirectly
controlling or controlled by or under direct or indirect common control with such specified
Person. For purposes of this definition, “control,” as used with respect to any Person, means the
possession, directly or indirectly, of the power to direct or cause the direction of the management
or policies of such Person, whether through the ownership of voting securities, by agreement or
otherwise. For purposes of this definition, the terms “controlling,” “controlled by” and “under
common control with” have correlative meanings.

                “Agent” means any Registrar, co−registrar, Paying Agent or other agent appointed
hereunder.

                “Applicable Premium” means, with respect to any Note on any redemption date:

       (A) occurring prior to August 2, 2022, the greater of:

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                       (1)    1.0% of the principal amount of the Note; and

                        (2)    the excess of: (a) the present value at such redemption date of
               (i) the redemption price of the Note at August 2, 2022, (such redemption price
               being set forth in clause (B) below) plus (ii) all required interest payments due on
               the Note through August 2, 2022 (excluding accrued but unpaid interest to the
               applicable redemption date), computed using a discount rate equal to the Treasury
               Rate as of such redemption date plus 50 basis points; over (b) the principal
               amount of the Note;

       (B)     occurring on or after August 2, 2022 but prior to February 2, 2023, 8.1563% of
       the principal amount of the Note; and

       (C)     occurring on or after February 2, 2023 but prior to August 2, 2023, 4.0781% of
       the principal amount of the Note.

                The Issuer will calculate, or cause to be calculated, the Applicable Premium and
deliver it and the calculation thereof to the Trustee in reasonable detail.

                 “Applicable Premium Event” means (a) any voluntary or mandatory redemption
of the Notes of all, or any part, of the principal balance of any Notes whether before or after (i)
the occurrence of a Default or an Event of Default or (ii) the commencement of any proceeding
under any debtor relief law and notwithstanding any acceleration (for any reason) of the Notes;
(b) the acceleration of all of the Notes for any reason, including, but not limited to, acceleration
following or pursuant to an Event of Default, including as a result of the commencement of a
proceeding under any debtor relief law; (c) the satisfaction, release, payment, restructuring,
reorganization, replacement, reinstatement, defeasance or compromise of any of the Notes in any
proceeding under any debtor relief law, foreclosure (whether by power of judicial proceeding or
otherwise) or deed in lieu of foreclosure or the making of a distribution of any kind in any
proceeding under any debtor relief law to the holders (whether directly or indirectly, including
through the Trustee or any other distribution agent), in full or partial satisfaction of the Notes;
and (d) the termination of the Indenture for any reason (other than as a result of the payment in
full in cash of the principal of the Notes and accrued and unpaid interest thereon at stated
maturity of the Notes in a manner in accordance with this Indenture).

               If an Applicable Premium Event occurs under clause (b), (c) or (d) above, the
entire outstanding shall be deemed to be subject to the Applicable Premium Event on the date on
which such Applicable Premium Event occurs.

                “Applicable Procedures” means, with respect to any transfer or exchange of or for
beneficial interests in any Global Note, the rules and procedures of the Depositary that apply to
such transfer or exchange.

               “Asset Acquisition” means:

              (1)     an Investment by the Issuer or any Restricted Subsidiary of the Issuer in
       any other Person pursuant to which such Person shall become a Restricted Subsidiary of


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       the Issuer or any Restricted Subsidiary of the Issuer, or shall be merged with or into or
       consolidated with the Issuer or any Restricted Subsidiary of the Issuer; or

               (2)     the acquisition by the Issuer or any Restricted Subsidiary of the Issuer of
       the assets of any Person (other than a Restricted Subsidiary of the Issuer) which
       constitute all or substantially all of the assets of such Person or comprise any division or
       line of business of such Person or any other properties or assets of such Person other than
       in the ordinary course of business.

                 “Asset Sale” means:

               (1)     the sale, lease, conveyance or other disposition of any assets or rights of
       the Issuer and its Subsidiaries (including by way of a division or a Sale/Leaseback
       Transaction); provided that the sale, lease, conveyance or other disposition of all or
       substantially all of the assets of the Issuer and its Subsidiaries taken as a whole will be
       governed by Section 4.12 hereof and/or Section 5.01 hereof and not by Section 4.08
       hereof; and

               (2)     the issuance or sale of Equity Interests in any of the Issuer’s Subsidiaries
       (other than preferred stock of Subsidiaries issued in compliance with Section 4.07 and
       directors’ qualifying shares or shares required by applicable law to be held by a Person
       other than the Issuer or a Subsidiary).

                 Notwithstanding the preceding, none of the following items will be deemed to be
an Asset Sale:

                (1)    any single transaction or series of related transactions that involves assets
       or Equity Interests of any Restricted Subsidiary of the Issuer having a Fair Market Value
       of less than $3.0 million;

              (2)     a transfer of assets between or among the Issuer and any Restricted
       Subsidiary of the Issuer that is a Guarantor;

               (3)     an issuance or sale of Equity Interests by a Restricted Subsidiary of the
       Issuer to the Issuer or to another Restricted Subsidiary of the Issuer that is a Guarantor;

              (4)     the sale or lease of inventory, products or services or the lease, assignment
       or sub−lease of any real or personal property, in each case, in the ordinary course of
       business;

              (5)       the sale or discounting of accounts receivable in the ordinary course of
       business;

               (6)     any sale or other disposition of damaged, worn−out, obsolete or no longer
       useful assets or properties;

              (7)     any sale of assets received by the Issuer or any of its Restricted
       Subsidiaries upon the foreclosure, condemnation or similar action on a Lien;

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               (8)     the sale or other disposition of cash or Cash Equivalents;

               (9)     [reserved];

               (10)    [reserved];

              (11) a Restricted Payment that does not violate Section 4.05 hereof or a
       Permitted Investment;

               (12)    [reserved];

               (13)    the granting of Liens not otherwise prohibited by this Indenture;

              (14) the surrender, or waiver of contract rights, leases or settlement, release or
       surrender of contract, tort or other claims;

              (15) the grant in the ordinary course of business of any license of patents,
       trademarks, know−how and any other intellectual property;

               (16)    the early termination or unwinding of any Hedging Obligations;

               (17) sales, transfers and other dispositions of Investments in joint ventures to
       the extent required by, or made pursuant to, customary buy/sell arrangements between the
       joint venture parties set forth in joint venture arrangements or similar binding
       arrangements;

               (18) the lapse, cancellation or abandonment of intellectual property rights in
       the ordinary course of business, which in the reasonable good faith determination of the
       Issuer are not material to the conduct of the business of the Issuer and the Restricted
       Subsidiaries taken as a whole; and

             (19) the sale of any property in a Sale/Leaseback Transaction within six
       months of the acquisition of such property;

        For the avoidance of doubt, (I) any disposition of (x) Excluded Pipelines, (y) the real
property upon which Excluded Pipelines disposed of pursuant to subclause (x) are located or (z)
any Unrestricted Subsidiary and (II) receipt of cash or other property by Holdings, the Issuer or
any of its Restricted Subsidiaries from any of the Unrestricted Subsidiaries other than in the
ordinary course of business shall, in each case, constitute an Asset Sale.

                 In the event that a transaction (or any portion thereof) meets the criteria of a
permitted Asset Sale and would also be a permitted Restricted Payment or Permitted Investment,
the Issuer, in its sole discretion, will be entitled to divide and classify such transaction (or any
portion thereof) as an Asset Sale and/or one or more of the types of permitted Restricted
Payments or Permitted Investments.

               “Bank Products” means any of the following products, services or facilities
extended to the Issuer or any Subsidiary of the Issuer: (a) Cash Management Services; (b)

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products under Interest Rate Agreements, Currency Agreements or Commodity Agreements; (c)
commercial credit card and merchant card services; and (d) other banking products or services as
may be requested by the Issuer or any Subsidiary of the Issuer, other than loans or letters of
credit.

               “Bankruptcy Law” means Title 11, United States Bankruptcy Code of 1978, as
amended, or any similar U.S. federal or state law relating to bankruptcy, insolvency,
receivership, winding−up, liquidation, reorganization or relief of debtors or any amendment to,
succession to or change in any such law.

                “Beneficial Owner” has the meaning assigned to such term in Rule 13d−3 and
Rule 13d−5 under the Exchange Act, except that in calculating the beneficial ownership of any
particular “person” (as that term is used in Section 13(d)(3) of the Exchange Act), such “person”
will be deemed to have beneficial ownership of all securities that such “person” has the right to
acquire by conversion or exercise of other securities, whether such right is currently exercisable
or is exercisable only after the passage of time. The terms “Beneficially Owns” and “Beneficially
Owned” have a corresponding meaning.

               “Board of Directors” means:

             (1)    with respect to a corporation, the board of directors of the corporation or
       any committee thereof duly authorized to act on behalf of such board;

              (2)     with respect to a partnership, the board of directors or other governing
       body of the general partner of the partnership;

              (3)   with respect to a limited liability company, the board of directors or other
       governing body, and in the absence of the same, the manager or board of managers or the
       managing member or members or any controlling committee thereof; and

              (4)     with respect to any other Person, the board or committee of such Person
       serving a similar function.

               “Business Day” means a day other than a Saturday, Sunday or other day on which
a place of payment is closed or on which banking institutions are authorized or required by law
to close in New York State.

                 “Capital Lease Obligation” means, at the time any determination is to be made,
the amount of the liability in respect of a lease that would at that time be required to be
capitalized on a balance sheet (excluding the footnotes thereto) prepared in accordance with
GAAP; provided that any obligations of the Issuer or its Restricted Subsidiaries, or of a special
purpose or other entity not consolidated with the Issuer and its Restricted Subsidiaries, either
existing on the Issue Date or created prior to any recharacterization described below (or any
refinancings thereof) (i) that were not included on the consolidated balance sheet of the Issuer as
capital lease obligations and (ii) that are subsequently recharacterized as capital lease obligations
or, in the case of such a special purpose or other entity becoming consolidated with the Issuer
and its Restricted Subsidiaries, due to a change in accounting treatment or otherwise, shall for all
purposes not be treated as Capital Lease Obligations or Indebtedness.

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       “Capital Stock” means:

       (1)     in the case of a corporation, corporate stock;

       (2)     in the case of an association or business entity that is not a corporation,
any and all shares, interests, participations, rights or other equivalents (however
designated) of corporate stock;

        (3)    in the case of a partnership or limited liability company, partnership
interests (whether general or limited) or membership interests; and

       (4)     any other interest or participation that confers on a Person the right to
receive a share of the profits and losses of, or distributions of assets of, the issuing
Person, but excluding from all of the foregoing any debt securities convertible into
Capital Stock, whether or not such debt securities include any right of participation with
Capital Stock.

       “Cash Equivalents” means:

        (1)    Canadian dollars, Euros, U.S. dollars or such local currencies held by the
Issuer and any of its Restricted Subsidiaries from time to time in the ordinary course of
business;

         (2)     securities issued or directly and fully guaranteed or insured by the
government of the United States or any agency or instrumentality thereof (provided that
the full faith and credit of such government is pledged in support of those securities)
having maturities of not more than one year from the date of acquisition;

        (3)      certificates of deposit, time deposits and eurodollar time deposits with
maturities of one year or less from the date of acquisition, bankers’ acceptances with
maturities not exceeding one year and overnight bank deposits, in each case, with any
lender party to the Credit Agreement having combined capital and surplus and undivided
profits of not less than $500.0 million, whose debt has a rating, at the time as of which
any investment made therein is made of at least A−1 by S&P or at least P−1 by Moody’s
or having capital and surplus in excess of $500.0 million and a Thomson Bank Watch
Rating of “B” or better;

        (4)     repurchase obligations for underlying securities of the types described in
clauses (2) and (3) above entered into with any financial institution meeting the
qualifications specified in clause (3) above;

     (5)     commercial paper having one of the two highest ratings obtainable from
Moody’s or S&P and, in each case, maturing within one year after the date of acquisition;

       (6)     securities issued or fully guaranteed by any state or commonwealth of the
United States, or by any political subdivision or taxing authority thereof having one of
the two highest ratings obtainable from Moody’s or S&P, and, in each case, maturing
within one year after the date of acquisition;

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              (7)     money market funds at least 95% of the assets of which constitute Cash
       Equivalents of the kinds described in clauses (1) through (5) of this definition; and

               (8)     Indebtedness or preferred stock issued by Persons with a rating of “A” or
       higher from S&P or “A−2” from Moody’s with maturities of 24 months or less from the
       date of acquisition.

                “Cash Management Services” means any services provided from time to time by
any lender under the Credit Agreement or any of its affiliates to the Issuer or any Subsidiary of
the Issuer in connection with operating, collections, payroll, trust, or other depository or
disbursement accounts or similar cash management arrangements, including automated
clearinghouse, e-Payables, electronic funds transfer, wire transfer, controlled disbursement,
overdraft, depository, information reporting, lockbox and stop payment services.

                “Casualty Event” means any event after the Issue Date with respect to the
Collateral that gives rise to the receipt by the Issuer or any of its Subsidiaries of any insurance
proceeds (including, without limitation, business interruption insurance) or amounts in respect of
any condemnation, eminent domain or similar proceeding relating to any property of the Issuer
or any of its Subsidiaries; provided that Casualty Event shall not include any Casualty Event
related to the Port Neches Incident.

               “Change of Control” means the occurrence of any of the following:

                (1)    the direct or indirect sale, lease, transfer, conveyance or other disposition
       (other than by way of merger or consolidation), in one or a series of related transactions,
       of all or substantially all of the properties or assets of the Issuer and its Subsidiaries taken
       as a whole to any “person” (as that term is used in Section 13(d) of the Exchange Act),
       other than the Permitted Holders;

               (2)    the consummation of any transaction (including, without limitation, any
       merger or consolidation), the result of which is that any “person” (as defined above),
       other than the Permitted Holders, becomes the Beneficial Owner, directly or indirectly, of
       more than 50% of the Voting Stock of the Issuer, measured by voting power rather than
       number of shares; or

               (3)     the Issuer consolidates with, or merges with or into, any Person, or any
       Person consolidates with, or merges with or into, the Issuer, in any such event pursuant to
       a transaction in which any of the outstanding Voting Stock of the Issuer or such other
       Person is converted into or exchanged for cash, securities or other property, other than
       any such transaction where the Voting Stock of the Issuer outstanding immediately prior
       to such transaction constitutes or is converted into or exchanged for a majority of the
       outstanding shares of the Voting Stock of such surviving or transferee Person
       (immediately after giving effect to such transaction).

                 Notwithstanding the preceding, a conversion of the Issuer or any of its Restricted
Subsidiaries from a limited liability company, corporation, limited partnership or other form of
entity to a limited liability company, corporation, limited partnership or other form of entity or
an exchange of all of the outstanding Capital Stock in one form of entity for Capital Stock for
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another form of entity shall not constitute a Change of Control, so long as following such
conversion or exchange the “persons” (as that term is used in Section 13(d)(3) of the Exchange
Act) who Beneficially Owned the Capital Stock of the Issuer immediately prior to such
transactions continue to Beneficially Own in the aggregate more than 50% of the Voting Stock
of such entity, or continue to Beneficially Own sufficient Equity Interests in such entity to elect a
majority of its directors, managers, trustees or other persons serving in a similar capacity for
such entity, and in either case no “person” Beneficially Owns more than 50% of the Voting
Stock of such entity.

               “Code” means the Internal Revenue Code of 1986, as amended.

                “Collateral” means all of the assets and properties subject (or purported to be
subject) to the Liens created by the Security Documents.

                 “Collateral Agent” means U.S. Bank National Association, acting in its capacity
as collateral agent under this Indenture and the Security Documents, or any successor thereto.

              “Commodity Agreements” means, in respect of any Person, any forward contract,
commodity swap agreement, commodity option agreement or other similar agreement or
arrangement and designed to protect such Person against fluctuation in commodity prices.

                “Consolidated Adjusted EBITDA” means, with respect to any specified Person for
any period, the Consolidated Net Income of such Person for such period (A) plus, without
duplication to the extent the same was deducted in calculating Consolidated Net Income:

               (1)     provision for taxes based on income, profits or capital, including without
       limitation federal, state, local and foreign franchise and similar taxes, of such Person and
       its Restricted Subsidiaries, to the extent that such provision for taxes was deducted in
       computing such Consolidated Net Income; plus

               (2)     the Fixed Charges of such Person and its Restricted Subsidiaries for such
       period (including net losses on Hedging Obligations or other derivative instruments
       entered into for the purpose of hedging interest rate risk, to the extent included in Fixed
       Charges), to the extent that such Fixed Charges were deducted in computing such
       Consolidated Net Income; plus

               (3)    depreciation, amortization (including the amortization of turnaround costs,
       goodwill and other intangibles, amortization of deferred financing fees, catalyst
       amortization and any amortization included in pension, OPEB or other employee benefit
       expenses, but excluding amortization of prepaid cash expenses that were paid in a prior
       period) and other non−cash expenses (including without limitation write−downs and
       impairment of property, plant, equipment and intangibles and other long−lived assets
       (including pursuant to the application of ASC 350 and ASC 360) and the impact of
       purchase accounting, but excluding any such non−cash expense to the extent that it
       represents an accrual of or reserve for cash expenses in any future period or amortization
       of a prepaid cash expense that was paid in a prior period) of such Person and its
       Restricted Subsidiaries for such period to the extent that such depreciation, amortization


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       and other non−cash expenses were deducted in computing such Consolidated Net
       Income; plus

               (4)     the amount of any restructuring charges (which, for the avoidance of
       doubt, shall include retention, severance, integration, business optimization, systems
       establishment cost or excess pension, OPEB, curtailment or other excess charges); plus

               (5)     the minority expense relating to any partner in a joint venture which is
       consolidated with the Issuer for accounting purposes and the minority interest expense
       consisting of subsidiary income attributable to minority equity interests of third parties in
       any non−Wholly-Owned Restricted Subsidiary in such period or any prior period, except
       to the extent of dividends declared or paid on Equity Interests held by third parties; plus

               (6)     [reserved]; plus

               (7)     accretion of asset retirement obligations in accordance with SFAS
       No. 143, Accounting for Asset Retirement Obligations, and any similar accounting in
       prior periods, to the extent that such charges were deducted in computing such
       Consolidated Net Income; plus

               (8)     to the extent not otherwise included, the proceeds of any business
       interruption insurance received during such period; plus

              (9)     any adjustments that result from timing differences between the purchase
       of crude C4 in one period and the sale of finished butadiene in a later period, caused by
       monthly butadiene price changes, to the extent such adjustments are calculated in a
       manner consistent with the calculation of such adjustments as required under the Existing
       Notes Indenture; plus

               (10) any adjustments related to any impact from supplier plant shut downs,
       other than in the ordinary course of business; plus

              (11) any adjustments related to any impact from turnarounds other than in the
       ordinary course of business; minus

                (B) (1) non−cash items increasing such Consolidated Net Income for such period,
other than (i) any items which represent the reversal of any accrual of, or cash reserve for,
anticipated charges in any prior period where such accrual or reserve is no longer required and
(ii) any items which represent the impact of purchase accounting; and (2) the minority interest
income consisting of subsidiary losses attributable to the minority equity interests of third parties
in any non−Wholly-Owned Restricted Subsidiary.

               “Consolidated Net Income” means, with respect to any specified Person for any
period, the aggregate of the Net Income of such Person and its Restricted Subsidiaries for such
period, on a consolidated basis; provided that:

             (1)     any net after−tax extraordinary, unusual or nonrecurring gains or losses or
       income or expense or charge (including, without limitation, income, expenses and

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charges from litigation and arbitration settlements, severance, relocation and other
restructuring costs), any severance or relocation expense, pre−operating expenses that are
expensed and not capitalized, and fees, expenses or charges related to any offering of
Equity Interests of such Person, any Investment, acquisition, disposition or incurrence or
repayment of Indebtedness or other obligations permitted to be incurred hereunder (in
each case, whether or not successful), including all fees, expenses and charges, and any
financing charges, including penalty interest and bank charges, related to any
Indebtedness or other obligations, in each case, shall be excluded;

       (2)     any net after−tax income or loss from disposed, abandoned, transferred,
closed or discontinued operations and any net after−tax gain or loss on disposal of
disposed, abandoned, transferred, closed or discontinued operations shall be excluded;

        (3)     any net after−tax gains or losses (less all fees and expenses or charges
relating thereto) attributable to business dispositions or asset dispositions other than in the
ordinary course of business (as determined in good faith by the Issuer) shall be excluded;

        (4)     any net after−tax income or loss (less all fees and expenses or charges
relating thereto) attributable to the early extinguishment of indebtedness and Hedging
Obligations or other derivative instruments shall be excluded;

         (5)    (A) the Net Income for such period of any Person that is not a Subsidiary
or that is accounted for by the equity method of accounting, shall be included only to the
extent of the amount of dividends or distributions or other payments in respect of equity
that are actually paid in cash (or to the extent converted into cash) by the referent Person
to the Issuer or a Restricted Subsidiary thereof in respect of such period and (B) the Net
Income for such period shall include any dividend, distribution or other payments in
respect of equity paid in cash by such Person to the Issuer or a Restricted Subsidiary
thereof in excess of the amount included in clause (A);

       (6)     any increase in depreciation or amortization or any one−time non−cash
charges (such as purchased in−process research and development or capitalized
manufacturing profit in inventory) resulting from purchase accounting in connection with
any acquisition that is consummated prior to or after the Issue Date shall be excluded;

        (7)     accruals and reserves that are established within 12 months after an
acquisition’s closing date and that are so required to be established as a result of such
transaction in accordance with GAAP or as a result of a modification of accounting
policies shall be excluded;

        (8)    any impairment charges resulting from the application of ASC 350 and
ASC 360 and the amortization of intangibles pursuant to ASC 805 or asset write−offs
shall be excluded;

        (9)      any long−term incentive plan accruals and any compensation expense
realized from grants of stock appreciation or similar rights, stock options or other rights
to officers, directors and employees of such Person or any of its Restricted Subsidiaries
shall be excluded;
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              (10) any asset impairment writedowns or writeoffs under GAAP or SEC
       guidelines shall be excluded;

               (11) (A) any unrealized non−cash gains or losses or charges in respect of
       Hedging Obligations (including those resulting from the application of Financial
       Accounting Standards Codification No. 815−Derivatives and Hedging (or such successor
       provision)), (B) any foreign exchange gains and losses and (C) any adjustments for
       financial instruments, derivatives or Hedging Obligations required by GAAP shall be
       excluded except for any realized exchange gains or losses on derivative instruments
       which are included as offsets to operating items as part of a designated hedging
       relationship;

               (12)   [reserved];

              (13) the cumulative effect of a change in accounting principles shall be
       excluded; and

               (14) any non−cash compensation expense realized from employee benefit plans
       or post−employment benefit plans, grants of stock appreciation or similar rights, stock
       options or other rights to officers, directors and employees of such Person or any of its
       Restricted Subsidiaries shall be excluded.

                “Consolidated Total Indebtedness” means, as at any date of determination, an
amount equal to the sum of (1) the aggregate amount of all outstanding Indebtedness of the
Issuer and its Restricted Subsidiaries on a consolidated basis consisting of Indebtedness for
borrowed money and debt obligations evidenced by promissory notes and similar instruments, as
determined in accordance with GAAP (excluding for the avoidance of doubt all undrawn
amounts under revolving credit facilities and letters of credit and all obligations under all
Hedging Obligations and all Capital Lease Obligations) and (2) the aggregate amount of all
outstanding Disqualified Stock of the Issuer and its Restricted Subsidiaries on a consolidated
basis, with the amount of such Disqualified Stock equal to the greater of their respective
voluntary or involuntary liquidation preferences and maximum fixed repurchase prices, in each
case determined on a consolidated basis in accordance with GAAP. For purposes hereof,
the “maximum fixed repurchase price” of any Disqualified Stock that does not have a fixed
repurchase price shall be calculated in accordance with the terms of such Disqualified Stock as if
such Disqualified Stock were purchased on any date on which Consolidated Total Indebtedness
shall be required to be determined pursuant to this Indenture, and if such price is based upon, or
measured by, the Fair Market Value of such Disqualified Stock, such Fair Market Value shall be
determined reasonably and in good faith by the Issuer. The U.S. Dollar−Equivalent principal
amount of any Indebtedness denominated in a foreign currency will reflect the currency
translation effects, determined in accordance with GAAP, of Hedging Obligations for currency
exchange risks with respect to the applicable currency in effect on the date of determination of
the U.S. Dollar−Equivalent principal amount of such Indebtedness.

                “Contingent Obligations” means, with respect to any Person, any obligation of
such Person guaranteeing any performance, leases, dividends, taxes or other obligations that do
not constitute Indebtedness (“primary obligations”) of any other Person in any manner, whether

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directly or indirectly, including, without limitation, any obligation of such Person, whether or not
contingent:

               (1)     to purchase any such primary obligation or any property constituting direct
       or indirect security thereof;

              (2)     to advance or supply funds (a) for the purchase or payment of any such
       primary obligation or (b) to maintain working capital or equity capital of the primary
       obligor or otherwise to maintain the net worth or solvency of the primary obligor; or

              (3)     to purchase property, securities or services primarily for the purpose of
       assuring the owner of any such primary obligation of the ability of the primary obligor to
       make payment of such obligation against loss in respect thereof.

                “Corporate Trust Office of the Trustee” means the designated office of the
Trustee at which at any time its corporate trust business shall be administered, which office at the
date hereof is located at 13737 Noel Road Suite 800, Dallas, Texas 75240, Attention: Global
Corporate Trust Services, or such other address as the Trustee may designate from time to time
by notice to the Holders and the Issuer, or the designated corporate trust office of any successor
Trustee (or such other address as such successor Trustee may designate from time to time by
notice to the Holders and the Issuer).

                “Credit Agreement” means that certain Amended and Restated Credit Agreement,
dated as of August 2, 2019 (as amended or supplemented on or prior to the date hereof), by and
among TPC Holdings, Inc., a Delaware corporation, the Issuer, the other borrowers party thereto
from time to time, Bank of America, N.A., as administrative agent and collateral agent, Merrill
Lynch, Pierce, Fenner & Smith Incorporated and Wells Fargo Bank N.A., as joint lead arrangers,
joint bookrunners and syndication agents, and the lenders party thereto from time to time,
providing for revolving credit borrowings and letters of credit, including any related notes,
Guarantees, collateral documents, instruments and agreements executed in connection therewith,
and, in each case, as amended, restated, modified, renewed, refunded, replaced (whether upon or
after termination or otherwise) or refinanced (including by means of sales of debt securities to
institutional investors) in whole or in part from time to time.

               “Currency Agreement” means, in respect of a Person, any foreign exchange
contract, currency swap agreement, futures contract, option contract or other similar agreement
as to which such Person is a party or a beneficiary.

              “Custodian” means the custodian appointed by the Depository with respect to any
Global Notes, or any successor entity thereto.

                “Debt Facilities” means one or more debt facilities (including, without limitation,
the Credit Agreement), indentures or commercial paper facilities, in each case with banks or
other institutional lenders or investors providing for revolving credit loans, term loans,
receivables financing (including through the sale of receivables to such lenders or to special
purpose entities formed to borrow from such lenders against such receivables), letters of credit or
other indebtedness, in each case, as amended, restated, modified, renewed, refunded, replaced
(whether upon or after termination or otherwise) or refinanced (including by means of sales of
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debt securities to institutional investors) in whole or in part from time to time, including any
agreement or indenture extending the maturity thereof or otherwise restructuring all or any
portion of the indebtedness thereunder or increasing the amount loaned or issued thereunder or
altering the maturity thereof.

               “Default” means any event that is, or with the passage of time or the giving of
notice or both would be, an Event of Default.

               “Definitive Note” means a certificated, non−global Note registered in the name of
the Holder thereof and issued in accordance with Section 2.06 hereof, substantially in the form of
Exhibit A1 or A2 hereto, as applicable, except that such Note shall not bear the Global Note
Legend and shall not have the “Schedule of Exchanges of Interests in the Global Note” attached
thereto.

                “Depositary” means, with respect to the Notes issuable or issued in whole or in
part in global form, the Person specified in Section 2.03 hereof as the Depositary with respect to
the Notes, and any and all successors thereto appointed as depositary hereunder and having
become such pursuant to the applicable provision of this Indenture.

               “Designated Non−cash Consideration” means the Fair Market Value of non−cash
consideration received by the Issuer or one of its Restricted Subsidiaries in connection with an
Asset Sale that is so designated as “Designated Non−cash Consideration” pursuant to an
Officer’s Certificate, setting forth the basis of such valuation, less the amount of cash or Cash
Equivalents received in connection with a subsequent sale of such Designated Non−cash
Consideration.

                “Designated Preferred Stock” means Preferred Stock of the Issuer or any direct or
indirect parent of the Issuer (other than Disqualified Stock) that is issued for cash (other than to
the Issuer or any of its Subsidiaries or an employee stock ownership plan or trust established by
the Issuer or any of its Subsidiaries) and is so designated as Designated Preferred Stock, pursuant
to an Officer’s Certificate, on the issuance date thereof, the cash proceeds of which are excluded
from the calculation set forth in Section 4.05(a)(C)(ii) hereof.

                “Disqualified Stock” means any Capital Stock that, by its terms (or by the terms
of any security into which it is convertible, or for which it is exchangeable, in each case, at the
option of the holder of the Capital Stock), or upon the happening of any event, matures or is
mandatorily redeemable, pursuant to a sinking fund obligation or otherwise, or redeemable at the
option of the holder of the Capital Stock, in whole or in part, on or prior to the date that is 91
days after the date on which the Notes mature. Notwithstanding the preceding sentence, any
Capital Stock will not constitute Disqualified Stock solely because the holders of the Capital
Stock have the right to require the Issuer to repurchase such Capital Stock upon the occurrence
of a change of control or an asset sale. The amount of Disqualified Stock deemed to be
outstanding at any time for purposes of this Indenture will be the maximum amount that the
Issuer and its Restricted Subsidiaries may become obligated to pay upon the maturity of, or
pursuant to any mandatory redemption provisions of, such Disqualified Stock, exclusive of
accrued dividends.


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                “Equity Interests” means Capital Stock and all warrants, options or other rights to
acquire Capital Stock (but excluding any debt security that is convertible into, or exchangeable
for, Capital Stock).

                “Equity Investors” means each of FR XII Alpha AIV, LP, FR XII-A Alpha AIV,
LP, FR XII Charlie AIV, LP, FR XII-A Charlie AIV, LP. and SK Capital Partners III, L.P., and
their respective Affiliates.

                “Equity Offering” means (i) an offer and sale of Capital Stock (other than
Disqualified Stock) of the Issuer or (ii) an offer and sale of Capital Stock (other than Disqualified
Stock) of a direct or indirect parent of the Issuer (to the extent the net proceeds therefrom are
contributed to the equity capital of the Issuer) pursuant to (x) a registration statement that has
been declared effective by the SEC pursuant to the Securities Act (other than a registration
statement on Form S−8 or otherwise relating to equity securities issuable under any employee
benefit plan of the Issuer or such direct or indirect parent), or (y) a private issuance exempt from
registration under the Securities Act.

               “Exchange Act” means the Securities Exchange Act of 1934, as amended.

                “Excluded Pipelines” means (i) the Lubrizol pipeline, which runs from the TPC
plant to Lubrizol; (ii) the Ellington pipeline, which runs from the TPC plant to the Ellington
natural gas field; and (iii) the related structures, fixtures, buildings, equipment, easements,
pipelines, piping, vehicles, rolling stock, trailers and other tangible personal property reasonably
related to such pipelines; provided that, solely with respect to clause (iii), such property or other
assets are not material to the Collateral or the business operations of the Issuer and its Restricted
Subsidiaries taken as a whole.

                 “Excluded Subsidiary” shall mean, any (a) Unrestricted Subsidiary, (b) Subsidiary
that is not a Material Subsidiary, (c) Subsidiary that is a captive insurance company, (d) not-for-
profit Subsidiary, (e) Subsidiary that is prohibited by applicable law or regulation from providing
a Guarantee of the Obligations (for so long as such restrictions or any replacement or renewal
thereof is in effect), (f) Subsidiary that is prohibited by an enforceable contractual obligation
existing on the Issue Date (or applicable date of acquisition or formation) from providing a Note
Guarantee and (g) Subsidiary to the extent providing a Guarantee of the notes would result in
material adverse tax consequences to the Issuer or any Subsidiary as reasonably determined by
the Issuer.

                “Existing Notes Collateral Agent” means U.S. Bank National Association, as
collateral agent for the Existing Senior Notes.

               “Existing Notes Indenture” means the indenture, dated as of August 2, 2019 by
and among the Issuer, the guarantors thereunder, the Existing Notes Trustee and the Existing
Notes Collateral Agent, as amended, amended and restated, supplemented or otherwise modified
from time to time.

              “Existing Notes Trustee” means U.S. Bank National Association, as trustee under
the Existing Notes Indenture.


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               “Existing Senior Notes” means the 10.50% Senior Secured Notes due 2024 issued
by the Issuer pursuant to the Existing Notes Indenture.

                “Fair Market Value” means the value that would be paid by a willing buyer to an
unaffiliated willing seller in a transaction not involving distress or necessity of either party,
determined in good faith by (i) the principal financial officer of the Issuer for transactions less
than $50.0 million and (ii) the Board of Directors of the Issuer (unless otherwise provided in this
Indenture) for transactions valued at, or in excess of, $50.0 million.

                 “Fixed Charge Coverage Ratio” means with respect to any specified Person for
any period, the ratio of the Consolidated Adjusted EBITDA of such Person for such period to the
Fixed Charges of such Person for such period. In the event that the specified Person or any of its
Restricted Subsidiaries incurs, assumes, Guarantees, repays, repurchases, redeems, defeases or
otherwise discharges any Indebtedness (other than (i) ordinary working capital borrowings and
(ii) in the case of revolving credit borrowings, in which case interest expense will be computed
based upon the average daily balance of such Indebtedness during the applicable period) or
issues, repurchases or redeems preferred equity subsequent to the commencement of the period
for which the Fixed Charge Coverage Ratio is being calculated and on or prior to the date on
which the event for which the calculation of the Fixed Charge Coverage Ratio is made
(the “Calculation Date”), then the Fixed Charge Coverage Ratio will be calculated giving pro
forma effect to such incurrence, assumption, Guarantee, repayment, repurchase, redemption,
defeasance or other discharge of Indebtedness, or such issuance, repurchase or redemption of
preferred equity, and the use of the proceeds therefrom, as if the same had occurred at the
beginning of the applicable four−quarter reference period.

                In addition, for purposes of calculating the Fixed Charge Coverage Ratio, Asset
Acquisitions, dispositions, mergers, consolidations and discontinued operations (as determined in
accordance with GAAP), and any related financing transactions, that the specified Person or any
of its Restricted Subsidiaries has both determined to make and made after the Issue Date and
during the four−quarter reference period or subsequent to such reference period and on or prior
to or simultaneously with the Calculation Date shall be calculated on a pro forma basis assuming
that all such Asset Acquisitions, dispositions, mergers, consolidations and discontinued
operations (and the change of any associated Fixed Charges and the change in Consolidated
Adjusted EBITDA resulting therefrom) had occurred on the first day of the four−quarter
reference period, including any pro forma expense and cost reductions and other operating
improvements that have occurred or are reasonably expected to occur, in the reasonable
judgment of the chief financial officer of the Issuer (regardless of whether these cost savings or
operating improvements could then be reflected in pro forma financial statements in accordance
with Regulation S−X promulgated under the Securities Act or any other regulation or policy of
the SEC related thereto); provided, that any expense and cost reductions or savings or operating
improvements (x) may only be included in Consolidated Adjusted EBITDA to the extent
reasonably expected to result within 18 months of such Asset Acquisition, disposition, merger,
consolidation and discontinuation of operations and (y) may not exceed 10% of Consolidated
Adjusted EBITDA (calculated prior to giving effect to such run-rate amounts). Any Person that
is a Restricted Subsidiary on the Calculation Date will be deemed to have been a Restricted
Subsidiary at all times during such four−quarter period, and if, since the beginning of the
four−quarter reference period, any Person that subsequently became a Restricted Subsidiary or

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was merged with or into the Issuer or any of its other Restricted Subsidiaries since the beginning
of such period shall have made any acquisition, Investment, disposition, merger, consolidation or
discontinued operation, in each case with respect to an operating unit of a business, that would
have required adjustment pursuant to this definition, then the Fixed Charge Coverage Ratio shall
be adjusted giving pro forma effect thereto for such period as if such Asset Acquisition,
disposition, discontinued operation, merger or consolidation had occurred at the beginning of the
applicable four−quarter reference period. Any Person that is not a Restricted Subsidiary on the
Calculation Date will be deemed not to have been a Restricted Subsidiary at any time during
such four−quarter period.

                For purposes of this definition, whenever pro forma effect is to be given to any
transaction, the pro forma calculations shall be made in good faith by a responsible financial or
accounting officer of the Issuer. If any Indebtedness bears a floating rate of interest and is being
given pro forma effect, the interest on such Indebtedness shall be calculated as if the rate in
effect on the Calculation Date had been the applicable rate for the entire period (taking into
account any Hedging Obligations applicable to such Indebtedness if such Hedging Obligation
has a remaining term in excess of 12 months). Interest on a Capital Lease Obligation shall be
deemed to accrue at an interest rate reasonably determined by a responsible financial or
accounting officer of the Issuer to be the rate of interest implicit in such Capital Lease
Obligation. For purposes of making the computation referred to above, interest on any
Indebtedness under a revolving credit facility computed on a pro forma basis shall be computed
based upon the average daily balance of such Indebtedness during the applicable period. Interest
on Indebtedness that may optionally be determined at an interest rate based upon a factor of a
prime or similar rate, a eurocurrency interbank offered rate, or other rate, shall be deemed to
have been based upon the rate actually chosen, or, if none, then based upon such optional rate
chosen as the Issuer may designate. Any such pro forma calculation may include adjustments
appropriate, in the reasonable determination of the Issuer as set forth in an Officer’s Certificate,
to reflect operating expense reductions reasonably expected to result from any acquisition or
merger.

              “Fixed Charges” means, with respect to any specified Person for any period, the
sum, without duplication, of:

               (1)     the consolidated interest expense of such Person and its Restricted
       Subsidiaries for such period, whether paid or accrued, excluding amortization of deferred
       financing fees, debt issuance costs and commissions, fees and expenses and the
       expensing of any bridge, commitment or other financing fees, commissions, discounts,
       yield and other fees and charges (including any interest expense) related to any
       receivables facility but including original issue discount, non−cash interest payments, the
       interest component of any deferred payment obligations (classified as Indebtedness under
       this Indenture), the interest component of all payments associated with Capital Lease
       Obligations and net of the effect of all payments made or received pursuant to Hedging
       Obligations in respect of interest rates; plus

               (2)    the consolidated interest expense of such Person and its Restricted
       Subsidiaries that was capitalized during such period; provided that for purposes of
       calculating consolidated interest expense, no effect shall be given to the discount and/or

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       premium resulting from the bifurcation of derivatives under Standards Codification
       No. 815—Derivatives and Hedging and related interpretations as a result of the terms of
       the Indebtedness to which such consolidated interest expense relate; plus

               (3)    all cash dividend payments or other cash distributions on any series of
       preferred equity of such Person and all other dividend payments or other distributions on
       the Disqualified Stock of such Person; less

               (4)    interest income; less

               (5)    non−cash interest expense attributable to movement in mark to market
       valuation of Hedging Obligations or other derivatives under GAAP; less

               (6)    accretion or accrual of discounted liabilities not constituting Indebtedness;
       and less

              (7)     any expense resulting from the discounting of Indebtedness in connection
       with the application of purchase accounting in connection with any acquisition.

                “GAAP” means generally accepted accounting principles in the United States, set
forth in the opinions and pronouncements of the Accounting Principles Board of the American
Institute of Certified Public Accountants and statements and pronouncements of the Financial
Accounting Standards Board or in such other statements by such other entity as have been
approved by a significant segment of the accounting profession, as in effect on the Issue Date. At
any time after the Issue Date, the Issuer may elect to apply IFRS accounting principles in lieu of
GAAP and, upon any such election, references herein to GAAP shall thereafter be construed to
mean IFRS (except as otherwise provided in this Indenture); provided that any such election,
once made, shall be irrevocable; provided, further, any calculation or determination in this
Indenture that requires the application of GAAP for periods that include fiscal quarters ended
prior to the Issuer’s election to apply IFRS shall remain as previously calculated or determined in
accordance with GAAP. The Issuer shall give notice of any such election made in accordance
with this definition to the Trustee.

               “Global Note Legend” means the legend set forth in Section 2.06(f)(2) hereof,
which is required to be placed on all Global Notes issued under this Indenture.

                “Global Notes” means, individually and collectively, each of the Restricted
Global Notes and the Unrestricted Global Notes deposited with or on behalf of and registered in
the name of the Depositary or its nominee, substantially in the form of Exhibit A1 or A2 hereto,
as applicable, and that bears the Global Note Legend and that has the “Schedule of Exchanges of
Interests in the Global Note” attached thereto, issued in accordance with Section 2.01, 2.06(b)(4),
2.06(d)(2) or 2.06(d)(3).

                “Guarantee” means a guarantee, other than by endorsement of negotiable
instruments for collection in the ordinary course of business, direct or indirect, in any manner,
including, without limitation, by way of a pledge of assets or through letters of credit or
reimbursement agreements in respect thereof, of all or any part of any Indebtedness (whether
arising by virtue of partnership arrangements, or by agreements to keep−well, to purchase assets,

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goods, securities or services, to take or pay or to maintain financial statement conditions or
otherwise).

              “Guarantors” means (x) TPC Holdings, Inc., a Delaware corporation, and (y) the
Subsidiary Guarantors.

                “Hedging Obligations” means, with respect to any specified Person, the
obligations of such Person under Interest Rate Agreements, Currency Agreements or Commodity
Agreements.

              “Holder” means a Person in whose name a Note is registered in the register
maintained by the Registrar.

              “Holder Agreement” means that certain Agreement, dated the Issue Date, by and
among the Issuer and the Holders from time to time party thereto.

              “Indebtedness” means, with respect to any specified Person, any indebtedness of
such Person, whether or not contingent:

               (1)     in respect of borrowed money;

               (2)      evidenced by (A) bonds, notes, debentures or similar instruments or
       (B) letters of credit (or reimbursement agreements in respect thereof), provided that the
       underlying obligation in respect of which the letter of credit was issued would, under one
       or more of clauses (1) above or (3) through (7) below, be treated as being Indebtedness;

               (3)     in respect of banker’s acceptances;

               (4)     representing Capital Lease Obligations;

              (5)     representing the balance deferred and unpaid of the purchase price of any
       property or services due more than six months after such property is acquired or such
       services are completed;

              (6)     to the extent not otherwise included in this definition, net obligations of
       such Person under Commodity Agreements, Currency Agreements and Interest Rate
       Agreements (the amount of any such obligations to be equal at any time to the
       termination value of such agreement or arrangement giving rise to such obligation that
       would be payable by such Person at such time); or

                (7)    to the extent not otherwise included, with respect to the Issuer and its
       Restricted Subsidiaries, the amount then outstanding (i.e., advanced, and received by, and
       available for use by, the Issuer or any of its Restricted Subsidiaries) under any
       receivables financing (as set forth in the books and records of the Issuer or any Restricted
       Subsidiary of the Issuer and confirmed by the agent, trustee or other representative of the
       institution or group providing such receivables financing),



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        if and to the extent any of the preceding items (other than letters of credit and Hedging
Obligations) would appear as a liability upon a balance sheet of the specified Person prepared in
accordance with GAAP. In addition, the term “Indebtedness” includes (i) all Indebtedness of
others secured by a Lien on any asset of the specified Person (whether or not such Indebtedness
is assumed by the specified Person); provided, however, that the amount of such Indebtedness
shall be the lesser of (x) the Fair Market Value of such asset as such date of determination and
(y) the amount of such Indebtedness of such other Person; and (ii) to the extent not otherwise
included, the Guarantee by the specified Person of any Indebtedness of any other Person.

                Notwithstanding the foregoing, “Indebtedness” shall not include (a) accrued
expenses, royalties and trade payables; (b) Contingent Obligations; (c) asset retirement
obligations and obligations in respect of reclamation and workers’ compensation (including
pensions and retiree medical care) that are not overdue by more than 90 days; or (d) any
obligations under Currency Agreements, Commodity Agreements and Interest Rate Agreements;
provided that such Agreements are entered into for bona fide hedging purposes of the Issuer or
its Restricted Subsidiaries (as determined in good faith by the Board of Directors or senior
management of the Issuer, whether or not accounted for as a hedge in accordance with GAAP)
and, in the case of Currency Agreements or Commodity Agreements, such Currency Agreements
or Commodity Agreements are related to business transactions of the Issuer or its Restricted
Subsidiaries entered into in the ordinary course of business and, in the case of Interest Rate
Agreements, such Interest Rate Agreements substantially correspond in terms of notional
amount, duration and interest rates, as applicable, to Indebtedness of the Issuer or its Restricted
Subsidiaries incurred without violation of this Indenture.

               “Indenture” means this Indenture, as amended or supplemented from time to time.

              “Indirect Participant” means a Person who holds a beneficial interest in a Global
Note through a Participant.

               “Initial Notes” has the meaning assigned to it in the preamble to this Indenture.

               “Initial Mortgaged Property” means each parcel of real property designated as
being subject to a Mortgage on Schedule C to the Purchase Agreement dated the Issue Date,
among the Issuer and the initial Holders, and the improvements and fixtures located thereon.

               “Intercreditor Agreement” means the ABL Intercreditor Agreement and the Notes
Intercreditor Agreement.

               “Interest Rate Agreement” means with respect to any Person any interest rate
protection agreement, interest rate future agreement, interest rate option agreement, interest rate
swap agreement, interest rate cap agreement, interest rate collar agreement, interest rate hedge
agreement or other similar agreement or arrangement as to which such Person is party or a
beneficiary.

               “Investment Grade Rating” means a Moody’s rating of Baa3 (or the equivalent)
or higher and an S&P rating of BBB− (or the equivalent) or higher or, if either such Rating
Agency ceases to rate the Notes for reasons outside of the Issuer’s control, the equivalent
investment grade credit rating from any other Rating Agency.
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               “Investment Grade Securities” means:

              (1)     securities issued or directly and fully Guaranteed or insured by the U.S.
       government or any agency or instrumentality thereof (other than Cash Equivalents) and in
       each case with maturities not exceeding two years from the date of acquisition;

              (2)     investments in any fund that invests exclusively in investments of the type
       described in clause (1) which fund may also hold immaterial amounts of cash pending
       investment and/or distribution; and

              (3)     corresponding instruments in countries other than the United States
       customarily utilized for high quality investments and in each case with maturities not
       exceeding two years from the date of acquisition.

                “Investments” means, with respect to any Person, all direct or indirect investments
by such Person in other Persons (including Affiliates) in the forms of loans (including
Guarantees or other obligations), advances or capital contributions (excluding accounts
receivable, trade credit and advances to customers and commission, travel and similar advances
to officers, employees and consultants made in the ordinary course of business), purchases or
other acquisitions for consideration of Indebtedness, Equity Interests or other securities, together
with all items that are or would be classified as investments on a balance sheet prepared in
accordance with GAAP.

               “Issue Date” means February 2, 2021.

                “Lien” means, with respect to any asset, any mortgage, lien, pledge, charge,
security interest or encumbrance of any kind in respect of such asset, whether or not filed,
recorded or otherwise perfected under applicable law, including any conditional sale or other title
retention agreement, any lease in the nature thereof, any option or other agreement to sell or give
a security interest in and any filing of or agreement to give any financing statement under the
Uniform Commercial Code (or equivalent statutes) of any jurisdiction.

                “Material Subsidiary” shall mean any Restricted Subsidiary of the Issuer whose
gross assets or earnings before interest, tax, depreciation or amortization on a consolidated basis
(calculated on a basis consistent with the calculations used in preparing the Issuer’s consolidated
financial statements) (excluding intra-group items) are equal to or exceed 5% of the Total Assets
or Consolidated Adjusted EBITDA of the Issuer and its Restricted Subsidiaries; provided that
any Restricted Subsidiary shall be deemed a Material Subsidiary if either (a) the Total Assets of
such Subsidiary would cause the Total Assets of all Subsidiaries which are not Material
Subsidiaries to exceed 7.5% of the Total Assets or (b) the Consolidated Adjusted EBITDA of
such Subsidiary would cause the Consolidated Adjusted EBITDA of all Subsidiaries which are
not Material Subsidiaries to exceed 7.5% of the Consolidated Adjusted EBITDA.

               “Minority Interest” means the percentage interest represented by any class of
Capital Stock of a Restricted Subsidiary that is not owned by the Issuer or a Restricted
Subsidiary.



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              “Moody’s” means Moody’s Investors Service, Inc. and any successor to its rating
agency business.

               “Mortgage” means each mortgage, deed of trust or deed to secure debt creating a
Lien on the Mortgaged Property granted by the Issuer or any Guarantor in favor of the Collateral
Agent for the benefit of the Secured Parties securing the Notes Obligations, in each case as
amended, modified, restated, supplemented or replaced from time to time.

               “Mortgaged Property” means all right, title and interest of the Issuer and the
Guarantors in and to (i) the Initial Mortgaged Property and (ii) each additional parcel of real
property (and the improvements and fixtures located thereon) that becomes subject to a
Mortgage pursuant to Section 4.19 hereof.

                “Net Income” means, with respect to any Person for any period, the net income
(loss) of such Person for such period, determined in accordance with GAAP and before any
reduction in respect of dividends on preferred interests, excluding, however, (a) any gain or loss,
together with any related provision for taxes on such gain or loss, realized in connection with
(1) any Asset Sale (including, without limitation, dispositions pursuant to Sale/Leaseback
Transactions) or (2) the disposition of any securities by such Person or any of its Subsidiaries or
the extinguishment of any Indebtedness of such Person or any of its Subsidiaries and (b) any
extraordinary or nonrecurring gain or loss, together with any related provision for taxes on such
extraordinary or nonrecurring gain or loss.

               “Net Proceeds” means:

                 (a) with respect to any Asset Sale, the aggregate cash proceeds received by the
Issuer or any of its Restricted Subsidiaries in respect thereof (including, without limitation, any
cash received upon the sale or other disposition of any Designated Non−cash Consideration
received in any Asset Sale and any cash payments received by way of deferred payment of
principal pursuant to a note or installment receivable or otherwise, but only as and when
received, but excluding the assumption by the acquiring Person of Indebtedness relating to the
disposed assets or other consideration received in any non−cash form), net of the direct costs
relating to such Asset Sale and the sale of such Designated Non−cash Consideration, including,
without limitation, legal, accounting and investment banking fees, and sales commissions, and
any relocation expenses incurred as a result of the Asset Sale, taxes paid or payable as a result of
the Asset Sale, in each case, after taking into account any available tax credits or deductions and
any tax sharing arrangements, amounts paid in connection with the termination of Hedging
Obligations repaid with Net Proceeds, and amounts required to be applied to the repayment of
Indebtedness secured by a Lien on the asset or assets that were the subject of such Asset Sale, all
distributions and other payments required to be made to Minority Interest holders in Subsidiaries
or joint ventures or to holders of royalty or similar interests as a result of such Asset Sale and any
reserve for adjustment in respect of the sale price of such asset or assets established in
accordance with GAAP, including without limitation, pension and post−employment benefit
liabilities and liabilities related to environmental matters or against any indemnification
obligations associated with such transaction; and



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                (b)      with respect to any Casualty Event, the aggregate cash proceeds received
by the Issuer or any of its Restricted Subsidiaries received under any casualty insurance policy in
respect of a covered loss of assets thereunder or as a result of the taking of any assets of the
Issuer or any of its Subsidiaries by any Person pursuant to the power of eminent domain,
condemnation or otherwise or pursuant to a sale of any such assets to a purchaser with such
power under threat of such taking, net of (i) any actual and reasonable costs incurred by the
Issuer or any of its Restricted Subsidiaries in connection with the adjustment or settlement of any
claims of the Issuer or any such Subsidiary in respect thereof, and (ii) the direct costs relating to
such Casualty Event, including, without limitation, legal, accounting and investment banking
fees, and sales commissions, and any relocation expenses incurred as a result of the Casualty
Event, taxes paid or payable as a result of the Casualty Event, in each case, after taking into
account any available tax credits or deductions and any tax sharing arrangements, and amounts
required to be applied to the repayment of Indebtedness secured by a Lien on the asset or assets
that were the subject of such Casualty Event, all distributions and other payments required to be
made to Minority Interest holders in Subsidiaries or joint ventures or to holders of royalty or
similar interests as a result of such Casualty Event and any reserve for adjustment in respect of
the sale price of such asset or assets established in accordance with GAAP, including without
limitation, pension and post−employment benefit liabilities and liabilities related to
environmental matters or against any indemnification obligations associated with such
transaction.

               “Non−U.S. Person” means a Person who is not a U.S. Person.

             “Note Documents” means this Indenture, the Notes, the Note Guarantees and the
Security Documents.

               “Note Guarantee” means the Guarantee by each Guarantor of the Issuer’s
obligations under this Indenture and the Notes, executed pursuant to the provisions of this
Indenture.

                “Notes Intercreditor Agreement” means that certain Intercreditor Agreement
dated as of the Issue Date, by and among the Issuer, the other grantors party thereto, the Existing
Notes Collateral Agent and the Collateral Agent, as amended, modified, restated, supplemented
or replaced from time to time.

              “Note Liens” means all Liens in favor of the Collateral Agent on Collateral
securing the Notes Obligations.

                 “Notes” has the meaning assigned to it in the preamble to this Indenture. The
Initial Notes and any Additional Notes shall be treated as a single class for all purposes under
this Indenture, and unless the context otherwise requires, all references to the Notes shall include
the Initial Notes and any Additional Notes.

               “Notes Obligations” means the Indebtedness incurred and Obligations (including
the Applicable Premium and the Redemption Premium) under this Indenture, the Notes and the
other Note Documents.



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                “Notes Priority Collateral” has the meaning ascribed to the term “Notes First
Priority Collateral” in the ABL Intercreditor Agreement.

                “Obligations” means any principal, interest (including Post Petition Interest),
penalties, fees, indemnifications, reimbursements, damages and other liabilities payable under
the documentation governing any Indebtedness.

               “Officer” means, with respect to any Person, the Chairman of the Board, the Chief
Executive Officer, the President, the Chief Operating Officer, the Chief Financial Officer, the
Treasurer, any Assistant Treasurer, the Controller, the Secretary or any Vice−President of such
Person.

                 “Officer’s Certificate” means a certificate signed by an Officer of the Issuer or
any other Person, as the case may be, who must be a manager or director, the principal executive
officer, the principal financial officer, the treasurer or the principal accounting officer of the
Issuer (or of a Subsidiary of the Issuer acting in such capacity for the Issuer and its Subsidiaries,
as determined by the Issuer) or such other Person, that meets the requirements set forth in this
Indenture and is provided to the Trustee.

                “OID Legend” means the legend set forth in Section 2.06(f)(3) hereof to be placed
on all Notes issued under this Indenture except where otherwise permitted by the provisions of
this Indenture.

              “Opinion of Counsel” means an opinion from legal counsel that meets the
requirements of Section 14.05 hereof and is provided to the Trustee. Such counsel may be an
employee of or counsel to the Issuer or any Subsidiary of the Issuer.

              “Participant” means, with respect to the Depositary, a Person who has an account
with the Depositary.

                 “Permitted Business” means the businesses of the Issuer and its Subsidiaries
engaged in on the Issue Date and any other activities that are similar, ancillary or reasonably
related to, or a reasonable extension, expansion or development of, such businesses or ancillary
thereto.

                “Permitted Employee Stock Purchase Loans” means loans, in an aggregate
amount outstanding at any time (together with Permitted Investments incurred pursuant to clause
(8) of the definition thereof) not to exceed $10.0 million, whether made by the Issuer or any third
party (other than any Affiliate of the Issuer), to employees of the Issuer and its Subsidiaries who
become participants in the Issuer’s stock purchase program to enable such employees to
purchase Equity Interests in the Issuer or any of its parent entities.

                “Permitted Holders” means (i) the Equity Investors and Related Parties and
(ii) any Permitted Parent. Any Person or group whose acquisition of beneficial ownership
constitutes a Change of Control in respect of which a Change of Control Offer is made in
accordance with the requirements of this Indenture will thereafter, together with its Affiliates,
constitute an additional Permitted Holder.


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        “Permitted Investments” means:

       (1)      any Investment in the Issuer or in a Restricted Subsidiary of the Issuer that
is a Guarantor;

        (2)     any Investment in cash, Cash Equivalents or Investment Grade Securities;

       (3)      any Investment by the Issuer or any Restricted Subsidiary of the Issuer in
a Person, if as a result of such Investment:

              (a) such Person becomes a Restricted Subsidiary of the Issuer and a
        Guarantor; or

               (b) such Person, in one transaction or a series of related transactions, is
        merged, consolidated or amalgamated with or into, or transfers or conveys
        substantially all of its assets to, or is liquidated into, the Issuer or a Restricted
        Subsidiary of the Issuer that is a Guarantor;

        (4)   any Investment made as a result of the receipt of non−cash consideration
from an Asset Sale that was made pursuant to and in compliance with Section 4.08
hereof;

        (5)     any acquisition of assets or Capital Stock solely in exchange for the
issuance of Equity Interests (other than Disqualified Stock) of the Issuer or a direct or
indirect parent of the Issuer;

        (6)     any Investments received (i) in compromise or resolution of
(A) obligations of trade creditors or customers that were incurred in the ordinary course
of business of the Issuer or any of its Restricted Subsidiaries, including pursuant to any
plan of reorganization or similar arrangement upon the bankruptcy or insolvency of any
trade creditor or customer; or (B) litigation, arbitration or other disputes; or (ii) as a result
of a foreclosure by the Issuer or any of its Restricted Subsidiaries with respect to any
secured Investment or other transfer of title with respect to any secured Investment in
default;

        (7)     Investments represented by Hedging Obligations;

        (8)   loans or advances to officers, directors and employees made in the
ordinary course of business or consistent with the past practice of the Issuer or any
Restricted Subsidiary of the Issuer and Permitted Employee Stock Purchase Loans or
Guarantees thereof in an aggregate principal amount at any time outstanding not to
exceed $10.0 million;

        (9)     repurchases of the Notes;

        (10)    [reserved];

        (11)    [reserved];

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              (12) additional Investments made in Unrestricted Subsidiaries in the ordinary
       course of business for bona fide business purposes by the Issuer or any Restricted
       Subsidiary having an aggregate Fair Market Value (measured on the date each such
       Investment was made and without giving effect to subsequent changes in value), taken
       together with all other Investments made pursuant to this clause (12) that are at the time
       outstanding not to exceed $15.0 million;

               (13) (A) Guarantees issued in accordance with Section 4.07 and Section 4.14
       hereof and (B) Guarantees of performance or other obligations (other than Indebtedness)
       arising in the ordinary course of business or consistent with past practice;

               (14) any Investment existing on the Issue Date and any Investment that
       replaces, refinances or refunds an existing Investment; provided, that the new Investment
       is in an amount that does not exceed the amount replaced, refinanced or refunded, and is
       made in the same Person as the Investment replaced, refinanced or refunded;

               (15) Investments consisting of purchases and acquisitions of parts, buildings,
       inventory, supplies, materials and equipment or purchases of contract rights or licenses or
       leases of intellectual property, in each case in the ordinary course of business;

              (16) additional Investments made in Restricted Subsidiaries that are not
       Guarantors for purposes of establishing and maintaining joint ventures having an
       aggregate Fair Market Value (measured on the date each such Investment was made and
       without giving effect to subsequent changes in value), taken together with all other
       Investments made pursuant to this clause (16) that are at the time outstanding not to
       exceed $25.0 million;

              (17) Investments in any Person to the extent such Investments consist of
       prepaid expenses, negotiable instruments held for collection and lease, utility and
       workers’ compensation, performance and other similar deposits made in the ordinary
       course of business by the Issuer or any of its Restricted Subsidiaries; and

               (18)    pledges or deposits made in the ordinary course of business.

                provided, however, that with respect to any Investment, the Issuer may, in its sole
discretion, allocate all or any portion of any Investment to one or more of the above clauses (1)
through (18) so that the entire Investment would be a Permitted Investment.

               “Permitted Liens” means:

               (1)     Liens securing Indebtedness and other Obligations under Debt Facilities
       incurred pursuant to Section 4.07(b)(1) hereof and/or securing Bank Products obligations
       related thereto; provided that such Liens are subject to the provisions of the ABL
       Intercreditor Agreement (including with respect to the relative priority of the ABL
       Facility Priority Collateral and Notes Priority Collateral);

               (2)     Liens in favor of the Issuer or any of its Restricted Subsidiaries;


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        (3)     Liens on property of a Person existing at the time such Person is merged
with or into or consolidated with the Issuer or any Restricted Subsidiary of the Issuer;
provided that such Liens were in existence prior to the contemplation of such merger or
consolidation and do not extend to any assets other than those of the Person merged into
or consolidated with the Issuer or the Subsidiary;

        (4)     Liens on property (including Capital Stock) existing at the time of
acquisition of the property by the Issuer or any Restricted Subsidiary of the Issuer;
provided that such Liens were in existence prior to, such acquisition, and not incurred in
contemplation of, such acquisition;

        (5)     Liens or deposits to secure the performance of statutory or regulatory
obligations, or surety, appeal, indemnity or performance bonds, warranty and contractual
requirements or other obligations of a like nature incurred in the ordinary course of
business and Liens over cash deposits in connection with an acquisition, lease,
disposition or investment;

         (6)     Liens securing reimbursement obligations with respect to commercial
letters of credit which encumber documents and other assets relating to such letters of
credit and products and proceeds thereof and any cash cover relating to a letter of credit
or bank guarantee;

         (7)    Liens to secure Indebtedness (including Capital Lease Obligations)
permitted to be incurred pursuant to Section 4.07(b)(4) hereof covering only the assets
acquired with or financed by such Indebtedness; provided that such Lien (i) extends only
to the assets and/or Capital Stock, the acquisition, lease, design, construction, installation,
repair, replacement or improvement of which is financed thereby and any proceeds or
products thereof, accessions thereto, upgrades thereof and improvements thereto or
(ii) does not extend to any assets or property that constitute Collateral;

       (8)     Liens securing Indebtedness permitted to be incurred pursuant to
Section 4.07(b)(15) hereof; provided, that any Indebtedness incurred by the Issuer or any
Guarantor pursuant to Section 4.07(b)(15) that is secured shall be secured by Liens solely
on the Collateral on a junior basis to the Liens securing the Notes Obligations pursuant to
the Notes Intercreditor Agreement;

       (9)     Liens existing on the Issue Date;

        (10) Liens for taxes, assessments or governmental charges or claims that are
not yet delinquent or that are being contested in good faith by appropriate proceedings
promptly instituted and diligently concluded; provided that any reserve or other
appropriate provision as is required in conformity with GAAP has been made therefor;

        (11) Liens incurred or deposits made in the ordinary course of business to
secure payment of workers’ compensation or to participate in any fund in connection
with workmen’s compensation, unemployment insurance, old−age pensions or other
social security programs;


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        (12) Liens imposed by law, such as carriers’, warehousemen’s, landlord’s,
lessor’s, suppliers, banks, repairmen’s and mechanics’ Liens, and Liens of landlords
securing obligations to pay lease payments that are not yet due and payable or in default,
in each case, incurred in the ordinary course of business;

        (13) leases or subleases granted to others that do not materially interfere with
the ordinary conduct of business of the Issuer or any of its Restricted Subsidiaries;

         (14) (A) survey exceptions, easements, rights of way, zoning and similar
restrictions, reservations or encumbrances in respect of real property or title defects that
were not incurred in connection with Indebtedness and that do not in the aggregate
materially adversely affect the value of said properties (as such properties are used by the
Issuer or its Restricted Subsidiaries) or materially impair their use in the operation of the
business of the Issuer and its Restricted Subsidiaries and (B) access agreements,
easements, leases, licenses, use agreements, utility agreements, service agreements, and
other like encumbrances granted by the Issuer or a Restricted Subsidiary of the Issuer to
any other third party in connection with the disposition of the Excluded Pipelines to, or
the use or ownership of the Excluded Pipelines by, such third party so long as such
encumbrances do not in the aggregate materially adversely affect the value of said
properties (as such properties are used by the Issuer or its Restricted Subsidiaries) or
materially impair their use in the operation of the business of the Issuer and its Restricted
Subsidiaries;

       (15) Liens created for the benefit of (or to secure) the Notes issued on the Issue
Date and the Note Guarantees with respect thereto;

       (16) Liens to secure any Permitted Refinancing Indebtedness permitted to be
incurred under this Indenture; provided, however, that:

               (a) the new Lien shall be limited to all or part of the same property and
       assets that secured or, under the written agreements pursuant to which the original
       Lien arose, could secure the original Lien (plus improvements and accessions to,
       such property or proceeds or distributions thereof);

               (b) the Indebtedness secured by the new Lien is not increased to any
       amount greater than the sum of (x) the outstanding principal amount, or, if
       greater, committed amount, of the Permitted Refinancing Indebtedness and (y) an
       amount necessary to pay any fees and expenses, including premiums, related to
       such renewal, refunding, refinancing, replacement, defeasance or discharge; and

              (c) the new Lien shall have no greater priority relative to the Notes
       Obligations of the Liens securing the Indebtedness being renewed, refunded,
       refinanced, replaced, defeased or discharged;

        (17) Liens arising from precautionary Uniform Commercial Code financing
statement filings regarding operating leases entered into by the Issuer or any of its
Restricted Subsidiaries in the ordinary course of business;


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       (18) judgment Liens not giving rise to an Event of Default so long as any
appropriate legal proceedings that may have been duly initiated for the review of such
judgment shall not have been finally terminated or the period within which such legal
proceedings may be initiated shall not have expired;

        (19) Liens securing Indebtedness or other obligations of the Issuer or any
Subsidiary of the Issuer with respect to obligations that do not exceed $5.0 million at any
one time outstanding; provided that, to the extent the Liens incurred under this clause
(19) secure Indebtedness for borrowed money of the Issuer or any Guarantor, such Liens
shall extend solely to the Collateral and shall secure such Indebtedness on a junior basis
to the Liens securing the Notes Obligations pursuant to the Notes Intercreditor
Agreement;

       (20)    [reserved];

       (21)    non-exclusive licenses of intellectual property in the ordinary course of
business;

       (22)    [reserved];

       (23) leases and subleases of real property which do not materially interfere
with the ordinary conduct of the business of the Issuer and its Restricted Subsidiaries;

       (24)    Liens to secure a defeasance trust;

       (25) Liens on equipment of the Issuer or any Restricted Subsidiary of the Issuer
granted in the ordinary course of business to clients of which such equipment is located;

       (26) Liens securing insurance premium financing arrangements, provided that
such Lien is limited to the applicable insurance contracts;

       (27)    [reserved];

        (28) Liens arising under retention of title, hire purchase or conditional sale
arrangements arising under provisions in a supplier’s standard conditions of supply in
respect of goods or services supplied to the Issuer or any Restricted Subsidiary in the
ordinary course of business and on arm’s length terms;

       (29) Liens arising by way of set−off or pledge (in favor of the account holding
bank) arising by operation of law or pursuant to standard banking terms or conditions,
provided that the relevant bank account has not been set up nor has the relevant credit
balance arisen in order to implement a secured financing;

       (30) Liens securing Indebtedness permitted to be incurred pursuant to
Section 4.07(b)(3);




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              (31) Liens encumbering reasonable customary initial deposits and margin
       deposits and similar Liens attaching to commodity trading accounts or other brokerage
       accounts incurred in the ordinary course of business and not for speculative purposes;

              (32)    Liens securing Hedging Obligations;

                (33) any (a) interest or title of a lessor or sublessor under any lease;
       (b) restriction or encumbrance that the interest or title of such lessor or sublessor may be
       subject to (including, without limitation, ground leases or other prior leases of the
       demised premises, mortgages, mechanics’ Liens, tax Liens and easements);
       (c) subordination of the interest of the lessee or sublessee under such lease to any
       restrictions or encumbrance referred to in the preceding subclause (b) or (d) Liens over
       rental deposits with a lessor pursuant to a property lease entered into in the ordinary
       course of business;

               (34) Liens incurred under or in connection with lease and Sale/Leaseback
       Transactions and novations and any refinancings thereof (and Liens securing obligations
       under lease transaction documents relating thereto), including, without limitation, Liens
       over the assets which are the subject of such lease, sale and leaseback, novations,
       refinancings, assets and contract rights related thereto (including, without limitation, the
       right to receive rental rebates or deferred sale payments), sub−lease rights, insurances
       relating thereto and rental deposits;

               (35) Liens to secure Indebtedness and any related Guarantees on assets
       constituting Collateral that are junior in priority to the Liens on the Collateral securing
       the Notes;

              (36) (x) Liens on the Collateral granted in favor of the Existing Notes
       Collateral Agent; provided that such Liens are subject to the Notes Intercreditor
       Agreement; and (y) Liens on the Collateral granted under the Security Documents in
       favor of the Collateral Agent to secure the Notes and the Note Guarantees; and

               (37) Liens arising under this Indenture in favor of the Trustee for its own
       benefit and similar Liens in favor of other trustees, agents and representatives arising
       under instruments governing Indebtedness permitted to be incurred under this Indenture,
       provided, however, that such Liens are solely for the benefit of the trustees, agents or
       representatives in their capacities as such and not for the benefit of the holders of such
       Indebtedness.

                “Permitted Parent” means any direct or indirect parent of the Issuer formed not
in connection with, or in contemplation of, a transaction that, assuming such parent was not so
formed, after giving effect thereto would constitute a Change of Control and any direct or
indirect parent of the Issuer formed in connection with an underwritten public Equity Offering.

              “Permitted Payments to Parent” means, without duplication as to amounts:

             (1)     payments to any parent companies of the Issuer in amounts equal to the
       amounts required for any direct payment of the Issuer to pay fees and expenses (including

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       franchise or similar taxes) required to maintain its corporate existence, customary salary,
       bonus and other benefits payable to officers and employees of any direct parent of the
       Issuer and general corporate overhead expenses of any direct parent of the Issuer to the
       extent such fees and expenses are attributable to the ownership or operation of the Issuer
       and its Subsidiaries; and

               (2)      for so long as the Issuer is a member of a group filing a consolidated or
       combined tax return with such parent companies, payments to such parent companies in
       respect of an allocable portion of the tax liabilities of such group that is attributable to the
       Issuer and its Subsidiaries (“Tax Payments”). The Tax Payments shall not exceed the
       lesser of (i) the amount of the relevant tax (including any penalties and interest) that the
       Issuer would owe if the Issuer were filing a separate tax return (or a separate consolidated
       or combined return with its Subsidiaries that are members of the consolidated or
       combined group), taking into account any carryovers and carrybacks of tax attributes
       (such as net operating losses) of the Issuer and such Subsidiaries from other taxable years
       and (ii) the net amount of the relevant tax that such parent companies actually owe to the
       appropriate taxing authority. Any Tax Payments received from the Issuer shall be paid
       over to the appropriate taxing authority within 30 days of such parent companies’ receipt
       of such Tax Payments or refunded to the Issuer.

                “Permitted Refinancing Indebtedness” means any Indebtedness of the Issuer or
any of its Restricted Subsidiaries issued in exchange for, or the net proceeds of which are used to
renew, refund, refinance, replace, defease or discharge other Indebtedness of the Issuer or any of
the Issuer’s Restricted Subsidiaries (other than intercompany Indebtedness); provided that:

              (1)      the principal amount (or accreted value, if applicable) of such Permitted
       Refinancing Indebtedness does not exceed the principal amount (or accreted value, if
       applicable) of the Indebtedness renewed, refunded, refinanced, replaced, defeased or
       discharged (plus any premium required to be paid on the Indebtedness being so renewed,
       refunded, replaced, defeased or discharged, plus the amount of all fees and expenses
       incurred in connection therewith);

                (2)    such Permitted Refinancing Indebtedness has a final maturity date equal to
       or later than the final maturity date of, and has a Weighted Average Life to Maturity
       equal to or greater than the remaining Weighted Average Life to Maturity of, the
       Indebtedness being renewed, refunded, refinanced, replaced, defeased or discharged;
       provided that this clause (2) shall not apply to debt under Debt Facilities;

               (3)    if the Indebtedness being renewed, refunded, refinanced, replaced,
       defeased or discharged is subordinated in right of payment to the Notes, such Permitted
       Refinancing Indebtedness has a final maturity date later than the final maturity date of,
       and is subordinated in right of payment to, the Notes on terms at least as favorable to the
       Holders as those contained in the documentation governing the Indebtedness being
       renewed, refunded, refinanced, replaced, defeased or discharged; and




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               (4)     such Permitted Refinancing Indebtedness shall not include Indebtedness of
       the Issuer or any Subsidiary of the Issuer that was not an obligor of the Indebtedness
       being renewed, refunded, refinanced, replaced, defeased or discharged.

                “Person” means any individual, corporation, partnership, joint venture,
association, joint−stock company, trust, unincorporated organization, limited liability company
or government or other entity.

              “Port Neches Incident” means the explosion of the Issuer’s chemical plant in Port
Neches, Texas in November, 2019.

               “Port Neches Proceeds” means any and all insurance proceeds (including,
without limitation, from business interruption, property or casualty policies and any settlements
with insurance carriers) received by Holdings, the Issuer and its Subsidiaries after the Issue Date
in connection with the Port Neches Incident (excluding up to $50.0 million of insurance proceeds
received under the combined Property Damage/Business Interruption policy and $25.0 million of
insurance proceeds received under liability and inventory policies).

              “Port Neches Allocable Proceeds” means all Port Neches Proceeds in excess of
$475.0 million.

              “Port Neches Company Allocation of Proceeds” means 50% of all Port Neches
Allocable Proceeds.

               “Post-Petition  Interest” means any interest or entitlement to fees or expenses or
other charges that accrue after the commencement of any bankruptcy proceeding, whether or not
allowed or allowable in any such bankruptcy proceeding.

               “Private Placement Legend” means the legend set forth in Section 2.06(f)(1)
hereof to be placed on all Notes issued under this Indenture except where otherwise permitted by
the provisions of this Indenture.

               “QIB” means a “qualified institutional buyer” as defined in Rule 144A.

               “Rating Agency” means each of S&P and Moody’s, or if S&P or Moody’s or both
shall not make a rating on the Notes publicly available, a nationally recognized statistical rating
organization or organizations, within the meaning of Section 3(a)(62) under the Exchange Act,
selected by the Issuer as a replacement agency or agencies for S&P or Moody’s, or both, as the
case may be.

               “Regulation S” means Regulation S promulgated under the Securities Act.

               “Regulation S Global Note” means a Global Note substantially in the form of
Exhibit A2 hereto deposited with or behalf of and registered in the name of the Depositary or its
nominee, issued in a denomination equal to the outstanding principal amount of the Notes sold in
reliance of Regulation S.



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                “Related Business Assets” means assets (other than cash or Cash Equivalents)
used or useful in a Permitted Business; provided that any assets received by the Issuer or a
Restricted Subsidiary of the Issuer in exchange for assets transferred by the Issuer or a Restricted
Subsidiary of the Issuer shall not be deemed to be Related Business Assets if they consist of
securities of a Person, unless upon receipt of the securities of such Person, such Person would
become a Restricted Subsidiary of the Issuer.

               “Related Party” means:

               (1)    any controlling stockholder, partner, member, 50% (or more) owned
       Subsidiary (other than any portfolio company), or immediate family member (in the case
       of an individual) of any Equity Investor;

               (2)      any trust, corporation, partnership or other entity, the beneficiaries,
       stockholders, partners, owners or Persons beneficially holding a 50% or more controlling
       interest of which consist of any one or more Equity Investors and/or such other Persons
       referred to in the immediately preceding clause; or

               (3)     any Person with whom an Equity Investor or a Related Party (under
       clause (1) or (2) of this definition of Related Party) may be deemed as part of a “group”
       within the meaning of Section 13(d)(3) of the Exchange Act.

                “Responsible Officer” when used with respect to the Trustee, means any officer
within the corporate trust department of the Trustee, including any vice president, assistant vice
president, trust officer or any other officer of the Trustee customarily performing functions
similar to those performed by any of the above designated officers and also means, with respect
to a particular corporate trust matter, any other person to whom such matter is referred because
of such person’s knowledge of and familiarity with the particular subject and who shall have
direct responsibility for the administration of this Indenture.

              “Restricted Definitive Note” means a Definitive Note bearing the Private
Placement Legend.

               “Restricted Global Note” means a Global Note bearing the Private Placement
Legend.

               “Restricted Investment” means an Investment other than a Permitted Investment.

               “Restricted Period” means the 40−day distribution compliance period as defined
in Regulation S, as notified to the Trustee by the Issuer in writing.

                “Restricted Subsidiary” of a Person means any Subsidiary of the referent Person
that is not an Unrestricted Subsidiary. Unless otherwise indicated, when used herein, the term
“Restricted Subsidiary” shall refer to a Restricted Subsidiary of the Issuer.

               “Rule 144” means Rule 144 promulgated under the Securities Act.

               “Rule 144A” means Rule 144A promulgated under the Securities Act.

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               “Rule 903” means Rule 903 promulgated under the Securities Act.

               “Rule 904” means Rule 904 promulgated under the Securities Act.

               “S&P” means S&P Global Ratings and any successor to its rating agency
business.

               “Sale/Leaseback Transaction” means an arrangement relating to property now
owned or hereafter acquired by the Issuer or a Restricted Subsidiary of the Issuer whereby the
Issuer or a Restricted Subsidiary of the Issuer transfers such property to a Person and the Issuer
or such Restricted Subsidiary leases it from such Person, other than leases between the Issuer and
a Restricted Subsidiary of the Issuer or between Restricted Subsidiaries of the Issuer.

               “SEC” means the Securities and Exchange Commission.

               “Secured Indebtedness” means any Indebtedness secured by a Lien.

              “Secured Parties” means (i) the Holders of the Notes, (ii) the Trustee, (iii) the
Collateral Agent and (iv) any successors, indorsees, transferees and assigns of each of the
foregoing.

               “Securities Act” means the Securities Act of 1933, as amended.

               “Security Agreement” means the pledge and security agreement dated as of the
Issue Date among the Collateral Agent, for its benefit and for the benefit of the Trustee and the
Holders of the Notes, the Issuer and the Subsidiary Guarantors, as amended, modified, restated,
supplemented or replaced from time to time in accordance with its terms.

               “Security Documents” means the Security Agreement, any mortgages, the
Intercreditor Agreements and all of the security agreements, pledges, collateral assignments,
mortgages, deeds of trust, trust deeds or other instruments evidencing or creating or purporting to
create any security interests in favor of the Collateral Agent for its benefit and for the benefit of
the Trustee and the Holders of the Notes, in all or any portion of the Collateral, in each case as
amended, modified, restated, supplemented or replaced from time to time.

               “Significant Subsidiary” means any Subsidiary that would be a “significant
subsidiary” as defined in Article 1, Rule 1−02 of Regulation S−X, promulgated pursuant to the
Securities Act, as such Regulation is in effect on the Issue Date.

               “Specified Settlement Amount” means $64,947,000.

               “Stated Maturity” means, with respect to any installment of principal on any
series of Indebtedness, the date on which the final payment of principal was scheduled to be paid
in the documentation governing such Indebtedness as of the Issue Date, and will not include any
contingent obligations to repay, redeem or repurchase any such principal prior to the date
originally scheduled for the payment thereof.

               “Subsidiary” means, with respect to any specified Person:

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                (1)   any corporation, association or other business entity of which more than
       50% of the total voting power of shares of Capital Stock entitled (without regard to the
       occurrence of any contingency and after giving effect to any voting agreement or
       stockholders’ agreement that effectively transfers voting power) to vote in the election of
       directors, managers or trustees of the corporation, association or other business entity is
       at the time owned or controlled, directly or indirectly, by that Person or one or more of
       the other Subsidiaries of that Person (or a combination thereof); and

               (2)    any partnership (a) the sole general partner or the managing general
       partner of which is such Person or a Subsidiary of such Person or (b) the only general
       partners of which are that Person or one or more Subsidiaries of that Person (or any
       combination thereof).

             “TIA” means the Trust Indenture Act of 1939, as amended (15 U.S.C.
§§ 77aaa−77bbbb).

              “Subsidiary Guarantors” means (1) the Subsidiaries of the Issuer that execute a
Note Guarantee on the Issue Date and (2) any other Subsidiary of the Issuer that executes a Note
Guarantee in accordance with the provisions of this Indenture.

               “Total Assets” means the total consolidated assets of the Issuer and its Restricted
Subsidiaries, as shown on the most recent balance sheet of the Issuer

               “Treasury Rate” means, as of any redemption date, the yield to maturity as of
such redemption date of United States Treasury securities with a constant maturity (as compiled
and published in the most recent Federal Reserve Statistical Release H. 15(519) that has become
publicly available at least two Business Days prior to the redemption date (or, if such Statistical
Release is no longer published, any publicly available source of similar market data)) most
nearly equal to the period from the redemption date to August 2, 2022; provided, however, that if
the period from the redemption date to August 2, 2022, is less than one year, the weekly average
yield on actually traded United States Treasury securities adjusted to a constant maturity of one
year will be used.

               “Trustee” means U.S. Bank National Association until a successor replaces it in
accordance with the applicable provisions of this Indenture and thereafter means the successor
serving hereunder.

                “U.S. Dollar Equivalent” means with respect to any monetary amount in a
currency other than U.S. dollars, at any time for determination thereof, the amount of U.S.
dollars obtained by converting such foreign currency involved in such computation into U.S.
dollars at the spot rate for the purchase of U.S. dollars with the applicable foreign currency as
published in The Wall Street Journal in the “Exchange Rates” column under the heading
“Currency Trading” on the date two Business Days prior to such determination.

               “U.S. Person” means a U.S. Person as defined in Rule 902(k) promulgated under
the Securities Act.



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               “Unrestricted Definitive Note” means a Definitive Note that does not bear and is
not required to bear the Private Placement Legend.

               “Unrestricted Global Note” means a Global Note that does not bear and is not
required to bear the Private Placement Legend.

               “Unrestricted Subsidiary” means TPC Pipeline Holding Company LLC and TPC
Pipeline Company LLC; provided that, for the avoidance of doubt, (i) TPC Pipeline Company
LLC shall not own any material assets other than the Excluded Pipelines and Investments made
pursuant to clause (12) of the definition of Permitted Investments and (ii) TPC Pipeline Holding
Company LLC shall not own any material assets other than the Equity Interests of TPC Pipeline
Company LLC.

              “Voting Stock” of any specified Person as of any date means the Capital Stock of
such Person that is at the time entitled to vote in the election of the Board of Directors of such
Person.

               “Weighted Average Life to Maturity” means, when applied to any Indebtedness at
any date, the number of years obtained by dividing:

               (1)      the sum of the products obtained by multiplying (a) the amount of each
        then remaining installment, sinking fund, serial maturity or other required payments of
        principal, including payment at final maturity, in respect of the Indebtedness, by (b) the
        number of years (calculated to the nearest one−twelfth) that will elapse between such
        date and the making of such payment; by

               (2)     the then outstanding principal amount of such Indebtedness.

Section 1.02   Other Definitions.

 Term                                                 Defined in Section

 “Affiliate Transaction”                                     4.09
 “After−Acquired Real Property”                              4.18
 “Alternate Offer”                                           4.12
 “Applicable Premium Deficit”                                8.04
 “Asset Sale Offer”                                          4.08
 “Authentication Order”                                      2.02
 “Change of Control Offer”                                   4.12
 “Change of Control Payment”                                 4.12
 “Change of Control Payment Date”                            4.12
 “Covenant Defeasance”                                       8.03
 “DTC”                                                       2.03
 “Event of Default”                                          6.01
 “Excess Proceeds”                                           4.08
 “Fall−Away Period”                                          4.16
 “Flood Insurance Laws”                                      4.19

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 Term                                                Defined in Section

 “incur”                                                   4.07(a)
 “Issuer”                                                 Preamble
 “Legal Defeasance”                                         8.02
 “Limited Condition Transaction”                            4.22
 “Mortgage Policies”                                        4.19
 “Offer Period”                                             4.08
 “Paying Agent”                                             2.03
 “Payment Default”                                          6.01
 “Permitted Debt”                                          4.07(b)
 “Registrar”                                                2.03
 “Restricted Payments”                                      4.05
 “Suspended Covenants”                                      4.16
 “Title Company”                                            4.19
 “Transaction Agreement Date”                               4.22

Section 1.03   Incorporation by Reference of Trust Indenture Act.

               This Indenture is not and shall not be qualified by the TIA and no provisions of
the TIA are incorporated by reference in and made a part of this Indenture.

Section 1.04   Rules of Construction.

               Unless the context otherwise requires:

               (i)     a term has the meaning assigned to it;

               (ii)   an accounting term not otherwise defined has the meaning assigned to it in
        accordance with GAAP;

               (iii)   “or” is not exclusive;

               (iv)    words in the singular include the plural, and in the plural include the
        singular;

               (v)     “will” shall be interpreted to express a command;

               (vi)    provisions apply to successive events and transactions; and

                (vii) references to sections of or rules under the Securities Act will be deemed
        to include substitute, replacement of successor sections or rules adopted by the SEC from
        time to time.

Section 1.05 Divisions. For all purposes hereunder, in connection with any division or plan of
division under Delaware law (or any comparable event under a different jurisdiction’s laws): (a)
if any asset, right, obligation or liability of any Person becomes the asset, right, obligation or

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liability of a different Person, then it shall be deemed to have been transferred from the original
Person to the subsequent Person, and (b) if any new Person comes into existence, such new
Person shall be deemed to have been organized on the first date of its existence by the holders of
its equity interests at such time.

                                           ARTICLE 2

                                          THE NOTES

Section 2.01   Form and Dating.

                (a)     General. The Notes and the Trustee’s certificate of authentication will be
substantially in the form of Exhibits A1 and A2 hereto. The Notes may have notations, legends
or endorsements required by law, stock exchange rule or usage. Each Note will be dated the date
of its authentication. The Notes shall be in denominations of $1.00 and integral multiples of
$1.00 in excess of $1.00.

               The terms and provisions contained in the Notes will constitute, and are hereby
expressly made, a part of this Indenture and the Issuer, the Guarantors and the Trustee, by their
execution and delivery of this Indenture, expressly agree to such terms and provisions and to be
bound thereby. However, to the extent any provision of any Note conflicts with the express
provisions of this Indenture, the provisions of this Indenture shall govern and be controlling.

                (b)     Global Notes. Notes issued in global form will be substantially in the form
of Exhibits A1 or A2 hereto (including the Global Note Legend thereon and the “Schedule of
Exchanges of Interests in the Global Note” attached thereto). Definitive Notes will be
substantially in the form of Exhibit A1 hereto (but without the Global Note Legend thereon and
without the “Schedule of Exchanges of Interests in the Global Note” attached thereto). Each
Global Note will represent such of the outstanding Notes as will be specified therein and each
shall provide that it represents the aggregate principal amount of outstanding Notes from time to
time endorsed thereon and that the aggregate principal amount of outstanding Notes represented
thereby may from time to time be reduced or increased, as appropriate, to reflect exchanges and
redemptions. Any endorsement of a Global Note to reflect the amount of any increase or
decrease in the aggregate principal amount of outstanding Notes represented thereby will be
made by the Trustee or the Custodian, at the written direction of the Trustee, in accordance with
instructions given by the Holder thereof as required by Section 2.06 hereof.

                (c)     None of the Trustee or any Agent shall have any responsibility or
obligation to any beneficial owner of an interest in a Global Note, a member of, or a Participant
or Indirect Participant in, the Depositary or other Person with respect to the accuracy of the
records of the Depositary or its nominee or of any Participant or Indirect Participant in, or
member thereof, with respect to any ownership interest in the Notes or with respect to the
delivery to any Participant, Indirect Participant, member, beneficial owner or other Person (other
than the Depositary) of any notice (including any notice of redemption) or the payment of any
amount or delivery of any Notes (or other security or property) under or with respect to such
Notes. All notices and communications to be given to the Holders and all payments to be made
to Holders in respect of the Notes shall be given or made only to or upon the order of the

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registered Holders (which shall be the Depositary or its nominee in the case of a Global Note).
The rights of beneficial owners in any Global Note shall be exercised only through the
Depositary subject to the Applicable Procedures of the Depositary. The Trustee and each Agent
may conclusively rely and shall be fully protected in relying upon information furnished by the
Depositary with respect to its members, Participants, Indirect Participants and any beneficial
owners. Neither the Trustee nor any Agent shall have any responsibility or liability for actions
take or not taken by the Depositary.

Section 2.02    Execution and Authentication.

                (a)    At least one Officer must sign the Notes for the Issuer by manual,
electronic or facsimile signature.

               (b)     If an Officer whose signature is on a Note no longer holds that office at
the time a Note is authenticated, the Note will nevertheless be valid.

                (c)    A Note will not be valid until authenticated by the manual or electronic
signature of the Trustee. The signature will be conclusive evidence that the Note has been
authenticated under this Indenture.

                (d)     The Trustee will, upon receipt of a written order of the Issuer signed by
two Officers of the Issuer (an “Authentication Order”), authenticate Notes for original issue that
may be validly issued under this Indenture, including any Additional Notes. The aggregate
principal amount of Notes outstanding at any time may not exceed the aggregate principal
amount of Notes authorized for issuance by the Issuer pursuant to one or more Authentication
Orders, except as provided in Section 2.07 hereof. Subject to compliance with Sections 4.07 and
4.10 of this Indenture, the Issuer may issue an unlimited amount of Additional Notes under this
Indenture from time to time after the Issue Date having identical terms and conditions as the
Initial Notes other than the issue date, issue price, the first interest payment date and the first date
from which interest will accrue; provided that if any Additional Notes are not fungible with the
Initial Notes for U.S. federal income tax purposes, such Additional Notes will be issued as a
separate series under this Indenture and will have a separate CUSIP number and ISIN from the
Initial Notes.

                (e)     The Trustee may appoint an authenticating agent acceptable to the Issuer
to authenticate Notes. An authenticating agent may authenticate Notes whenever the Trustee may
do so. Each reference in this Indenture to authentication by the Trustee includes authentication
by such agent. An authenticating agent has the same rights as an Agent to deal with Holders or
an Affiliate of the Issuer.

Section 2.03    Registrar and Paying Agent.

              (a)     The Issuer will maintain a register of Notes at its registered office in
which the Holders of the Notes will be registered.

               (b)      The Issuer will maintain an office or agency where Notes may be
presented for registration of transfer or for exchange (“Registrar”) and an office or agency where
Notes may be presented for payment (“Paying Agent”). The Registrar will keep a register of the

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Holders and the Notes and of their transfer and exchange. The Issuer may appoint one or more
co−registrars and one or more additional Paying Agents. The term “Registrar” includes any
co−registrar and the term “Paying Agent” includes any additional paying agent. The Issuer may
change any Paying Agent or Registrar without notice to any Holder. The Issuer will notify the
Trustee in writing of the name and address of any Agent not a party to this Indenture. The Issuer
or any of the Issuer’s Restricted Subsidiaries may act as Paying Agent or Registrar.

               (c)    The Issuer initially appoints The Depository Trust Company (“DTC”) to
act as Depositary with respect to the Global Notes.

              (d)      The Issuer initially appoints the Trustee to act as the Registrar and Paying
Agent with respect to the Global Notes.

Section 2.04   Paying Agent to Hold Money in Trust.

                The Issuer will require each Paying Agent other than the Trustee to agree in
writing that the Paying Agent will hold in trust for the benefit of Holders or the Trustee all
money held by the Paying Agent for the payment of principal, Applicable Premium, any other
premium or interest on the Notes, and will notify the Trustee in writing of any default by the
Issuer in making any such payment. While any such default continues, the Trustee may require a
Paying Agent to pay all money held by it to the Trustee. The Issuer at any time may require a
Paying Agent to pay all money held by it to the Trustee. Upon payment over to the Trustee, the
Paying Agent (if other than the Issuer or a Subsidiary of the Issuer) will have no further liability
for the money. If the Issuer or a Subsidiary of the Issuer acts as Paying Agent, it will segregate
and hold in a separate trust fund for the benefit of the Holders all money held by it as Paying
Agent. Upon any bankruptcy or reorganization proceedings relating to the Issuer, the Trustee
will serve as Paying Agent for the Notes.

Section 2.05   Holder Lists.

                The Trustee will preserve in as current a form as is reasonably practicable the
most recent list available to it of the names and addresses of all Holders. If the Trustee is not the
Registrar, the Issuer will furnish to the Trustee at least seven Business Days before each interest
payment date and at such other times as the Trustee may request in writing, a list in such form
and as of such date as the Trustee may reasonably require of the names and addresses of the
Holders.

Section 2.06   Transfer and Exchange.

               (a)     Transfer and Exchange of Global Notes. A Global Note may not be
transferred except as a whole by the Depositary to a nominee of the Depositary, by a nominee of
the Depositary to the Depositary or to another nominee of the Depositary, or by the Depositary
or any such nominee to a successor Depositary or a nominee of such successor Depositary. All
Global Notes will be exchanged by the Issuer for Definitive Notes if:

              (1)      the Issuer delivers to the Trustee written notice from the Depositary that it
       is unwilling or unable to continue to act as Depositary or that it is no longer a clearing
       agency registered under the Exchange Act and, in either case, a successor Depositary is

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       not appointed by the Issuer within 120 days after the date of such notice from the
       Depositary; or

               (2)    there has occurred and is continuing an Event of Default with respect to
       the Notes and the Trustee has requested that the Global Notes be exchanged for
       Definitive Notes as a result thereof.

                Upon the occurrence of either of the preceding events in clauses (1) or (2) above,
Definitive Notes shall be issued in such names as the Depositary shall instruct the Trustee in
writing. Global Notes also may be exchanged or replaced, in whole or in part, as provided in
Sections 2.07 and 2.10 hereof. Every Note authenticated and delivered in exchange for, or in lieu
of, a Global Note or any portion thereof, pursuant to this Section 2.06 or Section 2.07 or 2.10
hereof, shall be authenticated and delivered in the form of, and shall be, a Global Note. A Global
Note may not be exchanged for another Note other than as provided in this Section 2.06(a),
however, beneficial interests in a Global Note may be transferred and exchanged as provided in
Section 2.06(b) or (c) hereof.

                (b)      Transfer and Exchange of Beneficial Interests in the Global Notes. The
transfer and exchange of beneficial interests in the Global Notes will be effected through the
Depositary, in accordance with the provisions of this Indenture and the Applicable Procedures.
Beneficial interests in the Restricted Global Notes will be subject to restrictions on transfer
comparable to those set forth herein to the extent required by the Securities Act. Transfers of
beneficial interests in the Global Notes also will require compliance with either clause (1) or (2)
below, as applicable, as well as one or more of the other following clauses, as applicable:

               (1)     Transfer of Beneficial Interests in the Same Global Note. Beneficial
       interests in any Restricted Global Note may be transferred to Persons who take delivery
       thereof in the form of a beneficial interest in the same Restricted Global Note in
       accordance with the transfer restrictions set forth in the Private Placement Legend.

               (2)     All Other Transfers and Exchanges of Beneficial Interests in Global
       Notes. In connection with all transfers and exchanges of beneficial interests that are not
       subject to Section 2.06(b)(1) above, the transferor of such beneficial interest must deliver
       to the Registrar either:

                       (A)    both:

                              (i)     a written order from a Participant or an Indirect Participant
                                      given to the Depositary in accordance with the Applicable
                                      Procedures directing the Depositary to credit or cause to be
                                      credited a beneficial interest in another Global Note in an
                                      amount equal to the beneficial interest to be transferred or
                                      exchanged; and

                              (ii)    instructions given in accordance with the Applicable
                                      Procedures containing information regarding the
                                      Participant account to be credited with such increase; or


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                       (B)    both:

                              (i)     a written order from a Participant or an Indirect Participant
                                      given to the Depositary in accordance with the Applicable
                                      Procedures directing the Depositary to cause to be issued a
                                      Definitive Note in an amount equal to the beneficial
                                      interest to be transferred or exchanged; and

                              (ii)    instructions given by the Depositary to the Registrar
                                      containing information regarding the Person in whose name
                                      such Definitive Note shall be registered to effect the
                                      transfer or exchange referred to in clause (1) above.

                Upon satisfaction of all of the requirements for transfer or exchange of beneficial
interests in Global Notes contained in this Indenture and the Notes or otherwise applicable under
the Securities Act, the Trustee shall adjust the principal amount of the relevant Global Note(s)
pursuant to Section 2.06(g) hereof.

               (3)     Transfer of Beneficial Interests to Another Restricted Global Note. A
       beneficial interest in any Restricted Global Note may be transferred to a Person who
       takes delivery thereof in the form of a beneficial interest in another Restricted Global
       Note if the transfer complies with the requirements of Section 2.06(b)(2) above and the
       Registrar receives:

                       (A)      if the transferee will take delivery in the form of a beneficial
               interest in the 144A Global Note, then the transferor must deliver a certificate in
               the form of Exhibit B hereto, including the certifications in item (1) thereof;

                       (B)      if the transferee will take delivery in the form of a beneficial
               interest in the Regulation S Global Note, then the transferor must deliver a
               certificate in the form of Exhibit B hereto, including the certifications in item (2)
               thereof.

               (4)     Transfer and Exchange of Beneficial Interests in a Restricted Global Note
       for Beneficial Interests in an Unrestricted Global Note. A beneficial interest in any
       Restricted Global Note may be exchanged by any holder thereof for a beneficial interest
       in an Unrestricted Global Note or transferred to a Person who takes delivery thereof in
       the form of a beneficial interest in an Unrestricted Global Note if the exchange or transfer
       complies with the requirements of Section 2.06(b)(2) above and the Registrar receives the
       following:

                       (A)    if the holder of such beneficial interest in a Restricted Global Note
               proposes to exchange such beneficial interest for a beneficial interest in an
               Unrestricted Global Note, a certificate from such holder in the form of Exhibit C
               hereto, including the certifications in item (1)(a) thereof; or

                      (B)     if the holder of such beneficial interest in a Restricted Global Note
               proposes to transfer such beneficial interest to a Person who shall take delivery

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               thereof in the form of a beneficial interest in an Unrestricted Global Note, a
               certificate from such holder in the form of Exhibit B hereto, including the
               certifications in item (4) thereof;

       and, in each such case set forth in this Section 2.06(b)(4), if the Issuer so requests or if
       the Applicable Procedures so require, an Opinion of Counsel in form reasonably
       acceptable to the Issuer to the effect that such exchange or transfer is in compliance with
       the Securities Act and that the restrictions on transfer contained herein and in the Private
       Placement Legend are no longer required in order to maintain compliance with the
       Securities Act.

       If any such transfer is effected pursuant to Section 2.06(b)(4) above at a time when an
Unrestricted Global Note has not yet been issued, the Issuer shall issue and, upon receipt of an
Authentication Order in accordance with Section 2.02 hereof, the Trustee shall authenticate one
or more Unrestricted Global Notes in an aggregate principal amount equal to the aggregate
principal amount of beneficial interests transferred pursuant to Section 2.06(b)(4) above.

        Beneficial interests in an Unrestricted Global Note cannot be exchanged for, or
transferred to Persons who take delivery thereof in the form of, a beneficial interest in a
Restricted Global Note.

               (c)     Transfer or Exchange of Beneficial Interests for Definitive Notes.

               (1)     Beneficial Interests in Restricted Global Notes to Restricted Definitive
       Notes. If any holder of a beneficial interest in a Restricted Global Note proposes to
       exchange such beneficial interest for a Restricted Definitive Note or to transfer such
       beneficial interest to a Person who takes delivery thereof in the form of a Restricted
       Definitive Note, then, upon receipt by the Registrar of the following documentation:

                       (A)     if the holder of such beneficial interest in a Restricted Global Note
               proposes to exchange such beneficial interest for a Restricted Definitive Note, a
               certificate from such holder in the form of Exhibit C hereto, including the
               certifications in item (2)(a) thereof;

                       (B)    if such beneficial interest is being transferred to a QIB in
               accordance with Rule 144A, a certificate to the effect set forth in Exhibit B
               hereto, including the certifications in item (1) thereof;

                       (C)      if such beneficial interest is being transferred to a Non−U.S.
               Person in an offshore transaction in accordance with Rule 903 or Rule 904, a
               certificate to the effect set forth in Exhibit B hereto, including the certifications in
               item (2) thereof;

                       (D)     if such beneficial interest is being transferred pursuant to an
               exemption from the registration requirements of the Securities Act in accordance
               with Rule 144, a certificate to the effect set forth in Exhibit B hereto, including
               the certifications in item (3)(a) thereof;


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                (E)     if such beneficial interest is being transferred to the Issuer or any
        of its Subsidiaries, a certificate to the effect set forth in Exhibit B hereto,
        including the certifications in item (3)(b) thereof; or

                (F)     if such beneficial interest is being transferred pursuant to an
        effective registration statement under the Securities Act, a certificate to the effect
        set forth in Exhibit B hereto, including the certifications in item (3)(c) thereof;

and the Trustee shall cause the aggregate principal amount of the applicable Global Note
to be reduced accordingly pursuant to Section 2.06(g) hereof, and the Issuer shall execute
and the Trustee shall authenticate and deliver to the Person designated in the instructions
a Definitive Note in the appropriate principal amount. Any Definitive Note issued in
exchange for a beneficial interest in a Restricted Global Note pursuant to this
Section 2.06(c) shall be registered in such name or names and in such authorized
denomination or denominations as the holder of such beneficial interest shall instruct the
Registrar through instructions from the Depositary and the Participant or Indirect
Participant. The Trustee shall deliver such Definitive Notes to the Persons in whose
names such Notes are so registered. Any Definitive Note issued in exchange for a
beneficial interest in a Restricted Global Note pursuant to this Section 2.06(c)(1) shall
bear the Private Placement Legend and shall be subject to all restrictions on transfer
contained therein.

        (2)     Beneficial Interests in Restricted Global Notes to Unrestricted Definitive
Notes. A holder of a beneficial interest in a Restricted Global Note may exchange such
beneficial interest for an Unrestricted Definitive Note or may transfer such beneficial
interest to a Person who takes delivery thereof in the form of an Unrestricted Definitive
Note only if the Registrar receives the following:

                 (A)     if the holder of such beneficial interest in a Restricted Global Note
        proposes to exchange such beneficial interest for an Unrestricted Definitive Note,
        a certificate from such holder in the form of Exhibit C hereto, including the
        certifications in item (1)(b) thereof; or

                (B)     if the holder of such beneficial interest in a Restricted Global Note
        proposes to transfer such beneficial interest to a Person who shall take delivery
        thereof in the form of an Unrestricted Definitive Note, a certificate from such
        holder in the form of Exhibit B hereto, including the certifications in item (4)
        thereof;

and, in each such case set forth in this Section 2.06(c)(2), if the Issuer so requests or if the
Applicable Procedures so require, an Opinion of Counsel in form reasonably acceptable
to the Issuer to the effect that such exchange or transfer is in compliance with the
Securities Act and that the restrictions on transfer contained herein and in the Private
Placement Legend are no longer required in order to maintain compliance with the
Securities Act.




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        (3)     Beneficial Interests in Unrestricted Global Notes to Unrestricted
Definitive Notes. If any holder of a beneficial interest in an Unrestricted Global Note
proposes to exchange such beneficial interest for a Definitive Note or to transfer such
beneficial interest to a Person who takes delivery thereof in the form of a Definitive Note,
then, upon satisfaction of the conditions set forth in Section 2.06(b)(2) hereof, the Trustee
will cause the aggregate principal amount of the applicable Global Note to be reduced
accordingly pursuant to Section 2.06(g) hereof, and the Issuer will execute and the
Trustee will authenticate and deliver to the Person designated in the instructions a
Definitive Note in the appropriate principal amount. Any Definitive Note issued in
exchange for a beneficial interest pursuant to this Section 2.06(c)(3) will be registered in
such name or names and in such authorized denomination or denominations as the holder
of such beneficial interest requests through instructions to the Registrar from or through
the Depositary and the Participant or Indirect Participant. The Trustee will deliver such
Definitive Notes to the Persons in whose names such Notes are so registered. Any
Definitive Note issued in exchange for a beneficial interest pursuant to this
Section 2.06(c)(3) will not bear the Private Placement Legend.

       (d)     Transfer and Exchange of Definitive Notes for Beneficial Interests.

        (1)     Restricted Definitive Notes to Beneficial Interests in Restricted Global
Notes. If any Holder of a Restricted Definitive Note proposes to exchange such Note for a
beneficial interest in a Restricted Global Note or to transfer such Restricted Definitive
Notes to a Person who takes delivery thereof in the form of a beneficial interest in a
Restricted Global Note, then, upon receipt by the Registrar of the following
documentation:

               (A)     if the Holder of such Restricted Definitive Note proposes to
       exchange such Note for a beneficial interest in a Restricted Global Note, a
       certificate from such Holder in the form of Exhibit C hereto, including the
       certifications in item (2)(b) thereof;

               (B)    if such Restricted Definitive Note is being transferred to a QIB in
       accordance with Rule 144A, a certificate to the effect set forth in Exhibit B
       hereto, including the certifications in item (1) thereof;

               (C)     if such Restricted Definitive Note is being transferred to a
       Non−U.S. Person in an offshore transaction in accordance with Rule 903 or
       Rule 904, a certificate to the effect set forth in Exhibit B hereto, including the
       certifications in item (2) thereof;

              (D)     if such Restricted Definitive Note is being transferred pursuant to
       an exemption from the registration requirements of the Securities Act in
       accordance with Rule 144, a certificate to the effect set forth in Exhibit B hereto,
       including the certifications in item (3)(a) thereof;




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                       (E)     if such Restricted Definitive Note is being transferred to the Issuer
               or any of the Issuer’s Subsidiaries, a certificate to the effect set forth in Exhibit B
               hereto, including the certifications in item (3)(b) thereof; or

                       (F)      if such Restricted Definitive Note is being transferred pursuant to
               an effective registration statement under the Securities Act, a certificate to the
               effect set forth in Exhibit B hereto, including the certifications in item (3)(c)
               thereof;

       and the Trustee will cancel the Restricted Definitive Note, increase or cause to be
       increased the aggregate principal amount of, in the case of clause (A) above, the
       appropriate Restricted Global Note, in the case of clause (B) above, the 144A Global
       Note, and in the case of clause (C) above, the Regulation S Global Note.

               (2)     Restricted Definitive Notes to Beneficial Interests in Unrestricted Global
       Notes. A Holder of a Restricted Definitive Note may exchange such Note for a beneficial
       interest in an Unrestricted Global Note or transfer such Restricted Definitive Note to a
       Person who takes delivery thereof in the form of a beneficial interest in an Unrestricted
       Global Note only if the Registrar receives the following:

                       (A)     if the Holder of such Definitive Notes proposes to exchange such
               Notes for a beneficial interest in the Unrestricted Global Note, a certificate from
               such Holder in the form of Exhibit C hereto, including the certifications in item
               (1)(c) thereof; or

                       (B)     if the Holder of such Definitive Notes proposes to transfer such
               Notes to a Person who shall take delivery thereof in the form of a beneficial
               interest in the Unrestricted Global Note, a certificate from such Holder in the form
               of Exhibit B hereto, including the certifications in item (4) thereof;

       and, in each such case set forth in this Section 2.06(d)(2), if the Issuer so requests or if
       the Applicable Procedures so require, an Opinion of Counsel in form reasonably
       acceptable to the Issuer to the effect that such exchange or transfer is in compliance with
       the Securities Act and that the restrictions on transfer contained herein and in the Private
       Placement Legend are no longer required in order to maintain compliance with the
       Securities Act.

       Upon satisfaction of the conditions of any of the clauses in this Section 2.06(d)(2), the
Trustee will cancel the Definitive Notes and increase or cause to be increased the aggregate
principal amount of the Unrestricted Global Note.

               (3)     Unrestricted Definitive Notes to Beneficial Interests in Unrestricted
       Global Notes. A Holder of an Unrestricted Definitive Note may exchange such Note for a
       beneficial interest in an Unrestricted Global Note or transfer such Definitive Notes to a
       Person who takes delivery thereof in the form of a beneficial interest in an Unrestricted
       Global Note at any time. Upon receipt of a request for such an exchange or transfer, the
       Trustee will cancel the applicable Unrestricted Definitive Note and increase or cause to
       be increased the aggregate principal amount of one of the Unrestricted Global Notes.
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               If any such exchange or transfer from a Definitive Note to a beneficial interest is
effected pursuant to Section 2.06(d)(2), or 2.06(d)(3) above at a time when an Unrestricted
Global Note has not yet been issued, the Issuer will issue and, upon receipt of an Authentication
Order in accordance with Section 2.02 hereof, the Trustee will authenticate one or more
Unrestricted Global Notes in an aggregate principal amount equal to the principal amount of
Definitive Notes so transferred.

                 (e)    Transfer and Exchange of Definitive Notes for Definitive Notes. Upon
request by a Holder of Definitive Notes and such Holder’s compliance with the provisions of this
Section 2.06(e), the Registrar will register the transfer or exchange of Definitive Notes. Prior to
such registration of transfer or exchange, the requesting Holder must present or surrender to the
Registrar the Definitive Notes duly endorsed or accompanied by a written instruction of transfer
in form satisfactory to the Registrar duly executed by such Holder or by its attorney, duly
authorized in writing. In addition, the requesting Holder must provide any additional
certifications, documents and information, as applicable, required pursuant to the following
provisions of this Section 2.06(e).

               (1)    Restricted Definitive Notes to Restricted Definitive Notes. Any Restricted
       Definitive Note may be transferred to and registered in the name of Persons who take
       delivery thereof in the form of a Restricted Definitive Note if the Registrar receives the
       following:

                       (A)     if the transfer will be made pursuant to Rule 144A, then the
               transferor must deliver a certificate in the form of Exhibit B hereto, including the
               certifications in item (1) thereof;

                       (B)     if the transfer will be made pursuant to Rule 903 or Rule 904, then
               the transferor must deliver a certificate in the form of Exhibit B hereto, including
               the certifications in item (2) thereof; and

                        (C)     if the transfer will be made pursuant to any other exemption from
               the registration requirements of the Securities Act, then the transferor must deliver
               a certificate in the form of Exhibit B hereto, including the certifications,
               certificates and Opinion of Counsel required by item (3) thereof, if applicable.

               (2)    Restricted Definitive Notes to Unrestricted Definitive Notes. Any
       Restricted Definitive Note may be exchanged by the Holder thereof for an Unrestricted
       Definitive Note or transferred to a Person or Persons who take delivery thereof in the
       form of an Unrestricted Definitive Note if the Registrar receives the following:

                       (A)    if the Holder of such Restricted Definitive Notes proposes to
               exchange such Notes for an Unrestricted Definitive Note, a certificate from such
               Holder in the form of Exhibit C hereto, including the certifications in item (1)(d)
               thereof; or

                       (B)    if the Holder of such Restricted Definitive Notes proposes to
               transfer such Notes to a Person who shall take delivery thereof in the form of an


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               Unrestricted Definitive Note, a certificate from such Holder in the form of
               Exhibit B hereto, including the certifications in item (4) thereof;

       and, in each such case set forth in this Section 2.06(e)(2), if the Issuer so requests or if the
       Applicable Procedures so require, an Opinion of Counsel in form reasonably acceptable
       to the Issuer to the effect that such exchange or transfer is in compliance with the
       Securities Act and that the restrictions on transfer contained herein and in the Private
       Placement Legend are no longer required in order to maintain compliance with the
       Securities Act.

               (3)     Unrestricted Definitive Notes to Unrestricted Definitive Notes. A Holder
       of Unrestricted Definitive Notes may transfer such Notes to a Person who takes delivery
       thereof in the form of an Unrestricted Definitive Note. Upon receipt of a request to
       register such a transfer, the Registrar shall register the Unrestricted Definitive Notes
       pursuant to the instructions from the Holder thereof.

               (f)    Legends. The following legends will appear on the face of all Global
Notes and Definitive Notes issued under this Indenture unless specifically stated otherwise in the
applicable provisions of this Indenture.

               (1)     Private Placement Legend.

                       (A)     Except as permitted by subparagraph (B) below, each Global Note
               and each Definitive Note (and all Notes issued in exchange therefor or
               substitution thereof) shall bear the legend in substantially the following form:

       “THE SECURITY (OR ITS PREDECESSOR) EVIDENCED HEREBY WAS
       ORIGINALLY ISSUED IN A TRANSACTION EXEMPT FROM REGISTRATION
       UNDER SECTION 5 OF THE UNITED STATES SECURITIES ACT OF 1933, AS
       AMENDED (THE “SECURITIES ACT”), AND THE SECURITY EVIDENCED
       HEREBY MAY NOT BE OFFERED, SOLD OR OTHERWISE TRANSFERRED IN
       THE ABSENCE OF SUCH REGISTRATION OR AN APPLICABLE EXEMPTION
       THEREFROM. EACH PURCHASER OF THE SECURITY EVIDENCED HEREBY IS
       HEREBY NOTIFIED THAT THE SELLER MAY BE RELYING ON THE
       EXEMPTION FROM THE PROVISIONS OF SECTION 5 OF THE SECURITIES ACT
       PROVIDED BY RULE 144A THEREUNDER. THE HOLDER OF THE SECURITY
       EVIDENCED HEREBY AGREES FOR THE BENEFIT OF THE ISSUER THAT
       (A) SUCH SECURITY MAY BE RESOLD, PLEDGED OR OTHERWISE
       TRANSFERRED, ONLY (1)(A) INSIDE THE UNITED STATES TO A PERSON
       WHO THE SELLER REASONABLY BELIEVES IS A QUALIFIED INSTITUTIONAL
       BUYER (AS DEFINED IN RULE 144A UNDER THE SECURITIES ACT)
       PURCHASING FOR ITS OWN ACCOUNT OR FOR THE ACCOUNT OF A
       QUALIFIED INSTITUTIONAL BUYER IN A TRANSACTION MEETING THE
       REQUIREMENTS OF RULE 144A UNDER THE SECURITIES ACT, (B) OUTSIDE
       THE UNITED STATES TO A FOREIGN PERSON IN A TRANSACTION MEETING
       THE REQUIREMENTS OF RULE 903 OR RULE 904 OF REGULATION S UNDER
       THE SECURITIES ACT, (C) PURSUANT TO AN EXEMPTION FROM

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REGISTRATION UNDER THE SECURITIES ACT PROVIDED BY RULE 144
THEREUNDER (IF APPLICABLE) OR (D) IN ACCORDANCE WITH ANOTHER
EXEMPTION FROM THE REGISTRATION REQUIREMENTS OF THE
SECURITIES ACT (AND BASED UPON AN OPINION OF COUNSEL
ACCEPTABLE TO THE ISSUER IF THE ISSUER SO REQUESTS), (2) TO THE
ISSUER OR (3) PURSUANT TO AN EFFECTIVE REGISTRATION STATEMENT
AND, IN EACH CASE, IN ACCORDANCE WITH ANY APPLICABLE SECURITIES
LAWS OF ANY STATE OF THE UNITED STATES OR ANY OTHER APPLICABLE
JURISDICTION AND (B) THE HOLDER WILL, AND EACH SUBSEQUENT
HOLDER IS REQUIRED TO, NOTIFY ANY PURCHASER OF THE SECURITY
EVIDENCED HEREBY OF THE RESALE RESTRICTIONS SET FORTH IN
CLAUSE (A) ABOVE. NO REPRESENTATION CAN BE MADE AS TO THE
AVAILABILITY OF THE EXEMPTION PROVIDED BY RULE 144 FOR RESALE
OF THE SECURITY EVIDENCED HEREBY.

EACH HOLDER OF THE SECURITY (OR INTEREST HEREIN) SHALL BE
DEEMED TO HAVE REPRESENTED AND WARRANTED THAT EITHER (A) NO
PORTION OF THE ASSETS USED BY SUCH HOLDER TO ACQUIRE OR HOLD
THE SECURITY (OR INTEREST HEREIN) CONSTITUTES ASSETS OF AN
EMPLOYEE BENEFIT PLAN SUBJECT TO TITLE I OF THE U.S. EMPLOYEE
RETIREMENT INCOME SECURITY ACT OF 1974, AS AMENDED (“ERISA”), A
PLAN, INDIVIDUAL RETIREMENT ACCOUNT, KEOGH PLAN OR OTHER
ARRANGEMENT THAT IS SUBJECT TO SECTION 4975 OF THE U.S. INTERNAL
REVENUE CODE OF 1986, AS AMENDED (THE “CODE”), OR PROVISIONS
UNDER ANY FEDERAL, STATE, LOCAL, NON-U.S. OR OTHER LAWS OR
REGULATIONS THAT ARE SIMILAR TO SUCH PROVISIONS OF ERISA OR THE
CODE (COLLECTIVELY, “SIMILAR LAWS”) OR (B) THE PURCHASE AND
HOLDING OF THE SECURITY (OR INTEREST HEREIN) BY SUCH HOLDER
WILL NOT CONSTITUTE OR RESULT IN A NON-EXEMPT PROHIBITED
TRANSACTION UNDER SECTION 406 OF ERISA OR SECTION 4975 OF THE
CODE OR SIMILAR VIOLATION UNDER ANY APPLICABLE SIMILAR LAWS,
AND NONE OF THE ISSUER, THE GUARANTORS NOR ANY OF THEIR
RESPECTIVE AFFILIATES IS A FIDUCIARY OF SUCH HOLDER IN
CONNECTION WITH THE PURCHASE AND HOLDING OF THE SECURITY (OR
INTEREST HEREIN).”

               (B)     Notwithstanding the foregoing, any Global Note or Definitive Note
       issued pursuant to clauses (b)(4), (c)(2), (c)(3), (d)(2), (d)(3), (e)(2) or (e)(3) of
       this Section 2.06 (and all Notes issued in exchange therefor or substitution
       thereof) will not bear the Private Placement Legend.

        (2)    Global Note Legend. Each Global Note shall bear a legend in substantially
the following form:

“THIS GLOBAL NOTE IS HELD BY THE DEPOSITARY (AS DEFINED IN THE
INDENTURE GOVERNING THIS NOTE) OR ITS NOMINEE IN CUSTODY FOR
THE BENEFIT OF THE BENEFICIAL OWNERS HEREOF, AND IS NOT

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       TRANSFERABLE TO ANY PERSON UNDER ANY CIRCUMSTANCES EXCEPT
       THAT (1) THE TRUSTEE MAY MAKE SUCH NOTATIONS HEREON AS MAY BE
       REQUIRED PURSUANT TO SECTION 2.01 AND SECTION 2.06 OF THE
       INDENTURE, (2) THIS GLOBAL NOTE MAY BE EXCHANGED IN WHOLE BUT
       NOT IN PART PURSUANT TO SECTION 2.06(a) OF THE INDENTURE, (3) THIS
       GLOBAL NOTE MAY BE DELIVERED TO THE TRUSTEE FOR CANCELLATION
       PURSUANT TO SECTION 2.11 OF THE INDENTURE AND (4) THIS GLOBAL
       NOTE MAY BE TRANSFERRED TO A SUCCESSOR DEPOSITARY WITH THE
       PRIOR WRITTEN CONSENT OF THE ISSUER.

       UNLESS AND UNTIL IT IS EXCHANGED IN WHOLE OR IN PART FOR NOTES
       IN DEFINITIVE FORM, THIS NOTE MAY NOT BE TRANSFERRED EXCEPT AS A
       WHOLE BY THE DEPOSITARY TO A NOMINEE OF THE DEPOSITARY OR BY A
       NOMINEE OF THE DEPOSITARY TO THE DEPOSITARY OR ANOTHER
       NOMINEE OF THE DEPOSITARY OR BY THE DEPOSITARY OR ANY SUCH
       NOMINEE TO A SUCCESSOR DEPOSITARY OR A NOMINEE OF SUCH
       SUCCESSOR DEPOSITARY. UNLESS THIS CERTIFICATE IS PRESENTED BY
       AN AUTHORIZED REPRESENTATIVE OF THE DEPOSITORY TRUST
       COMPANY (“DTC”), TO THE ISSUER OR ITS AGENT FOR REGISTRATION OF
       TRANSFER, EXCHANGE OR PAYMENT, AND ANY CERTIFICATE ISSUED IS
       REGISTERED IN THE NAME OF CEDE & CO. OR SUCH OTHER NAME AS MAY
       BE REQUESTED BY AN AUTHORIZED REPRESENTATIVE OF DTC (AND ANY
       PAYMENT IS MADE TO CEDE & CO. OR SUCH OTHER ENTITY AS MAY BE
       REQUESTED BY AN AUTHORIZED REPRESENTATIVE OF DTC), ANY
       TRANSFER, PLEDGE OR OTHER USE HEREOF FOR VALUE OR OTHERWISE
       BY OR TO ANY PERSON IS WRONGFUL INASMUCH AS THE REGISTERED
       OWNER HEREOF, CEDE & CO., HAS AN INTEREST HEREIN.”

               (3)    OID Legend. Each Global Note and each Definitive Note (and all Notes
       issued in exchange therefor or substitution thereof) shall bear a legend in substantially the
       following form:

       “THIS SECURITY HAS BEEN ISSUED WITH ORIGINAL ISSUE DISCOUNT
       (“OID”) FOR UNITED STATES FEDERAL INCOME TAX PURPOSES. UPON
       WRITTEN REQUEST, THE ISSUER WILL PROMPTLY MAKE AVAILABLE TO
       ANY HOLDER OF THIS SECURITY THE FOLLOWING INFORMATION: (1) THE
       ISSUE PRICE AND ISSUE DATE OF THE SECURITY, (2) THE AMOUNT OF OID
       ON THE SECURITY AND (3) THE YIELD TO MATURITY OF THE SECURITY.
       HOLDERS SHOULD CONTACT THE ISSUER AT TPC GROUP INC., ONE ALLEN
       CENTER, 500 DALLAS STREET, SUITE 2000, HOUSTON, TEXAS 77002, ATTN:
       CHIEF FINANCIAL OFFICER.”

                (g)     Cancellation and/or Adjustment of Global Notes. At such time as all
beneficial interests in a particular Global Note have been exchanged for Definitive Notes or a
particular Global Note has been redeemed, repurchased or canceled in whole and not in part,
each such Global Note will be returned to or retained and canceled by the Trustee in accordance
with Section 2.11 hereof. At any time prior to such cancellation, if any beneficial interest in a

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Global Note is exchanged for or transferred to a Person who will take delivery thereof in the
form of a beneficial interest in another Global Note or for Definitive Notes, the principal amount
of Notes represented by such Global Note will be reduced accordingly and an endorsement will
be made on such Global Note by the Trustee or by the Depositary at the direction of the Trustee
to reflect such reduction; and if the beneficial interest is being exchanged for or transferred to a
Person who will take delivery thereof in the form of a beneficial interest in another Global Note,
such other Global Note will be increased accordingly and an endorsement will be made on such
Global Note by the Trustee or by the Depositary at the direction of the Trustee to reflect such
increase.

               (h)     General Provisions Relating to Transfers and Exchanges.

              (1)     To permit registrations of transfers and exchanges, the Issuer will execute
       and the Trustee will authenticate Global Notes and Definitive Notes upon receipt of an
       Authentication Order in accordance with Section 2.02 hereof or at the Registrar’s request.

               (2)     No service charge will be made to a holder of a beneficial interest in a
       Global Note or to a Holder of a Definitive Note for any registration of transfer or
       exchange, but the Issuer may require payment of a sum sufficient to cover any transfer
       tax or similar governmental charge payable in connection therewith (other than any such
       transfer taxes or similar governmental charge payable upon exchange or transfer pursuant
       to Sections 2.10, 3.06, 4.08, 4.12 and 9.05 hereof).

             (3)     The Registrar will not be required to register the transfer of or exchange of
       any Note selected for redemption in whole or in part, except the unredeemed portion of
       any Note being redeemed in part.

               (4)     All Global Notes and Definitive Notes issued upon any registration of
       transfer or exchange of Global Notes or Definitive Notes will be the valid obligations of
       the Issuer, evidencing the same debt, and entitled to the same benefits under this
       Indenture, as the Global Notes or Definitive Notes surrendered upon such registration of
       transfer or exchange.

               (5)     Neither the Registrar nor the Issuer will be required:

                       (A)    to issue, to register the transfer of or to exchange any Notes during
               a period beginning at the opening of business 15 days before the giving of a
               notice of redemption of Notes to be redeemed under Section 3.02 hereof or
               purchased pursuant to an offer to purchase and ending at the close of business on
               the day such notice of redemption is given;

                     (B)     to register the transfer of or to exchange any Note selected for
               redemption in whole or in part, except the unredeemed portion of any Note being
               redeemed in part; or

                      (C)     to register the transfer of or to exchange a Note between a record
               date and the next succeeding interest payment date.


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               (6)     Prior to due presentment for the registration of a transfer of any Note, the
       Trustee, any Agent and the Issuer may deem and treat the Person in whose name any
       Note is registered as the absolute owner of such Note for the purpose of receiving
       payment of principal of and interest on such Notes and for all other purposes, and none of
       the Trustee, any Agent or the Issuer shall be affected by notice to the contrary.

              (7)    The Trustee will authenticate Global Notes and Definitive Notes in
       accordance with the provisions of Section 2.02 hereof.

              (8)     All certifications, certificates and Opinions of Counsel required to be
       submitted to the Registrar pursuant to this Section 2.06 to effect a registration of transfer
       or exchange may be submitted by facsimile.

               (9)     Neither the Trustee nor any Agent shall have any obligation or duty to
       monitor, determine or inquire as to compliance with any tax or securities laws with
       respect to any restrictions on transfer imposed under this Indenture or under applicable
       law (including any transfers between or among Depositary Participants, Indirect
       Participants, members or beneficial owners in any Global Note) other than to require
       delivery of such certificates and other documentation or evidence as are expressly
       required by, and to do so if and when expressly required by, the terms of this Indenture,
       and to examine the same to determine substantial compliance as to form with the express
       requirements hereof.

Section 2.07   Replacement Notes.

                (a)     If any mutilated Note is surrendered to the Trustee or the Issuer and the
Trustee receives evidence to its satisfaction of the destruction, loss or theft of any Note, the
Issuer will issue and the Trustee, upon receipt of an Authentication Order, will authenticate a
replacement Note if the Trustee’s requirements are met. An indemnity bond must be supplied by
the Holder that is sufficient in the judgment of the Trustee and the Issuer to protect the Issuer, the
Trustee, any Agent and any authenticating agent from any loss that any of them may suffer if a
Note is replaced. The Issuer may charge for its expenses in replacing a Note.

                (b)      Every replacement Note is an additional obligation of the Issuer and will
be entitled to all of the benefits of this Indenture equally and proportionately with all other Notes
duly issued hereunder.

Section 2.08   Outstanding Notes.

                 (a)    The Notes outstanding at any time are all the Notes authenticated by the
Trustee except for those canceled by it, those delivered to it for cancellation, those reductions in
the interest in a Global Note effected by the Trustee in accordance with the provisions hereof,
and those described in this Section 2.08 as not outstanding. Except as set forth in Section 2.09
hereof, a Note does not cease to be outstanding because the Issuer or an Affiliate of the Issuer
holds the Note; however, Notes held by the Issuer or a Subsidiary of the Issuer shall not be
deemed to be outstanding for purposes of Section 3.07(a), Section 9.02(a) and Section 9.02(e)
hereof.


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               (b)    If a Note is replaced pursuant to Section 2.07 hereof, it ceases to be
outstanding unless the Trustee receives proof satisfactory to it that the replaced Note is held by a
protected purchaser.

                (c)     If the principal amount of any Note is considered paid under Section 4.01
hereof, it ceases to be outstanding and interest on it ceases to accrue.

                (d)    If the Paying Agent (other than the Issuer, a Subsidiary of the Issuer or an
Affiliate of any thereof) holds, on a redemption date or maturity date, money sufficient to pay
Notes payable on that date, then on and after that date such Notes will be deemed to be no longer
outstanding and will cease to accrue interest.

Section 2.09    Treasury Notes.

                In determining whether the Holders of the required principal amount of Notes
have concurred in any direction, waiver or consent, Notes owned by the Issuer or any Guarantor,
or by any Person directly or indirectly controlling or controlled by or under direct or indirect
common control with the Issuer or any Guarantor, will be considered as though not outstanding,
except that for the purposes of determining whether the Trustee will be protected in relying on
any such direction, waiver or consent, only Notes that a Responsible Officer of the Trustee
actually knows are so owned will be so disregarded.

Section 2.10    Temporary Notes.

                (a)     Until certificates representing Notes are ready for delivery, the Issuer may
prepare and the Trustee, upon receipt of an Authentication Order, will authenticate temporary
Notes. Temporary Notes will be substantially in the form of certificated Notes but may have
variations that the Issuer considers appropriate for temporary Notes and as may be reasonably
acceptable to the Trustee. Without unreasonable delay, the Issuer will prepare and the Trustee
will authenticate definitive Notes in exchange for temporary Notes.

                (b)    Holders of temporary Notes will be entitled to all of the benefits of this
Indenture.

Section 2.11    Cancellation.

                The Issuer at any time may deliver Notes to the Trustee for cancellation. The
Registrar and Paying Agent will forward to the Trustee any Notes surrendered to them for
registration of transfer, exchange or payment. The Trustee and no one else will cancel all Notes
surrendered for registration of transfer, exchange, payment, replacement or cancellation and will
dispose of such canceled Notes in its customary manner (subject to the record retention
requirement of the Exchange Act). Certification of the disposition of all canceled Notes will be
delivered to the Issuer at the Issuer’s written request. The Issuer may not issue new Notes to
replace Notes that it has paid or that have been delivered to the Trustee for cancellation.

Section 2.12    Defaulted Interest.



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                If the Issuer defaults in a payment of interest on the Notes, it will pay the
defaulted interest in any lawful manner plus, to the extent lawful, interest payable on the
defaulted interest, to the Persons who are Holders on a subsequent special record date, in each
case at the rate provided in the Notes and in Section 4.01 hereof. The Issuer will notify the
Trustee in writing of the amount of defaulted interest proposed to be paid on each Note and the
date of the proposed payment. The Issuer will fix or cause to be fixed each such special record
date and payment date; provided that no such special record date may be less than ten days prior
to the related payment date for such defaulted interest. At least 15 days before the special record
date, the Issuer (or, upon the written request of the Issuer, the Trustee in the name and at the
expense of the Issuer) will mail or cause to be mailed, or otherwise deliver notice in accordance
with the applicable procedures of DTC, to Holders a notice that states the special record date, the
related payment date and the amount of such interest to be paid.

Section 2.13   CUSIP Numbers.

                 The Issuer in issuing the Notes may use “CUSIP” numbers (if then generally in
use), and, if so, the Trustee shall use “CUSIP” numbers in notices of redemption as a
convenience to Holders; provided that any such notice may state that no representation is made
as to the correctness of such numbers either as printed on the Notes or as contained in any notice
of a redemption and that reliance may be placed only on the other identification numbers printed
on the Notes, and any such redemption shall not be affected by any defect in or omission of such
numbers. The Issuer will promptly notify the Trustee in writing of any change in the “CUSIP”
numbers.

                                           ARTICLE 3

                             REDEMPTION AND PREPAYMENT

Section 3.01   Notices to Trustee.

                If the Issuer elects to redeem Notes pursuant to the optional redemption
provisions of Section 3.07 hereof, it must furnish to the Trustee, at least 30 days but not more
than 60 days before a redemption date, or such shorter notice period as the Trustee and Issuer
shall agree, an Officer’s Certificate setting forth:

               (1)     the clause of this Indenture pursuant to which the redemption shall occur;

               (2)     the redemption date;

               (3)     the principal amount of Notes to be redeemed;

               (4)     the redemption price; and

               (5)     the applicable CUSIP Numbers.

Section 3.02   Selection of Notes to Be Redeemed.



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               (a)      If less than all of the Notes are to be redeemed at any time, the Trustee
will select Notes for redemption on a pro rata basis (or, in the case of notes in global form, the
notes represented thereby will be selected in accordance with DTC’s prescribed method), and in
any case in accordance with DTC procedures to the extent applicable.

               (b)     In the event of partial redemption or purchase by lot, the particular Notes
to be redeemed or purchased will be selected, unless otherwise provided herein, not less than 30
nor more than 60 days prior to the redemption date by the Trustee from the outstanding Notes
not previously called for redemption.

                (c)     The Trustee will promptly notify the Issuer in writing of the Notes
selected for redemption and, in the case of any Note selected for partial redemption or purchase,
the principal amount thereof to be redeemed. Notes and portions of Notes selected will be in
amounts of $1.00 or whole multiples of $1.00 in excess of $1.00; provided that no Notes of
$1.00 or less shall be redeemed in part. Except as provided in the preceding sentence, provisions
of this Indenture that apply to Notes called for redemption also apply to portions of Notes called
for redemption.

Section 3.03   Notice of Redemption.

                (a)    At least 15 days but not more than 60 days before a redemption date, the
Issuer will mail or cause to be mailed, by first class mail or otherwise deliver in accordance with
the applicable procedures of DTC, a notice of redemption to each Holder whose Notes are to be
redeemed at its registered address, except that redemption notices may be mailed or otherwise
delivered in accordance with the applicable procedures of DTC more than 60 days prior to a
redemption date if the notice is issued in connection with a defeasance of the Notes or a
satisfaction and discharge of this Indenture pursuant to Articles 8 or 11 hereof.

             (b)      The notice will identify the Notes (including CUSIP Numbers) to be
redeemed and will state:

               (1)     the redemption date;

               (2)     the redemption price;

              (3)     if any Note is being redeemed in part, the portion of the principal amount
       of such Note to be redeemed and that, after the redemption date upon surrender of such
       Note, a new Note or Notes in principal amount equal to the unredeemed portion will be
       issued upon cancellation of the original Note;

               (4)     the name and address of the Trustee;

               (5)     that Notes called for redemption must be surrendered to the Trustee to
       collect the redemption price;

               (6)    that, unless the Issuer defaults in making such redemption payment,
       interest on Notes called for redemption ceases to accrue on and after the redemption date;


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              (7)    the paragraph of the Notes and/or Section of this Indenture pursuant to
       which the Notes called for redemption are being redeemed;

             (8)   that no representation is made as to the correctness or accuracy of the
       CUSIP number, if any, listed in such notice or printed on the Notes; and

               (9)     any condition to the related redemption, if any.

                (c)    At the Issuer’s written request, the Trustee will give the notice of
redemption in the Issuer’s name and at its expense; provided, however, that the Issuer has
delivered to the Trustee, at least five Business Days prior to delivery of the notice of redemption
(or such shorter period of time that is agreed upon by the Issuer and the Trustee), an Officer’s
Certificate requesting that the Trustee give such notice and setting forth the information to be
stated in such notice as provided in Section 3.03(b).

Section 3.04   Effect of Notice of Redemption.

                 Once notice of redemption is sent in accordance with Section 3.03 hereof, Notes
called for redemption become irrevocably due and payable on the redemption date at the
redemption price, except as provided for in Section 3.07(e) hereof. The notice, if sent in
accordance with Section 3.03 hereof, shall be conclusively presumed to have been given,
whether or not the Holder receives such notice. In any case, failure to send such notice or any
defect in the notice to the Holder designated for redemption in whole or in part shall not affect
the validity of the proceedings for the redemption of any other Note.

Section 3.05   Deposit of Redemption Price.

                (a)     Notwithstanding the requirements of Section 4.01, one Business Day prior
to the redemption date, the Issuer will deposit with the Trustee or with the Paying Agent money
sufficient to pay the redemption price of and accrued interest on all Notes to be redeemed on that
date. The Trustee or the Paying Agent will promptly return to the Issuer any money deposited
with the Trustee or the Paying Agent by the Issuer in excess of the amounts necessary to pay the
redemption price of, and accrued interest on, all Notes to be redeemed.

               (b)     If the Issuer complies with the provisions of Section 3.05(a), on and after
the redemption date, interest will cease to accrue on the Notes or the portions of Notes called for
redemption. If a Note is redeemed on or after an interest record date but on or prior to the related
interest payment date, then any accrued and unpaid interest shall be paid to the Person in whose
name such Note was registered at the close of business on such record date. If any Note called
for redemption is not so paid upon surrender for redemption because of the failure of the Issuer
to comply with Section 3.05(a), interest shall be paid on the unpaid principal, from the
redemption date until such principal is paid, and to the extent lawful on any interest not paid on
such unpaid principal, in each case at the rate provided in the Notes and in Section 4.01 hereof.

Section 3.06   Notes Redeemed in Part.

               Upon surrender of a Note that is redeemed in part, the Issuer will issue and, upon
receipt of an Authentication Order, the Trustee will authenticate for the Holder at the expense of

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the Issuer a new Note equal in principal amount to the unredeemed or unpurchased portion of the
Note surrendered, provided that each new Note will be in a principal amount of $1.00 or an
integral multiple of $1.00 in excess of $1.00. It is understood that, notwithstanding anything in
this Indenture to the contrary, only an Authentication Order and not an Opinion of Counsel or
Officer’s Certificate is required for the Trustee to authenticate such new Note.

Section 3.07   Optional Redemption.

                (a)     At any time prior to August 2, 2023, the Issuer may redeem all or a part of
the Notes, at a redemption price equal to 100% of the aggregate principal amount thereof plus
the Applicable Premium as of, and accrued and unpaid interest, if any, on the Notes to be
redeemed to, but not including, the date of redemption (subject to the rights of Holders on the
relevant record date to receive interest due on the relevant interest payment date). Except
pursuant to this Section 3.07(a), the Notes will not be redeemable at the Issuer’s option prior to
August 2, 2023. The Issuer will not, however, be prohibited from acquiring the Notes by means
other than a redemption, whether pursuant to a tender offer, open market purchase or otherwise,
so long as the acquisition does not violate the terms of this Indenture.

                (b)     At any time on or after August 2, 2023, the Issuer may redeem all or a part
of the Notes, at a redemption price equal to 100% of the aggregate principal amount thereof, and
accrued and unpaid interest, if any, on the Notes to be redeemed to, but not including, the date of
redemption (subject to the rights of Holders on the relevant record date to receive interest due on
the relevant interest payment date).

              (c)    Any redemption pursuant to this Section 3.07 shall be made pursuant to
and in compliance with the provisions of Sections 3.01 through 3.06 hereof.

               (d)

                       (A)     Any notice of redemption made in connection with a related
               transaction or event (including an Equity Offering, contribution, Change of
               Control, Asset Sale, Casualty Event or other transaction) may, at the Issuer’s
               discretion, be given prior to the completion or the occurrence thereof, and any
               such redemption or notice may, at the Issuer’s discretion, be subject to one or
               more conditions precedent, including, but not limited to, the completion or
               occurrence of the related transaction or event, as the case may be.

                       (B)      The Issuer may redeem Notes pursuant to one or more of the
               relevant provisions hereof, and a single notice of redemption may be delivered
               with respect to redemptions made pursuant to different provisions. Any such
               notice may provide that redemptions made pursuant to different provisions will
               have different redemption dates. In addition, if such redemption is subject to
               satisfaction of one or more conditions precedent, such notice will describe each
               such condition, and if applicable, will state that, in the Issuer’s discretion, the
               redemption date may be delayed until such time (including more than 60 days
               after the date the notice of redemption was mailed or delivered, including by
               electronic transmission) as any or all such conditions are satisfied (or waived by

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               the Issuer in its sole discretion), or that such redemption may not occur and such
               notice may be rescinded in the event that any or all such conditions are not
               satisfied (or waived by the Issuer in its sole discretion) by the redemption date, or
               by the redemption date as so delayed, or that such notice may be rescinded at any
               time in the Issuer’s discretion if in the good faith judgment of the Issuer any of all
               of such conditions will not be satisfied. In addition, the Issuer may provide in
               such notice that payment of the redemption price and performance of the Issuer’s
               obligations with respect to such redemption may be performed by another Person.

                       (C)     In no event will the Trustee be responsible for monitoring, or
               charged with knowledge of, the maximum aggregate amount of Notes eligible
               under this Indenture to be redeemed. Notes will remain outstanding until
               redeemed, notwithstanding that they have been called for redemption or are
               subject to a notice of redemption.

Section 3.08   Mandatory Redemption.

              The Issuer shall not be required to make mandatory redemption or sinking fund
payments with respect to the Notes.

Section 3.09   Calculation of Redemption Price

              Neither the Trustee nor any Agent shall have an obligation to calculate the
redemption price of any Notes.

                                           ARTICLE 4

                                          COVENANTS

Section 4.01   Payment of Notes.

               (a)      The Issuer will pay or cause to be paid the principal of, the Applicable
Premium, if any, any other premium, if any, and interest on the Notes on the dates and in the
manner provided in the Notes. Principal, the Applicable Premium, if any, any other premium, if
any, and interest will be considered paid on the date due if the Paying Agent, if other than the
Issuer or a Subsidiary of the Issuer, holds as of 10:00 a.m. New York City Time on the Business
Day immediately preceding the due date money deposited by the Issuer in immediately available
funds and designated for and sufficient to pay all principal of, the Applicable Premium, if any,
any other premium, if any, and interest, then due.

               (b)     The Issuer will pay interest on overdue principal, Applicable Premium, if
any, and any other premium, if any, and overdue installments of interest at the same rate borne
by the Notes to the extent lawful.

Section 4.02   Maintenance of Office or Agency.

               (a)    The Issuer will maintain in the Borough of Manhattan, the City of New
York, an office or agency (which may be an office of the Trustee or an affiliate of the Trustee,

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Registrar or co−registrar) where Notes may be surrendered for registration of transfer or for
exchange and where notices and demands to or upon the Issuer (other than the type contemplated
by Section 14.13) in respect of the Notes and this Indenture may be served. The Issuer will give
prompt written notice to the Trustee of the location, and any change in the location, of such
office or agency. If at any time the Issuer fails to maintain any such required office or agency or
fails to furnish the Trustee with the address thereof, such presentations, surrenders, notices and
demands may be made or served at the Corporate Trust Office of the Trustee.

                (b)    The Issuer may also from time to time designate one or more other offices
or agencies where the Notes may be presented or surrendered for any or all such purposes and
may from time to time rescind such designations; provided, however, that no such designation or
rescission will in any manner relieve the Issuer of its obligation to maintain an office or agency
in the Borough of Manhattan, the City of New York for such purposes. The Issuer will give
prompt written notice to the Trustee of any such designation or rescission and of any change in
the location of any such other office or agency.

               (c)    The Issuer hereby designates the Corporate Trust Office of the Trustee as
one such office or agency of the Issuer in accordance with Section 2.03 hereof.

Section 4.03   Reports.

               (a)     So long as any Notes are outstanding, the Issuer shall make available
without cost to the Trustee:

               (1)     as soon as available but within 90 days after the end of each financial year
       of the Issuer, all annual financial statements that would be required to be contained in a
       filing with the SEC on Form 10-K of the Issuer, plus a “Management’s Discussion and
       Analysis of Financial Condition and Results of Operations”, a presentation of EBITDA
       and Adjusted EBITDA of the Issuer substantially consistent with the presentation thereof
       required under the Existing Notes Indenture and derived from such financial information
       and a report on the annual financial statements by the Issuer’s independent registered
       public accounting firm;

               (2)     as soon as available but within 45 days after the end of each of the first
       three fiscal quarters of each financial year of the Issuer, all quarterly financial statements
       that would be required to be contained in a filing with the SEC on Form 10- Q of the
       Issuer, plus a “Management’s Discussion and Analysis of Financial Condition and
       Results of Operations” and a presentation of EBITDA and Adjusted EBITDA of the
       Issuer substantially consistent with the presentation thereof required under the Existing
       Notes Indenture and derived from such financial information; and

               (3)     promptly from time to time after the occurrence of an event required to be
       therein reported, such other reports (in each case, without exhibits) containing
       substantially the same information required to be contained in a Current Report on
       Form 8-K under Item 1.01 (Entry into a Material Definitive Agreement), 1.03
       (Bankruptcy or Receivership), 2.01 (Completion of Acquisition or Disposition of Assets),
       2.03 (Creation of a Direct Financial Obligation or an Obligation under an Off-Balance

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Sheet Arrangement of a Registrant), 2.04 (Triggering Events That Accelerate or Increase
a Direct Financial Obligation or an Obligation under an Off-Balance Sheet Arrangement),
4.02 (Non-Reliance on Previously Issued Financial Statements or a Related Audit Report
or Completed Interim Review), 5.01 (Changes in Control of Registrant), 5.02(a)(1) and
(c)(1) (Departure of Directors or Certain Officers; Election of Directors; Appointment of
Certain Officers) and 5.03(b) (Changes in Fiscal Year); provided, however, that no report
in this clause (3) shall be required to be furnished if the Issuer determines in its good faith
judgment that such event is not material to the Holders or the business, assets, operations,
financial position or prospects of the Issuer and the Restricted Subsidiaries of the Issuer.

       (b)     With respect to the reports required to be furnished by Section 4.03(a):

               (1)     no such reports referenced under clause (iii) above will be required
       to include as an exhibit or summary of terms of, any employment or
       compensatory arrangement agreement, plan or understanding between the Issuer
       (or any of its Subsidiaries) and any director, manager or executive officer, of the
       Issuer (or any of its Subsidiaries);

              (2)    in no event will such reports be required to comply with Section
       302, Section 404 or Section 906 of the Sarbanes-Oxley Act of 2002 (or any
       successor provisions), or related Items 307 and 308 of Regulation S-K (or any
       successor provisions) promulgated by the SEC;

              (3)    in no event will such report be required to comply with Item 302 of
       Regulation S-K (or any successor provisions) promulgated by the SEC;

               (4)      in no event will such reports be required to comply with Rule 3-10
       of Regulation S-X promulgated by the SEC (or such other rule or regulation that
       amends, supplements or replaces such Rule 3-10, including for the avoidance of
       doubt, Rules 13-01 or 13-02 of Regulation S-X promulgated by the SEC) or
       contain separate financial statement for the Issuer, the Guarantors or other
       Subsidiaries the shares of which may be pledged to secure the notes or any
       Guarantee that would be required under (i) Section 3-09 of Regulation S-X (or
       such other rule or regulation that amends, supplements or replaces such Rule 3-
       09) or (ii) Section 3-16 of Regulation S-X (or such other rule or regulation that
       amends, supplements or replaces such Rule 3-16), respectively, promulgated by
       the SEC;

               (5)   in no event will such reports be required to comply with
       Regulation G under the Exchange Act or Item 10(e) of Regulation S-K (or any
       successor provision) promulgated by the SEC with respect to any non-GAAP
       financial measures contained therein;

               (6)     no such reports referenced under clause (iii) above will be required
       to be furnished if the Issuer determined in its good faith judgment that such event
       is not material to the holders or the business, assets, operations or financial
       position of the Issuer and its Restricted Subsidiaries, taken as a whole;

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                       (7)    in no event will such reports be required to comply with Item 601
               of Regulation S-K (or any successor provision) promulgated by the SEC (with
               respect to exhibits) or, with respect to reports reference in clause (iii) above, to
               include as an exhibit copies of any agreements, financial statements or other items
               that would be required to be filed as exhibits to a current report on Form 8-K;

                      (8)     trade secrets and other confidential information that is
               competitively sensitive in the good faith and reasonable determination of the
               Issuer may be excluded from any disclosure;

                      (9)     such information will not be required to include information that is
               not otherwise similar to information required to be delivered under the Existing
               Notes Indenture;

                      (10) to the extent that the Issuer is not a reporting company under the
               Exchange Act, in no event will such reports be required to be presented in
               compliance with the requirements of the Public Company Accounting Oversight
               Board; and

                     (11) in no event will such reports contain compensation or beneficial
               ownership information.

                (c)     The Issuer will hold a quarterly conference call for the Holders of the
Notes, securities analysts and prospective investors to discuss financial information for the
previous fiscal quarter or previous fiscal year, as applicable, to be held as soon as reasonably
practicable after furnishing or posting the financial information as set forth in 4.03(a). No fewer
than three days prior to the conference call, the Issuer shall post on its website the time and date
of such conference call and provide instructions for Holders of Notes, securities analysts and
prospective investors to obtain access to such call.

                (d)    For so long as any Notes remain outstanding, if at any time they are not
required furnish the information required by Section 4.03(a), the Issuer and the Guarantors will
furnish to the Holders and to prospective purchasers of the Notes or beneficial owner of the
Notes in connection with any sale thereof, upon their request, the information required to be
delivered pursuant to Rule 144A(d)(4) under the Securities Act.

                (e)    In the event that any direct or indirect parent of the Issuer becomes a
Guarantor of the Notes, the Issuer may satisfy its obligations under this Section 4.03 with respect
to financial information relating to the Issuer by furnishing financial information relating to such
parent; provided that the same is accompanied by information that explains in reasonable detail
the differences between the information relating to such parent, on the one hand, and the
information relating to the Issuer and its Restricted Subsidiaries on a standalone basis, on the
other hand.

               (f)     Notwithstanding the foregoing, the requirements of this Section 4.03 shall
be deemed satisfied by posting reports on the (i) Issuer’s website (or on the publicly available
website of any of its parent companies or Subsidiaries) or (ii) a password-protected online data
system that will require a confidentiality acknowledgment, including Intralinks, SyndTrak or
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ClearPar provided that access shall also be granted to any bona fide prospective investor, any
securities analyst (to the extent providing analysis of investment in the notes) or any market
maker in the notes who agrees to treat such information as confidential) containing the financial
information (including a “Management’s Discussion and Analysis of Financial Condition and
Results of Operations” section) that would be required to be included in such reports, subject to
exceptions consistent with the presentation of financial information required under the Existing
Notes Indenture.

                (g)     It is understood that the Trustee shall have no obligation whatsoever to
determine whether or not such information, documents or reports have been posted on the
Issuer’s website, other online data system or filed with the SEC. The posting or delivery of such
reports, information and documents to the Trustee is for informational purposes only and the
Trustee’s receipt of such shall not constitute constructive notice of any information contained
therein or determinable from information contained therein, including the Issuer’s compliance
with any of its covenants hereunder (as to which the Trustee is entitled to rely exclusively on
Officer’s Certificates).

               (h)     The Trustee has no duty or obligation to monitor the occurrence of a
Purchase Option Triggering Event as defined in the ABL Intercreditor Agreement or give notice
thereof to any Person.

Section 4.04   Compliance Certificate.

                (a)      The Issuer shall deliver to the Trustee within 120 days after the end of
each fiscal year of the Issuer (beginning with the fiscal year ended December 31, 2021) an
Officer’s Certificate stating that in the course of the performance by the signers of their duties as
Officers they would normally have knowledge of any Default and whether or not the signers
know of any Default that occurred during such period. If they do, the certificate shall describe
the Default, its status and what action the Issuer is taking or proposes to take with respect
thereto.

               (b)      So long as any of the Notes are outstanding, the Issuer will deliver to the
Trustee, forthwith upon any Officer becoming aware of any Default or Event of Default, an
Officer’s Certificate specifying such Default or Event of Default and what action the Issuer is
taking or propose to take with respect thereto.

Section 4.05   Restricted Payments.

                 (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, directly or indirectly:

              (1)      declare or pay any dividend or make any other payment or distribution on
       account of the Issuer’s or any of its Restricted Subsidiaries’ Equity Interests (including,
       without limitation, any payment in connection with any merger or consolidation
       involving the Issuer or any of its Restricted Subsidiaries) or to the direct or indirect
       holders of the Issuer’s or any of its Restricted Subsidiaries’ Equity Interests in their
       capacity as such (other than dividends or distributions payable in Equity Interests (other


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than Disqualified Stock) of the Issuer and other than dividends or distributions payable to
the Issuer or a Restricted Subsidiary of the Issuer);

       (2)     purchase, redeem or otherwise acquire or retire for value (including,
without limitation, in connection with any merger or consolidation involving the Issuer)
any Equity Interests of the Issuer or any direct or indirect parent of the Issuer;

        (3)     make any payment on or with respect to, or purchase, redeem, defease or
otherwise acquire or retire for value, any Indebtedness of the Issuer or any Guarantor that
is contractually subordinated to the Notes or to any Note Guarantee (excluding (x) any
intercompany Indebtedness between or among the Issuer and any of its Restricted
Subsidiaries or (y) the purchase, repurchase or other acquisition of Indebtedness that is
contractually subordinated to the Notes or to any Note Guarantee, as the case may be,
purchased in anticipation of satisfying a sinking fund obligation, principal installment or
final maturity, in each case due within one year of the date of purchase, repurchase or
acquisition), except a payment of interest or principal at the Stated Maturity thereof; or

        (4)     make any Restricted Investment (all such payments and other actions set
forth in these clauses (1) through (4) above being collectively referred to as “Restricted
Payments”).

       (b)     The provisions of Section 4.05(a) hereof will not prohibit:

        (1)     the payment of any dividend or distribution or the consummation of any
redemption within 60 days after the date of declaration of the dividend or distribution or
giving of the redemption notice, as the case may be, if, at the date of declaration or
notice, the dividend, distribution or redemption payment would have complied with the
provisions of this Indenture;

        (2)    the making of any Restricted Payment in exchange for, or out of the net
cash proceeds of the substantially concurrent sale (other than to a Subsidiary of the
Issuer) of, Equity Interests of the Issuer or any direct or indirect parent of the Issuer
(other than Disqualified Stock) or from the substantially concurrent contribution of
common equity capital to the Issuer;

        (3)     the repurchase, redemption, defeasance or other acquisition or retirement
for value of Indebtedness of the Issuer or any Restricted Subsidiary of the Issuer that is
contractually subordinated to the Notes or to any Note Guarantee with the net cash
proceeds from a substantially concurrent incurrence of Permitted Refinancing
Indebtedness;

         (4)    the payment of any dividend (or, in the case of any partnership or limited
liability company, any similar distribution) by a Restricted Subsidiary of the Issuer to the
holders of its Equity Interests on a pro rata basis;

        (5)     the repurchase, redemption or other acquisition or retirement (or dividends
or distributions to any direct or indirect parent of the Issuer to finance any such
repurchase, redemption or other acquisition or retirement) for value of any Equity

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Interests of the Issuer or any Restricted Subsidiary of the Issuer or any direct or indirect
parent of the Issuer held by any current or former officer, director, consultant or
employee of the Issuer or any of its Restricted Subsidiaries or any direct or indirect
parent of the Issuer pursuant to any equity subscription agreement, stock option
agreement, shareholders’ or members’ agreement or similar agreement, plan or
arrangement; provided that the aggregate price paid for all such repurchased, redeemed,
acquired or retired Equity Interests may not exceed $1.0 million in any calendar year
(which shall increase to $2.0 million subsequent to the consummation of an underwritten
public Equity Offering by the Issuer or any of its direct or indirect parent entities) (with
unused amounts in any calendar year being permitted to be carried over for the next two
succeeding calendar years); provided, further, that the amount in any calendar year may
be increased by an amount not to exceed:

       (i)      the cash proceeds received by the Issuer or any of its Restricted
Subsidiaries from the sale of Equity Interests (other than Disqualified Stock) of the Issuer
or any direct or indirect parent of the Issuer (to the extent contributed to the Issuer) to
members of management, directors or consultants of the Issuer and its Restricted
Subsidiaries or any direct or indirect parent of the Issuer that occurs after the Issue Date;
plus

        (ii)    the cash proceeds of key man life insurance policies received by the Issuer
or any direct or indirect parent of the Issuer (to the extent contributed to the Issuer) and
its Restricted Subsidiaries after the Issue Date;

provided that the Issuer may elect to apply all or any portion of the aggregate increase
contemplated by (i) and (ii) above in any single calendar year;

       (6)     the repurchase of Equity Interests deemed to occur upon the exercise of
stock options or warrants to the extent such Equity Interests represent a portion of the
exercise price of those stock options or warrants;

        (7)     the declaration and payment of regularly scheduled or accrued dividends
or distributions to holders of any class or series of Disqualified Stock of the Issuer or any
Restricted Subsidiary of the Issuer issued on or after the Issue Date in accordance with
Section 4.07(a) hereof; provided the aggregate amount of dividends declared and paid
pursuant to this clause (7) does not exceed the net cash proceeds actually received by the
Issuer (including any such proceeds contributed to the Issuer by any direct or indirect
parent of the Issuer) from any such sale of Disqualified Stock of the Issuer issued after
the Issue Date;

       (8)     Permitted Payments to Parent;

       (9)     [reserved];

        (10) the declaration and payment of dividends or distributions to holders of any
class or series of Designated Preferred Stock (other than Disqualified Stock) issued after
the Issue Date and the declaration and payment of dividends to any direct or indirect
parent of the Issuer, the proceeds of which will be used to fund the payment of dividends
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       or distributions to holders of any class or series of Designated Preferred Stock (other than
       Disqualified Stock) of any direct or indirect parent of the Issuer issued after the Issue
       Date; provided, however, that (A) for the most recently ended four full fiscal quarters for
       which internal financial statements are available immediately preceding the date of
       issuance of such Designated Preferred Stock, after giving effect to such issuance (and the
       payment of dividends or distributions) on a pro forma basis, the Issuer could incur an
       additional $1.00 of Indebtedness pursuant to the Fixed Charge Coverage Ratio, and
       (B) the aggregate amount of dividends declared and paid pursuant to this clause (10) does
       not exceed the net cash proceeds actually received by the Issuer (including any such
       proceeds contributed to the Issuer by any direct or indirect parent of the Issuer) from any
       such sale of Designated Preferred Stock (other than Disqualified Stock) issued after the
       Issue Date;

               (11)   [reserved];

               (12)   [reserved];

               (13)   [reserved];

              (14) the satisfaction of change of control obligations and asset sale obligations
       once the Issuer has fulfilled its obligations under this Indenture with respect to a Change
       of Control or an Asset Sale;

              (15) the repayment of intercompany debt that was permitted to be incurred
       under this Indenture;

               (16)   [reserved]; and

               (17) the payment of dividends or distributions on the Issuer’s common equity
       (or the payment of dividends or distributions to a direct or indirect parent of the Issuer to
       fund the payment by such parent of dividends or distributions on its common equity) of
       up to 6.0% per calendar year of the net proceeds received by the Issuer from any public
       Equity Offering or contributed to the Issuer by a direct or indirect parent of the Issuer
       from any public Equity Offering; provided that the amount of any such net cash proceeds
       that are utilized for any such Restricted Payment will be excluded from clause (C)(ii) of
       Section 4.05(a) hereof;

       provided, however, that at the time of, and after giving effect to, any Restricted Payment
       permitted under clauses (7), (10) and (17) of this Section 4.05(b), no Default or Event of
       Default shall have occurred and be continuing or would occur as a consequence thereof.

                (c)     The amount of all Restricted Payments (other than cash) will be the Fair
Market Value on the date of the Restricted Payment of the asset(s) or securities proposed to be
transferred or issued by the Issuer or such Restricted Subsidiary, as the case may be, pursuant to
the Restricted Payment. In the event that a Restricted Payment meets the criteria of more than
one of the exceptions described in (1) through (17) above or is entitled to be made pursuant to
Section 4.05(a), the Issuer shall, in its sole discretion, classify such Restricted Payment (or


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portion thereof) on the date made or later reclassify such Restricted Payment (or portion thereof)
in any manner that complies with this Section 4.05.

              (d)     The Issuer shall not permit the Unrestricted Subsidiaries to make any
Restricted Payments, except to the Issuer or any of its Restricted Subsidiaries.

Section 4.06   Dividend and Other Payment Restrictions Affecting Subsidiaries.

                (a)    The Issuer will not, and will not permit any of its Restricted Subsidiaries
that is not a Guarantor to, directly or indirectly, create or permit to exist or become effective any
consensual encumbrance or restriction on the ability of the Issuer or any Restricted Subsidiary
that is not a Guarantor to:

               (1)     pay dividends or make any other distributions on its Capital Stock to the
       Issuer or any of its Restricted Subsidiaries, or with respect to any other interest or
       participation in, or measured by, its profits, or pay any Indebtedness owed to the Issuer or
       any of its Restricted Subsidiaries;

               (2)     make loans or advances to the Issuer or any of its Restricted Subsidiaries;
       or

               (3)     sell, lease or transfer any of its properties or assets to the Issuer or any of
       its Restricted Subsidiaries.

                 (b)    The restrictions in Section 4.06(a) hereof will not apply to encumbrances
or restrictions existing under or by reason of:

              (1)     agreements governing Indebtedness outstanding on the Issue Date,
       including pursuant to the Credit Agreement and Hedging Obligations and the related
       documentation;

               (2)   this Indenture, the Notes, the Note Guarantees (and any Additional Notes
       and related Guarantees under this Indenture) and the Security Documents;

                (3)    applicable law, rule, regulation, order, approval, license, permit or similar
       restriction;

                (4)     any instrument governing Indebtedness or Capital Stock of a Person
       acquired by the Issuer or any of its Restricted Subsidiaries as in effect at the time of such
       acquisition (except to the extent such Indebtedness or Capital Stock was incurred in
       connection with or in contemplation of such acquisition), which encumbrance or
       restriction is not applicable to any Person, or the properties or assets of any Person, other
       than the Person, or the property or assets of the Person, so acquired; provided that, in the
       case of Indebtedness, such Indebtedness was permitted by the terms of this Indenture to
       be incurred;

               (5)    non−assignment provisions or subletting restrictions in contracts, leases
       and licenses entered into in the ordinary course of business;

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         (6)    purchase money obligations for property (including Capital Stock)
acquired in the ordinary course of business and Capital Lease Obligations that impose
restrictions on the property purchased or leased of the nature described in
Section 4.06(a)(3) hereof;

        (7)     any agreement for the sale or other disposition of the Capital Stock or
assets of a Restricted Subsidiary of the Issuer that restricts distributions by that Restricted
Subsidiary pending closing of the sale or other disposition;

       (8)     Permitted Refinancing Indebtedness; provided that the restrictions
contained in the agreements governing such Permitted Refinancing Indebtedness are not
materially more restrictive, taken as a whole, than those contained in the agreements
governing the Indebtedness being refinanced;

        (9)     Liens permitted to be incurred under Section 4.10 hereof that limit the
right of the debtor to dispose of the assets securing such Indebtedness;

        (10) provisions limiting the disposition or distribution of assets or property or
transfer of Capital Stock in joint venture agreements, asset sale agreements,
sale−leaseback agreements, stock sale agreements, limited liability company
organizational documents, and other similar agreements entered into in the ordinary
course of business, consistent with past practice or with the approval of the Issuer’s
Board of Directors, which limitation is applicable only to the assets, property or Capital
Stock that are the subject of such agreements;

       (11)    [reserved];

       (12) restrictions on cash, Cash Equivalents or other deposits or net worth
imposed by customers or lessors under contracts or leases entered into in the ordinary
course of business;

        (13) other Indebtedness of Restricted Subsidiaries that is incurred subsequent
to the Issue Date pursuant to Section 4.07 hereof;

        (14) encumbrances on property that exist at the time the property was acquired
by the Issuer or a Restricted Subsidiary of the Issuer;

       (15)    contractual encumbrances or restrictions in effect on the Issue Date;

        (16) customary provisions in master limited partnership agreements, joint
venture agreements or arrangements and other similar agreements or arrangements
relating solely to such master limited partnership or joint venture;

       (17)    [reserved];

        (18) any encumbrance or restriction contained in the terms of any Indebtedness
or any agreement pursuant to which such Indebtedness was incurred if either (x) the
encumbrance or restriction applies only in the event of a payment default or a default

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       with respect to a financial covenant in such Indebtedness or agreement or (y) the Issuer
       determines that any such encumbrance or restriction will not materially affect the Issuer’s
       ability to make principal or interest payments on the Notes, as determined in good faith
       by the Issuer, whose determination shall be conclusive;

                (19) provisions with respect to the receipt of a rebate on an operating lease
       until all obligations due to a lessor on other operating leases are satisfied or other
       customary restrictions in respect of assets or contract rights acquired by a Restricted
       Subsidiary of the Issuer in connection with a Sale/Leaseback Transaction;

              (20) Secured Indebtedness otherwise permitted to be incurred pursuant to
       Sections 4.07 and 4.10 hereof that limit the right of the debtor to dispose of the assets
       securing such Indebtedness;

               (21) encumbrances and restrictions contained in contracts entered into in the
       ordinary course of business, not relating to any Indebtedness, and that do not,
       individually or in the aggregate, detract from the value of property or assets of the Issuer
       or any Restricted Subsidiary of the Issuer or the ability of the Issuer or such Restricted
       Subsidiary to realize such value, or to make any distributions relating to such property or
       assets in each case in any material respect; and

              (22) any encumbrances or restrictions imposed by any amendments or
       refinancings of the contracts, instruments or obligations referred to above in clauses (1)
       through (21); provided that such encumbrances and restrictions contained in such
       amendments or refinancings are not materially more restrictive, taken as a whole, than
       such encumbrances and restrictions prior to such amendment or refinancing.

                (c)      For purposes of determining compliance with this Section 4.06, (i) the
priority of any preferred stock in receiving dividends or liquidating distributions prior to
dividends or liquidating distributions being paid on ordinary shares shall not be deemed a
restriction on the ability to make distributions on Capital Stock and (ii) the subordination of
loans or advances made to the Issuer or a Restricted Subsidiary of the Issuer to other
Indebtedness incurred by the Issuer or any such Restricted Subsidiary shall not be deemed a
restriction on the ability to make loans or advances.

Section 4.07   Incurrence of Indebtedness and Issuance of Preferred Equity.

                 (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, directly or indirectly, create, incur, issue, assume, guarantee or otherwise become directly or
indirectly liable, contingently or otherwise, with respect to (collectively, “incur”) any
Indebtedness (including Acquired Debt), and the Issuer will not issue any Disqualified Stock and
will not permit any of its Restricted Subsidiaries to issue any Disqualified Stock or any shares of
preferred equity; provided, however, that the Issuer may incur Indebtedness (including Acquired
Debt) or issue Disqualified Stock, and the Issuer or any Restricted Subsidiary of the Issuer may
incur Indebtedness (including Acquired Debt), issue Disqualified Stock or issue preferred equity,
if on the date thereof the Fixed Charge Coverage Ratio for the Issuer’s most recently ended four
full fiscal quarters for which internal financial statements are available immediately preceding

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the date on which such additional Indebtedness is incurred or such Disqualified Stock or such
preferred equity is issued, as the case may be, would have been at least 2.0 to 1.0, determined on
a pro forma basis (including a pro forma application of the net proceeds therefrom), as if the
additional Indebtedness had been incurred or the Disqualified Stock or the preferred equity had
been issued, as the case may be, at the beginning of such four−quarter period; provided, further,
that Restricted Subsidiaries of the Issuer that are not Guarantors may not incur Indebtedness or
issue any Disqualified Stock or shares of preferred equity pursuant to this clause (a).

                (b)    The provisions of Section 4.07(a) hereof will not prohibit the incurrence of
any of the following items of Indebtedness (collectively, “Permitted Debt”):

                (1)     the incurrence under Debt Facilities by the Issuer or any of its Restricted
       Subsidiaries that are Guarantors of Indebtedness and letters of credit and bankers’
       acceptances thereunder in an aggregate principal amount under this clause (1) (with
       letters of credit deemed to have a principal amount equal to the maximum potential
       liability of the Issuer and its Restricted Subsidiaries thereunder) not to exceed 200.0
       million less the aggregate principal amount of any such Debt Facilities prepaid (to the
       extent, solely in the case of any Debt Facility that is a revolving Debt Facility, there shall
       be a corresponding commitment reduction) other than from the proceeds of long term
       Debt Facilities pursuant to a refinancing thereof;

               (2)     the incurrence by the Issuer and its Restricted Subsidiaries of Indebtedness
       to the extent outstanding on the Issue Date (other than Indebtedness incurred pursuant to
       clauses (1), (3) and (16) of Permitted Debt);

               (3)     the incurrence by the Issuer and its Restricted Subsidiaries (including any
       future Guarantor) of Indebtedness represented by the Notes and the related Note
       Guarantees to be issued on the Issue Date (but excluding any Additional Notes issued
       after the Issue Date);

               (4)      Indebtedness (including Capital Lease Obligations), Disqualified Stock
       and preferred stock incurred by the Issuer or any Restricted Subsidiary of the Issuer, to
       finance the purchase, lease, design, construction, installation, repair, replacement or
       improvement of property (real or personal) or equipment that is used or useful in a
       Permitted Business, whether through the direct purchase of assets or the Capital Stock of
       any Person owning such assets and Indebtedness arising from the conversion of the
       obligations of the Issuer or any Restricted Subsidiary of the Issuer under or pursuant to
       any “synthetic lease” transactions to on-balance sheet Indebtedness of the Issuer or such
       Restricted Subsidiary, in an aggregate principal amount which, when aggregated with the
       principal amount of all other Indebtedness, Disqualified Stock and preferred stock
       incurred pursuant to this clause (4), does not exceed the greater of (x) $20.0 million and
       (y) 2.5% of Total Assets at the time of incurrence; provided that Capital Lease
       Obligations incurred by the Issuer or any Restricted Subsidiary of the Issuer pursuant to
       this clause (4) in connection with a Sale/Leaseback Transaction shall not be subject to the
       foregoing limitation so long as the proceeds of such Sale/Leaseback Transaction are used
       by the Issuer or such Restricted Subsidiary to permanently repay outstanding
       Indebtedness of the Issuer and the Restricted Subsidiaries that was secured by a Lien on

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the assets subject to any such Capital Lease Obligations immediately prior to the entry
into such Sale/Leaseback Transaction; provided, however, that the aggregate principal
amount of Indebtedness outstanding under this clause (4), together with Indebtedness
incurred under clause (18), in each case, by Restricted Subsidiaries that are not
Guarantors, together with any Permitted Refinancing Indebtedness in respect thereof,
shall not at any time exceed $5.0 million;

        (5)    the incurrence by the Issuer or any of its Restricted Subsidiaries of
Permitted Refinancing Indebtedness in exchange for, or the net proceeds of which are
used to renew, refund, refinance, replace, defease or discharge any Indebtedness (other
than intercompany Indebtedness) that was permitted by this Indenture to be incurred
under Section 4.07(a) hereof or clauses (2), (3), (4), (5), (12), (16) or (17) of this
Section 4.07(b);

       (6)    the incurrence by the Issuer or any of its Restricted Subsidiaries of
intercompany Indebtedness and cash management pooling obligations and arrangements
between or among the Issuer and any of its Restricted Subsidiaries; provided, however,
that:

               (A)     if the Issuer or any Guarantor is the obligor on such Indebtedness
       (other than cash management pooling obligations) and the payee is not the Issuer
       or a Guarantor, such Indebtedness must be expressly subordinated to the prior
       payment in full in cash of all Obligations then due with respect to the Notes, in
       the case of the Issuer, or the Note Guarantee, in the case of a Guarantor;

               (B)    if the Issuer or any Guarantor is the payee on such Indebtedness
       (other than cash management pooling obligations), such Indebtedness must be
       pledged to the Collateral Agent; and

                (C)    (i) any subsequent issuance or transfer of Equity Interests that
       results in any such Indebtedness being held by a Person other than the Issuer or a
       Restricted Subsidiary of the Issuer, and (ii) any sale or other transfer of any such
       Indebtedness to a Person that is not either the Issuer or a Restricted Subsidiary of
       the Issuer, will be deemed, in each case, to constitute an incurrence of such
       Indebtedness by the Issuer or such Restricted Subsidiary, as the case may be, that
       was not permitted by this clause (6);

        (7)     the issuance by any of the Issuer’s Restricted Subsidiaries to the Issuer or
to any of its Restricted Subsidiaries of shares of preferred equity; provided, however,
that:

               (A)    any subsequent issuance or transfer of Equity Interests that results
       in any such preferred equity being held by a Person other than the Issuer or a
       Restricted Subsidiary of the Issuer, and

                (B)     any sale or other transfer of any such preferred equity to a Person
       that is not either the Issuer or a Restricted Subsidiary of the Issuer,


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       will be deemed, in each case, to constitute an issuance of such preferred equity by
       such Restricted Subsidiary that was not permitted by this clause (7);

      (8)     the incurrence by the Issuer or any of its Restricted Subsidiaries that are
Guarantors of Hedging Obligations other than for speculative purposes;

        (9)     the Guarantee by the Issuer or any of its Restricted Subsidiaries that are
Guarantors of Indebtedness and cash management pooling obligations and arrangements
of the Issuer or a Restricted Subsidiary of the Issuer that was permitted to be incurred by
another provision of this Section 4.07 (including Section 4.07(a) hereof); provided that if
the Indebtedness being guaranteed is subordinated to or pari passu with the Notes, then
the Guarantee shall be subordinated or pari passu, as applicable, to the same extent as the
Indebtedness guaranteed;

        (10) the incurrence by the Issuer or any of its Restricted Subsidiaries that are
Guarantors of Indebtedness in respect of workers’ compensation claims, payment
obligations in connection with health or other types of social security benefits,
unemployment or other insurance or self−insurance obligations, reclamation, statutory
obligations, bankers’ acceptances, bid, performance, surety or similar bonds and letters of
credit or completion or performance guarantees (including without limitation,
performance guarantees pursuant to flying contracts, supply agreements or equipment
leases), or other similar obligations in the ordinary course of business or consistent with
past practice;

         (11) the incurrence by the Issuer or any of its Restricted Subsidiaries that are
Guarantors of Indebtedness arising from the honoring by a bank or other financial
institution of a check, draft or similar instrument inadvertently drawn against insufficient
funds and other obligations in respect of Bank Products;

        (12) Indebtedness, Disqualified Stock or preferred equity of the Issuer or any
Restricted Subsidiary of the Issuer that is a Guarantor incurred or issued to finance an
acquisition or of Persons that are acquired by the Issuer or any of its Restricted
Subsidiaries that are Guarantors or merged into a Restricted Subsidiary of the Issuer that
is a Guarantor in accordance with the terms of this Indenture; provided, however, that
after giving effect to such acquisition and the incurrence of such Indebtedness,
Disqualified Stock and preferred equity the Issuer would be permitted to incur at least
$1.00 of additional Indebtedness pursuant to Section 4.07(a) hereof;

       (13)    [reserved];

        (14) the incurrence of Indebtedness arising from agreements of the Issuer or a
Restricted Subsidiary of the Issuer that is a Guarantor providing for indemnification,
adjustment of purchase price, earn outs, or similar obligations, in each case, incurred or
assumed in connection with the disposition or acquisition of any business, assets or a
Subsidiary in accordance with the terms of this Indenture, other than Guarantees of
Indebtedness incurred or assumed by any Person acquiring all or any portion of such
business, assets or Subsidiary for the purpose of financing such acquisition;

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               (15) the incurrence by the Issuer or any of its Restricted Subsidiaries that are
       Guarantors of additional Indebtedness or the issuance of Disqualified Stock or preferred
       equity in an aggregate principal amount (or accreted value, as applicable) or having an
       aggregate liquidation preference at any time outstanding not to exceed $10.0 million (it
       being understood that any Indebtedness, Disqualified Stock or preferred equity incurred
       pursuant to this clause (15) shall cease to be deemed incurred or outstanding for purposes
       of this Section 4.07 from and after the date on which the Issuer could have incurred such
       Indebtedness or Disqualified Stock or preferred equity under Section 4.07(a) hereof
       without reliance upon this clause (15)); provided, that any Indebtedness incurred by the
       Issuer or any Guarantor pursuant to this clause (15) that is secured shall be secured by
       liens solely on the Collateral on a junior basis to the Liens securing the Notes Obligations
       pursuant to the Notes Intercreditor Agreement;

               (16) the incurrence by the Issuer and the Guarantors (including any future
       Guarantor) of Indebtedness represented by the Existing Senior Notes and the related
       guarantees by the Guarantors thereof in an aggregate principal amount, together with
       Permitted Refinancing Indebtedness in respect thereof, not to exceed $930.0 million less
       the aggregate principal amount of Existing Senior Notes (or any Permitted Refinancing
       Indebtedness in respect thereof) prepaid (including, without limitation, pursuant to
       redemptions, offers to purchaser or open market purchases) other than from the proceeds
       of long term Indebtedness; provided, that any Liens securing such Indebtedness shall
       extend solely to the Collateral and shall be junior to the Liens securing the Notes
       Obligations pursuant to the Notes Intercreditor Agreement;

               (17)   [reserved];

               (18) Indebtedness of the Issuer or any Restricted Subsidiary of the Issuer
       supported by a letter of credit or bank guarantee issued pursuant to a Debt Facility, in a
       principal amount not in excess of the stated amount of such letter of credit or bank
       guarantee; provided, however, that the aggregate principal amount of Indebtedness
       outstanding under this clause (18), together with Indebtedness incurred under clause (4),
       in each case, by Restricted Subsidiaries that are not Guarantors, together with any
       Permitted Refinancing Indebtedness in respect thereof, shall not at any time exceed $5.0
       million; and

               (19) Indebtedness of the Issuer or any Restricted Subsidiary of the Issuer that is
       a Guarantor consisting of (x) the financing of insurance premiums or (y) take or pay
       obligations contained in supply arrangements, in each case, in the ordinary course of
       business.

                (c)     The Issuer will not incur, and will not permit any Guarantor to incur, any
Indebtedness (including Permitted Debt) that is contractually subordinated in right of payment to
any other Indebtedness of the Issuer or such Guarantor unless such Indebtedness is also
contractually subordinated in right of payment to the Notes and the applicable Note Guarantee on
substantially identical terms; provided, however, that no Indebtedness shall be deemed to be
contractually subordinated in right of payment to any other Indebtedness solely by virtue of
being unsecured or by virtue of being secured on a first or junior Lien basis.

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                 (d)     For purposes of determining compliance with this Section 4.07, in the
event that an item of proposed Indebtedness, Disqualified Stock or preferred equity meets the
criteria of more than one of the categories of Permitted Debt described in clauses (1) through
(19) above or is entitled to be incurred pursuant to Section 4.07(a) hereof, the Issuer will be
permitted to classify such item of Indebtedness, Disqualified Stock or preferred equity on the
date of its incurrence and will only be required to include the amount and type of such
Indebtedness, Disqualified Stock or preferred equity in one of the above clauses, although the
Issuer may divide and classify an item of Indebtedness, Disqualified Stock or preferred equity in
one or more of the types of Indebtedness, Disqualified Stock or preferred equity and may later
reclassify all or a portion of such item of Indebtedness, Disqualified Stock or preferred equity, in
any manner that complies with this Section 4.07; provided that all Indebtedness outstanding
under the Credit Agreement shall be incurred solely under Section 4.07(b)(1) and shall not later
be reclassified.

                 (e)     The accrual of interest or dividends, the accretion or amortization of
original issue discount, the payment of interest on any Indebtedness in the form of additional
Indebtedness with the same terms, the reclassification of preferred equity as Indebtedness due to
a change in accounting principles, the payment of dividends on Disqualified Stock or preferred
equity in the form of additional shares of the same class of Disqualified Stock or preferred equity
and unrealized losses or charges in respect of Hedging Obligations (including those resulting
from the application of Standards Codification No. 815—Derivatives and Hedging) will not be
deemed to be an incurrence of Indebtedness or an issuance of Disqualified Stock or preferred
equity for purposes of this Section 4.07; provided, in each such case (other than preferred stock
that is not Disqualified Stock), that the amount of any such accrual, accretion or payment is
included in Fixed Charges of the Issuer as accrued. Notwithstanding any other provision of this
Section 4.07, the maximum amount of Indebtedness that the Issuer or any Restricted Subsidiary
of the Issuer may incur pursuant to this Section 4.07 shall not be deemed to be exceeded solely
as a result of fluctuations in exchange rates or currency values.

                (f)     For purposes of determining compliance with any U.S. dollar denominated
restriction on the incurrence of Indebtedness where the Indebtedness incurred is denominated in
a different currency, the amount of such Indebtedness will be the U.S. Dollar Equivalent
determined on the date of the establishment of the facility or instrument under which such
Indebtedness was incurred; provided, however, that if such Indebtedness denominated in a
different currency is subject to a Currency Agreement with respect to U.S. dollars, covering all
principal, premium, if any, and interest payable on such Indebtedness, the amount of such
Indebtedness expressed in U.S. dollars will be as provided in such Currency Agreement. The
principal amount of any refinancing Indebtedness incurred in the same currency as the
Indebtedness being refinanced will be the U.S. Dollar Equivalent of the Indebtedness refinanced,
except to the extent that (i) such U.S. Dollar Equivalent was determined based on a Currency
Agreement, in which case the refinancing Indebtedness will be determined in accordance with
the preceding sentence, and (ii) the principal amount of the refinancing Indebtedness exceeds the
principal amount of the Indebtedness being refinanced, in which case the U.S. Dollar Equivalent
of such excess, as appropriate, will be determined on the date such refinancing Indebtedness is
incurred.

               (g)     The amount of any Indebtedness outstanding as of any date will be:

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               (1)    the accreted value of the Indebtedness, in the case of any Indebtedness
       issued with original issue discount; (2) the principal amount of the Indebtedness, in the
       case of any other Indebtedness; and

               (2)     in respect of Indebtedness of another Person secured by a Lien on the
       assets of the specified Person, the lesser of:

                       (A)     the Fair Market Value of such assets at the date of determination;
               and

                       (B)     the amount of the Indebtedness of the other Person.

                (h)      The Issuer will not permit any of its Unrestricted Subsidiaries to, directly
or indirectly, create, incur, issue, assume, guarantee or otherwise become directly or indirectly
liable, contingently or otherwise, with respect to any Indebtedness (including Acquired Debt),
and the Issuer will not permit any of its Unrestricted Subsidiaries to issue any Disqualified Stock
or to issue any shares of preferred equity.

Section 4.08   Asset Sales; Casualty Events.

             (a)    The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, consummate an Asset Sale unless:

              (1)      the Issuer (or the Restricted Subsidiary of the Issuer, as the case may be)
       receives consideration at the time of the Asset Sale at least equal to the Fair Market Value
       (such Fair Market Value to be determined on the date of contractually agreeing to such
       Asset Sale) of the assets or Equity Interests issued or sold or otherwise disposed of;

               (2)    at least 75% of the consideration received from such Asset Sale by the
       Issuer or such Restricted Subsidiary is in the form of cash or Cash Equivalents, or any
       combination thereof. For purposes of this provision, each of the following shall be
       deemed to be cash:

                       (A)     any liabilities of the Issuer or any Restricted Subsidiary of the
               Issuer (other than (x) contingent liabilities and (y) liabilities that are (i) by their
               terms subordinated to the Notes or any Note Guarantee, (ii) unsecured or (iii)
               secured by any Collateral on a junior basis to the Notes (other than ABL
               Obligations, so long as the commitments with respect thereto are permanently
               reduced)) that are assumed by the transferee of any such assets and as a result of
               which the Issuer or such Restricted Subsidiary is released from further liability;

                       (B)    any securities, notes, other obligations or assets received by the
               Issuer or any such Restricted Subsidiary from such transferee that are converted
               by the Issuer or such Restricted Subsidiary into cash or Cash Equivalents within
               180 days of the receipt thereof, to the extent of the cash or Cash Equivalents
               received in that conversion;



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                       (C)     any Designated Non−cash Consideration received by the Issuer or
               any of its Restricted Subsidiaries in such Asset Sale; provided that the aggregate
               Fair Market Value of such Designated Non−cash Consideration, taken together
               with the Fair Market Value at the time of receipt of all other Designated
               Non−cash Consideration received pursuant to this clause (C) less the amount of
               Net Proceeds previously realized in cash from prior Designated Non−cash
               Consideration is less than $10.0 million (with the Fair Market Value of each item
               of Designated Non−cash Consideration being measured at the time received and
               without giving effect to subsequent changes in value); and

                       (D)     accounts receivable of a business retained by the Issuer or any of
               its Restricted Subsidiaries, as the case may be, following the sale of such
               business; provided that such accounts receivable (i) are not past due more than 90
               days and (ii) do not have a payment date greater than 120 days from the date of
               the invoices creating such accounts receivable; and

                      (E)     any Capital Stock or assets of the kind referred to in
               Section 4.08(b)(1)(F), (G) or (H).

               (3)   if such Asset Sale involves the disposition of Collateral, the Issuer or such
       Restricted Subsidiary has complied with the provisions of this Indenture and the Security
       Documents; and

               (4)     if such Asset Sale involves the disposition of Notes Priority Collateral or,
       after the discharge of ABL Obligations, the disposition of ABL Facility Priority
       Collateral, and, if any property other than cash or Cash Equivalents is included in such
       Net Proceeds, such property shall be made subject to the Note Liens.

              (b)      Within 90 days after the receipt of any Net Proceeds from an Asset Sale or
Casualty Event, the Issuer (or the applicable Restricted Subsidiary of the Issuer, as the case may
be) may:

               (1)    apply such Net Proceeds, at its option:

                       (A)     to the extent such Net Proceeds constitute proceeds from the sale
               of or casualty event with respect to ABL Facility Priority Collateral, to repay
               Indebtedness under the Credit Agreement secured by such ABL Facility Priority
               Collateral;

                      (B)     to the extent such Net Proceeds constitute proceeds from the sale
               of Notes Priority Collateral, to permanently repay the Notes;

                      (C)     [reserved];

                       (D)    if the assets subject of such Asset Sale or Casualty Event do not
               constitute Collateral, to permanently reduce (or offer to reduce) Obligations under
               the Notes; provided that all reductions of or offers to reduce Obligations under the
               Notes shall be made pursuant to and in compliance with Section 3.07 or through

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               open−market purchases (to the extent such purchases are at or above 100.0% of
               the principal amount thereof) or by making an offer (in accordance with the
               procedures set forth below for an Asset Sale Offer) to all Holders to purchase
               their Notes at 100.0% of the principal amount thereof, plus the amount of accrued
               but unpaid interest, if any, on the amount of Notes to be repurchased;

                        (E)   if the assets subject of such Asset Sale or Casualty Event are the
               property or assets of a Restricted Subsidiary of the Issuer that is not a Guarantor,
               (i) to permanently reduce Indebtedness of such Restricted Subsidiary to the extent
               required by indebtedness of such non-Guarantor (and to correspondingly and
               permanently reduce commitments with respect thereto), other than Indebtedness
               owed to the Issuer or another Restricted Subsidiary of the Issuer or (ii) to
               permanently reduce (or offer to reduce) Obligations under the Notes;

                       (F)    to acquire all or substantially all of the assets of, or any Capital
               Stock of, another Permitted Business; provided, that in the case of any such
               acquisition of Capital Stock, such Person is or becomes a Restricted Subsidiary of
               the Issuer;

                       (G)     to acquire other short− or long−term assets that are not classified
               as current assets under GAAP and that are used or useful in a Permitted Business;
               or

                       (H)    to invest in Additional Assets; or

               (2)      enter into a binding commitment to apply the Net Proceeds pursuant to
       Section 4.08(b)(1)(F), (G) or (H), provided that such binding commitment shall be treated
       as a permitted application of the Net Proceeds from the date of such commitment until
       the earlier of (x) the date on which such acquisition or expenditure is consummated, and
       (y) the 45th day following the expiration of the aforementioned 90 day period.

        In the case of Section 4.08(b)(1)(F), (G) and (H), the assets acquired with the Net
Proceeds from an Asset Sale of, or Casualty Event with respect to, assets constituting Collateral
(or assets received in exchange therefor pursuant to Section 4.08(a)(2)) shall be pledged as
Collateral under the Security Documents.

                (c)   The Issuer shall segregate and hold any Net Proceeds pending the final
application of such Net Proceeds in accordance with Section 4.08.

               (d)     Any Net Proceeds from Asset Sales or Casualty Events that are not
applied or invested as provided in Section 4.08(b) will constitute “Excess Proceeds.” Not later
than the 91st day (or such later date as permitted by Section 4.08(b)(2)) from the later of the date
of such Asset Sale or the receipt of such Net Proceeds or receipt of Net Proceeds from any
Casualty Event, if the aggregate amount of Excess Proceeds exceeds $10.0 million, within ten
Business Days thereof, the Issuer will make an offer to all Holders of Notes (an “Asset Sale
Offer”) to purchase the maximum principal amount of Notes that may be purchased out of the
Excess Proceeds. The offer price in any Asset Sale Offer will be equal to 100% of the principal
amount plus accrued and unpaid interest, if any, to, but excluding, the date of purchase and will
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be payable in cash. If any Excess Proceeds remain after consummation of an Asset Sale Offer,
the Issuer or any Restricted Subsidiary of the Issuer may use those Excess Proceeds for any
purpose not otherwise prohibited by this Indenture. If the aggregate principal amount of Notes
tendered into such Asset Sale Offer exceeds the amount of Excess Proceeds, the Trustee will
select the Notes to be purchased on a pro rata basis. Upon completion of each Asset Sale Offer,
the amount of Excess Proceeds will be reset at zero.

               (e)     The Issuer will comply with the requirements of Rule 14e−1 under the
Exchange Act and any other securities laws and regulations thereunder to the extent those laws
and regulations are applicable in connection with each repurchase of Notes pursuant to an Asset
Sale Offer. To the extent that the provisions of any securities laws or regulations conflict with
the Asset Sale provisions of this Indenture, the Issuer will comply with the applicable securities
laws and regulations and will not be deemed to have breached its obligations under the Asset
Sale provisions of this Indenture by virtue of such compliance.

                (f)      Not later than the date upon which written notice of an Asset Sale Offer is
delivered to the Trustee as provided above, the Issuer shall deliver to the Trustee an Officer’s
Certificate as to (i) the amount of the Excess Proceeds, (ii) the allocation of the Net Proceeds
from the Asset Sales and/or Casualty Events pursuant to which such Asset Sale Offer is being
made and (iii) the compliance of such allocation with the provisions of this Section 4.08. Upon
the expiration of the period for which the Asset Sale Offer remains open (the “Offer Period”),
the Issuer shall deliver to the Trustee for cancellation the Notes or portions thereof that have
been properly tendered to and are to be accepted by the Issuer. No later than one Business Day
preceding any date of purchase, the Issuer shall deposit with the Trustee (or a Paying Agent, if
not the Trustee) the purchase price for the tendered Notes and the Trustee (or a Paying Agent, if
not the Trustee) shall, on the date of purchase, mail or deliver payment to each tendering Holder
in the amount of the purchase price. In the event that the Excess Proceeds delivered by the Issuer
to the Trustee is greater than the purchase price of the Notes tendered, the Trustee shall deliver
the excess to the Issuer immediately after the expiration of the Offer Period for application in
accordance with this Section 4.08.

                (g)     Holders electing to have a Note purchased shall be required to surrender
the Note, with the form entitled “Option of Holder to Elect Purchase” attached to the Note duly
completed, to the Issuer at the address specified in the notice at least three Business Days prior to
the purchase date. Holders shall be entitled to withdraw their election if the Trustee or the Issuer
receives not later than one Business Day prior to the purchase date, a telegram, telex, facsimile
transmission or letter setting forth the name of the Holder, the principal amount of the Note
which was delivered by the Holder for purchase and a statement that such Holder is withdrawing
his election to have such Note purchased. If at the end of the Offer Period more Notes are
tendered pursuant to an Asset Sale Offer than the Issuer is required to purchase, selection of such
Notes for purchase shall be made by the Trustee in compliance with the requirements of the
principal national securities exchange, if any, on which such Notes are listed, or if such Notes are
not so listed, on a pro rata basis, by lot or by such other method as the Trustee shall deem fair
and appropriate (and in such manner as complies with applicable legal requirements); provided
that no Notes of $1.00 or less shall be purchased in part.



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                 (h)    Notices of an Asset Sale Offer shall be mailed by the Issuer by first class
mail, postage prepaid, or otherwise delivered in accordance with the applicable procedures of
DTC, at least 30 but not more than 60 days before the purchase date to each Holder at such
Holder’s registered address. If any Note is to be purchased in part only, any notice of purchase
that relates to such Security shall state the portion of the principal amount thereof that is to be
purchased.

               (i)     A new Note in principal amount equal to the unpurchased portion of any
Note purchased in part shall be issued in the name of the Holder thereof upon cancellation of the
original Note. On and after the purchase date, unless the Issuer defaults in payment of the
purchase price, interest shall cease to accrue on Notes or portions thereof purchased.

Section 4.09   Transactions with Affiliates.

                (a)     The Issuer will not, and will not permit any of its Restricted Subsidiaries
to, make any payment to, or sell, lease, transfer or otherwise dispose of any of its properties or
assets to, or purchase any property or assets from, or enter into or make or amend any
transaction, contract, agreement, understanding, loan, advance or guarantee with, or for the
benefit of, any Affiliate of the Issuer (each, an “Affiliate Transaction”), involving aggregate
consideration in excess of $5.0 million, unless:

               (1)     the Affiliate Transaction is on terms that are not materially less favorable
       to the Issuer or the relevant Restricted Subsidiary than those that would have been
       obtained in a comparable transaction by the Issuer or such Restricted Subsidiary with an
       unrelated Person; and

               (2)      the Issuer delivers to the Trustee with respect to any Affiliate Transaction
       or series of related Affiliate Transactions involving aggregate consideration in excess of
       $40.0 million, a resolution of the Board of Directors of the Issuer certifying that such
       Affiliate Transaction complies with this Section 4.09 and that such Affiliate Transaction
       has been approved by a majority of the disinterested members, if any, of the Board of
       Directors of the Issuer.

                (b)     The following items will not be deemed to be Affiliate Transactions and,
therefore, will not be subject to the provisions of Section 4.09(a) hereof:

               (1)     any employment agreement, employee benefit plan, officer or director
       indemnification agreement or any similar arrangement entered into by the Issuer or any
       of its Restricted Subsidiaries in the ordinary course of business or consistent with past
       practice and payments pursuant thereto;

               (2)     transactions (including a merger) between or among the Issuer and/or any
       of its Restricted Subsidiaries;

               (3)     [reserved];




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        (4)     payment of reasonable fees to, and indemnity provided on behalf of,
officers, directors, employees or consultants of the Issuer or any of its Restricted
Subsidiaries or any direct or indirect parent of the Issuer;

        (5)     any contribution to the capital of the Issuer or any issuance of Equity
Interests (other than Disqualified Stock) of the Issuer to Affiliates of the Issuer or to any
director, officer, employee or consultant of the Issuer or any direct or indirect parent of
the Issuer, and the granting and performance of registration rights;

          (6)    Restricted Payments and Investments that do not violate Section 4.05
hereof;

          (7)    [reserved];

       (8)     loans or advances to employees or consultants in the ordinary course of
business or consistent with past practice;

          (9)    [reserved];

          (10)   [reserved];

        (11) the existence of, or the performance by the Issuer or any of its Restricted
Subsidiaries of its obligations under the terms of, any acquisition agreements or
members’ or stockholders’ agreement or related documents to which it is a party as of the
Issue Date and any amendment thereto or similar agreements which it may enter into
thereafter; provided, however, that the existence of, or the performance by the Issuer or
any of its Restricted Subsidiaries of its obligations under, any future amendment to any
such existing agreement or under any similar agreement entered into after the Issue Date
shall only be permitted by this clause (11) to the extent that the terms of any such existing
agreement, together with all amendments thereto, taken as a whole, or such new
agreement are not otherwise more disadvantageous to the Holders taken as a whole than
the original agreement as in effect on the Issue Date;

        (12) transactions with Unrestricted Subsidiaries, customers, clients, suppliers,
joint ventures, joint venture partners or purchasers or sellers of goods or services or
lessors or lessees of property, in each case in the ordinary course of business and
otherwise in compliance with the terms of this Indenture which are, in the aggregate
(taking into account all the costs and benefits associated with such transactions),
materially no less favorable to the Issuer or its Restricted Subsidiaries than those that
would have been obtained in a comparable transaction by the Issuer or such Restricted
Subsidiary with an unrelated Person, in the reasonable determination of the Board of
Directors of the Issuer or senior management of either of them, or are on terms at least as
favorable as might reasonably have been obtained at such time from an unaffiliated party;

          (13)   [reserved];

       (14) if such Affiliate Transaction is with a Person in its capacity as a holder of
Indebtedness or Capital Stock of the Issuer or any Restricted Subsidiary of the Issuer

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       where such Person is treated no more favorably than the holders of Indebtedness or
       Capital Stock of the Issuer or any Restricted Subsidiary of the Issuer;

              (15) transactions effected pursuant to agreements in effect on the Issue Date
       and any amendment, modification or replacement of such agreement (so long as such
       amendment or replacement is not materially more disadvantageous to the Holders, taken
       as a whole);

               (16)     [reserved];

               (17)     [reserved];

               (18)     intellectual property licenses in the ordinary course of business; and

              (19) transactions between the Issuer or any of its Restricted Subsidiaries and
       any Person, a director of which is also a director of the Issuer; provided, however, that
       such director abstains from voting as a director of the Issuer on any matter involving such
       other Person.

                (c)     Notwithstanding the foregoing in this Section 4.09 or anything else herein
to the contrary, the Issuer will not, and will not permit any Subsidiary of the Issuer to, directly or
indirectly, make any payment of, management, consulting, monitoring or advisory fees to the
Equity Investors.

Section 4.10   Liens.

                (a)      The Issuer will not, and will not permit any Restricted Subsidiary of the
Issuer to, directly or indirectly, create, incur or assume any Lien (other than Permitted Liens) on
any asset or property of the Issuer or such Restricted Subsidiary that secures any Indebtedness of
the Issuer or such Restricted Subsidiary or any related Guarantees.

                (b)     For purposes of determining compliance with this Section 4.10, (i) a Lien
need not be incurred solely by reference to one category of Permitted Liens described in the
definition thereof but is permitted to be incurred in part under any combination thereof and of
any other available exemption and (ii) in the event that a Lien (or any portion thereof) meets the
criteria of one of more of the categories of Permitted Liens, the Issuer will, in its sole discretion,
be entitled to divide, classify or reclassify, in whole or in part, any such Lien (or any portion
thereof) among one or more of such categories or clauses in any manner.

Section 4.11   Claims Settlements and Payments.

               (a)     Holdings and the Issuer shall not, and shall not permit any Restricted
Subsidiary of the Issuer or Holdings to, directly or indirectly, settle any litigation and/or claims
arising from or related to the Port Neches Incident in an amount exceeding the Specified
Settlement Amount; provided, that such settlements may exceed the Specified Settlement
Amount in an amount not to exceed the Port Neches Company Allocation of Proceeds.



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                (b)    Holdings and the Issuer shall not, and shall not permit any Restricted
Subsidiary of the Issuer or Holdings to, directly or indirectly, make payments in respect of
litigation and/or claims arising from or related to the Port Neches Incident and costs and
expenses related thereto (including, without limitation, fees and expenses of counsel) in an
amount exceeding the Specified Settlement Amount; provided, that such payments may exceed
the Specified Settlement Amount in an amount not to exceed the Port Neches Company
Allocation of Proceeds.

Section 4.12   Offer to Repurchase Upon Change of Control.

                 (a)     Upon the occurrence of a Change of Control, the Issuer will make an offer
(a “Change of Control Offer”) to each Holder to repurchase all or any part (equal to $1.00 or an
integral multiple of $1.00 in excess of $1.00) of that Holder’s Notes at a purchase price in cash
equal to 101% of the aggregate principal amount of Notes repurchased plus accrued and unpaid
interest, if any, on the Notes repurchased to, but not including, the date of purchase, subject to
the rights of Holders on the relevant record date to receive interest due on the relevant interest
payment date (the “Change of Control Payment”). Within 30 days following any Change of
Control, except to the extent that the Issuer has exercised its right to redeem the Notes in
accordance with Article 3 of this Indenture, the Issuer will mail a notice to each Holder or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, describing the transaction or transactions that constitute the Change of Control and
stating:

              (1)     that the Change of Control Offer is being made pursuant to this
       Section 4.12 and that all Notes properly tendered pursuant to such Change of Control
       Offer will be accepted for payment;

               (2)    the purchase price and the purchase date, which shall be no earlier than 15
       days and no later than 60 days from the date such notice is mailed or otherwise delivered
       in accordance with the applicable procedures of DTC (the “Change of Control Payment
       Date”);

               (3)    that any Note not tendered will continue to accrue interest;

               (4)    that, unless the Issuer defaults in the payment of the Change of Control
       Payment, all Notes accepted for payment pursuant to the Change of Control Offer will
       cease to accrue interest after the Change of Control Payment Date;

               (5)      that Holders electing to have any Notes purchased pursuant to a Change of
       Control Offer will be required to surrender the Notes, with the form entitled “Option of
       Holder to Elect Purchase” attached to the Notes completed, or transfer by book−entry
       transfer, to the Trustee at the address specified in the notice prior to the close of business
       on the third Business Day preceding the Change of Control Payment Date;

               (6)     that Holders will be entitled to withdraw their election if the Trustee
       receives, not later than the close of business on the second Business Day preceding the
       Change of Control Payment Date, a telegram, telex, facsimile transmission or letter
       setting forth the name of the Holder, the principal amount of Notes delivered for
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          purchase, and a statement that such Holder is withdrawing his election to have the Notes
          purchased; and

                  (7)    that Holders whose Notes are being purchased only in part will be issued
          new Notes equal in principal amount to the unpurchased portion of the Notes
          surrendered, which unpurchased portion must be equal to $1.00 in principal amount or an
          integral multiple of $1.00 in excess of $1.00.

               The Issuer will comply with the requirements of Rule 14e−1 under the Exchange
Act and any other securities laws and regulations thereunder to the extent those laws and
regulations are applicable in connection with the repurchase of the Notes as a result of a Change
of Control. To the extent that the provisions of any securities laws or regulations conflict with
the provisions of this Section 4.12 hereof, the Issuer will comply with the applicable securities
laws and regulations and will not be deemed to have breached its obligations under this
Section 4.12 by virtue of such compliance.

               (b)    On the Business Day immediately preceding the Change of Control
Payment Date, the Issuer will, to the extent lawful, deposit with the Paying Agent an amount
equal to the Change of Control Payment in respect of all Notes or portions of Notes accepted for
payment.

                 (c)     On the Change of Control Payment Date, the Issuer will, to the extent
lawful:

                 (1)     accept for payment all Notes or portions of Notes (in a minimum principal
          amount of $1.00 and integral multiples of $1.00 in excess of $1.00) properly tendered
          pursuant to the Change of Control Offer and not properly withdrawn; and

                 (2)     deliver or cause to be delivered to the Trustee the Notes properly accepted
          together with an Officer’s Certificate stating the aggregate principal amount of Notes or
          portions of Notes being purchased by the Issuer.

                The Paying Agent will promptly mail or otherwise deliver in accordance with the
applicable procedures of DTC to each Holder properly tendered the Change of Control Payment
for such Notes, and the Trustee, upon receipt of an Authentication Order, will promptly
authenticate and mail or otherwise deliver in accordance with the applicable procedures of DTC
(or cause to be transferred by book entry) to each Holder a new Note equal in principal amount
to any unpurchased portion of the Notes surrendered, if any; provided, that each new Note will
be in a principal amount of $1.00 or an integral multiple of $1.00 in excess of $1.00. The Issuer
will publicly announce the results of the Change of Control Offer on or as soon as reasonably
practicable after the Change of Control Payment Date.

                (d)    In the event that Holders of not less than 90% in aggregate principal
amount of the outstanding Notes accept a Change of Control Offer, Alternate Offer or other
tender offer to purchase all of the Notes and the Issuer (or any third party making such Change of
Control Offer, Alternate Offer or other tender offer to purchase all of the Notes in lieu of the
Issuer) purchases all of the Notes held by such Holders, the Issuer shall have the right, upon not
less than 15 nor more than 60 days prior notice, given not more than 15 days following the
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purchase pursuant to the Change of Control Offer, Alternate Offer or other tender offer to
purchase all of the Notes, to redeem all of the Notes that remain outstanding following such
purchase at a redemption price in cash equal to the price offered to each other Holder in the
Change of Control Offer, Alternate Offer or other tender offer plus, to the extent not included in
the Change of Control Offer, Alternate Offer or other tender offer, accrued and unpaid interest, if
any on the Notes that remain outstanding, to, but excluding, to the date of redemption (subject to
the right of Holders of record on the relevant record date to receive interest due on the relevant
interest payment date).

                (e)      Notwithstanding anything to the contrary in this Section 4.12, the Issuer
will not be required to make a Change of Control Offer upon a Change of Control if (1) a third
party makes the Change of Control Offer in the manner, at the times and otherwise in
compliance with the requirements set forth in this Section 4.12 and purchases all Notes properly
tendered and not withdrawn under the Change of Control Offer, (2) notice of redemption of all
outstanding Notes has been previously or is concurrently electronically delivered or mailed
pursuant to Section 3.03 hereof, unless and until there is a default in payment of the applicable
redemption price or (3) in connection with or in contemplation of any Change of Control, the
Issuer has made an offer to purchase (an “Alternate Offer”) any and all Notes validly tendered at
a cash price equal to or higher than the Change of Control Payment and has purchased all Notes
properly tendered in accordance with the terms of the Alternate Offer. Notwithstanding anything
to the contrary contained in this Indenture, a Change of Control Offer or an Alternate Offer may
be made in advance of a Change of Control, conditioned upon the consummation of such Change
of Control, if a definitive agreement is in place for the Change of Control at the time the Change
of Control Offer or the Alternate Offer is made. The closing date of any such Change of Control
Offer or any such Alternate Offer made in advance of a Change of Control may be changed to
conform to the actual closing date of the Change of Control; provided that such closing date is
not earlier than 15 days nor later than 60 days from the date the Change of Control Offer notice
is sent as described in Section 4.12(a) hereof, subject to the extension in the event of a
conditional offer.

               (f)     The Issuer’s obligation to make a Change of Control Offer pursuant to this
Section 4.12 may be waived or modified or terminated with the written consent of the Holders of
a majority in principal amount of the Notes then outstanding (including consents obtained in
connection with a tender offer or exchange offer for the Notes) prior to the occurrence of such
Change of Control.

Section 4.13   [Reserved].

Section 4.14   Additional Note Guarantees.

                 If any Restricted Subsidiary of the Issuer (other than any Excluded Subsidiary)
that is not already a Guarantor Guarantees any Debt Facilities of the Issuer (or any other
Restricted Subsidiary) or otherwise is or becomes a primary obligor under any Debt Facilities,
then such Restricted Subsidiary will become a Guarantor and execute a supplemental indenture
substantially in the form of Exhibit D hereto and the applicable Security Documents or joinders
or supplements thereto and deliver an Opinion of Counsel and Officer’s Certificate required by
this Indenture to the Trustee within 30 days of the date on which it was acquired or created;

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provided that this Section 4.14 shall not be applicable to any Guarantee of any Restricted
Subsidiary of the Issuer that existed at the time such Person became a Restricted Subsidiary of
the Issuer and was not incurred in connection with, or in contemplation of, such Person
becoming a Restricted Subsidiary of the Issuer.

Section 4.15   Unrestricted Subsidiaries.

                The Board of Directors of the Issuer may not designate any additional Subsidiary
of the Issuer to be an Unrestricted Subsidiary.

Section 4.16   Changes in Covenants upon Notes being Rated Investment Grade.

                (a)     During any period of time and beginning on the day that (a) the Notes
have an Investment Grade Rating and (b) no Default or Event of Default has occurred and is
continuing under this Indenture, the Issuer and its Restricted Subsidiaries will not be subject to
the covenants contained in Sections 4.05, 4.06, 4.07, 4.08, 4.09, 4.14 (but only with respect to
any Person that is required to become a Guarantor after the commencement of the applicable
suspension date), 4.15 and 5.01(a)(4) (collectively, the “Suspended Covenants”) shall terminate.
If the Issuer and its Restricted Subsidiaries are not subject to these covenants for any period of
time as a result of the previous sentence (a “Fall−Away Period”) and, subsequently, the ratings
assigned to the Notes are withdrawn or downgraded so the Notes no longer have an Investment
Grade Rating or an Event of Default (other than with respect to a Suspended Covenant) occurs
and is continuing, then the Issuer and its Restricted Subsidiaries will thereafter again be subject
to these covenants. The ability of the Issuer and its Restricted Subsidiaries to make Restricted
Payments after the time of such withdrawal, downgrade or Event of Default will be calculated as
if the covenant governing Restricted Payments had been in effect during the entire period of time
from the Issue Date. Notwithstanding the foregoing, the continued existence after the end of the
Fall−Away Period of facts and circumstances or obligations arising from transactions that
occurred during a Fall−Away Period shall not constitute a breach of any covenant set forth in this
Indenture or cause an Event of Default hereunder. Promptly after the commencement of the
Fall-Away Period, the Issuer shall deliver to the Trustee an Officer’s Certificate certifying to
such event.

                (b)     Neither the Trustee nor any Agent shall have any liability or responsibility
with respect to, or obligation or duty to monitor, determine or inquire (i) as to the Issuer’s or any
Guarantor’s compliance with any covenant under this Indenture (other than the covenant to make
payment on the Notes), (ii) as to whether or not the rating of the Notes has been adjusted, or
(iii) as to whether or not a Fall−Away Period has occurred or is continuing.

Section 4.17   Further Assurances, Instruments and Acts.

                (a)    The Issuer shall execute and deliver such further instruments and do such
further acts as may be reasonably necessary or proper to carry out more effectively the purpose
of this Indenture.

               (b)      The Issuer and the Guarantors shall execute and deliver such additional
instruments, certificates or documents, and take all such actions as may be reasonably required
from time to time in order to:
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               (1)     carry out more effectively the purposes of the Security Documents;

              (2)     create, grant, perfect and maintain the validity, effectiveness and priority
       of any of the Security Documents and the Liens created, or intended to be created, by the
       Security Documents; and

              (3)     ensure the protection and enforcement of any of the rights granted or
       intended to be granted to the Trustee under any other instrument executed in connection
       therewith.

Section 4.18   Real Property.

                The Issuer shall notify the Collateral Agent in writing within 30 days after the
acquisition of any real property owned by the Issuer or any Guarantor that has a fair market
value in excess of $5,000,000 that is not subject to the existing Mortgages (the “After−Acquired
Real Property”), and, within 180 days after the acquisition of such owned real property, as such
date may be extended by the Collateral Agent, deliver to the Collateral Agent, with respect to
such owned real property, each of the documents described in Section 4.19 hereof and such other
documents as may be reasonably necessary or requested by the Collateral Agent to evidence the
Liens contemplated by this Indenture and the Mortgages.

Section 4.19   Post-Closing Matters.

                The Issuer and the Guarantors shall deliver to the Collateral Agent within 180
days after the Issue Date (or such longer period as the Collateral Agent shall agree), to the extent
not previously provided, each of the following documents with respect to the Notes Priority
Collateral, as appropriate:

               (a)     Mortgages. With respect to each Mortgaged Property, counterparts of a
Mortgage, together with the assignments of leases and rents referred to therein, in proper form
for recording in the appropriate recording office of the political subdivision where such
Mortgaged Property is located, duly executed and acknowledged by the Issuer or the applicable
Guarantor effective to create a valid and enforceable first-priority (with respect to Notes Priority
Collateral and subject to the Notes Intercreditor Agreement and the ABL Intercreditor
Agreement) mortgage Lien, subject to no Liens other than Permitted Liens, on each Mortgaged
Property, except that to the extent such Mortgaged Property is located in a jurisdiction which
imposes mortgage recording taxes, intangible taxes, documentary taxes or other similar fees and
charges, the subject Mortgage shall only secure an amount equal to the fair market value of such
Mortgaged Property as reasonably determined, in good faith, by the Issuer and such other
instruments necessary to grant the interests purported to be granted by such Mortgage (and to
record such Mortgage in the appropriate recording offices) under the laws of any applicable
jurisdiction.

                (b)    Title Insurance. With respect to each Mortgage encumbering any
Mortgaged Property, a policy of title insurance (or commitment to issue such a policy to be
followed by the delivery of such policy of title insurance within a reasonable time) in an amount
not to exceed the fair market value of such Mortgaged Property as reasonably determined, in
good faith, by the Issuer (such policies collectively, the “Mortgage Policies”) issued by any title
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insurance company (the “Title Company”), insuring (or committing to insure) that such
Mortgage constitutes a valid and enforceable first-priority (with respect to Notes Priority
Collateral and subject to the Notes Intercreditor Agreement and the ABL Intercreditor
Agreement) mortgage Lien on the respective Mortgaged Property, free and clear of all Liens
other than Permitted Liens, which Mortgage Policies shall (A) not include the general title
exception for mechanics’ liens and (B) provide for such affirmative insurance as is commercially
reasonable and which is available in the applicable jurisdiction at commercially reasonable rates.

                (c)     Surveys. With respect to each Mortgaged Property, the Issuer shall deliver
all surveys as reasonably necessary, certified to the Collateral Agent for its benefit, for the
benefit of the Trustee, for the benefit of the Holders and for the benefit of the Title Company,
prepared by an independent professional licensed land surveyor or an affidavit of “no change”
executed by the Issuer with respect to any existing survey, sufficient for the Title Company to
delete the survey exception (if permitted in the relevant jurisdiction) and issue
a “same-as-survey” endorsement to the Mortgage Policies to the extent such endorsement is
available in the relevant jurisdiction at commercially reasonable rates.

                 (d)    Fixture Filings. With respect to each Mortgaged Property, to the extent the
Mortgages are not sufficient to qualify as a fixture filing under applicable laws of the
jurisdiction, a copy of a filed UCC-1 in the jurisdiction in which such Mortgaged Property is
located in order to perfect the Lien on and security interest in the fixtures encumbered by the
applicable Mortgage in favor of the Collateral Agent for its benefit and the benefit of the Trustee
and the Holders.

                (e)      Title Insurance Documents. With respect to each Mortgaged Property,
such affidavits, certificates, information and instruments as shall be reasonably and customarily
required to induce the Title Company to issue the Mortgage Policies.

              (f)      Collateral Fees and Expenses. Evidence of payment by the Issuer of all
search and examination charges, escrow charges and related charges, title insurance premiums,
filing, documentary, stamp, intangible and mortgage recording taxes, fees, charges, costs and
expenses required for the recording of the Mortgages, fixture filings and issuance of the
Mortgage Policies and endorsements required pursuant to clause (b) above.

                (g)    Real Estate Opinion Letter. The opinion of counsel to the Issuer in the
jurisdiction in which a Mortgaged Property is located, dated as of the date of the Mortgages and
addressed to the Collateral Agent, the Trustee and the Collateral Agent, in form and substance
reasonably satisfactory to the Collateral Agent, relating to the enforceability of the Mortgages.

Section 4.20   [Reserved].

Section 4.21   Business of Holdings.

                 Holdings shall not engage in any business activities or have any assets or
liabilities other than its ownership of the Capital Stock of the Issuer and liabilities incidental
thereto and liabilities pursuant to the Credit Agreement and this Indenture.

Section 4.22   Limited Condition Transactions; Measuring Compliance.

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                (a)    With respect to any (i) Investment or acquisition, in each case, the
consummation by the Issuer or any Restricted Subsidiary of the Issuer of which is not
conditioned on availability of, or on obtaining, third-party financing for such Investment or
acquisition (whether by merger, amalgamation, consolidation or other business combination or
the acquisition of Capital Stock or otherwise) as applicable and (ii) redemption, repurchase,
defeasance, satisfaction and discharge or repayment of Indebtedness, Disqualified Stock or
preferred stock requiring irrevocable notice in advance of such redemption, repurchase,
defeasance, satisfaction and discharge or repayment (any transaction described in clauses (i) or
(ii), a “Limited Condition Transaction”), in each case for purposes of determining:

               (1)     whether any Indebtedness (including Acquired Debt), Disqualified Stock
       or preferred stock that is being incurred or issued in connection with such Limited
       Condition Transaction is permitted to be incurred in compliance with Section 4.07;

               (2)    whether any Lien being incurred in connection with such Limited
       Condition Transaction or to secure any such Indebtedness, Disqualified Stock or
       preferred stock is permitted to be incurred in accordance with Section 4.10;

              (3)    whether any other transaction undertaken or proposed to be undertaken in
       connection with such Limited Condition Transaction complies with the covenants or
       agreements contained in this Indenture or the Notes; and

              (4)     any calculation of the Fixed Charge Coverage Ratio, Net Income,
       Consolidated Net Income, and/or Consolidated Adjusted EBITDA and/or Total Assets
       and, whether a Default or Event of Default exists in connection with the foregoing,

       at the option of the Issuer, the date that the definitive agreement (or other relevant
       definitive documentation) for such Limited Condition Transaction is entered into (the
       “Transaction Agreement Date”) may be used as the applicable date of determination, as
       the case may be, in each case with such pro forma adjustments as are appropriate and
       consistent with the pro forma adjustment provisions set forth in the definition of “Fixed
       Charge Coverage Ratio” or “Consolidated Adjusted EBITDA” and if the Issuer or the
       Restricted Subsidiaries could have taken such action on the relevant Transaction
       Agreement Date in compliance with the applicable ratios or other provisions, such
       provisions shall be deemed to have been complied with. For the avoidance of doubt, if
       the Issuer elects to use the Transaction Agreement Date as the applicable date of
       determination in accordance with the foregoing, (a) such election may not be revoked, (b)
       any fluctuation or change in the Fixed Charge Coverage Ratio, Net Income, Consolidated
       Net Income, Consolidated Adjusted EBITDA or Total Assets of the Issuer, the target
       business, or assets to be acquired subsequent to the Transaction Agreement Date and
       prior to the consummation of such Limited Condition Transaction, will not be taken into
       account for purposes of determining whether any Indebtedness, Disqualified Stock,
       preferred stock or Lien that is being incurred or issued in connection with such Limited
       Condition Transaction is permitted to be incurred or issued or in connection with
       compliance by the Issuer or any of the Restricted Subsidiaries with any other provision of
       this Indenture or the Notes or any other action or transaction undertaken in connection
       with such Limited Condition Transaction and (c) until such Limited Condition

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       Transaction is consummated or the definitive agreements related thereto are terminated,
       such Limited Condition Transaction and all transactions proposed to be undertaken in
       connection therewith (including the incurrence of Indebtedness and Liens) will be given
       pro forma effect when determining compliance of other transactions (including the
       incurrence or issuance of Indebtedness, Disqualified Stock, preferred stock and Liens
       unrelated to such Investment, acquisition or repayment, repurchase or refinancing of
       Indebtedness) that are consummated after the Transaction Agreement Date and on or
       prior to the consummation of such Limited Condition Transaction and any such
       transactions (including any incurrence or issuance of Indebtedness, Disqualified Stock or
       preferred stock and the use of proceeds thereof) will be deemed to have occurred on the
       Transaction Agreement Date and outstanding thereafter for purposes of calculating any
       baskets or ratios under this Indenture after the date of such agreement and before the
       consummation of such Limited Condition Transaction; provided that for purposes of any
       such calculation of the Fixed Charge Coverage Ratio, consolidated interest expense will
       be calculated using an assumed interest rate for the Indebtedness to be incurred in
       connection with such Limited Condition Transaction based on the indicative interest
       margin contained in any financing commitment documentation with respect to such
       Indebtedness or, if no such indicative interest margin exists, as reasonably determined by
       the Issuer in good faith.

              (b)     Compliance with any requirement relating to absence of Default or Event
of Default may be determined as of the Transaction Agreement Date and not as of any later date
as would otherwise be required under this Indenture.

                (c)     In the event an item of Indebtedness, Disqualified Stock or preferred stock
(or any portion thereof) is incurred or issued or other transaction is undertaken on the same date
that any other item of Indebtedness, Disqualified Stock or preferred stock (or any portion
thereof) is incurred or issued, any other Lien is incurred or other transaction is undertaken, then
the Fixed Charge Coverage Ratio will be calculated with respect to such incurrence, issuance or
other transaction without regard to any other incurrence, issuance or transaction. Each item of
Indebtedness, Disqualified Stock or preferred stock that is incurred or issued and each other
transaction undertaken will be deemed to have been incurred, issued or taken first, to the extent
available, pursuant to the relevant Fixed Charge Coverage Ratio test.

                                           ARTICLE 5

                                         SUCCESSORS

Section 5.01   Consolidation, Amalgamation, Merger, or Sale of Assets.

                (a)     The Issuer will not, directly or indirectly: (i) consolidate, amalgamate or
merge with or into another Person; or (ii) sell, assign, transfer, convey or otherwise dispose of
(including by way of division) all or substantially all of the Issuer’s properties or assets
(determined on a consolidated basis for the Issuer and its Restricted Subsidiaries) in one or more
related transactions to another Person, unless:

               (1)     either:

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               (A)     the Issuer is the surviving entity; or

               (B)    the Person formed by or surviving any such consolidation or
       merger (if other than the Issuer) or to which such sale, assignment, transfer,
       conveyance or other disposition has been made is a corporation, partnership
       (including a master limited partnership) or limited liability company organized or
       existing under the laws of the United States, any state of the United States or the
       District of Columbia;

        (2)     the Person formed by or surviving any such consolidation or merger (if
other than the Issuer) or the Person to which such sale, assignment, transfer, conveyance
or other disposition has been made assumes all the obligations of the Issuer under the
Notes, this Indenture and the Security Documents pursuant a supplemental indenture and
amendments to the Security Documents;

       (3)     immediately after such transaction, no Default or Event of Default exists;

        (4)    the Issuer or the Person formed by or surviving any such consolidation or
merger (if other than the Issuer), or to which such sale, assignment, transfer, conveyance
or other disposition has been made would, on the date of such transaction after giving pro
forma effect thereto and any related financing transactions as if the same had occurred at
the beginning of the applicable four−quarter period be permitted to incur at least $1.00 of
additional Indebtedness pursuant to Section 4.07(a) hereof;

        (5)     the successor entity causes such amendments, supplements or other
instruments to be executed, delivered, filed and recorded, as applicable, in such
jurisdictions as may be required by applicable law to preserve and protect the Lien of the
Security Documents on the Collateral owned by or transferred to the successor entity;

        (6)     the Collateral owned by or transferred to the successor entity shall
(a) continue to constitute Collateral under this Indenture and the Security Documents,
(b) be subject to the Lien in favor of the Collateral Agent for the benefit of the Trustee
and the Holders, and (c) not be subject to any Lien other than Permitted Liens; and

        (7)     the property and assets of the Person which is merged or consolidated with
or into the successor entity, to the extent that they are property or assets of the types
which would constitute Collateral under the Security Documents, shall be treated as
after-acquired property and the successor entity shall take such action as may be
reasonably necessary to cause such property and assets to be made subject to the Lien of
the Security Documents in the manner and to the extent required in this Indenture; and

       (8)     the Issuer has delivered to the Trustee an Officer’s Certificate and an
Opinion of Counsel, each stating that such consolidation, amalgamation, merger, sale,
assignment, transfer, conveyance or other disposition and such supplemental indenture
and amendments comply with this Indenture and the Security Documents and that all
conditions precedent therein provided for relating to such transaction have been complied
with.


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                (b)     The Issuer shall not, directly or indirectly, lease all or substantially all of
the properties and assets of it and its Restricted Subsidiaries taken as a whole, in one or more
related transactions, to any other Person.

                (c)     This Section 5.01 will not apply to:

               (1)     a merger of the Issuer with an Affiliate solely for the purpose of
        reincorporating the Issuer under the laws of Canada or any province or territory thereof or
        the United States, any state of the United States or the District of Columbia; and

                (2)    any consolidation, amalgamation, merger, or any sale, assignment,
        transfer, conveyance, lease or other disposition of assets between or among the Issuer and
        any Guarantor.

Section 5.02    Successor Substituted.

                 Upon any consolidation or merger, or any sale, assignment, transfer, lease,
conveyance or other disposition of all or substantially all of the properties or assets of the Issuer,
in a transaction that is subject to, and that complies with the provisions of, Section 5.01 hereof,
the successor Person formed by such consolidation or into or with which the Issuer is merged or
to which such sale, assignment, transfer, lease, conveyance or other disposition is made shall
succeed to, and be substituted for (so that from and after the date of such consolidation, merger,
sale, assignment, transfer, lease, conveyance or other disposition, the provisions of this Indenture
referring to the “Issuer” shall refer instead to the successor Person and not to the Issuer), and
may exercise every right and power of the Issuer under this Indenture with the same effect as if
such successor Person had been named as the Issuer herein; provided, however, that the Issuer
shall not be relieved from the obligation to pay the principal of and interest on the Notes except
in the case of a sale of all or substantially all of the Issuer’s properties or assets in a transaction
that is subject to, and that complies with the provisions of, Section 5.01 hereof.

Section 5.03    Evidence to Be Given to Trustee.

               No consolidation, merger, sale, conveyance, transfer or lease shall be effective
unless the Trustee shall receive an Officer’s Certificate and an Opinion of Counsel as conclusive
evidence that any such consolidation, merger, sale, conveyance, transfer or lease and any such
assumption and, if a supplemental indenture is required in connection with such transaction, such
supplemental indenture, complies with the provisions of this Article 5.

                                              ARTICLE 6

                                   DEFAULTS AND REMEDIES

Section 6.01    Events of Default and Remedies.

                Each of the following is an “Event of Default”:

                (1)     default for 30 days in the payment when due of interest on the Notes;


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       (2)     default in the payment when due (at maturity, upon redemption or
otherwise) of the principal of, or Applicable Premium or any other premium, if any, on,
the Notes;

        (3)     failure by the Issuer or any of the Issuer’s Restricted Subsidiaries for 60
days after notice to the Issuer by the Trustee or the Holders of at least 25% in aggregate
principal amount of the Notes then outstanding voting as a single class to comply with
any of the other agreements in this Indenture or the Security Documents;

        (4)    default under any mortgage, indenture or instrument under which there
may be issued or by which there may be secured or evidenced any Indebtedness for
money borrowed by the Issuer or any of the Issuer’s Restricted Subsidiaries that are
Significant Subsidiaries or any group of the Issuer’s Restricted Subsidiaries that taken as
a whole would constitute a Significant Subsidiary of the Issuer (or the payment of which
is guaranteed by the Issuer or any of the Issuer’s Restricted Subsidiaries), whether such
Indebtedness or Guarantee now exists, or is created after the Issue Date (but excluding
Indebtedness owing to the Issuer or a Restricted Subsidiary of the Issuer), if that default:

              (A)     is caused by a failure to pay principal on such Indebtedness prior to
       the expiration of the grace period provided in such Indebtedness following the
       Stated Maturity of such Indebtedness (a “Payment Default”); or

               (B)    results in the acceleration of such Indebtedness prior to its Stated
       Maturity, and, in each case, the principal amount of any such Indebtedness,
       together with the principal amount of any other such Indebtedness under which
       there has been a Payment Default or the maturity of which has been so
       accelerated, aggregates $35.0 million or more;

        (5)    failure by the Issuer or any of the Issuer’s Restricted Subsidiaries that are
Significant Subsidiaries, or any group of the Issuer’s Restricted Subsidiaries that taken as
a whole would constitute a Significant Subsidiary, to pay final and non−appealable
judgments entered by a court or courts of competent jurisdiction aggregating in excess of
$35.0 million (net of any amounts which are covered by insurance or bonded), which
judgments are not paid, waived, satisfied, discharged or stayed for a period of 60 days;

        (6)     the Issuer or any of the Issuer’s Restricted Subsidiaries that is a Significant
Subsidiary or any group of the Issuer’s Restricted Subsidiaries that, taken together, would
constitute a Significant Subsidiary pursuant to or within the meaning of Bankruptcy Law:

               (A)     commences a voluntary case, or proceeding (including the filing of
       a notice of intention in respect thereof),

              (B)     consents to the entry of an order for relief against it in an
       involuntary case or proceeding,

              (C)   consents to the appointment of a custodian, receiver,
       receiver−manager, administrative receiver, administrator, liquidator, trustee,


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       liquidation custodian, sequestrator, conservator, or similar official of it or for all
       or substantially all of its property, or

               (D)     makes a general assignment for the benefit of its creditors;

      (7)    a court of competent jurisdiction enters an order or decree under any
Bankruptcy Law that:

              (A)     is for relief against the Issuer or any of the Issuer’s Restricted
       Subsidiaries that is a Significant Subsidiary or any group of the Issuer’s Restricted
       Subsidiaries that, taken together, would constitute a Significant Subsidiary in an
       involuntary case or proceeding;

                (B)    appoints a custodian, receiver, receiver−manager, administrative
       receiver, administrator, liquidator, trustee, liquidation custodian, sequestrator,
       conservator, or similar official of the Issuer or any of the Issuer’s Restricted
       Subsidiaries that is a Significant Subsidiary or any group of the Issuer’s Restricted
       Subsidiaries that, taken together, would constitute a Significant Subsidiary or for
       all or substantially all of the property of the Issuer or any of the Issuer’s
       Restricted Subsidiaries that is a Significant Subsidiary or any group of the Issuer’s
       Restricted Subsidiaries that, taken together, would constitute a Significant
       Subsidiary; or

               (C)    orders the liquidation, winding up, or dissolution or a suspension
       of payments against the Issuer or any of the Issuer’s Restricted Subsidiaries that is
       a Significant Subsidiary or any group of the Issuer’s Restricted Subsidiaries that,
       taken together, would constitute a Significant Subsidiary;

and the order or decree remains unstayed and in effect for 60 consecutive days;

        (8)     except as permitted by this Indenture, any Note Guarantee of any
Restricted Subsidiary of the Issuer that is a Significant Subsidiary or any group of the
Issuer’s Restricted Subsidiaries that taken as a whole would constitute a Significant
Subsidiary of the Issuer is held in any judicial proceeding to be unenforceable or invalid
or ceases for any reason to be in full force and effect (other than in accordance with the
terms of such Note Guarantee and this Indenture), or any Guarantor, or any Person acting
on behalf of any such Guarantor, denies or disaffirms its obligations under its Note
Guarantee and such Default continues for ten days;

         (9)     any (x) Security Document governing a security interest with respect to
any Collateral having a Fair Market Value in excess of $35.0 million or (y) obligation
under the Security Documents of the Issuer or any of the Issuer’s Restricted Subsidiaries
that is a Significant Subsidiary or any group of Restricted Subsidiaries of the Issuer that,
taken together as of the latest audited consolidated financial statements for the Issuer and
its Restricted Subsidiaries would constitute a Significant Subsidiary ceases to be in full
force and effect (except as contemplated by the terms of this Indenture and the Note
Guarantees and except for the failure of any security interest with respect to the Collateral
to remain in full force and effect, which is governed by clause (10) below) or is declared
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       null and void in a judicial proceeding or the Issuer or any Guarantor that is a Significant
       Subsidiary or group of Guarantors that taken together as of the latest audited consolidated
       financial statements of the Issuer and its Restricted Subsidiaries would constitute a
       Significant Subsidiary denies or disaffirms its obligations under this Indenture, its Note
       Guarantee or any Security Document and the Issuer fails to cause such Guarantor or
       Guarantors, as the case may be, to rescind such denials or disaffirmations within 60 days;

               (10) with respect to any Collateral having a Fair Market Value in excess of
       $35.0 million, individually or in the aggregate, (A) the failure of the security interest with
       respect to such Collateral under the Security Documents, at any time, to be in full force
       and effect, perfected and having the priorities set forth in the Intercreditor Agreements for
       any reason other than in accordance with their terms and the terms of this Indenture and
       other than the satisfaction in full of all obligations under this Indenture and discharge of
       this Indenture if such failure continues for 60 days or (B) the declaration that the security
       interest with respect to such Collateral created under the Security Documents or under
       this Indenture is invalid or unenforceable, if such Default continues for 60 days or (C) the
       assertion by the Issuer or any Guarantor, in any pleading in any court of competent
       jurisdiction, that any such security interest is invalid or unenforceable;

               (11) any of the Intercreditor Agreements shall cease, for any reason (other than
       by reason of the express release or termination thereof in accordance with the terms
       thereof or hereof) to be in full force and effect or shall be asserted in writing by the Issuer
       or any Guarantor not to be a legal, valid and binding obligation of any party thereof; and

               (12) failure by the Issuer or any of the Issuer’s Subsidiaries for 30 calendar
       days after notice to the Issuer and the Trustee by Holders then party to the Holder
       Agreement representing 25% in aggregate principal amount of the Notes then outstanding
       voting as a single class to comply with the Holder Agreement.

Section 6.02   Acceleration.

               (a)    In the case of an Event of Default specified in clause (6) or (7) of
Section 6.01 hereof, with respect to the Issuer or any Restricted Subsidiary of the Issuer that is a
Significant Subsidiary or any group of Restricted Subsidiaries of the Issuer that, taken together,
would constitute a Significant Subsidiary, all outstanding Notes (including the Redemption
Premium) will become due and payable immediately without further action or notice. If any
other Event of Default occurs and is continuing, the Trustee or the Holders of at least 25% in
aggregate principal amount of the then outstanding Notes may declare all the Notes (including
the Redemption Premium) to be due and payable immediately. Upon any such declaration, the
Notes (including the Redemption Premium) shall become due and payable immediately.

                (b)    In the event of any Event of Default specified in clause (4) of
Section 6.01, such Event of Default and all consequences thereof (excluding, however, any
resulting payment default) will be annulled, waived and rescinded, automatically and without
any action by the Trustee or the Holders, if within 20 days after such Event of Default arose the
Issuer delivers an Officer’s Certificate to the Trustee stating that (x) the Indebtedness or
Guarantee that is the basis for such Event of Default has been discharged or (y) the holders

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thereof have rescinded or waived the acceleration, notice or action (as the case may be) giving
rise to such Event of Default or (z) the default that is the basis for such Event of Default has been
cured, it being understood that in no event shall an acceleration of the principal amount of the
Notes as described in this Section 6.02 be annulled, waived or rescinded upon the happening of
any such events.

                 (c)      If the Notes are accelerated or otherwise become due prior to their
maturity date as a result of an Event of Default or by operation of law or an Applicable Premium
Event occurs, the principal of, accrued and unpaid interest and premium on the Notes subject to
such Applicable Premium Event shall be due and payable. If the Notes are accelerated or
otherwise become due prior to their maturity date, in each case, as a result of an Event of Default
or by operation of law or any Applicable Premium Event occurs prior to August 2, 2023, the
amount of principal of, accrued and unpaid interest and premium on the Notes that becomes due
and payable shall equal the redemption price applicable with respect to an optional redemption of
the Notes, in effect on the date of such acceleration, Applicable Premium Event or the date on
which the Notes otherwise become due as if such acceleration or other circumstance causing the
Notes to become due were an optional redemption of the Notes accelerated or becoming due (the
“Redemption Premium”). In any such case, the Redemption Premium shall constitute part of the
obligations payable by the Issuer (and guaranteed by the Guarantors) in respect of the Notes,
which obligations are secured by the Collateral, and constitutes liquidated damages, not
unmatured interest or a penalty, as the actual amount of damages to the holders as a result of the
relevant Applicable Premium Event would be impracticable and extremely difficult to ascertain.
Accordingly, the Redemption Premium is provided by mutual agreement of the Issuer and the
Guarantors and the holders of the Notes as a reasonable estimation and calculation of such actual
lost profits and other actual damages of such holders. Without limiting the generality of the
foregoing, it is understood and agreed that upon the occurrence of any Applicable Premium
Event, the Redemption Premium shall be automatically and immediately due and payable as
though any Notes subject to an Applicable Premium Event were voluntarily prepaid as of such
date and shall constitute part of the obligations payable by the Issuer (and guaranteed by the
Guarantors) in respect of the Notes, which obligations are secured by the Collateral. The
Redemption Premium shall also be automatically and immediately due and payable if the Notes
are satisfied, released or discharged by foreclosure (whether by power of judicial proceeding or
otherwise), deed in lieu of foreclosure or by any other means. THE ISSUER AND THE
GUARANTORS HEREBY EXPRESSLY WAIVE (TO THE FULLEST EXTENT THEY MAY
LAWFULLY DO SO) THE PROVISIONS OF ANY PRESENT OR FUTURE STATUTE OR
OTHER LAW THAT PROHIBITS OR MAY PROHIBIT THE COLLECTION OF THE
FOREGOING REDEMPTION PREMIUM IN CONNECTION WITH ANY SUCH EVENTS,
ANY RESCISSION OF SUCH ACCELERATION OR THE COMMENCEMENT OF ANY
BANKRUPTCY OR INSOLVENCY EVENT. The Issuer and the Guarantors expressly agree
(to the fullest extent it and they may lawfully do so) that with respect to the Redemption
Premium payable under the terms of the Indenture: (i) the Redemption Premium is reasonable
and is the product of an arm’s length transaction between sophisticated business parties, ably
represented by counsel; (ii) the Redemption Premium shall be payable notwithstanding the then-
prevailing market rates at the time payment is made; (iii) there has been a course of conduct
between the holders of the Notes and the Issuer and the Guarantors giving specific consideration
in this transaction for such agreement to pay the Redemption Premium; and (iv) the Issuer and
the Guarantors shall be estopped hereafter from claiming differently than as agreed to in this
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paragraph. The Issuer and the Guarantors expressly acknowledge that their agreement to pay the
Redemption Premium as herein described is a material inducement to the holders of the Notes to
purchase the Notes.

Section 6.03      Other Remedies.

                (a)    The Trustee may pursue any available remedy to collect the payment of
principal, Applicable Premium, any other premium and interest on the Notes or to enforce the
performance of any provision of the Notes, Note Guarantees or this Indenture, including giving
instructions to the Collateral Agent to take enforcement action in accordance with the terms of
the Security Documents.

               (b)     The Trustee may maintain a proceeding even if it does not possess any of
the Notes or does not produce any of them in the proceeding. A delay or omission by the Trustee
or any Holder in exercising any right or remedy accruing upon an Event of Default shall not
impair the right or remedy or constitute a waiver of or acquiescence in the Event of Default. All
remedies are cumulative to the extent permitted by law.

Section 6.04      Waiver of Past Defaults.

               Holders of not less than a majority in aggregate principal amount of the then
outstanding Notes by written notice to the Trustee may, on behalf of the Holders of all of the
Notes, rescind an acceleration or waive an existing Default or Event of Default and its
consequences hereunder except a continuing Default or Event of Default in the payment of
interest or Applicable Premium or any other premium on, or the principal of, the Notes. Upon
any such rescission or waiver, such Default shall cease to exist, and any Event of Default arising
therefrom shall be deemed to have been cured for every purpose of this Indenture; but no such
waiver shall extend to any subsequent or other Default or impair any right consequent thereon.

Section 6.05      Control by Majority.

                Holders of a majority in aggregate principal amount of the then outstanding Notes
may direct the time, method and place of conducting any proceeding for exercising any remedy
available to the Trustee or exercising any trust or power conferred on it. However, the Trustee
may refuse to follow any direction that conflicts with law or this Indenture that the Trustee
determines may be unduly prejudicial to the rights of other Holders or that may involve the
Trustee in personal liability.

Section 6.06      Limitation on Suits.

                  (a)     A Holder may pursue a remedy with respect to this Indenture or the Notes
only if:

                  (1)      such Holder has previously given the Trustee written notice that an Event
           of Default is continuing;

                  (2)    Holders of at least 25% in aggregate principal amount of the then
           outstanding Notes have requested the Trustee in writing to pursue the remedy;

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               (3)     such Holder or Holders offer and, if requested, provide to the Trustee
       security or indemnity satisfactory to the Trustee against any loss, liability or expense;

               (4)     the Trustee does not comply with the request within 60 days after receipt
       of the request and the offer of security or indemnity; and

              (5)     during such 60−day period, Holders of a majority in aggregate principal
       amount of the then outstanding Notes do not give the Trustee a written direction
       inconsistent with such request.

               (b)     A Holder may not use this Indenture to prejudice the rights of another
Holder or to obtain a preference or priority over another Holder.

Section 6.07   Rights of Holders to Receive Payment.

               Notwithstanding any other provision of this Indenture, the contractual right of any
Holder to bring suit for the payment of principal, Applicable Premium or any other premium, if
any, and interest on its Note, on or after the respective due dates expressed or provided for in
such Note , shall not be amended without the consent of such Holder.

Section 6.08   Collection Suit by Trustee.

                If an Event of Default specified in clauses (1) or (2) of Section 6.01 hereof occurs
and is continuing, the Trustee is authorized to recover judgment in its own name and as trustee of
an express trust against the Issuer for the whole amount of principal of, Applicable Premium or
any other premium, if any, and interest remaining unpaid on, the Notes and interest on overdue
principal and, to the extent lawful, interest and such further amount as shall be sufficient to cover
the costs and expenses of collection, including the reasonable compensation, expenses,
disbursements and advances of the Trustee, its agents and counsel.

Section 6.09   Trustee or Collateral Agent May File Proofs of Claim.

                The Trustee or the Collateral Agent is authorized to file such proofs of claim and
other papers or documents as may be necessary or advisable in order to have the claims of the
Trustee or the Collateral Agent (including any claim for the compensation, expenses,
disbursements and advances of the Trustee or the Collateral Agent, their agents and counsel) and
the Holders allowed in any judicial proceedings relative to the Issuer (or any other obligor upon
the Notes), its creditors or its property and shall be entitled and empowered to collect, receive
and distribute any money or other property payable or deliverable on any such claims and any
custodian in any such judicial proceeding is hereby authorized by each Holder to make such
payments to the Trustee or the Collateral Agent, and in the event that the Trustee shall consent to
the making of such payments directly to the Holders, to pay to the Trustee or the Collateral
Agent any amount due to it for the reasonable and documented compensation, expenses,
disbursements and advances of the Trustee or the Collateral Agent, their agents and counsel, and
any other amounts due the Trustee or the Collateral Agent under Section 7.07 hereof. To the
extent that the payment of any such compensation, expenses, disbursements and advances of the
Trustee or the Collateral Agent, their agents and counsel, and any other amounts due the Trustee
under Section 7.07 hereof out of the estate in any such proceeding, shall be denied for any

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reason, payment of the same shall be secured by a Lien on, and shall be paid out of, any and all
distributions, dividends, money, securities and other properties that the Holders may be entitled
to receive in such proceeding whether in liquidation or under any plan of reorganization or
arrangement or otherwise. Nothing herein contained shall be deemed to authorize the Trustee or
the Collateral Agent to authorize or consent to or accept or adopt on behalf of any Holder any
plan of reorganization, arrangement, adjustment or composition affecting the Notes or the rights
of any Holder, or to authorize the Trustee or the Collateral Agent to vote in respect of the claim
of any Holder in any such proceeding.

Section 6.10   Priorities.

                (a)     If the Trustee collects any money pursuant to this Article 6, it shall,
subject to the Intercreditor Agreements (to the extent applicable), pay out the money in the
following order:

               First: to the Trustee, the Collateral Agent, and each of their respective agents and
attorneys for amounts due hereunder or under any Security Document, including payment of all
compensation, expenses and liabilities incurred, and all advances made, by the Trustee and the
Collateral Agent and the costs and expenses of collection;

               Second: to Holders for amounts due and unpaid on the Notes for principal,
Applicable Premium, any other premium and interest, ratably, without preference or priority of
any kind, according to the amounts due and payable on the Notes for principal, Applicable
Premium, any other premium and interest, respectively; and

                Third: to the Issuer or to such party as a court of competent jurisdiction shall
direct in writing.

              (b)     The Trustee may fix a record date and payment date for any payment to
Holders pursuant to this Section 6.10.

Section 6.11   Undertaking for Costs.

                 In any suit for the enforcement of any right or remedy under this Indenture or in
any suit against the Trustee or the Collateral Agent for any action taken or omitted by it as a
Trustee or the Collateral Agent, a court in its discretion may require the filing by any party
litigant in the suit of an undertaking to pay the costs of the suit, and the court in its discretion
may assess reasonable costs, including reasonable attorneys’ fees and expenses against any party
litigant in the suit, having due regard to the merits and good faith of the claims or defenses made
by the party litigant. This Section 6.11 does not apply to a suit by the Trustee or the Collateral
Agent, a suit by a Holder pursuant to Section 6.07 hereof, or a suit by Holders of more than 10%
in aggregate principal amount of the then outstanding Notes.

                                            ARTICLE 7

                                             TRUSTEE

Section 7.01   Duties of Trustee.

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                (a)      If an Event of Default has occurred and is continuing, the Trustee will
exercise such of the rights and powers vested in it by this Indenture, and use the same degree of
care and skill in its exercise, as a prudent person would exercise or use under the circumstances
in the conduct of such person’s own affairs.

               (b)    Except during the continuance of an Event of Default:

               (1)     the duties of the Trustee will be determined solely by the express
       provisions of this Indenture and the Trustee need perform only those duties that are
       specifically set forth in this Indenture and no others, and no implied covenants or
       obligations shall be read into this Indenture against the Trustee; and

                (2)     in the absence of bad faith on its part, the Trustee may conclusively rely,
       as to the truth of the statements and the correctness of the opinions expressed therein,
       upon certificates or opinions furnished to the Trustee and conforming to the requirements
       of this Indenture. However, with respect to certificates or opinions specifically required
       by any provision hereof to be furnished to it, the Trustee will examine the certificates and
       opinions to determine whether or not they conform to the requirements of this Indenture
       (but need not confirm or investigate the accuracy of mathematical calculations or other
       facts stated therein).

                (c)    The Trustee may not be relieved from liabilities for its own negligent
action, its own negligent failure to act, or its own willful misconduct, except that:

               (1)    this Section 7.01(c) does not limit the effect of Section 7.01(b);

               (2)    the Trustee will not be liable for any error of judgment made in good faith
       by a Responsible Officer, unless it is proved that the Trustee was negligent in
       ascertaining the pertinent facts; and

               (3)    the Trustee will not be liable with respect to any action it takes or omits to
       take in good faith in accordance with a direction received by it pursuant to Sections 6.04
       and 6.05 hereof, relating to the time, method and place of conducting any proceeding for
       any remedy available to the Trustee, or exercising any trust or power conferred upon the
       Trustee, under this Indenture with respect to the Notes.

              (d)    No provision of this Indenture will require the Trustee to expend or risk its
own funds or incur any liability.

                (e)    The Trustee will not be liable for interest on or the investment of any
money received by it except as the Trustee may agree in writing with the Issuer. Money held in
trust by the Trustee need not be segregated from other funds except to the extent required by law.

                (f)    Whether or not therein expressly so provided, every provision of this
Indenture that in any way relates to the Trustee is subject to Section 7.01.

Section 7.02   Rights of Trustee.


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                (a)     The Trustee may conclusively rely and shall be fully protected in acting or
refraining from acting upon any resolution, certificate, statement, instrument, opinion, report,
notice, request, direction, consent, order, bond, debenture, note, other evidence of indebtedness
or other paper or document believed by it to be genuine and to have been signed or presented by
the proper Person.

                (b)    Before the Trustee acts or refrains from acting, it may require an Officer’s
Certificate or an Opinion of Counsel or both. The Trustee will not be liable for any action it takes
or omits to take in good faith in reliance on such Officer’s Certificate or Opinion of Counsel. The
Trustee may consult with counsel of its own selection and the advice of such counsel or any
Opinion of Counsel will be full and complete authorization and protection from liability in
respect of any action taken, suffered or omitted by it hereunder in good faith and in reliance
thereon.

               (c)     The Trustee may act through its attorneys and agents and will not be
responsible for the misconduct, negligence or failure to act of any attorney or agent appointed
with due care.

               (d)      The Trustee will not be liable for any action it takes, suffers or omits to
take in good faith that it believes to be authorized or within the discretion or rights or powers
conferred upon it by this Indenture.

                (e)    Unless otherwise specifically provided in this Indenture, any demand,
request, direction or notice from the Issuer or any Guarantor, as applicable, will be sufficient if
signed by an Officer of the Issuer or such Guarantor, as applicable.

                 (f)     The Trustee will be under no obligation to exercise any of the rights or
powers vested in it by this Indenture or the Security Documents at the request or direction of any
of the Holders unless such Holders have offered to the Trustee indemnity or security satisfactory
to it against the losses, liabilities and expenses that might be incurred by it in compliance with
such request or direction.

                 (g)     In no event shall the Trustee be responsible or liable for special, indirect,
punitive, or consequential loss or damage of any kind whatsoever (including, but not limited to,
loss of profit) irrespective of whether the Trustee has been advised of the likelihood of such loss
or damage and regardless of the form of action.

               (h)     The Trustee shall not be deemed to have notice of any Default or Event of
Default unless a Responsible Officer of the Trustee has actual knowledge thereof or unless
written notice of any event which is in fact such a default is received by the Trustee at the
Corporate Trust Office of the Trustee, and such notice references the Notes and this Indenture.

               (i)     The rights, privileges, protections, immunities and benefits given to the
Trustee, including, without limitation, its right to be indemnified, are extended to, and shall be
enforceable by, the Trustee in each of its capacities hereunder as Collateral Agent, Registrar and
Paying Agent, and each Agent, custodian and other Person employed to act hereunder.



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               (j)      The Trustee may request that the Issuer and each Guarantor deliver an
Officer’s Certificate setting forth the names of individuals and/or titles of Officers authorized at
such time to take specified actions pursuant to this Indenture, which Officer’s Certificate may be
signed by any Person authorized to sign an Officer’s Certificate, including any Person specified
as so authorized in any such certificate previously delivered and not superseded.

                 (k)    Notwithstanding any provision herein to the contrary, in no event shall the
Trustee be liable for any failure or delay in the performance of its obligations under this
Indenture because of circumstances beyond its control, including, but not limited to, nuclear or
natural catastrophes or acts of God, flood, war (whether declared or undeclared), terrorism, fire,
riot, strikes or work stoppages for any reason, embargo, government action, including any laws,
ordinances, regulations or the like which restrict or prohibit the providing of the services
contemplated by this Indenture, inability to obtain material, equipment, or communications or
computer (software and hardware) facilities, or the failure of equipment or interruption of
utilities, communications or computer (software and hardware) facilities, and other causes
beyond its control whether or not of the same class or kind as specifically named above.

                (l)     The Trustee shall not be bound to make any investigation into the facts or
matters stated in any resolution, certificate, statement, instrument, opinion, report, notice,
request, direction, consent, order, bond, debenture, note, other evidence of indebtedness or other
paper or document, but the Trustee, in its discretion, may make such further inquiry or
investigation into such facts or matters as it may see fit, and, if the Trustee shall determine to
make such further inquiry or investigation, it shall be entitled to examine the books, records and
premises of the Issuer, personally or by agent or attorney at the sole cost of the Issuer and shall
incur no liability or additional liability of any kind by reason of such inquiry or investigation.

              (m)      The Trustee shall not be required to give any bond or surety in respect of
the performance of its powers and duties hereunder.

               (n)     The permissive rights of the Trustee hereunder shall not be construed as
duties.

Section 7.03   Individual Rights of Trustee.

                The Trustee in its individual or any other capacity may become the owner or
pledgee of Notes and may otherwise deal with either Issuer or any Guarantor or any Affiliate of
either Issuer or any Guarantor with the same rights it would have if it were not Trustee.
However, in the event that the Trustee acquires any conflicting interest it must (i) eliminate such
conflict within 90 days or (ii) resign. Any Agent may do the same with like rights and duties.
The Trustee is also subject to Section 7.10 hereof.

Section 7.04   Trustee’s Disclaimer.

                 The Trustee will not be responsible for and makes no representation as to the
validity or adequacy of any offering materials, this Indenture, the Notes or any Note Guarantee,
it shall not be accountable for the Issuer’s use of the proceeds from the Notes or any money paid
to the Issuer or upon the Issuer’s direction under any provision of this Indenture, it will not be
responsible for the use or application of any money received by any Paying Agent other than the
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Trustee, and it will not be responsible for any statement or recital herein or any statement in the
Notes, any Note Guarantee or any other document in connection with the sale of the Notes or
pursuant to this Indenture other than its certificate of authentication.

Section 7.05   Notice of Defaults.

                 If a Default or Event of Default occurs and is continuing and if it is known to the
Trustee, the Trustee will mail or otherwise deliver in accordance with the applicable procedures
of DTC, to Holders a notice of the Default or Event of Default within 90 days after it occurs.
Except in the case of a Default or Event of Default in payment of principal of, Applicable
Premium, any other premium, if any, or interest on, any Note, the Trustee may and shall be
protected in withholding the notice if and so long as it in good faith determines that withholding
the notice is in the interests of the Holders.

Section 7.06   [Reserved].

Section 7.07   Compensation and Indemnity.

               (a)      The Issuer will pay to each of the Trustee and the Collateral Agent from
time to time such compensation, as agreed in writing from time to time, for its acceptance and
administration of this Indenture, the Intercreditor Agreement and/or the other the Security
Documents and services hereunder. The Trustee’s and the Collateral Agent’s compensation will
not be limited by any law on compensation of a trustee of an express trust. The Issuer will
reimburse each of the Trustee and the Collateral Agent promptly upon request for all reasonable
and documented disbursements, advances and expenses incurred or made by it in addition to the
compensation for its services. Such expenses will include the reasonable and documented
compensation, disbursements and expenses of each of the Trustee’s and the Collateral Agent’s
agents and counsel.

                (b)    The Issuer and each Guarantor, jointly and severally, will indemnify each
of the Trustee, the Collateral Agent and their respective officers, agents, directors and employees
and hold each of them harmless from and against any and all losses, liabilities, claims, damages,
costs or expenses incurred by it arising out of or in connection with the acceptance or
administration of its duties or the exercise of their respective rights under this Indenture, the
Intercreditor Agreements and/or the other the Security Documents, including the reasonable and
documented costs and expenses of enforcing this Indenture, the Intercreditor Agreements and/or
the other the Security Documents against the Issuer and the Guarantors (including this
Section 7.07) and defending itself against any claim (whether asserted by the Issuer, the
Guarantors, any Holder or any other Person) or liability in connection with the exercise or
performance of any of its powers or duties hereunder, except to the extent any such loss, liability
or expense is the result of its own gross negligence or willful misconduct. The Trustee or the
Collateral Agent, as the case may be, will notify the Issuer promptly of any claim of which it or a
Responsible Officer has received written notice for which it may seek indemnity. Failure by the
Trustee or the Collateral Agent, as the case may be, to so notify the Issuer will not relieve the
Issuer or any of the Guarantors of their obligations hereunder.




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                (c)     The obligations of the Issuer and the Guarantors under this Section 7.07
will survive the satisfaction and discharge of this Indenture, the payment of the Notes and/or the
resignation or removal of the Trustee or the Collateral Agent.

               (d)     To secure the Issuer’s and the Guarantors’ payment obligations in this
Section 7.07, each of the Trustee and the Collateral Agent will have a Lien prior to the Notes on
all money or property held or collected by the Trustee, except that held in trust to pay principal
and interest on particular Notes. Such Lien will survive the satisfaction and discharge of this
Indenture, the payment of the Notes and/or the resignation or removal of the Trustee or the
Collateral Agent.

                (e)    When the Trustee or the Collateral Agent incurs expenses or renders
services after an Event of Default specified in clause (6) or (7) of Section 6.01 hereof occurs, the
expenses and the compensation for the services (including the fees and expenses of its agents and
counsel) are intended to constitute expenses of administration under any Bankruptcy Law.

Section 7.08   Replacement of Trustee.

               (a)     A resignation or removal of the Trustee and appointment of a successor
Trustee will become effective only upon the successor Trustee’s acceptance of appointment as
provided in this Section 7.08.

               (b)     The Trustee may resign at any time and be discharged from the trust
hereby created by so notifying the Issuer in writing. The Holders of a majority in aggregate
principal amount of the then outstanding Notes may remove the Trustee by so notifying the
Trustee and the Issuer in writing not less than 30 days prior to the effective date of such removal.
The Issuer may remove the Trustee if:

               (1)     the Trustee fails to comply with Section 7.10 hereof;

              (2)     the Trustee is adjudged a bankrupt or an insolvent or an order for relief is
       entered with respect to the Trustee under any Bankruptcy Law;

               (3)     a custodian or public officer takes charge of the Trustee or its property; or

               (4)     the Trustee becomes incapable of acting.

               (c)    If the Trustee resigns or is removed or if a vacancy exists in the office of
Trustee for any reason, Holders of a majority in aggregate principal amount of the then
outstanding Notes may appoint a successor Trustee within 60 days of such resignation or
removal. If a majority of Holders do not so appoint a successor Trustee within such 60 days, the
Issuer may appoint a successor Trustee; provided, that within one year after the Issuer-appointed
successor Trustee takes office, the Holders of a majority in aggregate principal amount of the
then outstanding Notes may appoint a successor Trustee to replace the successor Trustee
appointed by the Issuer.

               (d)      If a successor Trustee does not take office within 30 days after the retiring
Trustee resigns or is removed, the retiring or removed Trustee, the Issuer, or the Holders of at

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least 10% in aggregate principal amount of the then outstanding Notes may, at the expense of the
Issuer, petition any court of competent jurisdiction for the appointment of a successor Trustee.

                 (e)    If the Trustee, after written request by any Holder who has been a Holder
for at least six months, fails to comply with Section 7.10 hereof, such Holder may petition at the
expense of the Issuer any court of competent jurisdiction for the removal of the Trustee and the
appointment of a successor Trustee.

                (f)    A successor Trustee will deliver a written acceptance of its appointment to
the retiring Trustee and to the Issuer. Thereupon, the resignation or removal of the retiring
Trustee will become effective, and the successor Trustee will have all the rights, powers and
duties of the Trustee under this Indenture. The successor Trustee will mail a notice of its
succession to Holders. The retiring Trustee will promptly transfer all property held by it as
Trustee to the successor Trustee; provided all sums owing to the Trustee hereunder have been
paid and subject to the Lien provided for in Section 7.07 hereof. Notwithstanding replacement of
the Trustee pursuant to this Section 7.08, the Issuer’s obligations under Section 7.07 hereof will
continue for the benefit of the retiring Trustee.

                (g)    The retiring Trustee shall have no responsibility or liability for any action
or inaction of a successor Trustee.

Section 7.09   Successor Trustee by Merger, etc.

                If the Trustee consolidates, merges or converts into, or transfers all or
substantially all of its corporate trust business (including this transaction) to, another corporation,
the successor corporation without any further act will be the successor Trustee.

Section 7.10   Eligibility; Disqualification.

              There will at all times be a Trustee hereunder that is a corporation organized and
doing business under the laws of the United States of America or of any state thereof that is
authorized under such laws to exercise corporate trustee power, that is subject to supervision or
examination by federal or state authorities.

                                            ARTICLE 8

                  LEGAL DEFEASANCE AND COVENANT DEFEASANCE

Section 8.01   Option to Effect Legal Defeasance or Covenant Defeasance.

                The Issuer may at any time, at the option of the Issuer’s Board of Directors
evidenced by a resolution set forth in an Officer’s Certificate, elect to have either Section 8.02 or
8.03 hereof be applied to all outstanding Notes and Note Guarantees upon compliance with the
conditions set forth below in this Article 8.

Section 8.02   Legal Defeasance and Discharge.



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                (a)     Upon the Issuer’s exercise under Section 8.01 hereof of the option
applicable to this Section 8.02, the Issuer and each of the Guarantors will, subject to the
satisfaction of the conditions set forth in Section 8.04 hereof, be deemed to have been discharged
from their obligations with respect to all outstanding Notes (including the Note Guarantees) on
the date the conditions set forth below are satisfied (hereinafter, “Legal Defeasance”). For this
purpose, Legal Defeasance means that the Issuer and the Guarantors will be deemed to have paid
and discharged the entire Indebtedness represented by the outstanding Notes (including the Note
Guarantees), which will thereafter be deemed to be “outstanding” only for the purposes of
Section 8.05 hereof and the other Sections of this Indenture referred to in clauses (1) and (2)
below, and to have satisfied all their other obligations under such Notes, the Note Guarantees
and this Indenture (and the Trustee, on written demand of and at the expense of the Issuer, shall
execute instruments acknowledging the same), except for the following provisions which will
survive until otherwise terminated or discharged hereunder:

               (1)     the rights of Holders of outstanding Notes to receive payments in respect
       of the principal of, or interest or Applicable Premium or any other premium, if any, on,
       such Notes when such payments are due from the trust referred to in Section 8.05 hereof;

               (2)     the Issuer’s obligations with respect to such Notes under Sections 2.02,
       2.03, 2.04, 2.05, 2.06, 2.07, 2.08, 2.09, 2.10 and Section 4.02 hereof;

              (3)     the rights, powers, trusts, duties and immunities of the Trustee hereunder
       and the Issuer’s and the Guarantors’ obligations in connection therewith; and

               (4)    this Article 8.

               (b)     Subject to compliance with this Article 8, the Issuer may exercise its
option under this Section 8.02 notwithstanding the prior exercise of its option under Section 8.03
hereof.

Section 8.03   Covenant Defeasance.

                Upon the Issuer’s exercise under Section 8.01 hereof of the option applicable to
this Section 8.03, the Issuer and each of the Guarantors will, subject to the satisfaction of the
conditions set forth in Section 8.04 hereof, be released from each of their obligations under the
covenants contained in Sections 4.03, 4.05, 4.06, 4.07, 4.08, 4.09, 4.10, 4.11, 4.12, 4.14, 4.16,
4.17, 4.18 and 4.19 and Section 5.01(a)(3) and 5.01(a)(4) hereof with respect to the outstanding
Notes on and after the date the conditions set forth in Section 8.04 hereof are satisfied
(hereinafter, “Covenant Defeasance”), and the Notes will thereafter be deemed not “outstanding”
for the purposes of any direction, waiver, consent or declaration or act of Holders (and the
consequences of any thereof) in connection with such covenants, but will continue to be deemed
“outstanding” for all other purposes hereunder (it being understood that such Notes will not be
deemed outstanding for accounting purposes). For this purpose, Covenant Defeasance means
that, with respect to the outstanding Notes and Note Guarantees, the Issuer and the Guarantors
may omit to comply with and will have no liability in respect of any term, condition or limitation
set forth in any such covenant, whether directly or indirectly, by reason of any reference
elsewhere herein to any such covenant or by reason of any reference in any such covenant to any

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other provision herein or in any other document and such omission to comply with such
covenants will not constitute a Default or an Event of Default under Section 6.01 hereof, but,
except as specified in this Section 8.03, the remainder of this Indenture and such Notes and Note
Guarantees will be unaffected thereby. In addition, upon the Issuer’s exercise under Section 8.01
hereof of the option applicable to this Section 8.03, subject to the satisfaction of the conditions
set forth in Section 8.04 hereof, clauses (3) through (5) of Section 6.01 hereof will not constitute
Events of Default.

Section 8.04   Conditions to Legal or Covenant Defeasance.

               In order to exercise either Legal Defeasance or Covenant Defeasance under either
Section 8.02 or 8.03 hereof:

               (1)     the Issuer must irrevocably deposit with the Trustee, in trust, for the
       benefit of the Holders, cash in U.S. dollars in such amounts as will be sufficient (without
       reinvestment), to pay the principal of, Applicable Premium or any other premium, if any,
       and interest on, the outstanding Notes on the stated date for payment thereof or on the
       applicable redemption date, as the case may be, and the Issuer must specify whether the
       Notes are being defeased to such stated date for payment or to a particular redemption
       date; provided that upon any redemption that required the payment of the Applicable
       Premium, the amount deposited will be sufficient for purposes of this Indenture to the
       extent that an amount is deposited with the Trustee equal to the Applicable Premium
       calculated as of the date of the notice of redemption, with any deficit as of the date of
       redemption (any such amount, the “Applicable Premium Deficit”) only required to be
       deposited with the Trustee on or prior to the date of redemption. Any Applicable
       Premium Deficit will be set forth in an Officer’s Certificate delivered to the Trustee
       simultaneously with the deposit of such Applicable Premium Deficit that confirms that
       such Applicable Premium Deficit will be applied toward such redemption;

               (2)     in the case of an election under Section 8.02 hereof, the Issuer must
       deliver to the Trustee an Opinion of Counsel (subject to customary exceptions and
       exclusions) confirming that:

                       (A)   the Issuer has received from, or there has been published by, the
               Internal Revenue Service a ruling; or

                       (B)   since the Issue Date there has been a change in the applicable
               federal income tax law,

       in either case to the effect that, and based thereon such Opinion of Counsel shall confirm
       that, the Holders of the outstanding Notes will not recognize income, gain or loss for
       federal income tax purposes as a result of such Legal Defeasance and will be subject to
       federal income tax on the same amounts, in the same manner and at the same times as
       would have been the case if such Legal Defeasance had not occurred;

               (3)     in the case of an election under Section 8.03 hereof, the Issuer must
       deliver to the Trustee an Opinion of Counsel (subject to customary exceptions and
       exclusions) confirming that the Holders of the outstanding Notes will not recognize
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       income, gain or loss for federal income tax purposes as a result of such Covenant
       Defeasance and will be subject to federal income tax on the same amounts, in the same
       manner and at the same times as would have been the case if such Covenant Defeasance
       had not occurred;

               (4)    no Default or Event of Default shall have occurred and be continuing on
       the date of such deposit (other than a Default or Event of Default resulting from the
       borrowing of funds to be applied to such deposit and the grant of any Lien securing such
       borrowing);

               (5)     such Legal Defeasance or Covenant Defeasance will not result in a breach
       or violation of, or constitute a default under, any material agreement or instrument (other
       than this Indenture) to which the Issuer or any of its Subsidiaries is a party or by which
       the Issuer or any of its Subsidiaries is bound;

               (6)     the Issuer must deliver to the Trustee an Officer’s Certificate stating that
       the deposit was not made by the Issuer with the intent of preferring the Holders over the
       other creditors of the Issuer with the intent of defeating, hindering, delaying or
       defrauding any creditors of the Issuer or others; and

              (7)    the Issuer must deliver to the Trustee an Officer’s Certificate and an
       Opinion of Counsel, each stating that all conditions precedent relating to the Legal
       Defeasance or the Covenant Defeasance have been complied with.

Section 8.05   Deposited Money to be Held in Trust; Other Miscellaneous Provisions.

                (a)     Subject to Section 8.06 hereof, all money deposited with the Trustee (or
other qualifying trustee, collectively for purposes of this Section 8.05, the “Trustee”) pursuant to
Section 8.04 hereof in respect of the outstanding Notes will be held in trust and applied by the
Trustee, in accordance with the provisions of such Notes and this Indenture, to the payment,
either directly or through any Paying Agent (including the Issuer acting as Paying Agent) as the
Trustee may determine, to the Holders of such Notes of all sums due and to become due thereon
in respect of principal, Applicable Premium or any other premium, if any, and interest, but such
money need not be segregated from other funds except to the extent required by law.

               (b)      The Issuer will pay and indemnify the Trustee against any tax, fee or other
charge imposed on or assessed against the cash deposited pursuant to Section 8.04 hereof or the
principal and interest received in respect thereof other than any such tax, fee or other charge
which by law is for the account of the Holders of the outstanding Notes.

                (c)     Notwithstanding anything in this Article 8 to the contrary, the Trustee will
deliver or pay to the Issuer from time to time upon the written request of the Issuer any money
held by it as provided in Section 8.04 hereof which, in the opinion of a nationally recognized
firm of independent public accountants expressed in a written certification thereof delivered to
the Trustee (which may be the opinion delivered under clause (1) of Section 8.04 hereof), are in
excess of the amount thereof that would then be required to be deposited to effect an equivalent
Legal Defeasance or Covenant Defeasance.


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Section 8.06   Repayment to the Issuer.

                 Any money deposited with the Trustee or any Paying Agent, or then held by the
Issuer, in trust for the payment of the principal of, Applicable Premium, any other premium or
interest on, any Note and remaining unclaimed for two years after such principal, Applicable
Premium, any other premium or interest has become due and payable shall be paid to the Issuer
on its written request or (if then held by the Issuer) will be discharged from such trust; and the
Holders will thereafter be permitted to look only to the Issuer for payment thereof, and all
liability of the Trustee or such Paying Agent with respect to such trust money, and all liability of
the Issuer as trustee thereof, will thereupon cease; provided, however, that the Trustee or such
Paying Agent, before being required to make any such repayment, shall, at the expense of the
Issuer, cause to be published once, in the New York Times and The Wall Street Journal (national
edition), notice that such money remains unclaimed and that, after a date specified therein, which
will not be less than 30 days from the date of such notification or publication, any unclaimed
balance of such money then remaining will be repaid to the Issuer.

Section 8.07   Reinstatement.

                If the Trustee or Paying Agent is unable to apply any U.S. dollars in accordance
with Section 8.02 or 8.03 hereof, as the case may be, by reason of any order or judgment of any
court or governmental authority enjoining, restraining or otherwise prohibiting such application,
then the Issuer’s and the Guarantors’ obligations under this Indenture and the Notes and the Note
Guarantees will be revived and reinstated as though no deposit had occurred pursuant to
Section 8.02 or 8.03 hereof until such time as the Trustee or Paying Agent is permitted to apply
all such money in accordance with Section 8.02 or 8.03 hereof, as the case may be; provided,
however, that, if the Issuer makes any payment of principal of, Applicable Premium or any other
premium, if any, or interest on, any Note following the reinstatement of its obligations, the Issuer
will be subrogated to the rights of the Holders of such Notes to receive such payment from the
money held by the Trustee or Paying Agent.

                                           ARTICLE 9

                        AMENDMENT, SUPPLEMENT AND WAIVER

Section 9.01   Without Consent of Holders.

                (a)    Notwithstanding Section 9.02 of this Indenture, the Issuer, the Collateral
Agent and the Trustee (as applicable) may amend or supplement this Indenture or the Notes or
the Note Guarantees, the Intercreditor Agreements or any other Security Document without the
consent of any Holder to cure any ambiguity, omission, defect or inconsistency or to provide for
the assumption by a successor corporation, partnership or limited liability company of the
obligations of the Issuer under this Indenture, the Notes, the Intercreditor Agreements and the
other Security Documents:

              (1)     to provide for uncertificated Notes in addition to or in place of certificated
       Notes (provided that the uncertificated notes are issued in registered form for purposes of
       Section 163(f) of the Code);

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               (2)     to add guarantees with respect to the Notes or to evidence the release of
       any Guarantor from its Note Guarantee and under the Security Documents as provided in
       this Indenture;

               (3)    to further secure the Notes;

               (4)    to add to the covenants of the Issuer for the benefit of the Holders;

               (5)    to surrender any right or power conferred upon the Issuer;

              (6)     to make any change that does not adversely affect the rights of any
       Holder;

              (7)     to evidence or provide for the acceptance of appointment under this
       Indenture of a successor Trustee;

               (8)    [reserved];

              (9)    to make certain changes to this Indenture to provide for the issuance of
       Additional Notes; or

               (10) to provide for the release of Collateral from the Liens of this Indenture, the
       Intercreditor Agreements and the other Security Documents when permitted or required
       by the Intercreditor Agreements, the other Security Documents or this Indenture .

                (b)     Upon the request of the Issuer accompanied by a resolution of its Board of
Directors authorizing the execution of any such amendment or supplemental indenture, and upon
receipt by the Trustee or Collateral Agent of the documents described in Section 9.06 hereof, the
Trustee or Collateral Agent, as applicable, will join with the Issuer and the Guarantors in the
execution of any amendment or supplemental indenture authorized or permitted by the terms of
this Indenture, the Intercreditor Agreements and the other Security Documents and to make any
further appropriate agreements and stipulations that may be therein contained, but the Trustee
and Collateral Agent will not be obligated to enter into such amendment or supplemental
indenture that affects its own rights, duties or immunities under this Indenture or otherwise.

Section 9.02   With Consent of Holders.

                (a)     Except as provided in this Section 9.02, the Issuer, the Guarantors and the
Trustee and, if applicable, the Collateral Agent, may amend or supplement this Indenture
(including, without limitation, Sections 4.08 and 4.12 hereof) and the Notes or the Note
Guarantees, the Intercreditor Agreements or the other Security Documents with the consent of
the Holders of at least a majority in aggregate principal amount of the then outstanding Notes
voting as a single class (including, without limitation, consents obtained in connection with a
tender offer or exchange offer for, or purchase of, the Notes), and, subject to Sections 6.04 and
6.07 hereof, any existing Default or Event of Default (other than a Default or Event of Default in
the payment of the principal of, Applicable Premium or any other premium, if any, or interest on,
the Notes, except a payment default resulting from an acceleration that has been rescinded) or
compliance with any provision of this Indenture, the Intercreditor Agreements, any other

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Security Documents or the Notes or the Note Guarantees may be waived with the consent of the
Holders of a majority in aggregate principal amount of the then outstanding Notes voting as a
single class (including, without limitation, consents obtained in connection with a tender offer or
exchange offer for, or purchase of, the Notes). Section 2.08 hereof shall determine which Notes
are considered to be “outstanding” for purposes of this Section 9.02.

                (b)    Upon the written request of the Issuer accompanied by a resolution of its
Boards of Directors authorizing the execution of any such amendment or supplemental
indenture, and upon the filing with the Trustee of evidence satisfactory to the Trustee of the
consent of the Holders as aforesaid, and upon receipt by the Trustee or Collateral Agent of the
documents described in Section 9.06 hereof, the Trustee and Collateral Agent, as applicable, will
join with the Issuer and the Guarantors in the execution of such amended or supplemental
indenture unless such amended or supplemental indenture directly affects the Trustee’s or
Collateral Agent’s own rights, duties or immunities under this Indenture or otherwise, in which
case the Trustee or Collateral Agent may in its discretion, but will not be obligated to, enter into
such amendment or supplemental Indenture.

                 (c)      It is not be necessary for the consent of the Holders under this
Section 9.02 to approve the particular form of any proposed amendment, supplement or waiver,
but it is sufficient if such consent approves the substance thereof.

                (d)    After an amendment, supplement or waiver under this Section 9.02
becomes effective, the Issuer will mail (or otherwise deliver pursuant to the procedures of DTC)
to the Holders affected thereby a notice briefly describing the amendment, supplement or waiver.
Any failure of the Issuer to send such notice, or any defect therein, will not, however, in any way
impair or affect the validity of any such amendment, supplement or waiver. Subject to
Sections 6.04 and 6.07 hereof, the Holders of a majority in aggregate principal amount of the
Notes then outstanding voting as a single class may waive compliance in a particular instance by
the Issuer or any Guarantor with any provision of this Indenture, the Intercreditor Agreements,
the other the Security Documents or the Notes or the Note Guarantees. However, without the
consent of each Holder affected thereby, an amendment, supplement or waiver under this
Section 9.02 may not (with respect to any Notes held by a non−consenting Holder):

            (1)     reduce the principal amount of Notes whose Holders must consent to an
       amendment, supplement or waiver;

              (2)     reduce the principal of or extend the fixed maturity of any Note or alter the
       provisions with respect to the redemption of the Notes (for the avoidance of doubt,
       repurchases of the Notes by the Issuer pursuant to Sections 4.08 and 4.12 hereof are not
       redemptions of the Notes);

               (3)     reduce the rate of or extend the time for payment of interest, including
       default interest, or Applicable Premium or any other premium on any Note;

               (4)     waive a Default or Event of Default in the payment of principal of, or
       Applicable Premium or any other premium, if any, or interest on, the Notes (except a
       rescission of acceleration of the Notes by the Holders of at least a majority in aggregate

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       principal amount of the then outstanding Notes and a waiver of the payment default that
       resulted from such acceleration);

               (5)     make any Note payable in money other than that stated in the Notes;

               (6)     make any change in the provisions of this Indenture relating to waivers of
       past Defaults or impair the rights of Holders of Notes to receive payments of principal of,
       or interest or Applicable Premium or any other premium, if any, on the Notes;

              (7)     waive a redemption payment with respect to any Note (for the avoidance
       of doubt, any payment required by Sections 4.08 or 4.12 hereof is not a redemption
       payment);

               (8)     release any Guarantor that is a Significant Subsidiary of the Issuer from
       any of its obligations under its Note Guarantee or this Indenture, except in accordance
       with the terms of this Indenture;

               (9)     make any change in the preceding amendment and waiver provisions; or

               (10) make any change in the provisions in the Intercreditor Agreements or this
       Indenture dealing with the application of proceeds of Collateral that would adversely
       affect the Holders.

                (e)    Any amendment to, or waiver of, the provisions of this Indenture, any
Security Document that has the effect of releasing all or substantially all of the Collateral from
the Liens securing the Notes or otherwise modifies the Intercreditor Agreements or other
Security Documents in any manner adverse in any material respect to the Holders will require
the consent of the holders of at least 66- 2/3% in aggregate principal amount of the Notes then
outstanding.

                (f)   Notwithstanding the foregoing in this Section 9.02, no amendment,
supplement or waiver to the Indenture or any other Note Document shall subordinate the Lien
securing the Notes Obligations to any other Lien (and the Trustee shall not enter into any
intercreditor agreement providing for such subordination) without the consent of the holders of at
least 66- 2/3% in aggregate principal amount of the Notes then outstanding.

Section 9.03   Intentionally Omitted.

Section 9.04   Revocation and Effect of Consents.

                 Until an amendment, supplement or waiver becomes effective, a consent to it by a
Holder is a continuing consent by the Holder and every subsequent Holder or portion of a Note
that evidences the same debt as the consenting Holder’s Note, even if notation of the consent is
not made on any Note. However, any such Holder or subsequent Holder may revoke the consent
as to its Note if the Trustee receives written notice of revocation before the date the amendment,
supplement or waiver becomes effective. After an amendment, supplement or waiver becomes
effective in accordance with its terms, it thereafter binds every Holder.


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Section 9.05   Notation on or Exchange of Notes.

               The Trustee may place an appropriate notation about an amendment, supplement
or waiver on any Note thereafter authenticated. The Issuer in exchange for all Notes may issue
and the Trustee shall, upon receipt of an Authentication Order, authenticate new Notes that
reflect the amendment, supplement or waiver.

                Failure to make the appropriate notation or issue a new Note will not affect the
validity and effect of such amendment, supplement or waiver.

Section 9.06   Trustee to Sign Amendments, etc.

                The Trustee and Collateral Agent will sign any amendment or supplemental
indenture authorized pursuant to this Article 9 if the amendment or supplement does not
adversely affect the rights, duties, liabilities or immunities of the Trustee or Collateral Agent.
The Issuer may not sign an amendment or supplemental indenture pursuant to this Article 9 until
the Issuer’s Board of Directors approves it. In executing any such amendment or supplemental
indenture, the Trustee and Collateral Agent, as applicable, will be provided with and (subject to
Section 7.01 hereof) will be fully protected in conclusively relying upon, in addition to the
documents required by Section 14.04 hereof, an Officer’s Certificate and an Opinion of Counsel
stating that the execution of such amendment or supplemental indenture is authorized or
permitted by this Indenture, the Intercreditor Agreements and the other Security Documents, as
applicable, and, with respect to such Opinion of Counsel, that such amendment or supplemental
indenture is the legal, valid and binding obligation of the Issuer or Guarantor, as applicable,
enforceable against the Issuer or the Guarantor, as applicable, in accordance with its terms.

                                          ARTICLE 10

                                     NOTE GUARANTEES

Section 10.01 Guarantee.

                (a)     Subject to this Article 10, each of the Guarantors hereby, jointly and
severally, unconditionally Guarantees to each Holder of a Note authenticated and delivered by
the Trustee and to the Trustee and the Collateral Agent and their respective successors and
assigns, irrespective of the validity and enforceability of this Indenture, the Notes or the
obligations of the Issuer hereunder or thereunder, that:

               (1)      the principal of, Applicable Premium or any other premium, if any, and
       interest on, the Notes will be promptly paid in full when due, whether at maturity, by
       acceleration, redemption or otherwise, and interest on the overdue principal of and
       interest on the Notes, if any, if lawful, and all other obligations of the Issuer to the
       Holders or the Trustee or the Collateral Agent hereunder or thereunder will be promptly
       paid in full or performed, all in accordance with the terms hereof and thereof; and

               (2)    in case of any extension of time of payment or renewal of any Notes or
       any of such other obligations, that same will be promptly paid in full when due or


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       performed in accordance with the terms of the extension or renewal, whether at stated
       maturity, by acceleration or otherwise.

               Failing payment when due of any amount so guaranteed or any performance so
guaranteed for whatever reason, the Guarantors will be jointly and severally obligated to pay the
same immediately. Each Guarantor agrees that this is a Guarantee of payment and not a
Guarantee of collection.

                (b)    The Guarantors hereby agree that their obligations hereunder are
unconditional, irrespective of the validity, regularity or enforceability of the Notes or this
Indenture, the absence of any action to enforce the same, any waiver or consent by any Holder
with respect to any provisions hereof or thereof, the recovery of any judgment against the Issuer,
any action to enforce the same or any other circumstance which might otherwise constitute a
legal or equitable discharge or defense of a Guarantor. Each Guarantor hereby waives diligence,
presentment, demand of payment, filing of claims with a court in the event of insolvency or
bankruptcy of either Issuer, any right to require a proceeding first against the Issuer, protest,
notice and all demands whatsoever and covenant that this Note Guarantee will not be discharged
except by complete performance of the obligations contained in the Notes and this Indenture.

                 (c)     If any Holder or the Trustee is required by any court or otherwise to return
to the Issuer, the Guarantors or any custodian, trustee, liquidator or other similar official acting in
relation to either the Issuer or the Guarantors, any amount paid by either to the Trustee or the
Collateral Agent or such Holder, this Note Guarantee, to the extent theretofore discharged, will
be reinstated in full force and effect.

                (d)     Each Guarantor agrees that it will not be entitled to any right of
subrogation in relation to the Holders in respect of any obligations guaranteed hereby until
payment in full of all obligations guaranteed hereby. Each Guarantor further agrees that, as
between the Guarantors, on the one hand, and the Holders, the Collateral Agent and the Trustee,
on the other hand, (1) the maturity of the obligations guaranteed hereby may be accelerated as
provided in Article 6 hereof for the purposes of this Note Guarantee, notwithstanding any stay,
injunction or other prohibition preventing such acceleration in respect of the obligations
guaranteed hereby, and (2) in the event of any declaration of acceleration of such obligations as
provided in Article 6 hereof, such obligations (whether or not due and payable) will forthwith
become due and payable by the Guarantors for the purpose of this Note Guarantee. The
Guarantors will have the right to seek contribution from any non−paying Guarantor so long as
the exercise of such right does not impair the rights of the Holders under the Note Guarantee.

Section 10.02 Limitation on Guarantor Liability.

                  Each Guarantor, and by its acceptance of Notes, each Holder, hereby confirms
that it is the intention of all such parties that the Note Guarantee of such Guarantor not constitute
a fraudulent transfer or conveyance for purposes of Bankruptcy Law, the Uniform Fraudulent
Conveyance Act, the Uniform Fraudulent Transfer Act or any similar federal, state or provincial
law in any jurisdiction to the extent applicable to any Note Guarantee. To effectuate the
foregoing intention, the Trustee, the Collateral Agent, the Holders and the Guarantors hereby
irrevocably agree that the obligations of such Guarantor will be limited to the maximum amount

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that will, after giving effect to such maximum amount and all other contingent and fixed
liabilities of such Guarantor that are relevant under such laws, and after giving effect to any
collections from, rights to receive contribution from or payments made by or on behalf of any
other Guarantor in respect of the obligations of such other Guarantor under this Article 10, result
in the obligations of such Guarantor under its Note Guarantee not constituting a fraudulent
transfer or conveyance.

Section 10.03 Intentionally Omitted.

Section 10.04 Guarantors May Consolidate, etc., on Certain Terms.

                (a)    Except as otherwise provided in this Section 10.04, a Guarantor may not
sell or otherwise dispose of (including by way of division) all or substantially all of its assets to,
or consolidate with or merge or amalgamate with or into (whether or not such Guarantor is the
surviving Person) another Person, other than the Issuer or another Guarantor, unless:

              (1)      immediately after giving effect to such transaction, no Default or Event of
       Default exists; and

               (2)     either:

               (A)     the Person acquiring the property in any such sale or disposition or the
       Person formed by or surviving any such consolidation or merger assumes all the
       obligations of that Guarantor under this Indenture, its Note Guarantee, the Intercreditor
       Agreements and the other Security Documents, pursuant to, in the case of this Indenture
       and the relevant agreements, a supplemental indenture ; or

              (B)    the Net Proceeds of such sale or other disposition are applied in
       accordance with the applicable provisions of this Indenture.

                In case of any such consolidation, merger, amalgamation, sale or conveyance and
upon the assumption by the successor Person, by supplemental indenture, executed and delivered
to the Trustee and satisfactory in form to the Trustee, of the Note Guarantee and the due and
punctual performance of all of the covenants and conditions of this Indenture to be performed by
the Guarantor, such successor Person will succeed to and be substituted for the Guarantor with
the same effect as if it had been named herein as a Guarantor. Such successor Person thereupon
may cause to be signed any or all of the Note Guarantees to be endorsed upon all of the Notes
issuable hereunder which theretofore shall not have been signed by the Issuer and delivered to
the Trustee. All the Note Guarantees so issued will in all respects have the same legal rank and
benefit under this Indenture as the Note Guarantees theretofore and thereafter issued in
accordance with the terms of this Indenture as though all of such Note Guarantees had been
issued at the date of the execution hereof.

                (b)    Except as set forth in Articles 4 and 5 hereof, and notwithstanding
Sections 10.04(a)(2)(A) and 10.04(a)(2)(B) above, nothing contained in this Indenture or in any
of the Notes will prevent any consolidation, merger or amalgamation of a Guarantor with or into
the Issuer or another Guarantor, or will prevent any sale or conveyance of the property of a
Guarantor as an entirety or substantially as an entirety to the Issuer or another Guarantor.

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Section 10.05 Releases.

               (a)     The Note Guarantee of a Guarantor will be automatically released and
discharged:

                (1)     in connection with any sale, disposition or transfer of all or substantially
       all of the assets of that Guarantor (including by way of merger, amalgamation, or
       consolidation) to a Person that is not (either before or after giving effect to such
       transaction) the Issuer or a Restricted Subsidiary of the Issuer, if the sale, disposition or
       transfer does not violate Section 4.08 hereof;

               (2)     in connection with any sale, disposition or transfer of all of the Capital
       Stock of that Guarantor to a Person that is not (either before or after giving effect to such
       transaction) the Issuer or a Restricted Subsidiary of the Issuer, if the sale, disposition or
       transfer does not violate Section 4.08 hereof;

               (3)     [reserved];

              (4)    upon Legal Defeasance in accordance with Article 8 hereof or satisfaction
       and discharge of this Indenture in accordance with Article 11 and Article 8 hereof; or

              (5)    upon such Guarantor becoming an Excluded Subsidiary, so long as such
       Guarantor does not Guarantee any Debt Facilities of the Issuer or any of its Restricted
       Subsidiaries.

                (b)    Any Guarantor not released from its obligations under its Note Guarantee
as provided in this Section 10.05 will remain liable for the full amount of principal of and
interest and Applicable Premium or any other premium, if any, on the Notes and for the other
obligations of any Guarantor under this Indenture as provided in this Article 10.

                                           ARTICLE 11

                                 SATISFACTION AND DISCHARGE

Section 11.01 Satisfaction and Discharge.

                (a)    This Indenture will be discharged and will cease to be of further effect as
to all Notes issued hereunder, when:

               (1)     either:

               (A)     all Notes that have been authenticated and, except lost, stolen or destroyed
       Notes that have been replaced or paid and Notes for whose payment money has been
       deposited in trust or segregated and held in trust by the Issuer and thereafter repaid to the
       Issuer, have been delivered to the Trustee for cancellation; or

             (B)    all Notes that have not been delivered to the Trustee for cancellation have
       become due and payable by reason of the mailing (or delivery in accordance with the

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       procedures of DTC) of a notice of redemption or otherwise or will become due and
       payable within one year or may be called for redemption within one year and the Issuer
       or any Guarantor has irrevocably deposited or caused to be deposited with the Trustee as
       trust funds in trust solely for the benefit of the Holders, cash in U.S. dollars, in such
       amounts as will be sufficient (without reinvestment) to pay and discharge the entire
       Indebtedness (including all principal and interest) on the Notes not delivered to the
       Trustee for cancellation; provided that (i) upon any redemption that requires the payment
       of the Applicable Premium, the amount deposited will be sufficient for purposes of this
       Indenture to the extent that an amount is deposited with the Trustee equal to the
       Applicable Premium calculated as of the date of the notice of redemption, with any
       Applicable Premium Deficit only required to be deposited with the Trustee on or prior to
       the date of redemption and (ii) any Applicable Premium Deficit will be set forth in an
       Officer’s Certificate delivered to the Trustee simultaneously with the deposit of such
       Applicable Premium Deficit that confirms that such Applicable Premium Deficit will be
       applied toward such redemption;

               (2)     the Issuer or any Guarantor has paid or caused to be paid all sums payable
       by it under this Indenture (other than contingent obligations for which no claim has been
       asserted); and

              (3)     the Issuer has delivered irrevocable written instructions to the Trustee
       under this Indenture to apply the deposited money toward the payment of the Notes at
       maturity or on the redemption date, as the case may be.

                (b)    In addition, an Officer’s Certificate and an Opinion of Counsel have been
delivered to the Trustee stating that all conditions precedent to satisfaction and discharge have
been satisfied.

                (c)    Notwithstanding the satisfaction and discharge of this Indenture, if money
has been deposited with the Trustee pursuant to Section 11.01(a)(1)(B), the provisions of
Sections 11.02 and 8.06 hereof will survive such satisfaction and discharge. In addition, nothing
in this Section 11.01 will be deemed to discharge those provisions of Section 7.07 hereof, or any
other provision hereof, that, by their terms, survive the satisfaction and discharge of this
Indenture.

Section 11.02 Application of Trust Money.

               (a)     Subject to the provisions of Section 8.06 hereof, all money deposited with
the Trustee pursuant to Section 11.01 hereof shall be held in trust and applied by it, in
accordance with the provisions of the Notes and this Indenture, to the payment, either directly or
through any Paying Agent (including the Issuer acting as its own Paying Agent) as the Trustee
may determine, to the Persons entitled thereto, of the principal (and Applicable Premium or any
other premium, if any) and interest for whose payment such money has been deposited with the
Trustee; but such money need not be segregated from other funds except to the extent required
by law.




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                (b)    If the Trustee or Paying Agent is unable to apply any money in accordance
with Section 11.01 hereof by reason of any legal proceeding or by reason of any order or
judgment of any court or governmental authority enjoining, restraining or otherwise prohibiting
such application, the Issuer’s and any Guarantor’s obligations under this Indenture and the Notes
and Note Guarantees, as applicable, shall be revived and reinstated as though no deposit had
occurred pursuant to Section 11.01 hereof; provided that if the Issuer has made any payment of
principal of, Applicable Premium or any other premium, if any, or interest on, any Notes because
of the reinstatement of its obligations, the Issuer shall be subrogated to the rights of the Holders
of such Notes to receive such payment from the money held by the Trustee or Paying Agent.

                                           ARTICLE 12

                                COLLATERAL AND SECURITY

Section 12.01 Security Documents; Additional Collateral; Intercreditor Agreements.

                 (a)     Security Documents. In order to secure the due and punctual payment of
the Notes Obligations, the Issuer, the Subsidiary Guarantors, the Collateral Agent and the other
parties thereto have simultaneously with the execution of this Indenture entered or, in accordance
with the provisions of Section 4.14, Section 4.17, Section 4.19 and this Article 12, will enter into
the Security Documents. In the event of a conflict or inconsistency between the terms of this
Indenture and the Security Documents, the Security Documents shall control. The Issuer shall,
and shall cause each of its Restricted Subsidiaries to, and each Restricted Subsidiary shall, make
all filings (including filings of continuation statements and amendments to UCC financing
statements that may be necessary to continue the effectiveness of such UCC financing
statements) and take all other actions as are reasonably necessary or required by the Security
Documents to maintain (at the sole cost and expense of the Issuer and its Restricted Subsidiaries)
the security interest created by the Security Documents in the Collateral (other than with respect
to any Collateral the security interest in which is not required to be perfected under the Security
Documents) as a perfected security interest subject only to Permitted Liens.

                (b)     Additional Collateral. With respect to assets acquired after the Issue Date,
the Issuer or the applicable Subsidiary Guarantor will take the actions required by the Security
Agreement or Section 4.18 of this Indenture.

                (c)     Intercreditor Agreement. The Trustee, the Collateral Agent and the
Holders are bound by the terms of the Intercreditor Agreements and each Holder of a Note, by
accepting such Note, agrees to all the terms and provisions of the Intercreditor Agreements and
the other Security Documents. Notwithstanding anything to the contrary, (i) the liens and
security interests granted to the Collateral Agent pursuant to the Security Documents and all
rights and obligations of the Trustee and Collateral Agent hereunder in respect of the Collateral
are expressly subject to the Intercreditor Agreements and (ii) the exercise of any right or remedy
by the Trustee and the Collateral Agent hereunder in respect of the Collateral is subject to the
limitation and provisions of the Intercreditor Agreements. In the event of any conflict or
inconsistency between the terms of the Intercreditor Agreements and the terms of this Indenture
or any Security Document, the terms of the Intercreditor Agreements, shall govern.


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Section 12.02 Intentionally Omitted.

Section 12.03 Release of Collateral.

               The Liens securing the Notes and the Guarantees will, automatically and without
the need for any further action by any Person be released:

               (a)    in whole or in part, as applicable, as to all or any portion of the property
subject to such Liens which has been taken by eminent domain, condemnation or other similar
circumstances in accordance with the terms of Section 4.08;

                (b)     in whole upon:

                (1)      payment in full of the principal of, together with accrued and unpaid
        interest, if any, on the Notes and all other Obligations under this Indenture, the Note
        Guarantees and the Security Documents that are due and payable at or prior to the time
        such principal, together with accrued and unpaid interest, if any, are paid;

                (2)     satisfaction and discharge of this Indenture as set forth under Article 11; or

               (3)     a legal defeasance or covenant defeasance of this Indenture as set forth
        under Article 8;

                (c)    in part, as to any property that (i) is sold, transferred or otherwise disposed
of by the Issuer or any Subsidiary Guarantor (other than to the Issuer or another Subsidiary
Guarantor) in a transaction not prohibited by this Indenture at the time of such transfer or
disposition, including, without limitation, as a result of a transaction of the type permitted under
Sections 4.08 and 5.01 or (ii) is owned or at any time acquired by a Subsidiary Guarantor that
has been released from its Guarantee, concurrently with the release of such Guarantee;

              (d)     as to property that constitutes all or substantially all of the Collateral
securing the Notes, with the consent of each Holder of the Notes outstanding;

               (e)     as to property that constitutes less than all or substantially all of the
Collateral securing the Notes, with the consent of the Holders of at least 66 2/3% of the
aggregate principal amount of Notes (including, without limitation, consents obtained in
connection with a tender offer or exchange offer for, or purchase of, Notes) outstanding;

                (f)     as to any Excluded Pipelines subject to a security interest granted under a
mortgage, security agreement or other security interest in favor of the Collateral Agent, upon the
disposition of such Excluded Pipeline, in a transaction not prohibited by this Indenture at the
time of such sale, transfer or disposition;

                (g)    as to real property upon which any Excluded Pipelines are situated, upon
the Collateral Agent’s receipt from the Issuer of an Officer’s Certificate certifying that the
release of the Collateral Agent’s Liens on such real property does not materially adversely affect
or impair (1) the business operations of the Issuer and its Restricted Subsidiaries as a whole or


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(2) the validity or priority of the Lien of the Collateral Agent pursuant to the Security Documents
on the balance of the Mortgaged Property;

             (h)     in part, in accordance with the applicable provisions of the Intercreditor
Agreements and the other Security Documents; and

               (i)     as described under Article 9.

              Any release of Collateral permitted by this Section 12.03 shall be deemed not to
impair the remaining Liens under this Indenture and the Security Documents in contravention
thereof.

Section 12.04 Form and Sufficiency of Release.

                In the event that either the Issuer or any Subsidiary Guarantor requests the Trustee
or the Collateral Agent, as applicable, in writing to furnish a written disclaimer, release or
quitclaim of any interest in such property under this Indenture, the applicable Guarantee and the
Security Documents as permitted by Section 12.03, upon receipt of an Officer’s Certificate and
Opinion of Counsel to the effect that such release complies with Section 12.03 and specifying the
provision in Section 12.03 pursuant to which such release is being made (upon which the Trustee
may exclusively and conclusively rely), the Trustee or the Collateral Agent, as applicable, shall
execute, acknowledge and deliver to the Issuer or such Subsidiary Guarantor (such an instrument
in the form provided by the Issuer, and providing for release without recourse and shall take such
other action as the Issuer or such Subsidiary Guarantor may reasonably request and as necessary
to effect such release.

Section 12.05 Possession and Use of Collateral.

                 Subject to the provisions of the Security Documents, the Issuer and the
Guarantors shall have the right to remain in possession and retain exclusive control of and to
exercise all rights with respect to the Collateral (other than monies deposited pursuant to
Article 8 or Article 11, and other than as set forth in the Security Documents and this Indenture),
to freely operate, manage, develop, lease, use, consume and enjoy the Collateral (other than
monies deposited pursuant to Article 8 or Article 11 and other than as set forth in the Security
Documents and this Indenture), to alter or repair any Collateral so long as such alterations and
repairs do not materially impair the Lien of the Security Documents thereon, and to collect,
receive, use, invest and dispose of the reversions, remainders, interest, rents, lease payments,
issues, profits, revenues, proceeds and other income thereof and to effect transactions permitted
under Sections 4.08 and 5.01.

Section 12.06 Intentionally Omitted.

Section 12.07 Collateral Agent.

               (a)     The Trustee and each of the Holders by acceptance of the Notes hereby
appoint the Collateral Agent as the Trustee’s and Holders’ collateral agent under this Indenture
and the Security Documents and the Trustee and each of the Holders by acceptance of the Notes
hereby irrevocably authorizes the Collateral Agent to take such action on its behalf under the

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provisions of this Indenture and the Security Documents and to exercise such powers and
perform such duties as are expressly delegated to the Collateral Agent by the terms of this
Indenture and the Security Documents, together with such powers as are reasonably incidental
thereto. The Collateral Agent agrees to act as such on the express conditions contained in this
Section 12.07. The provisions of this Section 12.07 are solely for the benefit of the Collateral
Agent and none of the Trustee, any of the Holders, the Issuer or any of the Guarantors shall have
any rights as a third party beneficiary of any of the provisions contained herein other than as
expressly provided in Section 12.03 or in this Section 12.07. Notwithstanding any provision to
the contrary contained elsewhere in this Indenture and the Security Documents, the Collateral
Agent shall not have any duties or responsibilities, except those expressly set forth herein or in
the Security Documents to which it is a party, nor shall the Collateral Agent have or be deemed
to have any fiduciary relationship with the Trustee, any Holder, the Issuer or any Guarantor, and
no implied covenants, functions, responsibilities, duties, obligations or liabilities shall be read
into this Indenture and the Security Documents or otherwise exist against the Collateral Agent.
Without limiting the generality of the foregoing sentence, the use of the term “agent” in this
Indenture with reference to the Collateral Agent shall not be construed to connote any fiduciary
or other implied (or express) obligations arising under agency doctrine of any applicable law.
Instead, such term is used merely as a matter of market custom, and is intended to create or
reflect only an administrative relationship between independent contracting parties. Except as
expressly otherwise provided in this Indenture and the Security Documents, the Collateral Agent
is entitled (but not obligated) to exercise or refrain from exercising any discretionary rights or
taking or refraining from taking any actions which the Collateral Agent is expressly entitled to
take or assert under this Indenture and the Security Documents, including the exercise of
remedies pursuant to Article 6, and any action so taken or not taken shall be deemed consented to
by the Trustee and the Holders.

                (b)     The Collateral Agent may execute any of its duties under this Indenture
and the Security Documents by or through agents, employees or attorneys−in−fact and shall be
entitled to advice of counsel concerning all matters pertaining to such duties. The Collateral
Agent shall not be responsible for the negligence or misconduct of any agent, employee or
attorney−in−fact that it selects as long as such selection was made with due care.

                (c)     None of the Collateral Agent or any of its agents or employees shall (i) be
liable for any action taken or omitted to be taken by any of them under or in connection with this
Indenture or the transactions contemplated hereby (except for its own gross negligence or willful
misconduct) or under or in connection with any Security Document or the transactions
contemplated thereby (except for its own gross negligence or willful misconduct), or (ii) be
responsible in any manner to the Trustee or any Holder for any recital, statement, representation,
warranty, covenant or agreement made by the Issuer or any Guarantor, contained in this
Indenture or any indenture, or in any certificate, report, statement or other document referred to
or provided for in, or received by the Collateral Agent under or in connection with, this
Indenture, any other indenture or the Security Documents, or the validity, effectiveness,
genuineness, enforceability or sufficiency of this Indenture, any other indenture or the Security
Documents, or for any failure of the Issuer or any Guarantor or any other party to this Indenture
or the Security Documents to perform its obligations hereunder or thereunder. None of the
Collateral Agent or any of its agents or employees shall be under any obligation to the Trustee or
any Holder to ascertain or to inquire as to the observance or performance of any of the

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agreements contained in, or conditions of, this Indenture, any other indenture or the Security
Documents or to inspect the properties, books or records of the Issuer or any Guarantor.

                (d)     The Collateral Agent shall not be deemed to have actual knowledge or
notice of the occurrence of any Default or Event of Default, unless the Collateral Agent shall
have received written notice from the Trustee or the Issuer referring to this Indenture, describing
such Default or Event of Default and stating that such notice is a “notice of default.” The
Collateral Agent shall take such action with respect to such Default or Event of Default as may
be requested by the Trustee in accordance with Article 6 (subject to this Section 12.07);
provided, however, that unless and until the Collateral Agent has received any such request, the
Collateral Agent may (but shall not be obligated to) take such action, or refrain from taking such
action, with respect to such Default or Event of Default as it shall deem advisable.

                 (e)     A resignation or removal of the Collateral Agent and appointment of a
successor Collateral Agent shall become effective only upon the successor Collateral Agent’s
acceptance of appointment as provided in this Section 12.07(e). The Collateral Agent may resign
in writing at any time by so notifying the Issuer and the Trustee at least 30 days prior to the
proposed date of resignation. The Holders of a majority in aggregate principal amount of the then
outstanding Notes may remove the Collateral Agent by so notifying the Trustee and the
Collateral Agent and the Issuer in writing not less than 30 days prior to the effective date of such
removal. The Issuer may remove the Collateral Agent if: (i) the Collateral Agent fails to meet
the requirements for being a Trustee under Section 7.10 (prior to the discharge or defeasance of
this Indenture); (ii) the Collateral Agent is adjudged a bankrupt or an insolvent or an order for
relief is entered with respect to the Collateral Agent under any Bankruptcy Law; (iii) a custodian
or public officer takes charge of the Collateral Agent or its property; or (iv) the Collateral Agent
becomes incapable of acting. If the Collateral Agent resigns or is removed or if a vacancy exists
in the office of Collateral Agent for any reason, the Issuer shall promptly appoint a successor
Collateral Agent which complies with the eligibility requirements contained in this Indenture. If
the Collateral Agent resigns or is removed or if a vacancy exists in the office of the Collateral
Agent for any reason, Holders of a majority in aggregate principal amount of the then
outstanding Notes may appoint a successor Collateral Agent within 60 days of such resignation
or removal. If a majority of Holders do not so appoint a successor Collateral Agent within such
60 days, the Issuer may appoint a successor Collateral Agent; provided, that within one year after
the Issuer-appointed successor Collateral Agent takes office, the Holders of a majority in
aggregate principal amount of the then outstanding Notes may appoint a successor Collateral
Agent to replace the successor Collateral Agent appointed by the Issuer. If a successor Collateral
Agent does not take office within the time periods set forth in the preceding sentences, the Issuer
or the holders of at least 10% in principal amount of the then outstanding principal amount of the
Notes may petition any court of competent jurisdiction, at the expense of the Issuer for the
appointment of a successor Collateral Agent. A successor Collateral Agent shall deliver a written
acceptance of its appointment to the retiring Collateral Agent and to the Issuer. Thereupon, the
resignation or removal of the retiring Collateral Agent shall become effective, and the successor
Collateral Agent shall have all the rights, powers and the duties of the Collateral Agent under
this Indenture and the Security Documents. The successor Collateral Agent shall mail a notice of
its succession to the Trustee. The retiring Collateral Agent shall promptly transfer all property
held by it as Collateral Agent to the successor Collateral Agent, provided that all sums owing to
the Collateral Agent hereunder have been paid. Notwithstanding replacement of the Collateral

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Agent pursuant to this Section 12.07(e), the Issuer’s obligations under this Section 12.07 and
Section 12.12 shall continue for the benefit of the retiring Collateral Agent.

                 (f)     Except as otherwise explicitly provided herein or in the Security
Documents, neither the Collateral Agent nor any of its officers, directors, employees or agents
shall be liable for failure to demand, collect or realize upon any of the Collateral or for any delay
in doing so or shall be under any obligation to sell or otherwise dispose of any Collateral upon
the request of any other Person or to take any other action whatsoever with regard to the
Collateral or any part thereof. The Collateral Agent shall be accountable only for amounts that it
actually receives as a result of the exercise of such powers, and neither the Collateral Agent nor
any of its officers, directors, employees or agents shall be responsible for any act or failure to act
hereunder, except for its own willful misconduct, gross negligence or bad faith.

                (g)    The Trustee and the Collateral Agent are authorized and directed in
writing by the Holders and the Holders by acquiring the Notes are deemed to have authorized the
Trustee or the Collateral Agent, as applicable, to (i) enter into the Security Documents, (ii) bind
the Holders on the terms as set forth in the Security Documents and (iii) perform and observe
their respective obligations under the Security Documents.

                 (h)    Neither the Collateral Agent nor the Trustee shall have any obligation
whatsoever to assure that the Collateral exists or is owned by the Issuer and the Guarantors or is
cared for, protected or insured or has been encumbered, or that the Collateral Agent’s Liens have
been properly or sufficiently or lawfully created, perfected, protected, maintained or enforced or
are entitled to any particular priority, or to determine whether all of the Grantor’s property
constituting collateral intended to be subject to the Lien and security interest of the Security
Documents has been properly and completely listed or delivered, as the case may be, or the
genuineness, validity, marketability or sufficiency thereof or title thereto, or to exercise at all or
in any particular manner or under any duty of care, disclosure or fidelity, or to continue
exercising, any of the rights, authorities and powers granted or available to the Collateral Agent
pursuant to this Indenture or any Security Document, it being understood and agreed that in
respect of the Collateral, or any act, omission or event related thereto, the Collateral Agent may
act in any manner it may deem appropriate, in its sole discretion given the Collateral Agent’s
own interest in the Collateral, and that neither the Collateral Agent nor the Trustee shall have any
other duty or liability whatsoever as to any of the foregoing.

                (i)      The Collateral Agent (i) shall not be liable for any action it takes or omits
to take in good faith it believes to be authorized or within its rights or powers, or for any error of
judgment made in good faith by an authorized officer, unless it is proved that the Collateral
Agent was grossly negligent in ascertaining the pertinent facts, (ii) shall not be liable for interest
on any money received by it except as the Collateral Agent may agree in writing with the Issuer
(and money held in trust by the Collateral Agent need not be segregated from other funds except
to the extent required by law), and (iii) may consult with counsel of its selection and the advice
or opinion of such counsel as to matters of law shall be full and complete authorization and
protection from liability in respect of any action taken, omitted or suffered by it in good faith and
in accordance with the advice or opinion of such counsel. The grant of permissive rights or
powers to the Collateral Agent shall not be construed to impose duties to act. In no event shall
the Collateral Agent be responsible or liable for special, indirect, punitive or consequential loss

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or damage of any kind whatsoever (including, but not limited to, loss of profit) irrespective of
whether the Collateral Agent has been advised of the likelihood of such loss or damage and
regardless of the form of action.

                (j)     Notwithstanding anything to the contrary in this Indenture (including this
Article 12), in the event of a foreclosure on the Mortgaged Property and/or the exercise of its
remedies under the Security Documents, the Trustee and Collateral Agent agree that they shall
not take any action that results in the disturbance, extinguishment or termination of any
Permitted Liens granted pursuant to clause 14(B) of the definition thereof. Upon the request of
the Issuer, the Collateral Agent shall enter into (x) in the case of any such Permitted Lien that is a
lease, a subordination non−disturbance and attornment agreement and (y) in the case of any such
other Permitted Lien, a nondisturbance agreement, consent or such other agreement which, in
each case, confirms that in the event of a foreclosure on the Mortgaged Property and/or exercise
of remedies under the Security Documents, the Collateral Agent (and its successors and assigns)
will not disturb, extinguish or terminate any such Permitted Liens (or the rights thereunder). Any
request by the Issuer pursuant to the preceding sentence shall be evidenced by a certificate from
an officer of the Issuer which certificate shall certify that (1) the Permitted Liens in question do
not materially adversely affect or impair (A) the business operations of the Issuer and its
Restricted Subsidiaries as a whole or (B) the validity or priority of the Lien of the Mortgages on
the balance of the Mortgaged Property and (2) the applicable non−disturbance agreement,
consent or other agreement provides that the Permitted Liens in question are subordinate to the
Lien in favor of the Collateral Agent on the Mortgaged Property.

                 (k)    The Trustee and the Collateral Agent shall be deemed to have exercised
reasonable care in the custody of the Collateral in their possession if the Collateral is accorded
treatment substantially equal to that which it accords its own property and shall not be liable or
responsible for any loss or diminution in the value of any Collateral, by reason of the act or
omission of any carrier, forwarding agent or other agent or bailee selected by the Trustee or the
Collateral Agent in good faith. Neither the Trustee nor the Collateral Agent shall be responsible
for filing any financing or continuation statements or recording any documents or instruments in
any public office at any time or times or otherwise perfecting or maintaining the perfection of
any security interest in the Collateral.

                 (l)    Except as otherwise provided in this Indenture or the Security Documents,
the Collateral Agent shall be fully justified in failing or refusing to take any action under this
Indenture, the Security Documents or the Intercreditor Agreements unless it shall first receive
such advice or concurrence of the Trustee or the Holders of a majority in aggregate principal
amount of the Notes as it determines and, if it so requests, it shall first be indemnified to its
satisfaction by the Holders against any and all liability and expense which may be incurred by it
by reason of taking or continuing to take any such action. Except as otherwise provided in this
Indenture or the Security Documents, the Collateral Agent shall in all cases be fully protected in
acting, or in refraining from acting, under this Indenture, the Security Documents or the
Intercreditor Agreements in accordance with a request, direction, instruction or consent of the
Trustee or the Holders of a majority in aggregate principal amount of the then outstanding Notes
and such request and any action taken or failure to act pursuant thereto shall be binding upon all
of the Holders. Notwithstanding anything to the contrary contained in this Indenture, the
Intercreditor Agreements or the Security Documents, in the event the Collateral Agent is entitled

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or required to commence an action to foreclose or otherwise exercise its remedies to acquire
control or possession of the Collateral, the Collateral Agent shall not be required to commence
any such action or exercise any remedy or to inspect or conduct any studies of any property
under the mortgages or take any such other action if the Collateral Agent has determined that the
Collateral Agent may incur personal liability as a result of the presence at, or release on or from,
the Collateral or such property, of any hazardous substances. The Collateral Agent shall at any
time be entitled to cease taking any action described in this clause if it no longer reasonably
deems any indemnity, security or undertaking from the Issuers or the Holders to be sufficient.

                 (m)     The parties hereto and the Holders hereby agree and acknowledge that
neither the Collateral Agent nor the Trustee shall assume, be responsible for or otherwise be
obligated for any liabilities, claims, causes of action, suits, losses, allegations, requests, demands,
penalties, fines, settlements, damages (including foreseeable and unforeseeable), judgments,
expenses and costs (including but not limited to, any remediation, corrective action, response,
removal or remedial action, or investigation, operations and maintenance or monitoring costs, for
personal injury or property damages, real or personal) of any kind whatsoever, pursuant to any
environmental law as a result of this Indenture, the Intercreditor Agreements, the other Security
Documents or any actions taken pursuant hereto or thereto. Further, the parties hereto and the
Holders hereby agree and acknowledge that in the exercise of its rights under this Indenture, the
Intercreditor Agreements and the other Security Documents, the Collateral Agent or the Trustee
may hold or obtain indicia of ownership primarily to protect the security interest of the Collateral
Agent or the Trustee in the Collateral and that any such actions taken by the Collateral Agent or
the Trustee shall not be construed as or otherwise constitute any participation in the management
of such Collateral. In the event that the Collateral Agent or the Trustee is required to acquire
title to an asset for any reason, or take any managerial action of any kind in regard thereto, in
order to carry out any fiduciary or trust obligation for the benefit of another, which in the
Collateral Agent’s or the Trustee’s sole discretion may cause the Collateral Agent or the Trustee
to be considered an “owner or operator” under the provisions of the Comprehensive
Environmental Response, Compensation and Liability Act (“CERCLA”), 42 U.S.C. §9601, et
seq., or otherwise cause the Collateral Agent or the Trustee to incur liability under CERCLA or
any other federal, state or local law, the Collateral Agent and the Trustee reserves the right,
instead of taking such action, to either resign as the Collateral Agent or the Trustee or arrange for
the transfer of the title or control of the asset to a court-appointed receiver. Neither the Collateral
Agent nor the Trustee shall be liable to the Issuer, the Guarantors or any other Person for any
environmental claims or contribution actions under any federal, state or local law, rule or
regulation by reason of the Collateral Agent’s or the Trustee’s actions and conduct as authorized,
empowered and directed hereunder or relating to the discharge, release or threatened release of
hazardous materials into the environment. If at any time it is necessary or advisable for property
to be possessed, owned, operated or managed by any Person (including the Collateral Agent or
the Trustee) other than the Issuers or the Guarantors, subject to the terms of the Security
Documents, a majority in interest of Holders shall direct the Collateral Agent or the Trustee to
appoint an appropriately qualified Person (excluding the Collateral Agent or the Trustee) who
they shall designate to possess, own, operate or manage, as the case may be, the property.

               (n)    The Collateral Agent, in executing and performing its duties hereunder
and under the Security Documents, shall be entitled to all of the rights, protections, immunities


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and indemnities granted to it hereunder, including after the satisfaction and discharge of this
Indenture or the payment in full of the Notes.

                (o)     For the avoidance of doubt, the rights, privileges, protections, immunities
and benefits given to the Trustee hereunder shall apply to the Collateral Agent as well and the
rights, privileges, protections, immunities and benefits given to the Collateral Agent hereunder,
including, without limitation, its right to be indemnified prior to taking action, shall survive the
satisfaction, discharge or termination of this Indenture or earlier termination, resignation or
removal of the Collateral Agent.

                (p)     The Trustee and Collateral Agent shall be under no obligation to effect or
maintain insurance or to renew any policies of insurance or to inquire as to the sufficiency of any
policies of insurance carried by the Issuer or any Guarantor, or to report, or make or file claims
or proof of loss for, any loss or damage insured against or that may occur, or to keep itself
informed or advised as to the payment of any taxes or assessments, or to require any such
payment to be made.

               (q)     In no event shall the Collateral Agent be required to execute and deliver
any landlord lien waiver, estoppel or collateral access letter, or any account control agreement or
any instruction or direction letter delivered in connection with such document that the Collateral
Agent determines adversely affects it or otherwise subjects it to personal liability, including
without limitation, agreements to indemnify any contractual counterparty.

Section 12.08 Purchaser Protected.

                No purchaser or grantee of any property or rights purporting to be released shall
be bound to ascertain the authority of the Collateral Agent or Trustee to execute the release or to
inquire as to the existence of any conditions herein prescribed for the exercise of such authority
so long as the conditions set forth in Section 12.04 have been satisfied.

Section 12.09 Authorization of Actions to Be Taken by the Collateral Agent Under the Security
Documents.

                The Holders agree that the Collateral Agent shall be entitled to the rights,
privileges, protections immunities, indemnities and benefits provided to the Collateral Agent by
the Security Documents. Furthermore, each holder of a Note, by accepting such Note, consents
to the terms of and authorizes and directs the Trustee (in each of its capacities) and the Collateral
Agent to enter into and perform the Security Documents in each of its capacities thereunder.

Section 12.10 Authorization of Receipt of Funds by the Trustee Under the Security Agreement.

               The Trustee is authorized to receive any funds for the benefit of Holders
distributed under the Security Documents to the Trustee, to apply such funds as provided in
Section 6.10 hereof.

Section 12.11 Powers Exercisable by Receiver or Collateral Agent.



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                In case the Collateral shall be in the possession of a receiver or trustee, lawfully
appointed, the powers conferred in this Article 12 upon the Issuer or any Guarantor, as
applicable, with respect to the release, sale or other disposition of such property may be
exercised by such receiver or trustee, and an instrument signed by such receiver or trustee shall
be deemed the equivalent of any similar instrument of the Issuer or any Guarantor, as applicable,
or of any officer or officers thereof required by the provisions of this Article 12.

Section 12.12 Compensation and Indemnification.

                The Collateral Agent shall be entitled to the compensation and indemnification set
forth in Section 7.07 (with the references to the Trustee therein being deemed to refer to the
Collateral Agent).

                                           ARTICLE 13

                                          [RESERVED]

                                           ARTICLE 14

                                       MISCELLANEOUS

Section 14.01 Intentionally Omitted.

Section 14.02 Notices.

                (a)     Any notice, direction, request, instruction, document, or communication
by the Issuer, any Guarantor or the Trustee to the others is duly given if in writing and delivered
in Person or by first class mail (registered or certified, return receipt requested), facsimile
transmission electronically in PDF format or overnight air courier guaranteeing next day
delivery, to the others’ address:

       If to either Issuer and/or any Guarantor:

               TPC Group Inc.
               One Allen Center
               500 Dallas Street, Suite 2000
               Houston, Texas 77002
               Facsimile: (832) 415-0456
               Attention: Marilyn Moore Basso
               Email: Marilyn.MooreBasso@tpcgrp.com

               With a copy to:

               Simpson Thacher & Bartlett LLP
               425 Lexington Avenue
               New York, New York 10017
               Facsimile: (212) 455-2502


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               Attention: David Azarkh, Esq.
               Email: dazarkh@stblaw.com

       If to the Trustee or the Collateral Agent:

               U.S. Bank National Association
               Global Corporate Trust Services
               13737 Noel Road, Suite 800
               Dallas, Texas 75240
               Facsimile: (972) 581-1670

                The Issuer, any Guarantor, the Trustee or the Collateral Agent, by notice to the
others, may designate additional or different addresses for subsequent notices or
communications; provided, however, that notices to the Trustee shall only be effective upon
actual receipt.

               (b)     All notices and communications (other than those sent to Holders) will be
deemed to have been duly given: at the time delivered by hand, if personally delivered; five
calendar days after being deposited in the mail, postage prepaid, if mailed; when receipt
acknowledged, if transmitted by facsimile; when sent, if sent electronically in PDF format and
the next Business Day after timely delivery to the courier, if sent by overnight air courier
guaranteeing next day delivery.

                (c)     Notwithstanding any other provision hereof or of any Note, where this
Indenture or any Note provides for notice of any event (including any notice of redemption) to
any holder of an interest in a Global Note (whether by email or otherwise), such notice shall be
sufficiently given if given to DTC or other applicable Depositary for such note (or its designee)
according to the applicable procedures of DTC or such Depositary. Any notice or
communication to a Holder of a Definitive Note will be mailed by first class mail, certified or
registered, return receipt requested, or by overnight air courier guaranteeing next day delivery to
its address shown on the register kept by the Registrar. Failure to send a notice or
communication to a Holder as provided herein or any defect in it will not affect its sufficiency
with respect to other Holders.

              (d)     If a notice or communication is sent in the manner provided in this
Section 14.02 within the time prescribed, it is duly given, whether or not the addressee receives
it.

               (e)    If the Issuer sends a notice or communication to Holders, it will send a
copy to the Trustee and each Agent at the same time.

                (f)     In respect of this Indenture, the Trustee and Collateral Agent shall not
have any duty or obligation to verify or confirm that the Person sending instructions, directions,
reports, notices or other communications or information by electronic transmission is, in fact, a
Person authorized to give such instructions, directions, reports, notices or other communications
or information on behalf of the party purporting to send such electronic transmission; and neither
the Trustee nor the Collateral Agent shall have any liability for any losses, liabilities, costs or
expenses incurred or sustained by any party as a result of such reliance upon or compliance with
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such instructions, directions, reports, notices or other communications or information. Each other
party agrees to assume all risks arising out of the use of electronic methods to submit
instructions, directions, reports, notices or other communications or information to the Trustee
and the Collateral Agent, including without limitation the risk of the Trustee and the Collateral
Agent acting on unauthorized instructions, notices, reports or other communications or
information, and the risk of interception and misuse by third parties.

Section 14.03 [Reserved].

Section 14.04 Certificate and Opinion as to Conditions Precedent.

                Upon any request or application by the Issuer to the Trustee to take any action
under this Indenture, the Intercreditor Agreements or the other Security Documents (other than in
connection with the Authentication Order, dated the date hereof, and delivered to the Trustee in
connection with the issuance of the Initial Notes, in which case only an Officer’s Certificate shall
be furnished), the Issuer shall furnish to the Trustee:

              (1)      an Officer’s Certificate (which must include the statements set forth in
       Section 14.05 hereof) stating that, in the opinion of the signers, all conditions precedent
       and covenants, if any, provided for in this Indenture relating to the proposed action have
       been satisfied; and

              (2)    an Opinion of Counsel (which must include the statements set forth in
       Section 14.05 hereof) stating that, in the opinion of such counsel, all such conditions
       precedent and covenants have been satisfied.

Section 14.05 Statements Required in Certificate or Opinion.

              Each certificate or opinion with respect to compliance with a condition or
covenant provided for in this Indenture must include substantially:

              (1)    a statement that the Person making such certificate or opinion has read
       such covenant or condition;

               (2)    a brief statement as to the nature and scope of the examination or
       investigation upon which the statements or opinions contained in such certificate or
       opinion are based;

              (3)     a statement that, in the opinion of such Person, he or she has made such
       examination or investigation as is necessary to enable him or her to express an informed
       opinion as to whether or not such covenant or condition has been satisfied; and

              (4)     a statement as to whether or not, in the opinion of such Person, such
       condition or covenant has been satisfied.

Section 14.06 Rules by Trustee and Agents.



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             The Trustee may make reasonable rules for action by or at a meeting of Holders.
The Agents may make reasonable rules and set reasonable requirements for its functions.

Section 14.07 No Personal Liability of Directors, Officers, Employees and Stockholders.

                To the extent permitted by law, no past, present or future director, manager,
officer, employee, incorporator, stockholder or member of the Issuer, any parent of the Issuer or
any Subsidiary, as such, will have any liability for any obligations of the Issuer or the Guarantors
under the Notes, this Indenture, the Note Guarantees or for any claim based on, in respect of, or
by reason of, such obligations or their creation. Each Holder by accepting a Note waives and
releases all such liability. The waiver and release are part of the consideration for issuance of the
Notes.

Section 14.08 Governing Law.

           (a)   THIS INDENTURE, THE NOTES, AND THE NOTE GUARANTEES
SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH THE LAWS
OF THE STATE OF NEW YORK.

                 (b)    Each party hereto irrevocably and unconditionally submits to the
jurisdiction of the Supreme Court of the State of New York sitting in the Borough of Manhattan,
New York County and of the United States District Court of the Southern District of New York
sitting in the Borough of Manhattan, and any appellate court from any jurisdiction thereof, in any
action or proceeding arising out of or relating to this Indenture, the Notes or the Note
Guarantees, or for recognition or enforcement of any judgment, and each of the parties hereto
hereby irrevocably and unconditionally agrees that all claims in respect of any such action or
proceeding may be heard and determined in such New York State or, to the extent permitted by
law, in such Federal court. Each party hereto agrees that a final judgment in any such action or
proceeding shall be conclusive and may be enforced in other jurisdictions by suit on the
judgment or in any other manner provided by law. Nothing in this Indenture shall affect any right
that any party hereto or any Secured Party may otherwise have to bring any action or proceeding
relating to this Indenture against any party hereto or its properties in the courts of any
jurisdiction.

                (c)     Each party hereto irrevocably and unconditionally waives, to the fullest
extent it may legally and effectively do so, any objection which it may now or hereafter have to
the laying of venue of any suit, action or proceeding arising out of or relating to this Indenture in
any court referred to in Section 14.08(b) hereto. Each party hereto irrevocably waives, to the
fullest extent permitted by law, the defense of an inconvenient forum to the maintenance of such
action or proceeding in any such court.

               (d)     Each party hereto irrevocably consents to service of process in the manner
provided for notices in Section 14.02 hereof, such service to be effective upon receipt.

       Nothing in this Indenture will affect the right of any party hereto or any Secured Party to
       serve process in any other manner permitted by law.

Section 14.09 Successors.

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               All agreements of the Issuer in this Indenture and the Notes will bind its
successors. All agreements of the Trustee in this Indenture will bind its successors. All
agreements of each Guarantor in this Indenture will bind its successors, except as otherwise
provided in Section 10.04.

Section 14.10 Severability.

              In case any provision in this Indenture or in the Notes is invalid, illegal or
unenforceable, the validity, legality and enforceability of the remaining provisions will not in
any way be affected or impaired thereby.

Section 14.11 Counterpart Originals.

                The parties may sign any number of copies of this Indenture. Each signed copy
will be an original, but all of them together represent the same agreement. The exchange of
copies of this Indenture and of signature pages by facsimile or PDF transmission shall constitute
effective execution and delivery of this Indenture as to the parties hereto and may be used in lieu
of the original Indenture for all purposes. Signatures of the parties hereto transmitted by
facsimile or PDF shall be deemed to be their original signatures for all purposes. In furtherance
of the foregoing, the words “execution”, “signed”, “signature”, “delivery” and words of like
import in or relating to this Indenture or any document to be signed in connection with this
Indenture and the transactions contemplated hereby or thereby shall be deemed to include
electronic signatures (including .pdf file, .jpeg file or any electronic signature complying with the
U.S. federal ESIGN Act of 2000, including Orbit, Adobe Sign, DocuSign, or any other similar
platform identified by the Company and reasonably available at no undue burden or expense to
the Trustee), deliveries or the keeping of records in electronic form, each of which shall be of the
same legal effect, validity or enforceability as a manually executed signature, physical delivery
thereof or the use of a paper-based recordkeeping system, as the case may be, to the extent and as
provided for in any applicable law, including the Federal Electronic Signatures in Global and
National Commerce Act, the New York State Electronic Signatures and Records Act, or any
other similar state laws based on the Uniform Electronic Transactions Act, and the parties hereto
consent to conduct the transactions contemplated hereunder by electronic means.

Section 14.12 Table of Contents, Headings, etc.

                The Table of Contents, Cross−Reference Table and Headings of the Articles and
Sections of this Indenture have been inserted for convenience of reference only, are not to be
considered a part of this Indenture and will in no way modify or restrict any of the terms or
provisions hereof.

Section 14.13 Waiver of Immunity.

                To the extent that any of the Issuer or the Guarantors has or hereafter may acquire
any immunity from jurisdiction of any court or from any legal process (whether through service
of notice, attachment prior to judgment, attachment in aid of execution or execution, on the
ground of sovereignty or otherwise) with respect to itself or its property, it hereby irrevocably
waives, to the fullest extent permitted by applicable law, such immunity in respect of its
obligations under this Indenture, Note and/or Note Guarantees.
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Section 14.14 Waiver of Jury Trial.

           ALL PARTIES HERETO HEREBY IRREVOCABLY WAIVE ALL RIGHTS
TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER
BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO
THIS INDENTURE, THE NOTES, THE NOTE GUARANTEES, THE SECURITY
DOCUMENTS, THE INTERCREDITOR AGREEMENTS OR THE TRANSACTIONS
CONTEMPLATED HEREBY OR THEREBY.

Section 14.15 U.S.A. Patriot Act.

                The parties hereto acknowledge that in accordance with Section 326 of the U.S.A.
Patriot Act, the Trustee, like all financial institutions and in order to help fight the funding of
terrorism and money laundering, is required to obtain, verify, and record information that
identifies each person or legal entity that establishes a relationship or opens an account with the
Trustee. The parties to this Indenture agree that they will provide the Trustee with such
information as it may request in order for the Trustee to satisfy the requirements of the U.S.A.
Patriot Act.

                                 [Signatures on following page]




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                                                                                     EXHIBIT A1

                                  [Face of 144A Global Note]

[Insert the Global Note Legend, if applicable pursuant to the provisions of the Indenture]

[Insert the Private Placement Legend, if applicable pursuant to the provisions of the Indenture]

[Insert the OID Legend, if applicable pursuant to the provisions of the Indenture]


                                                                          CUSIP/ISIN [●]1 / [●]2

                            10.875% Senior Secured Notes due 2024

       No.                                                                               $

                                           TPC Group Inc.
                                           One Allen Center
                                      500 Dallas Street, Suite 2000
                                         Houston, Texas 77002

       promise to pay to CEDE & CO. or registered assigns,

       the principal sum of _______________ DOLLARS on August 1, 2024.

       Interest Payment Dates: February 1, May 1, August 1 and November 1

       Record Dates: January 15, April 15, July 15 and September 15

       Dated: [●], 2021




1
 144A CUSIP: 89236Y AC8.
IA CUSIP: 89236Y AD6.
2
 144A ISIN: US89236YAC84.
IA ISIN: US89236YAD67.

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                                                 TPC GROUP INC.


                                                 By:
                                                       Name:
                                                       Title:



        This is one of the Notes referred to
in the within−mentioned Indenture:

 U.S. BANK NATIONAL ASSOCIATION,
 as Trustee


 By:
                         Authorized Signatory


Date:




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                                  [Back of 144A Global Note]
                            10.875% Senior Secured Notes due 2024

               Capitalized terms used herein have the meanings assigned to them in the
Indenture referred to below unless otherwise indicated.

                (1)     INTEREST. TPC Group Inc., a Delaware corporation (the “Issuer”),
promises to pay interest on the principal amount of this Note at 10.875% per annum from [●]
until maturity; provided that upon the occurrence of, and solely during the continuation of, an
Event of Default, the interest rate shall be increased by 2.00% per annum. The Issuer will pay
interest quarterly in arrears on February 1, May 1, August 1 and November 1 of each year, or if
any such day is not a Business Day, on the next succeeding Business Day (each, an “Interest
Payment Date”). Interest on the Notes will accrue from the most recent date to which interest has
been paid or, if no interest has been paid, from February 2, 2021 until the principal hereof is due.
The first Interest Payment Date shall be May 1, 2021. The Issuer will pay interest on overdue
principal, Applicable Premium, if any, and any other premium, if any, at the rate borne by the
Notes, and it shall pay interest on overdue installments of interest at the same rate to the extent
lawful. Interest will be computed on the basis of a 360−day year of twelve 30−day months.

                (2)      METHOD OF PAYMENT. The Issuer will pay interest on the Notes
(except defaulted interest) to the Persons who are registered Holders at the close of business on
the January 15, April 15, July 15 or September 15 immediately preceding the Interest Payment
Date (whether or not a Business Day), even if such Notes are canceled after such record date and
on or before such Interest Payment Date, except as provided in Section 2.12 of the Indenture
with respect to defaulted interest. Payments in respect of Notes represented by Global Notes
(including principal, Applicable Premium or any other premium, if any, and interest) shall be
made by wire transfer of immediately available funds to the accounts specified by The
Depository Trust Company or any successor depositary. The Issuer will make all payments in
respect of a Definitive Note (including principal, Applicable Premium or any other premium, if
any, and interest), at the office of each Paying Agent, except that, at the option of the Issuer,
payment of interest may be made by mailing a check to the registered address of each Holder
thereof; provided, however, that payments on the Notes may also be made in the case of a Holder
of at least $1,000,000 aggregate principal amount of Notes, by wire transfer to a U.S. dollar
account maintained by the payee with a bank in the United States if such Holder elects payment
by wire transfer by giving written notice to the Trustee or a Paying Agent to such effect
designating such account no later than 30 days immediately preceding the relevant due date for
payment (or such other date as the Trustee may accept in its discretion). Such payment will be in
such coin or currency of the United States of America as at the time of payment is legal tender
for payment of public and private debts.

               (3)     PAYING AGENT AND REGISTRAR. Initially, U.S. Bank National
Association, the Trustee under the Indenture, will act as Paying Agent and Registrar. The Issuer
may change any Paying Agent or Registrar without notice to any Holder. The Issuer or any of the
Issuer’s Subsidiaries may act in any such capacity.

              (4)     INDENTURE. The Issuer issued the Notes under an Indenture dated as of
February 2, 2021 (the “Indenture”) among the Issuer, the Guarantors, the Trustee and the

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Collateral Agent. The terms of the Notes include those stated in the Indenture. Terms defined in
the Indenture and not defined herein have the meanings ascribed thereto in the Indenture. The
Notes are subject to all the terms and provisions of the Indenture, and Holders are referred to the
Indenture for a statement of such terms. To the extent any provision of this Note conflicts with
the express provisions of the Indenture, the provisions of the Indenture shall govern and be
controlling.

                The Notes are senior secured obligations of the Issuer. This Note is one of the
Notes referred to in the Indenture. The Notes include the Initial Notes and any Additional Notes.
The Initial Notes and any Additional Notes are treated as a single class of securities under the
Indenture. The Indenture imposes certain limitations on the ability of the Issuer and its Restricted
Subsidiaries to, among other things, make certain Investments and other Restricted Payments,
pay dividends and other distributions, incur Indebtedness, enter into consensual restrictions upon
the payment of certain dividends and distributions by such Restricted Subsidiaries, issue or sell
shares of capital stock of the Issuer and such Restricted Subsidiaries, enter into or permit certain
transactions with Affiliates, create or incur Liens and make asset sales. The Indenture also
imposes limitations on the ability of the Issuer and each Guarantor to consolidate or merge with
or into any other Person or convey, transfer or lease all or substantially all of its property.

               To guarantee the due and punctual payment of the principal and interest on the
Notes and all other amounts payable by the Issuer under the Indenture, the Notes and the
Security Documents when and as the same shall be due and payable, whether at maturity, by
acceleration or otherwise, according to the terms of the Notes and the Indenture, (x) Holdings
has unconditionally guaranteed the Obligations of the Issuer under the Notes on a senior
unsecured basis pursuant to the terms of the Indenture and (y) the Subsidiary Guarantors have,
jointly and severally, unconditionally guaranteed the Obligations of the Issuer under the Notes on
a senior secured basis pursuant to the terms of the Indenture.

                The Notes shall be secured by Liens and security interests, subject to Permitted
Liens, in the Collateral on the terms and conditions set forth in the Indenture, the Intercreditor
Agreement and the other Security Documents. The Collateral Agent holds the Collateral in trust
for the benefit of the Holders of the Notes Obligations and the Trustee and the Holders, in each
case pursuant to the Security Documents. The Collateral will also secure Indebtedness and other
Obligations permitted under the Indenture to be secured.

                Each Holder by accepting this Note consents and agrees to the terms of the
Intercreditor Agreement and the other Security Documents as the same may be in effect or may
be amended from time to time in accordance with their terms and the Indenture authorizes and
directs the Collateral Agent and the Trustee, as applicable, to enter into the Intercreditor
Agreement and the other Security Documents and to perform its obligations and exercise its
rights thereunder in accordance therewith.

              (5)    OPTIONAL REDEMPTION. The Issuer may redeem all or a part of the
Notes in accordance with the terms of Article III of the Indenture.

             (6)    MANDATORY REDEMPTION. The Issuer is not required to make
mandatory redemption or sinking fund payments with respect to the Notes.

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                (7)    NOTICE OF REDEMPTION. Notice of redemption will be mailed, or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, at least 15 days but not more than 60 days before the redemption date to each Holder
whose Notes are to be redeemed at its registered address, except that redemption notices may be
mailed more than 60 days prior to a redemption date, or otherwise deliver notice in accordance
with the applicable procedures of DTC, with a copy to the Trustee, if the notice is issued in
connection with a defeasance of the Notes or a satisfaction or discharge of the Indenture. Notes
in denominations larger than $1.00 may be redeemed in part but only in whole multiples of $1.00
in excess of $1.00.

               (8)    REPURCHASE AT THE OPTION OF HOLDER.

                (a)     If there is a Change of Control, the Issuer will make an offer (a “Change
of Control Offer”) to each Holder to repurchase all or any part (equal to $1.00 or an integral
multiple of $1.00 in excess of $1.00) of that Holder’s Notes at a purchase price in cash equal to
101% of the aggregate principal amount of Notes repurchased plus accrued and unpaid interest
on the Notes repurchased to, but not including, the date of purchase, subject to the rights of
Holders on the relevant record date to receive interest due on the relevant interest payment date.
Within 30 days following any Change of Control, the Issuer will mail a notice to each Holder or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, setting forth the procedures governing the Change of Control Offer as required by the
Indenture.

               (b)     If the Issuer or a Restricted Subsidiary of the Issuer consummates any
Asset Sales or receives Net Proceeds from Casualty Events, the Issuer shall be subject to the
provisions of Section 4.08 of the Indenture.

                (9)    DENOMINATIONS, TRANSFER, EXCHANGE. The Notes are in
registered form without coupons in denominations of $1.00 and integral multiples of $1.00 in
excess of $1.00. The transfer of Notes may be registered and Notes may be exchanged as
provided in the Indenture. The Registrar and the Trustee may require a Holder, among other
things, to furnish appropriate endorsements and transfer documents and the Issuer may require a
Holder to pay any taxes and fees required by law or permitted by the Indenture. The Issuer need
not exchange or register the transfer of any Note or portion of a Note selected for redemption,
except for the unredeemed portion of any Note being redeemed in part. Also, the Issuer need not
exchange or register the transfer of any Notes for a period of 15 days before a selection of Notes
to be redeemed or during the period between a record date and the corresponding Interest
Payment Date.

                (10) PERSONS DEEMED OWNERS. The registered Holder may be treated as
its owner for all purposes.

              (11) AMENDMENT, SUPPLEMENT AND WAIVER. The provisions
governing amendment, supplement and waiver of any provision of the Indenture, the Notes or
the Note Guarantees are set forth in Article 9 of the Indenture.




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               (12) DEFAULTS AND REMEDIES. The Events of Default relating to the Notes
are defined in Section 6.01 of the Indenture.

                (13) DISCHARGE AND DEFEASANCE. Subject to certain conditions, the
Issuer at any time may terminate some or all of its obligations under the Notes, the Note
Guarantees and the Indenture if the Issuer deposits with the Trustee money for the payment of
principal of and interest on the Notes to redemption or maturity, as the case may be.

                 (14) TRUSTEE DEALINGS WITH ISSUER. The Trustee, in its individual or
any other capacity, may make loans to, accept deposits from, and perform services for the Issuer
or its Affiliates, and may otherwise deal with the Issuer or its Affiliates, as if it were not the
Trustee.

                (15) NO RECOURSE AGAINST OTHERS. A director, manager, officer,
employee, incorporator, member or stockholder of the Issuer or any of the Guarantors, as such,
will not have any liability for any obligations of the Issuer or the Guarantors under the Notes, the
Note Guarantees or the Indenture or for any claim based on, in respect of, or by reason of, such
obligations or their creation. Each Holder by accepting a Note waives and releases all such
liability. The waiver and release are part of the consideration for the issuance of the Notes.

              (16) AUTHENTICATION. This Note will not be valid until authenticated by the
manual or electronic signature of the Trustee or an authenticating agent.

                (17) ABBREVIATIONS. Customary abbreviations may be used in the name of a
Holder or an assignee, such as: TEN COM (= tenants in common), TEN ENT (= tenants by the
entireties), JT TEN (= joint tenants with right of survivorship and not as tenants in common),
CUST (= Custodian), and U/G/M/A (= Uniform Gifts to Minors Act).

               (18) CUSIP NUMBERS. Pursuant to a recommendation promulgated by the
Committee on Uniform Security Identification Procedures, the Issuer has caused CUSIP numbers
to be printed on the Notes, and CUSIP numbers may be used in notices of redemption as a
convenience to Holders. No representation is made as to the accuracy of such numbers either as
printed on the Notes or as contained in any notice of redemption, and reliance may be placed
only on the other identification numbers placed thereon.

           (19) GOVERNING LAW. THE INDENTURE, THIS NOTE AND THE NOTE
GUARANTEES SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK.




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               The Issuer will furnish to any Holder upon written request and without charge a
copy of the Indenture. Requests may be made to:

                                          TPC Group Inc.
                                          One Allen Center
                                     500 Dallas Street, Suite 2000
                                        Houston, Texas 77002




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                                     ASSIGNMENT FORM

       To assign this Note, fill in the form below:

       (I) or (we) assign and transfer this Note

       to:
                                      (Insert assignee’s legal name)


                                (Insert assignee’s soc. sec. or tax I.D. no.)




                          (Print or type assignee’s name, address and zip code)

       and irrevocably

       appoint
       to transfer this Note on the books of the Issuer. The agent may substitute another to act
for him.

       Date:

                                      Your Signature:
                                                        (Sign exactly as your name appears on the
                                                        face of this Note)

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
guarantor acceptable to the Trustee).




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                        OPTION OF HOLDER TO ELECT PURCHASE

               If you want to elect to have this Note purchased by the Issuer pursuant to
Section 4.08 or 4.12 of the Indenture, check the appropriate box below:

                    Section 4.08                                   Section 4.12

               If you want to elect to have only part of the Note purchased by the Issuer pursuant
to Section 4.08 or Section 4.12 of the Indenture, state the amount you elect to have purchased:

                                                 $

       Date:

                                     Your Signature:
                                                       (Sign exactly as your name appears on the
                                                       face of this Note)

                                     Tax Identification No.:

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
       guarantor acceptable to the Trustee).




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SCHEDULE OF TRANSFERS AND EXCHANGES OF INTERESTS IN THE 144A GLOBAL
                              NOTE*

              The following exchanges of a part of this 144A Global Note for an interest in
another Global Note or for a Definitive Note, or exchanges of a part of another Global Note or
Definitive Note for an interest in this 144A Global Note, have been made:

                                                                     Principal Amount of
                                                                       this Global Note        Signature of
                       Amount of decrease      Amount of increase       following such     authorized signatory
 Date of Transfer or   in Principal Amount    in Principal Amount        decrease (or          of Trustee or
     Exchange           of this Global Note    of this Global Note         increase)            Custodian


* This schedule should be included only if the Note is issued in global form




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                                                                         EXHIBIT A2

                      [Face of Regulation S Global Note]

                        [Insert the Global Note Legend]

                     [Insert the Private Placement Legend]

                           [Insert the OID Legend]


                                        CUSIP/ISIN U8925W AE1 / USU8925WAE13

                   10.875% Senior Secured Notes due 2024

No.                                                                            $

                                  TPC Group Inc.
                                  One Allen Center
                             500 Dallas Street, Suite 2000
                                Houston, Texas 77002

promise to pay to CEDE & CO. or registered assigns,

the principal sum of _______________ DOLLARS on August 1, 2024.

Interest Payment Dates: February 1, May 1, August 1 and November 1

Record Dates: January 15, April 15, July 15 and September 15

Dated: [●], 2021




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                                                 TPC GROUP INC.


                                                 By:
                                                       Name:
                                                       Title:



        This is one of the Notes referred to
in the within−mentioned Indenture:

 U.S. BANK NATIONAL ASSOCIATION,
 as Trustee


 By:
                         Authorized Signatory


Date:




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                              [Back of Regulation S Global Note]
                            10.875% Senior Secured Notes due 2024

               Capitalized terms used herein have the meanings assigned to them in the
Indenture referred to below unless otherwise indicated.

                 (1)    INTEREST. TPC Group Inc., a Delaware corporation (the “Issuer”),
promises to pay interest on the principal amount of this Note at 10.875% per annum from [●]
until maturity; provided that upon the occurrence of, and solely during the continuation of, an
Event of Default, the interest rate shall be increased by 2.00% per annum. The Issuer will pay
interest quarterly in arrears on February 1, May1, August 1 and November 1 of each year, or if
any such day is not a Business Day, on the next succeeding Business Day (each, an “Interest
Payment Date”). Interest on the Notes will accrue from the most recent date to which interest has
been paid or, if no interest has been paid, from February 2, 2021 until the principal hereof is due.
The first Interest Payment Date shall be May 1, 2021. The Issuer will pay interest on overdue
principal at the rate borne by the Notes, and it shall pay interest on overdue installments of
interest at the same rate to the extent lawful. Interest will be computed on the basis of a 360−day
year of twelve 30−day months.

                (2)      METHOD OF PAYMENT. The Issuer will pay interest on the Notes
(except defaulted interest) to the Persons who are registered Holders at the close of business on
the January 15, April 15, July 15 or September 15 immediately preceding the Interest Payment
Date (whether or not a Business Day), even if such Notes are canceled after such record date and
on or before such Interest Payment Date, except as provided in Section 2.12 of the Indenture
with respect to defaulted interest. Payments in respect of Notes represented by Global Notes
(including principal, Applicable Premium or any other premium, if any, and interest) shall be
made by wire transfer of immediately available funds to the accounts specified by The
Depository Trust Company or any successor depositary. The Issuer will make all payments in
respect of a Definitive Note (including principal, Applicable Premium or any other premium, if
any, and interest), at the office of each Paying Agent, except that, at the option of the Issuer,
payment of interest may be made by mailing a check to the registered address of each Holder
thereof; provided, however, that payments on the Notes may also be made in the case of a Holder
of at least $1,000,000 aggregate principal amount of Notes, by wire transfer to a U.S. dollar
account maintained by the payee with a bank in the United States if such Holder elects payment
by wire transfer by giving written notice to the Trustee or a Paying Agent to such effect
designating such account no later than 30 days immediately preceding the relevant due date for
payment (or such other date as the Trustee may accept in its discretion). Such payment will be in
such coin or currency of the United States of America as at the time of payment is legal tender
for payment of public and private debts.

               (3)     PAYING AGENT AND REGISTRAR. Initially, U.S. Bank National
Association, the Trustee under the Indenture, will act as Paying Agent and Registrar. The Issuer
may change any Paying Agent or Registrar without notice to any Holder. The Issuer or any of the
Issuer’s Subsidiaries may act in any such capacity.

              (4)     INDENTURE. The Issuer issued the Notes under an Indenture dated as of
February 2, 2021 (the “Indenture”) among the Issuer, the Guarantors, the Trustee and the

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Collateral Agent. The terms of the Notes include those stated in the Indenture. Terms defined in
the Indenture and not defined herein have the meanings ascribed thereto in the Indenture. The
Notes are subject to all the terms and provisions of the Indenture, and Holders are referred to the
Indenture for a statement of such terms. To the extent any provision of this Note conflicts with
the express provisions of the Indenture, the provisions of the Indenture shall govern and be
controlling.

                The Notes are senior secured obligations of the Issuer. This Note is one of the
Notes referred to in the Indenture. The Notes include the Initial Notes and any Additional Notes.
The Initial Notes and any Additional Notes are treated as a single class of securities under the
Indenture. The Indenture imposes certain limitations on the ability of the Issuer and its Restricted
Subsidiaries to, among other things, make certain Investments and other Restricted Payments,
pay dividends and other distributions, incur Indebtedness, enter into consensual restrictions upon
the payment of certain dividends and distributions by such Restricted Subsidiaries, issue or sell
shares of capital stock of the Issuer and such Restricted Subsidiaries, enter into or permit certain
transactions with Affiliates, create or incur Liens and make asset sales. The Indenture also
imposes limitations on the ability of the Issuer and each Guarantor to consolidate or merge with
or into any other Person or convey, transfer or lease all or substantially all of its property.

               To guarantee the due and punctual payment of the principal and interest on the
Notes and all other amounts payable by the Issuer under the Indenture, the Notes and the
Security Documents when and as the same shall be due and payable, whether at maturity, by
acceleration or otherwise, according to the terms of the Notes and the Indenture, (x) Holdings
has unconditionally guaranteed the Obligations of the Issuer under the Notes on a senior
unsecured basis pursuant to the terms of the Indenture and (y) the Subsidiary Guarantors have,
jointly and severally, unconditionally guaranteed the Obligations of the Issuer under the Notes on
a senior secured basis pursuant to the terms of the Indenture.

                The Notes shall be secured by Liens and security interests, subject to Permitted
Liens, in the Collateral on the terms and conditions set forth in the Indenture, the Intercreditor
Agreement and the other Security Documents. The Collateral Agent holds the Collateral in trust
for the benefit of the Holders of the Notes Obligations and the Trustee and the Holders, in each
case pursuant to the Security Documents. The Collateral will also secure Indebtedness and other
Obligations permitted under the Indenture to be secured.

                Each Holder by accepting this Note consents and agrees to the terms of the
Intercreditor Agreement and the other Security Documents as the same may be in effect or may
be amended from time to time in accordance with their terms and the Indenture authorizes and
directs the Collateral Agent and the Trustee, as applicable, to enter into the Intercreditor
Agreement and the other Security Documents and to perform its obligations and exercise its
rights thereunder in accordance therewith.

              (5)    OPTIONAL REDEMPTION. The Issuer may redeem all or a part of the
Notes in accordance with the terms of Article III of the Indenture.

             (6)    MANDATORY REDEMPTION. The Issuer is not required to make
mandatory redemption or sinking fund payments with respect to the Notes.

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                (7)    NOTICE OF REDEMPTION. Notice of redemption will be mailed, or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, at least 15 days but not more than 60 days before the redemption date to each Holder
whose Notes are to be redeemed at its registered address, except that redemption notices may be
mailed more than 60 days prior to a redemption date, or otherwise deliver notice in accordance
with the applicable procedures of DTC, with a copy to the Trustee, if the notice is issued in
connection with a defeasance of the Notes or a satisfaction or discharge of the Indenture. Notes
in denominations larger than $2,000 may be redeemed in part but only in whole multiples of
$1.00 in excess of $1.00.

               (8)    REPURCHASE AT THE OPTION OF HOLDER.

                (a)     If there is a Change of Control, the Issuer will make an offer (a “Change
of Control Offer”) to each Holder to repurchase all or any part (equal to $1.00 or an integral
multiple of $1.00 in excess of $1.00) of that Holder’s Notes at a purchase price in cash equal to
101% of the aggregate principal amount of Notes repurchased plus accrued and unpaid interest
on the Notes repurchased to, but not including, the date of purchase, subject to the rights of
Holders on the relevant record date to receive interest due on the relevant interest payment date.
Within 30 days following any Change of Control, the Issuer will mail a notice to each Holder or
otherwise deliver notice in accordance with the applicable procedures of DTC, with a copy to the
Trustee, setting forth the procedures governing the Change of Control Offer as required by the
Indenture.

               (b)     If the Issuer or a Restricted Subsidiary of the Issuer consummates any
Asset Sales or receives Net Proceeds from Casualty Events, the Issuer shall be subject to the
provisions of Section 4.08 of the Indenture.

                (9)    DENOMINATIONS, TRANSFER, EXCHANGE. The Notes are in
registered form without coupons in denominations of $1.00 and integral multiples of $1.00 in
excess of $1.00. The transfer of Notes may be registered and Notes may be exchanged as
provided in the Indenture. The Registrar and the Trustee may require a Holder, among other
things, to furnish appropriate endorsements and transfer documents and the Issuer may require a
Holder to pay any taxes and fees required by law or permitted by the Indenture. The Issuer need
not exchange or register the transfer of any Note or portion of a Note selected for redemption,
except for the unredeemed portion of any Note being redeemed in part. Also, the Issuer need not
exchange or register the transfer of any Notes for a period of 15 days before a selection of Notes
to be redeemed or during the period between a record date and the corresponding Interest
Payment Date.

                (10) PERSONS DEEMED OWNERS. The registered Holder may be treated as
its owner for all purposes.

              (11) AMENDMENT, SUPPLEMENT AND WAIVER. The provisions governing
amendment, supplement and waiver of any provision of the Indenture, the Notes or the Note
Guarantees are set forth in Article 9 of the Indenture.




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               (12) DEFAULTS AND REMEDIES. The Events of Default relating to the Notes
are defined in Section 6.01 of the Indenture.

                (13) DISCHARGE AND DEFEASANCE. Subject to certain conditions, the
Issuer at any time may terminate some or all of its obligations under the Notes, the Note
Guarantees and the Indenture if the Issuer deposits with the Trustee money for the payment of
principal of and interest on the Notes to redemption or maturity, as the case may be.

                 (14) TRUSTEE DEALINGS WITH ISSUER. The Trustee, in its individual or
any other capacity, may make loans to, accept deposits from, and perform services for the Issuer
or its Affiliates, and may otherwise deal with the Issuer or its Affiliates, as if it were not the
Trustee.

                (15) NO RECOURSE AGAINST OTHERS. A director, manager, officer,
employee, incorporator, member or stockholder of the Issuer or any of the Guarantors, as such,
will not have any liability for any obligations of the Issuer or the Guarantors under the Notes, the
Note Guarantees or the Indenture or for any claim based on, in respect of, or by reason of, such
obligations or their creation. Each Holder by accepting a Note waives and releases all such
liability. The waiver and release are part of the consideration for the issuance of the Notes.

              (16) AUTHENTICATION. This Note will not be valid until authenticated by the
manual or electronic signature of the Trustee or an authenticating agent.

                (17) ABBREVIATIONS. Customary abbreviations may be used in the name of a
Holder or an assignee, such as: TEN COM (= tenants in common), TEN ENT (= tenants by the
entireties), JT TEN (= joint tenants with right of survivorship and not as tenants in common),
CUST (= Custodian), and U/G/M/A (= Uniform Gifts to Minors Act).

               (18) CUSIP NUMBERS. Pursuant to a recommendation promulgated by the
Committee on Uniform Security Identification Procedures, the Issuer has caused CUSIP numbers
to be printed on the Notes, and CUSIP numbers may be used in notices of redemption as a
convenience to Holders. No representation is made as to the accuracy of such numbers either as
printed on the Notes or as contained in any notice of redemption, and reliance may be placed
only on the other identification numbers placed thereon.

           (19) GOVERNING LAW. THE INDENTURE, THIS NOTE AND THE NOTE
GUARANTEES SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK.

               The Issuer will furnish to any Holder upon written request and without charge a
copy of the Indenture. Requests may be made to:

                                            TPC Group Inc.
                                            One Allen Center
                                       500 Dallas Street, Suite 2000
                                          Houston, Texas 77002



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                                     ASSIGNMENT FORM

       To assign this Note, fill in the form below:

       (I) or (we) assign and transfer this Note

       to:
                                      (Insert assignee’s legal name)


                                (Insert assignee’s soc. sec. or tax I.D. no.)




                          (Print or type assignee’s name, address and zip code)

       and irrevocably

       appoint
       to transfer this Note on the books of the Issuer. The agent may substitute another to act
for him.

       Date:

                                      Your Signature:
                                                        (Sign exactly as your name appears on the
                                                        face of this Note)

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
guarantor acceptable to the Trustee).




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                        OPTION OF HOLDER TO ELECT PURCHASE

               If you want to elect to have this Note purchased by the Issuer pursuant to
Section 4.08 or 4.12 of the Indenture, check the appropriate box below:

                    Section 4.08                                   Section 4.12

               If you want to elect to have only part of the Note purchased by the Issuer pursuant
to Section 4.08 or Section 4.12 of the Indenture, state the amount you elect to have purchased:

                                                 $

       Date:

                                     Your Signature:
                                                       (Sign exactly as your name appears on the
                                                       face of this Note)

                                     Tax Identification No.:

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
       guarantor acceptable to the Trustee).




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SCHEDULE OF TRANSFERS AND EXCHANGES OF INTERESTS IN THE REGULATION
                         S GLOBAL NOTE*

              The following exchanges of a part of this Regulation S Global Note for an interest
in another Global Note or for a Definitive Note, or exchanges of a part of another Global Note or
Definitive Note for an interest in this Regulation S Global Note, have been made:

                                                                     Principal Amount of
                                                                       this Global Note        Signature of
                       Amount of decrease      Amount of increase       following such     authorized signatory
 Date of Transfer or   in Principal Amount    in Principal Amount        decrease (or          of Trustee or
     Exchange           of this Global Note    of this Global Note         increase)            Custodian



* This schedule should be included only if the Note is issued in global form




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                                                                                        EXHIBIT B

                           FORM OF CERTIFICATE OF TRANSFER

TPC Group Inc.
One Allen Center
500 Dallas Street, Suite 2000
Houston, Texas 77002

U.S. Bank National Association,
as Trustee and Registrar
Global Corporate Trust Services
13737 Noel Road, Suite 800
Dallas, Texas 75240
Facsimile: (972) 581-1670

                           Re: 10.875% Senior Secured Notes due 2024

               Reference is hereby made to the Indenture, dated as of February 2, 2021
(the “Indenture”), among TPC Group Inc. (the “Issuer”), the Guarantors and U.S. Bank National
Association, as trustee and collateral agent. Capitalized terms used but not defined herein shall
have the meanings given to them in the Indenture.

                ______________, (the “Transferor”) owns and proposes to transfer the Note[s] or
interest in such Note[s] specified in Annex A hereto, in the principal amount of $ _______ in
such Note[s] or interests (the “Transfer”), to __________ (the “Transferee”), as further specified
in Annex A hereto. In connection with the Transfer, the Transferor hereby certifies that:

                                  [CHECK ALL THAT APPLY]

                1.      Check if Transferee will take delivery of a beneficial interest in the
144A Global Note or a Restricted Definitive Note pursuant to Rule 144A. The Transfer is
being effected pursuant to and in accordance with Rule 144A under the Securities Act of 1933,
as amended (the “Securities Act”), and, accordingly, the Transferor hereby further certifies that
the beneficial interest or Definitive Note is being transferred to a Person that the Transferor
reasonably believes is purchasing the beneficial interest or Definitive Note for its own account,
or for one or more accounts with respect to which such Person exercises sole investment
discretion, and such Person and each such account is a “qualified institutional buyer” within the
meaning of Rule 144A in a transaction meeting the requirements of Rule 144A, and such
Transfer is in compliance with any applicable blue sky securities laws of any state of the United
States. Upon consummation of the proposed Transfer in accordance with the terms of the
Indenture, the transferred beneficial interest or Definitive Note will be subject to the restrictions
on transfer enumerated in the Private Placement Legend printed on the 144A Global Note and/or
the Restricted Definitive Note and in the Indenture and the Securities Act.

               2.      Check if Transferee will take delivery of a beneficial interest in the
Regulation S Global Note or a Restricted Definitive Note pursuant to Regulation S. The
Transfer is being effected pursuant to and in accordance with Rule 903 or Rule 904 under the

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Securities Act and, accordingly, the Transferor hereby further certifies that (i) the Transfer is not
being made to a Person in the United States and (x) at the time the buy order was originated, the
Transferee was outside the United States or such Transferor and any Person acting on its behalf
reasonably believed and believes that the Transferee was outside the United States or (y) the
transaction was executed in, on or through the facilities of a designated offshore securities
market and neither such Transferor nor any Person acting on its behalf knows that the transaction
was prearranged with a buyer in the United States, (ii) no directed selling efforts have been made
in contravention of the requirements of Rule 903(b) or Rule 904(b) of Regulation S under the
Securities Act, (iii) the transaction is not part of a plan or scheme to evade the registration
requirements of the Securities Act and (iv) if the proposed transfer is being made prior to the
expiration of the Restricted Period, the transfer is not being made to a U.S. Person or for the
account or benefit of a U.S. Person. Upon consummation of the proposed transfer in accordance
with the terms of the Indenture, the transferred beneficial interest or Definitive Note will be
subject to the restrictions on Transfer enumerated in the Private Placement Legend printed on the
Regulation S Global Note and/or the Restricted Definitive Note and in the Indenture and the
Securities Act.

              3.     Check if Transferee will take delivery of a beneficial interest in a
Restricted Definitive Note pursuant to any provision of the Securities Act other than
Rule 144A or Regulation S.

              (a)    such Transfer is being effected pursuant to and in accordance with
Rule 144 under the Securities Act; or

                 (b)   such Transfer is being effected to the Issuer or a subsidiary of the Issuer
thereof; or

                (c)    such Transfer is being effected pursuant to an effective registration
statement under the Securities Act and in compliance with the prospectus delivery requirements
of the Securities Act.

             4.     Check if Transferee will take delivery of a beneficial interest in an
Unrestricted Global Note or of an Unrestricted Definitive Note.

                (a)      Check if Transfer is pursuant to Rule 144. (i) The Transfer is being
effected pursuant to and in accordance with Rule 144 under the Securities Act and in compliance
with the transfer restrictions contained in the Indenture and any applicable blue sky securities
laws of any state of the United States and (ii) the restrictions on transfer contained in the
Indenture and the Private Placement Legend are not required in order to maintain compliance
with the Securities Act. Upon consummation of the proposed Transfer in accordance with the
terms of the Indenture, the transferred beneficial interest or Definitive Note will no longer be
subject to the restrictions on transfer enumerated in the Private Placement Legend printed on the
Restricted Global Notes, on Restricted Definitive Notes and in the Indenture.

               (b)     Check if Transfer is Pursuant to Regulation S. (i) The Transfer is being
effected pursuant to and in accordance with Rule 903 or Rule 904 under the Securities Act and in
compliance with the transfer restrictions contained in the Indenture and any applicable blue sky

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securities laws of any state of the United States and (ii) the restrictions on transfer contained in
the Indenture and the Private Placement Legend are not required in order to maintain compliance
with the Securities Act. Upon consummation of the proposed Transfer in accordance with the
terms of the Indenture, the transferred beneficial interest or Definitive Note will no longer be
subject to the restrictions on transfer enumerated in the Private Placement Legend printed on the
Restricted Global Notes, on Restricted Definitive Notes and in the Indenture.

                (c)     Check if Transfer is Pursuant to Other Exemption. (i) The Transfer is
being effected pursuant to and in compliance with an exemption from the registration
requirements of the Securities Act other than Rule 144, Rule 903 or Rule 904 and in compliance
with the transfer restrictions contained in the Indenture and any applicable blue sky securities
laws of any State of the United States and (ii) the restrictions on transfer contained in the
Indenture and the Private Placement Legend are not required in order to maintain compliance
with the Securities Act. Upon consummation of the proposed Transfer in accordance with the
terms of the Indenture, the transferred beneficial interest or Definitive Note will not be subject to
the restrictions on transfer enumerated in the Private Placement Legend printed on the Restricted
Global Notes or Restricted Definitive Notes and in the Indenture.

                This certificate and the statements contained herein are made for your benefit and
the benefit of the Issuer.


                                                      [Insert Name of Transferor]

                                                      By:
                                                            Name:
                                                            Title:

       Dated:

       Signature Guarantee*:

       * Participant in a recognized Signature Guarantee Medallion Program (or other signature
guarantor acceptable to the Trustee).




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                           ANNEX A TO CERTIFICATE OF TRANSFER

1.    The Transferor owns and proposes to transfer the following:

                                     [CHECK ONE OF (a) OR (b)]

(a)          a beneficial interest in the:

      (i)          144A Global Note (CUSIP ____________________________________), or

      (ii)         Regulation S Global Note (CUSIP ______________________________), or

(b)          a Restricted Definitive Note.

2.    After the Transfer the Transferee will hold:

                                             [CHECK ONE]

(a)          a beneficial interest in the:

      (i)          144A Global Note (CUSIP ____________________________________), or

      (ii)         Regulation S Global Note (CUSIP ______________________________), or

      (iii)        Unrestricted Global Note (CUSIP ______________________________), or

(b)          a Restricted Definitive Note.

(c)          an Unrestricted Definitive Note,

      in accordance with the terms of the Indenture.




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                                                                                         EXHIBIT C

                           FORM OF CERTIFICATE OF EXCHANGE

TPC Group Inc.
One Allen Center
500 Dallas Street, Suite 2000
Houston, Texas 77002

U.S. Bank National Association,
as Trustee and Registrar
Global Corporate Trust Services
13737 Noel Road, Suite 800
Dallas, Texas 75240
Facsimile: (972) 581-1670



                           Re: 10.875% Senior Secured Notes due 2024

                                         (CUSIP ________)

               Reference is hereby made to the Indenture, dated as of February 2, 2021
(the “Indenture”), among TPC Group Inc. (the “Issuer”), the Guarantors and U.S. Bank National
Association, as trustee and collateral agent. Capitalized terms used but not defined herein shall
have the meanings given to them in the Indenture.

                 __________________, (the “Owner”) owns and proposes to exchange the Note[s]
or interest in such Note[s] specified herein, in the principal amount of $ _______ in such Note[s]
or interests (the “Exchange”). In connection with the Exchange, the Owner hereby certifies that:

              1.    Exchange of Restricted Definitive Notes or Beneficial Interests in a
Restricted Global Note for Unrestricted Definitive Notes or Beneficial Interests in an
Unrestricted Global Note

                (a)          Check if Exchange is from beneficial interest in a Restricted
Global Note to beneficial interest in an Unrestricted Global Note. In connection with the
Exchange of the Owner’s beneficial interest in a Restricted Global Note for a beneficial interest
in an Unrestricted Global Note in an equal principal amount, the Owner hereby certifies (i) the
beneficial interest is being acquired for the Owner’s own account without transfer, (ii) such
Exchange has been effected in compliance with the transfer restrictions applicable to the Global
Notes and pursuant to and in accordance with the Securities Act of 1933, as amended
(the “Securities Act”), (iii) the restrictions on transfer contained in the Indenture and the Private
Placement Legend are not required in order to maintain compliance with the Securities Act and
the beneficial interest in an Unrestricted Global Note is being acquired in compliance with any
applicable blue sky securities laws of any state of the United States.



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                 (b)         Check if Exchange is from beneficial interest in a Restricted
Global Note to Unrestricted Definitive Note. In connection with the Exchange of the Owner’s
beneficial interest in a Restricted Global Note for an Unrestricted Definitive Note, the Owner
hereby certifies (i) the Definitive Note is being acquired for the Owner’s own account without
transfer, (ii) such Exchange has been effected in compliance with the transfer restrictions
applicable to the Restricted Global Notes and pursuant to and in accordance with the Securities
Act, (iii) the restrictions on transfer contained in the Indenture and the Private Placement Legend
are not required in order to maintain compliance with the Securities Act and (iv) the Definitive
Note is being acquired in compliance with any applicable blue sky securities laws of any state of
the United States.

                 (c)         Check if Exchange is from Restricted Definitive Note to beneficial
interest in an Unrestricted Global Note. In connection with the Owner’s Exchange of a
Restricted Definitive Note for a beneficial interest in an Unrestricted Global Note, the Owner
hereby certifies (i) the beneficial interest is being acquired for the Owner’s own account without
transfer, (ii) such Exchange has been effected in compliance with the transfer restrictions
applicable to Restricted Definitive Notes and pursuant to and in accordance with the Securities
Act, (iii) the restrictions on transfer contained in the Indenture and the Private Placement Legend
are not required in order to maintain compliance with the Securities Act and (iv) the beneficial
interest is being acquired in compliance with any applicable blue sky securities laws of any state
of the United States.

                (d)        Check if Exchange is from Restricted Definitive Note to
Unrestricted Definitive Note. In connection with the Owner’s Exchange of a Restricted
Definitive Note for an Unrestricted Definitive Note, the Owner hereby certifies (i) the
Unrestricted Definitive Note is being acquired for the Owner’s own account without transfer,
(ii) such Exchange has been effected in compliance with the transfer restrictions applicable to
Restricted Definitive Notes and pursuant to and in accordance with the Securities Act, (iii) the
restrictions on transfer contained in the Indenture and the Private Placement Legend are not
required in order to maintain compliance with the Securities Act and (iv) the Unrestricted
Definitive Note is being acquired in compliance with any applicable blue sky securities laws of
any state of the United States.

              2.    Exchange of Restricted Definitive Notes or Beneficial Interests in
Restricted Global Notes for Restricted Definitive Notes or Beneficial Interests in Restricted
Global Notes

                (a)        Check if Exchange is from beneficial interest in a Restricted
Global Note to Restricted Definitive Note. In connection with the Exchange of the Owner’s
beneficial interest in a Restricted Global Note for a Restricted Definitive Note with an equal
principal amount, the Owner hereby certifies that the Restricted Definitive Note is being
acquired for the Owner’s own account without transfer. Upon consummation of the proposed
Exchange in accordance with the terms of the Indenture, the Restricted Definitive Note issued
will continue to be subject to the restrictions on transfer enumerated in the Private Placement
Legend printed on the Restricted Definitive Note and in the Indenture and the Securities Act.



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                (b)         Check if Exchange is from Restricted Definitive Note to beneficial
interest in a Restricted Global Note. In connection with the Exchange of the Owner’s
Restricted Definitive Note for a beneficial interest in the [CHECK ONE] (a)          144A Global
Note,     Regulation S Global Note with an equal principal amount, the Owner hereby certifies
the beneficial interest is being acquired for the Owner’s own account without transfer and such
Exchange has been effected in compliance with the transfer restrictions applicable to the
Restricted Global Notes and pursuant to and in accordance with the Securities Act, and in
compliance with any applicable blue sky securities laws of any state of the United States. Upon
consummation of the proposed Exchange in accordance with the terms of the Indenture, the
beneficial interest issued will be subject to the restrictions on transfer enumerated in the Private
Placement Legend printed on the relevant Restricted Global Note and in the Indenture and the
Securities Act.

                This certificate and the statements contained herein are made for your benefit and
the benefit of the Issuer.


                                                               [Insert Name of Transferor]

                                                      By:
                                                            Name:
                                                            Title:

       Dated:




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                                                                                      EXHIBIT D

                       [FORM OF SUPPLEMENTAL INDENTURE
                  TO BE DELIVERED BY SUBSEQUENT GUARANTORS]

                SUPPLEMENTAL INDENTURE (this “Supplemental Indenture”), dated as of
_______, 20__, among __________________________ (the “New Guarantor”), TPC Group Inc.
(the “Issuer”), each other existing Guarantor under the Indenture referred to below and U.S.
Bank National Association, as trustee (in such capacity, the “Trustee”) and collateral agent (in
such capacity, the “Collateral Agent”) under the Indenture referred to below. Capitalized terms
used but not defined herein shall have the meanings given to them in the Indenture.

                                       WITNESETH

                WHEREAS, the Issuer and the existing Guarantors have heretofore executed and
delivered to the Trustee an indenture (as amended, supplemented or otherwise modified,
the “Indenture”), dated as of February 2, 2021 providing for the issuance of 10.875% Senior
Secured Notes due 2024 (the “Notes”);

               WHEREAS, Section 4.14 of the Indenture provides that under certain
circumstances the New Guarantor shall execute and deliver to the Trustee a supplemental
indenture pursuant to which the New Guarantor shall unconditionally Guarantee all of the
Issuer’s Obligations under the Notes and the Indenture on the terms and conditions set forth
herein (the “Note Guarantee”); and

               WHEREAS, pursuant to Section 9.01 of the Indenture, the Trustee, the Collateral
Agent, the Issuer and the existing Guarantors are authorized to execute and deliver this
Supplemental Indenture.

                NOW, THEREFORE, in consideration of the foregoing and for other good and
valuable consideration, the receipt of which is hereby acknowledged, the New Guarantor, the
Issuer, the other Guarantors, the Trustee and the Collateral Agent mutually covenant and agree
for the equal and ratable benefit of the Holders as follows:

              1.     DEFINED TERMS. Defined terms used herein without definition shall
have the meanings assigned to them in the Indenture.

                2.     AGREEMENT TO GUARANTEE. The New Guarantor hereby agrees,
jointly and severally with all existing Guarantors (if any), to provide an unconditional Note
Guarantee on the terms and subject to the conditions set forth in Article 10 of the Indenture and
to be bound by all other applicable provisions of the Indenture and the Notes and to perform all
of the obligations and agreements of a Guarantor under the Indenture.

                3.      NO RECOURSE AGAINST OTHERS. To the extent permitted by law, no
past, present or future director, manager, officer, employee, incorporator, stockholder or member
of the Issuer, any parent of the Issuer or any Subsidiary, as such, will have any liability for any
obligations of the Issuer or the Guarantors under the Notes, this Supplemental Indenture, the
Note Guarantees or for any claim based on, in respect of, or by reason of, such obligations or

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their creation. Each Holder by accepting a Note waives and releases all such liability. The waiver
and release are part of the consideration for issuance of the Notes.

               4.      NOTICES. All notices or other communications to the New Guarantor
shall be given as provided in Section 14.02 of the Indenture.

               5.      RATIFICATION OF INDENTURE; SUPPLEMENTAL INDENTURES
PART OF INDENTURE. Except as expressly amended hereby, the Indenture is in all respects
ratified and confirmed and all the terms, conditions and provisions thereof shall remain in full
force and effect. This Supplemental Indenture shall form a part of the Indenture for all purposes,
and every Holder of Notes heretofore or hereafter authenticated and delivered shall be bound
hereby.

          6.    GOVERNING LAW. THE INDENTURE, THIS SUPPLEMENTAL
INDENTURE, THE NOTES AND THE NOTE GUARANTEES SHALL BE GOVERNED BY,
AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW
YORK.

           7.    ALL PARTIES HERETO HEREBY IRREVOCABLY WAIVE ALL
RIGHTS TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM
(WHETHER BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR
RELATING TO THIS SUPPLEMENTAL INDENTURE, THE INDENTURE, THE NOTES,
THE NOTE GUARANTEES, THE SECURITY DOCUMENTS, THE INTERCREDITOR
AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY.

                 8.     COUNTERPARTS. The parties may sign any number of copies of this
Supplemental Indenture. Each signed copy shall be an original, but all of them together represent
the same agreement. The exchange of copies of this Supplemental Indenture and of signature
pages by facsimile or PDF transmission shall constitute effective execution and delivery of this
Supplemental Indenture as to the parties hereto and may be used in lieu of the original
Supplemental Indenture for all purposes. Signatures of the parties hereto transmitted by facsimile
or PDF shall be deemed to be their original signatures for all purposes. In furtherance of the
foregoing, the words “execution”, “signed”, “signature”, “delivery” and words of like import in
or relating to this Supplemental Indenture or any document to be signed in connection with this
Supplemental Indenture and the transactions contemplated hereby or thereby shall be deemed to
include electronic signatures, deliveries or the keeping of records in electronic form, each of
which shall be of the same legal effect, validity or enforceability as a manually executed
signature, physical delivery thereof or the use of a paper-based recordkeeping system, as the case
may be, to the extent and as provided for in any applicable law, including the Federal Electronic
Signatures in Global and National Commerce Act, the New York State Electronic Signatures and
Records Act, or any other similar state laws based on the Uniform Electronic Transactions Act,
and the parties hereto consent to conduct the transactions contemplated hereunder by electronic
means.

              9.     EFFECT OF HEADINGS. The Section headings herein are for
convenience only and shall not affect the construction hereof.


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               10.    TRUSTEE AND COLLATERAL AGENT MAKE NO
REPRESENTATION. The Trustee and Collateral Agent make no representation as to the recitals
contained in this Supplemental Indenture or any representation as to the validity or sufficiency of
this Supplemental Indenture.




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               IN WITNESS WHEREOF, the parties hereto have caused this Supplemental
Indenture to be duly executed and attested, all as of the date first above written.

Dated: _____________, 20

                                            [NEW GUARANTOR]


                                            By:
                                                  Name:
                                                  Title:

                                            ISSUER:

                                            TPC GROUP INC.


                                            By:
                                                  Name:
                                                  Title:

                                            EXISTING GUARANTORS:

                                            TPC HOLDINGS, INC.


                                            By:
                                                  Name:
                                                  Title:

                                            TP GROUP LLC


                                            By:
                                                  Name:
                                                  Title:

                                            TP CAPITAL CORP.


                                            By:
                                                  Name:
                                                  Title:

                                            TEXAS BUTYLENE CHEMICAL
                                            CORPORATION



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                               By:
                                     Name:
                                     Title:

                               TEXAS OLEFINS
                               DOMESTIC-INTERNATIONAL SALES
                               CORPORATION


                               By:
                                     Name:
                                     Title:

                               PORT NECHES FUELS, LLC


                               By:
                                     Name:
                                     Title:

                               TPC PHOENIX FUELS LLC


                               By:
                                     Name:
                                     Title:

                               U.S. BANK NATIONAL ASSOCIATION,
                               as Trustee and Collateral Agent


                               By:
                                     Name:
                                     Title:




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                        EXHIBIT H

                2021 Intercreditor Agreement
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                                                                                  EXECUTION VERSION

                                   INTERCREDITOR AGREEMENT

                 INTERCREDITOR AGREEMENT, dated as of February 2, 2021 (as amended,
amended and restated, modified and/or supplemented from time to time, the “Agreement”), among U.S.
Bank National Association as Senior Priority Agent (as defined below) and U.S. Bank National Association
as Junior Priority Notes Agent, and acknowledged by TPC Group Inc. (the “Company”) and the certain
other Grantors (as defined below) from time to time party hereto.

                A.     The Company is party to that certain Indenture, dated as of February 2, 2021 (as
amended, amended and restated, supplemented, restated, extended, refinanced, renewed, replaced,
defeased, refunded or otherwise modified from time to time, the “Senior Priority Notes Indenture”),
among the Company, the Grantors party thereto, U.S. Bank National Association, as trustee and the Senior
Priority Agent.

                B.       The Company is party to that certain Indenture, dated as of August 2, 2019 (as
amended by that certain Supplemental Indenture, dated as of February 2, 2021 (as further amended,
amended and restated, supplemented, restated, extended, refinanced, renewed, replaced, defeased, refunded
or otherwise modified from time to time, the “Junior Priority Notes Indenture”), among the Company,
the Grantors party thereto, U.S. Bank National Association, as trustee and the Junior Priority Notes Agent.

                 Accordingly, in consideration of the foregoing, the mutual covenants and obligations
herein set forth and for other good and valuable consideration, the sufficiency and receipt of which are
hereby acknowledged, the parties hereto, intending to be legally bound, hereby agree as follows:

                 Section 1.       Definitions.

                1.1      Defined Terms. As used in this Agreement, the following terms have the meanings
specified below:

               “ABL Intercreditor Agreement” shall have the meaning set forth in the Senior Priority
Notes Indenture.

                 “Affiliate” shall have the meaning set forth in the Senior Priority Notes Indenture.

                 “Agreement” shall have the meaning set forth in the introductory paragraph of this
Agreement.

                 “Bankruptcy Code” means Title 11 of the United States Code, as amended.

                “Bankruptcy Law” shall mean the Bankruptcy Code, and any similar federal or state or
non-U.S. law or statute for the supervision, administration or relief of debtors, including, without limitation,
bankruptcy or insolvency laws.

                 “Common Collateral” shall mean, collectively, the Senior Priority Collateral and the
Junior Priority Collateral.

                 “Company” shall have the meaning set forth in the preamble.

             “Comparable Junior Priority Collateral Document” shall mean, in relation to any
Common Collateral subject to any Lien created under any Senior Priority Collateral Document, those Junior
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Priority Collateral Documents that create a Lien on the same Common Collateral, granted by the same
Grantor.

                 “DIP Financing” shall have the meaning set forth in Section 6.1.

                 “Discharge of Junior Priority Secured Party Claims” shall mean payment in full in cash
(except for contingent indemnities and cost and reimbursement obligations to the extent no claim therefor
has been made) of all Obligations in respect of all outstanding Junior Priority Claims. In the event the
Junior Priority Claims are modified and the Obligations are paid over time or otherwise modified pursuant
to Section 1129 of the Bankruptcy Code, the Junior Priority Claims shall be deemed to be discharged when
the final payment is made, in cash, in respect of such Obligations and any obligations pursuant to such new
indebtedness shall have been satisfied.

                “Discharge of Senior Priority Claims” shall mean payment in full in cash (except for
contingent indemnities and cost and reimbursement obligations to the extent no claim therefor has been
made) of all Obligations in respect of all outstanding Senior Priority Claims. In the event the Senior Priority
Claims are modified and the Obligations are paid over time or otherwise modified pursuant to Section 1129
of the Bankruptcy Code, the Senior Priority Claims shall be deemed to be discharged when the final
payment is made, in cash, in respect of such Obligations and any obligations pursuant to such new
indebtedness shall have been satisfied.

                 “Future Junior Priority Indebtedness” shall mean Future Secured Indebtedness that is
to be equally and ratably secured with the Junior Priority Claims and is so designated by the Company at
the time of incurrence thereof as Future Junior Priority Indebtedness hereunder; provided that such
Indebtedness is incurred in compliance with Section 4.07 of the Senior Priority Notes Indenture and the
Liens securing such Future Secured Indebtedness are granted in compliance with Section 4.10 of the Senior
Priority Notes Indenture, in each case as in effect on the date hereof (or, as amended, restated,
supplemented, Refinanced or otherwise modified after the date hereof to the extent permitted by the terms
of the Senior Priority Documents and the Junior Priority Notes Indenture).

                 “Future Secured Indebtedness” shall mean secured Indebtedness or Obligations (other
than Senior Priority Claims and Junior Priority Claims contemplated by clause (i) of the definition of
“Junior Priority Claims”) of the Company and the Grantors.

                “Grantors” shall mean the Company and each of the Subsidiaries that has executed and
delivered a Junior Priority Collateral Document or a Senior Priority Collateral Document.

               “Indebtedness” shall mean and include all obligations that constitute “Indebtedness”
within the meaning of the Senior Priority Notes Indenture or the Junior Priority Notes Indenture.

                  “Insolvency or Liquidation Proceeding” shall mean (a) any voluntary or involuntary case
or proceeding under any Bankruptcy Law with respect to any Grantor, (b) any other voluntary or
involuntary insolvency, reorganization or bankruptcy case or proceeding, or any receivership, liquidation,
reorganization or other similar case or proceeding with respect to any Grantor or with respect to any of its
assets, (c) any liquidation, dissolution, reorganization or winding up of any Grantor whether voluntary or
involuntary and whether or not involving insolvency or bankruptcy or (d) any assignment for the benefit of
creditors or any other marshalling of assets and liabilities of any Grantor.

                “Junior Priority Collateral Agreement” shall mean that certain security agreement, dated
as of August 2, 2019, among the Company, the other Grantors and the Junior Priority Notes Agent, as
amended, restated, modified or replaced from time to time.

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                “Junior Priority Notes Collateral Documents” shall mean the Junior Priority Collateral
Agreement and any other document or instrument pursuant to which a Lien is granted by any Grantor to
secure any Junior Priority Claims under the Junior Priority Notes Indenture or under which rights or
remedies with respect to any such Lien are governed.

                 “Junior Priority Notes Document” shall mean the Junior Priority Notes Indenture and
the Junior Priority Notes Collateral Documents.

                 “Junior Priority Notes Indenture” shall have the meaning set forth in the recitals.

                 “Junior Priority Agents” shall mean (a) the Junior Priority Notes Agent and (b) the
collateral agent for any Future Junior Priority Indebtedness.

                 “Junior Priority Claims” shall mean (i) the principal amount of all Indebtedness incurred
under the Junior Priority Notes Indenture, together with any interest, fees, attorneys fees, costs, expenses
and indemnities payable on account of such principal amount or otherwise in respect of, or arising under,
the Junior Priority Notes Indenture or the Junior Priority Notes Documents or any of them, including all
fees and expenses of the Junior Priority Notes Agent thereunder, and (ii) the principal amount of all Future
Junior Priority Indebtedness plus any interest, fees, attorneys fees, costs, expenses and indemnities payable
on account of such principal amount or otherwise in respect of, or arising under, the Junior Priority
Documents, including all fees and expenses of the collateral agent for any Future Junior Priority
Indebtedness, plus, in each case, all interest and expenses accrued or accruing (or that would, absent the
commencement of an Insolvency or Liquidation Proceeding, accrue) after the commencement of an
Insolvency or Liquidation Proceeding in accordance with and at the rate specified in the relevant Junior
Priority Documents whether or not the claim for such interest or expense is allowed or allowable as a claim
in such Insolvency or Liquidation Proceeding.

                “Junior Priority Collateral” shall mean all of the assets of any Grantor, whether real,
personal or mixed, with respect to which a Lien is granted as security for any Junior Priority Claim.

                 “Junior Priority Collateral Documents” shall mean the Junior Priority Notes Collateral
Documents and any other agreement, document or instrument pursuant to which a Lien is now or hereafter
granted securing any Junior Priority Claims or under which rights or remedies with respect to such Liens
are at any time governed.

               “Junior Priority Documents” shall mean the Junior Priority Notes Documents and any
other document or instrument evidencing or governing any Future Junior Priority Indebtedness.

                 “Junior Priority Notes Agent” shall mean U.S. Bank National Association, solely in its
capacity as collateral agent for the Junior Priority Secured Parties under the Junior Priority Notes Indenture,
the Junior Priority Collateral Agreement and the other Junior Priority Documents entered into pursuant to
the Junior Priority Notes Indenture, together with its successors and permitted assigns under the Junior
Priority Notes Indenture exercising substantially the same rights and powers.

               “Junior Priority Secured Parties” shall mean all Persons holding any Junior Priority
Claims, including the Junior Priority Agent and the collateral agent for any Future Junior Priority
Indebtedness.

                 “Joinder Agreement” shall mean a joinder to this Agreement substantially in form
attached hereto as Exhibit A.



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                 “Lien” shall mean, with respect to any asset, (a) any mortgage, deed of trust, lien,
hypothecation, pledge, charge, security interest or similar encumbrance in or on such asset and (b) the
interest of a vendor or a lessor under any conditional sale agreement, capital lease or title retention
agreement (or any financing lease having substantially the same economic effect as any of the foregoing)
relating to such asset.

                  “Obligations” shall mean, with respect to any Person, any payment, performance or other
obligations of such Person of any kind, including any liability of such Person on any claim, whether or not
the right of any creditor to payment in respect of such claim is reduced to judgment, liquidated, unliquidated,
fixed, contingent, matured, disputed, undisputed, legal, equitable, secured or unsecured, and whether or not
such claim is discharged, stayed or otherwise affected by any Insolvency or Liquidation Proceeding.
Without limiting the generality of the foregoing, the Obligations of any Grantor under any Senior Priority
Document or Junior Priority Documents include the obligations to pay principal, reimbursement obligations
under letters of credit, interest (including interest accrued on or accruing after the commencement of any
Insolvency or Liquidation Proceeding, whether or not a claim for post-filing interest is allowed or allowable
in such proceeding) or premium on any Indebtedness, letter of credit commissions (if applicable), charges,
expenses, fees, attorneys’ fees and disbursements, indemnities and other amounts payable by such Grantor
to reimburse any amount in respect of any of the foregoing that any Senior Priority Secured Party or Junior
Priority Secured Party, in its sole discretion, many elect to pay or advance on behalf of such Grantor.

                 “Officer’s Certificate” shall have the meaning set forth in the Junior Priority Notes
Indenture.

                  “Person” shall mean an individual, partnership, corporation (including a business trust),
limited liability company, joint stock company, trust, unincorporated association, joint venture or other
entity, or a government or any political subdivision or agency thereof.

                 “Pledged Collateral” shall mean the Common Collateral in the possession of any Senior
Priority Agent (or its agents or bailees) or any Junior Priority Agent, to the extent that possession thereof
perfects a Lien thereon under the Uniform Commercial Code.

                 “Recovery” shall have the meaning set forth in Section 6.4.

                 “Refinance” shall mean, in respect of any Indebtedness, to refinance, extend, renew,
restructure or replace or to issue other Indebtedness in exchange or replacement for, such Indebtedness, in
whole or in part. “Refinanced” and “Refinancing” shall have correlative meanings.

                 “Secured Parties” shall mean collectively, the Senior Priority Secured Parties and the
Junior Priority Secured Parties.

                 “Senior Priority Agent” shall mean U.S. Bank National Association, solely in its capacity
as collateral agent for the Senior Priority Secured Parties under the Senior Priority Notes Indenture, the
Senior Priority Collateral Agreement and the other Senior Priority Documents entered into pursuant to the
Senior Priority Notes Indenture, together with its successors and permitted assigns under the Senior Priority
Notes Indenture exercising substantially the same rights and powers.

                “Senior Priority Collateral” shall mean all of the assets of any Grantor, whether real,
personal or mixed, with respect to which a Lien is granted as security for any Senior Priority Claim.




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                 “Senior Priority Collateral Agreement” shall mean the Security Agreement, dated as of
the date hereof, among the Company, the other Grantors and the Senior Priority Agent, as amended,
restated, modified or replaced from time to time.

               “Senior Priority Collateral Documents” shall mean the Senior Priority Collateral
Agreement and any other agreement, document or instrument pursuant to which a Lien is now or hereafter
granted by any Grantor to secure any Senior Priority Claims under the Senior Priority Notes Indenture or
under which rights or remedies with respect to any such Lien are governed.

                 “Senior Priority Documents” shall mean the Senior Priority Notes Indenture and the
Senior Priority Collateral Documents.

                “Senior Priority Notes Indenture” shall have the meaning set forth in the recitals.

                “Senior Priority Secured Parties” shall mean the Persons holding Senior Priority Claims,
including the Senior Priority Agent.

                  “Senior Priority Claims” shall mean the principal amount of all Indebtedness incurred
under the Senior Priority Notes Indenture, together with any interest, fees, premiums (including the
Applicable Premium and/or the Redemption Premium (each as defined in the Senior Priority Notes
Indenture)), attorneys fees, costs, expenses and indemnities payable on account of such principal amount
or otherwise in respect of, or arising under, the Senior Priority Notes Indenture or the Senior Priority
Documents or any of them, including all fees and expenses of the Senior Priority Agent and the
Administrative Agent (as defined therein) thereunder, plus, in each case, all interest, premiums (including
the Applicable Premium and/or the Redemption Premium (each as defined in the Senior Priority Notes
Indenture)) and expenses accrued or accruing (or that would, absent the commencement of an Insolvency
or Liquidation Proceeding, accrue) after the commencement of an Insolvency or Liquidation Proceeding in
accordance with and at the rate specified in the relevant Senior Priority Document whether or not the claim
for such interest or expense is allowed or allowable as a claim in such Insolvency or Liquidation Proceeding.

                “Subsidiary” shall have the meaning assigned to such term in the Senior Priority Notes
Indenture.

                “Uniform Commercial Code” or “UCC” shall mean the Uniform Commercial Code as
from time to time in effect in the State of New York.

                  1.2     Terms Generally. The definitions of terms herein shall apply equally to the
singular and plural forms of the terms defined. Whenever the context may require, any pronoun shall
include the corresponding masculine, feminine and neuter forms. The words “include,” “includes” and
“including” shall be deemed to be followed by the phrase “without limitation”. The word “will” shall be
construed to have the same meaning and effect as the word “shall”. Unless the context requires otherwise
(a) any definition of or reference to any agreement, instrument or other document herein shall be construed
as referring to such agreement, instrument or other document as from time to time amended, supplemented
or otherwise modified in accordance with this Agreement, (b) any reference herein to any Person shall be
construed to include such Person’s successors and assigns, (c) the words “herein,” “hereof” and
“hereunder,” and words of similar import, shall be construed to refer to this Agreement in its entirety and
not to any particular provision hereof, (d) all references herein to Sections shall be construed to refer to
Sections of this Agreement, (e) the words “asset” and “property” shall be construed to have the same
meaning and effect and to refer to any and all tangible and intangible assets and properties, including cash,
securities, accounts and contract rights and (f) the term “or” is not exclusive. All capitalized terms not



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defined herein or by reference to another agreement shall have the meaning assigned to such term in the
UCC.

                 Section 2.       Lien Priorities.

                  2.1     Subordination of Liens. Notwithstanding (i) the date, time, method, manner or
order of filing or recordation of any document or instrument or grant, attachment or perfection (including
any defect or deficiency or alleged defect or deficiency in any of the foregoing) of any Liens granted to the
Junior Priority Secured Parties on the Common Collateral or of any Liens granted to the Senior Priority
Agent or the Senior Priority Secured Parties on the Common Collateral, (ii) any provision of the UCC, the
Bankruptcy Code, or any applicable law or the Junior Priority Documents or the Senior Priority Documents,
(iii) whether the Senior Priority Agent, either directly or through agents, holds possession of, or has control
over, all or any part of the Common Collateral, (iv) the fact that any such Liens may be subordinated,
voided, avoided, invalidated or lapsed or (v) any other circumstance of any kind or nature whatsoever, each
Junior Priority Agent, on behalf of itself and each applicable Junior Priority Secured Party, hereby agrees
that: (a) any Lien on the Common Collateral securing any Senior Priority Claims now or hereafter held by
or on behalf of any Senior Priority Agent or any Senior Priority Secured Parties or any agent or trustee
therefor regardless of how acquired, whether by grant, statute, operation of law, subrogation or otherwise,
shall have priority over and be senior in all respects and prior to any Lien on the Common Collateral
securing any Junior Priority Claims and (b) any Lien on the Common Collateral securing any Junior Priority
Claims now or hereafter held by or on behalf of the Junior Priority Agent or any Junior Priority Secured
Parties or any agent or trustee therefor regardless of how acquired, whether by grant, statute, operation of
law, subrogation or otherwise, shall be junior and subordinate in all respects to all Liens on the Common
Collateral securing any Senior Priority Claims. All Liens on the Common Collateral securing any Senior
Priority Claims shall be and remain senior in all respects and prior to all Liens on the Common Collateral
securing any Junior Priority Claims for all purposes, whether or not such Liens securing any Senior Priority
Claims are subordinated to any Lien securing any other obligation of the Company, any other Grantor or
any other Person.

                 2.2      Prohibition on Contesting Liens. Each Junior Priority Agent, for itself and on
behalf of each applicable Junior Priority Secured Party, and each Senior Priority Agent, for itself and on
behalf of each applicable Senior Priority Secured Party, agrees that it shall not (and hereby waives any right
to) take any action to challenge, contest or support any other Person in contesting or challenging, directly
or indirectly, in any proceeding (including any Insolvency or Liquidation Proceeding), the validity,
perfection, priority or enforceability of (a) a Lien securing any Senior Priority Claims held (or purported to
be held) by or on behalf of any Senior Priority Agent or any of the Senior Priority Secured Parties or any
agent or trustee therefor in any Senior Priority Collateral or (b) a Lien securing any Junior Priority Claims
held (or purported to be held) by or on behalf of any Junior Priority Secured Party in the Common Collateral,
as the case may be; provided, however, that nothing in this Agreement shall be construed to prevent or
impair the rights of any Senior Priority Agent or any Senior Priority Secured Party to enforce this
Agreement (including the priority of the Liens securing the Senior Priority Claims as provided in
Section 2.1) or any of the Senior Priority Documents.

                2.3     No New Liens. So long as the Discharge of Senior Priority Claims has not
occurred, each Junior Priority Agent agrees, for itself and on behalf of each applicable Junior Priority
Secured Party, whether or not any Insolvency or Liquidation Proceeding has been commenced by or against
the Company or any other Grantor, that it shall not acquire or hold any Lien on any assets of the Company
or any other Grantor securing any Junior Priority Claims that are not also subject to a Lien in respect of the
Senior Priority Claims under the Senior Priority Documents. If a Junior Priority Agent or any Junior
Priority Secured Party shall (nonetheless and in breach hereof) acquire or hold any Lien on any collateral
that is not also subject to a Lien in respect of the Senior Priority Claims under the Senior Priority

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Documents, then such Junior Priority Agent shall, without the need for any further consent of any party and
notwithstanding anything to the contrary in any other document, be deemed to also hold and have held such
Lien for the benefit of the Senior Priority Agents as security for the Senior Priority Claims (subject to the
Lien priority and other terms hereof) and shall promptly notify the Senior Priority Agents in writing of the
existence of such Lien and in any event take such actions as may be requested by the Senior Priority Agents
to ensure that such Liens are also granted to the Senior Priority Agents (and/or their designees) as security
for the applicable Senior Priority Claims.

                 2.4     Perfection of Liens. Neither the Senior Priority Agents nor the Senior Priority
Secured Parties shall be responsible for perfecting and maintaining the perfection of Liens with respect to
the Common Collateral for the benefit of the Junior Priority Agents and the Junior Priority Secured Parties.
The provisions of this Agreement are intended solely to govern the respective Lien priorities as between
the Senior Priority Secured Parties and the Junior Priority Secured Parties and shall not impose on the
Senior Priority Agents, the Junior Priority Agents, the Junior Priority Secured Parties or the Senior Priority
Secured Parties or any agent or trustee therefor any obligations in respect of the disposition of proceeds of
any Common Collateral which would conflict with prior perfected claims therein in favor of any other
Person or any order or decree of any court or governmental authority or any applicable law.

                 2.5      Waiver of Marshalling. Until the Discharge of the Senior Priority Claims, each
Junior Priority Agent, on behalf of itself and the applicable Junior Priority Secured Parties, agrees not to
assert and hereby waives, to the fullest extent permitted by law, any right to demand, request, plead or
otherwise assert or otherwise claim the benefit of, any marshalling, appraisal, valuation or other similar
right that may otherwise be available under applicable law with respect to the Common Collateral or any
other similar rights a junior secured creditor may have under applicable law.

                Section 3.       Enforcement.

                3.1      Exercise of Remedies.

                  (a)     So long as the Discharge of Senior Priority Claims has not occurred, whether or
not any Insolvency or Liquidation Proceeding has been commenced by or against the Company or any other
Grantor, (i) no Junior Priority Agent or any Junior Priority Secured Party will (x) exercise or seek to
exercise any rights or remedies (including setoff or recoupment) with respect to any Common Collateral or
any other security in respect of any applicable Junior Priority Claims, or exercise any right under any
lockbox agreement, control agreement, landlord waiver or bailee’s letter or similar agreement or
arrangement, or institute any action or proceeding with respect to such rights or remedies (including any
action of foreclosure), (y) contest, protest or object to any foreclosure proceeding or action brought with
respect to the Common Collateral or any other collateral by any Senior Priority Agent or any Senior Priority
Secured Party in respect of the Senior Priority Claims, the exercise of any right by any Senior Priority Agent
or any Senior Priority Secured Party (or any agent or sub-agent on their behalf) in respect of the Senior
Priority Claims under any lockbox agreement, control agreement, landlord waiver or bailee’s letter or
similar agreement or arrangement to which any Junior Priority Agent or any Junior Priority Secured Party
either is a party or may have rights as a third party beneficiary, or any other exercise by any such party, of
any rights and remedies relating to the Common Collateral or any other collateral under the Senior Priority
Documents or otherwise in respect of Senior Priority Claims, or (z) object to the forbearance by the Senior
Priority Secured Parties from bringing or pursuing any foreclosure proceeding or action or any other
exercise of any rights or remedies relating to the Common Collateral or any other collateral in respect of
Senior Priority Claims and (ii) except as otherwise provided herein, the Senior Priority Agents and the
Senior Priority Secured Parties shall have the exclusive right to enforce rights, exercise remedies (including
setoff and the right to credit bid their debt) and make determinations regarding the release, disposition or
restrictions with respect to the Common Collateral without any consultation with or the consent of any

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Junior Priority Agent or any Junior Priority Secured Party; provided, however, that (A) in any Insolvency
or Liquidation Proceeding commenced by or against the Company or any other Grantor, each Junior Priority
Agent may file a proof of claim or statement of interest with respect to the applicable Junior Priority Claims
and (B) each Junior Priority Agent may take any action (not adverse to the prior Liens on the Common
Collateral securing the Senior Priority Claims, or the rights of the Senior Priority Agents or the Senior
Priority Secured Parties to exercise remedies in respect thereof) in order to create, prove, perfect, preserve
or protect (but not enforce) its rights in, and perfection and priority of its Lien on, the Common Collateral.
Such exercise and enforcement shall include the rights of an agent appointed by them to sell or otherwise
dispose of Common Collateral or other collateral upon foreclosure, to incur expenses in connection with
such sale or disposition, and to exercise all the rights and remedies of a secured lender under the uniform
commercial code of any applicable jurisdiction and of a secured creditor under Bankruptcy Laws of any
applicable jurisdiction.

                 (b)      So long as the Discharge of Senior Priority Claims has not occurred, each Junior
Priority Agent, on behalf of itself and each applicable Junior Priority Secured Party, agrees that it will not
take or receive any Common Collateral or other collateral or any proceeds of Common Collateral or other
collateral in connection with the exercise of any right or remedy (including setoff or recoupment) with
respect to any Common Collateral or other collateral in respect of the applicable Junior Priority Claims.
Without limiting the generality of the foregoing, unless and until the Discharge of Senior Priority Claims
has occurred, except as expressly provided in the proviso in clause (ii) of Section 3.1(a), the sole right of
the Junior Priority Agents and the Junior Priority Secured Parties with respect to the Common Collateral or
any other collateral is to hold a Lien on the Common Collateral or such other collateral in respect of the
applicable Junior Priority Claims pursuant to the Junior Priority Documents, as applicable, for the period
and to the extent granted therein and to receive a share of the proceeds thereof, if any, after the Discharge
of Senior Priority Claims has occurred.

                  (c)     Subject to the proviso in clause (ii) of Section 3.1(a) above, (i) each Junior Priority
Agent, for itself and on behalf of each applicable Junior Priority Secured Party, agrees that no Junior Priority
Agent or any Junior Priority Secured Party will take any action that would hinder any exercise of remedies
undertaken by the Senior Priority Agents or the Senior Priority Secured Parties with respect to the Common
Collateral or any other collateral under the Senior Priority Collateral Documents, including any sale, lease,
exchange, transfer or other disposition of the Common Collateral or such other collateral, whether by
foreclosure or otherwise, and (ii) each Junior Priority Agent, for itself and on behalf of each applicable
Junior Priority Secured Party, hereby waives any and all rights it or any Junior Priority Secured Party may
have as a junior lien creditor or otherwise to object to the manner in which any Senior Priority Agent or the
Senior Priority Secured Parties seek to enforce or collect the Senior Priority Claims or the Liens granted in
any of the Senior Priority Collateral, regardless of whether any action or failure to act by or on behalf of
any Senior Priority Agent or Senior Priority Secured Parties is adverse to the interests of the Junior Priority
Secured Parties.

                 (d)     Each Junior Priority Agent hereby acknowledges and agrees that no covenant,
agreement or restriction contained in any applicable Junior Priority Document shall be deemed to restrict
in any way the rights and remedies of the Senior Priority Agents or the Senior Priority Secured Parties with
respect to the Senior Priority Collateral as set forth in this Agreement and the Senior Priority Documents.

                 3.2     Cooperation. Subject to the proviso in clause (ii) of Section 3.1(a), each Junior
Priority Agent, on behalf of itself and each applicable Junior Priority Secured Party, agrees that, unless and
until the Discharge of Senior Priority Claims has occurred, it will not commence, or join with any Person
(other than the Senior Priority Secured Parties and the Senior Priority Agents upon the request thereof) in
commencing, any enforcement, collection, execution, levy or foreclosure action or proceeding with respect
to any Lien held by it in the Common Collateral or any other collateral under any of the applicable Junior

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Priority Documents or otherwise in respect of the applicable Junior Priority Claims relating to the Common
Collateral.

                  3.3      Actions Upon Breach. If any Junior Priority Secured Party, in contravention of the
terms of this Agreement, in any way takes, or attempts or threatens to take, any action with respect to the
Common Collateral (including any attempt to realize upon or enforce any remedy with respect to this
Agreement), this Agreement shall create an irrebuttable presumption and admission by such Junior Priority
Secured Party that relief against such Junior Priority Secured Party by injunction, specific performance
and/or other appropriate equitable relief is necessary to prevent irreparable harm to the Senior Priority
Secured Parties, it being understood and agreed by the Junior Priority Agents on behalf of each applicable
Junior Priority Secured Party that (i) the Senior Priority Secured Parties’ damages from its actions may at
that time be difficult to ascertain and may be irreparable, and (ii) each Junior Priority Secured Party waives
any defense that the Grantors and/or the Senior Priority Secured Parties cannot demonstrate damage and/or
be made whole by the awarding of damages.

                 Section 4.       Payments.

                 4.1      Application of Proceeds. So long as the Discharge of Senior Priority Claims has
not occurred, the Common Collateral and any other collateral in respect of the Junior Priority Claims or
proceeds thereof received in connection with the sale or other disposition of, or collection on, such Common
Collateral or other collateral upon the exercise of remedies as a secured party, shall be applied by the Senior
Priority Agents:

                 first, to the Senior Priority Claims in such order as specified in the relevant Senior Priority
                 Documents until the Discharge of Senior Priority Claims has occurred,

                 second, to the Junior Priority Agents for application to the Junior Priority Claims in the
                 relevant Junior Priority Documents until the Discharge of Junior Priority Secured Party
                 Claims has occurred, and

                 third, to the Grantors to whomsoever may be lawfully entitled to receive the same or as a
                 court of competent jurisdiction may direct.

                 4.2     Payments Over. Any Common Collateral or other collateral in respect of the
Junior Priority Claims or proceeds thereof received by any Junior Priority Agent or any Junior Priority
Secured Party in connection with the exercise of any right or remedy (including setoff or recoupment)
relating to the Common Collateral or such other collateral in contravention of this Agreement (including,
without limitation, Section 4.1) shall be segregated and held in trust for the benefit of and forthwith paid
over to the Senior Priority Agents (and/or their designees) for the benefit of the Senior Priority Secured
Parties in the same form as received, with any necessary endorsements or as a court of competent
jurisdiction may otherwise direct. The Senior Priority Agents are hereby authorized to make any such
endorsements as agent for any Junior Priority Agent or any such Junior Priority Secured Party. This
authorization is coupled with an interest and is irrevocable.

                 Section 5.       Other Agreements.

                 5.1     Releases.

                  (a)     If, at any time any Grantor or the holder of any Senior Priority Secured Party Claim
delivers notice to each Junior Priority Agent that any specified Common Collateral (including all or
substantially all of the equity interests of a Grantor or any of its Subsidiaries) (including for such purpose,


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in the case of the sale of equity interests in any Subsidiary, any Common Collateral held by such Subsidiary
or any direct or indirect Subsidiary thereof) is (A) sold, transferred or otherwise disposed of:

                         (i)    by the owner of such Common Collateral in a transaction permitted under
        the Senior Priority Notes Indenture, each other Senior Priority Document (if any), the Junior
        Priority Notes Indenture and each other Junior Priority Document (if any); or

                         (ii)      during the existence of any Event of Default under (and as defined in) any
        Senior Priority Document by the owner of such Common Collateral to the extent the Senior Agents
        have consented to such sale, transfer or disposition, or by any Senior Priority Agent in connection
        with the exercise of its rights or remedies under the applicable Senior Priority Document;

or (B) is otherwise released as permitted by the Senior Priority Documents (other than any such release in
connection with a Discharge of Senior Priority Claims),

then (whether or not any Insolvency or Liquidation Proceeding is pending at the time) the Liens in favor of
the Junior Priority Secured Parties upon such Collateral will automatically be released and discharged as
and when, but only to the extent, such Liens on such Collateral securing Senior Priority Claims are released
and discharged. Upon delivery to each Junior Priority Agent of a notice from the Senior Priority Agents
stating that any release of Liens by the Senior Priority Agents securing or supporting the Senior Priority
Claims has become effective (or shall become effective upon each Junior Priority Agent’s release), each
Junior Priority Agent will promptly execute and deliver such instruments, releases, termination statements
or other documents confirming such release on customary terms at the expense of the Company. In the
case of the sale of all or substantially all of the capital stock of a Grantor or any of its Subsidiaries, the
guarantee in favor of the Junior Priority Secured Parties, if any, made by such Grantor or Subsidiary will
automatically be released and discharged as and when, but only to the extent, the guarantee by such Grantor
or Subsidiary of Senior Priority Claims is released and discharged.

                  (b)     Each Junior Priority Agent, for itself and on behalf of each applicable Junior
Priority Secured Party, hereby irrevocably constitutes and appoints the Senior Priority Agents and any
officer or agent of the Senior Priority Agents, with full power of substitution, as its true and lawful attorney-
in-fact with full irrevocable power and authority in the place and stead of each Junior Priority Agent or such
holder or in each Senior Priority Agent’s own name, from time to time in each Senior Priority Agent’s
discretion, for the purpose of carrying out the terms of this Section 5.1, to take any and all appropriate
action and to execute any and all documents and instruments that may be necessary or desirable to
accomplish the purposes of this Section 5.1, including any termination statements, endorsements or other
instruments of transfer or release.

                 (c)       Unless and until the Discharge of Senior Priority Claims has occurred, each Junior
Priority Agent, for itself and on behalf of each applicable Junior Priority Secured Party, hereby consents to
the application, whether prior to or after a default, of proceeds of Common Collateral or other collateral to
the repayment of Senior Priority Claims pursuant to the Senior Priority Documents; provided that nothing
in this Section 5.1(c) shall be construed to prevent or impair the rights of the Junior Priority Agents or the
Junior Priority Secured Parties to receive proceeds of Common Collateral in connection with the Junior
Priority Claims following the Discharge of Senior Priority Claims.

                 5.2     Insurance. Unless and until the Discharge of Senior Priority Claims has occurred,
the Senior Priority Agents and the Senior Priority Secured Parties shall have the sole and exclusive right,
subject to the rights of the Grantors under the Senior Priority Documents, to adjust settlement for any
insurance policy covering the Common Collateral or any other collateral in respect of the Junior Priority
Claims in the event of any loss thereunder and to approve any award granted in any condemnation or similar

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proceeding affecting the Common Collateral or such other collateral. Unless and until the Discharge of
Senior Priority Claims has occurred, all proceeds of any such policy and any such award if in respect of the
Common Collateral or such other collateral shall be paid (a) first, prior to the occurrence of the Discharge
of Senior Priority Claims, to the Senior Priority Agents for the benefit of Senior Priority Secured Parties
pursuant to the terms of the applicable Senior Priority Documents, (b) second, after the occurrence of the
Discharge of Senior Priority Claims, to the Junior Priority Agents for the benefit of the Junior Priority
Secured Parties pursuant to the terms of the applicable Junior Priority Documents and (c) third, if no Junior
Priority Claims are outstanding, to the owner of the subject property, such other person as may be entitled
thereto or as a court of competent jurisdiction may otherwise direct. If any Junior Priority Agent or any
Junior Priority Secured Party shall, at any time, receive any proceeds of any such insurance policy or any
such award in contravention of this Agreement, it shall pay such proceeds over to the Senior Priority Agents
in accordance with the terms of Section 4.2.

                 5.3     Matters Relating to the Junior Priority Notes Indenture.

                (a)       So long as the Discharge of Senior Priority Claims has not occurred, without the
prior written consent of the Senior Priority Agents, no Junior Priority Collateral Document may be
amended, supplemented or otherwise modified or entered into to the extent such amendment, supplement
or modification, or the terms of any new Junior Priority Collateral Document, would be prohibited by any
of the terms of this Agreement. Each Junior Priority Agent agrees that each applicable “Junior Priority
Collateral Document shall include the following language (or language to similar effect approved by the
Senior Agents (and with respect to the Senior Priority Agent, acting at the direction of the holders of a
majority in aggregate principal amount of the then outstanding notes under the Senior Priority Notes
Indenture)):

                 “Notwithstanding anything herein to the contrary, (i) the liens and security interests granted
to the applicable Junior Priority Agent pursuant to this agreement are expressly subject and subordinate to
the liens and security interests granted to U.S. Bank National Association (“U.S. Bank”), as collateral agent
(and its permitted successors), for the benefit of the secured parties referred to below, pursuant to the Pledge
and Security Agreement, dated as of February 2, 2021 (as amended, amended and restated, supplemented
or otherwise modified from time to time), and the other Senior Priority Agents, if any, from the Company
and the other “Grantors” referred to therein, in favor of U.S. Bank, as collateral agent, and the other Senior
Priority Agents, if any, pursuant to the below-defined Intercreditor Agreement, and (ii) the exercise of any
right or remedy by the applicable Junior Priority Agent is subject to the limitations and provisions of the
Intercreditor Agreement, dated as of February 2, 2021 (as amended, restated, supplemented or otherwise
modified from time to time, the “Intercreditor Agreement”), by and among U.S. Bank, as Senior Priority
Agent, U.S. Bank, as Junior Priority Notes Agent, and other agents, if any, the Company and the subsidiaries
party thereto. In the event of any conflict between the terms of the Intercreditor Agreement and the terms
of this agreement, the terms of the Intercreditor Agreement shall govern.”

                 (b)     In the event that any Senior Priority Agent or the Senior Priority Secured Parties
enter into any amendment, waiver or consent in respect of or replace any of the Senior Priority Collateral
Documents for the purpose of adding to, or deleting from, or waiving or consenting to any departures from
any provisions of, any Senior Priority Collateral Document or changing in any manner the rights of the
Senior Priority Agents, the Senior Priority Secured Parties, the Company or any other Grantor thereunder
(including the release of any Liens in Senior Priority Collateral), then such amendment, waiver or consent
shall apply automatically to any comparable provision of each Comparable Junior Priority Collateral
Document without the consent of any Junior Priority Agent or any Junior Priority Secured Party and without
any action by any Junior Priority Agent, the Company or any other Grantor; provided, that such amendment,
waiver or consent may not materially adversely affect (i) the rights of the Junior Priority Secured Parties or
the interests of the Junior Priority Secured Parties in the Junior Priority Collateral unless the rights and

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interests of the Senior Priority Agent and the Senior Priority Secured Parties are affected in a like or similar
manner (without regard to the fact that the Lien of such Senior Priority Collateral Document is senior to the
Lien of the Comparable Junior Priority Collateral Document), in each case as certified in an Officer’s
Certificate delivered by the Company on which the Senior Priority Agent may conclusively rely or (ii) the
duties, protections, immunities and indemnities afforded to each Junior Priority Agent without its written
consent. The Company shall give written notice of such amendment, waiver or consent to the Junior
Priority Agents; provided that the failure to give such notice shall not affect the effectiveness of such
amendment, waiver or consent with respect to the provisions of any Junior Priority Collateral Document as
set forth in this Section 5.3(b).

                 5.4      Rights As Unsecured Creditors. Notwithstanding anything to the contrary in this
Agreement, without the prior written consent of the Senior Priority Agents, the Junior Priority Agents and
the Junior Priority Secured Parties shall not exercise any rights or remedies that the Junior Priority Agents
and the Junior Priority Secured Parties have as unsecured creditors against the Company or any Subsidiary
that has guaranteed Junior Priority Claims. In the event any Junior Priority Agent or any Junior Priority
Secured Party becomes a judgment lien creditor or other secured creditor in respect of Common Collateral
or other collateral as a result of its enforcement of its rights as an unsecured creditor in respect of Junior
Priority Claims or otherwise, such judgment or other lien shall be subordinated to the Liens securing Senior
Priority Claims on the same basis as the other Liens securing the Junior Priority Claims are so subordinated
to such Liens securing Senior Priority Claims under this Agreement. Nothing in this Agreement impairs or
otherwise adversely affects any rights or remedies any Senior Priority Agent or the Senior Priority Secured
Parties may have with respect to the Senior Priority Collateral.

                 5.5     Senior Agents as Gratuitous Bailees for Perfection.

                  (a)     Each of the Senior Priority Agents agrees to hold the Pledged Collateral that is part
of the Common Collateral in its possession or control (or in the possession or control of its agents or bailees)
as gratuitous bailee for each Junior Priority Agent and any assignee solely for the purpose of perfecting the
security interest granted in such Pledged Collateral pursuant to the Junior Priority Collateral Documents,
subject to the terms and conditions of this Section 5.5 (such bailment being intended, among other things,
to satisfy the requirements of Sections 8-106(d)(3), 8-301(a)(2), 9-104 and 9-313(c) of the UCC). Each of
the Junior Priority Agents agrees to hold the Pledged Collateral that is part of the Common Collateral in its
possession or control (or in the possession or control of its agents or bailees) as gratuitous bailee for each
Senior Priority Agent and any assignee solely for the purpose of perfecting the security interest granted in
such Pledged Collateral pursuant to the Senior Priority Collateral Documents, subject to the terms and
conditions of this Section 5.5 (such bailment being intended, among other things, to satisfy the requirements
of Sections 8-106(d)(3), 8-301(a)(2), 9-104 and 9-313(c) of the UCC).

                 (b)     [reserved].

                 (c)     Except as otherwise specifically provided herein (including Sections 3.1 and 4.1),
until the Discharge of Senior Priority Claims has occurred, the Senior Priority Agents shall be entitled to
deal with the Pledged Collateral in accordance with the terms of the Senior Priority Documents as if the
Liens under the Junior Priority Collateral Documents did not exist. The rights of the Junior Priority Agents
and the Junior Priority Secured Parties with respect to such Pledged Collateral shall at all times be subject
to the terms of this Agreement.

                (d)      The Senior Priority Agents shall have no obligation whatsoever to any Junior
Priority Agent or any Junior Priority Secured Party to assure that the Pledged Collateral is genuine or owned
by any of the Grantors, any security interest granted in any such Pledged Collateral is valid or in effect or
otherwise perfected, or to protect or preserve rights or benefits of any Person or any rights pertaining to the

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Common Collateral except as expressly set forth in this Section 5.5. The duties or responsibilities of the
Senior Priority Agents under this Section 5.5 shall be limited solely to holding the Pledged Collateral as
gratuitous bailee for each Junior Priority Agent for purposes of perfecting the Lien held by the Junior
Priority Secured Parties and delivering the Pledged Collateral upon a Discharge of Senior Priority Claims
as provided in paragraph (f) below.

                 (e)      The Senior Priority Agents shall not have by reason of the Junior Priority Collateral
Documents or this Agreement or any other document a fiduciary relationship in respect of any Junior
Priority Agent or any Junior Priority Secured Party and the Junior Priority Agents and the Junior Priority
Secured Parties hereby waive and release the Senior Priority Agents from all claims and liabilities arising
pursuant to each Senior Priority Agent’s roles under this Section 5.5, as agent and gratuitous bailee with
respect to the Common Collateral. It is understood and agreed that the interests of the Senior Priority Agents
and the Senior Priority Secured Parties, on the one hand, and the Junior Priority Agents and the Junior
Priority Secured Parties, on the other hand, may differ and the Senior Priority Agents and the Senior Priority
Secured Parties shall be fully entitled to act in their own interest without taking into account the interests
of the Junior Priority Agents or the Junior Priority Secured Parties.

                 (f)     Upon the Discharge of Senior Priority Claims, the Senior Priority Agents shall
deliver to the Junior Priority Agents, to the extent that they are legally permitted to do so, the remaining
Pledged Collateral (if any) together with any necessary endorsements (or otherwise allow the Junior Priority
Agents to obtain possession and control of such Pledged Collateral) or as a court of competent jurisdiction
may otherwise direct. The Company shall take such further action as is required to effectuate the transfer
contemplated hereby and shall indemnify and hold harmless the Senior Agents for loss or damage suffered
by any Senior Priority Agent as a result of such transfer except for loss or damage suffered by a Senior
Priority Agent as a result of its own willful misconduct, gross negligence or bad faith (as determined by a
court of competent jurisdiction in a final and non-appealable decision). The Senior Priority Agents have
no obligation to follow instructions from any Junior Priority Agent in contravention of this Agreement.

                 (g)      Neither the Senior Priority Agents nor the Senior Priority Secured Parties shall be
required to marshal any present or future collateral security for the Subsidiaries’ obligations to the Senior
Priority Agents or the Senior Priority Secured Parties under the Senior Priority Documents or any assurance
of payment in respect thereof or to resort to such collateral security or other assurances of payment in any
particular order, and all of their rights in respect of such collateral security or any assurance of payment in
respect thereof shall be cumulative and in addition to all other rights, however existing or arising.

                 Section 6.       Insolvency or Liquidation Proceedings.

                 6.1     Financing Issues. (a) If the Senior Priority Agents or any Senior Priority Secured
Party shall, at any time in anticipation of, in connection with or during the pendency of any Insolvency or
Liquidation Proceeding, (x) consent (or not object) to the sale, use or lease of cash or other Collateral under
Section 363 of the Bankruptcy Code or any other provision of any other Bankruptcy Law (all such collateral,
collectively “Cash Collateral”), and/or (y) desire to provide, agree to provide or otherwise consent (or not
object) to any Grantor’s obtaining financing under Section 364 of the Bankruptcy Code or any other
provision of any other Bankruptcy Law ( “DIP Financing”), then in the case of either (x) or (y), each
Junior Priority Agent, on behalf of itself and each applicable Junior Priority Secured Party, and each Junior
Priority Secured Party agrees that it will not compete with, will raise no objection to, and will not support
any objection to, and will not otherwise challenge or contest (or support, directly or indirectly, any such
objection, challenge or contest) (i) such use of Cash Collateral or DIP Financing and will not seek, request
(or be entitled to) adequate protection or any other relief in connection therewith (except to the extent
permitted by Section 6.3) and will subordinate its Liens in the Common Collateral and any other collateral
to such DIP Financing (and all Obligations relating thereto) to such DIP Financing (including, without

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limitation, any adequate protection Liens granted to the Senior Priority Agents or any Senior Priority
Secured Party, and to any “carve-out” for professional fees and costs, United States Trustee fees and costs
and other customary fees and costs agreed to by the Senior Priority Agents or any Senior Priority Secured
Party), (ii) any motion for relief from the automatic stay or from any injunction against foreclosure or
enforcement in respect of Senior Priority Claims made by any Senior Priority Agent or any holder of Senior
Priority Claims, (iii) any lawful exercise by any holder of Senior Priority Claims of the right to credit bid
Senior Priority Claims at any sale in foreclosure of Senior Priority Collateral, (iv) any other request for
judicial relief made in any court by any holder of Senior Priority Claims relating to the lawful enforcement
of any Lien on Senior Priority Collateral, or (v) any order relating to a sale of Senior Priority Collateral for
which the Senior Priority Agents have consented that provides, to the extent the sale is to be free and clear
of Liens, that the Liens securing the Senior Priority Claims and the Junior Priority Claims will attach to the
proceeds of the sale on the same basis of priority as the Liens securing the Senior Priority Collateral do to
the Liens securing the Junior Priority Collateral in accordance with this Agreement unless such proceeds
are applied in satisfaction of the Senior Priority Claims pursuant to this Agreement. The Junior Priority
Agents, each for itself and on behalf of each other Junior Priority Secured Party, agrees that notice received
two (2) calendar days prior to the entry of an order approving such usage of cash or other collateral or
approving such financing shall be adequate notice.

                  (a)     In no event shall any Junior Priority Agent or any other Junior Priority Secured
Party (i) offer to provide, or propose, any DIP Financing to any Grantor or (ii) credit bid any Junior Priority
Claims, in each case without the consent of the Senior Priority Secured Party unless such credit bid provides
for the payment in full in cash of the Senior Priority Claims.

                6.2      Relief from the Automatic Stay. Until the Discharge of Senior Priority Claims has
occurred, each Junior Priority Agent, on behalf of itself and each applicable Junior Priority Secured Party,
agrees that none of them shall seek relief from the automatic stay or any other stay in any Insolvency or
Liquidation Proceeding in respect of the Common Collateral or any other collateral, without the prior
written consent of the Senior Priority Agents.

                 6.3     Adequate Protection.

                (a) Each Junior Priority Agent, on behalf of itself and the applicable Junior Priority
Secured Parties, agrees that none of them shall be entitled to contest and none of them shall contest (or
support any other Person contesting) (but instead shall be deemed to have hereby irrevocably, absolutely,
and unconditionally waived any right):

                         (i)     any request by any Senior Priority Agents or the Senior Priority Secured
        Parties for adequate protection; or

                         (ii)   any objection by any Senior Priority Agent or Senior Priority Secured
        Party to any motion, relief, action or proceeding based on the Senior Priority Agent or the other
        Senior Priority Secured Party claiming a lack of adequate protection with respect to the Senior
        Priority Collateral.

                (b)     Consistent with the foregoing provisions in this Section 6.3, and except as
otherwise provided herein or as consented to by the Senior Priority Agents, in any Insolvency or Liquidation
Proceeding:

                        (i)      no Junior Priority Agent or Junior Priority Secured Party shall be entitled
        (and each Junior Priority Agent and Junior Priority Secured Party shall be deemed to have hereby
        irrevocably, absolutely, and unconditionally waived any right):

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                          (A)      to seek or otherwise be granted any type of adequate protection with
        respect to its interests in the Senior Priority Collateral; provided, however, subject to this Section
        6, the Junior Priority Agents and the Junior Priority Secured Parties may seek and obtain adequate
        protection in the form of an additional or replacement Liens on Common Collateral so long as (1)
        the Senior Priority Agents and the Senior Priority Secured Parties have been granted adequate
        protection in the form of a replacement lien on such Common Collateral, and (2) any such Lien on
        Senior Priority Collateral (and on any Common Collateral granted as adequate protection for the
        Senior Priority Agents and the Senior Priority Secured Parties in respect of their interest in such
        Senior Priority Collateral) is subordinated to the Liens of the Senior Agents in such Common
        Collateral on the same basis as the other Liens of the Junior Priority Agent on Senior Priority
        Collateral; and

                          (B)       to seek or otherwise be granted any adequate protection payments with
        respect to its interests in the Common Collateral from Proceeds of Senior Priority Collateral.

                6.4    Avoidance Issues. If any Senior Priority Secured Party is required in any
Insolvency or Liquidation Proceeding or otherwise to turn over or otherwise pay to the estate of
the Company or any other Grantor (or any trustee, receiver or similar person therefor), because the
payment of such amount was declared to be fraudulent or preferential in any respect or for any
other reason, any amount (a “Recovery”), whether received as proceeds of security, enforcement
of any right of setoff or otherwise, then as among the parties hereto the Senior Priority Claims
shall be deemed to be reinstated to the extent of such Recovery and to be outstanding as if such
payment had not occurred and the Senior Priority Secured Parties shall be entitled to a Discharge of
Senior Priority Claims with respect to all such recovered amounts and shall have all rights hereunder until
such time. If this Agreement shall have been terminated prior to such Recovery, this Agreement
shall be reinstated in full force and effect, and such prior termination shall not diminish, release,
discharge, impair or otherwise affect the obligations of the parties hereto.

                 6.5      Application. This Agreement, which the parties hereto expressly acknowledge is
a “subordination agreement” under Section 510(a) of the Bankruptcy Code, shall be applicable prior to and
after the commencement of any Insolvency or Liquidation Proceeding. All references herein to any Grantor
shall apply to any trustee for such Person and such Person as debtor in possession. The relative rights as to
the Common Collateral and other collateral and proceeds thereof shall continue after the filing thereof on
the same basis as prior to the date of the petition, subject to any court order approving the financing of, or
use of cash collateral by, any Grantor.

                6.6     Waivers. Until the Discharge of Senior Priority Claims has occurred, each Junior
Priority Agent, on behalf of itself and each applicable Junior Priority Secured Party, (a) will not assert or
enforce any claim under Section 506(c) of the United States Bankruptcy Code senior to or on a parity with
the Liens securing the Senior Priority Claims for costs or expenses of preserving or disposing of any
Common Collateral or other collateral, and (b) waives any claim it may now or hereafter have arising out
of the election by any Senior Priority Secured Party of the application of Section 1111(b)(2) of the
Bankruptcy Code.

                6.7       Post-Petition Interest. Neither the Junior Priority Agents nor any Junior Priority
Secured Party shall oppose or seek to challenge any claim by any Senior Priority Agent or any Senior
Priority Secured Party for allowance in any Insolvency or Liquidation Proceeding of Senior Claims
consisting of post-petition interest, fees or expenses.

                6.8      Plan of Reorganization.

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                 (a)     If, in any Insolvency or Liquidation Proceeding, debt obligations of the
reorganized debtor secured by Liens upon the Common Collateral are distributed, pursuant to a plan of
reorganization or similar dispositive restructuring plan, on account of Senior Priority Claims and on account
of Junior Priority Claims, then, to the extent the debt obligations distributed on account of the Senior
Priority Claims and on account of the Junior Priority Claims are secured by Liens upon the same Common
Collateral, the provisions of this Agreement will survive the distribution of such debt obligations pursuant
to such plan and will apply with like effect to the Liens securing such debt obligations.

                  (b)      Neither the Junior Priority Agent nor any Junior Priority Secured Party shall
propose, vote to accept, or otherwise support a plan of reorganization, arrangement, compromise or
liquidation or similar dispositive restructuring plan, or any other document, agreement or proposal similar
to the foregoing that is inconsistent with or in contravention of the terms of this Agreement (including any
plan of reorganization that purports to re-order (whether by subordination, invalidation, or otherwise) or
otherwise disregard, in whole or in part, the provisions of Section 2, Section 4 (including Proceeds waterfall
priorities) or Section 6).

                (c)      Neither the Junior Priority Agent nor any Junior Priority Secured Party shall bring
any motion in any Insolvency or Liquidation Proceeding seeking to terminate any Grantors’ exclusive
periods for proposing a plan of reorganization.

                  6.9       Separate Grants of Liens. Each Senior Priority Secured Party and each Junior
Priority Secured Party acknowledges and agrees that (i) the grants of Liens pursuant to the Senior Priority
Documents and the Junior Priority Documents constitute two separate and distinct grants of Liens and
(ii) because of, among other things, their differing rights in the Common Collateral, the Senior Priority
Claims are fundamentally different from the Junior Priority Claims and must be separately classified in any
plan of reorganization (or other plan of similar effect under any Bankruptcy Laws) proposed or adopted in
an Insolvency Proceeding. To further effectuate the intent of the parties as provided in the immediately
preceding sentence, if it is held that the claims of the Senior Priority Secured Parties and the Junior Priority
Secured Parties in respect of the Common Collateral constitute only one secured claim (rather than separate
classes of senior and junior secured claims), then the Senior Priority Secured Parties and the Junior Priority
Secured Parties hereby acknowledge and agree that all distributions shall be made as if there were separate
classes of Senior Priority Claims and Junior Priority Claims against the Grantors, with the effect being that,
to the extent that the aggregate value of the Senior Priority Collateral or Junior Priority Collateral is
sufficient, the Senior Priority Secured Parties shall be entitled to receive, in addition to amounts distributed
to them in respect of principal, pre-petition interest and other claims, all amounts owing in respect of post-
petition interest that is available from the Common Collateral for each of the Senior Priority Secured Parties
before any distribution is made in respect of the claims held by the Junior Priority Secured Parties from
such Common Collateral, with the Junior Priority Secured Parties hereby acknowledging and agreeing to
turn over to the Senior Priority Secured Parties amounts otherwise received or receivable by them to the
extent necessary to effectuate the intent of this sentence, even if such turnover has the effect of reducing
the aggregate recoveries.

                 6.10     Asset Dispositions. Neither the Junior Priority Agent nor any other Junior Priority
Secured Party shall, in an Insolvency or Liquidation Proceeding or otherwise, oppose any sale or disposition
(or bidding procedures with respect thereto) of any Senior Priority Collateral that is supported by the Senior
Priority Agent or any Senior Priority Secured Party, and the Junior Priority Notes Agent and each other
Junior Priority Secured Party will be deemed to have consented under Section 363 of the Bankruptcy Code
(and otherwise) to any sale (and any bidding procedures with respect thereto) of any Senior Priority
Collateral supported by the Senior Priority Secured Parties and to have released their Liens on such assets
to the extent such assets constitute Junior Priority Collateral; provided that the proceeds of such sale or
disposition are applied in accordance with the terms of this Agreement.

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                Section 7.       Reliance; Waivers; etc.

                 7.1       Reliance. All notes and other extensions of credit made or deemed made on and
after the date hereof by the Senior Priority Secured Parties to any Subsidiary shall be deemed to have been
given and made in reliance upon this Agreement. Each Junior Priority Agent, on behalf of itself and each
applicable Junior Priority Secured Party, acknowledges that it and the applicable Junior Priority Secured
Parties are not entitled to rely on any credit decision or other decisions made by the Senior Priority Agents
or any Senior Priority Secured Party in taking or not taking any action under the applicable Junior Priority
Document or this Agreement.

                  7.2     No Warranties or Liability. Except as set forth in Section 8.14, neither the Senior
Priority Agents nor any Senior Priority Secured Party shall have been deemed to have made any express or
implied representation or warranty, including with respect to the execution, validity, legality, completeness,
collectability or enforceability of any of the Senior Priority Documents, the ownership of any Common
Collateral or the perfection or priority of any Liens thereon. The Senior Priority Secured Parties will be
entitled to manage and supervise their respective notes and extensions of credit under the Senior Priority
Documents in accordance with law and as they may otherwise, in their sole discretion, deem appropriate,
and the Senior Priority Secured Parties may manage their notes and extensions of credit without regard to
any rights or interests that any Junior Priority Agent or any of the Junior Priority Secured Parties have in
the Common Collateral or otherwise, except as otherwise provided in this Agreement. Neither the Senior
Priority Agents nor any Senior Priority Secured Party shall have any duty to any Junior Priority Agent or
any Junior Priority Secured Party to act or refrain from acting in a manner that allows, or results in, the
occurrence or continuance of an event of default or default under any agreements with the Company or any
Subsidiary thereof (including the Junior Priority Documents), regardless of any knowledge thereof that they
may have or be charged with. Except as expressly set forth in this Agreement, the Senior Priority Agents,
the Senior Priority Secured Parties, the Junior Priority Agents and the Junior Priority Secured Parties have
not otherwise made to each other, nor do they hereby make to each other, any warranties, express or implied,
nor do they assume any liability to each other with respect to (a) the enforceability, validity, value or
collectability of any of the Junior Priority Claims, the Senior Priority Claims or any guarantee or security
which may have been granted to any of them in connection therewith, (b) the Company’s title to or right to
transfer any of the Common Collateral or (c) any other matter except as expressly set forth in this
Agreement.

                 7.3     Obligations Unconditional. All rights, interests, agreements and obligations of the
Senior Priority Agents and the Senior Priority Secured Parties, and the Junior Priority Agents and the Junior
Priority Secured Parties, respectively, hereunder shall remain in full force and effect irrespective of:

                 (a)   any lack of validity or enforceability of any Senior Priority Documents or any
Junior Priority Documents;

                 (b)     any change in the time, manner or place of payment of, or in any other terms of,
all or any of the Senior Priority Claims or Junior Priority Claims, or any amendment or waiver or other
modification, including any increase in the amount thereof, whether by course of conduct or otherwise, of
the terms of the Senior Priority Notes Indenture or any other Senior Priority Document or of the terms of
the Junior Priority Notes Indenture or any other Junior Priority Document;

                  (c)     any exchange of any security interest in any Common Collateral or any other
collateral, or any amendment, waiver or other modification, whether in writing or by course of conduct or
otherwise, of all or any of the Senior Priority Claims or Junior Priority Claims or any guarantee thereof;




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              (d)     the commencement of any Insolvency or Liquidation Proceeding in respect of the
Company or any other Grantor; or

                 (e)    any other circumstances that otherwise might constitute a defense available to, or
a discharge of, the Company or any other Grantor in respect of the Senior Priority Claims, or of any Junior
Priority Agent or any Junior Priority Secured Party in respect of this Agreement.

                 Section 8.       Miscellaneous.

                8.1     Conflicts. Subject to Section 8.18, in the event of any conflict between the
provisions of this Agreement and the provisions of any Senior Priority Document or any Junior Priority
Document, the provisions of this Agreement shall govern.

                 8.2     Continuing Nature of this Agreement; Severability. Subject to Section 6.4, this
Agreement shall continue to be effective until the Discharge of Senior Priority Claims shall have occurred.
This is a continuing agreement of lien subordination and the Senior Priority Secured Parties may continue,
at any time and without notice to any Junior Priority Agent or any Junior Priority Secured Party, to extend
credit and other financial accommodations and lend monies to or for the benefit of the Company or any
other Grantor constituting Senior Priority Claims in reliance hereon. The terms of this Agreement shall
survive, and shall continue in full force and effect, in any Insolvency or Liquidation Proceeding. Any
provision of this Agreement that is prohibited or unenforceable in any jurisdiction shall not invalidate the
remaining provisions hereof, and any such prohibition or unenforceability in any jurisdiction shall not
invalidate or render unenforceable such provision in any other jurisdiction.

                 8.3     Amendments; Waivers.

                 (a)    This Agreement may be amended in writing signed by the applicable Senior
Priority Agent and applicable Junior Priority Agent (in each case, acting in accordance with Senior Priority
Notes Indenture, the Junior Priority Notes Indenture or any other Senior Priority Document or Junior
Priority Document, as applicable) and the Company. Any such amendment, supplement or waiver shall be
in writing and shall be binding upon the Senior Priority Agents, the Senior Priority Secured Parties, the
Junior Priority Agents and the Junior Priority Secured Parties and their respective successors and assigns.

                 (b)     Notwithstanding the foregoing, without the consent of any Senior Priority Agent,
Senior Priority Secured Parties, the Junior Priority Agents and the Junior Priority Secured Parties, any
collateral agent for any Future Junior Priority Indebtedness may become a party hereto by execution and
delivery of a Joinder Agreement in accordance with Section 8.20 of this Agreement and upon such
execution and delivery, such collateral agent and the Senior Priority Secured Party or Junior Priority
Secured Party, as applicable, and Senior Priority Claims or Junior Priority Claims of such Future Secured
Indebtedness for which such collateral agent is acting shall be subject to the terms hereof.

                  8.4      Information Concerning Financial Condition of the Company and the Subsidiaries.
Neither the Senior Priority Agents nor any Senior Priority Secured Party shall have any obligation to the
Junior Priority Agents or any Junior Priority Secured Party to keep the Junior Priority Agents or any Junior
Priority Secured Party informed of, and the Junior Priority Agents and the Junior Priority Secured Parties
shall not be entitled to rely on the Senior Priority Agents or the Senior Priority Secured Parties with respect
to, (a) the financial condition of the Subsidiaries and all endorsers and/or guarantors of the Junior Priority
Claims or the Senior Priority Claims and (b) all other circumstances bearing upon the risk of nonpayment
of the Junior Priority Claims or the Senior Priority Claims. The Senior Priority Agents, the Senior Priority
Secured Parties, the Junior Priority Agents and the Junior Priority Secured Parties shall have no duty to
advise any other party hereunder of information known to it or them regarding such condition or any such

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circumstances or otherwise. In the event that any Senior Priority Agent, any Senior Priority Secured Party,
any Junior Priority Agent or any Junior Priority Secured Party, in its or their sole discretion, undertakes at
any time or from time to time to provide any such information to any other party, it or they shall be under
no obligation (w) to make, and the Senior Priority Agents, the Senior Priority Secured Parties, the Junior
Priority Agents and the Junior Priority Secured Parties shall not make, any express or implied representation
or warranty, including with respect to the accuracy, completeness, truthfulness or validity of any such
information so provided, (x) to provide any additional information or to provide any such information on
any subsequent occasion, (y) to undertake any investigation or (z) to disclose any information that, pursuant
to accepted or reasonable commercial finance practices, such party wishes to maintain confidential or is
otherwise required to maintain confidential.

                 8.5    Subrogation. Each Junior Priority Agent, on behalf of itself and each applicable
Junior Priority Secured Party, hereby waives any rights of subrogation it may acquire as a result of any
payment hereunder until the Discharge of Senior Priority Claims has occurred.

                 8.6      Application of Payments. Except as otherwise provided herein, all payments
received by the Senior Priority Secured Parties may be applied, reversed and reapplied, in whole or in part,
to such part of the Senior Priority Claims as the Senior Priority Secured Parties, in their sole discretion,
deem appropriate, consistent with the terms of the Senior Priority Documents. Except as otherwise
provided herein, each Junior Priority Agent, on behalf of itself and each applicable Junior Priority Secured
Party, assents to any such extension or postponement of the time of payment of the Senior Priority Claims
or any part thereof and to any other indulgence with respect thereto, to any substitution, exchange or release
of any security that may at any time secure any part of the Senior Priority Claims and to the addition or
release of any other Person primarily or secondarily liable therefor.

                8.7      Consent to Jurisdiction; Venue; Waiver of Jury Trial.

            (a)   ANY LEGAL ACTION OR PROCEEDING WITH RESPECT TO THIS
AGREEMENT MAY BE BROUGHT IN THE STATE COURTS OF THE STATE OF NEW YORK,
WHICH ARE LOCATED IN THE COUNTY OF NEW YORK, AND, BY EXECUTION AND
DELIVERY OF THIS AGREEMENT, EACH PARTY HERETO HEREBY IRREVOCABLY ACCEPTS
FOR ITSELF AND IN RESPECT OF ITS PROPERTY, GENERALLY AND UNCONDITIONALLY,
THE EXCLUSIVE JURISDICTION OF THE AFORESAID COURTS (INCLUDING ANY APPELLATE
COURTS THEREOF). EACH PARTY HERETO HEREBY FURTHER IRREVOCABLY WAIVES
ANY CLAIM THAT ANY SUCH COURTS LACK PERSONAL JURISDICTION OVER SUCH PARTY,
AND AGREES NOT TO PLEAD OR CLAIM, IN ANY LEGAL ACTION PROCEEDING WITH
RESPECT TO THIS AGREEMENT BROUGHT IN ANY OF THE AFOREMENTIONED COURTS,
THAT SUCH COURTS LACK PERSONAL JURISDICTION OVER SUCH PARTY. EACH PARTY
HERETO FURTHER IRREVOCABLY CONSENTS TO THE SERVICE OF PROCESS OUT OF ANY
OF THE AFOREMENTIONED COURTS IN ANY SUCH ACTION OR PROCEEDING BY THE
MAILING OF COPIES THEREOF BY REGISTERED OR CERTIFIED MAIL, POSTAGE PREPAID,
TO SUCH PARTY AT ITS ADDRESS DESCRIBED IN SECTION 8.8, SUCH SERVICE TO BECOME
EFFECTIVE 30 DAYS AFTER SUCH MAILING.        EACH PARTY HERETO         HEREBY
IRREVOCABLY WAIVES ANY OBJECTION TO SUCH SERVICE OF PROCESS AND FURTHER
IRREVOCABLY WAIVES AND AGREES NOT TO PLEAD OR CLAIM IN ANY ACTION OR
PROCEEDING COMMENCED HEREUNDER OR UNDER ANY OTHER CREDIT DOCUMENT
THAT SERVICE OF PROCESS WAS IN ANY WAY INVALID OR INEFFECTIVE. NOTHING
HEREIN SHALL AFFECT THE RIGHT OF ANY PARTY HERETO TO SERVE PROCESS IN ANY
OTHER MANNER PERMITTED BY LAW OR TO COMMENCE LEGAL PROCEEDINGS OR
OTHERWISE PROCEED AGAINST ANOTHER PARTY IN ANY OTHER JURISDICTION.


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            (b)  EACH PARTY HERTO HEREBY IRREVOCABLY WAIVES ANY
OBJECTION WHICH IT MAY NOW OR HEREAFTER HAVE TO THE LAYING OF VENUE OF ANY
OF THE AFORESAID ACTIONS OR PROCEEDINGS ARISING OUT OF OR IN CONNECTION
WITH THIS AGREEMENT BROUGHT IN THE COURTS REFERRED TO IN CLAUSE (a) ABOVE
AND HEREBY FURTHER IRREVOCABLY WAIVES AND AGREES NOT TO PLEAD OR CLAIM
IN ANY SUCH COURT THAT ANY SUCH ACTION OR PROCEEDING BROUGHT IN ANY SUCH
COURT HAS BEEN BROUGHT IN AN INCONVENIENT FORUM.

          (c)   EACH OF THE PARTIES TO THIS AGREEMENT HEREBY IRREVOCABLY
WAIVES ALL RIGHT TO A TRIAL BY JURY IN ANY ACTION, PROCEEDING OR
COUNTERCLAIM ARISING OUT OF OR RELATING TO THIS AGREEMENT.

                 8.8      Notices. All notices to the Junior Priority Secured Parties and the Senior Priority
Secured Parties permitted or required under this Agreement may be sent to the applicable Junior Priority
Agent or the applicable Senior Priority Agent as provided in the relevant Senior Priority Documents or the
relevant Junior Priority Documents, as applicable. Unless otherwise specifically provided herein, any
notice or other communication herein required or permitted to be given shall be in writing and may be
personally served, telecopied, electronically mailed or sent by courier service or U.S. mail and shall be
deemed to have been given when delivered in person or by courier service, upon receipt of a telecopy or
electronic mail or upon receipt via U.S. mail (registered or certified, with postage prepaid and properly
addressed). For the purposes hereof, the addresses of the parties hereto (other than the Grantors) shall be
as set forth below each party’s name on the signature pages hereto, or, as to each party, at such other address
as may be designated by such party in a written notice to all of the other parties. With respect to the
Grantors, for purposes hereof, the addresses of the Grantors shall be as set forth in the Senior Priority Notes
Indenture and Junior Priority Notes Indenture, as applicable. Each Senior Priority Agent hereby agrees to
promptly notify each Junior Priority Agent upon payment in full in cash of all Indebtedness under the
applicable Senior Priority Documents (except for contingent indemnities and cost and reimbursement
obligations to the extent no claim therefor has been made).

                 8.9      Further Assurances. Each Junior Priority Agent, on behalf of itself and each
applicable Junior Priority Secured Party, and each Senior Priority Agent, on behalf of itself and each
applicable Senior Priority Secured Party, agrees that each of them shall take such further action and shall
execute and deliver to the Senior Priority Agents and the Senior Priority Secured Parties such additional
documents and instruments (in recordable form, if requested) as the Senior Priority Agents or the Senior
Priority Secured Parties may reasonably request, at the expense of the Company, to effectuate the terms of
and the lien priorities contemplated by this Agreement.

                 8.10   Governing Law. This Agreement and the rights and liabilities of the parties bound
hereby shall be construed in accordance with and be governed by the law of the State of New York.

                8.11     Specific Performance. The Senior Priority Agents may demand specific
performance of this Agreement. Each Junior Priority Agent, on behalf of itself and each applicable Junior
Priority Secured Party, hereby irrevocably waives any defense based on the adequacy of a remedy at law
and any other defense that might be asserted to bar the remedy of specific performance in any action that
may be brought by the Senior Priority Agents.

                8.12   Section Titles. The section titles contained in this Agreement are and shall be
without substantive meaning or content of any kind whatsoever and are not a part of this Agreement.

               8.13     Counterparts. This Agreement may be executed in one or more counterparts,
including by means of facsimile or other electronic transmission, each of which shall be an original and all

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of which shall together constitute one and the same document. The words “execution,” “signed,”
“signature,” “delivery,” and words of like import in or relating to this Agreement or any document to be
signed in connection with this Agreement shall be deemed to include electronic signatures (including .pdf
file, .jpeg file or any electronic signature complying with the U.S. federal ESIGN Act of 2000, including
Orbit, Adobe Sign, DocuSign, or any other similar platform identified by the Company and reasonably
available at no undue burden or expense to the Junior Priority Agent or the Senior Priority Agent), deliveries
or the keeping of records in electronic form, each of which shall be of the same legal effect, validity or
enforceability as a manually executed signature, physical delivery thereof or the use of a paper-based
recordkeeping system, as the case may be, and the parties hereto consent to conduct the transactions
contemplated hereunder by electronic means.

                 8.14    Authorization. By its signature, each Person executing this Agreement on behalf
of a party hereto represents and warrants to the other parties hereto that it is duly authorized to execute this
Agreement.

                 8.15     No Third Party Beneficiaries; Successors and Assigns. This Agreement and the
rights and benefits hereof shall inure to the benefit of, and be binding upon, each of the parties hereto and
their respective successors and assigns and shall inure to the benefit of each of, and be binding upon, the
holders of Senior Priority Claims, Junior Priority Claims, the Company and the other Grantors. No other
Person shall have or be entitled to assert rights or benefits hereunder. Without limiting the generality of
the foregoing, any person to whom a Holder assigns or otherwise transfers all or any portion of the Senior
Priority Claims or the Junior Priority Claims, as applicable, shall become vested with all the rights and
obligations in respect thereof granted to the Senior Priority Secured Parties or Junior Priority Secured
Parties, respectively, without any further consent or action of the other Senior Priority Secured Parties or
Junior Priority Secured Parties, respectively.

                 8.16     Effectiveness. This Agreement shall become effective when executed and
delivered by the parties hereto. This Agreement shall be effective both before and after the commencement
of any Insolvency or Liquidation Proceeding. All references to the Company or any other Grantor shall
include the Company or any other Grantor as debtor and debtor-in-possession and any receiver or trustee
for the Company or any other Grantor (as the case may be) in any Insolvency or Liquidation Proceeding.

                 8.17    Senior Priority Agent and Junior Priority Agent. (a) It is understood and agreed
that (i) U.S. Bank National Association is entering into this Agreement in its capacity as “Collateral Agent”
under the Senior Priority Notes Indenture and as “Collateral Agent” under the Junior Priority Notes
Indenture and the rights, protections, immunities and indemnities afforded to the respective “Collateral
Agent” under the Junior Priority Notes Indenture and the rights, protections, immunities and indemnities
afforded to the respective “Collateral Agent” under the Senior Priority Documents and Junior Priority
Documents, respectively shall also apply to U.S. Bank National Association as a Senior Priority Agent or
Junior Priority Agent, respectively, hereunder, (ii) the Senior Priority Secured Parties have expressly
authorized and instructed the Senior Priority Agent to execute and deliver this Agreement, and (iii) the
majority of Holders have expressly authorized and directed the Junior Priority Agent to execute and deliver
this Agreement.

                (b)      Notwithstanding anything herein to the contrary, the exercise of any right or
remedy by the Secured Parties hereunder is subject to the provisions of the ABL Intercreditor Agreement.
As between the ABL Secured Parties (as defined in the ABL Intercreditor Agreement) on the one hand and
the Secured Parties on the other, in the event of any conflict between the terms of the ABL Intercreditor
Agreement and the terms of this Agreement, the terms of the ABL Intercreditor Agreement shall govern
and control. Solely as among the Secured Parties, in the event of any conflict between this Agreement and
the ABL Intercreditor Agreement, the terms of this Agreement shall control. With respect to all

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discretionary matters of the Notes Representatives under the ABL Intercreditor Agreement, the
determination of the Senior Priority Agent shall control, and the Senior Priority Agent shall be the
Designated Notes Representative under the ABL Intercreditor Agreement for so long as Obligations are
outstanding under the Senior Priority Notes Indenture.

                 8.18      Relative Rights. Notwithstanding anything in this Agreement to the contrary
(except to the extent contemplated by Section 5.3(b)), nothing in this Agreement is intended to or will
(a) amend, waive or otherwise modify the provisions of the Senior Priority Notes Indenture, the Junior
Priority Notes Indenture or any other Senior Priority Document or Junior Priority Document or permit the
Company or any Subsidiary to take any action, or fail to take any action, to the extent such action or failure
would otherwise constitute a breach of, or default under, the Senior Priority Notes Indenture or any other
Senior Priority Document or the Junior Priority Notes Indenture or any other Junior Priority Document,
(b) change the relative priorities of the Senior Priority Claims or the Liens granted under the Senior Priority
Documents on the Common Collateral (or any other assets) as among the Senior Priority Secured Parties,
(c) otherwise change the relative rights of the Senior Priority Secured Parties in respect of the Common
Collateral as among such Senior Priority Secured Parties or (d) obligate the Company or any Subsidiary to
take any action, or fail to take any action, that would otherwise constitute a breach of, or default under, the
Senior Priority Notes Indenture or any other Senior Priority Document or the Junior Priority Notes
Indenture or any other Junior Priority Document.

                 8.19     Supplements. Upon the execution by any Subsidiary of the Company of a
supplement hereto in form reasonably and substance satisfactory to the Senior Priority Agents and the
holders of a majority in aggregate principal amount of the then outstanding notes under the Senior Priority
Notes Indenture, such Subsidiary shall be a party to this Agreement and shall be bound by (and receive the
benefits of) the provisions hereof to the same extent as the Company and each other Grantor are so bound
(or receive benefits therefrom).

                 8.20     Joinder Requirements. The Company, without the consent of any other party to
this Agreement, may designate any Future Second Lien Indebtedness if the incurrence of such obligations
is permitted under each of the Senior Priority Notes Indenture, all other extant relevant Senior Priority
Documents and Junior Priority Documents and this Agreement; it being agreed, however, that, no restriction
on the designation or incurrence of Junior Priority Claims taking effect after the designation of any other
Senior Priority Claims or Junior Priority Claims shall be effective, for purposes of this Agreement, to
prohibit the designation of such pre-existing Senior Priority Claims or Junior Priority Claims, or any
increase thereof pursuant to the applicable Senior Priority Documents or Junior Priority Documents, or any
Refinancing thereof. As a condition precedent to the effectiveness of such designation, the applicable Junior
Priority Agent shall execute and deliver to each extant Senior Priority Agent and Junior Priority Agent, a
Joinder Agreement. Notwithstanding anything to the contrary set forth in this Section 8.20 or in Section 8.5
hereof, any Senior Agent and/or any Junior Priority Agent may, and, at the request of the Company, shall,
in each case, without the consent of any extant Senior Priority Agent or Junior Priority Agent affected
thereby, enter into a supplemental agreement (which may take the form of an amendment, an amendment
and restatement or a supplement of this Agreement) to facilitate the designation of such additional
obligations as Junior Priority Claims. Any such additional party, each Senior Priority Agent, Senior Priority
Secured Party and each Junior Priority Secured Party shall be entitled to rely on the determination of officers
of the Company that any such designation of Junior Priority Claims does not violate extant Senior Priority
Documents and Junior Priority Documents, and any such designation or amendment shall be deemed
effective for all purposes of this Agreement, if such determination is set forth in an officers’ certificate
delivered to such party, the Senior Priority Agents and each Junior Priority Agent; provided, however, that
such determination will not affect any rights or remedies that any Senior Priority Secured Party, Senior
Prioirty Agent or Junior Priority Secured Party may have against the Company in respect of any breach of
its undertakings in the Senior Priority Notes Indenture, all other extant relevant Senior Priority Documents

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and Junior Priority Documents, any other Junior Priority Document governing Future Junior Priority
Indebtedness, the Junior Priority Collateral Documents or this Agreement.

                            [Remainder of page intentionally left blank]




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                                                                                                 EXHIBIT A


                         Form of Intercreditor Agreement Joinder - New Agent


         Reference is made to the Intercreditor Agreement, dated as of February 2, 2021 (as amended,
restated, supplemented or modified from time to time, the “Intercreditor Agreement”), between and
among U.S. Bank National Association (“U.S. Bank”), as trustee and collateral agent under the Senior
Priority Notes Indenture, U.S. Bank National Association (“U.S. Bank”), as trustee and collateral agent
under the Junior Priority Notes Indenture and the other parties thereto and acknowledged by TPC Group
Inc. (the “Company”) and the certain other Grantors from time to time party thereto.

        Capitalized terms used herein but not otherwise defined herein shall have the meanings assigned to
such terms in the Intercreditor Agreement. This Joinder Agreement is being executed and delivered
pursuant to Section 8.20 of the Intercreditor Agreement as a condition precedent to the debt for which the
undersigned is acting as representative being entitled to the rights and obligations of being secured debt
under the Intercreditor Agreement.

         1.       Joinder. The undersigned, _____________________, a _______________, as [trustee]
[collateral trustee] [administrative agent] [collateral agent] (in such capacity, the “New Agent”) under that
certain [described applicable indenture, credit agreement or other document governing the additional
secured debt] (“Additional Debt”) hereby:

        (a)       represents that the New Agent has been authorized to become a party to the
        Intercreditor Agreement on behalf of certain [Senior Priority Secured Parties][Junior
        Priority Secured Parties] under the Intercreditor Agreement for all purposes thereof on the
        terms set forth therein, and to be bound by the terms of the Intercreditor Agreement as fully
        as if the undersigned had executed and delivered the Intercreditor Agreement as of the date
        thereof; and

        (b)      agrees that its address for receiving notices pursuant to the Intercreditor Agreement
        shall be as follows: [Address];

         2.       Accession to the Intercreditor Agreement. New Agent (a) hereby accedes and becomes a
party to the Intercreditor Agreement as in respect of the relevant Additional Debt, (b) agrees to all the terms
and provisions of the Intercreditor Agreement and (c) shall have all the rights and obligations of under the
Intercreditor Agreement in its capacity as such New Agent. From and after execution of this Joinder
Agreement, the Additional Debt shall be Obligations for all purposes under the Intercreditor Agreement.

         3.     Representations, Warranties and Acknowledgement of the New Agent. New Agent
represents and warrants to the Junior Priority Notes Agent and the Senior Priority Notes Agent that (a) it
has full power and authority to enter into this Joinder Agreement and (b) this Joinder Agreement has been
duly authorized, executed and delivered by it and constitutes its legal, valid and binding obligation,
enforceable against it in accordance with the terms of this Joinder Agreement (subject to the effects of
bankruptcy, insolvency or similar laws effecting creditors’ rights generally and general equitable
principles).

        4.      Governing Law and Miscellaneous Provisions. The provisions of Sections 8.7, 8.8, 8.10,
8.12, 8.13, 8.14, 8.15 and 8.16 of the Intercreditor Agreement will apply with like effect to this Joinder
Agreement.
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        5.       Effect of Joinder. Except as specifically modified hereby, all of the terms and conditions
of the Intercreditor Agreement remain unchanged and are in full force and effect. Any reference to the
Intercreditor Agreement contained in any [Senior Priority Document][ Junior Priority Documents] shall be
deemed a reference to the Intercreditor Agreement, as modified hereby. The agreements set forth herein or
undertaken pursuant hereto are for the benefit of, and may be enforced by, any party to the Intercreditor
Agreement.

        6.      Counterparts. This Joinder Agreement may be executed in multiple counterparts, each of
which shall constitute an original, but all of which when taken together shall constitute a single contract.
This Joinder Agreement shall become effective when the Junior Priority Notes Agent and the Senior Priority
Notes Agent shall have received a counterpart of this Joinder Agreement that bears the signature of the
New Agent. Delivery of an executed signature page to this Joinder Agreement by facsimile or other
electronic transmission shall be effective as delivery of a manually signed counterpart of this Joinder
Agreement.

        7.      Severability. In case any one or more of the provisions contained in this Joinder Agreement
should be held invalid, illegal or unenforceable in any respect, none of the parties hereto shall be required
to comply with such provision for so long as such provision is held to be invalid, illegal or unenforceable,
but the validity, legality and enforceability of the remaining provisions contained herein and in the
Intercreditor Agreement shall not in any way be affected or impaired. The parties hereto shall endeavor in
good-faith negotiations to replace the invalid, illegal or unenforceable provisions with valid provisions the
economic effect of which comes as close as possible to that of the invalid, illegal or unenforceable
provisions.

         8.      Expenses. The Grantors jointly and severally agree to reimburse the Senior Priority Agents
and the Junior Priority Agents for their respective reasonable out-of-pocket expenses in connection with
this Intercreditor Agreement Joinder, including the reasonable fees, other charges and disbursements of
counsel for the Senior Priority Agents and the Junior Priority Agents.

                               [Remainder of page intentionally left blank]
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         IN WITNESS WHEREOF, the parties hereto have caused this Joinder Agreement to be executed
by their respective officers or representatives as of __________________, 20____.



                                                    [NEW AGENT]
                                                    By:_________________________
                                                    Name:
                                                    Title:
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                        EXHIBIT I

              Project Mercury – Trading Prices
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                                                                        PREPARED AT THE DIRECTION OF COUNSEL
                                                                             SUBJECT TO SUBSTANTIAL REVISION
                                                                                            SUBJECT TO FRE 408




Project Mercury

Discussion Materials




May 30, 2022
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                                                                                              PREPARED AT THE DIRECTION OF COUNSEL
                                                                                                   SUBJECT TO SUBSTANTIAL REVISION
                                                                                                                  SUBJECT TO FRE 408

Secondary Market Activity




110.0


                                                                                                                                101.25
100.0


 90.0


 80.0


 70.0


 60.0


 50.0


 40.0
                                                                                                                                36.50
                       10.500% Senior Secured Notes
 30.0                  10.875% Priming Secured Notes


 20.0
     Jan-21               Mar-21            May-21     Jul-21         Sep-21      Nov-21        Jan-22     Mar-22      May-22




Source:   Refinitiv (Thomson Eikon)                                                                                              [1]
Note:     Market data as of 5/27/22
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                                                                                                                        SUBJECT TO SUBSTANTIAL REVISION
                                                                                                                                       SUBJECT TO FRE 408

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                                                                                                                                                                           [2]
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                           EXHIBIT J

                    Barry A. Ihrke Declaration
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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE


        In re:                                                  §             Chapter 11
                                                                §
        TPC GROUP INC., et al.,1                                §             Case No. 22-10493 (CTG)
                                                                §
                                  Debtors.                      §             Jointly Administered
                                                                §

                                       DECLARATION OF BARRY A. IHRKE

                   I, Barry A. Ihrke, hereby declare that the following is true to the best of my knowledge,

        information, and belief:

                   1.      I am a Vice President of U.S. Bank National Association (collectively with U.S.

        Bank Trust Company, National Association, “US Bank”) and have worked in the global corporate

        trust division of US Bank for the past 18 years.

                   2.      US Bank has served and continues to serve as trustee & collateral agent under an

        indenture dated August 2, 2019 by and among TPC Group Inc. (“TPC”), as issuer, and certain

        Debtor subsidiaries of TPC, as guarantors, for the issuance of $930 million in aggregate principal

        amount of 10.5% notes due 2024 (such notes, the “10.5% Notes”; such indenture, as amended,

        modified, and supplemented, the “10.5% Notes Indenture”). Certain rights of US Bank as trustee

        and collateral agent and certain rights of the holders of notes under the 10.5% Notes Indenture are

        governed by an Intercreditor Agreement, dated as of August 2, 2019 (as amended, modified,

        supplemented, or joined, the “2019 Intercreditor Agreement”).




        1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: TPC Group Inc. (3618); TPC Holdings, Inc. (7380); TPC Group LLC (8313); Texas Butylene Chemical
        Corporation (7440); Texas Olefins Domestic International Sales Corporation (4241); TPC Phoenix Fuels LLC (9133);
        Port Neches Fuels, LLC (1641); and TP Capital Corp. (6248). Each Debtor’s corporate headquarters and mailing
        address is 500 Dallas St., Suite 2000, Houston, Texas 77042.



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                   3.      On or about February 2, 2021, TPC supplemented its 10.5% Notes Indenture in

        connection with the issuance of an aggregate amount of $153 million of 10.875% senior secured

        notes due in 2024 (such notes, the “10.875% Notes”).

                   4.      Prior to issuance of the 10.875% Notes and to execution and delivery of the

        documents related to that transaction, US Bank received from TPC an opinion letter from TPC’s

        outside counsel and an Officer’s Certificate executed by Andrew Grygiel, TPC’s Vice President

        and Treasurer, as contemplated by Sections 7.01(b)(2) and 9.06 of the 10.5% Notes Indenture. In

        addition, and attached to the Officer’s Certificate, US Bank received twenty-five (25) “Consent of

        Noteholder” letters (each, a “Consent Letter”).

                   5.      Each Consent Letter, all of which were dated either January 28 or 29, 2021, was

        addressed to Patrick Hurt, the Deputy General Counsel of TPC. The signatory of each Consent

        Letter represented and warranted that (a) it was the beneficial owner, or the investment manager

        or advisor representing the beneficial owners and with authority to act for such beneficial owners,

        of a certain outstanding aggregate principal amount of the 10.5% Notes; (b) it had not transferred

        the positions in the 10.5% Notes held as beneficial owner, as attested to in the Consent Letter; and

        (c) the Consent Letter had been duly authorized, executed, and delivered on the signatory’s behalf.

                   6.      Each Consent Letter stated that the signatory consented—as beneficial owner of or

        investment manager or advisor to the noteholders that owned the aggregate principal amount of

        10.5% Notes attested to in the Consent Letter—to (a) amendment of the 10.5% Notes Indenture

        through a Supplemental Indenture to be executed in the form attached to the Consent Letter (the

        “Supplemental Indenture”); and (b) execution and delivery of a new intercreditor agreement (the

        “2021 Intercreditor Agreement”) to govern, among other things, the relationship of US Bank, as




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        collateral agent, and the noteholders with respect to (i) the 10.5% Notes and (ii) the 10.875%

        Notes.

                   7.      Each Consent Letter provided (a) that the investment manager or advisor was

        furnishing the Consent Letter on behalf of the noteholders it advised that owned the 10.5% Notes;

        (b) the aggregate principal amount of 10.5% Notes owned by the noteholders; and (c) one or more

        of the following: (i) the signature(s) of the beneficial owner and/or its investment manager or

        adviser; (ii) a certification and confirmation from the bank holding the 10.5% Notes; (iii) a stamp

        or seal providing a guarantee and authorized signature guaranteeing ownership of the 10.5% Notes

        (with eighteen Consent Letters providing a medallion stamp of authenticity provided by the

        Securities Transfer Agents Medallion Program verifying ownership of 10.5% Notes); and/or (iv)

        a letter, certificate, statement, holdings report and/or account summary from the bank holding

        certain 10.5% Notes indicating the ownership of such 10.5% Notes. Each Consent Letter requested

        and directed US Bank, as trustee and collateral agent, to execute and deliver the Supplemental

        Indenture and the 2021 Intercreditor Agreement.

                   8.      Following US Bank’s receipt of the opinion letter, Officer’s Certificate, and

        Consent Letters, the transaction closed on February 2, 2021, resulting in issuance of the 10.875%

        Notes, Supplemental Indenture, and 2021 Intercreditor Agreement.

                   9.      US Bank received no complaints from any noteholder of the 10.5% Notes related

        to the issuance of the 10.875% Notes, Supplemental Indenture, or 2021 Intercreditor Agreement

        until April 26, 2022, when US Bank received a letter from Milbank LLP, counsel for Cerberus

        Capital Management, LP and Bayside Capital Inc..

                                              <<Signature to Follow>>




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                       Pursuant to 28 U.S.C. § 1746, the undersigned declares under penalty of perjury

        that the foregoing is true and correct. Executed on June 17, 2022.

                                                              /s/ Barry A. Ihrke
                                                              Barry A. Ihrke
                                                              Vice President, U.S. Bank National
                                                              Association




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                         EXHIBIT K

          Project Mercury – Illustrative DIP Proposal
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                                                                                 For Discussion and Settlement Purposes Only




Project Mercury – Illustrative DIP Proposal
May 14, 2022

Project Mercury
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                                                                                                                                                                  For Discussion and Settlement Purposes Only



DIP Facility Summary Indicative Terms

     Borrower /            Borrower: TPC Group Inc.
     Guarantor             Guarantors: TPC Holdings, Inc. and all chapter 11 debtor subsidiaries

   DIP Term Loan           Fully committed by Bayside Capital, Inc. and Cerberus Corporate Credit Fund, L.P. (“Backstop Parties”)
      Lenders               with rights to participate granted to 10.5% Noteholders

                           The indebtedness under the DIP facility shall rank junior to the ABL Revolver, ABL FILO, and Priority
 Security / Priority(1)     10.875% Notes, but senior to the 10.5% Notes
                           DIP Obligations granted super admin expense priority

                           $[85]M new money delayed draw term loan for working capital, general corporate purposes, and chapter 11
                            case administration expense
 Size and Structure
                           – $[]M available upon interim DIP approval
                           – Balance to be made available pursuant to DIP Credit Agreement

                           S + [1,000]bps, 2.0% per annum payable monthly in cash with the remainder at the Company’s option in
       Pricing              PIK; 1.0% SOFR floor
                           Unused commitment fee of 25bps




                           Earliest of: (i) 9 months after the Petition Date, subject to a 3-month extension at the Company’s option
                            upon payment of a 100bps extension fee and the existence of no default under DIP Credit Agreement other
       Maturity             than bankruptcy matters; (ii) effective date of a chapter 11 plan; (iii) acceleration of the DIP facility in
                            accordance with the terms of the DIP Credit Agreement; and (iv) sale of all or substantially all assets of the
                            Company


                             Note:   (1) Our willingness to provide a DIP that only primes the 10.5% Notes is not a waiver of any rights or arguments set forth in the
                                         letter dated March 31, 2022                                                                                                                                          2
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                                                                                                                              For Discussion and Settlement Purposes Only



DIP Facility Summary Indicative Terms (Cont’d)

                      Usual and customary for transactions of this type, including but not limited to:
                      – Weekly cash flow variance and monthly financial reporting, including [20]% cumulative variance test on
   Covenants(1)          receipts(2) and operating disbursements on a rolling basis;
                      – Subject to entry of a final order, mandatory repayment upon receipt of insurance proceeds; and
                      – Compliance with budget covenant (subject to variance testing and carryforward)

  Permitted Use       Solely as permitted under the DIP Credit Agreement

                      Entry of Interim DIP order: 3 business days after Petition Date
Bankruptcy Matters
                      Entry of Final DIP order: 35 days after Petition Date

   Advisor Fees       Reasonable fees for lender’s counsel and financial advisors

                      Company to obtain requisite consent to use existing cash collateral
                      Customary creditors’ committee rights and restrictions, including challenge period and budget
      Other
                      No covenants or other provisions relating to treatment in a plan of reorganization (other than payment in full
                       in cash), including that providing the DIP is not conditioned on acceptance of the new money proposal

    Carve-Out         Accrued and unpaid expenses incurred through Carve-Out Trigger Date + $5M

                      Usual and customary for DIP facilities of this type, including but not limited to:
                      – Failure to comply with financial covenants;
 Events of Default
                      – Breach of bankruptcy matters; and
                      – Termination of use of cash collateral

                      Customary adequate protection package for ABL, 10.875% notes and 10.500% notes, including
    Adequate
                       replacement liens, adequate protection claims, and other usual and customary protections, subject to
    Protection         compliance with intercreditor agreement


                        Notes:   (1) To be discussed; preliminary terms presented herein
                                 (2) Excludes PNO insurance proceeds                                                                                                      3
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                                                                                                            For Discussion and Settlement Purposes Only



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claimed U.S. federal income tax treatment of the transaction.




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                        EXHIBIT L

                       Letter to TPC
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                                    AA RO N L. R E N ENG E R
                                                 Partner
                          1850 K St. NW, Suite 1100 | Washington, D.C. 20006
                                            T: 212.530.7505
                                arenenger@milbank.com | milbank.com




March 31, 2022

VIA EMAIL

Jim Prince, Esq.                                        30 Rockefeller Plaza
Scott Bowling, Esq.
Baker Botts, LLP
New York, New York 10112

       Re:       Notification of Breach of 10.5% Indenture dated August 2, 2019 by TPC Group
                 Inc.


Dear Scott:

                We represent Bayside Capital, Inc. (“Bayside”) and Cerberus Capital
Management, LP (“Cerberus”) as holders of 10.5% senior secured notes (the “10.5% Notes”)
issued by TPC Group Inc. (the “Company”) pursuant to an indenture dated August 2, 2019 (the
“10.5% Indenture”), as amended by a supplemental indenture dated February 2, 2021 (the
“Supplemental Indenture”). We write to memorialize our conversation regarding our clients’
rights and priority relative to 10.875% (the “10.875% Notes”) notes issued pursuant to an
indenture dated February 2, 2021 (the “10.875% Indenture”) and the intercreditor agreement
dated February 2, 2021 (the “2021 ICA”).

               Section 9.02 of the 10.5% Indenture explicitly requires consent of each holder of
Notes (the “10.5% Holders”, each a “10.5% Holder”) adversely affected by a change to the
10.5% Indenture or the intercreditor agreement dated August 2, 2019 (the “2019 ICA”) dealing
with the application of proceeds of collateral. Section 9.02(d) provides, in relevant part:
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Scott Bowling, Esq.
March 31, 2022                                                                              Page 2

               However, without the consent of each Holder affected thereby, an
               amendment, supplement or waiver under this Section 9.02 may not
               (with respect to any Notes held by a non-consenting Holder):

               ...

               (10) make any change in the provisions in the Intercreditor
               Agreement or this Indenture dealing with the application of
               proceeds of Collateral that would adversely affect the Holders.

                There is no doubt that the 2021 ICA changed the application of proceeds of
collateral in a way adverse to all holders of 10.5% Notes. For example, Section 4.1(a) of the
2019 ICA provides that the application of proceeds of the “Notes Priority Collateral,” which,
among other collateral, secures the 10.5% Notes, shall be applied to the payment of the 10.5%
Notes, second in priority only to the payment of certain costs and expenses related to the exercise
of remedies with respect to the collateral.

                Section 4.1 of the 2021 ICA changes this priority by stating that proceeds of
“Common Collateral,” inclusive of the Notes Priority Collateral set forth in the 2019 ICA, shall
be applied to the 10.5% Notes only after discharge of the 10.875% Notes. Thus, the change to
the application of proceeds of collateral in the 2019 ICA by the 2021 ICA adversely affects the
10.5% Holders by subordinating them to 10.875% Holders. On information and belief, the
Company sought consents only from the members of the Ad Hoc Committee to which the 10.5%
Notes were issued and did not obtain consent from any other holder of 10.5% Notes. As a result,
the 2021 ICA and the purported subordination (with respect to the Common Collateral) pursuant
thereto of the 10.5% Notes held by Bayside and Cerberus to the 10.875% Notes, are ineffective
as to Bayside and Cerberus.

               Similarly, changes to provisions of the 10.5% Indenture by the Supplemental
Indenture, or amendments to or entry into other agreements, are ineffective as to Bayside and
Cerberus to the extent that they deal with the application of proceeds of collateral in a way that
adversely affect the 10.5% Holders and did not receive the required consent of each 10.5%
Holder.

             We appreciate the Company’s continued willingness to engage with us while the
Company seeks to restructure its balance sheet. We hope to continue to engage with the
Company constructively, including with respect to the forgoing. To the extent facts exist that
may impact our conclusions, we request that the Company promptly provide such facts.
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Jim Prince, Esq.
Scott Bowling, Esq.
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              Bayside and Cerberus reserve all rights.

                                            Very truly yours,

                                            /s/ Aaron L. Renenger

                                            Aaron L. Renenger
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                        EXHIBIT M

           Letter to U.S. Bank National Association
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                                       NE LL Y AL M EI DA
                                               Partner
                             55 Hudson Yards| New York, N.Y. 1001-2163
                                          T: 212.530.5271
                                nalmeida@milbank.com | milbank.com




VIA FEDEX AND FACSIMILE

April 26, 2022

U.S. Bank National Association
Global Corporate Trust Services
13737 Noel Road, Suite 800
Dallas, Texas 75240

       Re:       Notice of Breach of 10.5% Indenture dated August 2, 2019


To Whom it May Concern:

                We represent Bayside Capital, Inc. (“Bayside”) and Cerberus Capital
Management, LP (“Cerberus”) as holders of 10.5% senior secured notes (the “10.5% Notes”)
issued by TPC Group Inc. (the “Company”), with U.S. Bank National Association (“U.S. Bank”)
as trustee and collateral agent, pursuant to an indenture dated August 2, 2019 (the “10.5%
Indenture”), as amended by a supplemental indenture dated February 2, 2021 (the “Supplemental
Indenture”). We write concerning anticipated events that may implicate our clients’ rights and
U.S. Bank’s obligations under the 10.5% Indenture.

              As you know, on February 2, 2021, the Company issued 10.875% notes (the
“10.875% Notes”) pursuant to an indenture dated February 2, 2021 (the “10.875% Indenture”)
with U.S. Bank as trustee and collateral agent and acknowledged an intercreditor agreement
dated February 2, 2021 (the “2021 ICA”) between U.S. Bank as Senior Priority Agent and U.S.
Bank as Junior Priority Agent.

                 Further, as you know, the Company is presently in default of its obligations under
the 10.5% Notes Indenture. The Company has been working with us constructively with respect
to its needs to restructure its obligations. We understand the Company has also been working
with an ad hoc group (the “Ad Hoc Group”) of holders, comprised of a majority of 10.5% Notes
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and nearly all of the 10.875% Notes issued under the 10.875% Indenture (the “Cross-Holders”).
We are concerned that the Ad Hoc Group is poised to abuse their majority position in the 10.5%
Notes to benefit their holding of 10.875% Notes to the general detriment of the 10.5% Notes.
Specifically, we believe the Ad Hoc Group will seek to force upon the Company inferior debtor-
in-possession financing (“DIP”) by objecting to any priming DIP other than a DIP offered by the
Ad Hoc Group, even one with economically superior terms. Acceptance of an inferior DIP
foisted on the Company by economically conflicted Cross-Holders – who recently augmented
their holdings of 10.875% Notes through the Company’s supplemental issuance under the
10.875% Indenture – will unnecessarily and improperly dilute the potential recoveries of 10.5%
noteholders.

               Further, please be advised that as detailed below, the 10.875% Indenture changed
the application of proceeds under the 10.5% Indenture in a manner detrimental to 10.5%
noteholders, in violation of the 10.5% Indenture. Specifically, Section 9.02 of the 10.5%
Indenture expressly requires consent of each 10.5% noteholder adversely affected by a change to
the 10.5% Indenture or the intercreditor agreement dated August 2, 2019 (the “2019 ICA”)
dealing with the application of proceeds of collateral. Section 9.02(d) provides, in relevant part:

               However, without the consent of each Holder affected thereby, an
               amendment, supplement or waiver under this Section 9.02 may not
               (with respect to any Notes held by a non-consenting Holder):

               ...

               (10) make any change in the provisions in the Intercreditor
               Agreement or this Indenture dealing with the application of
               proceeds of Collateral that would adversely affect the Holders.

               The 2021 ICA changed the application of proceeds of collateral in a way adverse
to all 10.5% noteholders. For example, Section 4.1(a) of the 2019 ICA provides that the
application of proceeds of the “Notes Priority Collateral,” which, among other collateral, secures
the 10.5% Notes, shall be applied to the payment of the 10.5% Notes, second in priority only to
the payment of certain costs and expenses related to the exercise of remedies with respect to the
collateral.

                Section 4.1 of the 2021 ICA changes this priority, stating that proceeds of
“Common Collateral,” inclusive of the Notes Priority Collateral set forth in the 2019 ICA, shall
be applied to the 10.5% Notes only after discharge of the 10.875% Notes. Thus, the change to
the application of proceeds of collateral in the 2019 ICA by the 2021 ICA adversely affects the
10.5% noteholders by subordinating them to 10.875% noteholders. On information and belief,
the Company and U.S. Bank sought consents only from the Cross-Holders, and did not seek or
obtain consent of 10.5% noteholders who did not also hold 10.875% Notes (the “Minority
Holders”). Thus, the 2021 ICA and the purported subordination (with respect to the Common
Collateral) of the 10.5% Notes pursuant thereto breached the 10.5% Indenture and are ineffective
as to non-consenting Minority Holders.
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                Similarly, changes to provisions of the 10.5% Indenture by the Supplemental
Indenture that deal with the application of proceeds of collateral in a way that adversely affect
the 10.5% noteholders required consent of each 10.5% noteholder, and are ineffective as to non-
consenting Minority Noteholders. For example, the Supplemental Indenture changed the
definition of Permitted Liens to except the 10.875% Notes from the obligation that liens securing
debt issued pursuant to Section 4.07(b)(1) of the Indenture be subject to the 2019 ICA.

                In light of these circumstances, we request, pursuant to Section 6.05 of the 10.5%
Indenture, that U.S. Bank decline to follow any directions from the Cross-Holders with respect to
the DIP or the Company’s bankruptcy filing that would be prejudicial to the rights and recoveries
of the Minority Holders.

               We would be happy to address any questions you may have.


                                             Very truly yours,

                                             /s/ Nelly Almeida

                                             Nelly Almeida



CC:
TPC Group Inc.
Baker Botts L.L.P.
Simpson Thacher & Bartlett LLP
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                        EXHIBIT N

                2019 Intercreditor Agreement
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                                                                                  EXECUTION VERSION

                                  INTERCREDITOR AGREEMENT

        Intercreditor Agreement (this “Agreement”), dated as of August 2, 2019, among BANK OF
AMERICA, N.A., as administrative agent and collateral agent (in such capacity, with its successors and
assigns, and as more specifically defined below, the “ABL Representative”) for the ABL Secured Parties
(as defined below), U.S. BANK NATIONAL ASSOCIATION, as trustee and collateral agent (in such
capacity, with its successors and assigns, and as more specifically defined below, the “Existing Notes
Representative”) for the Notes Secured Parties (as defined below), each additional representative in
respect of Additional Debt from time to time party hereto pursuant to Section 10.5(b) and each of the
Grantors (as defined below) party hereto.

                                               RECITALS

        A.      TPC Holdings, Inc., a Delaware corporation (“Parent”), TPC Group Inc., a Delaware
corporation (“TPC”), the other borrowers party thereto, certain other obligors party thereto, the ABL
Representative and certain financial institutions are parties to that certain Amended and Restated Credit
Agreement dated as of the date hereof (as further amended, supplemented or otherwise modified from
time to time, the “Existing ABL Agreement”), pursuant to which such financial institutions have agreed
to make revolving loans and extend other financial accommodations to TPC and certain other obligors
thereunder from time to time.

         B.      TPC, the Notes Representative, as trustee, and certain subsidiaries of TPC as guarantors
are parties to the indenture dated as of the date hereof (as amended, supplemented or otherwise modified
from time to time, the “Existing Notes Agreement”), pursuant to which TPC has issued 10.50% senior
secured notes (together with any additional notes issued under the Existing Notes Agreement, the
“Notes”).

        C.      Each of the Grantors is either a co-borrower under the Existing ABL Agreement or has
agreed to guarantee the obligations of TPC and the other borrowers under the Existing ABL Agreement
pursuant to an ABL Guarantee.

        D.       Each Grantor has granted to the ABL Representative security interests in the ABL
Collateral as security for payment and performance of the ABL Obligations. Each Grantor has granted to
the Existing Notes Representative security interests in the Notes Collateral as security for payment and
performance of the applicable Note Obligations.

         E.      The ABL Obligations are intended to be secured by first priority liens on the ABL
Facility Priority Collateral and second priority liens on the Notes Priority Collateral (other than Real
Property), and the Notes Obligations are intended to be secured by first priority liens on the Notes Priority
Collateral and second priority liens on the ABL Facility Priority Collateral, such priorities and related
rights to be established by this Agreement.

                                             AGREEMENTS

        NOW THEREFORE, in consideration of the foregoing and the mutual covenants herein
contained and other good and valuable consideration, the existence and sufficiency of which is expressly
recognized by all of the parties hereto, the parties agree as follows:




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SECTION 1.       Definitions; Rules of Construction.

        1.1      UCC Definitions. Terms defined in the Uniform Commercial Code are used herein as so
defined, including, without limitation, the following: Accounts, Chattel Paper, Commercial Tort Claims,
Commodity Account, Deposit Accounts, Documents, Equipment, Fixtures, General Intangibles, Goods,
Instruments (as defined in Article 9 of the Uniform Commercial Code), Inventory, Investment Property,
Letter of Credit, Letter of Credit Rights, Payment Intangible, Records, Securities Account and Supporting
Obligations.

        1.2      Defined Terms. The following terms, as used herein, have the following meanings:

        “ABL Agreement” means the collective reference to (a) the Existing ABL Agreement, and
(b) any other credit agreement, loan agreement, note agreement, promissory note, indenture or other
agreement or instrument evidencing or governing the terms of any indebtedness or other financial
accommodation that has been incurred to extend, replace, refinance or refund in whole the indebtedness
and other obligations outstanding under the Existing ABL Agreement (regardless of whether such
replacement, refunding or refinancing is a “working capital” facility, asset-based facility or otherwise), or
any other agreement or instrument referred to in this clause (b) (unless such agreement or instrument
expressly provides that it is not intended to be and is not an ABL Agreement hereunder) so long as (x)
such agreement is designated by TPC as an ABL Agreement hereunder by written notice to the Notes
Representatives (which notice shall include a certification that the incurrence of such additional
indebtedness and related Liens (including the priority thereof) is permitted pursuant to the terms of the
Notes Documents) and (y) the holders of such indebtedness so incurred or the ABL Representative on
their behalf have agreed to be bound by this Agreement (a “Replacement ABL Agreement”). Any
reference to the ABL Agreement hereunder shall be deemed a reference to any ABL Agreement then
extant.

        “ABL Collateral” means all assets, whether now owned or hereafter acquired by any Grantor, in
which a Lien is granted or purported to be granted at any time by such Grantor to any ABL Secured Party
as security for any ABL Obligation. The ABL Collateral does not include Real Property (other than
Fixtures).

        “ABL Creditors” means, collectively, the “Lenders” and the other “Secured Parties”, each as
defined in the ABL Agreement or the other ABL Documents.

        “ABL DIP Financing” has the meaning set forth in Section 5.2(a).

       “ABL Documents” means the ABL Agreement, each ABL Security Document, each ABL
Guarantee and each other “Loan Document” as defined in the ABL Agreement.

        “ABL Facility Priority Collateral” means all now owned or hereafter acquired Collateral
consisting of the following:

                  (a)     all Accounts and all Payment Intangibles, including those for inventory that has
been or is to be sold, leased, licensed, assigned or otherwise disposed of, or for services rendered or to be
rendered (including unbilled accounts but, in each case excluding Accounts and Payment Intangibles
arising solely from the sale, lease, license, assignment or other disposition of Notes Priority Collateral);

                 (b)     all Inventory;




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                 (c)     all customer contracts (including exchange agreements and rights thereunder)
and all business interruption insurance;

               (d)     all intercompany and affiliate indebtedness of the Grantors and their Subsidiaries,
in each case, that is unrelated to the sale, lease, assignment or other disposition of Notes Priority
Collateral;

                 (e)    all Investment Property (other than Equity Interests owned by the Grantors and
any present or future Subsidiary of TPC);

                  (f)     all General Intangibles (other than Equity Interests owned by the Grantors and
any present or future Subsidiary of TPC and any Intellectual Property), Instruments, Letter of Credit
Rights, Documents, Chattel Paper and Commercial Tort Claims, in each case to the extent arising from or
relating to the other items of property included within the preceding clauses;

                 (g)      all Deposit Accounts (other than Deposit Accounts that contain only the
identifiable Proceeds of the Notes Priority Collateral) with any bank or other financial institution
(including all cash, cash equivalents, financial assets, negotiable instruments and other evidence of
payment, and other funds on deposit therein or credited thereto, other than, in each case, to the extent
constituting the identifiable Proceeds of Notes Priority Collateral);

                 (h)      all Securities Accounts (other than Securities Accounts that contain only the
identifiable Proceeds of the Notes Priority Collateral) with any securities intermediary (including any and
all Investment Property and all funds or other property held therein or credited thereto, other than, in each
case, to the extent constituting the identifiable Proceeds of Notes Priority Collateral);

                  (i)     all Commodity Accounts (other than Commodity Accounts that contain only the
identifiable Proceeds of the Notes Priority Collateral) with any commodities intermediary (including any
and all commodity contracts and all funds and other property held therein or credited thereto, other than,
in each case, to the extent constituting the identifiable Proceeds of Notes Priority Collateral);

               (j)      all accessions to, substitutions for and replacements of the foregoing, together
with all books and records, customer lists, credit files, computer files, programs, printouts and other
computer materials and records related thereto; and

                (k)     to the extent not otherwise included, all Proceeds (including without limitation,
all insurance proceeds related to the above), Supporting Obligations and products of any and all of the
foregoing and all collateral security and guarantees given by any Person with respect to any of the
foregoing.

        “ABL Guarantee” means any guarantee by any Grantor of any or all of the ABL Obligations.

        “ABL Lien” means any Lien created by the ABL Security Documents.

        “ABL Obligations” means (a) all principal of and interest (including without limitation any Post-
Petition Interest) and premium (if any) on all loans made pursuant to the ABL Agreement or any ABL
DIP Financing by the ABL Creditors, (b) all reimbursement obligations (if any) and interest thereon
(including without limitation any Post-Petition Interest) with respect to any letter of credit or similar
instruments issued pursuant to the ABL Agreement, (c) all Bank Product Obligations and (d) all guarantee
obligations, indemnities (other than Unasserted Contingent Obligations), fees, expenses and other
amounts payable from time to time pursuant to the ABL Documents (including without limitation any


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Post-Petition Interest), in each case whether or not allowed or allowable in an Insolvency Proceeding. To
the extent any payment with respect to any ABL Obligation (whether by or on behalf of any Grantor, as
Proceeds of Collateral, enforcement of any right of setoff or otherwise) is declared to be or avoided as a
fraudulent conveyance or a preference in any respect, set aside or required to be paid to a debtor in
possession, any Notes Secured Party, trustee, receiver or similar Person, then the obligation or part
thereof originally intended to be satisfied shall, for the purposes of this Agreement and the rights and
obligations of the ABL Secured Parties and the Notes Secured Parties with respect to such amounts, be
deemed to be reinstated and outstanding as if such payment had not occurred.

         “ABL Obligations Payment Date” means, subject to Section 5.5, the first date on which (a) the
ABL Obligations (other than those that constitute Unasserted Contingent Obligations) have been paid in
cash in full (or cash collateralized or defeased in accordance with the terms of the ABL Documents),
(b) all commitments to extend credit under the ABL Documents and documents relating to Bank Products
have been terminated, and (c) there are no outstanding letters of credit or similar instruments issued
under, or Bank Product Obligations secured by, the ABL Documents (other than such as have been cash
collateralized or defeased in accordance with the terms of the ABL Documents). Notwithstanding the
foregoing, if substantially concurrently with the ABL Obligations Payment Date, Grantors enter into any
refinancing or replacement of any ABL Agreement which refinancing or replacement is permitted hereby
and under the Notes Documents and the ABL Representative has delivered a written notice thereof to the
Notes Representative which notice shall include a certification that the incurrence of such additional
indebtedness and related Liens (including the priority thereof) is permitted pursuant to the terms of the
Notes Documents) and so long as the holders of such indebtedness so incurred or the ABL Representative
on their behalf have agreed to be bound by this Agreement, then such ABL Obligations Payment Date
shall automatically be deemed not to have occurred for all purposes of this Agreement, and the
obligations under such ABL Agreement and the related ABL Documents shall automatically be treated as
ABL Obligations for all purposes of this Agreement, including for purposes of the Lien priorities and
rights in respect of Collateral set forth herein, and the administrative or collateral agent under such ABL
Documents shall be the ABL Representative for all purposes of this Agreement. Upon receipt of such
notice within such time period stating that Grantors have entered into such new ABL Agreement (which
notice shall include the identity of the new administrative or collateral agent, such agent, the “New ABL
Agent”), the Notes Representative shall promptly enter into such documents and agreements (including
amendments or supplements to this Agreement) at the Grantors’ expense as such New ABL Agent may
reasonably request in order to provide to the New ABL Agent the rights contemplated hereby, in each
case consistent in all material respects with the terms of this Agreement.

        “ABL Post-Petition Assets” has the meaning set forth in Section 5.2(b).

        “ABL Representative” has the meaning set forth in the introductory paragraph hereof. In the case
of any ABL Agreement (other than the Existing ABL Agreement), the ABL Representative shall be the
Person identified as administrative agent or other representative in such ABL Agreement.

        “ABL Secured Parties” means the ABL Representative, the ABL Creditors and any other holders
of the ABL Obligations.

        “ABL Security Documents” means the “Security Documents” as defined in the ABL Agreement,
and any other documents that are designated under the ABL Agreement as “ABL Security Documents”
for purposes of this Agreement.

         “Access Period” means, with respect to any Real Property or Equipment constituting Notes
Priority Collateral, the period, following the commencement of any Enforcement Action, which begins on
the earlier of (a) the day on which the ABL Representative provides the Notes Representatives with the

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written notice of its election to request access to such Real Property or Equipment constituting Notes
Priority Collateral pursuant to Section 3.4(c) and (b) the day on which the ABL Representative receives
written notice from any Notes Representative that such Notes Representative (or its agent) has obtained
possession or control of such Real Property or Equipment constituting Notes Priority Collateral or has,
through the exercise of remedies or otherwise, sold or otherwise transferred such Real Property or
Equipment constituting Notes Priority Collateral to any third party purchaser or transferee, and ends on
the earliest of (i) the day which is 180 days after such date (the “Initial Access Date”) plus such number
of days, if any, after the Initial Access Date that it is stayed or otherwise prohibited by law or court order
from exercising remedies with respect to associated ABL Facility Priority Collateral, (ii) the date on
which all or substantially all of the ABL Facility Priority Collateral associated with such Real Property or
Equipment constituting Notes Priority Collateral is sold, collected or liquidated, (iii) the ABL Obligations
Payment Date and (iv) the date on which the default which resulted in such Enforcement Action has been
cured to the satisfaction of the ABL Representative or waived in writing.

        “Account Agreements” means any lockbox account agreement, pledged account agreement,
blocked account agreement, securities account control agreement, commodities account control
agreement, credit card processing agreement or any similar deposit, commodity or securities account
agreements among the ABL Representative and/or any Notes Representative and a Grantor and the
relevant service provider, financial institution, depository or intermediary.

         “Additional Debt” has the meaning set forth in Section 10.5(b).

        “Additional Notes Agreement” means any agreement for the incurrence of additional
indebtedness that is permitted to be incurred and secured by the Notes Collateral pursuant to the terms of
the ABL Agreement and Notes Agreements so long as (x) such agreement is designated by TPC as an
Additional Notes Agreement hereunder by written notice to the ABL Representative and Notes
Representatives (which notice shall include a certification that the incurrence of such additional
indebtedness and related Liens (including the priority thereof) is permitted pursuant to the terms of the
ABL Agreement and Notes Documents) and (y) the holders of such indebtedness so incurred or the Notes
Representative on their behalf have agreed to be bound by this Agreement.

        “Additional Pari Passu Agreement” as defined in the Existing Notes Security Agreement.

        “Bank Product” means each and any of the following products, services or facilities extended to
any Grantor or Subsidiary of a Grantor by an ABL Secured Party (or any of its affiliates) (or who were
such Persons at the time entered into): (a) Cash Management Services (other than Cash Management
Services the obligations under which constitute Notes Obligations); (b) products under Hedging
Agreements (other than Hedging Agreements the obligations under which constitute Notes Obligations);
(c) commercial credit card and merchant card services; and (d) other banking products or services,
excluding loans and letters of credit.

          “Bank Product Obligations” means, with respect to any Grantor, any and all obligations and
liabilities of such Grantor owed to any ABL Secured Party (or any of its affiliates), whether absolute or
contingent and howsoever and whensoever created, arising, evidenced or acquired (including all
guarantees thereof and all renewals, extensions and modifications thereof and substitutions therefor) in
connection with Bank Products.

      “Bankruptcy Code” means the United States Bankruptcy Code (11 U.S.C. §101 et seq.), as
amended from time to time.




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        “Business Day” means any day that is not a Saturday, Sunday or other day on which commercial
banks in New York City are authorized or required by law to remain closed.

        “Cash Management Services” means services relating to operating, collections, payroll, trust, or
other depository or disbursement accounts or similar cash management arrangements, including
automated clearinghouse, e-payable, electronic funds transfer, wire transfer, controlled disbursement,
overdraft, depository, information reporting, lockbox and stop payment services.

        “Collateral” means, collectively, all ABL Collateral and all Notes Collateral.

        “Collateral Agent Joinder Agreement” shall means the Collateral Agent Joinder Agreement
substantially in the form annexed hereto as Annex 2 (or as otherwise agreed among the ABL
Representative, the Designated Notes Representative and TPC).
      “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.), as
amended from time to time, and any successor statute and any regulations promulgated thereunder.

        “Common Collateral” means all Collateral that constitutes both ABL Collateral and Notes
Collateral (it being understood that “Common Collateral” is intended to exclude any assets of Parent in
which a lien is granted or purported to be granted at any time to any ABL Secured Party as security for
any ABL Obligations).

        “Comparable Security Document” means, in relation to any Senior Collateral subject to any
Senior Security Document, that Junior Security Document that creates a security interest in the same
Senior Collateral, granted by the same Grantor, as applicable.

        “Control Representative” has the meaning set forth in Section 2.6(a).

        “Copyrights” means all rights, title, and interests in or relating to the following: (a) all copyrights
and all mask work, database and design rights, whether or not registered or published and all applications
and registrations thereof; (b) all renewals of any of the foregoing; (c) the right to sue for past, present, and
future infringements of any of the foregoing; and (d) all rights corresponding to any of the foregoing
throughout the world.

        “Designated Notes Representative” means (a) at any time there is only one series of Notes
Obligations, the Notes Representative for such series and (b) at any time there is more than one Series of
Notes Obligations, the “Applicable Authorized Representative” (or any similar term) (as defined in any
pari passu intercreditor agreement governing the intercreditor arrangements solely among the Notes
Secured Parties).

         “Enforcement Action” means, with respect to the ABL Obligations or the Notes Obligations, the
exercise of any rights and remedies against, or to realize upon, any Common Collateral securing such
obligations or the commencement or prosecution of enforcement of any of the rights and remedies under,
as applicable, the ABL Documents or the Notes Documents, or applicable law, including without
limitation the exercise of any rights of set-off or recoupment, and the exercise of any rights or remedies of
a secured creditor under the Uniform Commercial Code of any applicable jurisdiction or under the
Bankruptcy Code, but excluding (a) the imposition of any default rate or late fee and (b) so long as no
other Enforcement Action has been taken, the collection or application of, or the delivery of any
activation notice under Account Agreements with respect to, funds from time to time on deposit in any
Deposit Account, Commodity Account or Securities Account representing ABL Facility Priority
Collateral.


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         “Equity Interests” means (a) in the case of a corporation, corporate stock, (b) in the case of an
association, any and all shares, interests, participations, rights or other equivalents (however designated)
of corporate stock, (c) in the case of a partnership or limited liability company, partnership or membership
interests (whether general or limited and however designated, whether voting or non-voting), and (d) any
other interest or participation that confers on a Person the right to receive a share of the profits and losses
of, or distributions of property of, the issuing Person.

        “Existing ABL Agreement” has the meaning set forth in the Recitals of this Agreement.

        “Existing Notes Agreement” has the meaning set forth in the Recitals of this Agreement.

        “Existing Notes Representative” has the meaning set forth in the Recitals of this Agreement.

        “Existing Notes Security Agreement” means the Security Agreement dated as of the date hereof
(as amended, supplemented or otherwise modified from time to time) among TPC, the other Grantors and
the Existing Notes Representative.

        “Governmental Authority” means any federal, state, local, foreign or other agency, authority,
body, commission, court, instrumentality, political subdivision, central bank, or other entity or officer
exercising executive, legislative, judicial, taxing, regulatory or administrative powers or functions for any
governmental, judicial, investigative, regulatory or self-regulatory authority (including any supra-national
bodies such as the European Union or European Central Bank).

        “Grantor” means TPC and each Subsidiary of TPC that is now or hereafter becomes a party to
any ABL Document or any Notes Document. All references in this Agreement to any Grantor shall
include such Grantor as a debtor-in-possession and any receiver or trustee for such Grantor in any
Insolvency Proceeding.

       “Hedging Agreement” means any “swap agreement” as defined in Section 101(53B)(A) of the
Bankruptcy Code, including any agreement relating to any swap, cap, floor, collar, option or forward, or
combination thereof or similar transaction, with respect to interest rate, foreign exchange, currency,
commodity, credit or equity risk.

        “Initial Access Date” shall have the meaning assigned to such term in the definition of “Access
Period”.

        “Insolvency Proceeding” means any case or proceeding in respect of bankruptcy, insolvency,
winding up, receivership, dissolution or assignment for the benefit of creditors, in each of the foregoing
events whether under the Bankruptcy Code or any similar federal, state or foreign bankruptcy, insolvency,
reorganization, receivership or similar law or whether voluntary or involuntary.

         “Intellectual Property” means, collectively, all rights, priorities and privileges relating to
intellectual property, including all Copyrights, Patents, Trademarks, Trade Secrets and IP Licenses and
any other intellectual property rights, and all rights to sue at law or in equity for any infringement or other
impairment thereof, including the right to receive all proceeds and damages therefrom.

        “IP License” means all licenses granting any right to exploit any Intellectual Property.

        “Junior Collateral” means with respect to any Junior Secured Party, any Collateral on which it has
a Junior Lien.



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         “Junior Documents” means, collectively, with respect to any Junior Obligations, any provision
pertaining to such Junior Obligation in any Loan Document or any other document, instrument or
certificate evidencing or delivered in connection with such Junior Obligation.

        “Junior Liens” means (a) with respect to any ABL Facility Priority Collateral, all Liens securing
or purporting to secure the Notes Obligations, and (b) with respect to any Notes Priority Collateral, all
Liens securing or purporting to secure the ABL Obligations.

        “Junior Obligations” means (a) with respect to any ABL Facility Priority Collateral, all Notes
Obligations and (b) with respect to any Notes Priority Collateral, all ABL Obligations.

        “Junior Obligations Payment Date” means (a) as it relates to the Notes Priority Collateral, the
ABL Obligations Payment Date and (b) as it relates to the ABL Facility Priority Collateral, the Notes
Obligations Payment Date.

         “Junior Representative” means (a) with respect to any ABL Obligations or any ABL Facility
Priority Collateral, each Notes Representative and (b) with respect to any Notes Obligations or any Notes
Priority Collateral, the ABL Representative.

       “Junior Secured Parties” means (a) with respect to the ABL Facility Priority Collateral, all Notes
Secured Parties and (b) with respect to the Notes Priority Collateral, all ABL Secured Parties.

      “Junior Security Documents” means, with respect to any Junior Secured Party, the Security
Documents that secure the Junior Obligations.

          “Lien” means, with respect to any asset, (a) any mortgage, deed of trust, deed to secure debt, lien,
pledge, hypothecation, assignment, assignation, debenture, encumbrance, charge or security interest in, on
or of such asset, (b) the interest of a vendor or a lessor under any conditional sale agreement, capital lease
or title retention agreement (or any financing lease having substantially the same economic effect as any
of the foregoing) relating to such asset and (c) in the case of securities, any purchase option, call or
similar right of a third party with respect to such securities.

       “Lien Priority” means with respect to any Lien of the ABL Representative or Notes
Representative in the Common Collateral, the order of priority of such Lien specified in Section 2.1.

         “Loan Documents” means, collectively, the ABL Documents and the Notes Documents.

         “New ABL Agent” has the meaning set forth in the definition of “ABL Obligations Payment
Date”.

         “New Notes Agent” has the meaning set forth in the definition of “Notes Obligations Payment
Date”.

         “Notes Agreement” means the collective reference to (a) the Existing Notes Agreement, (b) any
Additional Notes Agreement and (c) any other credit agreement, loan agreement, note agreement,
indenture or other agreement or instrument evidencing or governing the terms of any indebtedness or
other financial accommodation that has been incurred to extend, replace, refinance or refund in whole or
in part the indebtedness and other obligations outstanding under the Existing Notes Agreement, any
Additional Notes Agreement or any other agreement or instrument referred to in this clause (c) (unless
such agreement or instrument expressly provides that it is not intended to be and is not a Notes
Agreement hereunder) so long as (x) such agreement is designated by TPC as Notes Agreement


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hereunder by written notice to the ABL Representative and Notes Representatives (which notice shall
include a certification that the incurrence of such additional indebtedness and related Liens (including the
priority thereof) is permitted pursuant to the terms of the ABL Agreement and Notes Documents) and (y)
the holders of such indebtedness so incurred or the Notes Representative on their behalf have agreed to be
bound by this Agreement (a “Replacement Notes Agreement”); provided, that to the extent more than one
Notes Agreement is outstanding, no credit agreement, loan agreement, note agreement, indenture or other
agreement or instrument shall constitute a Notes Agreement unless the Notes Representative has received
an intercreditor agreement governing the intercreditor arrangements solely among the Notes Secured
Parties reasonably satisfactory to it from the applicable representative thereunder. Any reference to the
Notes Agreement hereunder shall be deemed a reference to any Notes Agreement then extant.

        “Notes Collateral” means all assets, whether now owned or hereafter acquired by any Grantor, in
which a Lien is granted or purported to be granted at any time by such Grantor to any Notes Secured
Party as security for any Notes Obligation.

        “Notes DIP Financing” has the meaning set forth in Section 5.2(b).

         “Notes Documents” means the Notes Agreements, each Notes Security Document, each Notes
Guarantee, each Additional Pari Passu Agreement (as defined in the Existing Notes Security Agreement)
and each other “Senior Secured Notes Document” defined in the Existing Notes Agreement (or any
similar term in any other Notes Agreement).

        “Notes Guarantee” means any guarantee by any Grantor of any or all of the Notes Obligations.

        “Notes Lien” means any Lien created by the Notes Security Documents.

         “Notes Obligations” means (a) all principal of and interest (including without limitation any Post-
Petition Interest) and premium (if any) on all indebtedness under the Notes Agreements, the Notes, each
Additional Pari Passu Agreement (as defined in the Existing Notes Security Agreement) and any Notes
DIP Financing by the Notes Secured Parties, (b) all obligations and liabilities of any Grantor owed to any
Notes Secured Party (or any of its affiliates) in connection with any Hedging Agreements and Cash
Management Services (other than Hedging Agreements and Cash Management Services the obligations
under which constitute ABL Obligations) and (c) all guarantee obligations, indemnities (other than
Unasserted Contingent Obligations), fees, expenses and other amounts payable from time to time
pursuant to the Notes Documents (including without limitation any Post-Petition Interest), in each case
whether or not allowed or allowable in an Insolvency Proceeding. To the extent any payment with
respect to any Notes Obligation (whether by or on behalf of any Grantor, as Proceeds of security,
enforcement of any right of setoff or otherwise) is declared to be or avoided as a fraudulent conveyance or
a preference in any respect, set aside or required to be paid to a debtor in possession, any ABL Secured
Party, trustee, receiver or similar Person, then the obligation or part thereof originally intended to be
satisfied shall, for the purposes of this Agreement and the rights and obligations of the ABL Secured
Parties and the Notes Secured Parties, be deemed to be reinstated and outstanding as if such payment had
not occurred.

         “Notes Obligations Payment Date” means, subject to Section 5.5, the first date on which (a) the
Notes Obligations (other than those that constitute Unasserted Contingent Obligations) have been paid in
cash in full (or cash collateralized or defeased in accordance with the terms of the Notes Documents),
(b) all commitments to extend credit under the Notes Documents have been terminated, and (c) there are
no obligations in respect of Hedging Agreements or Cash Management Services secured by the Notes
Documents (other than such as have been cash collateralized or defeased in accordance with the terms of
the Notes Documents). Notwithstanding the foregoing, if substantially concurrently with the Notes

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Obligations Payment Date, Grantors enter into any refinancing or replacement of any Notes Agreement
which refinancing or replacement is permitted hereby and under the ABL Documents and each Notes
Document then extant and the Notes Representative has delivered a written notice thereof to the ABL
Representative and Notes Representative (which notice shall include a certification that the incurrence of
such additional indebtedness and related Liens (including the priority thereof) is permitted pursuant to the
terms of the ABL Agreement and Notes Documents) and so long as the holders of such indebtedness so
incurred or the Notes Representative on their behalf have agreed to be bound by this Agreement, then
such Notes Obligations Payment Date shall automatically be deemed not to have occurred for all purposes
of this Agreement, and the obligations under such Notes Agreement and the related Notes Documents
shall automatically be treated as Notes Obligations for all purposes of this Agreement, including for
purposes of the Lien priorities and rights in respect of Collateral set forth herein, and the collateral agent
under such Notes Documents shall be a Notes Representative for all purposes of this Agreement. Upon
receipt of such notice within such time period stating that Grantors have entered into a new Notes
Agreement (which notice shall include the identity of the new collateral agent, such collateral agent, the
“New Notes Agent”), the ABL Representative shall promptly enter into such documents and agreements
(including amendments or supplements to this Agreement) at the Grantors’ expense as such New Notes
Agent may reasonably request in order to provide to the New Notes Agent the rights contemplated
hereby, in each case consistent in all material respects with the terms of this Agreement.

        “Notes Post-Petition Assets” has the meaning set forth in Section 5.2(a).

        “Notes Priority Collateral” means all now owned or hereafter acquired Notes Collateral
consisting of the following:

                (a)     Deposit Accounts, Securities Accounts and Commodity Accounts that contain
only proceeds of items (b) through (i) below;

                (b)     all present and future Equity Interests owned by the Grantors and of each present
and future Subsidiary of TPC;

                (c)      all Equipment;

                (d)      all Fixtures;

                (e)      all Real Property;

                (f)      all Intellectual Property;

                (g)      all other Notes Collateral other than the ABL Facility Priority Collateral;

               (h)      all accessions to, substitutions for and replacements of the foregoing, together
with all books and records, customer lists, credit files, computer files, programs, printouts and other
computer materials and records related thereto; and

                 (i)     to the extent not otherwise included, all Proceeds (including without limitation,
all insurance proceeds relating to the above and any identifiable proceeds of items (a) through (h) of this
definition contained in any Deposit Accounts, Securities Accounts and Commodity Accounts that
otherwise constitute ABL Facility Priority Collateral), Supporting Obligations and products of any and all
of the foregoing and all collateral security and guarantees given by any Person with respect to any of the
foregoing.



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         “Notes Representative” means the Existing Notes Representative and, in the case of any Notes
Agreement (other than the Existing Notes Agreement), the Notes Representative shall be the Person
identified as administrative agent or other representative in such Notes Agreement.
       “Notes Security Documents” means the Existing Notes Security Agreement, the other “Security
Documents” as defined in the Existing Notes Agreement (or any similar term in any other Notes
Agreement) and any documents that are designated under any Notes Agreement as “Notes Security
Documents” for purposes of this Agreement.

        “Notes Secured Parties” means the Notes Representatives, the “Holders” as defined in the
Existing Notes Agreement, the other “Secured Parties” as defined in the Existing Notes Security
Agreement (or any similar term of any Notes Agreement) and any other holders of the Notes Obligations.

        “Parent” has the meaning set forth in the Recitals to this Agreement.

        “Patents” means all rights, title, and interests in or relating to: (a) any and all issued patents and
patent applications; (b) all letters patents and design letters patents; (c) all reissues, divisions,
continuations, extensions, and continuations-in-part thereof; (d) all rights to sue for past, present, and
future infringements thereof; and (e) all rights corresponding to any of the foregoing throughout the
world.

      “Person” means any natural person, corporation, business trust, joint venture, association,
company, limited liability company, partnership, Governmental Authority or other entity.

        “Post-Petition Interest” means any interest or entitlement to fees or expenses or other charges that
accrues after the commencement of any Insolvency Proceeding (or would accrue but for the
commencement of an Insolvency Proceeding), whether or not allowed or allowable in any such
Insolvency Proceeding.

        “Priority Collateral” means the ABL Facility Priority Collateral or the Notes Priority Collateral,
as applicable.

        “Proceeds” means (a) all “proceeds,” as defined in Article 9 of the Uniform Commercial Code,
with respect to the Common Collateral, and (b) whatever is recoverable or recovered when any Common
Collateral is sold, exchanged, collected, or disposed of, whether voluntarily or involuntarily.

        “Purchase Option Triggering Event” means the earliest to occur of: (a) an Insolvency
Proceeding; (b) acceleration of the maturity of the ABL Obligations by the ABL Representative as a
result of an event of default under the ABL Documents; or (c) a payment default under the ABL
Agreement that has not been cured or waived within 30 days of the occurrence of such payment default.

         “Real Property” means any right, title or interest in and to real property, including any fee
interest, leasehold interest, easement, or license and any other right to use or occupy real property,
including any right arising by contract.

        “Recovery” has the meaning set forth in Section 5.5.

        “Replacement ABL Agreement” has the meaning set forth in the definition of “ABL Agreement.”

      “Replacement Notes Agreement” has the meaning set forth in the definition of “Notes
Agreement.”


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        “Requirement of Law” means any law (statutory or common), ordinance, treaty, code, directive,
decree, rule, regulation, order, policy, other legal requirement or determination of an arbitrator or of a
Governmental Authority.

        “Secured Obligations” means the ABL Obligations and the Notes Obligations.

        “Secured Parties” means the ABL Secured Parties and the Notes Secured Parties.

      “Security Documents” means, collectively, the ABL Security Documents and the Notes Security
Documents.

        “Senior Collateral” means with respect to any Senior Secured Party, any Collateral on which it
has a Senior Lien.

         “Senior Documents” means, collectively, with respect to any Senior Obligation, any provision
pertaining to such Senior Obligation in any Loan Document or any other document, instrument or
certificate evidencing or delivered in connection with such Senior Obligation.

        “Senior Liens” means (a) with respect to the ABL Facility Priority Collateral, all Liens securing
or purporting to secure the ABL Obligations and (b) with respect to the Notes Priority Collateral, all
Liens securing or purporting to secure the Notes Obligations.

        “Senior Obligations” means (a) with respect to any ABL Facility Priority Collateral, all ABL
Obligations and (b) with respect to any Notes Priority Collateral, all Notes Obligations.

        “Senior Obligations Payment Date” means (a) as it relates to the ABL Facility Priority Collateral,
the ABL Obligations Payment Date and (b) as it relates to the Notes Priority Collateral, the Notes
Obligations Payment Date.

       “Senior Representative” means (a) with respect to any ABL Facility Priority Collateral, the ABL
Representative and (b) with respect to any Notes Priority Collateral, the Notes Representative.

       “Senior Secured Parties” means (a) with respect to the ABL Facility Priority Collateral, all ABL
Secured Parties and (b) with respect to the Notes Priority Collateral, all Notes Secured Parties.

      “Senior Security Documents” means with respect to any Senior Secured Party, the Security
Documents that secure the Senior Obligations owing to such Senior Secured Party.

       “Subsidiary” means any entity more than 50% of whose voting securities or Equity Interests are
owned by TPC or any combination of Grantors (including indirect ownership through other entities in
which Grantors own directly or indirectly more than 50% of the voting securities or Equity Interests).

        “Trade Secret” shall mean all rights, title and interests in or relating to trade secrets.

        “Trademarks” means all rights, title, and interests in or relating to the following: (a) all
trademarks, trade names, corporate names, company names, business names, fictitious business names,
trade styles, service marks, logos and other source or business identifiers, together with all goodwill
associated therewith, all registrations, applications and recordations thereof; (b) all rights to sue for past,
present, and future infringements of the foregoing, including the right to settle suits involving claims and
demands for royalties owing; and (c) all rights corresponding to any of the foregoing throughout the
world.


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         “Unasserted Contingent Obligations” means, at any time, ABL Obligations or Notes Obligations,
as applicable, for taxes, costs, indemnifications, reimbursements, damages and other liabilities (excluding
(a) the principal of, and interest and premium (if any) on, and fees and expenses relating to, any ABL
Obligation or Notes Obligation, as applicable, and (b) with respect to ABL Obligations contingent
reimbursement obligations in respect of amounts that may be drawn under outstanding letters of credit or
in respect of Bank Products) in respect of which no assertion of liability (whether oral or written) and no
claim or demand for payment (whether oral or written) has been made (and, in the case of ABL
Obligations or Notes Obligations, as applicable, for indemnification, no notice for indemnification has
been issued by the indemnitee) at such time.

         “Uniform Commercial Code” means the Uniform Commercial Code as in effect from time to
time in the applicable jurisdiction.

         1.3     Rules of Construction. The definitions of terms herein shall apply equally to the singular
and plural forms of the terms defined. Whenever the context may require, any pronoun shall include the
corresponding masculine, feminine and neuter forms. The words “include”, “includes” and “including”
shall be deemed to be followed by the phrase “without limitation”. The word “will” shall be construed to
have the same meaning and effect as the word “shall”. Unless the context requires otherwise (a) any
definition of or reference to any agreement, instrument or other document herein shall be construed as
referring to such agreement, instrument or other document as from time to time amended, amended and
restated, restated, supplemented, modified, refinanced, replaced, renewed or otherwise extended (subject
to any restrictions on such amendments, amendments and restatements, restatements, supplements,
modifications, refinancings, replacements, renewals and extensions set forth herein), (b) any reference
herein to any Person shall be construed to include such Person’s successors and permitted assigns, (c) the
words “herein”, “hereof” and “hereunder”, and words of similar import, shall be construed to refer to this
Agreement in its entirety and not to any particular provision hereof, (d) all references herein to Articles,
Sections, Exhibits and Schedules shall be construed to refer to Articles and Sections of, and Exhibits and
Schedules to, this Agreement and (e) the words “asset” and “property” shall be construed to have the
same meaning and effect and to refer to any and all tangible and intangible assets and properties,
including cash, securities, accounts and contract rights.

SECTION 2.      Lien Priority.

        2.1     Lien Subordination. Notwithstanding the date, manner or order of grant, attachment or
perfection of any Junior Lien in respect of any Collateral or of any Senior Lien in respect of any
Collateral and notwithstanding any provision of the UCC, any applicable law, any Security Document,
any alleged or actual defect or deficiency in any of the foregoing or any other circumstance whatsoever,
the Junior Representative, on behalf of each applicable Junior Secured Party, in respect of such Collateral
hereby agrees that:

                 (a)      any Senior Lien in respect of such Collateral, regardless of how acquired,
whether by grant, statute, operation of law, subrogation or otherwise, shall be and shall remain senior in
all respects and prior to any Junior Lien in respect of such Collateral (whether or not such Senior Lien is
subordinated to any Lien securing any other obligation); and

                 (b)     any Junior Lien in respect of such Collateral, regardless of how acquired,
whether by grant, statute, operation of law, subrogation or otherwise, shall be junior and subordinate in all
respects to any Senior Lien in respect of such Collateral.




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       2.2      Prohibition on Contesting Liens. In respect of any Collateral, the Junior Representative,
on behalf of each applicable Junior Secured Party, in respect of such Collateral agrees that it shall not, and
hereby waives any right to:

                 (a)     contest, or support any other Person in contesting, in any proceeding (including
any Insolvency Proceeding), the priority, perfection, validity or enforceability of any Senior Lien on such
Collateral or the allowability of any Senior Obligations; or

                (b)      demand, request, plead or otherwise assert or claim the benefit of any
marshalling, appraisal, valuation or similar right which it may have in respect of such Collateral or the
Senior Liens on such Collateral, except to the extent that such rights are expressly granted in this
Agreement.

        2.3      Nature of Obligations. Each Notes Representative on behalf of itself and the applicable
Notes Secured Parties acknowledges that a portion of the ABL Obligations represents debt that is
revolving in nature and that the amount thereof that may be outstanding at any time or from time to time
may be increased or reduced and subsequently reborrowed, and that the terms of the ABL Obligations
may be modified, extended or amended from time to time, and that the aggregate amount of the ABL
Obligations may be increased, extended, renewed, replaced or refinanced, in each event, without notice to
or consent by the Notes Secured Parties and without affecting the provisions hereof. The ABL
Representative on behalf of itself and the other ABL Secured Parties acknowledges that the terms of the
Notes Obligations may be modified, extended or amended from time to time and that the aggregate
amount of the Notes Obligations may be increased, extended, renewed, replaced or refinanced, in each
event, without notice to or consent by the ABL Secured Parties and without affecting the provisions
hereof. The Lien Priorities provided in Section 2.1 shall not be altered or otherwise affected by any such
amendment, modification, supplement, extension, repayment, reborrowing, increase, replacement,
renewal, restatement or refinancing of either the ABL Obligations or the Notes Obligations, or any
portion thereof.

         2.4      No New Liens. (a) Until the ABL Obligations Payment Date, no Notes Secured Party
shall acquire or hold any Lien on any assets (other than Real Property which is not Fixtures) of any
Grantor securing any Notes Obligation which assets are not also subject to the Lien of the ABL
Representative under the ABL Documents, subject to the Lien Priority set forth herein. If any Notes
Secured Party shall (nonetheless and in breach hereof) acquire or hold any Lien on any assets (other than
Real Property which is not Fixtures) of any Grantor securing any Notes Obligation which assets are not
also subject to the Lien of the ABL Representative under the ABL Documents, subject to the Lien Priority
set forth herein, then (i) the Notes Representative (or the relevant Notes Secured Party) shall, without the
need for any further consent of any other Notes Secured Party and notwithstanding anything to the
contrary in any other Notes Document be deemed to also hold and have held such Lien for the benefit of
the ABL Representative as security for the ABL Obligations (subject to the Lien Priority and other terms
hereof) and shall promptly notify the ABL Representative in writing of the existence of such Lien and (ii)
any amounts received by or distributed to any of them pursuant to or as a result of Liens granted in
contravention of this Section 2.4 shall be subject to Section 4.1; provided that this provision will not be
violated with respect to any ABL Obligations under any ABL Document if the ABL Representative is
given a reasonable opportunity to accept a Lien on any asset or property and the ABL Representative
states in writing that the ABL Documents in respect thereof prohibit the ABL Representative from
accepting a Lien on such asset or property or the ABL Representative otherwise expressly declines to
accept a Lien on such asset or property.

               (b)    Until the Notes Obligations Payment Date, no ABL Secured Party shall acquire
or hold any Lien on any assets of any Grantor securing any ABL Obligation which assets are not also

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subject to the Lien of the Notes Representatives under the Notes Documents, subject to the Lien Priority
set forth herein (it being understood that only the ABL Secured Parties have Liens on the assets of
Parent). If any ABL Secured Party shall (nonetheless and in breach hereof) acquire or hold any Lien on
any assets of any Grantor securing any ABL Obligation which assets are not also subject to the Lien of
the Notes Representatives under the Notes Documents, subject to the Lien Priority set forth herein, then
(i) the ABL Representative (or the relevant ABL Secured Party) shall, without the need for any further
consent of any other ABL Secured Party and notwithstanding anything to the contrary in any other ABL
Document be deemed to also hold and have held such Lien for the benefit of the Notes Representative as
security for the Notes Obligations (subject to the Lien Priority and other terms hereof) and shall promptly
notify the Notes Representatives in writing of the existence of such Lien and (ii) any amounts received by
or distributed to any of them pursuant to or as a result of Liens granted in contravention of this
Section 2.4 shall be subject to Section 4.1; provided that this provision will not be violated with respect
to any Notes Obligations under any Notes Document if the applicable Notes Representative is given a
reasonable opportunity to accept a Lien on any asset or property and such Notes Representative states in
writing that the applicable Notes Documents in respect thereof prohibit such Notes Representative from
accepting a Lien on such asset or property or the applicable Notes Representative otherwise expressly
declines to accept a Lien on such asset or property.

         2.5     Separate Grants of Security and Separate Classification.              Each Secured Party
acknowledges and agrees that (a) the grants of Liens pursuant to the ABL Security Documents and the
Notes Security Documents constitute two separate and distinct grants of Liens and (b) because of, among
other things, their differing rights in the Common Collateral, the Notes Obligations are fundamentally
different from the ABL Obligations and should be separately classified in any plan of reorganization or
similar dispositive restructuring plan proposed, confirmed, or adopted in an Insolvency Proceeding. To
further effectuate the intent of the parties as provided in the immediately preceding sentence, if it is held
that the claims of the ABL Secured Parties and the Notes Secured Parties in respect of the Common
Collateral constitute claims in the same class (rather than separate classes of secured claims subject to the
Lien Priority set forth herein), then the ABL Secured Parties and the Notes Secured Parties hereby
acknowledge and agree that all distributions from the Collateral shall be made as if there were separate
classes of ABL Obligation claims and Notes Obligation claims against the Grantors (with the effect being
that, to the extent that the aggregate value of the ABL Facility Priority Collateral or Notes Priority
Collateral, as the case may be, is sufficient (for this purpose ignoring all claims held by the other Secured
Parties), the ABL Secured Parties or the Notes Secured Parties, respectively, shall be entitled to receive,
in addition to amounts distributed to them in respect of principal, pre-petition interest and other claims, all
amounts owing in respect of Post-Petition Interest that is available from each pool of Priority Collateral
for each of the ABL Secured Parties and the Notes Secured Parties, respectively, before any distribution is
made in respect of the claims held by the other Secured Parties from such pool of Priority Collateral, with
the other Secured Parties hereby acknowledging and agreeing to turn over to the respective other Secured
Parties amounts otherwise received or receivable by them from such pool of Priority Collateral to the
extent necessary to effectuate the intent of this sentence, even if such turnover has the effect of reducing
the aggregate recoveries.

        2.6      Agreements Regarding Actions to Perfect Liens. (a) Each of the ABL Representative and
each Notes Representative hereby acknowledges that, to the extent that it holds, or a third party holds on
its behalf, physical possession of or “control” (as defined in the Uniform Commercial Code) over, or is
otherwise noted as a lienholder on any certificate of title constituting, Common Collateral pursuant to the
ABL Security Documents or the Notes Security Documents, as applicable, the ABL Representative and
each Notes Representative, as applicable, each agree to hold or control such Common Collateral as
gratuitous bailee and as non-fiduciary agent for each Notes Representative or the ABL Representative, as
applicable (such bailment and agency being intended, among other things, to satisfy the requirements of
Sections 9-313(c), 9-104, 9-105, 9-106, and 9-107 of the UCC and applicable certificate of title laws),

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solely for the purpose of perfecting the security interest (including any second-priority security interest)
granted under the Notes Documents or the ABL Documents, as applicable, subject to the terms and
conditions of this Section 2.6 (either the ABL Representative or the applicable Notes Representative in
such capacity, the “Control Representative”). Nothing in this Section 2.6 shall be construed to impose
any duty on the ABL Representative or any Notes Representative (or any third party acting on either such
Person’s behalf) or create any fiduciary relationship with respect to such Common Collateral or provide
any Notes Representative, any other Notes Secured Party, the ABL Representative or any other ABL
Secured Party, as applicable, with any rights with respect to such Common Collateral beyond those
specified in this Agreement, the ABL Security Documents and the Notes Security Documents, as
applicable, provided that subsequent to the occurrence of the ABL Obligations Payment Date (so long as
the Notes Obligations Payment Date shall not have occurred), the ABL Representative shall (i) deliver to
the Designated Notes Representative, at the Grantors’ sole cost and expense, the Common Collateral in its
possession or control together with any necessary endorsements to the extent required by the Notes
Documents or (ii) direct and deliver such Common Collateral as a court of competent jurisdiction
otherwise directs; provided, further, that subsequent to the occurrence of the Notes Obligations Payment
Date (so long as the ABL Obligations Payment Date shall not have occurred), each Notes Representative
shall (A) deliver to the ABL Representative, at the Grantors’ sole cost and expense, the Common
Collateral in its possession or control together with any necessary endorsements to the extent required by
the ABL Documents or (B) direct and deliver such Common Collateral as a court of competent
jurisdiction otherwise directs. Notwithstanding the foregoing, Account Agreements shall be subject to the
procedures described in clause (b) below. The provisions of this Agreement are intended solely to govern
the respective Lien priorities as between the ABL Secured Parties and the Notes Secured Parties and shall
not impose on the ABL Secured Parties or the Notes Secured Parties any obligations in respect of the
disposition of any Common Collateral (or any proceeds thereof) that would conflict with prior perfected
Liens or any claims thereon in favor of any other Person that is not a Secured Party.

                 (b)      The ABL Representative hereby agrees that after the ABL Obligations Payment
Date and upon the written request of any Notes Representative, to the extent that the applicable Account
Agreement is in full force and effect and has not been terminated, the ABL Representative shall continue
to act as the Control Representative for each Notes Representative (solely for the purpose of perfecting
the security interest granted under the Notes Documents and at the expense of the Grantors) with respect
to the Deposit Account, Commodity Account or Securities Account that is the subject of such Account
Agreement, until the earlier to occur of (i) 30 days after the ABL Obligations Payment Date and (ii) the
date when an Account Agreement is executed in favor of the Notes Representative with respect to such
Deposit Account, Commodity Account or Securities Account.

                  (c)     Until the Notes Obligations Payment Date, the ABL Representative agrees that to
the extent it is in possession of any Common Collateral constituting Notes Priority Collateral, promptly
upon the request of any Notes Representative at any time prior to the Notes Obligations Payment Date,
the ABL Representative shall deliver to the Notes Representative any such Notes Priority Collateral held
by it, and shall use commercially reasonable efforts to cause each ABL Creditor known to it to be holding
such Notes Priority Collateral to deliver the same to the Notes Representative, together with any
necessary endorsements without warranty or representation of any kind (or otherwise allow the Notes
Representative to obtain control of such Notes Priority Collateral).

                  (d)     Until the ABL Obligations Payment Date, each Notes Representative agrees that
to the extent it is in possession of any Common Collateral constituting ABL Facility Priority Collateral,
promptly upon the request of the ABL Representative at any time prior to the ABL Obligations Payment
Date, such Notes Representative shall deliver to the ABL Representative any such ABL Facility Priority
Collateral held by it, and shall use commercially reasonable efforts to cause each Notes Secured Party
known to it to be holding such ABL Facility Priority Collateral to deliver the same to the ABL

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Representative, together with any necessary endorsements without warranty or representation of any kind
(or otherwise allow the ABL Representative to obtain control of such ABL Facility Priority Collateral).

                 (e)     The ABL Representative shall have no obligation whatsoever to the Notes
Representatives or any Notes Secured Party to ensure that the Common Collateral is genuine or owned by
any Grantor or to preserve rights or benefits of any person except as expressly set forth in this Section 2.6.
The duties or responsibilities of the ABL Representative under this Section 2.6 shall be limited solely to
holding or controlling the Common Collateral as gratuitous bailee and non-fiduciary agent in accordance
with this Section 2.6 and delivering the Common Collateral upon the ABL Obligations Payment Date as
provided in this Section 2.6. No Notes Representative shall have any obligation whatsoever to the ABL
Representative or any ABL Creditor to ensure that the Common Collateral is genuine or owned by any
Grantor or to preserve rights or benefits of any person except as expressly set forth in this Section 2.6.
The duties or responsibilities of the Notes Representatives under this Section 2.6 shall be limited solely to
holding or controlling the Common Collateral as gratuitous bailee and non-fiduciary agent in accordance
with this Section 2.6 and delivering the Common Collateral upon the Notes Obligations Payment Date as
provided in this Section 2.6. Each Junior Representative, on behalf of itself and the applicable Junior
Secured Parties, hereby waives and releases the Senior Representative from all claims and liabilities
arising pursuant to such Senior Representative’s role under this Section 2.6 as gratuitous bailee and non-
fiduciary agent with respect to the applicable Common Collateral.

SECTION 3.      Enforcement Rights.

        3.1      Exclusive Enforcement. Until the Senior Obligations Payment Date has occurred,
whether or not an Insolvency Proceeding has been commenced by or against any Grantor, the Senior
Secured Parties shall have the exclusive right to take and continue any Enforcement Action (including the
right to credit bid their debt) with respect to the Senior Collateral, without any consultation with or
consent of any Junior Secured Party, but subject to (a) the provisos set forth in Section 3.2, and
(b) Section 3.3. Upon the occurrence and during the continuance of an event of default under the Senior
Documents, the Senior Representative and the other Senior Secured Parties may take and continue any
Enforcement Action with respect to the Senior Obligations and the Senior Collateral in such order and
manner as they may determine in their sole discretion in accordance with the terms and conditions of the
Senior Documents. Notwithstanding the foregoing, any Junior Representative may, subject to
Section 3.2, take all such actions as it shall deem necessary to (i) perfect or continue the perfection of its
Junior Liens or (ii) to create, preserve or protect (but not enforce) the Junior Liens on any Collateral.

        3.2     Waivers. Each Junior Representative, on behalf of itself and the applicable Junior
Secured Parties, agrees that, until the Senior Obligations Payment Date has occurred, whether or not an
Insolvency Proceeding has been commenced by or against any Grantor:

                 (a)     they will not take or cause to be taken any action, the purpose or effect of which
is to make any Lien on any Senior Collateral that secures any Junior Obligation pari passu with or senior
to, or to give any Junior Secured Party any preference or priority relative to, the Liens on the Senior
Collateral securing the Senior Obligations;

                 (b)     they will not, directly or indirectly, contest, oppose, object to, interfere with,
hinder or delay, in any manner, whether by judicial proceedings (including without limitation the filing of
an Insolvency Proceeding) or otherwise, any foreclosure, sale, lease, exchange, transfer or other
disposition of the Senior Collateral by any Senior Secured Party or any other Enforcement Action taken
(or any forbearance from taking any Enforcement Action) in respect of the Senior Collateral by or on
behalf of any Senior Secured Party;



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                 (c)     they have no right to (i) direct either the Senior Representative or any other
Senior Secured Party to exercise any right, remedy or power with respect to the Senior Collateral or
pursuant to the Senior Security Documents in respect of the Senior Collateral or (ii) consent or object to
the exercise by the Senior Representative or any other Senior Secured Party of any right, remedy or power
with respect to the Senior Collateral or pursuant to the Senior Security Documents with respect to the
Senior Collateral or to the timing or manner in which any such right is exercised or not exercised (or, to
the extent they may have any such right described in this clause (c), whether as a junior lien creditor in
respect of the Senior Collateral or otherwise, they hereby irrevocably waive such right);

                (d)      they will not institute any suit or other proceeding or assert in any suit,
Insolvency Proceeding or other proceeding any claim against any Senior Secured Party seeking damages
from or other relief by way of specific performance, instructions or otherwise, with respect to, and no
Senior Secured Party shall be liable for, any action taken or omitted to be taken by any Senior Secured
Party with respect to the Senior Collateral or pursuant to the Senior Documents in respect of the Senior
Collateral;

                 (e)     they will not commence judicial or nonjudicial foreclosure proceedings with
respect to, seek to have a trustee, receiver, liquidator or similar official appointed for or over, or attempt
any action to take possession of any Senior Collateral, exercise any right, remedy or power with respect
to, or otherwise take any action to enforce their interest in or realize upon, the Senior Collateral; and

                 (f)    they will not seek, and hereby waive any right, to have the Senior Collateral or
any part thereof marshaled upon any foreclosure or other disposition of the Senior Collateral;

provided that, in any Insolvency Proceeding commenced by or against any Grantor, the Junior
Representative and the Junior Secured Parties may take any action against Common Collateral expressly
permitted by Section 5; provided further that notwithstanding the limitations set forth in this Section 3.2,
any Junior Secured Party may (A) file a proof of claim or statement of interest with respect to the Junior
Obligations owed to it in any Insolvency Proceeding commenced by or against any Grantor, (B) take any
action (not adverse to the priority status of the Liens on the Senior Collateral securing the Senior
Obligations, or the rights of Senior Representative or any other Senior Secured Parties to undertake
Enforcement Actions with respect to the Senior Collateral) in order to create, perfect, preserve or protect
(but not enforce) its Lien in and to the Collateral, (C) file any necessary or appropriate responsive or
defensive pleadings in opposition to any motion, claim, adversary proceeding, or other pleading made by
any person objecting to or otherwise seeking the disallowance of the claims or Liens of the Junior
Secured Parties, including any claims secured by the Collateral, if any, (D) vote on any plan of
reorganization or similar dispositive restructuring plan and make any filings and motions that are, in each
case, not inconsistent with the provisions of this Agreement, (E) join (but not exercise any control with
respect to) any judicial foreclosure proceeding or other judicial lien enforcement proceeding with respect
to the Senior Collateral initiated by Senior Representative to the extent that any such action could not
reasonably be expected, in any material respect, to restrain, hinder, limit, delay or otherwise interfere with
an Enforcement Action by Senior Representative (it being understood that neither Junior Representative
nor any Junior Secured Party shall be entitled to receive any proceeds thereof unless otherwise expressly
permitted herein), (F) subject to Section 3.3, file any pleadings, objections, motions or agreements that
assert rights or interests available to unsecured creditors of the Grantors arising under either any
Insolvency Proceeding or applicable non-bankruptcy law, in each case not inconsistent with or prohibited
by the terms of this Agreement, (G) make a cash bid on all or any portion of the Senior Collateral in any
foreclosure proceeding or action, (H) credit bid on all or any portion of the Senior Collateral, provided the
Senior Obligations Payment Date occurs prior to or in connection with any such credit bid, and (I) engage
consultants, valuation firms, investment bankers, and perform or engage third parties to perform audits,
examinations and appraisals of the Senior Collateral for the sole purpose of valuing the Senior Collateral

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and not for the purpose of marketing or conducting a disposition of such Senior Collateral, in each case in
accordance with the Junior Security Documents.

        3.3      Rights as an Unsecured Creditor; Judgment Creditors.

                  (a)     Each Notes Representative and other Notes Secured Parties may exercise rights
and remedies as unsecured creditors generally against any Grantor in accordance with the terms of the
Notes Documents and applicable law so long as doing so is not, directly or indirectly, inconsistent with or
prohibited by the terms of this Agreement. In the event that any Notes Secured Party becomes a judgment
lien creditor in respect of Common Collateral as a result of its enforcement of its rights as an unsecured
creditor, such judgment lien shall be subject to the terms of this Agreement for all purposes (including in
relation to the ABL Liens and the ABL Obligations) to the same extent as all other Liens securing the
Notes Obligations are subject to the terms of this Agreement.

                  (b)     ABL Representative and other ABL Secured Parties may exercise rights and
remedies as unsecured creditors generally against any Grantor in accordance with the terms of the ABL
Documents and applicable law so long as doing so is not, directly or indirectly, inconsistent with or
prohibited by the terms of this Agreement. In the event that any ABL Secured Party becomes a judgment
lien creditor in respect of Common Collateral as a result of its enforcement of its rights as an unsecured
creditor, such judgment lien shall be subject to the terms of this Agreement for all purposes (including in
relation to the Notes Liens and the Notes Obligations) to the same extent as all other Liens securing the
ABL Obligations are subject to the terms of this Agreement.

        3.4       Cooperation; Sharing of Information and Access. (a) Each Notes Representative, on
behalf of itself and the applicable Notes Secured Parties, agrees that each of them shall take such actions
as the ABL Representative shall reasonably request in connection with the exercise by the ABL Secured
Parties of their rights set forth herein in respect of the ABL Facility Priority Collateral. The ABL
Representative, on behalf of itself and the other ABL Secured Parties, agrees that each of them shall take
such actions as any Notes Representative shall reasonably request in connection with the exercise by the
Notes Secured Parties of their rights set forth herein in respect of the Notes Priority Collateral.

                  (b)     In the event that the ABL Representative shall, in the exercise of its rights under
the ABL Security Documents or otherwise, receive possession or control of any books and records of any
Grantor which contain information identifying or pertaining to the Notes Priority Collateral, the ABL
Representative shall promptly notify each Notes Representative of such fact and, upon request from any
Notes Representative and as promptly as practicable thereafter, either make available to such Notes
Representative such books and records for inspection and duplication or provide to such Notes
Representative copies thereof. In the event that any Notes Representative shall, in the exercise of its
rights under the Notes Security Documents or otherwise, receive possession or control of any books and
records of any Grantor which contain information identifying or pertaining to any of the ABL Facility
Priority Collateral, such Notes Representative shall promptly notify the ABL Representative of such fact
and, upon request from the ABL Representative and as promptly as practicable thereafter, either make
available to the ABL Representative such books and records for inspection and duplication or provide the
ABL Representative copies thereof. Until the ABL Obligations Payment Date, each Notes Representative
hereby irrevocably grants the ABL Representative a non-exclusive worldwide license or right to use, to
the maximum extent permitted by applicable law and to the extent of such Notes Representative’s interest
therein, exercisable without payment of royalty or other compensation, to use any of the Intellectual
Property incorporated in or relating to the ABL Facility Priority Collateral and now or hereafter owned
by, licensed to, or otherwise used by the Grantors in order for the ABL Representative and the other ABL
Secured Parties to collect, purchase, use, market, repossess, possess, store, assemble, manufacture,
process, sell, transfer, distribute or otherwise dispose of any asset included in the ABL Facility Priority

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Collateral in connection with the liquidation, disposition or realization upon the ABL Facility Priority
Collateral in accordance with the terms and conditions of the ABL Security Documents and the other
ABL Documents. Nothing contained in this Section 3.4 shall restrict the rights of the Notes
Representative from selling, assigning or otherwise transferring any of the Grantors’ Intellectual Property;
provided, that the Notes Representative agrees that any sale, transfer or other disposition of any of the
Grantors’ Intellectual Property (whether by foreclosure or otherwise) will be subject to the ABL
Representative’s rights as set forth in this Section 3.4.

                 (c)      If any Notes Representative, or any agent or representative of any Notes
Representative, or any receiver, shall, after the commencement of any Enforcement Action, obtain
possession or physical control of any of the Notes Priority Collateral (or sells or otherwise transfers any
of the Notes Priority Collateral to a third party purchaser or transferee without first obtaining possession
or physical control), such Notes Representative shall promptly notify the ABL Representative in writing
of that fact, and the ABL Representative shall, within five Business Days thereafter, notify each Notes
Representative in writing as to whether the ABL Representative desires to exercise access rights under
this Agreement during the Access Period. In addition, if the ABL Representative, or any agent or
representative of the ABL Representative, or any receiver, shall obtain possession or physical control of
any of the Notes Priority Collateral in connection with an Enforcement Action, then the ABL
Representative shall promptly notify each Notes Representative that the ABL Representative is exercising
its access rights under this Agreement and its rights under Section 3.4 under either circumstance. Upon
delivery of such notice by the ABL Representative to each Notes Representative, the parties shall confer
in good faith to coordinate with respect to the ABL Representative’s exercise of such access rights during
the Access Period, with such access rights to apply to any Real Property or Equipment constituting Notes
Priority Collateral access to which is reasonably necessary to enable the ABL Representative to complete
or continue performance under Grantor contracts, collect Accounts, convert ABL Facility Priority
Collateral consisting of raw materials and work-in-process into saleable finished goods and/or to transport
such ABL Facility Priority Collateral to a point where such conversion can occur, to otherwise prepare
ABL Facility Priority Collateral for sale and/or to remove, arrange or effect the sale of ABL Facility
Priority Collateral. Consistent with the definition of Access Period, access rights will apply to differing
parcels of Real Property or items of Equipment constituting Notes Priority Collateral at differing times, in
which case, a differing Access Period will apply to each such parcel of Real Property and each such item
of Equipment. During any pertinent Access Period, the ABL Representative and its agents,
representatives and designees shall have a non-exclusive right to have access to, and a rent-free right to
use, the relevant Real Property or Equipment constituting Notes Priority Collateral for the purposes
described above.

                 (d)       The ABL Representative shall take proper and reasonable care of any Notes
Priority Collateral that is used by the ABL Representative during the Access Period and shall repair at its
expense (without waiving any rights of reimbursement from the Grantors) and replace any damage
(ordinary wear-and-tear excepted) caused by any act or omission of the ABL Representative or its agents,
representatives or designees and leave such Notes Priority Collateral in a condition substantially similar
(ordinary wear and tear excepted) to the condition of such Notes Priority Collateral immediately prior to
the date of commencement of the use thereof by the ABL Representative and the ABL Representative
shall indemnify and hold harmless each Notes Representative and the Notes Secured Parties for any
actual injury or damage to Persons or property (ordinary wear and tear excepted) directly caused by the
acts or omissions of Persons under its control; provided, however, that the ABL Representative and the
ABL Creditors will not be liable for any diminution in the value of Notes Priority Collateral caused by the
absence of the ABL Facility Priority Collateral therefrom. The ABL Representative shall comply with all
applicable laws in connection with its use or occupancy or possession of the Notes Priority Collateral.
The ABL Representative, for itself and on behalf of the ABL Secured Parties, hereby acknowledges that,
during the period any Notes Priority Collateral shall be under control or possession of any Notes

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Representative or the other Notes Secured Parties, such Notes Representatives and other Notes Secured
Parties shall not be obligated to take any action to protect or to procure insurance with respect to any ABL
Facility Priority Collateral that may be located on or in the Notes Priority Collateral, it being understood
that the Notes Representatives and other Notes Secured Parties shall have no responsibility for loss or
damage to the ABL Facility Priority Collateral (other than as a result of the gross negligence or willful
misconduct of such Notes Representative and/or the other Notes Secured Parties or their agents) and that
risk of loss or damage to the ABL Facility Priority Collateral shall remain with ABL Representative and
the ABL Secured Parties.

                 (e)      The ABL Representative and each Notes Representative shall cooperate and use
reasonable efforts to ensure that their activities during the Access Period as described above do not
interfere materially with the activities of the other as described above, including the right of each Notes
Representative to show the Notes Priority Collateral to prospective purchasers and to ready the Notes
Priority Collateral for sale. Consistent with the definition of the term Access Period, if any order or
injunction is issued or stay is granted or is otherwise effective by operation of law that prohibits the ABL
Representative from exercising any of its rights hereunder, then the Access Period granted to the ABL
Representative under this Section 3.4 shall be stayed during the period of such prohibition and shall
continue thereafter for the number of days remaining as required under this Section 3.4. If any Notes
Priority Collateral is sold or otherwise transferred to a third party purchaser or transferee, the Notes
Representative shall expressly condition such sale or other transfer on such purchaser’s or transferee’s
agreement to grant the ABL Representative the access rights otherwise applicable pursuant to this
Agreement.

         3.5      No Additional Rights For the Grantors Hereunder. Except as provided in Section 3.6
hereof, if any ABL Secured Party or Notes Secured Party shall enforce its rights or remedies in violation
of the terms of this Agreement, no Grantor shall be entitled to use such violation as a defense to any
action by any ABL Secured Party or Notes Secured Party, nor to assert such violation as a counterclaim
or basis for set off or recoupment against any ABL Secured Party or Notes Secured Party.

        3.6      Actions Upon Breach. (a) If any ABL Secured Party or Notes Secured Party, contrary to
this Agreement, commences or participates in any action or proceeding against any Grantor or the
Common Collateral, such Grantor, with the prior written consent of the ABL Representative or any Notes
Representative, as applicable, may interpose as a defense or dilatory plea the making of this Agreement,
and any ABL Secured Party or Notes Secured Party, as applicable, may intervene and interpose such
defense or plea in its or their name or in the name of such Grantor.

                 (b)     Should any ABL Secured Party or Notes Secured Party, contrary to this
Agreement, in any way take, attempt to or threaten to take any action with respect to the Common
Collateral (including, without limitation, any attempt to realize upon or enforce any remedy with respect
to this Agreement), or fail to take any action required by this Agreement, any ABL Secured Party or
Notes Secured Party (in its own name or in the name of the relevant Grantor), as applicable, may obtain
relief against such ABL Secured Party or Notes Secured Party, as applicable, by injunction, specific
performance and/or other appropriate equitable relief, it being understood and agreed by each of the ABL
Representative on behalf of each ABL Secured Party and each Notes Representative on behalf of each
applicable Notes Secured Party that (i) the ABL Secured Parties’ or Notes Secured Parties’, as applicable,
damages from its actions may at that time be difficult to ascertain and may be irreparable, and (ii) each
Notes Secured Party or ABL Secured Party, as applicable, waives any defense that the Grantors and/or the
Notes Secured Parties and/or ABL Secured Parties, as applicable, cannot demonstrate damage and/or be
made whole by the awarding of damages.




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SECTION 4. Application of Proceeds of Senior Collateral; Dispositions and Releases of Lien; Notices
and Insurance.

        4.1      Application of Proceeds.

                 (a)     Application of Proceeds of Senior Collateral. Subject to clauses (d) and (e)
below, whether or not any Insolvency Proceeding has been commenced by or against any Grantor, the
Senior Representative and Junior Representative hereby agree that all Senior Collateral, and all Proceeds
thereof, received by either of them in connection with the collection, sale or disposition of Senior
Collateral constituting an Enforcement Action shall be applied:

               first, to the payment of costs and expenses (including reasonable attorneys’ fees and
expenses and court costs) of the Senior Secured Parties in connection with such Enforcement Action,

               second, to the payment of the Senior Obligations in accordance with the Senior
Documents until the Senior Obligations Payment Date,

                 third, to the payment of the Junior Obligations in accordance with the Junior Documents
until the Junior Obligations Payment Date, and

                fourth, the balance, if any, to the Grantor or to whosoever may be lawfully entitled to
receive the same or as a court of competent jurisdiction may direct.

                (b)     Limited Obligation or Liability. In exercising remedies, whether as a secured
creditor or otherwise, the Senior Representative shall have no obligation or liability to the Junior
Representative or to any Junior Secured Party, regarding the adequacy of any Proceeds or for any action
or omission, save and except solely for an action or omission that breaches the express obligations
undertaken by each party under the terms of this Agreement.

                 (c)     Segregation of Collateral; Turnover. Until the occurrence of the Senior
Obligations Payment Date, whether or not an Insolvency Proceeding has been commenced by or against
any Grantor, any Senior Collateral that may be received by any Junior Secured Party in violation of this
Agreement shall be segregated and held in trust and promptly paid over to the Senior Representative, for
the benefit of the Senior Secured Parties, in the same form as received with any necessary endorsements,
or as a court of competent jurisdiction may otherwise direct and each Junior Secured Party hereby
authorizes the Senior Representative to make any such endorsements as agent for the Junior
Representative (which authorization, being coupled with an interest, is irrevocable).

                  (d)     Mixed Collateral Proceeds. Notwithstanding anything to the contrary contained
above or in the definition of ABL Facility Priority Collateral or Notes Priority Collateral, in the event that
proceeds of Common Collateral are received from (or are otherwise attributable to the value of) a sale or
other disposition of Common Collateral that involves a combination of ABL Facility Priority Collateral
and Notes Priority Collateral where the respective values are not otherwise agreed among the parties, the
portion of such proceeds that shall be allocated as proceeds of ABL Facility Priority Collateral for
purposes of this Agreement shall be an amount equal to the book value of such ABL Facility Priority
Collateral (except in the case of Accounts which amount shall be equal to the face amount of such
Accounts). In addition, notwithstanding anything to the contrary contained above or in the definition of
ABL Facility Priority Collateral or Notes Priority Collateral, to the extent proceeds of Common Collateral
are proceeds received from (or are otherwise attributable to the value of) the sale or disposition of all or
substantially all of the Equity Interests of any Subsidiary of TPC which is a Grantor or all or substantially
all of the assets of any such Subsidiary where the respective values are not otherwise agreed among the


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parties, such proceeds shall constitute (1) first, in an amount equal to the face amount of the Accounts
constituting ABL Facility Priority Collateral and the book value of all other ABL Facility Priority
Collateral owned by such Subsidiary at the time of such sale, ABL Facility Priority Collateral and
(2) second, to the extent in excess of the amounts described in preceding clause (1), Notes Priority
Collateral.

                 (e)      Account Agreements. Each Notes Representative, on behalf of itself and the
applicable Notes Secured Parties, agrees that prior to the commencement of an Enforcement Action all
funds deposited and applied to the ABL Obligations shall be treated as ABL Facility Priority Collateral
and waives any claim that such payments made to the ABL Representative and the ABL Secured Parties
are proceeds of or otherwise constitute Notes Priority Collateral unless (i) the ABL Representative has
actual knowledge to the contrary, (ii) within five Business Days after the date on which such funds are
applied to the ABL Obligations, the Notes Representative delivers written notice to the ABL
Representative stating that the funds so applied contained identifiable proceeds of Notes Priority
Collateral payable to Notes Representative for repayment of the Notes Obligations or (iii) the ABL
Representative or any Notes Representative has commenced an Enforcement Action. After the
commencement and during the continuation of an Enforcement Action, the ABL Representative and the
Notes Representative shall cooperate in good faith to identify the proceeds of Common Collateral (it
being agreed that after the commencement of an Enforcement Action, all identifiable Proceeds of Notes
Priority Collateral shall constitute Notes Priority Collateral).

                 (f)     Certain Proceeds. The ABL Representative, for itself and on behalf of the ABL
Secured Parties, and each Notes Representative, for itself and on behalf of the applicable Notes Secured
Parties, further agree that prior to commencement of an Enforcement Action, all Proceeds of Common
Collateral, whether or not deposited in an account subject to a deposit account control agreement or a
securities account control agreement, shall not (as between the ABL Representative, the Notes
Representative, the ABL Secured Parties and the Notes Secured Parties) be treated as Proceeds of
Common Collateral for purposes of determining the relative priorities in the Common Collateral.
                 (g)      Permitted Actions. Nothing in this Agreement shall prohibit the receipt by any
Notes Representative or any Notes Secured Party of the required payments of interest, principal and other
amounts owed in respect of the Notes Obligations so long as such receipt is not the direct or indirect
result of the exercise by such Notes Representative or any Notes Secured Party of rights or remedies as a
secured creditor (including set-off) with respect to ABL Facility Priority Collateral or enforcement in
contravention of this Agreement of any Lien held by any of them. Nothing in this Agreement shall
prohibit the receipt by the ABL Representative or any ABL Secured Party of the required payments of
interest, principal and other amounts owed in respect of the ABL Obligations so long as such receipt is
not the direct or indirect result of the exercise by the ABL Representative or any ABL Secured Party of
rights or remedies as a secured creditor (including set-off) with respect to Notes Priority Collateral or
enforcement in contravention of this Agreement of any Lien held by any of them.
         4.2     Releases of Liens. Upon any release, sale or disposition of Senior Collateral (i) permitted
pursuant to the terms of the Senior Documents or with the consent of the Senior Secured Parties that
results in the release of the Senior Lien on any Senior Collateral, or (ii) any sale or other disposition
pursuant to any Enforcement Action by the Senior Representative (other than release of the Senior Lien
due to the occurrence of the Senior Obligations Payment Date), the Junior Lien on such Senior Collateral
(excluding any portion of the proceeds of such Senior Collateral remaining after the Senior Obligations
Payment Date occurs) shall be automatically and unconditionally released to the same extent as the Senior
Lien with no further consent or action of any Person. The Junior Representative shall, at the Grantors’
expense, promptly execute and deliver such release documents and instruments and shall take such further
actions as the Senior Representative shall request to evidence any release of the Junior Lien described in
this Section 4.2. The Junior Representative hereby appoints the Senior Representative and any officer or

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duly authorized person of the Senior Representative, with full power of substitution, as its true and lawful
attorney-in-fact with full irrevocable power of attorney in the place and stead of the Junior Representative
and in the name of the Junior Representative or in the Senior Representative’s own name, from time to
time, in the Senior Representative’s sole discretion, for the purposes of carrying out the terms of this
Section 4.2, to take any and all appropriate action and to execute and deliver any and all documents and
instruments as may be necessary or desirable to accomplish the purposes of this Section 4.2, including,
without limitation, any financing statements, endorsements, assignments, releases or other documents or
instruments of transfer (which appointment, being coupled with an interest, is irrevocable). Until the
Senior Obligations Payment Date occurs, to the extent that the Senior Secured Parties have released any
Lien on Senior Collateral and any such Lien is later reinstated, then the Junior Secured Parties shall be
granted a Junior Lien on any such Senior Collateral.

         4.3     Insurance. Proceeds of Common Collateral include insurance proceeds and therefore the
Lien Priority shall govern the ultimate disposition of casualty insurance proceeds. The ABL
Representative shall have the sole and exclusive right, as against the Notes Representatives, to adjust
settlement of insurance claims in the event of any covered loss, theft or destruction of ABL Facility
Priority Collateral. Each Notes Representative shall have the sole and exclusive right, as against the ABL
Representative, to adjust settlement of insurance claims in the event of any covered loss, theft or
destruction of Notes Priority Collateral. If, and to the extent of, any loss under an insurance policy that
covers both ABL Facility Priority Collateral and Notes Priority Collateral, the ABL Representative and
the Notes Representative shall work jointly in good faith to adjust or settle under the applicable insurance
policy. To the extent any insurance proceeds are received for business interruption, such proceeds shall
first be applied to the ABL Obligations and then to the Notes Obligations. Each of the Notes
Representative and ABL Representative shall cooperate (if necessary) in a reasonable manner in effecting
the payment of insurance proceeds in accordance with Section 4.1 (including the turn over provisions set
forth in Section 4.1(c) with respect to any insurance proceeds received thereby in contravention of Section
4.1(a)).

SECTION 5.      Insolvency Proceedings.

        5.1      Filing of Motions. Until the Senior Obligations Payment Date has occurred, the Junior
Representative agrees on behalf of itself and the applicable Junior Secured Parties that no Junior Secured
Party shall, in or in connection with any Insolvency Proceeding, file any pleadings or motions, take any
position at any hearing or proceeding of any nature, or otherwise take any action whatsoever, in each case
in respect of any of the Senior Collateral, including, without limitation, with respect to the determination
of any Liens or claims held by the Senior Representative (including the validity, allowability, and
enforceability thereof) or any other Senior Secured Party in respect of any Senior Collateral or the value
of any claims of such parties under Section 506(a) or Section 506(b) of the Bankruptcy Code or
otherwise, except as expressly permitted herein.

        5.2      Financing Matters. (a) If any Grantor becomes subject to any Insolvency Proceeding in
the United States at any time prior to the ABL Obligations Payment Date, and if the ABL Representative
or the other ABL Secured Parties desire to consent (or not object) to the use of ABL Facility Priority
Collateral constituting cash collateral under the Bankruptcy Code or to provide financing to any Grantor
under the Bankruptcy Code or to consent (or not object) to the provision of such financing to any Grantor
by any third party secured by all or a portion of the ABL Facility Priority Collateral (any such financing,
“ABL DIP Financing”), then each Notes Representative agrees, on behalf of itself and the applicable
Notes Secured Parties, that each such Notes Secured Party (i) will be deemed to have consented to, will
raise no objection to, nor support any other Person objecting to, the use of such cash collateral or to such
ABL DIP Financing on the grounds of a failure to provide “adequate protection” for such Notes
Representative’s Lien on the Notes Collateral to secure the Notes Obligations or on any other grounds

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(and, except as provided in Section 5.4, will not request any adequate protection solely as a result of such
ABL DIP Financing) and (ii) will subordinate (and will be deemed hereunder to have subordinated) the
Notes Liens on any ABL Facility Priority Collateral (A) to the Liens on any ABL Facility Priority
Collateral securing such ABL DIP Financing (and such subordination will not alter in any manner the
terms of this Agreement), (B) to any adequate protection Lien on any ABL Facility Priority Collateral
provided to the ABL Secured Parties and (C) to any “carve-out” from any ABL Facility Priority
Collateral for professional fees and customary fees and expenses agreed to by the ABL Representative or
the other ABL Secured Parties and approved by the bankruptcy court, so long as (1) each Notes
Representative retains its Lien on the Notes Collateral to secure the Notes Obligations (in each case,
including Proceeds thereof arising after the commencement of the case under the Bankruptcy Code) and,
as to the Notes Priority Collateral only, such Lien has the same priority as existed prior to the
commencement of the case under the Bankruptcy Code and any Lien on the Notes Priority Collateral
securing such ABL DIP Financing is junior and subordinate to the Lien of each Notes Representative on
the Notes Priority Collateral, (2) all Liens on ABL Facility Priority Collateral securing any such ABL DIP
Financing shall be senior to or on a parity with the Liens of the ABL Representative and the other ABL
Secured Parties securing the ABL Obligations on ABL Facility Priority Collateral, (3) the proposed cash
collateral use or ABL DIP Financing does not compel any Grantor to seek confirmation of or approval for
any specific plan of reorganization or other plan of similar effect under the Bankruptcy Code or
otherwise, (4) the ABL DIP Financing is otherwise not in violation of the terms of this Agreement and (5)
if the ABL Representative receives a replacement or adequate protection Lien on post-petition assets of
the debtor with respect to the ABL Obligations, and such replacement or adequate protection Lien is on
any of the Notes Priority Collateral, (x) such replacement or adequate protection Lien on such post-
petition assets which are part of the Notes Priority Collateral (the “Notes Post-Petition Assets”) is junior
and subordinate to the Lien in favor of each Notes Representative on the Notes Priority Collateral and
(y) each Notes Representative also receives a replacement or adequate protection Lien on such Notes
Post-Petition Assets of the debtor to secure the Notes Obligations that is senior to the Lien in favor of the
ABL Representative on the Notes Priority Collateral. In no event will any of the ABL Secured Parties
seek to obtain a priming Lien on any of the Notes Priority Collateral and nothing contained herein shall be
deemed to be a consent by the Notes Secured Parties to any adequate protection payments to any ABL
Secured Party using Notes Priority Collateral (in each case, including Proceeds thereof arising after the
commencement of the case under the Bankruptcy Code).

                 (b)      If any Grantor becomes subject to any Insolvency Proceeding in the United
States at any time prior to the Notes Obligations Payment Date, and if any of the Notes Representatives or
the applicable Notes Secured Parties desire to consent (or not object) to the use of Notes Priority
Collateral constituting cash collateral under the Bankruptcy Code or to provide financing to any Grantor
under the Bankruptcy Code or to consent (or not object) to the provision of such financing to any Grantor
by any third party secured by all or a portion of the Notes Priority Collateral (any such financing, “Notes
DIP Financing”), then the ABL Representative agrees, on behalf of itself and the other ABL Secured
Parties, that each ABL Secured Party (i) will be deemed to have consented to, will raise no objection to,
nor support any other Person objecting to such Notes DIP Financing on the grounds of a failure to provide
“adequate protection” for the ABL Representative’s Lien on the ABL Collateral to secure the ABL
Obligations or on any other grounds (and, except as provided in Section 5.4, will not request any adequate
protection solely as a result of such Notes DIP Financing) and (ii) will subordinate (and will be deemed
hereunder to have subordinated) the ABL Liens on any Notes Priority Collateral (A) to the Liens on any
Notes Priority Collateral securing such Notes DIP Financing (and such subordination will not alter in any
manner the terms of this Agreement), (B) to any adequate protection Lien on any Notes Priority Collateral
provided to the Notes Secured Parties and (C) to any “carve-out” from any Notes Priority Collateral for
professional fees and customary fees and expenses agreed to by each Notes Representative or the
applicable Notes Secured Parties and approved by the bankruptcy court, so long as (1) the ABL
Representative retains its Lien on the ABL Collateral to secure the ABL Obligations (in each case,

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including Proceeds thereof arising after the commencement of the case under the Bankruptcy Code) and,
as to the ABL Facility Priority Collateral only, such Lien has the same priority as existed prior to the
commencement of the case under the Bankruptcy Code and any Lien on the ABL Facility Priority
Collateral securing such Notes DIP Financing is junior and subordinate to the Lien of the ABL
Representative on the ABL Facility Priority Collateral, (2) all Liens on Notes Priority Collateral securing
any such Notes DIP Financing shall be senior to or on a parity with the Liens of each Notes
Representative and the applicable Notes Secured Parties securing the Notes Obligations on Notes Priority
Collateral, (3) the proposed cash collateral use or Notes DIP Financing does not compel any Grantor to
seek confirmation of or approval for any specific plan of reorganization or other plan of similar effect
under the Bankruptcy Code or otherwise, (4) the Notes DIP Financing is otherwise not in violation of the
terms of this Agreement and (5) if any Notes Representative receives a replacement or adequate
protection Lien on post-petition assets of the debtor with respect to the Notes Obligations, and such
replacement or adequate protection Lien is on any of the ABL Facility Priority Collateral, (x) such
replacement or adequate protection Lien on such post-petition assets which are part of the ABL Facility
Priority Collateral (the “ABL Post-Petition Assets”) is junior and subordinate to the Lien in favor of the
ABL Representative on the ABL Facility Priority Collateral and (y) the ABL Representative also receives
a replacement or adequate protection Lien on such ABL Post-Petition Assets of the debtor to secure the
ABL Obligations that is senior to the Lien in favor of the Notes Representatives on the ABL Facility
Priority Collateral. In no event will any of the Notes Secured Parties seek to obtain a priming Lien on any
of the ABL Facility Priority Collateral, and nothing contained herein shall be deemed to be a consent by
the ABL Secured Parties to any adequate protection payments to any Notes Secured Party using ABL
Facility Priority Collateral (in each case, including Proceeds thereof arising after the commencement of
the case under the Bankruptcy Code).

                 (c)      All Liens granted to the Notes Representatives or the ABL Representative in any
Insolvency Proceeding, whether as adequate protection, in connection with any ABL DIP Financing or
Notes DIP Financing (as the case may be), or otherwise, are intended to be and shall be deemed to be
subject to the Lien Priority and the other terms and conditions of this Agreement.

         5.3     Relief From the Automatic Stay. Until the ABL Obligations Payment Date, each Notes
Representative agrees, on behalf of itself and the applicable Notes Secured Parties, that none of them will
seek (or support any other Person in seeking) relief from the automatic stay or from any other stay in any
Insolvency Proceeding or take any action in derogation thereof, in each case in respect of any ABL
Facility Priority Collateral, without the prior written consent of the ABL Representative. Until the Notes
Obligations Payment Date, the ABL Representative agrees, on behalf of itself and the other ABL Secured
Parties, that none of them will seek (or support any other Person in seeking) relief from the automatic stay
or from any other stay in any Insolvency Proceeding or take any action in derogation thereof, in each case
in respect of any Notes Priority Collateral, without the prior written consent of the Notes Representatives.
In addition, neither the Notes Representatives nor the ABL Representative shall seek any relief from the
automatic stay with respect to any Common Collateral without providing 30 days’ prior written notice to
the other, unless otherwise agreed by both the ABL Representative and the Notes Representatives.

        5.4     No Contest. The Junior Representative, on behalf of itself and the applicable Junior
Secured Parties, agrees that, prior to the Senior Obligations Payment Date, none of them shall contest (or
support any other Person contesting) (a) any request by the Senior Representative or any Senior Secured
Party for adequate protection of its interest in the Senior Collateral (unless in contravention of
Section 5.2(a) or (b), as applicable), or (b) any objection by the Senior Representative or any Senior
Secured Party to any motion, relief, action, or proceeding based on a claim by the Senior Representative
or any Senior Secured Party that its interests in the Senior Collateral (unless in contravention of
Section 5.2(a) or (b), as applicable) are not adequately protected (or any other similar request under any
law applicable to an Insolvency Proceeding), so long as any Liens granted to the Senior Representative as

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adequate protection of its interests are subject to the Lien Priority and the other terms and conditions of
this Agreement. The Senior Representative, on behalf of itself and the applicable Senior Secured Parties,
agrees that none of them shall contest (or support any other Person contesting) any request by the Junior
Representative, on behalf of itself and the applicable Junior Secured Parties, for adequate protection of its
interest in the Junior Collateral in the form of an additional or replacement Lien thereon; provided that
(A) (i) an adequate protection Lien shall also have been granted in favor of the Senior Secured Parties in
respect of such Collateral and (ii) the Lien in favor of the Junior Secured Parties on such Collateral shall
be subordinated to the Liens thereon securing and providing adequate protection for the Senior
Obligations in accordance with the Lien Priority set forth in this Agreement.

         5.5      Avoidance Issues. If any Senior Secured Party is required in any Insolvency Proceeding
or otherwise to disgorge, turn over or otherwise pay to the estate of any Grantor, because such amount
was avoided or ordered to be paid or disgorged for any reason, including without limitation because it was
found to be a fraudulent or preferential transfer, any amount (a “Recovery”), whether received as
proceeds of security, enforcement of any right of set-off, recoupment, or otherwise, then the Senior
Obligations shall be reinstated to the extent of such Recovery and deemed to be outstanding as if such
payment had not occurred and the Senior Obligations Payment Date shall be deemed not to have
occurred. If this Agreement shall have been terminated prior to such Recovery, this Agreement shall be
reinstated in full force and effect, and such prior termination shall not diminish, release, discharge, impair
or otherwise affect the obligations of the parties hereto. The Junior Secured Parties agree that none of
them shall be entitled to benefit from any avoidance action affecting or otherwise relating to any
distribution or allocation made in accordance with this Agreement, whether by preference or otherwise, it
being understood and agreed that the benefit of such avoidance action otherwise allocable to them shall
instead be allocated and turned over for application in accordance with the priorities set forth in this
Agreement.

         5.6     Asset Dispositions in an Insolvency Proceeding. Neither the Junior Representative nor
any other Junior Secured Party shall, in an Insolvency Proceeding or otherwise, oppose any sale or
disposition of any Senior Collateral that is supported by the Senior Secured Parties, and the Junior
Representative and each other Junior Secured Party will be deemed to have consented under Section 363
of the Bankruptcy Code (and otherwise) to any sale of any Senior Collateral supported by the Senior
Secured Parties and to have released their Liens on such assets; provided that (a) the proceeds of such sale
or disposition are applied in accordance with the terms of this Agreement and (b) this Section 5.6 shall
not apply to any case of a sale or disposition of Real Property or Equity Interests constituting Notes
Priority Collateral unless the ABL Representative has received at least 15 days’ notice prior to the
consummation of any such sale.

         5.7     Other Matters. To the extent that the Senior Representative or any Senior Secured Party
has or acquires rights under Section 363 or Section 364 of the Bankruptcy Code with respect to any of the
Junior Collateral, the Senior Representative agrees, on behalf of itself and the applicable Senior Secured
Parties, not to assert any of such rights without the prior written consent of the Junior Representative;
provided that if requested by the Junior Representative, the Senior Representative shall timely exercise
such rights in the manner requested by the Junior Representative, including any rights to payments in
respect of such rights.

        5.8      Effectiveness in Insolvency Proceedings.

                (a)   This Agreement, which the parties hereto expressly acknowledge is a
“subordination agreement” under Section 510(a) of the Bankruptcy Code, shall be effective before, during
and after the commencement of an Insolvency Proceeding.



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                 (b)     If, in any Insolvency Proceeding, debt obligations of the reorganized debtor
secured by Liens upon any property of the reorganized debtor are distributed or reinstated (in whole or in
part) pursuant to a plan of reorganization or similar dispositive restructuring plan, both on account of the
ABL Obligations and on account of the Notes Obligations, then, to the extent the debt obligations
distributed on account of the ABL Obligations and on account of the Notes Obligations are secured by
Liens upon the same property, the provisions of this Agreement will survive the distribution of such debt
obligations pursuant to such plan and will apply with like effect to the Liens securing such debt
obligations.

        5.9      Certain Waivers.

                 (a)     Each Junior Representative or any other Junior Secured Party waives any claim it
may hereafter have against the Senior Representative or any Senior Secured Party arising out of the
election of the Senior Representative or any Senior Secured Party of the application of Section 1111(b)(2)
of the Bankruptcy Code in connection with the Senior Collateral in any Insolvency Proceeding.

                 (b)      The Junior Representative, on behalf of itself and the applicable Junior Secured
Parties, agrees that, prior to the Senior Obligations Payment Date, none of them shall assert or enforce
any claim under Section 506(c) of the Bankruptcy Code senior to or on a parity with the Liens on the
Senior Collateral for costs or expenses of preserving or disposing of such Senior Collateral.

                 (c)     No Notes Representative nor any Notes Secured Party shall oppose or seek to
challenge any claim by the ABL Representative or any ABL Secured Party for allowance in any
Insolvency Proceeding of ABL Obligations consisting of Post-Petition Interest, to the extent of the value
of the Lien on the ABL Facility Priority Collateral securing any ABL Secured Party’s claim, without
regard to the existence of the Lien of such Notes Representative on behalf of the applicable Notes
Secured Parties on such Collateral. No ABL Representative nor any ABL Secured Party shall oppose or
seek to challenge any claim by any Notes Representative or any applicable Notes Secured Party for
allowance in any Insolvency Proceeding of Notes Obligations consisting of Post-Petition Interest, to the
extent of the value of the Lien on the Notes Priority Collateral securing any Notes Secured Party’s claim,
without regard to the existence of the Lien of the ABL Representative on behalf of the ABL Secured
Parties on such Collateral.

SECTION 6.       Notes Documents and ABL Documents.

                (a)     Each Grantor and each Notes Representative, on behalf of itself and the
applicable Notes Secured Parties, agrees that it shall not at any time execute or deliver any amendment or
other modification to any of the Notes Documents inconsistent with or in violation of this Agreement.

                (b)      Each Grantor and the ABL Representative, on behalf of itself and the ABL
Secured Parties, agrees that it shall not at any time execute or deliver any amendment or other
modification to any of the ABL Documents inconsistent with or in violation of this Agreement.

                (c)      In the event the Senior Representative enters into any amendment, waiver or
consent in respect of any of the Senior Security Documents for the purpose of adding to, or deleting from,
or waiving or consenting to any departures from any provisions of, any Senior Security Document
(including any release of any Lien in favor of such Senior Secured Party) or changing in any manner the
rights of any parties thereunder, in each case solely with respect to any Senior Collateral, then such
amendment, waiver or consent shall apply automatically to any comparable provision of the Comparable
Security Document without the consent of or action by any Junior Secured Party (with all such
amendments, waivers and modifications subject to the terms hereof); provided that, (i) no such


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amendment, waiver or consent shall have the effect of removing assets subject to the Lien of any Junior
Security Document, except to the extent that a release of such Lien is permitted by Section 4.2, (ii) no
such amendment, waiver or consent with respect to any provision applicable to the Junior Representative
under the Junior Documents shall be made without the prior written consent of the Junior Representative,
and (iii) notice of such amendment, waiver or consent shall be given to the Junior Representative no later
than 30 days after its effectiveness, provided that the failure to give such notice shall not affect the
effectiveness and validity thereof.

SECTION 7.      Purchase Option.

         7.1     Notice of Exercise. Upon the occurrence of a Purchase Option Triggering Event and
continuing for a period of 30 days thereafter, all or a portion of the Notes Secured Parties, acting as a
single group, shall have the option at any time upon five (5) Business Days’ prior written notice to the
ABL Representative to purchase all, but not less than all, of the ABL Obligations from the ABL Secured
Parties. In connection with any exercise of the purchase option, the ABL Secured Parties may terminate
outstanding Bank Products. Such notice from such Notes Secured Parties to the ABL Representative
shall be irrevocable.

         7.2     Purchase and Sale. On the date specified by the relevant Notes Secured Parties in the
notice contemplated by Section 7.1 above (which shall not be less than five (5) Business Days, nor more
than twenty (20) calendar days, after the receipt by the ABL Representative of the notice of the relevant
Notes Secured Party’s election to exercise such option), the ABL Secured Parties shall sell to the relevant
Notes Secured Parties, and the relevant Notes Secured Parties shall purchase from the ABL Secured
Parties, the ABL Obligations, provided that, the ABL Representative and the ABL Secured Parties shall
retain all rights to be indemnified or held harmless by the Grantors and other obligors thereunder in
accordance with the terms of the ABL Documents but shall not retain any rights to the security therefor.
The purchase shall be made pursuant to assignment documentation prepared by the ABL Representative
and its counsel and in form and substance reasonably satisfactory to all parties thereto. For purposes of
the ABL Documents, each Grantor hereby consents to any assignment effected pursuant to the purchase
option.

         7.3      Payment of Purchase Price. Upon the date of such purchase and sale, the relevant Notes
Secured Parties shall (a) pay to the ABL Representative for the benefit of the ABL Secured Parties as the
purchase price for the ABL Obligations, the full amount of all the ABL Obligations then outstanding and
unpaid at par (including principal, interest, Bank Product Obligations, fees and expenses, including
reasonable attorneys’ fees and legal expenses but specifically excluding any prepayment premium,
termination or similar fees) and all costs and expenses (including attorneys’ fees) incurred in connection
with the exercise of this purchase option, and (b) furnish cash collateral to the ABL Representative in a
manner and in such amounts as the ABL Representative determines is reasonably necessary to secure the
ABL Representative, the ABL Secured Parties, letter of credit issuing banks and applicable affiliates in
connection with any issued and outstanding letters of credit (but not in any event in an amount greater
than that 105% of the aggregate undrawn face amount of such letters of credit) and Bank Products
secured by the ABL Documents, (c) agree to reimburse the ABL Representative, the ABL Secured Parties
and letter of credit issuing banks for any loss, cost, damage or expense (including reasonable attorneys’
fees and legal expenses) in connection with any commissions, fees, costs or expenses related to any issued
and outstanding letters of credit as described above and any checks or other payments provisionally
credited to the ABL Obligations, and/or as to which the ABL Representative has not yet received final
payment, (d) furnish cash collateral to ABL Representative in a manner and in such amounts as the ABL
Representative determines is reasonably necessary, and agree to reimburse the ABL Secured Parties and
letter of credit issuing bank in respect of, indemnification obligations of the Grantors and other obligors
under the ABL Documents and documents relating to Bank Products as to matters or circumstances

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known to the ABL Representative at the time of the purchase and sale which would reasonably be
expected to result in any loss, cost, damage or expense (including reasonable attorneys’ fees and legal
expenses) to the ABL Secured Parties or letter of credit issuing banks, as applicable, and (e) agree to
indemnify and hold harmless the ABL Secured Parties and letter of credit issuing bank from and against
any loss, liability, claim, damage or expense (including reasonable fees and expenses of legal counsel)
arising out of any claim asserted by a third party in respect of the ABL Obligations as a direct result of
any acts by any Notes Secured Party occurring after the date of such purchase. Such purchase price and
cash collateral shall be remitted by wire transfer in federal funds to such bank account as the ABL
Representative may designate in writing for such purpose.

        7.4     Limitation on Representations and Warranties. Such purchase shall be expressly made
without representation or warranty of any kind by the ABL Representative or the ABL Secured Parties
and without recourse of any kind, except that each ABL Secured Party shall represent and warrant (a) the
amount of the ABL Obligations being purchased from it, (b) such ABL Secured Party owns the ABL
Obligations free and clear of any Liens or encumbrances and (c) such ABL Secured Party has the right to
assign such ABL Obligations and the assignment is duly authorized. The purchase shall be accompanied
by a waiver by the Notes Secured Parties of all claims arising out of this Agreement and the transactions
contemplated hereby as a result of exercising the purchase option.

         7.5     Resignation of ABL Representative. In the event that the Notes Secured Parties exercise
and consummate the purchase option set forth in this Section 7, (a) the ABL Representative shall have the
right, but not the obligation, to immediately resign as administrative agent and collateral agent under the
ABL Documents, and (b) each Notes Representative shall have the right, but not the obligation, to require
the ABL Representative to immediately resign as administrative agent and collateral agent under the ABL
Documents.

         7.6    Application of Cash Collateral.          With respect to any cash collateral held
under Section 7.3(b) above, after giving effect to any payment made and applied to amounts coming due
with respect to any letters of credit (or termination thereof without a drawing thereon) or any final
payment of amounts under any Bank Products, the amount of any cash collateral then on deposit with the
ABL Representative with respect to such obligations which exceeds the sum of (a) one hundred five
percent (105%) of the aggregate undrawn amount of all then remaining outstanding letters of credit and
(b) the aggregate amount of all then remaining Bank Products Obligations (as reasonably determined by
the ABL Representative) shall promptly be returned to the Designated Notes Representative.

SECTION 8.      Reliance; Waivers; etc.

         8.1     Reliance. The ABL Documents are deemed to have been executed and delivered, and all
extensions of credit thereunder are deemed to have been made or incurred, in reliance upon this
Agreement. The Notes Representative, on behalf of it itself and the applicable Notes Secured Parties,
expressly waives all notice of the acceptance of and reliance on this Agreement by the ABL
Representative and the other ABL Secured Parties. The Notes Documents are deemed to have been
executed and delivered and all extensions of credit thereunder are deemed to have been made or incurred,
in reliance upon this Agreement. The ABL Representative, on behalf of itself and the other ABL Secured
Parties, expressly waives all notices of the acceptance of and reliance on this Agreement by the Notes
Representatives and the other Notes Secured Parties.

        8.2     No Warranties or Liability. Each Notes Representative and the ABL Representative
acknowledge and agree that neither has made any representation or warranty with respect to the
execution, validity, legality, completeness, collectability or enforceability of any other ABL Document or
any other Notes Document. Except as otherwise provided in this Agreement, each Notes Representative

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and the ABL Representative will be entitled to manage and supervise the respective extensions of credit
to any Grantor in accordance with law and their usual practices, modified from time to time as they deem
appropriate.

        8.3     No Waivers. No right or benefit of any party hereunder shall at any time in any way be
prejudiced or impaired by any act or failure to act on the part of such party or any other party hereto or by
any noncompliance by any Grantor with the terms and conditions of any of the ABL Documents or the
Notes Documents.

SECTION 9. Obligations Unconditional. For so long as this Agreement is in full force and effect, all
rights, interests, agreements and obligations hereunder of the Senior Representative and the Senior
Secured Parties in respect of any Collateral and the Junior Representative and the Junior Secured Parties
in respect of such Collateral shall remain in full force and effect regardless of:

                 (a)      any lack of validity or enforceability of any Senior Document or any Junior
Document and regardless of whether the Liens of the Senior Representative and Senior Secured Parties
are not perfected or are voidable for any reason;

                (b)     any change in the time, manner or place of payment of, or in any other terms of,
all or any of the Senior Obligations or Junior Obligations, or any amendment or waiver or other
modification, including any increase in the amount thereof, whether by course of conduct or otherwise, of
the terms of any Senior Document or any Junior Document;

                 (c)      any exchange, release or lack of perfection of any Lien on any Collateral or any
other asset, or any amendment, waiver or other modification, whether in writing or by course of conduct
or otherwise, of all or any of the Senior Obligations or Junior Obligations or any guarantee thereof;

                (d)      the commencement of any Insolvency Proceeding in respect of any Grantor; or

                 (e)    any other circumstances which otherwise might constitute a defense available to,
or a discharge of, any Grantor in respect of any Secured Obligation or of any Junior Secured Party in
respect of this Agreement.

SECTION 10. Miscellaneous.

         10.1   Rights of Subrogation. Each Notes Representative, for and on behalf of itself and the
applicable Notes Secured Parties, agrees that no payment to the ABL Representative or any ABL Secured
Party pursuant to the provisions of this Agreement shall entitle any Notes Representative or any Notes
Secured Party to exercise any rights of subrogation in respect thereof until the ABL Obligations Payment
Date. Following the ABL Obligations Payment Date, the ABL Representative agrees to execute such
documents, agreements, and instruments as any Notes Representative or any Notes Secured Party may
reasonably request to evidence the transfer by subrogation to any such Person of an interest in the ABL
Obligations resulting from payments to the ABL Representative by such Person, so long as all costs and
expenses (including all reasonable legal fees and disbursements) incurred in connection therewith by the
ABL Representative are paid by such Person upon request for payment thereof. The ABL Representative,
for and on behalf of itself and the ABL Secured Parties, agrees that no payment to any Notes
Representative or any Notes Secured Party pursuant to the provisions of this Agreement shall entitle the
ABL Representative or any ABL Secured Party to exercise any rights of subrogation in respect thereof
until the Notes Obligations Payment Date. Following the Notes Obligations Payment Date, each Notes
Representative agrees to execute such documents, agreements, and instruments as the ABL
Representative or any ABL Secured Party may reasonably request to evidence the transfer by subrogation


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to any such Person of an interest in the Notes Obligations resulting from payments to such Notes
Representative by such Person, so long as all costs and expenses (including all reasonable legal fees and
disbursements) incurred in connection therewith by the Notes Representative are paid by such Person
upon request for payment thereof.

         10.2    Further Assurances. Each Notes Representative and the ABL Representative will, at the
Grantors’ expense and at any time and from time to time, promptly execute and deliver all further
instruments and documents, and take all further action, that may be necessary or desirable, or that the
other party may reasonably request, in order to protect any right or interest granted or purported to be
granted hereby or to enable the ABL Representative or any Notes Representative to exercise and enforce
its rights and remedies hereunder; provided, however, that no party shall be required to pay over any
payment or distribution, execute any instruments or documents, or take any other action referred to in this
Section 10.2, to the extent that such action would contravene any law, order or other Requirement of Law
or any of the terms or provisions of this Agreement, and in the event of a controversy or dispute, such
party may interplead any payment or distribution in any court of competent jurisdiction, without further
responsibility in respect of such payment or distribution under this Section 10.2.

         10.3     Conflicts. In the event of any conflict between the provisions of this Agreement and the
provisions of any ABL Document or any Notes Document, the provisions of this Agreement shall govern
to the extent of such conflict.

         10.4     Continuing Nature of Provisions. Subject to Section 5.5, this Agreement shall continue
to be effective, and shall not be revocable by any party hereto, until the earlier of (a) the ABL Obligations
Payment Date and (b) the Notes Obligations Payment Date. This is a continuing agreement and the ABL
Secured Parties and the Notes Secured Parties may continue, at any time and without notice to the other
parties hereto, to extend credit and other financial accommodations, lend monies and provide
indebtedness to, or for the benefit of, any Grantor on the faith hereof.

        10.5   Amendments; Waivers. (a) No amendment or modification of any of the provisions of
this Agreement shall be effective unless the same shall be in writing and signed by the ABL
Representative and each Notes Representative. Each Grantor agrees that this Agreement may be
amended or modified by the ABL Representative and each Notes Representative without the consent of
any Grantor, provided that (i) no amendment or modification to limit or cap the amount of ABL
Obligations or Notes Obligations beyond what is provided for in the ABL Documents or the Notes
Documents (as applicable) may be made without the prior written consent of TPC and (ii) no Grantor
shall be bound by any such amendment or modification that would impose, or have the effect of
imposing, on any Grantor more restrictive covenants or greater obligations than those applicable to such
Grantor under this Agreement or any other Loan Document immediately prior to such amendment or
modification.

                (b)     It is understood that without any action or consent of the ABL Representative or
the Notes Representative, additional secured parties (or the administrative agent, collateral agent or other
representative for the applicable holders) may become party hereto upon the designation of additional
indebtedness or other obligations (“Additional Debt”) of any of the Grantors as ABL Obligations or Notes
Obligations, whether in connection with a refinancing of any then-existing ABL Obligations or Notes
Obligations, or as a Replacement ABL Agreement or Replacement Notes Agreement or otherwise, in
each case, by TPC in accordance with the provisions set forth in clause (b) of the definition of “ABL
Agreement”, the definition of “Additional Notes Agreement” or clause (c) of the definition of “Notes
Agreement”, as applicable, and delivering a Collateral Agent Joinder Agreement to the representatives
then extant between such secured party and TPC.



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Upon the delivery of the notice and certificate and the Collateral Agent Joinder Agreement as provided in
Section 10.5(b) above, the obligations designated in such notice shall become ABL Obligations or Notes
Obligations, as applicable, for all purposes of this Agreement. The ABL Representative and each Notes
Representative agree that, without the consent of any other ABL Secured Party or Notes Secured Party,
they shall, at the sole cost and expense of the Grantors, enter into any supplemental agreement (which
may take the form of an amendment and restatement of this Agreement) necessary (or, in the discretion of
the ABL Representative and each Notes Representative, appropriate) to facilitate having Additional Debt
of any of the Grantors become ABL Obligations or Notes Obligations under this Agreement, as
applicable, provided, that such Additional Debt is permitted to be incurred by the ABL Agreement and
the Notes Agreements then extant, and is permitted by said agreements to be subject to the provisions of
this Agreement as ABL Obligations or Notes Obligations, as applicable.

        10.6    Information Concerning Financial Condition of the Grantors. The Notes Representative
and the ABL Representative hereby agree that no party shall have any duty to advise any other party of
information known to it regarding the financial condition of the Grantors or any other circumstances
bearing upon the risk of nonpayment of the ABL Obligations or the Notes Obligations (except as
otherwise provided in the ABL Documents and Notes Documents). In the event the Notes Representative
or the ABL Representative, in its sole discretion, undertakes at any time or from time to time to provide
any information to any other party to this Agreement, it shall be under no obligation (a) to provide any
such information to such other party or any other party on any subsequent occasion, (b) to undertake any
investigation not a part of its regular business routine, or (c) to disclose any other information.

        10.7    Governing Law. This Agreement shall be construed in accordance with and governed by
the law of the State of New York, except as otherwise required by mandatory provisions of law and
except to the extent that remedies provided by the laws of any jurisdiction other than the State of New
York are governed by the laws of such jurisdiction.

         10.8    Submission to Jurisdiction; Jury Trial Waiver. (a) Each ABL Secured Party, each Notes
Secured Party and each Grantor hereby irrevocably and unconditionally submits, for itself and its
property, to the exclusive jurisdiction of the Supreme Court of the State of New York sitting in the
Borough of Manhattan, New York, New York and of the United States District Court of the Southern
District of New York, and any appellate court from any thereof, in any action or proceeding arising out of
or relating to this Agreement, or for recognition or enforcement of any judgment, and each such party
hereby irrevocably and unconditionally agrees that all claims in respect of any such action or proceeding
may be heard and determined in such New York State or, to the extent permitted by law, in such Federal
court. Each such party agrees that a final judgment in any such action or proceeding shall be conclusive
and may be enforced in other jurisdictions by suit on the judgment or in any other manner provided by
law. Nothing in this Agreement shall affect any right that the any ABL Secured Party or Notes Secured
Party may otherwise have to bring any action or proceeding against any Grantor or its properties in the
courts of any jurisdiction.

                (b)     Each ABL Secured Party, each Notes Secured Party and each Grantor hereby
irrevocably and unconditionally waives, to the fullest extent it may legally and effectively do so (i) any
objection it may now or hereafter have to the laying of venue of any suit, action or proceeding arising out
of or relating to this Agreement in any court referred to in paragraph (a) of this Section and (ii) the
defense of an inconvenient forum to the maintenance of such action or proceeding.

               (c)      Each party to this Agreement irrevocably consents to service of process in the
manner provided for notices in Section 10.9. Nothing in this Agreement will affect the right of any party
to this Agreement to serve process in any other manner permitted by law.



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            (d)   EACH PARTY HERETO HEREBY WAIVES ITS RESPECTIVE RIGHTS TO
A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING OUT OF
THIS AGREEMENT OR ANY OF THE TRANSACTIONS CONTEMPLATED HEREIN,
INCLUDING CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS, AND ALL
OTHER COMMON LAW OR STATUTORY CLAIMS. EACH PARTY HERETO REPRESENTS
THAT IT HAS REVIEWED THIS WAIVER AND IT KNOWINGLY AND VOLUNTARILY WAIVES
ITS JURY TRIAL RIGHTS FOLLOWING CONSULTATION WITH LEGAL COUNSEL. IN THE
EVENT OF LITIGATION, A COPY OF THIS AGREEMENT MAY BE FILED AS A WRITTEN
CONSENT TO A TRIAL BY THE COURT.

         10.9    Notices.     Unless otherwise specifically provided herein, any notice or other
communication herein required or permitted to be given shall be in writing and may be personally served,
telecopied, or sent by overnight express courier service or United States mail and shall be deemed to have
been given when delivered in person or by courier service, upon receipt of a telecopy or five (5) days after
deposit in the United States mail (certified, with postage prepaid and properly addressed). For the
purposes hereof, the addresses of the parties hereto (until notice of a change thereof is delivered as
provided in this Section 10.9) shall be as set forth below each party’s name on the signature pages hereof,
or, as to each party, at such other address as may be designated by such party in a written notice to all of
the other parties.

        10.10 Successors and Assigns. This Agreement shall be binding upon and inure to the benefit
of each of the parties hereto and each of the ABL Secured Parties and Notes Secured Parties and their
respective successors and assigns, and nothing herein is intended, or shall be construed to give, any other
Person any right, remedy or claim under, to or in respect of this Agreement or any Collateral.

         10.11 Headings. Section headings used herein are for convenience of reference only, are not
part of this Agreement and shall not affect the construction of, or be taken into consideration in
interpreting, this Agreement.

         10.12 Severability. Any provision of this Agreement held to be invalid, illegal or
unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
invalidity, illegality or unenforceability without affecting the validity, legality and enforceability of the
remaining provisions hereof; and the invalidity of a particular provision in a particular jurisdiction shall
not invalidate such provision in any other jurisdiction.

         10.13 Other Remedies. For avoidance of doubt, it is understood that nothing in this Agreement
shall prevent any ABL Secured Party or any Notes Secured Party from exercising any available remedy to
accelerate the maturity of any indebtedness or other obligations owing under the ABL Documents or the
Notes Documents, as applicable, or to demand payment under any guarantee in respect thereof.

         10.14 Counterparts; Integration; Effectiveness.        This Agreement may be executed in
counterparts (and by different parties hereto on different counterparts), each of which shall constitute an
original, but all of which when taken together shall constitute a single contract. Delivery of an executed
counterpart of a signature page of this Agreement by telecopy or electronic transmission shall be effective
as delivery of a manually executed counterpart of this Agreement. This Agreement shall become
effective when it shall have been executed by each party hereto.

        10.15 Additional Grantors. TPC shall cause each Person that becomes a Grantor after the date
hereof to become a party to this Agreement by execution and delivery by such Person of a Joinder
Agreement in the form of Annex 1 hereto.



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         10.16 Force Majeure. Other than with respect to obligations that can be performed by the
payment of money, whenever a period of time is herein prescribed for action to be taken by either the
ABL Representative or the Notes Representative, such Person shall not be liable or responsible for, and
there shall be excluded from the computation of any such period of time, any delays due to strikes, riots,
acts of God, shortages of labor or materials, war and terrorist acts or activities.

         10.17 No Consequential Damages.             Neither the ABL Representative nor any Notes
Representative shall be liable for any indirect, special or consequential damages (including but not limited
to lost profits) whatsoever, even if it has been informed of the likelihood thereof and regardless of the
form of action.

         10.18 Notes Representative’s Capacity. For the avoidance of doubt, when acting hereunder the
Notes Representative is acting solely in its capacity as trustee and as collateral agent under the Notes
Documents, and in so doing, the Note Representative shall not be responsible for the terms or sufficiency
of this Agreement for any purpose. The Notes Representative shall have no duties or obligations under or
pursuant to this Agreement other than such duties and obligations as may be expressly set forth in this
Agreement as duties and obligations on its part to be performed or observed and no implied covenants
shall be read into this Agreement against the Notes Representative; provided, however, that nothing in
this Section 10.18 shall diminish the rights of the Notes Representative, in its capacity as trustee and
collateral agent under the Existing Notes Agreement, and further provided that notwithstanding anything
in this Agreement to the contrary, in connection with its execution of and performance under this
Agreement, the Notes Representative, in any capacity, is entitled to all rights, privileges, immunities,
protections, benefits and indemnities provided to it under the Notes Documents.
         10.19 Certain Terms Concerning the ABL Representative and the Notes Representative.
Neither of the ABL Representative nor the Notes Representative shall have any liability or responsibility
for the actions or omissions of any other Secured Party, or for any other Secured party’s compliance with
(or failure to comply with) the terms of this Agreement. Neither of the ABL Representative nor the Notes
Representative shall have individual liability to any Person if it shall mistakenly pay over or distribute to
any Secured Party (or the Parent or TPC) any amounts in violation of the terms of this Agreement, so
long as the ABL Representative or the Notes Representative, as the case may be, is acting in good faith.
Each party hereto hereby acknowledges and agrees that each of the ABL Representative and the Existing
Notes Representative is entering into this Agreement solely in its capacity under the ABL Security
Documents and the Notes Security Documents, respectively, and not in its individual capacity. The ABL
Representative shall not be deemed to owe any fiduciary duty to the Notes Representative or any other
Notes Secured Party and, the Notes Representative shall not be deemed to owe any fiduciary duty to the
ABL Representative or any other ABL Secured Party.


                                         [Signature Pages Follow]




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                                               ANNEX 1

                                      JOINDER AGREEMENT

        THIS JOINDER AGREEMENT (this “Agreement”), dated as of _______________ __, 20__, is
executed by ______________________________, a ____________________ (the “New Subsidiary”) in
favor of BANK OF AMERICA, N.A. (“ABL Representative”) and U.S. BANK NATIONAL
ASSOCIATION (“Notes Representative”), in their capacities as ABL Representative and Notes
Representative, respectively, under that certain Intercreditor Agreement (the “Intercreditor Agreement”),
dated as of August 2, 2019 among the ABL Representative, the Notes Representative, TPC Group, Inc.
and each of the other Grantors party thereto. All capitalized terms used herein and not otherwise defined
shall have the meanings set forth in the Intercreditor Agreement.

        The New Subsidiary, for the benefit of the ABL Representative and the Notes Representative,
hereby agrees as follows:

         1.      The New Subsidiary hereby acknowledges the Intercreditor Agreement and
acknowledges, agrees and confirms that, by its execution of this Agreement, the New Subsidiary will be
deemed to be a Grantor under the Intercreditor Agreement and shall have all of the obligations of a
Grantor thereunder as if it had executed the Intercreditor Agreement. The New Subsidiary hereby ratifies,
as of the date hereof, and agrees to be bound by, all of the terms, provisions and conditions contained in
the Intercreditor Agreement.

      2.       The address of the New Subsidiary for purposes of Section 10.9 of the Intercreditor
Agreement is as follows:




      3.   THIS AGREEMENT AND THE RIGHTS AND OBLIGATIONS OF THE NEW
SUBSIDIARY HEREUNDER SHALL BE GOVERNED BY AND CONSTRUED AND
INTERPRETED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK.

                                        [Signature Page Follows]




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         IN WITNESS WHEREOF, the New Subsidiary has caused this Agreement to be duly executed
by its authorized officer, as of the day and year first above written.

                                          [NEW SUBSIDIARY]


                                          By:
                                          Name:
                                          Title:




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                                                  ANNEX 2

                          COLLATERAL AGENT JOINDER AGREEMENT

                 [FORM OF] COLLATERAL AGENT JOINDER AGREEMENT NO. [ ] dated as of [ ],
20[ ] (the “Joinder Agreement”) to the INTERCREDITOR AGREEMENT dated as of August 2, 2019
(the “Intercreditor Agreement”), among BANK OF AMERICA, N.A., acting in its capacity as
administrative and collateral under the ABL Agreement (together with its successors and assigns in such
capacity, the “ABL Representative”) for the ABL Secured Parties, U.S. BANK NATIONAL
ASSOCIATION, acting in its capacity as trustee and collateral agent (the “Existing Notes
Representative”) for the Notes Secured Parties, and TPC GROUP INC., a Delaware corporation (“TPC”)
and each other Grantor party thereto and each [Notes Representative] [ABL Representative] from time to
time party thereto.

        A.      Capitalized terms used herein but not otherwise defined herein shall have the meanings
assigned to such terms in the Intercreditor Agreement.

         B.       TPC proposes to issue or incur [Notes Obligations][ABL Obligations] and the Person
identified in the signature pages hereto as the “[Notes Representative][ABL Representative][New ABL
Agent]” (the “[Notes Representative] [ABL Representative] [New ABL Agent]”) will serve as the
collateral agent, collateral trustee or a similar representative for the additional secured parties in respect of
the relevant Additional Debt. The [Notes Obligations][ABL Obligations] are being designated as such by
TPC in accordance with Section 10.5(b) of the Intercreditor Agreement.

        C.       The [Notes Representative][ABL Representative][New ABL Agent] wishes to become a
party to the Intercreditor Agreement and to acquire and undertake the rights and obligations of [a “Notes
Representative]      [the    ABL     Representative]”    thereunder.     [Notes    Representative][ABL
Representative][New ABL Agent] is entering into this Joinder Agreement in accordance with the
provisions of the Intercreditor Agreement in order to become [a Notes Representative][the ABL
Representative] thereunder.

                 The [Notes Representative][ABL Representative][New ABL Agent] and TPC agree as
follows:

        1.      Accession to the Intercreditor Agreement. The [Notes Representative][ABL
Representative][New ABL Agent] (a) hereby accedes and becomes a party to the Intercreditor Agreement
as [a Notes Representative] [the ABL Representative] from time to time in respect of the relevant
Additional Debt, (b) agrees to all the terms and provisions of the Intercreditor Agreement and (c) shall
have all the rights and obligations of [a Notes Representative][the ABL Representative] under the
Intercreditor Agreement. From and after execution of this Joinder Agreement, the Additional Debt shall
be [Notes Obligations][ABL Obligations] for all purposes under the Intercreditor Agreement.

         2.      SECTION 2. Representations, Warranties and Acknowledgement of the Additional
Collateral Agent. [Notes Representative][ABL Representative][New ABL Agent] represents and warrants
to each Notes Representative and ABL Representative that (a) it has full power and authority to enter into
this Joinder Agreement, in its capacity as [a Notes Representative][the ABL Representative] and (b) this
Joinder Agreement has been duly authorized, executed and delivered by it and constitutes its legal, valid
and binding obligation, enforceable against it in accordance with the terms of this Joinder Agreement
(subject to the effects of bankruptcy, insolvency or similar laws effecting creditors’ rights generally and
general equitable principles).




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         3.      Counterparts. This Joinder Agreement may be executed in multiple counterparts, each of
which shall constitute an original, but all of which when taken together shall constitute a single contract.
This Joinder Agreement shall become effective when [the ABL Representative and] each Notes
Representative shall have received a counterpart of this Joinder Agreement that bears the signature of the
[Notes Representative][ABL Representative][New ABL Agent]. Delivery of an executed signature page
to this Joinder Agreement by facsimile or other electronic transmission shall be effective as delivery of a
manually signed counterpart of this Joinder Agreement.

        4.      Benefit of Agreement. The agreements set forth herein or undertaken pursuant
hereto are for the benefit of, and may be enforced by, any party to the Intercreditor Agreement.

     5.   Governing Law. THIS JOINDER AGREEMENT SHALL BE GOVERNED BY AND
CONSTRUED AND INTERPRETED IN ACCORDANCE WITH THE LAWS OF THE STATE OF
NEW YORK.

        6.       Severability. In case any one or more of the provisions contained in this Joinder
Agreement should be held invalid, illegal or unenforceable in any respect, none of the parties hereto shall
be required to comply with such provision for so long as such provision is held to be invalid, illegal or
unenforceable, but the validity, legality and enforceability of the remaining provisions contained herein
and in the Intercreditor Agreement shall not in any way be affected or impaired. The parties hereto shall
endeavor in good-faith negotiations to replace the invalid, illegal or unenforceable provisions with valid
provisions the economic effect of which comes as close as possible to that of the invalid, illegal or
unenforceable provisions.

        7.       Notices. All communications and notices hereunder shall be in writing and given as
provided in Section 10.9 of the Intercreditor Agreement. All communications and notices hereunder to the
[Notes Representative][ABL Representative][New ABL Agent] shall be given to it at the address set forth
under its signature hereto, which information supplements Section 10.9 of the Intercreditor Agreement.

        8.       Expense Reimbursement. The Grantors agree to reimburse each Notes Representative
and the ABL Representative for their reasonable and documented out-of-pocket expenses in connection
with this Joinder Agreement, including the reasonable fees, other charges and disbursements of counsel.




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         IN WITNESS WHEREOF, the [ABL Representative][Notes Representative][New ABL Agent]
and TPC have duly executed this Joinder Agreement to the Intercreditor Agreement as of the day and year
first above written.

                                               [____], as [ABL REPRESENTATIVE][NOTES
                                               REPRESENTATIVE][NEW ABL AGENT]


                                               By:
                                               Name:
                                               Title:

                                               Address for Notices:




                                               Attention:
                                               Telecopy No.:



                                               TPC GROUP INC.


                                               By:__________________________________________
                                               Name:
                                               Title:




                                             Annex 1 - 3
